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                            INVENTORY NO.    ..3          COLLECTED BY                   /:>1-.
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                                                                                                  DONNA ROBERTS v WARDEN
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                              POLICE SUPPLYDEPOT.COM     TOLL FREE 888-226-1951




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                                                                                                                                                                                                                                                                                                                                                                                                                                                             CASE NO. 4:21-cv-00368-DAP
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                                             A   THIS ENVELOPE IS RECYCLABLE AND MADE. WITH 100%
                                            ~    REC\1CLED PAPER, 30% POST-CONSUMER CONTENT



                                                                                           DONNA ROBERTS v WARDEN
                                                                                            CASE NO. 4:21-cv-00368-DAP
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                                         ITEM NO.          /                     CASE NO. 0 I -            o 788'.:: l>'
                                         INVENTORY NO.            ¢: 3              COLLECTED RY /1'1~
                                         TIME COLLECTED         z.,::;';..,      DATE COLLECTED~-..
                                         TYPE OF OFFENSE       'j,;.:._';:7.z       VICTIM($) 7?. ,:,~c,,,.(,,'
                                         LOCATION OF COLLECTION                 ·Co.,...,,,.,,.,,.,,.,;v
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                                                         CHAIN OF POSSESSION
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                                         RECEIVEDFROMfc,i,1,                          BY J/IIIJl,1,r., -<.
                                         DATE
                                                SI-/ z- oz TIME                       z..'O
                                         RECEIVED FROM                                BY
                                         DATE                           TIME                                  A.M./P.M.

                                         RECEIVED FROM                                BY
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                                                     COMMUNITY -CORRECTIONS ASSOCIATION, INC.
                                                    CLIENT NOTICE OF CONFIDENTIALITY
                                                                '      •·.·> ;,
                                                                    ··c;    ·-c   •·
                                                                                     OFRECO RDS
                                                                                       '   "''   _,




                                                                    _- ,.. - < .,, > _--/~.f).E ·- , .
                                                                       I)IlUG AN.D At,QOHQL TREATMENT .




           . ·.   Confidentiflii:y 'of                                     drug
                                              .~pd a.lc~}1-6f a9.t1se client's reco~cls maintained by the
          Cornmux:iity Con:ectip:ns,Associatipn, _Inc. \ar protected by Fedei;:apaw and regulations.
                                                                                                      7
          CE!ngrally; tllis agencywill no.t c_orrvey toa persa,n outside the aiencythat a client attends
          ()f receiy~.serv~c~ fromJpe agency or dispose any information identifying as an alcohol
         ,or ~n:rg ·a buser :µr:Q(!.$s: . . .  . .      ·.

                                                      Th~~lient.f(tnSen~ .in·writi,~i-
                                                    -T.he di7clo~~i~ is :a,rr~,yesl):iy,~gyrt order.                    . · . .-
                                                    ... Tne,9iscl0._~ij~~ is rpi cle to ;~~dicaJ.personnel in axne3ical ~mergency.
                                                      Tht~isclos~l-e is Il:1~:d e to q~*I.ifieapersonnel for reseif ch, audit or evaluation
                                                •··· ofserVicesX




          - . >... 'fior~.tion ~fJffd~raIJa"N ar1~•.regu.lations by this agency is a crime.                                              Suspected
         fii\1&,"iW;,tJt,'.~,('.',\'l'§'rfa/t:!'?'.tiRff?,J!;t~GCf                                        u thori ti es in accf cdance with Federal


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          0_1;: _· ~bpµ; •an)'.threa,t to:J6mrni-t~t1_ihffSifi~I· ctrderal law and ff&PJ,tions do not nrotect
         -ariJj~onp ationlqouts;~ p~cte4t~ilda}Jiis~grneglect from beirig:J#p~rted under state law
          tqappp::>priate sta,te
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                                                                         aJt~orities.
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                                                                                                                   ' '

                            See 42 U.S.C. 290 DD-3 and4ilJ.s):::-.290 EE-3 for FederaHaws and 42 CFR Part
         2 for Federal regulations.


                                                                                                          Signed: ·;/tJJ ) ~ ~ -,k,/J.J::77
                                                                                                           Date: S   /'l-' /d?



          / kjb




                                                                                                                            DONNA ROBERTS v WARDEN
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                                      COMMUNITY CORRECTIONS .ASSOCIATION, INC.
                                        DRUG/ALCOHO:~.._ffREA'I'~l'f-f J?:RQGJ.l.AM .
                                        GRIEVANCE PROCEDURE NOTIFICATION

              For those clients admitted to the Drug/AlCC>hol Treatiilent Pro~ the folloVling grievance
              apply:                                    <i' / <>
               1.
                                      ·
                      The grievance must be in writing.'\'. \"
                                                                                •d:'L;i••·•· •· · · •.j.•,.•< ....

              2.      The ~evanc: form,                     ~
                                                be obJ ~ itireri t l : ~ ~ •~-
                      you m prepanng and filing your ~~ya.nee." ,; rftfiegn~~.c:e.1s ~tyour Case~ ._
                                                                                                        Manag,:                                  i~tcase
                      may file your grievance with the ~tRgi-am I)ir~or, 'r!i,t,_grievancefonn will include: 3,3-
                               -Requirement for your                     > ..··.signattu:~
                                                                                    ·.·• ·. ,·...  ·  .         · .,
                               -Requirement to date th~foin1_ . · . ; . <        '_ \. · - :
                               -Descriptions of Grievan,~}ncludiilg                d~criptiot1 and names of   tiate, tiwi,
                     .. individuals involved in the incid#t(situatiop.beinggrit1yed               '··
                                                                                     .-:..<}~/c,·: >::: /:<~}?(£>_), ,L-::/\/\.i/f}\r:.,.:, -·
                                                                                               0




                      You wiUreceive a resolution/detjiio11;6il\lle giievahce ~ tliin~--one (21) ca1e~11a.r. ll.!
                      receipt of grievance.           ·

               4.      Grievances can also be filed witll' 6$ciiil¢igirici~irt~l~i✓~Qf \
                                                        \~\~l1itUf=i/"_. =::~,~-:·.:(:_<: -:'.; ,- -_- -~--· ·.. •·-\_:· . ,--- -_-, -_- - :~:.\f}/)i
                      :Mahoning County Alcohol and bhigBoarciX<                                                                              O1µ.g;Legal Rights S
                      20 Federal Plaza West          .     .                                                                               , 8E¥JJ.9ng Street
                      2nd Floor                                                                                                              5th£dor
                      Y0W1gstown, Ohio 44503                                                                                                 C~hlriibus, Ohio ..,..., ... .L.:.1.••c.:,.......
                      (216) 740-2104                                                                                                         (6t4}886-2357

                       Ohio Department of Alcohol &                              ·Prug.Adili~o.dServi~-
                       Two Nationwide Plaza                                             ··                ··                     ·
                     . 280 North High Street
                       Columbus, Ohio 43215
                       (614) 466-3445

                      . US Department of Health
                        Civil Right Regional Office
                        105 West Adams
                        16th Floor
                        Chicago, Illinois 60603
                        (312) 886-2357

                5.     This prngram Ytill maintain all cfu~..:ances                                    q~Al~for two y~s ~tli~ Case File: J.J\,J,..,...,.,.,.,,~
                       included:                                    .                                             .                                    .

                        -Copy of the grievance
                        -Documentation of the resolution '\
                        -Letter to client reflecting resolution




                                                                                                                                                     DONNA ROBERTS v WARDEN
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                         COMMUNITY CORRECTIONS ASSOCIATION, INC.
                            CONSENT TO RELEASE INFORMATION




Information Requested:



Purpose/Need for Information:
                                                                                                        -
                                                                           ~OV\_ .l ..e__/fV'- \.~-\-\._Di.-




                                                     CONSENT
       I, the undersigned, do hereby gi ve my consent for release of the :1hove stated information for the above stated
purpose .

        This consent is subject to revocation at any time except to the extent that the program or person who is to make
the disclosure has already acted in reliance on it as per 42 CFR Part 2.

         This information has been disclosed to you from records protected by Federal confidentiality rules (42 CFR Part
2) . The Federal rules prohibit you from making any further disclosure of this information unless further disclosure is
expressly permitted by the written consent of the person to whom it pertains or as otherwise permitted by 42 CFR Part
2. A general authorization for the release of medical or other information is NOT sufficient for this purpose. The Federal
rules restrict any use of the information in criminally investigate or prosecute any alcohol or drug abuse patient.

       If not revoked, this consent is invalid after the date of ____q--'-"-+-/_o_l______ ________

                                                                            j bxJvi-ern
                                                     Signed '-ficJfiJ2V;/l A~



                                                     ::::ess
                              If under 18, Parent or Guardian
                                                                fltr
                                                                --------------------




                                                                                      DONNA ROBERTS v WARDEN
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                                              RESIDENT VOCATIONAL PL.A: ; ·•
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                                                         J A cJ,'\_(_ 7"f'0
                                                  •\..LJ),:...;:S
      Resident Name:._:_J~;;,;,. (\l·~L..'...l<~~fsz~          :::.\. ~- - - -~- -
                                                                                 ' --
      Date: ; - I       r~ 0 \

      1.      I.11.stn1.ctio11s: Please take a few minutes to reflect on what you have
              learned ab-o ut yolll'Self and the world of work through Vocational Planning.
              Please indicate how this impacts your future vocational plans. (What do you
              plan to do vocationally and how do you plan to accomplish this goal?)
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      2.      I.11.structio11s: Please take a few minutes to reflect on what you have
              learned about the inteniew process and how to identify potential job
              possibilities. Please indicate how this impacts your future plans.

             ---Z:vs         /8&M£2                   bOrA-1 -6                UI/(                   - ;;           / AO




     Resident Signature                                                                           Date
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            Frof"il G7 E liSt: be!ow, choose at le2se 7 2re3S [h.:;c you feel you are we2krn in and need he!p on. You
            mus~ch oose 3t le3.Se 7. If you fee! u1.;c you don 'c need help on any of these areas now, list che 7 char
            have given yo u u7 E most problems in che pas;:. Rem ember., honeszy is whet wiil he!p you now.




            _ _ Poor.vocational skills                                 __ Dealing wirn authoriry


            _   ,.._1 _   Obtcining your G.E.D.                        __ Poor interaaions with others

            ._ _ Improving your academic skills                        __
                                                                        . Presenting a negative image

            _ _ College/trade school enrollment                        _ _ Immature behavior

            ~ Trusting others                                          __ Poor budgeting skills

                 /
            _ v_·_ Substance abuse issues                             __ Leisure time activities


            _ _ Temper control issues                                 __ Prejudicial attitudes
                     )

            ~ Making proper decisions                                 __ Sex education issues

            _ _ A ccepting responsibility                             __ Acceptable living plans

            _,_ Communicating clearly                                 __ Personal hygiene pro blems


            _ _ Peer pressure issues                                  __ Positive assertiveness


            _ _           Tension/mmration                            __ Self-defeating behavior


            _L F2n:ily/re!2rionship dys fu nc[ions                    ~ Denial and excuse-m2kin g

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          For eJch of the 7 or more problem areas you identified, write a brief Swtement on how it

          h2s caused you problems, Jnd why it is si:ill 2n issue for you.

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            6.                                                                         j




            7.




                                                                                               DONNA ROBERTS v WARDEN
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                  Prince Name
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                        / i', '.\'\t--j,\) '-c \\ ~\!'bov--J , no lon_ger need or use the
        medication(s) listed below and authorize the removal an<l
        sub~equent disposal of same.



        1.JDfr oFF-11             q'oo ," .,;i       4.
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                      i

        2 · C. fl: L Q ,'Z 2 o f A- 2 o ;V JOr>"")   5.
                                                        ------------
        3. _ _ _ _ _ _ _ _ _ _ _ _ __                6.
                                                          ------------




                                                               esiaenc Signature




                                                          v   Staff Signature




                                                                           DONNA ROBERTS v WARDEN
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                   STATE OF OHIO                                                                                                          DEPARTMENT O F PUBLIC SAFETY
                   HP 28
                   Rev . 3/1/98                                                   STATE HIGHWAY PATROL
                   10-0161·00
                   OHP 0161                                     PROPERTY CONTROL FORM
                                                                                                                                                           Sex    w, , \..'=l

                   Collected By          IPA . G . 4- ;=-c..1,vf L -._;                                                          Date O'l· /7-0i..- Time /O Lal.-,_,.




                          Crash                (   ) Arrest                  ()'(} Case              (     ) Field        Report No.        01- I :2, 131'.• · n ·- ,C"t>

                          From A Fatal Crash -                              ) Dri ver       (   ) Pass .        (    ) Ped . -              ) Deceased                ) Alive

                  Property Description                                                                                              Se ri al No.           Your ID Mark



             z_. ~ f:'"oc-)       'fC.t.k.A.i..,;:. L,IT1      \Jt,\~h      o•~· / G-Oi /   o '(·)T•O

                  i• XCL tc ,,. ,n         •   <"Ct.II c...-   ;::"(") ..


                                                                                        PROPERTY CHAIN




                                                  LABORATORY EXAMINATION REQUEST
                   Check Type or Types of Laboratory Examination Desired
                     1(       ) Blood/Urine Analysis: Fluid con•                3(      Filament Analysis                          13 (     Se ria l Restoration
                                  tainer sealed and labeled with                4 {     Paint Comparison                           14 (     Latent Fingerprints
                                  time, date, name and col-                     5(      H air Comparison                           15 (     Tool Mark Comparison
                                lected by _ _ __ _ _ _ _                        6(      Fabric/Fiber Compari son                   16 (     Drugs              ,
                              a ( ) For All Available Drugs                     7(      Glass Comparison                                    (Controlled Substance)
                              b ( ) For Specific Drug/s                         8(      Human Bl oo d and Group                             Check for _ _ _ _ _ _ __
                                                                                9(      Beverage Analysis                          17 (     Othe r Examination
                           ( ) For Al co hol
                              C                                                1O (     Seminal Fluid
                         d ( ) SFT table! added by _ _                         11 (     Tes! Firea rm
                     2 ( ) Pedal Impressi on                                   12 (     Bullet Compari son

                                                                              Remarks:


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         Supreme Court of Ohio
         Case No. 03~0137
         Date Rec'd 7/9/03




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                                            EMPLOYMENT HISTORY CONTINUED

       List three jobs (in order of preference) you would li.."i(e to hold at BeCI.
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                                           / :~ _-. / /
                                           1~ ·_ r I uq
                                                        Q ,. r ,
                                                        4 n<1-i.. J
    2. Vll pl)              f._,.)oP /{
    3. /44{./l,)OR!:f                                                 f-   _



    \Vhat type of work would you like to have upon release? _ t .;...
                                                                 7:::'-c___lr
                                                                            '.-> R_,.L.,..
                                                                             "--..... 1 _ _ _ __
                                                                                J


    Have you worked for OPI (Ohio Penal Industries) before? yes ( ) no (V)
     If yes, when and where? ____________________
    ************************************************************************
   · Please list previous outside work experience. List any special qualifications. Begin
     with the last job held before being incarcerated.
     COMPANY NA.NIE: I''\o ~D I "·.                       ~
                                                 ;J { f~ ~ i ~(
                                                     1 1,'v~

     City & State: iu 1°(<;;- <::, C:> i, ~o
     Position Held: ~A.:;c;p v            ( , r 2P !.(
     From JS~<;:s (year) to ;,1 /'7,c19 (ye~)
    ************************************************************************
    CONIPANYNAME: _ _ _ _ _ _ _ _ _ _ __
    City & State:
    Position Held:
                   -----------------
    From _ _ (year) to _ _ (year)
    ************************************************************************
   CONIPANY NAME:
   City & State:
                                 ---------------
   Position Held:
   From
                               -----------------
               · (year) to _ _ (year)
    ************************************************************************
   List any other erp.ployable skills you may have.
                                            5
       c:-- 1.:/7 ;~" 10i        1
                                 ~ . ~. ,       ~
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                                                                               DONNA ROBERTS v WARDEN
                                                                                CASE NO. 4:21-cv-00368-DAP
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                       SPECIAL SERVICES DEPARTMENT
                        INMATE EJIJPLOYMENT HISTORY
               (Please PRINT and answer to the best of your knowledge)
                                                                               Date: 4- L/-0/

     NAlME (last)
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                                                                                                    I ' .½ ,,A../}   C..-          (MI)..L_
                                         1                ~    ,'--..   Age: cJ-
                                                                              / Ct
     D ate of Birth : (Jd-.                           ,1 .(,    7_~              r
     ************************************************************************
     Branch of Military: _ _ _ _ _Type of Discharge: - - - - Honorable
                                                                                                           - - - - Medical
     Are you registered for the draft?                                                                     - - - - Dishonorable
                                                                                                           - - - - Other
     ************************************************************************
    Name ofHigh School > ~-YIJG,f/ u C.t/, .      City & State 5J::>. .!!v<::,.e;,~,-" u (')f, ~D                                  I


    Did you Graduate? yes ( ) no ()0 Highest grade completed /(1 ,, Year l :::1"6 ,z·
    Do you have a GED? yes ( ) no ()() If yes, when and where? _ _ _ __ _ _
                                                                 Year/ Place
     ************************************************************************
    College or Technical Schools Attended:
    School: _ _ _ _ _ _ _ City/State _ _ _ _ _ _ Years Attn: _ _ __
     Did you receive a Degree, Certificate, License? yes ( ) no ( )
    School: _ _ _ _ _ _ _ City/State _ _ _ _ _ _ Years Attn: _ _ __
     Did you receive a Degree, Certificate, License? yes ( ) no ( )
    ************************************************************************
    Please list the last three INSTITUTIONAL jobs held:
    1. c::\'.= /.,, )-, /                 How long? <vi.-,, ;1"' Institution f'~,;./,~.·,<)rv t
    2. {d)f..'7?-/?                       How long? /w7n,,di .Institution L , f/J P1y
    3. ~ .?'--;;1?                        Howlong? ,;;__c•1i-,,\ ,i1 s Institution .J3,s:: l11 1n;,;I
    ************************************************************************
    Ljst any special job training or special skills you have mastered inside or out.
      h . -} 0 ,,...   r . . ---.::::-""o_
     , 111 i    ,e     \...u 1 1 , rv Q1




                                           Please turn over & complete the reverse side




                                                                                                                            DONNA ROBERTS v WARDEN
                                                                                                                             CASE NO. 4:21-cv-00368-DAP
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                                                                                             ';      ( :(            \ / I C)
                                                                                                                     'tb i
      RELEIGIOUS SERVICES INTAKE FORM
      DEPARTMENT OF REHABILITATION AND CORRECTION
                                                                           Number: # ---,-==
                                                                                             .::
                                                                                           -··"'"·- -
                                                                                                       1
                                                                                                                                                    l     '   ;-z·' c:r                    I           ~ f'\          t;
                                                                                                                                                                                                       '-..1 l J,,0 , 1<J
      STATE OF OHIO                                                        Name: - - ~ ~l_'°/\'.__
                                                                                             '__,'r::--\
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                                                                                               c)..            (last)             · -,,
                                                                                                                                  l ,
                                                                                                                                                ~ ...__l
                                                                                                                                                 /
                                                                                                                                                                  (first)                                  (middle)
                                                                                                                                  1
      Date Qf Heview: --,-cc,--c- - -0'--
                                      -= . ·s - - - - ~ ~ -                Date of Birth:_____                                       2>             ""'
                             (mo.)         (day)               (yr.)                               (month)                 (day)                   (year)
                                                                                 RACE:                                     SEX:                                  HISPANIC:
·t    Reviewer:                                                              White    0                                  Male      CTI                                           Yes           0
      Institution:
                                                                             Black    B                                Female      0                                              No           Qj'
                                                                             Other    0
      Alias Names:




       Personal Religious Preference:



       Father's Religion:                                                                          Mother 's Religion:


       Spouse's Religion:                                                                          Children's Religion:




      If you are a PROTESTANT, give the name of your Church body:

                                                                                                                    □ Yes
                                                                                                                                                                 Whe{f.?               .. .        \
                 Were you Baptized?                                                                                                      □ No                     , ~t.0 ec 'r-·,
                                                                                                                                                                 Where?
      If you are CATHOLIC or ORTHODOX, were you Baptized? □ Yes                                                                          □ No
                                                                                                                                                                 At what age?
                 Were you Confirmed?                                                                                □ Yes                □ No
                                                                                                                                                                 At what age?
      If you are JEWISH, did you make your Bar Mitzvah?                                                             □ Yes                □ No
                                                                                                                                                                 Where?
      If you are MUSLIM, did you make your Shahada?                                                             □ Yes                    □ No

      Are you a member of a Church or Religious Body?                                                           □ Yes                    □ No
      Name of Church or Religious Body:            ,           ,,..--
                                                   \._:::, Pt f-\\ 1..«.
      Address of Church or Religious Body:                                                                                         !Zip Code:


      Name of Minister/Religious Leader:


      Address of Minister/Religious Leader :                                                                                       !Zip Code



      Do you desire visits from your Minister/ Religious Leaders?                                               □      Yes                         No
      If you DO NOT wish to make your Religious choice known, Check here:               □
      Is there additional Religious information you desire to give? _ _,_'\=J_(_)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



      Name:                                                                                            Sex:            Race :                     County :                  <:                   State:     f
                                                                                                                                13
          ;

          f.                                                                                                r"-·1                                   (',1P,fD!--J                                       t')1-..
      DRC 4007 (Rev. 8/97)




                                                                                                                                                 DONNA ROBERTS v WARDEN
                                                                                                                                                  CASE NO. 4:21-cv-00368-DAP
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                                                                                                                         ,1,1~:11;

                                          Ohio Department of Rehabilitation and ( ...)rrection
                              APPROVED INMATE PACKAGE LIS
         The following items in this package are for:
         Inmate's Name        /V fl i)(///JJ I el                                                                        Number:


                                                                       Package Procedures
          1. The properry lisred on rhisform may he received by rhe insrirurion in packages and may be possessed by inmares. P,·,,;                'is, ..
              ed. or in quanri1ies exceeding aUlhorized limils, will he considered co111raba11d.
         2. U11less orherwise 11ored, personal clothing will be blue or grcc11. solid color only, no pockers, zippers, hoods, emblems N insignia .
         ..,. Pursuanr ro Adminisrrative Rule ("AR") 5J2Q .. 9 .. J3, rhe sender of'a package musr be on the inmate's approred risiring Ii.Ii. SJ'CCia/
              ,·isirors, such allorneys or clergy, who are nor on the inmate's appro,·ed risiting list, musr obiain prior apprornlfrom the managing
              officer to send packages into the ins1i1U1ion.
         4 All medical ID!brocelers. and religious irems must have prior written approml b1jiJre the irem can be sem.
         5. The package musr have a comp/ere lisring ofa/1 i1e111s conrained and nor exceed rhc /isled value/possession limirs. This list musr he
              signed by rhe sending parry, comp/ere with re/urn address. This lisr 11111s1 he al/ached ro rhe outside of rhe package.
              The package musr meer all rhe resrrictions for packages listed in AR 5 / 2() .. 9 ..33.
         6. lnmares are nor permiued 10 receirc packages while at the Ohio Stare Penitentiary, Fra:ier Health Center, Oakwood Correctional
              Faciliry, the Corrections l\4edical Ce111er, an ourside hospiral. or shoe/.: incarceration program. lnma/es assigned to reception,
              disciplinary comrol, local comrol, administra1ive col/lrol arc 1101 pamiltcd to receive packages.
         7 All packages received musr pass rhro11gh /he i11sri1111ion's fluoroscope and are limited to 25 po11nds gross. Sec oppropriarc ins1i111tional
              manual fc,r specif'ic sizes for rhe fluoroscope.
                                               Item                                             I
                                                                                            Value Limit Poss. Limit       Item Value I Number Enclosed
         Baseball Cao .. White                                                                    S JO                     (0, uu          I
         Bath Robe                                                                                S 25
         Belt .. I' 1/2'' blk or bm leather with a belt buckle no larger than 2"x 2"              S 15
         Blanket - fire retardant, twin size, green or blue, no electiic                          $ 35                                     I
         Cards/Board Games .. table type, non .. gambline, no dice                             S IO ea.         3                              I
         Cassette Tapes .. commercially recorded in the original wrapper;
                                                                                               Sl5   ea.       15
                      including cleaning cartridges
        :C'loek .. wind .. up onlv                                                                S 15
          Embossed Envelopes                                                                                   25
        },:arrings .. female onlv per reg 5J2Q .. 9.. 251                                 1       S 10        2 nr
        5;1oves .. black or brown jersev                                                  1.... S 10            l
          Gnn Shorts                                                                      1     ..sio-          7         /fJ,OD            .:J
        E;rndkerchiefs .. white. 15" x 15"                                           ... .L_....:::$....;l:........._+----'l-"2,___..,__~~~-+---+----
        ..1:l_(J!tse Slippers .. brown or black                                           I       S 25          l        lb, CU              I
          \ledical ID/Bracelet .. wrinen APPROVAL of the Health Care Administrato, 11 __          $_1_5_--;_R_e-as_c_m_a_b_le-.-+-------+-- ,_____
        ~iugs and Glasses .. clear plastic, non .. insulated                         .          L. ·-·
                                                                                              Ji-'3'--+---'lC..C.e,"'lC~'h'---+--r=---                                /
        ..P_,ijamas                                                                    \.... $20_ i -----'2=----+---'-/-",xc.=.•-·VD_·-+---~-, ... _
        ..gain Coat .. clear plastic, may have a hood                          ...._ •i-•-·~--~Q==r
              Religious Items - written APPROVAL of the Chaplain required                          I                 I
          Chain w/medallion                                                                           -~s_·
                                                                                                 _2(_l_-+--~--+----- - -- + - - - ,,, .....--·--
                                                                                                   >--'




          Beads                                                                               $ 20
          Religious headgear(]) Fez, Hijaab, TarlxXlsh, Yam1ulke, or Kufi (whi1e only) f----S~2~0-f---·-~-+-----+· --------··,.---
          Dashiki                                                                             S 20
          Prayer Rohe                                                                         S 20
        _I'raver Ru2 .. )T" x 54"                                                             S 20
        .Shower Shoes .. brown or black, rubber onlv
         Socks white cotton
        _Stock Hat .. toboggan, no ski mask
        Ji" eat Pants                                                                         $15
        .S\\eat Shirt                                                                         S 15
        T:Shirts .. crew neck onlv
        _Thermal Underwear .. set, white, no padded or quilted
        Jc,wels .. bath size only; blue or green only                                         $1.5 ..
                                                                                                          ii~ ·. ..·.·
                                                                                                                •.l[I_,

         ]\pewriter Ribbons                                                                   $10 l                             J                                !------
        .l}ndershirt .. male / Brassieres .. female white
        .Undershorts .. male / Panties .. female           white
                                                                                           S_3L$!:i
                                                                                               S5 .                 -f         77 _ _ __
                                                                                                                                                                 1______
                                                                                                                                                           __ .. _
          Wash Cloth .. blue or green only                                                  _ _s 5__ L ~s--+--~?.-;~·-Q_'t_J_·. .;l___                                    ;;c
                                                                                                                                                                          ____
        }Vedding Band .. no stones or eems
                                                                                             $.JJ)(l ., ....... ![......        l
          VVristwatch .. date and lime onlv                                                   5'7~                            .l
         SENDER: I hereby certify that I am an approved visitor. The above items and values are conect to the best of my knowledge.
                      I am mailing this package ro the inmaie listed at the top of this r.o....rr.....n...,........ , . , ... .. ___,._ . ._ , ___...······· - - - - - -- -----,
         Sender's Signature:                                                                                             Date·




                                                Contraband Item                                                      Rernrn to Sender/Visitor                    Donate   Destroy

                                                                                                                                     □                            □         □
                                                                                                                                     □                            □         □
                                                                                                                                     □                            □         □
         INMATE: l hereby certify that I have received all of the items indicated on rhis package list excapt for those listed as contraband.
                 I have chosen the means of disposition of items listed as contraband and I understand that my personal account will be
                 charged for postage costs for any item returned by mail.
                                                                                                                                         Date Received:     ..    'r".
                                                                                                                                                        - /'6 - L) I
         Officer Signature:                                                                                                              Institution:


                      OjJicer:        rhe inmare signs, a copy shall be gil'en IO inmarefiJrfurure veriftcarion ofproperry values and limirs.
         DRC 2427 (Rev. 3!00)                       DISTRIBUTION:          WHITE .. Package File                CANARY· Inmate                      ACA 4279, 4280, 4281. 4433· 4438




                                                                                                                                                        DONNA ROBERTS v WARDEN
                                                                                                                                                         CASE NO. 4:21-cv-00368-DAP
                                                                                                                                                            APPENDIX – PAGE 5441
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                                       Ohio D e p artment o f Re habilita tio n and Corre ctio n
                                STANDARD FOOD PACKAGE LIS
        The fo llowing items in this package are fo r:
                                                                                                            Numbe r
                                                                                                                          3 77 '/&
                                                                   Package Procedures
        I . The property lisred on rhis form mav be received bv the insti1111io11 in packages and may be posses.sed by inmates. Properly not listed,
          or in quamiries exceeding aurhorized limits, will be considered co111raband.
        2. Pursuam to Admin istrative Rule ("AR") 5120-9-33 , the sender of a package 11111st be on th e inmate's approved visiring list. Special
           visitors, such as auomeys or c/e1;~y. who are nor on the i111nt11e '.I· approved visiting list, must obtain prior approval from the managing
          ,.;_/ficer to send packages into the institurion.
        3. he package 11111s1 have a complete lisring ofal/ items co111ained including cosrs. 77, is list 11111s1 be signed by the sending pany, comp/et,'
          ·vith addre.u. This list 11111s1 be al/ached to the outside of the package.
        4. Th e package must meer all rhe restricrions for packages listed in AR 5120-9-33.
        5. lnma res are 1101 penniued to recei\.'/, packages while at the Ohio State Penitentiary, Frazier Health Center, Oakwood Correctional
          Fac ility, the Correcrions Medical Ceme ,; an outside hosp ital, or shock incarce ration program. lnmares assigned ro reception ,
          disciplina1y conrrol, local co111rol, administrative collfrol are not permiued 10 receive packages.
        6. All packages received must pass rhrough the institution'.s f/11oroscope and are limited to 25 pounds gross. See appropriate insritwional
          manual for spec(fic sizes of rhe fluo roscope.
        7. All items must be ready to eat, 11011- refrigerared, in original facto1y sealed conraine1; NO GLASS.

                                            Item                                        Maximum Quan. (No.) Inmates                                           Value
                                                                                        Size Pkg. Enclosed Poss. Limjt
        Beans                                                                              8 oz                                        6 Cans
        Beef Tamales - Enc hiladas                                                         15 oz                                       2 Cans
        Bread Products - Bread . bagels, oita, etc. No frui t, nu t or raisin              16 oz                                    2 Packages
        Candv Bars                                                                         3 oz              /~                        24 Bars             C, ,,0 0
        Candy - see through bags , No fo il wraooed, No holl ow tvoe                       16 oz                ;)_                  2 Packages            ~ ' 00
        Catsun - olastic container                                                         12 oz                                       I Bottle
        Cheese - sliced or brick (No oressu rized cans, No metal or glass)                 2 lb                 I                     2 pounds               't, 0 0
        Chil i - all types , canned                                                        16 oz              1/                       4 Cans               (,,,DD
        C hips - all tyoes, bagged or canned                                                NIA               ,:;)_                  72 o unces             5 , 00
        Cocoa - water - mixed tvoe onlv                                                     NIA                                     12 Packages
        Coffee - In stant                                                                   NIA               ;;i..                  20 ounces                6 ; {Tl_)
                                                                                                               ;;[.,,--,,                                    (,,UCJ
        Cookies - Sec through packages                                                     20 01,                                   2 Packares
        Crackers - All types, must be in inner li ner                                      16 oz               ,-)_                 2 Packages               '-(c 0 0
        Drink Mix - Pre-sweetened Only                                                      NIA                 LJ                   80 ounces               K, 1'l U
        Instant Breakfast                                                                  12 oz                                    2 Packages
        Meat - Any type, canned or plastic No bones                                        16 oz               JD                      10 Cans                J!>--; V D
        Meat - Dried and sliced                                                            12 oz                                    4 Packages
        Mustard                                                                             12 oz                                     12 ounces
        Non-Dairy Creamer - Must be sealed plastic jar                                     12 oz                 ..:::i                  3 Jars              3,ov
        Nu ts - Any type, plas tic bag Only, No shell s                                     8 oz                                       I pound
        Olives - Any style, metal can O nly                                                 8 oz                                        2 Cans
        Pasta - Spaghetti. Lasagna, Ravioli , Any kind                                     16 oz                    t,                  6 Cans                '7. 00
        Pastries - Any type fruit pi es or donuts, Individually wrapped, single             5 oz                                    15 Packages
        serving, No foil wraooin g or metal oans                                                                    '-/                                      .;;;2 . 00
        Peanut Butter - Factorv pack                                                        NIA                  o<.                  3 pounds               '-/. rYD
        Pickles - Factory plastic wraooed                                                   16 oz                J                   I Package.               ,'? DO
        Puddin2 - Ready to eat onlv                                                          5 oz                                      8 Cans
        Seafood - Anv style, canned, No shells                                              16 oz                                      10 Cans
        Sausage - Pre-cooked , Factory wrapocd                                               NIA                 ~                    2 pounds                IS, 0 0
        Soup - Dried, envelopes Only                                                        NIA                 J{ '                 8 Packages                L/, o -V
                                                                                                                                                               l
        Spreads and Dips - Any type, canned or in original plastic container                6 oz                                       10 Cans
        Stew - Any type                                                                     16 oz             o)_                       4 Cans                 6,-(Ju
        Sugar - Cubes Onl y                                                                 16 oz              r;;,W                   2 Boxes                1f.,N
        Tea - Instant                                                                       NIA                                      24 ounces
        SENDER: I hereby certi fy that I am an approved visitor. T he above items and values are correct to the best of my knowledge.
                I am mailing this package to the inmate listed a l the top of thi s form .
         Sender's Signature:                                                                                 Date:



                                                                                              {)/4i
                                                                                                        Return to Sender/Visitor                     Donate        Destroy

                                                                                                                          □                            □            □
                                                                                                                          □                            □
                                                                                                                          □                            □            □
         INMATE: I hereby certi fy that I have received all of the items indicated on this package list except for those listed as co ntraband.
                 I have chosen the means of disposition of items listed as contraband and I understand that my personal account wi ll be
                 charged for postage costs for any item returned by mail.
         lnmatr, Sign~t~r!:                                                                                                   Date Received:
            T~
         Officer Signature:                                                  Date:   u-, - ID
                                                                                            ·,/ - Q I,                        Institution:


                      Officer: After the inmate signs, a copy shall be given to inmate fo r future verification of property values and limits.
         DRC 4092 (Rev. 2/00)   @)              DI STRIBUTION:     WHITE - Package File             CANARY - Inmate                          ACA 4279, 4280, 4281, 4433-4438




                                                                                                                                              DONNA ROBERTS v WARDEN
                                                                                                                                               CASE NO. 4:21-cv-00368-DAP
                                                                                                                                                  APPENDIX – PAGE 5442
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                                   Attorney General                                                                               BCI LAB NUMBER
                                   Betty D. Montgomery                                                 w
                                                                                                       D'L:                                     01-35755 -c
                                                                                                                   XXX
                                                           Evidence Submission Sheet
                                                                                                              PLEASE REFER TO THIS BCI LAB
                                                            BCl-101 (Rev. 1-97)                               NUMBER WHEN MAKING INQUIRY.

  SCI & !-                  BC! & I-           BC! & I-                    BCI & 1-                       RE EIV DIN LABORATORY A BCI: Richfield
  Bowling Green Office      London Office      Cambridge Office            Richfield Office      Date:         Time:     Day:
 P. 0. Box 928           P. 0. Box 365         60788 Southgate Rd.         P. 0. Box 336
 Sowling Green, OH 43402 London, OH 43140      Byesville, OH 43723         3333 Brecksville Road  12/24/2001       9: 55a         Monday
 Phone: (419) 353-5603   Phone: (614) 466-8204 Phone: (614) 439-3655       Richfield, OH 44286
                                                                           Phone: (330) 659-4107 Agency Case No.         2001-078868
  Offense:                                           Date of Offense:                             Location: (City-County)
                 Homicide                                            12/11 /20 01                 Trumbull
  Subject(s): (Name, Race, Sex, DOB)
                                                                    Nathaiel Jackson/ male/ black
 Victim(s ): (Name, Race, Sex, DOB)
                                                                    Robert Fingerhut/ male/ white
 Subm itting Agency:                                                                              Submitting Officer:
 Howland Police Department
 Case Investigator:                                  MAILING ADDRESS:
      Same                                                                                             169 Niles Cortland Road, N.E.
 Telephone Number:                                                                                         Warren, OH 44484
 330/856-5555
 latent Prints              Chemis'                 Microanalysis          Firearms               Documents               Hand Swabs/AA          Other
                                                              xx            XXX
 Please list Individual Items and Examinations Requested:                                         Please Attach a Synopsis of the Case to Assist the Examiner
C 1              brown paper envelope containing swabings from the mouth of Donna M. Roberts
C2               brown paper envelope containing swabings from the mouth of Nathaniel E. Jackson
C3               brown paper bag containing a six page letter and a paper envelope from Roberts to Jackson
C4               pair of black gloves with hole in the tip of the left index finger with stain and residue
C5               pair of rubber gloves with stain
C6               pair of black and red Nike tennis shoes
C7               pair of blue tennis shoes with yellow laces
C8               black leather jacket

Items Cl and C2 - DNA
Item C3 - Stamp and envelope   presence of amylase
Item C4 - human blood and gunshot ?esidue
Item C5 through C3 - human blood




 Da te/Time Returned:                       Form Filled Out By:            Is Subject(s) in Custody?                Date of Trial or Hearing:    Evidence location

                                                         km                           Yes                     No
 Returned to: (Signature)                          IShould there be any change-in the status of this case including trial dates,
                                                    please contact BCI immediately. Refer to the SCI Lab Number.




                                                                                                                             DONNA ROBERTS v WARDEN
                                                                                                                              CASE NO. 4:21-cv-00368-DAP
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                 --'r,ORIVf"


          4..                  t<l
                                  ;:o
                                          Attorney General                                                                                      BCI LAB NUMBER
          0                       ):>
                                  r-      Betty D. Montgom
                               0
                                                                                                                  ADD'L:                                   01-35755- D
                                                                   Evidence Submissi on Sheet                                     XXX
                     *                                                                                                       PLEASE REFER TO THIS BC! LAB
                                                                     BCl-101 (Rev. 1-97)                                     NUMBER WHEN MAKING INQUIRY.

     BCI 8, I-                BCI & I-                    BCI & I-                    BCI & 1-                              RECEI VED IN LABORATORY AT BCI: Richfield
     Bowling Green Oifice     London Office               Carnbndge Office            Richfield Offic e           Date:         Time:       Day:
     P 0 . Box 928            P. O Box 365                60788 Southgate Rd.         P. 0. Box 336
     Bowiir.g Green, OH 43402 London, OH 43140            Byesville . OH 43723        3233 Brecksville Road           5/o/U'l.    12:39 p                     Monday
     Phone : (41 9) 353-5603  Phone: (614 ) 466-8204      Phone: (614 ) 439-3655      Richfield, OH 44286
                                                                                      Phone· (330) 659-41 07 Agency Case No.                    2001-078868
     Offense:                                             Date of Offense:                                        Location: (City-County)
                     Homicide                                                    12/11 /0 1                       Trumbull
     Subject(s): (Name, Race, Sex, DOB)
       Nathani el E. Jackson/ Male/ Black
     Victim(s): (Name, Race, Sex, DOB)
                                                                               Robert Fin gerhut / Male/ white
     Submitting Agency :                                                                                          Submitting Officer:
     Howl and Police Departmen t                                                                                      Det. Paul Monroe
     Case Investigator:                                   MAILING ADDRESS:
        n,.t-     U:,11 ·1   M~~~~a                                                                                  169 Niles Cortland Road , N.E
                                                                                                              '
     Telephone Number:                                                                                                    Warren, OH 44484
     330/856-5555
     Latenl Prints                I Chemistry             iv'licroan aly sis
                                                                                      r •
                                                                                      r--1rearms                                        Hand Swabs/AA       · IOther
                                                                                     I
     Please Lis t Individual Items and Examin ations Requested:                                                   Please Attach a Synopsis of the Case to Assist the Examine r
D1                   Handwriting standard from Nathaniel E. Jackson                        4/29/02
LI                   Hand written letter from Nathaniel E. Jackson to Donna Marie Roberts, dated 10-29-01
                     Hand written letter from Nath aniel E. Jackson to Donna Marie Roberts, datec d 10-26-01
D4                   Seven hand written pages of documents with ~-ja thaniei Jackson's printing and signature                                                 from CCA
D5                   Four pages of documentation written by r\Ja than iei E. Jackson from Lori an Corection al Inst.




     Oate/Time Returned:                        Fo rm Fille d Out By:                 Is Subject(s ) in Custody?                  Dfo.96-Y~b~ Hearing:        Evidence Location
                                                    PSH           mm
                                                                                      XXX          Yes                      No
     Retu rned lo: (Sig nature)                         IShould there be any change in the status of this case including trial dates,
                                                         please contact BC! immediately. Refer to the BCI Lab Number.




                                                                                                                                        DONNA ROBERTS v WARDEN
                                                                                                                                         CASE NO. 4:21-cv-00368-DAP
                                                                                                                                            APPENDIX – PAGE 5444
Case: 4:21-cv-00368-DAP Doc #: 12-24 Filed: 01/14/22 39 of 512. PageID #: 12315




                               Attorney General
                               Betty D. Montgomery
                                                                                                                         282A



    Bureau of Criminal Identification and Investigation                                                      Laboratory Report



    To:         Howland Police Department                               BCI Lab Number:       01-35755 & C - corrected copy
                169 Niles Cortland Road
                Warren, OH. 4484
                ATTN: Det. Sgt. Monroe                                  Analysis Date:        3-22-02


    Re:         Homicide                                                Agency Number:        2001-078868
    Subject:    Nathaiel Jackson
    Victim:     Robert S. Fingerhut .


   Submitted on 12-14-01 bv Det. Sgt. Monroe to the Firearms Section (01-35755)

   3.           One (1) brown bag containing one (1) Taurus brand 38 Special caliber revolver, model 85 ,
                serial nurn ber JH 1418 8.
   4.           One (1) brown bag containing five (5) Remington-Peters brand 38 Special caliber cartridges.
   5.           One (I) white envelope containing one ( 1) fired, full metal jacketed bullet.
   6.           One (1) plastic vial containing one (1) fired, full metal jacketed bullet.
   7.           One (1) plastic vial containing one (1) fired , full metal jacketed bullet.
   8.           One (1) brown paper bag containing one (1) jacket from victim.
   9.           One ( 1) brown paper bag containing one ( 1) shirt from victim.

   Submitted on 12-24-01 bv Det. Sgt. Monroe to the Firearms Section (01-35755C)

   C4.         One (1) brovvn paper bag containing one (1) pair of black gloves with hole in tip of the left
               index finger with stain and residue.


   Laboratorv Examination


   The submitted pistol (item 3) was examined, test fired and determined to be operable as submitted.

   Two (2) of the five (5) submitted cartridges in item 4 were used for test firing item 3 arid are being
   returned to the submitting agericy.
                   .       ~




  Please address inq uiries to the office indicated, using the BC! case number.

  [] BC! & I-Bowling Green Office []        BC! & I-London Office          [X] BCI & I-Richfield Office   [ ] BC! & I-Cambridge Office
     1616 E. Wooster St-Unit T               P. 0. Box 365                     4055 Highlander Parkway       60788 Southgate Road
     Bowling Gree n, OH 43402                London, Ohio 43140               Richfield, Ohio 44286          Byesvi lle, Ohio 43723
     Phone: (4 l 9) 353-5603                 Phone: (614) 466-8204             Phone: (330) 659-4600         Phone: (740) 439-3655



                                                                                                          DONNA ROBERTS v WARDEN
                                                                                                           CASE NO. 4:21-cv-00368-DAP
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   Page2
   April 18, 2002
   BCI Lab Number:01-35755 & C- corrected copy


   Laboratory Examination cont'd


   The three (3) submitted fired bullets (items 5, 6 and 7) were microscopically compared to each other.
   The results revealed matching barrel engraved striations, confirming items 5, 6 and 7 were fired from
   the same weapon.

   Microscopic comparison of items 5, 6 and 7 with bullets test fired from the submitted revolver (item 3)
   failed to reveal matching barrel engraved striations. This finding indicates items 5, 6 and 7 were not
   fired from item 3.

   Examination of the victim ' s jacket (item 8) revealed th.rec (3) possible bullet passage holes. One hole
   (labeled "A") is located in the right armpit area, the second hole (labeled "B") is located in the right
   shoulder area and the third hole (labeled C) is located in the right, mid to upper back area.

   Microscopic examination of the areas around holes "A", "B" and "C" on item 8 failed to reveal any
   visual gunshot residue including contact characteristics. Chemical analysis of the areas around holes
   "A", "B" and "C" failed to reveal any gunshot residue pattern. However, four (4) nitrite dots were
   detected near hole "A". Nitrites are a common component of gunshot residue.

   The muzzle to garment distance at the time of discharge was greater than contact. Due to the absence of
   any gunshot residue pattern a more concise muzzle to garment determination could not be made.

   Examination of the victim's sleeveless shirt (item 9) revealed two (2) possible bullet passage holes.
   One hole (labeled "B/2") is located in the right shoulder area and the second hole (labeled "C/2") is
   located in the right, mid to upper back area.

   Microscopic examination of the areas around holes "B/2" and "C/2" failed to reveal any visual gunshot
   residue including contact characteristics. Chemical analysis of the areas around holes "B/2" and "C/2"
   failed to reveal any gunshot residue.

   Examination of the submitted pair of gloves (item C-4) revealed the left index finger tip was severely
   damaged possibly by a gunshot.

   Microscopic examination of the left index finger on item C-4 failed to reveal any visual gunshot
   residue. Chemical analysis of the left index finger on item C-4 revealed the presence of vaporous lead
   residue. Vaporous lead residue is component of gunshot residue.




   MER:mer ~\\...,-
   T-4-01-02




                                                                                  DONNA ROBERTS v WARDEN
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                                                                                      APPENDIX – PAGE 5446
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                                                Attorney General
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                                        ~       Betty D. Montgomery
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      BCI-30 (Rev. 3-95)

      Bureau of Criminal Identification and Investigation                                                            Laboratory Report



       To :                   Howland Police Dept.                              BCI Lab Number:       01-35755 Supplemental
                              169 Niles Cortland Road
                              Warren, Ohio 44484
                              ATTN: Det. Sgt. Monroe                            Analysis Date:        3-22-02


       Re:                    Homicide                                          Agency Number:        2001-078868
       Subject:               Nathaniel Jackson
       Victim:                Robert S. Fingerhut



     Submitted on 12-14-01 bv Det. Sgt. Monroe to the Firearms Section

     4.              One (1) brown bag containing five (5) Remington-Peters brand 38 Special caliber cartridges.
     5.              One ( 1) white envelope containing one (1) fired full metal jacketed bullet.
     6.              One (1) plastic vial containing one (1) fired full metal jacketed bullet.
     7.              One (1) plastic vial containing one (1) fired full metal jacketed bullet.

     Laboratorv Findings

     Items 5, 6 and 7 were microscopically examined and determined to be fired 38 Special/ 357 Magnum
     caliber bullets based on the design, rifling_ measurements and weight.

     Items 5, 6 and 7 were compared with two (2) cartridges from Item 4. The results revealed similar
     design and weight. This indicates Items 5, 6 and 7 are consistent with the submitted ammunition, Item
     4 (Remington-Peters brand 38 Special caliber).




     Forensic Scientist

     MER:merJJL
     T-091802
    Please address inquiries to the office indicated, using the BCI case number.

    [] BCI & I-Bowling Green Office []                 BC! & I-London Office       [X] BCI & I-Richfield Office   [ ] BCI & I-Cambridge Office
       1616 E. Wooster St.-UnitT                        P. 0. Box 365                  4055 Highlander Parkway       60788 Southgate Road
       Bowling Green, OH 43402                          London, Ohio 43140            Richfield, Ohio 44286          Byesville, Ohio 43723
       Phone: (419) 353-5603                            Phone: (614) 466-8204          Phone: (330) 659-4600         Phone: (740) 439-3655




                                                                                                              DONNA ROBERTS v WARDEN
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                                Attorney General
                                Betty D. l\!Iontgomery

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     BCI-30 (Rev. 9-2001)


      Bureau of Criminal Identification and Investigation                                                     Laboratory Report



      To:        Howland Police Department                            BCI Lab Number:    01-35755 & A & B
                 169 Niles Cortland Road NE
                 Warren, Ohio 44484-193 7
                 Attn: Detective Sgt. Monroe                          Analysis Date:     2-13-02

      Re:        Homicide                                             Agency Number:     2001-078868
                 Subject: Nathaniel E. Jackson
                 Victim:  Robert S. Fingerhut


     Submitted 12-14-01 by Det. Sgt. Monroe for Latent Section (01-35755)
     3. Taurus .38 cal. Revolver; #JH14188.
     4. Live Rounds.
     24. Plastic Placemat.
     25. Plastic Tray.
     26. Post Mortem prints of Robert Fingerhut.
     27. Copies of fingerprint cards of Nathaniel E. Jackson.
     28. Chrysler 300m, License Plate #CPA 8225 .

     Submitted 12-18-01 bv Det. Sgt. Pizzulo for Latent Section (01-35755-A)
     AS. Gauze with stain (item not examined) and piece of tape.
     Al 0. Plastic bottle.
     Al l.~Bandage Container.
     A12. Empty paper tape package.
     A 13. Empty bandage container.
     A14. Empty sponge container.
     A 15. Empty sponge container.
     A 16. Empty sponge container.
     Al 7. Empty sponge container.
     A18. Empty envelope.
     Al 9. Empty envelope.
     f,\.20. Keys.
     A2 l. Cell phone.
     A-22. Garage door opener.
     A23. CD.

    Please address inquiries to the office indicated, using the BC! case number.

     [ ] BCI & I-Bowling Green Office       [ ] BC! & I-London Office [ X] BC! & I-Richfield Office [ ] BC! & I-Cambridge Office
         P 0. Box 928                           P. 0. Box 365              4055 Highlander Parkway      60788 Southgate Road
         Bowling Green, Ohio 43402              London, Ohio 43 I 40       Richfield, Ohio 44286        Byesville, Ohio 43723
         Phone: (419) 353-5603                  Phone: (740) 845-2000      Phone: (330) 659-4600        Phone: (740) 439-3655




                                                                                                   DONNA ROBERTS v WARDEN
                                                                                                    CASE NO. 4:21-cv-00368-DAP
                                                                                                       APPENDIX – PAGE 5448
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                                                          01-35755 & A & B
                                                          -Page 2-


     Submitted 12-19-01 by SIA Lulla for Latent Section (01-35755-B)
     B8. Latent lifts.
     B9. Inked finger and palm prints of Jennifer Robinson.

     Findings
     An examination of the evidence listed evidence listed above revealed eight (8) partial latent fingerprints
     and one (1) partial latent palm print with sufficient ridge detail for finger and palm print comparisons.

     The latent prints were from items A18, B8.

     The latent prints were compared with the inked fingerprints of Robert Fingerhut and Nathaniel E.
     Jackson, and the inked fingerprints and palm prints of Jennifer Robinson.

     The comparisons revealed eight identifications. One each to the Right Thumb and Right Index finger
     and two each to the Right Middle, Right Ring, and Right Little fingers of Nathaniel E. Jackson.

     The identified latent prints were from items A 18: empty envelope and B8 latent lifts labeled as;
     "Bathroom 'Wall", and "Interior Side of Front Door".

     In order to complete this examination, please submit inked print cards of subjects and victims for
     elimination.

     The latent prints will be kept in the Richfield BCI files.




                                                          Cynthia S. Mayle
                                                          Forensic Scientist

    CSM/bs ~)l,,,-
    T031502
    Cc: SIA Lulla




                                                                                  DONNA ROBERTS v WARDEN
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                                Attorney General
                                Betty D. Montgomery

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     Bureau of Criminal Identification and Investigation                                                         Laboratory Report



      To:        Howland Police Department                                SCI Lab Number:       01-35755 and 01-35755-A
                 169 Niles Cortland Road, N.E .
                 Warren, Ohio 44484
                 ATTN: Det. Sgt. Monroe                                                         February 15, 2002


      Re:        Homicide                                                 Agency Number:        2001-078868
      Subject:   None Listed
      Vic tim:   Robert S. Fingerhut


    Submitted bv Det. Sgt. Monroe on 12/14/01 to DNA/Serology (01-35755)
    2.      Brown paper bag containing shirt from victim's wife
    10.     Blood standard from victim
     i 1.   \Vhite er:',1 el0pe containing rectal swabs frorn victim
     i 2.   White e1~1.·elcpe conLaining oral swacs fro n-1 \:ictim
    i4 .    B,own rnvelope containing swc.b with unknown stain
    15.     Brown e:welope containing swab with unkr.own stain
    16.     Brown envelope containing swab with unknown stain
    17.     Brown envelope containing swab with unknown stain
    18 .    Brown envelope containing swab with unknown stain
    19.     Brovm envelope containing swab with unknown stain
    20.     Brown envelope containing swab with unknown stain
    21.     Brown envelope containing swab with unknown stain
    22.     Brown envelope containing swab with unknown stain
    28.     2001 Chrysler 300m, license plate CPA 82:25 , VIN.# 2C3AE66G81H526 86 1

    Submitted bv Det. Sgt. Pizzulo on 12/18/01 to DNA/Serology (01-35755-A)
    Al.     Brown paper bag containing napkin, dishcloth and duct tape
    A.2.    Brown paper bag containing dishcloth
    A3.     Brown paper bag containing gauze
    A4.     Brown paper bag containing gauze
    AS.     Brown paper bag containing gau,ze and tape
    A6 .    Brown paper bag containing napkin



   Please add ress inqu iries to the office indicated, using the BC! case number.

   [) BC! & I-Bowling Green Office [)        BC! & I-London Office           [X) BC! & !-Richfield Office    [ ] BC! & I-Cambridge Office
      1616 E. Wooster St.-Unit T              P. 0. Box 36 5                     4055 Hig hlander Parkway       60788 Southgate Road
      Bowling Green. OH 43402                 London. Ohio 43140                Richfield. Ohio 44286           Byesv ille. Ohio 43723
      Phone: (419)353-5603                    Phone: (614) 466-8204              Phone: (330) 659-4600          Phone: (740) 439-3655




                                                                                                            DONNA ROBERTS v WARDEN
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                    I




    A 7.      Brov.'Il paper bag containing wash cloth
    A8.       Brown paper bag containing condom
    A9.       Brown paper bag containing condom
    A20.      Brown paper bag containing keys
    A21.      Brown paper bag containing cell phone
    A22.      Brown paper bag containing garage door opener
    A23.      Brown paper bag containing CD
    A24.      Brown paper bag containing chicken
    A25.      Brown paper bag containing napkin


     Laboratorv Examination
     Presumptive tests indicated the presence of blood on a swab, Item 14, on the car, Item 28 , and a piece
     of gauze, item A3 . The swab from Item 14, the gauze from Item A3 , a dried sample of blood from
     Item 10, and samples from the car, Item 28, were retained.

     No analysis was performed upon the rest of the samples submitted in the original or A submissions.




     Dale L. -Laux, M.S.
     Forensic Scientist

    DLL:dlI
    T-021502




                                                                                 DONNA ROBERTS v WARDEN
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                                Attorney General
                                Betty D. Montgomery

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     Bureau of Criminal Identification and Investigation                                                      Laboratory Report

      To:        Howland Police Department                              BC! Lab Number:        01-35755-D
                 Detective Paul Monroe
                 169 Niles Cortland Rd N.E.
                 \,Varren OH 44484                                      Analysis Date:         05-29-2002


     Re:         Homicide                                               Agency Number:         2001-078868
                 Subject: Nathaniel E. Jackson
                 Victim: Robert Fingerhut


    Submitted on 05-06-02 by Detective Paul Monroe; transported from BCI Richfield Lab to BCI
    London Lab via Jim ·wurster 05-07-02.

    Dl.     Handwriting standard from Nathaniel E. Jackson
    D2.     Hand·written letter from Nathaniel E. Jackson to Donna Marie Roberts dated l 0-29-01
    D3.     Handwritten letter from Nathaniel E. Jackson to Donna Marie Roberts dated 10-26-01
    D4.     Seven hand written pages of documents with Nathaniel Jackson's printing and signature
    D5.     Four pages of documentation written by Nathaniel E. Jackson from Lorain correctional Institution

    FINDINGS:

    The person, who wrote the handwriting samples submitted of Nathaniel Jackson wrote the letters and
    envelopes, listed as Items D2 and D3, with the exception of the inked entries on the yellow page of
    the letter, listed in Item D3.




    DSG/jaw
    T-060602
    CC: BCI Richfield Lab


   Please address inquiries to the office indicated, using the BC! case number.

   [) BC! & I-Bo wl ing Green Office [X)      BC! & I-London Office        [ ] BC! & I-Richfield Office   [ ] BCl & I-Cambridge Office
      161 6 E. Wooster St.-Unit T             P. 0. Box 365                    P. 0. Box 336                 60788 Southgate Road
      Bowling Green, OH 43402                 London, Ohio 43 140              3333 Brecksville Road         Byesville, Ohio 43 723
      Phon e: (4 19)353-5603                  Phone: (740) 845-2000            Richfield, Ohio 44286         Phone: (61 4) 439-3655
                                                                                Phone: (330)659 -4600



                                                                                                          DONNA ROBERTS v WARDEN
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                                           Attorney General
                                           Betty D. Montgomery
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            BCI-30 (Rev. 3-95)

            Bureau of Criminal Identification and Investigation                                                                   Laboratory Report


             To :           Howland Police Department                                BCI Lab Number:              01-35755, 01-35755-A
                            169 Niles Cortland Road N.E.                                                          01-35755-C
                            Warren, OH 44484
                            Attn: Det. Sgt. Monroe                                   Date:                        3/5/02

             Re:            Homicide                                                 Agency Number:               2001-078868
                            Subject: Nathaniel E. Jackson
                            Victim: Robert S. Fingerhut


        Submitted 12/14/01 by Det. Sgt. Monroe for Serology/DNA (01-35755)
        10. Plastic bag containing blood standard from victim
            10 Blood standard of Robert S. Fingerhut
        14. Brown envelope containing swab with unknown stain
            14 One swab (Blood indicated - see report dated 2/15/02)
        28. One sealed 2001 Chrysler 300m, license plateno. CPA 8225, VIN # 2C3AE66G81H526861
            28.8.1 Two swabs from visor (blood indicated - see report dated 2/15/02)

        Submitted 12/18/01 by Det. Sgt. Pizzulo for Serology/DNA (01-35755-A}
        A3. Brown paper bag containing gauze with stain
            A3 Gauze (Blood indicated - see report dated 2/ 15/02)

            Submitted 12/24/01 hv Det. Sgt. Monroe for Serology/DNA (01-35755-C)
            C2. Brown paper envelope containing swabs from the mouth of Nathaniel E. Jackson
                 C2 Oral standard of Nathaniel E. Jackson


            Results
            DNA profiling using the polymerase chain reaction at the loci D3S1358, vWA, FGA, Amelogenin,
            D8S1179, D21Sl 1, Dl8S51, D5S818, D13S317, D7S820, D16S539, THOl, TPOX, and CSFlPO was
            performed on samples from Items 10, 14, 28, A3 and C2 .




       Please address inquiries to the office indicated, us ing the BCI case number.

            ] BCl & I-Bowling Green Office             [ ] BCI & I-London Office              [:X ] BCI & I-Richfield Office   [ ] BCI & I-Cambridge Office
              1616 E. Wooster St .. #18                      P. O_Box 365                           4055 Highlander Parkway       60788 Southgate Road
              Bowling Green, OH 43402                       London, Ohio 43 I 40                    Richfield, Ohio 44286         Byesville, Ohio 43723
              Phone: (419) 353-5603                         Phone: (740) 845-2000                   Phone: (330) 659-4600         Phone: (614) 439-3655




                                                                                                                         DONNA ROBERTS v WARDEN
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        Page 2                 ._____,,
        RE: Homicide
        BCI Lab Number: 01-35755, 01-35755-A, 01-35755-C

        DNA profiling results appear in the following tables:

            Item             Description      vWA         FGA           D8S1179        D21S11       D18S51     D5S818    D13S317
             14                 Swab           17         21,23          10,14         30,32.2       14,16       11        9,11
            28 .8.1                Visor     15,16,17       21             14           28,29          14         ll        11
                                                         (23) (24)      (10) (12)     (30) (32.2)   (16)(19)    (8) *    (9) (13)
             A3                    Gauze      15,16        21,24          12,14         28,29         14,19      8,11     11,13
              10         Robert Fingerhut       17        21,23           10,14        30,32.2       14, 16      11        9,11
              C2        Nathaniel Jackson     15,16       21,24           12,14         28,29        14,19      8, 11     11,13

            Item            Description      D3S1358     D16S539         Amel.          TH01        TPOX       CSFlPO    D7S820
              14              Swab            14,17         11            XY              6          8,9          10      9,12
          28.8.l                   Visor     16, 17,18   9,10,11          XY               7          6,8        10       10,11
                                               (14)                                       (6)         (9)        (7)     (9) (12)
             A3                    Gauze      16,18        9,10           XY               7          6,8       7, 10     10,I 1
              10         Robert Fingerhut     14,17         11            XY              6           8,9         10       9,12
             C2         Nathaniel Jackson     16, 18       9,10           XY              7           6,8       7 (10)    10,11
        *
                  .. DNA detected, but below reporting standards
            = Add1t10nal
        ( ) = Signal less intense

         The DNA profile of the swab (Item 14) is consistent with Robert Fingerhut.

         The DNA profile of the visor (Item 28.8.1) is a mixture consistent with contributions from Robert
         Fingerhut and Nathaniel Jackson.

         The DNA profile of the gauze (Item A3) is consistent with Nathaniel Jackson.


        Conclusions
        Robert Fingerhut cannot be excluded as being the source of the DNA on the swab or from being a
        contributor to the mixture of DNA on the visor.     -

       Nathaniel Jackson cannot be excluded as being the source of the DNA on the gauze or from being a
       contributor to the mixture of DNA on the visor.


       Statistical Information
       Based on a national database provided by the Federal Bureau oflnvestigation, the approximate
       frequencies of occurrence of the DNA profile identified on the gauze (Item A3) are as follows:

                          Caucasian              1 in 45,170,000,000,000,000,000 people
                          African American       1 in    29,860,000,000,000,000 people
                          Hispanic               1 in 22,400,000,000,000,000,000 people




                                                                                                 DONNA ROBERTS v WARDEN
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      RE: Homicide
      BCI Lab Number: 01-35755, 01-35755-A, 01-35755-C



      Remarks
      The remaining portions of each item will be retained in the laboratory.




      Forensic Scientist
      (330) 659-4600 ext. 231




                                                                                DONNA ROBERTS v WARDEN
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                                     Attorney General
                                     Betty D. Montgomery

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       BCI-30 (Rev. 3-95)

        Bureau of Criminal Identification and Investigation                                                             Laboratory Report



        To:           Howland Police Department                                BCI Lab Number:         01-35755 and 01-35755-C
                      169 Niles Cortland Road N.E.                                                     Supplemental 1
                      Wanen, OH 44484                                                                  Corrected Copy
                      Attn: Det. Sgt. Monroe
                                                                               Date:                   3/28/02

        Re:           Homicide                                                 Agency Number:          2001-078868
                      Subject: Nathaniel E. Jackson
                      Victim: Robert S. Fingerhut


      Submitted 12/14/01 by Det. Sgt. Monroe for Serologv/DNA (01-35755)
      10. Plastic bag containing blood standard from victim
          10 Blood standard of Robert S. Fingerhut
      28. One sealed 2001 Chrysler 300m, license plate no. CPA 8225, VIN # 2C3AE66G81H526861
          28. 8 .1 Two swabs from visor (blood indicated - see report dated 2/15/02)

      Submitted 12/24/01 bv Det. Sgt. Monroe for Serology/DNA (01-35755-C)
      Cl . Brown paper envelope containing swabs from the mouth of Nathaniel E. Jackson
           C2 Oral standard of Nathaniel E. Jackson

      Results
      DNA profiling using the polymerase chain reaction at the loci D3S 1358, vvVA, FGA, Amelogenin,
      D8Sl 179, D21S11, Dl8S51, D5S818, Dl3S317, D7S820, Dl6S539, THOl, TPOX, and CSFlPO was
      performed on samples from Items 10, 28 and C2 .

      DNA profiling results appear in the following tables:

        Item                Description                     vWA        FGA             D8S1179        D21S11        D18S51       D5S818       D13S317
        28.8.1                 Visor                       15,16,17      21               14           28,29           14           11              11
                                                                      (23) (24)        (10) (12)    (30} (32.2)     (16) (19)     (8) *        (9) {13)
           10           Robert Fingerhut                        17      21,23            10,14        30,32.2         14,l 6        11           9,11
           C2          Nathaniel Jackson                     15,16     21,24             12,14        28,29          14,19         8,11            11,13
     * = Additional DNA detected, but below reporting standards
     ( ) = Signal less intense

     Please address inquiries to the office indicated, using the BC! case number.

       ] BCT & I-Bowling Green Office              [ ] BC! & I-London Office      [X] BC! & I-Richfield Office      [ ] BC! & I-Cambridge Office
         1616E. WoosterSt..#18                         P. 0. Bcx365                   4055 Highlander Pari,.way        60788 Southgate Road
         Bowling Green, OH 43402                       London, Ohio 43140             Richfield, Ohio 44286            Byesville, Ohio 43723
         Phone: (419) 353-5603                         Pnone: (740) 845-2000          Phone: (330) 659-4600            Phone: (614) 439-3655




                                                                                                                  DONNA ROBERTS v WARDEN
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     RE: Homicide
     BCI Lab Number: 01-35755 and 01-35755-C Supplemental 1 Corrected Copy


      Item          Description        D3S1358       D16S539             Amel.               THOl     TPOX     CSFlPO    D7S820
      28.8.1           Visor           16,17,18       9,10,11              XY                  7       6,8       IO       10,11
                                         (14)                                                 (6)      (9)       (7)     (9) (12)
        10        Robert Fingerhut      14,17           11                  XY                 6        8,9       10       9,12
       C2        Nathaniel Jackson       16,18         9,10                 XY                7         6,8     7 (10)    10,11
     * = Additional DNA detected, but below reporting standards
     ( ) = Signal less intense


     Statistical Information
     Based on a national database provided by the Federal Bureau of Investigation, the approximate
     frequencies of occurrence ofthe DNA mixture identified on-the visor (Item 28 .8.1) are as follows:

     Based on a national database provided by the Federal Bureau of Investigation, the proportions of
     the population which cannot be excluded as contributors to the mixture of DNA profiles on the
     visor (Item 28.8.1) are as follows:

                  Caucasian                 1 in 16,010,000 people
                  African American         1 in 5,491,000 people
                  Hispanic                 1 in 6,835,000 people



     Remarks
     The remaining portions of each item will be retained in the laboratory.




    ~~lJ\~
     Brenda K. Gerardi
     Forensic Scientist
     (330) 659-4600 ext. 231
     T-061702




                                                                                                    DONNA ROBERTS v WARDEN
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                                Attorney General
                                Betty D. lVlontgomery
                                                                                                                                 286D

     BCI-30 (Rev. 3-95)

      Bureau of Criminal Identification and Investigation                                                        Laboratory Report


      To:         Howland Police Department                              BCI Lab Number:            01-35755 and 01-35755-C
                  169 Niles Cortland Road N.E.                                                      Supplemental 2
                  Warren, OH 44484
                  Attn: Detective Sergeant Monroe                        Date:                      6/17/02

      Re:         Homicide                                               Agency Number:             2001-078868
                  Subject: Nathaniel E. Jackson
                  Victim: Robert S. Fingerhut




    Submitted 12/14/01 bv Detective Sergeant Monroe for Serology/DNA (01-35755)
     8. Brown paper bag containing jacket from victim
    10. Plastic bag containing blood standard from victim
        10 Blood standard of Robert S. Fingerhut
    28. One sealed 2001 Chrysler 300m, license plate no. CPA 8225, VIN# 2C3AE66G81H526861
        28. 7 Two swabs from a stain above the trunk release inside the car (blood indicated - see BCI
              report dated 2/15/02)

     Submitted 12/24/01 by Detective Sergeant Monroe for Serology/DNA (01-35755-C)
     C2. Brown paper envelope containing swabs from the mouth of Nathaniel E. Jackson
         C2 Oral standard of Nathaniel E. Jackson


     Results
     Presumptive testing indicated the presence of bloo.d on a stain from the back of the jacket (Item 8s1).


     DNA profiling using the polymerase chain reaction at the loci D3S1358, vWA, FGA, Amelogenin,
     D8S1179, D21S11, Dl8S51, D5S818, D13S317, D7S820, Dl6S539, TH01, TPOX, and CSFIPO was
     performed on samples from Items 8, 10, 28 and C2 .




    Please address inquiries to the office indicated, using the BCI case number.

      ] BCI & I-Bowling Green Office       [ ] BC! & I-London Office        [X] BCI & I-Richfield Office      [ ] BCI & I-Cambridge Office
        1616 E. Wooster St.. #18               P. 0. Box 365                    405 5 Highlander Parkway         60788 Southgate Road
        Bowling Green, OH 43402                London, Ohio 43140               Richfield, Ohio 44286            Byesville, Ohio 43723
        Phone: (419) 353-5603                  Phone: (740) 845-2000            Phone: (330) 659-4600            Phone:(614)439-3655




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     RE: Homicide
     BCI Lab Number: 01-35755 and 01-35755-C Supplemental 2


     DNA profiling results appear in the following tables:

       Item           Description          VWA            FGA           D8S1179          D21S11      D18S51    D5S818    D13S317
        8s l             Jacket              17           21 ,23         10,14           30,32.2      14, 16     11        9 (11)
       28.7            Inside Car          15,16         21 (24)         12,14            28,29       14,19     8,1 1        11
                                            (17)             *             (10)          (30) *         *                 (9){13)
        10"         Robert Fingerhut         17           21,23           10,14          30,32.2      14,16      11         9,11
        C2"         Nathaniel Jackson       15,16         21,24           12,14           28,29       14,19     8, 11     11,13



       Item           Description         D3S1358       D16S539           Amel.          THOl         TPOX     CSFlPO    D7S820
        8sl              Jacket             14,17         NP               XY             NP           NP        NP       9,12
       28 .7           Inside Car           16,18         9,10             XY              7          (6) 8     7,10      10,11
                                          (14) (17)       (11)                              *           *                   *
        10"         Robert Fingerhut        14,17          11              XY               6          8,9       10        9,12
        C2"         Nathaniel Jackson       16,18          9,10            XY               7          6,8      7 (10)    10,11
               ..
       * = Addit:J.onal DNA detected, but below reporting standards
      ( ) = Signal less intense
     }',,r p = Not Performed
      " = Results taken from BCI report dated 3/5/02

     The DNA profile from a stain on the back of the jacket (Item 8sl) is consistent with Robert Fingerhut.

     The DNA profile from a stain above the trunk release inside the car (Item 28. 7) is a mixture.
     The major profile is consistent with Nathaniel Jackson. The partial minor profile is consistent with
     Robert Fingerhut.

     Conclusions
     Nathaniel Jackson cannot be excluded as the major source of the DNA from the stain above the trunk
     release inside the car.

     Robert Fingerhut cannot be excluded as the minor source of the DNA from the stain above the trunk
     release inside the car.

     Robert Fingerhut cannot be excluded as the source of the DNA from a stain on the back of the jacket.

     Statistical Information
     Based on a national database provided by the Federal Bureau of Investigation, the approximate
     frequencies of occurrence of the major DNA profile from the stain above the trunk release inside the car
     (Item 28. 7) is as follows:

                     Caucasian                1 in 45 ,170,000,000,000,000,000 people
                     African American         1 in 29,860,000,000,000,000 people
                     Hispanic                 1 in 22,400,000,000,000 ,000,000 people




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     RE: Homicide
     BCI Lab Number: 01-35755 and 01-35755-C Supplemental 2



     Remarks
     The remaining portions of each item will be retained in the laboratory.




   ~ t.A~
       rendaK.Gerardi
     Forensic Scientist
     (330) 659-4600 ext. 231




                                                                                 DONNA ROBERTS v WARDEN
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                                                             DONNA ROBERTS v WARDEN
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                                                                     Yo ungstown, UH 44512
                                                                         (330) 758- 2371
                                                                    TRIAL CHECKOUT REPORT

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129              12/13/2001           1:49                 P           3307929554              0.9                                  0.35
129              12/13/2001           1:50                 P           5090271                 0.4                                  0.35
129              12/13/2001           1:52                 P           3307476915              2.0                                  0.35
129              12/13/2001           2:08                 P           3307476915              3.6                                  0 .35                      311D
129              12/13/ 2001          3:42                 P           3307929554              0.4                                  0.35
129              12/13/2001           6:13                 P           3307886266              5 .4                                 o. 3::'.'i
129              12/13/2001           G:41                 P           3307886266               1.4                                 0.35
12 9             12/13 /2001          6:45 P                           3307886266              0.5                                  0.35
129              12 / 1 3/200 1       7:39 P                           3307886266              o. : -:;                             0.35
12']             12/13 /2 001         7:41 P                           330 7886266             ;;-~ ,, ~3                           u.~~
129              12 /13/ 200 1        7:48 P                           3 307886266           l O" ::;                                  ~3::,
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129              12/14/2001           ':9 ;:, ~~,; ~:,:;               33078 86266             ;:::'.. l                            n. -3,·:;
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t ;~: : {:)      12/14/ 2001          3 :20 P                          330788 6266             () • .(!                             o. 3;'.i
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                                                                                         CASE NO. 4:21-cv-00368-DAP
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                                                   EVIDENCE
                              OTEMNO.         /          CASENO.        41·41'/S','I
                              ONVENTORY NO.      /::.-,>COLLECTED BY -~..&.IZ-~.111,,,.-.._ _
                              TIME COLI.ECTED JJUSA.i!I DATE COLLE~V=D /l•2J•l>2
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                                   pollcesuppiydepotcom               Toll Free 888-226-1951




                                                                  DONNA ROBERTS v WARDEN
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                                                                      APPENDIX – PAGE 5475
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                           GUEST REGISTER                                      ( 'fJi.lY(;{., ,c:v,.,-.O      I~         -f._, - ,y'>\ . I
                         PLEASE PAY IN ADVANCE                                        No. JtJl~Rate                         f5            f.2(/g
               PLEASE PRINT
               ALL INFORMATION                    D&e_t_g_Jj                            Daily Record                   Charges

               Name -AJ__f,J){ArJ I eL-                1'5C...f-80 .J                   Sunday


               Address       3oS           So         h•-~                              Monday

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               City   -lf.AJ j                                                          Wednesday
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               Drivers License No. _ _ _ _ _ _ __ _ _ __ __ _                           Friday

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               Make of Car_2_d]_~_ct~.-·~ ~;Year                 )<J D O _
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                                                              NOTICE                                                                                                         ·'J _-_
               This property is privately owned and the management reserves the right to refu se ser~ce"td'an5'0ne ,.
               not be responsible for accidents or injury to guests or for loss of money, jewelry or valuables of




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                                                                                                                                                            CASE NO. 4:21-cv-00368-DAP
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                                      Trumbull County
                        Photographic Line-Up Admonition
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VIEWER:          You will be asked to look at a group of photographs . The fact that the phoros are shom1 to you should not
influence your judgement in any way . You should not conclude nor guess that the photographs contain the picture of
the person who committed the cri me You do not have to identify anyone.
Keep in mind hair styles, beards and moustaches are easily changed . Please do not indicate to other witnesses that
you have or have not made an identification.




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                                                                                  Page 7
                               T. Log Report
                12/ 11/01 10024 - No Operator (-1) / JILL K (200) 17:47:16
                Order Store (2157)
                     ICED TEA                                   1. 69
                     SHR TUES BUYUP                           12 . 99
                     Scampi 15                                   .00
                     Lmpep shrimpl5                              .0 0
                     Lmpep shrimpl5                              . 00
                     French fr ies                               .00
                T ax                                             .81
                DINE IN                                       1 5.49

                1 2/ 11 / 01                                                17:47:22
                                                                                                314A
                Cash ier On             JILL K (200)

                1 2/ 11/01 10023 - No Ope rator   (-1.)   /   JILL K ( 2 00) 17:47:30
                Order Store (2161)
                      LOB+SHR+S CALOP - OP                              18.75



                    Baked potato                                          . 00
                    Butter                                                .00
                    Sour cream                                            .00
                    GR CHICKEN - LR                                     9 . 99
                    Baked potat o                                         .00
                    Butt er                                               .00
                    Sour cream                                            .0 0
                    ULT FONDUE-SR                                       6.99
                    HOT TEA                                             1.40
                    SOFT DRK                                            1 . 69
                    C-CHC SMOOTH                                        1. 9 9
                Tax                                                     2.25
                DlNE IN                                                43.06

                12/11 /01                                                   1 7: 54:13
                Cashier On              JILL K (200)

                1 2/11/01 60009 - Nn Operator ( - 1) / JILL K ( 200) l~:54:54
                Or,jer S t o r e (2165) -
                     VDKA-MARTINI                                 4.50
                     Absolut                                      1.00
                     UP
                     LONG ISI, I CE                               4 . 50
                Tax                                                 .5 5
                DINE IN                                          10 .55

Date/Ti me: 12/19/0 1 12:38




                                                                                           DONNA ROBERTS v WARDEN
                                                                                            CASE NO. 4:21-cv-00368-DAP
                                                                                               APPENDIX – PAGE 5479
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                                                                         Page 8
                              T. Log Report

               12 / 11 /0 1                                        18:00:33
               Cashier On            JILL K (200)

               12/11/01 60009 - No Operator (-1) / JILL K (200) 18:00:56
               Order Sto re (21 65)
                   VDKA-MARTINI                              4 .50                      314B
                   Absolut                                   1.00
                   UP
                   LONG ISL ICE                              4.50
                   CRAB STF FLOU -LR                        10 .99
                   Veg of day                                  . 00
                   KING 1.5 LB-OP                           24.99
                   Fren ch fries                               .00
               Tax                                           2.53
               DINE IN                                      48.51

               12/ 11 /01                                          18:06 :14
               Cashie r On           ,JILL K (200)

               12/11/01 1002 3 - No Operator (-1) / JILL K (200) 18:06:26
               Order Store (2 161)
                   LOB+SHR +SCALOP-OP                        18.75



                   Baked potato                                 .00
                   Butter                                       .00
                   Sour cream                                   .00
                   GR CHICKEN-LR                              9.99
                   Baked potato                                 .00
                   Butter                                       .00
                   Sour cream                                   . 00
                   ULT FONDUE -S R                            6.99
                   HOT TEA                                    1.40
                   SOFT DRK                                   1 .69
                   C-CHC SMOOTH                               1.99
                   SOFT DRK                                   1 . 69
               Tax                                            2.34
               DINE IN                                       44.84

               12/11/01                                           18:13:42
               Cas hier On           JILL K (200)

               12/11/01 10021 - No Operator (-1) / JILL K (200) 18:13:5 4

Date/Time : 12/19/01 12:38




                                                                                  DONNA ROBERTS v WARDEN
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                                                                          Page 10
                             T. Log Report
                    Bu t t er                                      .00
                    ON SIDE*
                    Sour cream                                     .00
                    ON SIDE*
               Tax                                                 . 85
               DINE IN                                          16 .19

               12/11/01                                              18:20:40
               Cas hier On             JILL K (200)

               12/11/01 60009 - No Operator ( -1) / JILL K                                    314C
               Order Store (2165)
                    VDKA-MARTINI                                 4 . 50
                    Absolut                                      1.00
                    UP
                    LONG ISL ICE                                 1. 50
                    CRAB STF FLOU-LR                            10.99
                    Veg of day                                     .00
                    KING 1. 5 LB-OP                             24.99
                    French fries                                   .00
                    SOFT DRK                                     1.69
               Tax                                               2 .63
               DI NE IN                                         50.30

               12/11/0 1                                             18:20:53
               Cashier On              JILL K (200)

               1 2/1 1/01 20055 - No Operator (- 1) / JILL K (200) 18 :2 1:01
               Orde r Store (2193)
                     HOT TEA                                    1. 40
                     SOFT DRK                                   1. 69
               Tax                                                .17
               DINE IN                                          3.26

               12 /11/01                                             18:26:41
               Cas hier On             JILL K (200)

               12/11/01 20055 - No Operator (-1) / JILL K (200) 18:27:06
               Order Store (2193)
                   HOT TEA                                   1 .40
                   SOFT DRK                                  1. 69
                   CLASIC LOB+SHR - OP                      19.99
                   Mashed tato                                 .00
                   ULT FONDUE-SR                             6.99
                   AP-WITH MEAL

Da te/Time: 12/19/01 12:38




                                                                                    DONNA ROBERTS v WARDEN
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                                                                                        APPENDIX – PAGE 5481
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                                                                                      Page 11
                              T. Log Report
                   WITH MEAL*
               Tax                                                       1.66
               DINE IN                                                  31.73

               Operator Error      123

               12/11/01                                                       18:32:21
               Cashier On                  JILL K (200)                                                       314D
               12/11/01 20055 - No Operator (-1) / JILL K (200) 18:32:26
               Order Store (2193)
                   HOT TEA                                   1. 40
                   SOFT DRK                                  1.69
                   CLASIC LOB+SHR-OP                        19.99
                   Mashed tato                                 .00
                   ULT FONDUE-SR                             6.99
                   AP-WITH MEAL
                   WITH MEAL*
               Tax                                           1.66
               DINE IN                                      31.73

               12/11/01                                                       18:34:06
               Cashier On                  JILL K (200)

               12/11/01 60009 - No Operator (-1) / JILL K (200) 18:34:13
               Order Store (2165)
                   VDKA-MARTINI                              4.50
                   Absolut                                   1.00
                   UP
                   LONG ISL ICE                              4. '50
                   CRAB STF FLOU-LR                         10.99
                   Veg of day                                  .00
                   KING 1.5 LB-OP                           24.99
                   French fries                                .00
                   SOFT DRK                                  1.69
                   COFFEE                                    1. 40
               Tax                                           2.70
               DINE IN                                      51.77

               12/11/01                                                       18:35:30
               Cashier On                  JILL K (200)

               12/11/01 10023      No    Operator   (-1)   /   JILL K (200)   J.8:35:40

               Che.ck ID    2161    (3uest Count       2          Table ID       53

Date/Time: 12/19/01 12:38




                                                                                                DONNA ROBERTS v WARDEN
                                                                                                 CASE NO. 4:21-cv-00368-DAP
                                                                                                    APPENDIX – PAGE 5482
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                                                                                Page 13
                            T. Log Report
                   CYOP-FR SHR                                       .00
                   CYOP-SCPI 10                                      .00
                   CYOP STEAK                                     2.00
                   MEDIUM
                   Baked potato                                      .00
                   Butter                                            .00
                   ON SIDE*
                   Sour cream                                        .00
                                                                                                                       314E
                   ON SIDE*
               Tax                                                1.13
               DINE IN                                           21.57
               CASH                                              21.57
               Change Detail                                      8.43

               12/11/01                                                18:43:21
               Cashier On              JILL K (200)

               12/11/01 60009 - No Operator (-1)      I JILL K (200) 18:43:30
              Check ID 2165         Guest Count   2       Table ID         56
                  VDKA-MARTINI                                   4.50
                  Absolut                                        1.00
                   UP
                   LONG ISL ICE                                   4.50                             /'\.

                   CRAB STF FLOU-LR                              10.99
                  Veg of day
                   KING l . 5 LB-OP
                                                                     .00
                                                                 24.99
                                                                                          ll'Y
                                                                                      I r I

              Tax
                   French fries
                   SOFT ORK
                   COFFEE
                                                                     .00
                                                                  l . 69
                                                                  1. 40
                                                                  2.70
                                                                                     (1,1   />._




              DINE IN                                            51.77
              CASH                                               51.77
              Change Detail                                       8.23

               12/11/01                                               18:46:10
               Cashier On              JILL K (200)

               12/11/01 20046 - No Operator ( -1)     I JILL K (200) 18:46:13
               Check ID 2154     Guest Count      1       Table ID         50
                   COFFEE                                         1. 40
                   SOFT ORK                                       1. 69
                   FR SFD PLATTER-OP                             12. 2 5


Date/Time: 12/19/01 12:38




                                                                                                          DONNA ROBERTS v WARDEN
                                                                                                           CASE NO. 4:21-cv-00368-DAP
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                                                    Sener :JILL K
                                                    C1shier:JILL K
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                                                                             1
                                                                                                .----2:•1•,
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                                                    Check :2165 ·                      ·
                                                    Table :56
                                                    • · - wen •-ttr»!G"Mrlee
                                                                  Guest No. 1
                                                       VDKA-MARTINI
                                                        Absolut
                                                                                             enc-
                                                                                                            -
                                                       LONG ISL ICE                                   4.50
                                                       CRAB STF FLOU-L R                             10.99
                                                       KING 1. 5 LB-OP                               24.99
                                                       SOFT ORK                                        1. 69
                                                       COFFEE                                          1.4C

                                                    SALES TAX                                   2.70
                                                    DINE IN                                    51..77
                                                    CASH                                       60.00
                                                    CHANGE                                      8.23




                                                                             DONNA ROBERTS v WARDEN
                                                                              CASE NO. 4:21-cv-00368-DAP
                                                                                 APPENDIX – PAGE 5484
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                                                  Trumbull County
                                         Photographic Line-Up Admonition
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VIEWER:                   You will be asked to look at a group of photographs. The fact that the photos are shown to you should not
influence your judgement in any way You should not conc lude nor guess that the photographs contatn the picture of
the person who committed the crime. You do not have to identify anyone.
Keep in mind hair styles, beards and moustaches are easily changed . Please do not indicate to other witnesses that
you have or have not made an identification.




do identify photo H              ( ,-_    to be the subJect who
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          Supreme Court of Ohio
          Case No. 03-0137
          Date Rec'd 7 /9/03




                                                                                     DONNA ROBERTS v WARDEN
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                                     Declaration of Custodian of Records

      I hereby certify under the penalties of perjury that I am the Custodian of Records for
                                                                                                                           321
      Dobson Communications Corporation. I am in receipt of a civil subpoena requesting
      specified records of the above named business. Attached hereto are records responsive to
      referenced subpoena. I hereby certify that the records attached hereto:

             (1) were made at or near the time of the occurrence of the matters set forth in the
                 records, by, or from information transmitted by, a person with knowledge of
                 those matters.

             (2) Were kept in the course ofregularly conducted business activity; and

             (3) Were made by the regularly conducted business activity as a regular practice.

             I declare under penalty of perjury that the foregoing is true and correct.




                                                    Wee cs. L. ~ , Cuslrxuiri of Qecords
                                                    Name and title of declarant


                                                    Name of Business

                                                    t'{ZOI       winl,~s ~ OK<!., OK j 313'/
                                                    Business address

             I hereby certify that on this q .,._day of Oe,lobu--                    , Zo<Y2    , before me, the
             subscriber, a Notary Public of the state of Oklahoma, in and for
             l>t.1~ Oft! 14
             As e.1.1\tt>cL.iu.   *
                                city/county, personally appeared__.~.c=:<-J....,d,...,_r-_.,..'(.a...=-~1...=-:=-+------
                                      Re.cants        of Qibs&, Ctw,m,u.,µ~ 'h, \
             as such made oath in due form of law that the matters and facts set forth in the
                                                                                                                  ' and

             foregoing certification are true and correct as therein stated.


             AS WITNESS my hand and. N.             orari:?l ~c:::::: . ..·...
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                                                             I                 OJdaltoma County f
                                                             I                   Naury Public In and for   I
                                                                                   Sbttt of Oklahoma
                                                             I                         91001534            I
                                                             ~~------------
                                                                Commission Expires 9-· /.,D3    I
                                                                                ____________ ;..J




                                                                                                 DONNA ROBERTS v WARDEN
                                                                                                  CASE NO. 4:21-cv-00368-DAP
                                                                                                     APPENDIX – PAGE 5491
     Case: 4:21-cv-00368-DAP Doc #: 12-24 Filed: 01/14/22 86 of 512. PageID #: 12362

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(JjJij,j,jijjJijijijJijJi.jJijJij,j,jJiJJiJJJVi.   Ce 11 u 1 a r Phones   ~~                     c p hn i nq ;_
3                                                                         3
                                                                            Functions Available
3
  Phone fi       (330)506 - 0373                                          3
                                                                            Fl - Forwar d    F2- Backward'
'Account         012 - 0358746 - 4                                        ' F3 - Show Services
3
  Cust Type      RETAIL                                                   3
                                                                            F4 - Free Minutes      NO
  Name           DONNA M ROBERTS                                          3 F5   Phone Lev el Adjustments•
3 User                           Lock Code                                3
                                                                            F6 - Switch Manager
3 ESN            13407137063     Hex=866CE727                             3
                                                                            F7 - Rate Plan Analysis
' Model          134         MITSUBISHI                                   3 F8   Minute Adjustments
3 Location       H   HANDHELD                                             ' F9 - Phone Maintenance
3 Salesman      NWS NILES/WARREN                                          •AAAA.~iiJJi.A~~i,JJij,J,Jij,jiJijJi,__iijiJiJijJi,_~•
3 CSR ID         620 MICHAEL TRELLA                                       ' Calls Thru    12/18/01 21:59                       3

3 Commiss i on   999 NO COMMISSION                                        3 Lease Billed             0.00                      '
3 Cont ra ct   0 024 24 MONTH NEW ADD                                     'Lease Balance             0 . 00                    '
3 Activa te       8/30/01                                                 'MTD Usage Charges     (No Tax)                      3

3 Lock Date       8/30/01 Term Date 8/30/03                               3
                                                                            Peak AirTime Used       179.0                      '
'Toll Carrier 0288 AT&T                                                   'OffPeak AirTime Used 484.0                          3

3 Origination I NVENTORY                                                  3 Total AirTime Used      663.0                      3

'Lease                                                                    'Roamer Air Charges        5.36                      '
'Campaign                                                                 'Toll Charges             42 . 43                    '
  Standard Trnsmt #              Batch Date                                 Other Charges            0.00                      '
• Featu r e Trnsmt #             Batch Date                               'Total MTD                47.79                      '
jJ.jij,j,j,jij,,_iViJi._iij,,_iij,Jijijiji.J,,_iijij,,_~iijijijJJi.jJJiji.jiJijij,jJS'-~~~~~U
    Esc- Exit to Sub s criber Profile




                                                                                                            DONNA ROBERTS v WARDEN
                                                                                                             CASE NO. 4:21-cv-00368-DAP
                                                                                                                APPENDIX – PAGE 5492
    Case: 4:21-cv-00368-DAP Doc #: 12-24 Filed: 01/14/22 87 of 512. PageID #: 12363




LOCATION : 058                                                                    DOBSON COMMUNICATIONS CORP                                                         ARAY
                                                                                                                                                                     PAGE:       2


BIL013                                                                    CA L L        R E !" 0 R T                                                DATE 12/19/01     TIME 11 : 23


PERIOD : 12/01


ACCOlJNT= 0 12 0 3 5 8 7 4 6 4 ROBERTS


 PHO NE NUMBER       DATE          TIME        CALLED Nl!MBER          CALLED CITY            DUR     P DIR          AIR     TOLL         RMR       TOT    SID      ESN

(33 0 ) 506 -0373 12/11/01      10 : 15: 11    (330) 506 -0 373        INCOMING                 .0   P LM           0.00     0.00     0.00      0 00      00 0000 13407137063
( 330 ) 506 - 0373 12 /11/01    10: 44: 03     (330) 506 - 0373        INCOMING                 .0   P LM           0.00     0 .00    0.00      0 .00     000000 13407137063
( 330) 5 06 -0 373 12/li/O l    11:02: 00      (330)506-0373           INCOMING               2.0    P LM           0 .00    0.00     0 . 00    0. 00     00000 0 13407137063
(3 30 )5 06-0373 12 /11/01      1 6:3 9:49     (330 ) 781 -.1 906      YOuTiGSTOWN OH          .0    P ML           O 00     0 .00              0 00      00000 0 134 071 37063
( 330)506-0373 12/11/ 01        18: 06:17      (330} 781-:)906         YOUNGSTOWN OH          S. 0   ?     ML       0.00     0 .00    0 . 00    0.00      00000 0 13407137063
( 330)506 - 037 3 12/11 /01     18:40:12       ( 330 } 788-6266        YOV'NGSTOWN Ot"i       5. 0   P ML           O 00     0 00     0 . 00    0.00      0000 00 134 07 137063
( 330) 5 06 -0 373 1 2 /11/01   1 8: 45:59     (330 ) 78 8- 6 266      YOUNG STQ;/N OH         .0          ML       0 .0 0   0.0 0    0.00      0.00      00000 0 1 3407137 06 3
( 330) 5 06 - 0373 1 2 /11/01   21:45:44       ( 3 30 ) 509 027 1      LO CAL                  .0    I\    MM       0 . 00   0.00          00   0 00      00000 0 13407137063
( 3 3 0)506 - 0373 12 /11/01    21:47:11       {330 }509-0271          LOCAL                  2.0    0 MM           0 .00    0 00     0. 00     0. 00     000 0 00 1340 7 13706}
( 330)506 - 0373 12/11/01       21:54:00       (330 ) 509-0271         LOCAL                   . o o MM a .co                0 . 00   0.00      D 00      000000 13407 1 37063
( 330) 5 06 - 0373 12 /11/01    2 1:55:28      (33 0) 50 9- 02 71      LO CAL                 2.0    v MM           0.0 0    0.0 0    0.00      0.0 0     0000 0 0 1 34 071 3 706 3
( 330) 506 - 0373 12/11/01      21:5 9:45      1330 ) 509 - 0271       LOCAL                   .0    0 MM           0.00     0.00     0.00      0 00      00000 0 13407137063
{330) 5 06 - 0 3 73 12/11/01    22:00:14       (330 ) 509-0271         LOCAL                  2. 0   0 r-"il'l.'J   O . 00   0 . 00   0.00      0 .0 0    0000 00 13407137063
( 330) 506 -0373 12/11/01       22: 03 :07     ( 33 0)506-0373         INCOMING               LO     O MM           O .00    0.00     0.00      a . co    000000 13 407 1370 6 3
(33 0) 50 6 -03 73 12 /11/01    23: 01:16      (3 30)509- 02 71        LOCAL                  LO     O MM           0 .00    0.00     0.00      0.00      00000 0 1340713 706 3
( 330) 5 06-0373 12 /11/01      23:44:27       (330 } 509-0271         LOCAL                   .0    0 MM           0.0 0    0.00     0 .00     0 .00     000000 13407137063
( 330j 5 06-0373 12/11/01       23:48:5 0      ( 330 ) 746- _,J .682   YOUNGSTOWN OH.        l LO    O ML           O . 00   0 . 00   0 . 00    0.00      00 0000 1 3407137063
( 330) 5 06 - 0373 12/12/01     00: 03:34      ( 33 0 ) 746-1682       YOUNGSTO WN OH        -LO     O ML           0 .00    0.00     0.00      0.00      00000 0 1 3407 137 06 3
(330 ) 5 06 - 0373 12 /12/01    0 0: 27 ,12    { 3 30) 746 ·· 1 682    YOUNGSTOWN OH           .0    0 ML           0.00     0.00     0.00      0. 00     00000 0 13407137063
( 330)506 - 0373 12/12/01       00 : 31:56     ( 330 ) 746"i682        YOUNGSTOWN OH           .0    0 ML           0 .00    0.00     0 .00     0.00      0000 00 1]4 071 37063
( 330 ) 506 - 0373 12/12/01     00:40:49       (330 ) 746-1682         YOUNGSTOWN OH          7.0    0     ML       0 .00    0 . 00   0 . 00    0 .00     0 000 00 134 071 37063
( 33 0) 5 06-0373 12/1 2/01     0 0 : 52:53    (330) 747 "-            YO UNGSTO\•iN OH        .0    0     ML       0 .0 0   0 .00    0.00      0. 00     00000 0 1 34 071 3 706 3
( 330)506 -0 373 12 /12/0 l     00: 58:05      ( 33 0 ) 74.6 - $844    YOUNGSTOWN OH         2 .0    0     ML       0 .00    0.00     0.00                00000 0 13407137063
( 330 ) 506- 0373 12/12/01      01 : 00:26     ( 330 ) 746-1682        YOlJNGSTOWN OH         3.0    0     ML       0 .00    0 . 00   0.00      0.00      000000 13407137063
( 330)506 - 0373 12 /12/01      01:12:11       ( 33 0)746 - 1682       YOUNGSTOWN OH           .0    0 ML           0.00     0.00     0.00      0 00      00000 0 1 3407137063
(33 0 )50 6 0373 12/ 12/01      03: 25:52      ( 330 ) 74 6 16 82      YOUNGS TOWN OH        3.0     0 ML           0.0 0    0.0 0    0.0 0     0.0 G     00000 0 1340 713 7 06 3
( 330)506 -0 373 12/1 2/01      03:38:49       ( 330 )60 9-7812        W/1.RREN       0 "'     .0    0 ML           0.00     0.00     0 .00     0 .0 0    000000 13 4071 37063
( 330) 5 06 - 0373 12/12/01     03:48:35       ( 330 ) 506-0373        INCOMING                .0    0     LM       0.00     O.OG     0 .00     0    OG   0000 00 1340713706]
[ 330)506-0373 1 2 /12/01       04:40:18       ( 33 0 ) 746-168 2      YOUNGSTOWN OH         2.0     0 ML           0 . 00   0.00     0    00   0 GO      00000 0 13 40713 7063
(3 30) 50 6 -037 3 12/ 12/01    06 : 36: 1 9   ( 3 30) 747- 62 60      YO UNGSTOWN OH          .0    0 ML           0 .00    0 .00    0 .00     0 00      0000 00 13 4071 370 6 3
( 330 ) 506 - 03 73 12/12/01    12:48:14       {330 ) 747 -§9 15       YOUNGSTOWN OH           .0    P ML           O 00     0.00     0 .00     0 0"      000000 13~07137063
( 330)506-0373 12/ 12 /01       12:49:43       {330 ) 788-6267         YOUNGSTOWN O'-'         .0    P ML           0.00     0 .00    0.00      0.00      00 0 00 0 134071]7063
( 330) 5 06 -0 373 12 /12/01    1 2:52:22      (330 ) 788- 6 26 7      YOUNGSTOWN OH          LO     ? ML           0 .00             0.00                00000 0 134 071 370 6 3
(33 0) 5 06 - 0373 12 /12/01    1 3:28:59      (330 ) 506-0373         INCOMING              2.0     P LM           0.00     0.00     0.00      0 00      00000 0 13407137063
( 330)506 - 0373 12/12/01       13:4 6 :46     (JJO ) 506-0373         INCOMING                .0    P LM           0.00     0.00     0 .0 0    0 .00     000000 13407137063
( 330)506-0373 12/12 /0 1       16: 01:53      ( 33 0)788- 6367        YOUNGSTOWN ow         2. 0    P ML           a.co     0.00     0 . 00    0 00      000000 13 407137063
(330 ) 5 06 -0373 12 /12/ 01    1 6 : 07:20    (33 0)78 8 -63 66       YOUNGSTOYJN    ou       .0    ? ML           0 .0 0   0 . 00   0 . 00    0.0 0     00000 0 1 340713 706 3
(3 30) 5 06 - 0373 12 /12/01    16 : 12:56     ( 33 0) 609-7812        WJ\RR EN       OH       .0    P ML           0.00     0.00     0.00      0.00      00000 0 1 340713 7063
(330) 5 06 - 0373 12/12/01      16:19:37       ( 330 ) 744-4578        YOiJNGSTOV1N OH       1.0     P ML           0 . 00   0 . 00   0.00      0.00      000000 1]407137063
( 330) 506 -0373 12/12 /01      17:18:23       ( 330 ) 743- 18 01      YOUNGSTOWN OH           .0    P     ML       0.00     0.00     0.00      0.00      000000 134 0 7137063
(33 0) 50 6 - 0373 12/ 14/01    17: 09: 53     (3 30 ) 536 -62 73      LO WELLVL      OH     LO      P ML           0.0 0    0.00     o.oo      0.00      00000 0 1340 7 13 706 3
( 330) 5 05 - 0373 12/14/01     17: 11: 55     (330 ) 536 - 6930       LOW ELLVL      OH       .0    P ML           0.00     0 .00    0 . 00    0.00      000 00 0 134 071 37063
( 330)506 - 0373 12/14/01       17:12:59       ( 330 )-10 -1 - 4047    YOUNGSTOWN O'-"       L O     P ML           0.00     0.00     0 . 00    0.00      000000 13407137063
( 330) 5 06 -03 73 12/ 14/01    17:2 6: 5 8    ( 33 0)506-0 373        INCOMING              LO      P LM           0.00     0.00     0.00      0.00      000000 13 40713 7063




                                                                                                                                      DONNA ROBERTS v WARDEN
                                                                                                                                       CASE NO. 4:21-cv-00368-DAP
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LOCAT ION,0 58                                                                        DOBSON COf•iM!JNICATIONS CORP                                                     ARAY
                                                                                                                                                                         PAGE ,


B l LOU                                                                         C A L L       R E P O R T                                            DATE 12/ 19/0 1      TIME 11 : 23


PERIOD , 12/0 1


ACCOUNT= 0 12 0358746 4 RO BERTS                                  DONNA


 PHONE NUMB ER           DATE           TIME         CALLED NUMBER            CALLED CITY           DUR       P DIR     AIR     TOLL      RMR      TOT       SID       ESN


( 330 ) 506 -037 3 12 /14/01         17, 3S, 14      ( 33 0 ) 5 06- 0373      I NCOMING             2 .0      P LM     O . 00   0.00     0.00     0 . 00    0 0 0000 13407137063
( 3 30 ) 5 06-03 73 12/14/01         1 7 , 43, 4 9   ( 33 0) 7 44 -52 1 7     YOUNGSTOWN OH         1.0       P ML     0 . 00   0 . 00   0.00     0 .0 0   000000 13407137063
( 330) 50 6 -03 73 12/14/01          17, 47,46       (33 0)50 6-0373          INCOMI NG             2.0       P LM     0 .00    0 .00    0.00     0.00      00000 0 13 40713 7063
( 330) 50 6 - 0373 12/14/ 01         17, 54,30       (33 0 ) 50 6- 03 73      INCOM ING             1.0       P LM     0 .00    0.0 0    0. 00    0. 00     0000 00 13 407137 063
(3 30 ) 5 0 6 -0 373 1 2 /14/01      1 8 , 04,46     ( 330 ) 506-0 37 3       INCOMING                 .0     P LM     0.00     0 .00    0.00     0 .00     000000 134 071 37063
( 330 ) 506 -0 373 1 2 /14/01        1 8 : 05 :1 6   ( 3 30 ) 5 0 6-0373      INCOMI NG                .0     P LM     0.00     0 .00    0 . 00   0 00      000000 1 34071370 63
( 3 30)506 - 0373 12/ 1-1/0 1        1 8, 18, 25     (33 0 ) 744 8 337        YOUNGSTOWN OH            .0     P ML     0 .00    0 . 00   0 . 00             00000 0 1 34 0713 7063
( 330) 5 06 - 0373 12/14/ 01         18: 3 4: 43     ( 33 0 ) 74 6-?401       YOUNGSTOh1N OH           .0     P ML     0.0 0    0.00     0 . 00   0.00      0000 00 134 0 7 1 37063
( 330 ) 5 06 - 0373 12/14/01         1 8 , 35,1 0    (330 ) 7 44-2707         YOUNGSTOWN OH            .O     P ML     0 . 00   0 . 00   0.00     0 . 00   000000 134071 3706 3
( 330 ) 5 06 - 0373 12 /14/ 0 1      19, 23,35       (33 0 ) 744 - 3462       YOUNGSTOWN OH         1.0       P ML     0.00     0 . 00   0.00     0 . 00    00000 0 134 0 7 1 37063
( 330 506 -· 0373 12/ 14/01          19: 2•1 :1 6    {3 30 )40 4- 545 9       YO UNGSTOVJN OH       1 .0      ? ML     0.0 0    0.0 0    0 .00    0. 0 0    00 000 0 1 34 07 1370 63
( 330 ) 506 -037 3 12 /14/01         19,3 0 , 28     ( 330 ) 506 - 0373       INCOMING                 .0     P LM     0 .00    0.00     0 . 00   0 .0 0    0000 00 1340713706 3
( 330 ) 5 06 - 0373 12 / 1 4/01      19:3 1 :3 8     { 330 ) 5 06 -0373       INCOMING                 .0     ? LM     0.00     0 .00    0 . 00   0 00      000000 13407137063
( 3 3 0) 506- 0 373 12 /14/01        13,32, 1 2      [ 33 0 ) 506 -0373       INCOMING              1. 0      P   LM   0.0 0    0.00     0 .00    0.0 0     000000 134 0713 7063
( 330 ) 50 6 -·03 73   12/ i4/0l     19: 42: 58      (3 30 } 506 -- 037 3     INCOt·•HNG            2 .0      P LM     0. 00    0.00     0.00     0 00      0000 00 1 34 0 71370 6 3
( 330 ) 5 06 - 0373 12/14/01         19,49,24        ( 330 ) 759 - 3077       YOUNGSTOWN OH         .;. . 0   P ML     O . 00   0.00     0 .0 0   0 . 00    000 0 00 1340 71 37063
( 330 ) 5 06 - 0373 12/1 4/0 1       19,5 9 , 0l     ( 33 0 ) 5 06-0 373      INCOMING                 .0     P LM     O 00     0.00     0 . 00   0 00      000 000 1 3 ~ 07 137063
( 330) 5 06 ·· 03 7 3 12/ 14/0 1     1 9:5 9:4 2     (3 30 ) 5 06- 0 3 73     INCOMING              1. 0      P LM     0 .00    0.00     0 .00    0 00      0 0 000 0 1 3 4 0 7 1 370 6 3
( 33 0) 50 6 - 03"13 12/ 14 /01      2 0, 14, 4.3    ( 3 3 0) 50 6 · 03 73    INCOMING                .0      P U•1    0 00     0 . 00   0 0 ''   0 00      0000 00 1 340 7 13 7063
( 33 0) 506 - 0373 12 /14/0i         2 0: 30: 39     ( 3 30 ) 5 0 6- .0 373   I NCOMING               .0      P LM     0.0 0    0 .00    0 . 00   0 00      00000 0 134 07 137063
( 330 ) 5 06 -0373 12/14/ 01         20,35, 4 7      ( 216 ) 3 7 3 - 9714     CLEVELAND      OH     2.0       P   ML   0.00     0 .47    0 .0 0   0. 47     00 0000 13 4 0 71 370 63
( 33 0) 5 06 · 03 73 12 /14/0 1      20: 37, 08      ( 3 30 ) 74.4 - 833 7    YO UNGSTOW N OH         .0      P ML     0 .00    o.oo     0.00     0.00      00 0 0 0 0 1 3407 1 3 7063
( 330) 5 06 -037 3 12/14 /01         21,2 0,00       ( 21 6 ) 373 -971 4-     CLEVEL..'\ND   OH       .0      0 ML     0.0 0    0 .24    0 .0 0   0 24      0000 00 134 0 7137 063
( 330 ) 506-0373 12/14/01            22,01,42        { 330 } 506 - 0373       INCOMING              2.0       0 LM     0 . 00   0.00     0.00     0 00      00000 0 1}407137063
( 330) 506- 03 73 12/1 4/01          22,09, 42       ( 330 ) 506-0 373        INCOMING                .0      0 LM     0.00     0.00     0.00     0 . 00    00 0000 13 407 1 370 63
( 330 )50 6 - 0373 12/ 14/01         22, 43 ,4 0     {2 16 ) 373- 971 4       CLEVELAND      OH     5.0       0 ML     0.0 0      . 17   0.00     l. l 7    0000 0 0 134 0 71 3 7063
( 3]0 ) 5 06 - 0373 1 2 /14/01       22, 48,55       {21 6 ) 3 7 3 - 971 4    CL£VELA1'-JD   OH.    5.0       0 ML     0 .00      .17    0.00     1.l7      000000 13407137063
( 330 ) 506 - 0373 12/14 /0 1        22,53,50        ( 216 ) 373-9714         CLEVELAND      OH       .0      0 ML     0. 0 0   0.70     o.oo     0.70      00000 0 13407137063
( 330) 506 -037 3 12 /14/0 1         22,56,48        ( 21 6 ) 373- 9714       CLEVELAND      OH     2. 0      0 ML     0.00     0.4 7    0 .00    0 .47     000000 1 340713 7 0 63
( 330) 506 - 0373 12/1 4/01          23, 00,22       (2 16 ) 373- 971 4       CLEVELAND      OH    22.0       0   ML   0 .00    4.3 8    0.00     4. 38     00000 0 13 407137 063
( 330 ) 5 06 - 0373 12 / 1 4/01      23,2 1,59       ( 330 ) 506-0373         INCOMING                .0      0   MF   0 . 00   0.00     0 .00    0.00      000000 134 0 7137063
( 330 ) 5 06 - 0 3 73 12 / 1 4/0 1   23,22,31        (216 ) 3 7 3-9714        CLEVELAND      OH     9.0       0 ML     0 . 00   l.80     o. oo      .80     000000 13407137063
(330) 5 06- 03 7 3 12/1 4/01         23,35 ,05       (21 6)373- 971 4         CLEVELI\.ND    OH    11 . 0     0 ML     O. 0 0   2 . 20   0 . 00   2 . 20    00000 0 1 340713 706 3
( 33 0) 50 6 - 0373 12/ 14/01        23, 46,34       (800 ) 957 -739 9        80 0 SVC                .0      0 ML     0 .00    0.00     0.00     0 .0 0    000 0 00 134 07 1370 6 3
( 330 ) 506 - 0373 12/ 14/ 01        23, 47, 50      ( 216 ) 373-9 71 4       CLEVELAND      OH     6.0       0 ML     0.00     1 . 21   0 .0 0     .21     0 00000 1 340 7137063
(33 0 ) 5 06 - 0373 12/14 /01        23, 55, 03      ( 21 6 ) 373 - 971 4     CLEVELAND      0"     2 .0      0   ML   0.00     0 .42    0 . 00   0 42      00000 0 13407 1 37063
( 330) 50 6 - 0373 12/1 4/01         23, 57,45       (3 30)79 9 - 196 3       YOUNGSTOWN OH         1. 0      0 ML     O. 0 0   0.0 0    o.oo     0.0 0     00 000 0 1 34 07 1 3 7063
( 330) 506 - 0 37 3 12 /15/01        00, 03,29       ( 21 6 ) 3 73-9714       CLEVEL.M1D     OH       .0      0 ML     0.0 0    0 .22    o. oo    0 22      0000 00 134 07137 063
(330) 506 - 0373 12/15/01            00,07,38        ( 330 ) 782 -00 86       YOUNGSTOWN OH           .0      0 ML     0 . 00   0.00     0 . 00   0 00      000000 1 3 4 071 37063
(330) 506 · 0373 12/1 5/01           00, 08, 48      ( 33 0 ) 74.7 - 33 05    YOUNGSTOWN O'-'         .0      0   ML   O 00     0 . 00   0 . 00   0.00      0000 00 134 071 3 706 3
( 3 30) 506 ·· 03 73 12/ 15/01       00, 09: 34      (3 30 ) 74 7- 341 7      YO UNGS TO\•IN OH       .0      0 ML     0.0 0    0.00     0 .00    o. oo     0000 0 0 1 340713 7063
{ 330 } 506- C373 12 / 1 5/01        00:14:18        { 33 0)7 4.7-1507        YOUNGSTOWN OH         1. 0      0 ML     0.00     0.00     0 .0 0   0 . 00    00000 0 134 07 13 7 063
( 330} 5 0 6 - 03 73 12/15/01        00 : 27:58      { 216 ) 37 3 - 9714      CLEVELAJ\!D    OH    1 2. 0     0 ML     O 00     2.4 0    0 . 00   2 , 40    000000 1340 7 13 70 6 3
( 330\ 50 6 · 03 7 3 12 /15/01       00,-1 2,30      ( 21 6 ) 373- 97 14      CLEVELAND      OH     5.0       0 ML     0.0 0     . 01    0.00     1 .0 1    0000 00 1 3407137 0 6 3




                                                                                                                                          DONNA ROBERTS v WARDEN
                                                                                                                                           CASE NO. 4:21-cv-00368-DAP
                                                                                                                                              APPENDIX – PAGE 5494
    Case: 4:21-cv-00368-DAP Doc #: 12-24 Filed: 01/14/22 89 of 512. PageID #: 12365




LOCATION: 058                                                                       DOBSON COMMUNICATIONS CORP                                                           ARAY
                                                                                                                                                                          PAGE:     4


BILO 13                                                                        CA L L         R E P O R T                                            Dl1.TE 12/1 9/ 01     TIME 11 :2 3


PERIOD       12/01


!'.CCOUNT~ Ol2 03 587 46 ·1 RO BERTS


 PHONE NUMB ER         DATE          TIME         CALLED NUMBER             CALLED CITY            DUR   P DIR        AIR     TOLL      RMR         TOT       SID        ESN


( 330) 506 - 0373 12/15 /01       00:4 6:5 4      ( 21 6 ) 3 73 - 971 4     CLEVELAND       OH     2.0   0 ML        0.00     0.42     0 . 00   0 42         0000 00 134 071 37063
( 3 30 ) 5 06-0373 12/15/01       00 :5 0:48      (3 30 ) 746- 54 01        YOUNGSTOWN OH         1.0    0 ML        0.00     0 . 00   0 . 00   0.00         000000 1340713 7 0 6]
(3 30) 50 6 - 0373 12 /15/01      0 0 :5 2:30     ( 3 30)746 -540 1         YOUNGS TOWN OH          .0   u   ML      0.0 0    0.00     0.00     o.oo         0000 00 1 3407 137063
(33 0)506 -03 7 3 12/1 5/01       00: 54:19       (33 0 ) 744- 244 1        YOUNGS TO\•/ N Oli      .0   0   ML      0 .00    0.00     0.00     o.o c        0000 00 1 340713 7063
( 330) 5 06 - 0373 12 /15/01      00 :5 5:05      ( 3 30)7 82-5986          YOUNGSTO\•IN OH       2.0    0 ML        O 00     0 . 00   0 . 00   0 00         0000 00 134 07 137063
[ 330)506 - 0373 12/15/01         00:57:15        { 330 ) 782- 59 86        YOi.JNGSTOWN OH         .0   0   ML      0.00     0 . 00   0 . uv   0 00         000000 134 071 370 6 3
[ 330)506-0373 12 /15/01          01: 01:14       { 3 30 ) 782    59 86     YOUNGS'l'O~1N   ow      .0   C ML        O. 0 0   0 . 00   0.00     0 OJ         0000 00 1 340713 7063
( 330) 506 - 0373 12/1 5/01       01: 02:10       (21 6) 373 97 14          CL EVELi'~"JD   OH    2.0    0   ML      0 .00    0. 42    0 .00    0. 42        00000 0 1 34 071 370 63
( 33 0 ) 5 0 6 -0373 12/15/01     01 : 05:11      (21 6 ) 373 - 9714        CLEVELAND OH          4.0    0 ML        O 00     0 .81    0 .00    0 . 81       000000 13407137063
( 330) 506 - 0373 12 / 15 /01     08:26:01        ( 330 ) 652- 88 84        NILES           OH    2.0    0 ML        0 . 00   0 . 00   0. 0 0   0.00         0 00000 13407137063
(3 30) 506 - 03 73   12/1 5/01    08: 34:19       (21 6)37 3 971 4          CLE VELAND      OH      .0   0 ML        O. 00    0.2 2    0 . 00   0. 22        00000 0 13 407 137063
(33 0) 506 - 0373 12/1 5/01       08: 35 : 4 5    (216 ) 373 -971 4         CLEVELAN D      OH      .0   0 ML        0 .00    0.22     0 . 00   0. 22        00000 0 1 3407 137063
(330 ) 5 06 - 0 373 12 /15/01     09:15:18        ( 2 16 ) 373-9714         CLEV8LAND       Ori     .v   O ML        0.00     0 .62    0.00     0 .6 2       00 0000 13407137063
(3 30) 5 06-0 37 3 12 /15/01      09: 32 : 21     (330 )404 -00 02          YOUNGSTOW N OH        1.0    0 ML        0 .00    0.00     0 .00    0 00         00000 0 13 407 137063
( 330 ) 506 -03 7 3 12/15 /01     09: 3 3: 33     (3 30 ) 506- 03 7 3       INCOMING              1.0    0 LM        0 .00    0.00     0.0 0    0.00         0000 00 13 40713 7063
(3 30) 50 6 - 0373 12 / 1 5/01    09:42:14        ( 3 30 )4 04 - 0002       YOUNGSTOWN OH           .0   0   ML      0.00     0 . 00   0 . 00   0 . 00       0 0 000 0 134071370 6 3
( 330 } 5 06-0373 12 /15/01       09:51:22        (330 ) 742 - 4880         YOUNGSTOWN OH           .0   C ML        0 . 00   0 .0 0   0.00     0 . 00       0000 00 13407137063
( 330) 5 06 - 0373 12 /15/01      09:57:45        ( 33 0)74 2 - 488 0       YOUNGSTOviN OH        1.0    C ML        O . 00   a . co   0 . 00   0 .00        0000 00 13 40713 706 3
(3 3 0) 506 - 03 73 12/1 5/01     09: 5 9: 36      3 3 0) 7,14 - 521 7      YOUNGS TOWN OH        3 .0   0 ML        0. 00    0.00     0.00     0    U\..:   0000 00 1J qQ71 37063
()30} 5 06- 03 73 12 / 1 5 /01    1 0 : 06: 45    (3 3 0 ) 74 4 - 52 17     YOUNGSTOWN OH         2.0    C ML        0 . 00   0.00     0.00     0.00         00000 0 13 407 137063
( 33 0 ) 5 06 - 03 7 3 12/15/01   10 : 13 : 33    (330)74 4-0538            YOUNGSTOWN OH           .0   0   ML      0 . 00   0 . 00   0 . 00   0.00         00000 0 13407137063
(330 ) 506 -03 73 12/1 5/01       10:1 4 :28      (33 0)744-- 053 8         YO UNGSTOWN     ow      .0   0   i'•iL   O . 00   0 .00    o . oc   0,00         00000 0 13 4071 37063
(3 30) 50 6 -· 0373 12/1 5/ 0 1   10:l. ~:12      ( 3 30 ) 74 7-944 6'      YOUNGSTOWN OE         1.0    0 ML        0.00     0.0 0    0.00     0 00         0000 0 0 134 07 13 7063
( 330 ) 506 -03 73 12/15/01       1 0 : 18: 1 4   ( 330 ) 744 - 598 9       YOUNGSTOWN OH           .0   O ML        0.00     0 .00    0 .0 0   0 .00        0000 00 13407137063
(3 30 ) 5 06-0373 12 /15/0 1      10:29:54        ( 330 ) 744-0831          YOUNGSTOWN O'-'         .0   0 ML        0 .00    0.00     0.00     0.00         000000 1 340713 7 063
(33 0) 506 --037 3 12/15 /01      10: 49:14       (33 0)743 -1130           YO UNGSTOWN O'-'      1 .0   0   ML      0 .00    0 .00    0 . 00   0 . 00       00000 0 13 4071 37063
(330) 5 06 - 0373 12/1 5/01       11: 00:44       ( 32 0 ) 536 641 7        LOWELLVL        OH    1.0    0 ML        0 . 00   0 .00    0 . 00   o .oc        0 0 0000 13 4071370 63
( 330 ) 5 06-03 7 3 12 /15/01     11: 04:5 3      ( 330 ) 7-17-3951         YOtJNGSTOWN OH        2.0    0   ML      0.00     0 . 00   0 .00    0.00         00000 0 134071 37 0 6 3
( 330 ) 5 06 - 0373 12/ 15/01     11:07: 57       (330 ) 743 -521 7         YOUNGSTOWN OH         2.0    0 ML        O 0•'    0 .00    0.00     0 00         0000 00 13 4 07 13 70 63
(33 0)506 - 0373 12/1 5 /01       11:1 0:0 5      {33 0 ) 74.4-2707         YO UNGSTOViN OH       4, 0   0 ML        0 . 00   0 .00    0.00                  0000 0 0 1 340 7 1 37063
( 330 ) 5 06 - 0373 12 /15/01     ll:27:18        ( 33 0}744- 231 9         YOi.JNGSTOViN OH        .0   0 ML        0 . 00   0.00     0 . 00   0 . 00       00000 0 l ]qQ71370 63
( 330 ) 506-0 373 12/1 5 /0 1     11:29:55        (330 ) 746 - 8173         YOlJNGSTOViN OH       2. 0   0   ML      0 . 00   0.00     0 . 00   0.00         00000 0 1 3 40 7 137063
( 330) 506 - 0373 12/15 /0 1      12:13 :50       (330 ) 65 2-8884          NIL8S           OH    1.0    0 ML        0 .00    0 . 00   0.00     0. 00        00000 0 134 0 7137063
( 330 )506 -037 3 12/1 5/01       i2: 2l:48       (330 ) 536- 6417          LOW ELLVL       oir     .0   0 ML        0.0 0    0 .00    0 . 00   0.00         0000 00 1 340 713 7063
( 3 30) 5 06 - 0373 12/15/01      13:0 3:09       (3 3 0 ) 652-8 884        NILES           OH      .0   0   ML      0.00     0 . 00   o .oo    0 . 00       000000 13407137063
( 33 0) 5 06 - 0373 12/15/01      13:53:38        ( 330 ) 744 - 52i 7       YOUNGSTOWN OH         2.0    0   ML      0 . 00   0 . 00   0 . 00   0 . 00       000000 134 07 13706 3
( 330)506-0373 12/ 15/01          14: 05:28       (330 ) 536- 6273          LOI-IELLVL              .0   0 ML        0 .00    0 . 00   0 . 00   0 . 00       000 000 13 407137 063
( 330) 506 -0373 12/1 5/01        14:0 9:55       (330 )7 44 3781           YOUNGSTOWN OH           .0   0 ML        0.00     0.0 0    0.00     0 00         0000 00 13 407 137063
( 330 ) 506 - 037 3 12/15/0 1     14: 10 : 1 7    ( 3 3 0 ) 717 - 14 76     YOUNGSTOWN OH           .0   0   ML      0.00     0 . 00   0.00     0.00         000000 13407137063
( 330) 506 - 03 73 12/15 /0 1     14:11 :2 8      { 33 0 ) 74.4- 3781       YOUNGSTOWN OH         1. 0   0   ML      0 .00    0 .00    0 . 00   0.00         0000 00 134071370 63
( 330) 506 -0373 12/1 5/01        14:4 5:46        330 ) 536- 627 3         LOW ELLV L      OH    2.0    0   ML      0.0 0    0.00     0.00     0 .00        0000 00 134 071 37063
( 330) 506 - 0 373 12/1 5/0 1     15:21 :56       ( 21 6 ) 373- 971-1       CL8VEL!'~"JD    OH    1.0    0   ML      0.00     0 . 22   0.00     0 22         000000 13407137063
( 330 ) 5 06 - 03.73 12 /15/01    15 : 22:19      ( 2 16 ) 373 - 9714       CL2VEL!'~"JD    OH    3.0    0   ML      0 . 00   0 .6 2   0 . 00   0 . 62       000000 1 3407 13706 3
( 330) 5 06 - 0373 12/15 /0 1     15:5 1:36       ( 3 3 0 ) 518 · 3 3 5 3   YOUNGS TO.-IN OH      1 .0   0 ML        0.00     0.00     0 . 00   0.00         00000 0 1 3407 137063




                                                                                                                                        DONNA ROBERTS v WARDEN
                                                                                                                                         CASE NO. 4:21-cv-00368-DAP
                                                                                                                                            APPENDIX – PAGE 5495
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LOCATION : 0 58                                                               DOBSON COMMUNICf'\TIONS CORP

                                                                                                                                                                  PAGE:     5


BIL013                                                                  C A L L        REPORT                                               DP.TE 12 / 1 9/0 1     TIME ll :23


PERIOD      12/01


ACCOUNT= 012 03587 4.6 -1 ROBERTS                          DONNA


 PHONE NUMBER        DATE          TIME        CALLED NUMBER         CALLED CITY           DUR      P DIR      AIR    TOLL       RMR      TOT        srn         ESN


( 330 )50 6-0373 1 2/ 1 5/01    16:2 2:50      ( 330)506-0373        INCOMING              1.0      0 LM     0 .00    0.00     0.00      0 .00      000000 1340 7137 063
(330)50 6 0373 12/15/01         17:3 5:45      ( 216)373-Q714        CLEVELAND        OH   8.0      0 ML     0.0 0    l. 6 1   0.00        .61      000000 13 407137 063
(330)50 6-0373 12/15/01         17:4 3:31      (3 30)782 -5986       YOUNGSTOWN OH         1.0      0 ML     0.00     0 . 00   0.00      0.00       000000 1340 7137 063
(330)506 -0373 12/15/01         17:44:52       ( 216)373-9714        CLEVEL.".ND      OH   3.0      0 ML     0 . 00   0.62     0.00      0 .62      000000 13407137063
(33 0 ) 506 - 0373 12/ 15 /01   17: 48: 48     (330) 7-H -5 217      YOUNGSTOWN OH         1 .0     0 ML     0.00     0.00     0 .0 0    0.00       0000 00 13407137063
{ 330 ) 506-0373 12/15/01       1 8:15:18      ( 330 ) 404 - 4047    YOUNGS TOWN      ou   1.0      0 ML     0 .00    0.00     0 . 00    0 . 00     000000 13407137053
(330) 506- 0373 12/15/01        18: 19:24      ( 330 )506 -0373      INCOMING              2.0      0 LM     0.00     0 . 00   0.0 0     0 . 00     000000 13407137 063
(330) 5 06- 0373 12/15/01       18:2 1:02      (3 30)7'14- 3781      YOUNGSTOWN OH         1. 0     0 ML     0 .00    0.00     0.00      0 .00      000000 13 407137 063
(3 30 ) 506-·0 373 12/15/01     18:21:53       ( 330)404 - 0002      YOUNGSTO)•JN Q..l'    l .0     0 ML     O. 00    0.00     0 . 00    0.00       000000 13407137063
( 330 ) 506-0373 12/15/01       18:40:02       ( 330 ) 506 -0_373    INCOMING              3.0      0 LM     0.00     0.00     0 . 00    o.o c      000000 13407137063
( 330 ) 506 - 0 3 73 12/15/01   13 : 52:25     ( 330)788-1784        YOUNGSTOWN OH           .0     0 ML     0.00     0.00     0 . 00    0 .. 00    000000 13407137063
(330)506-0 373 12/1 5 /01       19: 12:38      ( 330) 5 06-0373      INCOMING              --U      OLM      0 .00    0.00     ,, . 00   0 00       000000 134071370 63
(33 0 )50 6 0373 12/15/01       19:2 5:26      ( 330)726 - 6969      YOUNGSTO WN OH             0   0 ML     0 .G0    0.00     0.0 0     0 00       000000 1 34071370 63
(330)50 6 0373 12/15/01         19:37: 44      ( 330)506 - 0373      INCOMING              s.O      OLM      0.0 0    0.00     0.00      0 00       000000 13407 137 063
{ 330 ) 506-0373 12/15/01       19:49: 4·5     ( 330 )7 26 -6969     YOUNGSTOWN OH           .0     0 ML     0 . 00   0.00     0 . 00    0.00       00 0 000 1340713706)
(330 ) 506-0373 12 /15/01       20:03:14       ( 330) 506 -0373      INCOMING                .0     0   LM   C.00     0.00     0.00      0 .0 0     000000 13407137063
(330)506-0 373 12/ 15/01        20: 08 : 23    ( 330 ) 747 -3951     YOUNGSTOWN OH         2. 0     0 ML     O 00     0.00     0 . 00    0 00       000000 1340713706 3
(330)506 ··0373 12/15/01        2 0 :1 0:26    {330)7 •'1 4 - 2707   YOUNGSTOWN OH           .0     0 ML     0.00     0.00     0.0 0     0 00       000000 13 4071]7 063
(330)506- 0373 12/15/01         20:1 4:07      (3 30}404 --0·002     YOUNGSTOWN OH         -· V     O ML     0.0 0    0 . 00   0.0 0       .G O     000000 134 0713 7063
(330)506 - 0 373 12/1 5/01      20:i4:41       ( 330)40 4- 0002      YOUNGSTOWN OH          .0      0 ML     0.00     0 .0 0   0,00      0 00       000000 13407137063
{ 330 }50 6-0373 12/15/01       20:17:09       ( 330)404 - d002      YOUNGSTOWN OH           .0     0 ML     0.00     0.00     0.00      0.00       000000 13407137063
( 330 ) 506 - 0373 12/15/01     2 0 :1 9 :23   ( 330 ) 744-~-781     YOU1-JGSTOWN OH         .0     0 ML     0.00     0 . 00   0 . 00    0.00       00000 0 13407137063
( 330 ) 506-0 373 12/15/01      2 0 : 25:49    ( 330} 65 2-1434      NILES            OH   2. 0     0 ML     O . 00   0.00     0 . 00    0 00       000000 1340 7 137063
(330)506- 0373 12/15/01         20:3 3:27      (3 30)7°14-52 17      YOUNGSTOWN OH          .0      0 ML     0. 00    0 . 00   0.0 0     0 .00      000000 13 407137 063
(330) 506 - 0373 12/15/01       21:2 6 : 33    (3 30) 743 -0650      YOUNGSTOWN OH         1.0      0 ML     0 .00    0.00     0.0 0     0 . 00     000000 1340 7137 063
( 330 ) 506-0373 12/15/01       21:5 0:32      ( 330 ) 506-- 0373    INCOMING              1. 0     0 LM     0 .00    0.00     0 . 00    0 . 00     000000 1340 7137063
( 330 ) 506 - 0373 12/15/01     22:19:51       ( 330)518-1920        YOUNGSTOWN. OH        l. 0     0 ML     O. 00    0.00     0 . 00    0.00       000000 13407137063
(330)506 - 0373 12/15/01        22:27:41       (330) 7 4 7-3951      YOUNGSTOWN OH         5.0      0 ML     0.00     0 . 00   0 . 00    0.00       000000 134 07137063
( 330 ) 5 06- 0373 12/1 5 /01   22:33:1 3      ( 330) 759 -3077      YOUNGSTOWN OH         l.O      O ML     0.00     0.00     0.00      0.00       000000 13 40713706 3
(330)506- 0373 12/ 15/0 1       22:3 6:12      (3 30) 744 - 2707     YOUNGSTOWN OH         1.0      0 ML     0.0 0    0 .00    0.00      0 .00      000000 134 07137 063
(330)506 -0373 12/15/01         22:42:5 8      ( 330)536 -6 273      LOWELLVL         OH   1. 0     0 ML     0.00     0.00     0.00      0.00       000 000 1340 7137 063
(330) 506 -03 73 12/15/01       22:43:19       ( 330) 506-0_37 3     INCOMING              2.0      0 MF     0.0 0    0 .0 0   0.00      0 . 00     000000 13407137063
(330)506-0 373 12/15/0 1        23:26:3 4      ( 330)506 - 0373      INCOMING               .0      0 LM     0 . 00   0.00     0 . 00    0 .00      000000 13407137063
( 330 ) 506-0373 12/1 6/0 1     00:04:56       { 330) 744 -5:217     YOlJNGSTOWN OH        2.       0 ML     0.00     0.00     0 . 00    0 00       000000 13407 1 37063
(330) 506-0 373 12/16/01        0 0:0 6: 31    ( 216) 373 -9714      CLEVELA...t\JD   OH    .0      0 ML     0 .00    0 .2 2   0.0 0     0 22       000000 1 3407137 063
( 330 )5 06-0 373 12 /16/01     00: 08:30      ( 3 30)744 -2707      YOU!"-JGSTOWN OH      4.0      0 ML     0 .00    0.00     0.00      0.00       000000 13407137 063
(330) 506-0 373 12/16/01        00 :12: 26     ( 330) 5 06-0373      INCOMI NG             2.v      OLM      0 .00    0 . 00   0 . 00    0,00       0000 00 1]407137063
( 330 ) 506 - 0373 12/16/01     00 :13:24      (330) 506-0373        INCOMING              2.0      0   MF   0.00     0.00     0 . 00    0 . 00     00 0 000 13407137 0 63
( 330 )506 -0373 12/16/01       00:37:21       ( 330 ) 506 - 0373    INCOMING               .0      0   LM   0.00     0.00     0 . 00    0 00       000000 13407137063
(330)50 6 - 0373 12/16/01       0 0 : 38:0 7   {330)744 -5217        YOUNGSTOWN       ow    .0      0 ML     O . 00   0 . 00   0 . 00    0 00       000000 1340 7137 063
( 3 30)506- 0373 12/16/01       00:43 :15      (3 30)506- 0373       I NCOr•lING           2.0      0   LM   0 .00    0 . 00   0.0 0     0 00       000000 134 07137 06 3
(330)506-- 0373 12/16/01        00:4 9 : 04    (2 16)373 -97 1 4     CLEVELAND        OH   6.0      0 ML     0 .00     .21                          000000 1340 71 37 063
( 330 } 506-0373 12/16/01       01:02:07       ( 330}506 - 0373      INCOMING              3.G      O LM     O. 00    0.00     0 . 00    0,00       000000 13407137063
{ 330 ) 506-0373 12/16/01       01:05:18       ( 216 ) 373-9714      CLEVELAND        OH   5.0      0 ML     0.00      .01     0.0 0      .01       000000 13407137063




                                                                                                                                DONNA ROBERTS v WARDEN
                                                                                                                                 CASE NO. 4:21-cv-00368-DAP
                                                                                                                                    APPENDIX – PAGE 5496
     Case: 4:21-cv-00368-DAP Doc #: 12-24 Filed: 01/14/22 91 of 512. PageID #: 12367




LOC.l\TION: 058                                                                     DOBSON COMMUNICAT IONS COR?                                                  ARAY
                                                                                                                                                                 ?AGE:       6


BIL01 3                                                                        C A L L       RE? OR T                                           DATE 12/19/01     TIME 11 :2 3


PERIOD       12/01


JKCOUNT=012 03 587-16 4 ROBERTS                                 DONNA


 ?HONE NUMBER           DATE          TIME       CALLED NUMBER              CALLED CITY          DUR    ? DIR      AIR    TOLL        RMR     TOT      SID      ES N


( 330)506-0373 12/16/01             01:09:33     (800 ) 957 - 7399          800 SVC                .0   0 ML     O 00     0.00      0 . 00   0 00     000000 13407137063
( 330 ) 506 -0 373 12/1 6/01        01: 12: 30   ( 216 ) 373 - 9714         CLEVELAND      OH    2. 0   0 ML     O 00     0 _42     0 . 00   0 42     000000 13407!37063
(330) 506 - 0373 12/16/0 1          01:14:22     ( 216 ) 373-9714           CLEVELAND      OH    2.0    0 ML     0.00     0. 42     0.00     0 .42    00000 0 134 07 1370 6 3
( 330) 506 - 0373 12/16/ 01         01: 37:29    (2 16 )3 73- 971 4         CLEVELAND      OH    8.0    0 ML     0.00       .61     0.00        61    00000 0 1 34 0713 70 6 3
( 330 ) 506 - 0373 12/16 /01        03:52:51     ( 216 ) 373-9714           CLEVELAND      OH    3. 0   0 ML     0.00     0.6 2     0.00     0 62     000000 134 071 37063
(3 3 0) 506 - 0373 12/16/ 0 1       04: 07 :02   ( 216 ) 3 7 3 - 9714       CLEVELAND      OH      .v   O ML     0.00     0 .22     0 00              000000 134 07 137063
( 330) 506 -· 0373   12/16/01       12:4-7:25    (330 ) 404-0002            YOUNGS TOt-JN OH       .0   u ML     0.0 0    0 00      0 .00    0. 00    0000 00 134 0713 70 63
( 330) 50 6-0373 12/1 6/01          13:0 4:16    (33 0)744- 37 81           YOUNGSTOWN OH          .0   0 ML     0.00     0.00      0.00     Q QI'    000000 134 071370 63
( 330 ) 506 - 0373 12/16/01         14:38:39     (330 )74 4 - 8646          YOlJ"NGSTOviN OH     2. 0   0 ML     0.00     0.00      0 . 00   0 . 00   000000 13407137063
( 3 30 ) 506 - 0373 12/16 /01       16: 16: 18   (330 ) 536 - 6274          LOWELLVL       0"      .0   0 ML     0 .00    o. oo     0 . 00   0.00     0000 00 13407137063
(330) 50 6 -- 0373 12/1 6/0 1       16: 17:28    (33 0 ) 536 62 73          LOWELLVL       ow      .0   0 ML     0.00     0.00      0 .00    0.0 0    000000 13 40 7137063
( 330)506 - 0373 12/16/0 1          16:2 0:31    (330 ) 536-6930            LOWELLVL       OH      .0   0 ML     0.00     0 .00     0.00     0 .00    0000 00 13407137063
( 330 ) 506-0373 12/16 /0 1         16:29: 39    {330 ) 506-0373            INCOMING             1.0    0 LM     0.00     0.0 0     o.oo     0.00     0000 00 13407137063
( 330)506-0373 12/16/01             16:35:03     (330 ) 506-0373            INCOMING             2.0    0   LM   0.00     0.00      0 .00    0.00     000000 13407137063
( 330) 506 0373 12/1 6/01           16: 36:44    (3 30)744 3781             YOUNGS TOWN OH         .0   0 ML     0 .00    0.00      0.00     0.00     00000 0 13407137 063
( 330) 506 -03 73 12/16 /0 1        16:50:31     (330 ) 404-0002            YOUNGSTOWN OH        2.0    0 ML     a . co   0 .00     0 .00    0 . 00   00000 0 1 ]407137063
(3 30)506-0373 12/16 /01            16:58:27     ( 330 ) 744-1463           YOUNGSTOWN OH        2 .0   0 ML     0 00     0.00      0.00     0.00     00 0000 13407137053
( 330) 506 - 0373 12/16/01          17: 00:53    (330)747-1 750             YOUNGSTOWN OH        2 .0   0 ML     0.00     0.00      0.00     0.00     0000 00 13 4071370 63
(33 0) 506 - 0373 12/16/ 01         17: 05:47    (3 30 ) 744- 37 81         Y0u1'1GS TOWN O'-'   1.0    0 ML     0.00     0.00      0.00     0.00     00000 0 134 071370 63
(33 0 ) 506 - 0373 12/16 /01        17:09:28     (330 ) 744-3781            YOUNGSTOWN OH          .0   0 ML     0.00     0.00      0 .0 0   0.00     000000 13407137063
( 330) 506 - 0373 12/16/01          17:26:32     ( 216 ) 373-9714           CLEVELAND      OH    1.0    0 ML     0.00     0.22      0 . 00   0 .22    000000 13407137063
(3 30)506 - 0373     1. 2 /1.6/01   17:40:56     (216 )3 73 - 9714          CLEVELAND      OH      .0   0 ML     0.00     0.22      0.00     0.2;:    00000 0 1 340 7 1370 63
( 330) 506 -- 0373 12/1 6'/0 l      17: 42:31    {216 } 373- 971 4          CLEVEL.ll.ND   OH    4.0    0 ML     0.00     0 81      0 .00    0 .81    0000 00   134 0 7137063
( 330 ) 506 -0 373 12/16/01         17:48:03     ( 330 ) 519-8337           YOUNGSTOviN OH       7. 0   0 ML     O . 00   0.00      0.00     0 . 00   00 0 000 134 07 137063
( 3 3 0) 506-0373 12/16/01          17: 55: 25   ( 216 ) 3 7 3 - 9714       CLEVELAND      OH    4.0    0 ML     0.00     0.81      o.o o    0 31     000000 134 07 137063
( 330) 506 -0373 12/1 5/01          17: 58:53    (216 ) 3 73 - 971 4        CLEVEL.O,ND ow       5.o    o ML     a.co       .01     0.00     l. 01    000000 1 34071370 63
( 330) 506 - 0373 12/16/01          18:03:08     ( 3 3 0) 7 4 7 - l 7 5 0   YOUNGSTOY!N o-.. :   4. 0   0 ML     0 . 00   0.00      0 . 00   o.oc     0000 00 134 071 37063
( 330) 506 - 0373 12/16/01          18:08:55     (330 ) 404 - 0002          YOUNGSTOWN OH         .O    O ML     0 .00    0.00      0 . 00   0.00     00000 0 13407137063
( 330)506-0373 12/16/01             13:14:16     (3 30 ) 506 - 0 3 73       INCOMING             l. 0   0   LM   O - 00   0.00      0.00     0 .00    000000 13407137063
(330) 506 - 0373 12/16/01           18:2 8:56    (33 0) 747-1750            YOUNGS TOWN OH       2.0    0 ML     0.00     0.00      0.00     0.00     000000 134071370 6]
( 330)506-0373 12/16/01             18:39: 02    (216)373-9714              CLEVELAND      OH    2. 0   0 ML     0.00     0 - 4.2   0 . 00   0 42     000000 134 07137063
( 330 ) 506 - 0373 12/16/01         18:41:47     ( 330 )4 04-0002           YOUNGSTOWN OH         -V    O ML     0.00     0.00      0 .00    0 .00    00 00 00 13407137063
( 330) 506- 0373 12/16/01           18:5 9:12    (330)747 -175 0            YOUNGS TOWN OH       2.0    0 ML     0.00     0.00      0.00     0.00     000000 134071370 6 3
(330) 506 -0373 12/1 6/01           19: 25:06     3 30 )50 6-0 37 3         INCOMING              .0    0 LM     0.00     0.00      0.00     0.00     000 0 00 134 071 370 63
( 330 ) 506 - 0373 12/16/01         2 0 :07:50   ( 330 ) 5 16-3 353         YOUNGSTOWN OH        1. 0   0 ML     0 .00    0.00      0 .00    0. 00    000000 1]407137063
( 330 ) 506 - 0373 12/16/01         20:12:24     ( 330 )7 44-5217           YOUNGSTOWN OH        1. 0   0 ML     O 00     0.00      0.00     0.00     000000 13407137063
( 330)506 0373 12 /16/01            20: 24:07    ( 33 0) 7-16-5401          YOUNGSTOWN OH        l.O    O ML     0.00     0 . 00    0.00     o.oo     000000 13 407137 063
( 330 ) 506 -0373 12/16 /0 1        20:28:09     (888 )690- 19 23                                 .0    0 ML     0.00     0.00      o.oo     0.00     000000 134071370 6 3
( 330 ) 506-0373 12/16/01           20:30:32     (330 ) 506 - 0373          INCOMING             2. 0   0 LM     0.00     0.00      o .oo    0.0 0    000000 13407137063
( 330 ) 506-0373 12/16/01           20:32:47     (330)746 - 5401            YOUNGSTOWN OH        2.0    0 ML     0 .00    0.00      o.oo     0.00     000000 13407137063
(33 0) 506 -037 3 12/16/ 01         20: 35:05    (33 0)404- 000 2           YOUNGSTOWN OH        2.0    0 ML     0.0 0    0.00      0.00     0.00     00000 0 13 407137 063
( 330) 506- 0373 12/1 6/01          20:37:20     (330 ) 746-5401            YOUNGSTOWN OH        5.0    0 ML     0.00     0.00      0 .00    0.00     000000 134 071 37063
( 330)506 - 0373 12/16/01           20:41:51     (330)404-0002              YOL:"NGSTOWN OH      1. 0   0 ML     O. 00    0.00      0 . 00   0. 00    000000 134 07 137063
( 330)506-0373 12 /16/01            20:42:50     (330 ) 506 - 0373          INCOMING             1. 0   0 LM     O. 00    0.00      0.00     0.00     000 000 13407137063




                                                                                                                                     DONNA ROBERTS v WARDEN
                                                                                                                                      CASE NO. 4:21-cv-00368-DAP
                                                                                                                                         APPENDIX – PAGE 5497
      Case: 4:21-cv-00368-DAP Doc #: 12-24 Filed: 01/14/22 92 of 512. PageID #: 12368




LOCATION : 05 8                                                                               DOBSON COMMUNICil.TIONS CORP
                                                                                                                                                                                 ?AG E;        7


BI L013                                                                                C A L L       RE PO RT                                               DATE 12 / 1 9 /0 1    TI ME 11: 2 3


                 12 /0 1


ACCOUNT=0 12 03 58746 4 RO BERTS                                         DONNA


 PHONE NUMBER                 DATE            TI ME        CALLED NUMBER             CALLED CI TY         DUR      P DIR     AIR    TOLL       RMR         TOT       S ID


(330 ) 506 - 0 3 73 12/16/0 1             20:4 3:5 5       (33 0 ) 744- 52 1 7       YOUNGSTOWN OH        l.O      O ML    0.00     0.00     0 . 00    0 00         000 0 0 0 13 40 7 13 7063
(330) 506 -0373 1 2 /1 6 /01              20: 45:1 5       (33 0)7<16 -- 5401        YO UNGSTOWN OH       4.0      0 ML    0 . 00   0.00     0.0 0     0 .00        00 0000 1 3407137 0 63
(330 ) 506- 037 3 12/16/0 1               2 0:5 0: 2 0     (3 30 ) 7 44 - 52 1 7     YOUNGSTOWN ow          .0     0 ML    0.0 0    0 . 00   0. 00     0 . 00       00000 0 13 4 0 71 37 063
( 330 ) 5 0 6 - 0 3 73 1 2 / 16 /0 1      2 1 : 0 5:53     ( 888 ) 69 0 - 1923                                 0   0 ML    0.00     0 . 00   0 . 00    0 . 00       0 0 0 00 0 1 3407 1 37 0 6 3
( 330 ) 506 - 0 3 73 12/1 6/ 0 1          21: 06 : 48      ( 3 3 0) 5 0 6 -0 3 7 3   INCOMING               .0     0 LM    0 . 00   0 . 00   0 . 00    0 .00        0 0000 0 13407 13 7 0 6 3
( 330 ) 5 0 6 - 0 3 73 12 / 1 6 /0 1      21: 07: 54       (330 ) 506 - 03 7 3       INCOMING               .u     OLM     0 . 00   0 . 00   0 . 00    0 . 00       000 0 0 0 1 34 0713 7063
( 3 3 0 )5 0 6 - 0 37 3 12/16/0 1         2 1 : 0 8 : 12   ( 330) 5 06 -0 3 7 3      I NCOMING            2 0      0 MF    0 . 00   0 . 00   0. 0 0    0 00         00 0 000 13 40 7 13 7 063
(330 ) 5 06 -0373 1 2/ 1 6/0 1            21 :13: 09       ( 330) 74 4 -5217         YOUNGSTO\-/N OH      1.0      0 ML    0 .00    0 . 00   0 . 00    v .0()       000 0 00 13 4 0 7 1 37 0 63
(330 ) 5 0 6 - 0 373 12 / 16/01           21 : 19:2 0      ( 330) 5 06 - 03 7 3      INCOMI NG              .C     O LM    0 . 00   0 . 00   0 . 00    0.0D         000 000 1 340713 7 06 3
(3 3 0 ) 50 6 - 0373 12 / 16 /0 1         21 : 28: 5 9     (3 3 0) 747 - 0636        YOUNGSTOWN OH        l .0     0 ML    O. 00    0 . 00   0 . 00    0 00         0 00 0 0 0 13407 1 3 7 0 6 3
( 3 30 ) 5 0 6-0 3 73 12 / 1 6 /0 1       21:3 0 : 00      ( 33 0) 747 - 17 5 0      YOUNGSTOWN OH          .0     0 ML    0 .0 0   0 . 00   0 . 00    o. co        000000 1 3407 1 3 7 0 6 3
(3 30 ) 5 0 6-0373 12 /16/ 0 1            21: 35: 3 8      ( 3 30 ) 74 7 -1 7 50     YOUNGSTOWN OH          .0     0 ML    0 . 00   0 . 00   0 . 00    0 00         0 0 0 0 0 0 1 340 71 37 06 3
(33 0 ) 5 06 - 0373 1 2/ 1 6/01           21: 3 6 : 35     (330 )50 6 - 037 3        I NCOMING            2.       0 MF    O. 0 0   0 . 00     .JO     c.           00 00 00 13 40 7 13 7063
( 33 0 ) 50 6- 037 3 12 / 1 6/01          2 1: 41 : 34     ( 3 30)404 -00 0 2        YO UNGS TOWN OH       .0      0 ML    0 . 00   0 . 00      00     C CO         0 00000 1 340713 7 0 6 3
(3 3 0) 506 - 0373 12/ 1 6 /0 1           21 : 48 : 24     ( 3 3 0) 5 0 6 - 0 3 73   INCOMING             l. 0     0 LM    0 . 00   0 . 00   0 . 00    0 00         00 0 000 13 4 07 1 37 0 63
(3 30 ) 50 6 - 0373 12 / 1 6/0 1          21 :5 8 :2 7     0 3 0) 5 0 6- 0373        INCOMING               .G     O LM    0 . 00   0. 00    (}. 0 0   0.00         000000 1 34 0 7 13 7 063
{ 33 0 ) 5 0 6-0373        1 2/ 16 /01    2 2 : 0 7:5 0    ( 33 0} 7 t14- 52 1 7     YOUNGSTOWN OH        1.0      0 ML    0 .0 0   0 . 00   0 . 00    o. oo        0 00000 13 4071 3706 3
( J.30 ) 50 6 - 0 3 73 12/16/01           22: 09 : 2 2     ( 330) 506 -037 3         I NCOMI NG           1.0      0 LM    0 . 00   0 .0 0             0 00         0 0 0 0 00 13 4    1 37 063
(330 ) 5 0 6- 0373 12/16/0 1              22:1 3: 59       ( 3 30 )50 6 0373         I NCOMI NG                    0 LM    0 .00    0. 00    0. 00     0 00         0 0 0 000 13 40713 7 0 6 3
( 330 ) 5 0 6 - 0373 12/ 1 7/ 0 1         10 : 01:38       ( 330) 652 - 88 84        NILES          OH     .0      P ML    0 . 00   0 . 00   0 . 00    0 . 00       000000 1340713706 3
{3 3 0 ) 50 6 - 0373 12 / 17 /0 1         10 : 34 : 0 7    ( 330 ) 744 - 8642        YOUNGSTOWN OH        1. 0     P ML    0 . 00   0 . 00   0 . 00    0 .0 0       00 0 0 00 13 4 0 71 37 0 6 3
( 3 3 0 ) 5 0 6- 0 373 1 2/ 17 /01        1 0 : 34 :3 3    ( 330 ) 7 4 4 - 8646      YOUNGS TO':.T!~ OH   1.0      P ML    0 . 00   0 . 00   0 . 00    0. 00        0 0 0 0 0 0 13407137063
( 3 3 0 ) 5 0 6 - 0 3 73   12 /1 7 /0 1   10 : 35: 07      ( 3 30) 759 -· 307 7      YOUNGSTOWN OH        l .C     P ML    0 . 00   0 . 00   0 . 00    0 .00        00000 0 1340 7 13 706 3
(330 ) 50 6- 037 3 12 /1 7 /0 1           10: 36:31        (3 30) 744 -270 7         YOUNGSTOWN OH        4.0      P ML    0 . 00   0 .0 0   0. 0 0    0. 0 0       000000 1 340713 7 06 3
(330) 5 0 6- 0373 12/ 17 / 01             10: 40: 14       ( 3 30) 50 6 -037 3       INCOMI NG            1.0      ? MF    0 . 00   0 . 00   0. 00     0 , 00       00 0 0 0 0 134071 3 7 06 3
( 33 0) 5 0 6 - 0 3 7 3 12 / 17/ 0 1      1 0 :5 6:52      ( 330 ) 4 0 4 - 000 2     YOUNGS TOWN OH       2.0      ? ML    0 . 00   0. 00    0 . 00    0. 0 0       000 00 0 13407137 06 3
( 33 0 ) 5 0 6 - 0373 12 / 17 / 0 1       11:0 7 : 53      ( 33 0) 7 46 -5 4 0 1     YOUNGSTCWN OH        1. 0     P ML    0 . 00   0 .00    0 . 00    0 . 00       0000 0 0 13 4071 370 6 3
( 330 ) 506 - 0 3 7 3 1 2 / 17 /0 1       11 : 08 : 16     ( 330) 74 4-2 70 7        YOUNGSTOWN OH        2.0      P ML    0. 0 0   0 . 00   0 . 00    0. 00        000000 i3407 1 37 063
( 330 ) 50 6 - 0 37 3 12/ 17 /01          1 1: 11:24       ( 33 0 ) 7 44 --8558      YO UNGSTOWN OH       1.0      P ML    0 .00    0 . 00   0 . 00    0 00         0 0 0 000 13 40 7 137 063
(330)5 06 - 0373 1 2/17/01                11:1 2: 02       ( 33 0)743 -855 8         YOUNGSTOWN OH        1.0      P ML    0.0 0    0 . 00   0.0 0     0 .00        0 00000 13 40713 7 063
( 33 0) 506 - 0 3 73 12/1 7 / 01          11: 16 : 22      ( 3 30 ) 74 3 -8558       YOUNGSTO WN OH       2.0      P ML    0 . 00   0.00     0 . 00    0 . 00       0 0 0000 13 4 0 71 37 0 6 3
( 330 ) 5 0 6-0373 12/ 17 / 01            11 :19: 4 9      ( 33 0 ) 5 06 - 0373      INCOMING             2 .0     P MM    O. 0 0   0. 0 0   0.0 0     0.00         00000 0 13 40 7 137 063
13 3 0) 506 - 0373 12/ 1 7 / 01           11:43 : 13       ( 33 0) 652 - 8 8 84      NILES         OH      .0      P ML    0.00     0. 00    0 . 00    0 . 00       000 00 0 1 34 0 7 13 7 0 6 3
( 3 3 0 ) 50 6 - 0 37 3 1 2 /1 7 /01      11 : 49 : 0 2    ( 330 ) 5 0 6 -0 373      INCOM I NG            .o      P MM    0 . 00   0.00     0 . 00    0 .00        00 0 00 0 13 40 7 1 3 7 0 6 3
( 3 30 ) 50 6 - 0 37 3 12 / 1 7/01        11: 5 0 : 4 4    ( 330 53 6- 6930          L0\1ELLVL     OH      .0      P ML    0 .00    0.00     0 . 00    0 .0 0       0 00000 1340 71 37 0 63
(330 ) 50 6- 0373 12 /1 7 /0 1            11: 54:5 7       (3 30) 60 9 -5838         WARREN        OH      .0      P ML    0. 0 0   0.00     0 .0 0    0    co      0 0 0 0 0 0 13 40 7 137 063
( 330 ) 506 - 0373 12/17/01               12: 06:56        ( 3 3 0 ) 5 06 - 0373     I NCOMING             .0      P LM    O. 00    0 . 00   0 . 00    0 00         00 0 0 0 0 13407 1 37 06 1
( 3 30 ) 5 0 6- 0 37 3 12/17 / 0 1        12:25:38         ( 33 0) 742 - 4 880       YOUNGSTOWN OH         .0      P ML    0 . 00   0.00     0. 00     0 . 00       0 0 0 0 0 0 13 4 07137 06 3
( 3 3 0 ) 5 0 6-0 3 73 12 / 17/ 0 1       12 :3 1: 07      ( 33 0) 742 - 4880        YO lfNGSTOWN OH           0   P ML    0 . 00   0.00     0 .0 0    0 . 00       0000 0 0 13 4 0 7 137 063
(3 30 ) 506 - 0 3 73 12/1 7 /01           12:3 3:14        ( 330 ) 7 4 2- 48 8 0     YOlJNGS TO~-JN OH    1.0      P ML    0 . 00   0.00     0 .00     0 00         0 00 0 00 13407 13 7 06 3
1330)50 6- 0373 1 2/ 1 7 / 01             12: 34: 04       ( 33 0 ) 742 - 4-8 8 0    YOUNGSTOW N OH        .u      ? ML    O. 0 0   0 .00    0.0 0     0            0 0 00 00 1]40 71 37 06 3
( 330 ) 506 - 0 3 73 12 / 1 7/01          1 2: 3 4: 58     ( 3 30) 7 42- 488 0       YO UNGS TOWN OH      2 .0     P ML    0 .00    0 .00    v .00     0. 00        0 0 0 0 00 1 3407 1 37 06 3
( 3 3 0) 5 06 - 0 3 73 1 2/ 1 7 /0 1      1 2 : 3 9 : 13   (3 30 ) 746 - 3636        YOUNGSTOi<i N OH      .0      P ML    0 . 00   0 . 00   0 . 00    0 00         00 0 000 !34 0 713 7 0 6 3
i 33 0) 5 0 6 - 0 373 1 2 /1 7 / 01       1 2:4 0 : 1 5    (3 3 0 ) 747 - 17 5 0     YOUNGSTOWN OH        1. 0     P ML    O. 0 0   0 . 00   0 . 00    0 . 00       000000 13407 1 37 0 6 3




                                                                                                                                              DONNA ROBERTS v WARDEN
                                                                                                                                               CASE NO. 4:21-cv-00368-DAP
                                                                                                                                                  APPENDIX – PAGE 5498
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LOCATION:058                                                                           DOBSON COMMUNICATIONS CORP                                                      ARAY
                                                                                                                                                                       PAGE:       8


BIL0 13                                                                         CA L L           R EPOR T                                            DATE 12/19/0 1     TIME 11 : 23


PERIOD        12/ 01


ACCOUNT =012 03 58 74 6         4     RO BERTS                     DONNA


 PHONE NUMBER            DATE              TIME        CALLED NUMBER          CALLED CITY            DUR    P DIR        AIR   TOLL      RMR       TOT      S ID      ES N


( 33 0 ) 5 06 -03 73 12 / 1 7/01        12:4 1:02      ( 330 )404 - 0002      YOVNGSTOViN OH         1.0    P ML     0.00      0.00     0 00      0 00     00 0 0 0 0 134 0 71370 63
( 330 ) 5 06 - 03 73 12/17/01           12 , ,12: 37   ( 330 ) 506°0373       INCOMING                .0    P LM     0 .00     0 00     0 . 00    0 . 00   00000 0 13407 1 370 6 3
( 330 ) 5 06 ·- 03 7 3 1 2 / 17 /01     1 3: 03 : 27   ( 3 30) 742 - 4 88 0   YO LJNGS TO~•!N OH      .0    ? ML     0 ,00     0 .00    0 .00     a oo     0000 00 134 07 137063
( 330 )50 6 - 0373 12/ 17/ 01           13 : 11 :31    (33 0 ) 746-- 3 636    YO tJNGSTOl•/N   U h   2.0    ? ML     0 .00     0.0 0    0 .00     0 00     0000 00 13 4 0 713 7 0 6 3
( 33 0 ) 5 06 -0 3 7 3 12/1 7 /01       13: 1 2: 41    ( 33 0)40 4-0002       YO\JNGST0 1:JN OH       .O    P ML     0 .0 0    a .cc    0 00      0.00     0000 00 1 34 071 37063
(3 3 0} 5 0 6 - 0 373 12/17 /0 1        13:13:2 0 , {33 0 ) 404 - 0 00 2                              .0    P ML     0    oc   0 . 00   0 . 00    0.00     000000 1 34 071 3706 3
( 330) 5 06 - 03 73 1 2 /17/ 0 1        1 3: 13:48     (330)404- .000 2       YOUNGSTOWN OH           .0    P   ML   0 .00     0 . 00   0.0 0     0 .00    00 00 00 134 07 13 706 3
( 330) 5 06 - 03 7 3 12 /17/01 . 1 3:1 5:3 4           (330 ) 6 52- 8 88 4    NILES            OH     .0    P ML     0.00      0.0 0    0 .00     0 . 00   000 0 00 134 071 370 6 3
( 330 ) 506- 0 373 12/17/01             1 3: 16:26     {33 0) 506 - 0373      INCOMING                .0    ?   LM   0 .00     0 .00    0 . 00    0. 0 0   00000 0 134 0 7137063
( 330 ) 5 06- 0 373 12/17/01            1 3 : 26:33    ( 330 ) 404-0002       YOUNGSTOWN OH           .0    P ML     a . co    0. 0 0   0.00      0 .00    00 0 0 00 1 3407 137 0 63
(33 0) 50 6 - 0373 12/ 17/01            13 :30:13      (330 )5 06 03 73       INCOMI NG               .0    P LM     0. 00     0.0 0    0 .00     0 . 00   0000 0 0 1 3407 13 7063
( 330 ) 5 06 - 037 3 1 2 /1 7/01        1 3:31:25      ( 33 0 ) 743- 2 180    YOUNGSTOWN OH           .0    P ML     0 .00     0 .00    0.00      0.00     000 0 00 13 40 7 13 7063
( 33 0) 5 05-0373 12/17/01              13:3 9:46      (330) 747- 175 0       YOUNGSTOt;-.TN OH      2 .0   P ML     0.00      a.co     0. 0 0    0 . 00   00 0 0 00 13407137063
( 330) 5 06-0373 12/17 /01              13:4 7 :2 0    (330 ) 506-0373        INCOMING                . o P LM       0.00      0 . 00   0 . 00    0 .00    0000 00 1340713 7 063
(33 0)50 6 - 0373 12/ 17/01             14: 08:26      (3 30) 74 4-86 46      YO UNG STOWN OH        1.0    P ML     0.0 0     0.0 0    0 . 00    0 .0 0   0000 00 1 340 713 7063
( 330 ) 506- 0373 12 /17/ 0 1           14: 08: 5 3    ( 33 0 ) 744 -08 31    YOUNGSTOt--JN OH       1.0    P ML     0 .00     0 00     0 .0 0    0 . 00   0000 00 13 4 07 137063
( 3 3 0 ) 506 - 0 373 12/17/01          14:18:56       ( 33 0) 506 - 0373     I NCOMING              5.0    P LM     0 .00     0 . 00   0 .0 0    0. 0 0   00000 0 13 4 07 1 37063
( 33 0 ) 5 06 - 03 73 1 2 /1 7/01       14:3 6:00      (330)652- 8 884        NI LES           OH     .0    P ML     0. 00     0.0 0    0.00      0 .00    00 000 0 13 407 13 706 3
( 330) 50 6 -0373 12/ 17/ 01            14 :57: 3 5    ( 330 ) 6 52- 8 884    NILES            OH     .0    P ML     0. 00     0.0 0    0. 00     0 .00    0000 00 134 07 1370 6 3
( 3 3 0 ) 5 06 - 0 373 12 /17/0 1       14:59:1 8      ( 330 ) 506 - 0373     INCOMING                .0    P LM     0 . 00    0 . 00   0 . 00    0 . 00   0000 00 13 4 07137063
( 330 ) 506 - 0373 1 2 /17/01           15:05:26       {330 ) 404-0002        YOUNGSTOWN OH          2.0    P ML     0.00      a . co   0 .0 0    0.00     000 0 00 134 0 7137063
( 33 0) 5 06 - 03 73 12 /17/01          15: 06:38      ( 3 30 )40 4 -0 002    YOUNGSTOWN OH          2 .0   P ML     0.0 0     o.o o    0 . 00    0. 00    0 000 00 134 07 13 7063
( 330) 5 06 - 0 373 1 2 /17/01          15:1 0:4 2     ( 330 ) 65 2 -8 884    NI LES           OH     .0    P ML     o.oo      a.co     0.00      0 .00    0000 0 0 1 340713 7063
( 3 3 0) 5 06 - 0373 12/17/01           15 : 11:14     ( 330 ) 506-0373       INCOMING               2. 0   P LM     0.00      0 00     0 . 00    0 00     00000 0 134 07 137063


                                                                                                       73 0.0                  42. 43    S .3 6




                           (\)0         QQ Ll_         ~                                             l7--{cr /61




                                                                                                                                        DONNA ROBERTS v WARDEN
                                                                                                                                         CASE NO. 4:21-cv-00368-DAP
                                                                                                                                            APPENDIX – PAGE 5499
     Case: 4:21-cv-00368-DAP Doc #: 12-24 Filed: 01/14/22 94 of 512. PageID #: 12370

UAAAAAAi\...iijJiJijJiJJiJiJiJiJJiJiJ,JJiJiJiJ,Ji.   c e 11 u 1 a r Phones                                             cphninq i.,
                                                                             ' Functions Available
' Phone#       (330)509 -0270                                                ' Fl - Forward                  F2- Backward'
3
  Account      012 - 0358746 - 4                                             3
                                                                               F3 - Show Services
' Cust Type    RETAIL                                                        ' F4 - Free Minutes                         NO
' Name         DONNA M ROBERTS                                               ' F5 - Phone Level Adjustments'
' Use r                       Lock Code 12345                                • F6 - Switch Manager
3
  ESN          23702281473    Hex=ED22D001                                   • F7 - Rate Plan Anal y sis
' Model        237        MOTOROLA                                           • F8 - Minute Adjustments
3 Location     C    0lR PHONE                                                ' F9 - Phone Maintenance
                                                                             • ~ " " " " " " " .. " " " .. " " .. ...... .. ........ ....
3 Salesman     NWS NILES/WARREN
3 CSR ID       618 JENNIFER BURRES                                           ' Calls Thru    12/18/01 21:59                             •
3 Commission   999 NO COMMISSION                                             • Lease Billed             0 .00                           •
3 Contract    0012 "12 MONTH NEW ADD"                                        3
                                                                               Lease Balance            0.00                            3


'Activat e     11/16/00                                                      • MTD Usage Charges    (No Tax)                            •
3 Lock Date    11 /16/00 Term Date 11/16/01                                  • Peak AirTime Used        22.5                            3

3 Toll Carrier 0288 AT&T                                                     • OffPeak AirTime Used     16.0                            3

3 Origination  PREV -O WN                                                      Total AirTime Used       38.5                            3

• Lease                                                                      • Roamer Air Charges       0.00                            3

3
  Campa i gn                                                                 • Toll Charges             0 .3 3                          '
• Standard Trnsmt #           Batch Date                                     3
                                                                               Other Charges            0.00                            •
• Feature Trnsmt #            Batch Date                                     • Total MTD                0.33                            •
~iiJ,J,JJi.iiJJijiJi~~iiJiJi.AA.iJiJiJ,JJiJJiJJiJiJ,.i,JJLf,JJi.JJiJiJiJiJiJJi.0
    Esc- Exit to Subscriber Profile




                                                                                                                   DONNA ROBERTS v WARDEN
                                                                                                                    CASE NO. 4:21-cv-00368-DAP
                                                                                                                       APPENDIX – PAGE 5500
     Case: 4:21-cv-00368-DAP Doc #: 12-24 Filed: 01/14/22 95 of 512. PageID #: 12371




LOC.".TION , 058                                                                               DOBSON COMMUNICATIONS COR P                                                               ARAY
                                                                                                                                                                                         PAGE;        2


8I L0 13                                                                             C A L L          REP ORT                                                        DATE 1 2/ 1 9/01     TI ME 1 1 : 2 1


PER IO D       10/01


ACCOUNT= 012 035874 6            4     ROBERTS                        DONNA


 PHONE NUMBER             DATE              TIME         CALLED NlP,-18ER         CALLED CITY              DUR          P DIR    AIR      TOLL          RMR         TOT       SID       ES N

                                                                       ;
( 3 30) 509-0 27 0       9/22/01         11,23, 0 3      ( 330) 74 3-4141         YOUNGSTOWN OH            1.0         0 ML     0.00      0.00      0.00        0.00         00000 0 237 0228 1473
( 330 ) 509 - 0270       9/22/0 1        11,2 4,50       (3 30)7-13 - 4141        YOUNGSTOWN OH            2.5         0 ML     0 .00     0.00      0.0 0       0. 00        000 0 00 23 7022814 73
(330 ) 509 - 0270        9 /22/ 0 1      11'28,21        ( 330) 39 4-9453         WARREN            OH     1.5         0 ML     0 .00     0. 00     0.0 0       0 .0 0       000000 2370 22 81473
( 3 3 0) 5 0 9 - 027 0   9/ 2 2/0 1      11 : 4 2 : 49   ( 33 0) 39 4 - .94 5 3   ,IAEL'l.EN        OH     1. 0        0 ML     0 . 00    0 . 00    0 . 00      0 . 00       000000 2 3 70 2281 473
(3 3 0 ) 50 9 -0 2 70    9/25/01                         { 3 30) 8 4 1 -2 5 2 9   WARREN            OH     1 .0         P ML    0 . 00    0 . 00    0 . 00      0 00         000000 2 370 228 1473
( 33 0) 50 9- 027 0      9/25/0 1        13:46:1 0       ( 3 3 0) 50 9 - 0270     I NCOMI NG                 .5         P LM    0 . 00    0 . 00    0 . 00      0 GO         00 000 0 2 370228147 3
( 33 0) 509-0 270        9/2 5 /01      13,4 8, 50       ( 330) 3 94 · 94 5 3     WARREN           OH        .0         P ML    O. 00     0. 00     0. 00       0 .00        0 0000 0 23 70228 1173
( 330 ) 509 - 0270       9/25/01        13,5 3,28        ( 33 0)509 ~02 70        I NCOMING                1.0         P LM     0.00      0. 00     0. 00       0.0 0        000000 237 0228 1473
(33 0 ) 509-0 2 70       9/ 2 6/01      11,42,37         ( 330 ) 609 -78 12       WARREN           OH      3.0         P ML     0.0 0     o. oo     0 . 00      0 . 00       000 0 00 23702281473
( 33 0 ) 50 9 -0 2 70    9 / 2 6/01     1 1: 46 : 19     { 33 0) 84 1 - 2 52 9    WARREN           OH      3.0         P ML     0 . 00    0.00      0.00        0 . 00       000000 23702 2 81 4 73
( 330 ) 50 9 - 0 27 0    9 /26/01       11, 55 , 19      ( 330) 6 09 - 78 12      WARREN           OH        .5        P ML     0.00      0. 00     G . 00      0 . 00       000000 2 3 70 22 81473
(33 0 ) 50 9 - 0270      9 /26 / 0 1     i3:13: 03       ( 330 ) 509- 027 0       INCOMING                 1.5         P LM     0 .00     0 . 00    0 . 00      0 00         0 000 00 23702281~73
( 33 0) 509 - 0270       9/27/01        13: 05:33        ( 330) 39 4 -·94 53      WARREN           OH        .0        P ML     O. 0 0    o. oo         . 00    C OC         000000 23 70228 14 7 3
(330 ) 5 0 9-0 2 70      9/2 8 /01      11,0 8 , 28      ( 330)84i - 2 70 6       ~·JARREN         0 1-i   3.          P ML     O 00      0.00      ~    00     Q    V \.)   0 00000 2 37022814 73
( 33 0)50 9 - 027 0      9/ 2 8/01      11,2 7 , 53      ( 3 30) 743 - 4 50 7     YOUNGSTOWN OH             .0         P ML     O CO      0.00      0 . 00      0 00         000000 23 7 0 22814 73
( 33 0 ) 5 09 - 02 70    9/29/01        11, 39 ,47       ( 330) 394 - 94 53       WARREN           OH       .0         0 ML     0.00      0.0 0     0 . 00      v. 00        000000 2370 22 814 7 3
( 330 ) 5 0 9 - 027 0    9/ 2 9/0 1     17 , 32 , 27     ( 330) 509 -02 7 0       INCOMING                  .5         0 LM     0 . 00    0 . 00    0. 00       0.00         000000 237 0228 147 3
( 330 ) 509-0 2 70 10/01/01             13,20, 59        (3 30)394 - 94 53        WARREN           OH      2 .0        P ML     0 .00     0 . 00    0.0 0       0 .00        000000 23 702281 47 3
( 33 0 ) 509- 0270 10/01/01             21, 32, 4.0      ( 33 0)50 9 - 0270       INCOMING                  .5         0 LM     0. 00     0. 00     o.oo        0.00         00000 0 2 3702281 473
( 330 ) 509 - 027 0 10/02/01            13,3 0 ,1 8      ( 330) 5 09 - 027 0      INCOMING                 7.0         P LM     0 .00     0.00      0 . 00      0.0 0        000000 2370228i473
( 330 ) 5 0 9 - 027 0 10/ 0 4/01        17,3 0 , 49      ( 330) 7 4 4 - 8431      YOUNGSTOWN OH            3.5         P ML     0 . 00    0 . 00    0 . 00      0.00         000000 23 70 2281 47 3
( 3 3 0) 5 09-0 2 70 1 0/04/0 1         17 ,3 4 , 07     ( 33 0)74 3 - 41 41      YOUNGSTOWN OH            2. 0        P ML     0 . 00    0 . 00    0 . 00      0 . 00       000000 23 7 0228147 3
( 3 30 ) 5 0 9-027 0 1 0/04 / 0 1       17:36: 39        ( 330 ) 609 -78 1 2      \-/ARREN         OH      2.5         P ML     0 .00     0 . 00    C. 0 0      0 . 00       000000 2370228147 3
( 33 0) 509- 0270 10/05/01              11 , 41 ,47      ( 33 0) 39 4 9453        WARREN           OH       .5         P ML     O 00      0 .00     0.0 0       0 .00        00000 0 23 702281 473
( 3 30) 509- 0270 10/0 5 /01            11,49,46         (33 0)509 - 0270         INCOMING                  .0         l? LM    0.00      0. 00     0.0 0       0 . 00       00 0 0 00 23 702281 473
( 33 0) 5 09- 02 7 0 10 / 06/0 1        15:54,2 0        ( 330 ) 394 -94 53       WARREN           OH       .5         0 ML     0 . 00    0 . 00    0. 00       0 . 00       0 000 00 2 ]702281 473
( 330 ) 509-0 27 0 10/11/0 1            1 1 , 35, 5 7    ( 33 0) 39 4 -.782 7     WARREN           OH           r,     ? ML     O. 00     0.00      0 . 00      C . 00       000000 2} 70 228 14 7 3
(330 ) 5 0 9 -0 270 10 / 11 /0 1        11,3 8 , 1 5     ( 330 ) 743 -450 7       YOUNGSTOWN OH            1.5         P ML     0 . 00    0 . 00    0. 00       0 . 00       000000 237022814 73
( 330 ) 509 - 027 0 1 0 / 1 1/ 0 1      12, 20, 4 7      ( 330)509-027 0          INCOMING                 6.0         l? LM    0.00      0.0 0     0.00        0.00         0000 00 2370 228 147 3
(330 ) 509 -0270 10/13/01               12, 4 0, 11      ( 3 30) 509 - 0270       INCOMING                 4.5         0 LM     0. 00     0. 0 0    0.0 0       0 .00        0 0 000 0 23 702281 473
( 33 0 ) 509-0 27 0 10/17/01            11, 18,47        ( 330) 609 - 7 8 12      WARREN           0 ..
                                                                                                     n     1. 5        l? ML    O. 00     0.00      0.00        0.00         0 00000 2370 22 8147 3
(3 3 0 ) 5 0 9-027 0 10 / 18 /01        11, 4 9 ,54      ( 33 0) 394 -,:7827      WARREN           OH       .0         P ML     0.0 0     0 . 00    0 . 00      0 . 00       000000 2370 2281 4 73


                                                                                                                     65. 0       0 .0 0    0 . 00       0. 00   0 . 00




                                                                                                                                                    DONNA ROBERTS v WARDEN
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LOCATION:058                                                                           DOBSON COMMUNICATI ONS CORP                                                       A.RAY
                                                                                                                                                                         P.I\GE:       2


BI L013                                                                        C A L L       R E P O R T                                               DATE 12/19/01      TIME 11 : 22


PERIOD       11/01


ACCOUNT=0 1 2 0358 74 6 4 ROBERTS                               D.ONNA


 PHONE NUMBER          DATE           T I ME       CALLED NUMBER            CALLED CITY           DUR       P DIR       AIR     TOLL      RMR         TOT     SID      ESN


(330 ) 5 0 9 - 02 7 0 10/22/01     1 3 : 22: 29    (330 ) 5 09-0 2 70       INCOMING              1.0       P LM      0 . 00    0 . 00   o. oo    0.00       000 0 00 23702281473
( 330 ) 509 ·· 0270 10 /2 2 /01    21: 13: 5 6     ( 33 0 ) 509-.0270       INCOMING              2.0      0 LM       0 .0 0    0 . 00   0 .0 0   0.00       000 0 0 0 237022814 7 3
( 330 ) 509-0270 10/22/01          21:18 : 04      ( 330 ) 509 - 0270       INCOMING                .5     0 LM       0 . 00    0.00     0.00     0.00       0 00000 23702281473
( 33 0 ) 509 - 0270 10/23/0 1      1 3 : 06 : 05   ( 330 ) 3 94 _':9453     WARREN          OH    3. 0      P ML      0. 00     0.00     0.00     0 .00      000000 2 3702281473
( 330 )509-0 270 10/23/01          1 3 :1 4 : 30   (330) 394 - 9453         W.I\RR EN       OH      .0      P ML      0 . 00    0.00     0 .0 0   0.00       000000 23702281473
(330)509 - 0270 10 / 23 / 01       13:1 6 : 49     ( 330 ) 394 - 9453       WARREN          m.r   2.0       P ML      O 00      0 , 00   0.00     0    co    000000 2 3702281 473
(330)509 -0 270 10/2 4/01          12:14: 06       (330) 394 ., 945 3       W.l\RREN       OH       .0      P ML      O . 00    0 . 00   0 .0 0   0 00       000000 23702281473
( 3 30)509 - 0 2 70 10/29 /01      13:27:2 1       (330)394-9453            WARREN         OH       .0      P ML      0. 00     0. 00    0 .0 0        00    Uu u OvO 2370228 147]
1330)509 - 0270 10/ 3 0/0 1        12:23: 17       ( 330)394 - 9153         WARREN         OH     5.0       P ML      0 00      0 . 00   o.oo     0 00       000 000 23702 29147 3
( 3 30)509 - 0270 10/31/01         14: 01 : 54     {330 ) 394 - 94 S3       WARREN         OH       .0      P ML      O. 00     0.0 0    0 .00    G.OG       000 00 0 237 02 281 4 73
( 330)509-0270 1 0/ 31/0 1         14: 0 2:22      ( 33 0 ) 509 - 0 27 0    INCOMING                .0      P LM      O QA      0 . 00   0 . 00       .0 0   0 0 0 0 00 237 0 2281473
( 330 ) 5 09 - 0270 1 0/31/01      21 : 05:58      ( 330 ) 509 - 0270       INCOMING              1.5      0     LM   0.00      0. 0 0   0 . 00   0.00       00 00 0 0 2 3702281473
( 330 ) 509- 0270 11/02/01         13 : 07:06      ( 330 }39 4 -_9 453      WARREN         OH      .0      r.-   ML   O . CO    0.00     o.oo     n. 00      0 00 0 0 0 2 37 02 28 14 7 3
( 330 ) 5 09 - 0 27 0 11/0 3/ 01   13:53: 01       ( 330 ) 394-9453         WARREN         OH     4. 0     0 ML       O . 00    0.00     o.oo     0 . 00     000000 23 70 2 281473
( 330 ) 509 - 0270 11/0 3/01       13:57:18        ( 330 ) 394 - 9 45 3     WARREN         OH      .0      0 ML       0.00      0.00     o.oo     0 .0 0     000000 2370228 1 473
( 330 ) 509 - 0270 11/03/01        1 6 , 51 : 21   {330 } 5 09-0 27 0       INCOMING               .5      0 LM       0 . 00    0.00     o . oo   0 . 00     000000 23702281473
(330 ) 509 - 0270 11/05 / 01       12: 0 5: 32     [330)609 - 7812          WARREN         OH     1.0      P ML       0 . 00    0 . 00   o.oo     0 . 00     000000 2 3 7 02281473
( 3 30)5 09 0270 11/05 / 0 1       12:10, 5 1      (330)609 ~7812           WARREN         0"      .0      ? ML       O. 00     0. 00    0.00         .00    0 00000 23702281473
( 330 )509-027 0 11/06 /01         12,16:1 2       ( 330) 7 43-450 7        YOUNGSTOWN OH         1.0      P ML       0.00      0. 00    0.00     0.00       0 00000 237022814 7 3
( 33 0 ) 509 - 02 7 0 11/06/ 01    12:16, 57       ( 330 ) 509 - 9270       INCOMING              2.5      P MM       0 . 00    0. 00    0.00     0 .00      000000 237 022 814 7 3
(330 ) 509 -0 27 0 11/06/0 1       13,3 2 , 59     ( 330 ) 394-9453         i•/ARREN       OH     1.0      P ML       O. 00     0.00     0.00     0.00       000000 23702281473
1330 ) 5 09 - 0270 11/07/01        1 2: 05 , 12    [ 330 ) 509 - 0270       INCOMING              4.0      P LM       0.00      0.0 0    0 . 00   0.00       000000 23702281473
( 330 ) 509 - 0270 11/07/01        12 , 11,09      ( 330 ) 743 --4507       YOtJNGSTOViN OH        .5      P ML       0 . 00    0 . 00   0.00     0.00       000000 23702281473
( 330 ) 5 09 - 0270 1 1/07/01      12,35,53        ( 33 0 ) 394 - 9453      WARREN         OH     2.5      P ML       0 . 00    0.00     o. oo    0 . 00     000000 23 7 0 228147 3
( 330 ) 509 - 0270 11/08/01        13:38:03        ( 330 ) 39 4-9 453       WARREN         OH      .5      P ML       0.00      0 .0 0   0.00     0 . 00     000000 2370228 147 3
[330 ) 509 - 0270 11/09/01         11:4 0 :4 8     ( 330 ) 5 0 9 - 0 27 0   INCOMING              1.5      ? MM       0 . 00    0 . 00   0.00     0.00       000 0 0 0 23702281473
( 330 ) 509 - 0270 11/09/01        1 2 : 02 : 33   (330 ) 5 0 9 - 0270      INCOM I NG            2.5      P LM       0.00      0.00     0.00     0.00       000000 23702281473
( 330) 509 - 0270 11 /09/01        12: 13, 48      ( 330 ) 856 - 4 774      ;JARRE N       OH     1.0      P ML       0 .0 0    0.00     0.00     0 . 00     0 00000 23 7 0 2281473
( 33 0)509 - 0270 1 1 /1 2/01      12,5 1 ,2 4     ( 3 3 0)394-9453         WARREN         OH     1.0      P     ML   0.00      0. 00    0 . 00   0 .00      0 00000 23702281473
(33 0)509 - 0270 1 1 /1 3/01       13:05:5 3       ( 330)394-9 4 53         WARREN         OH     1.0      ? ML       0.00      0. 00    0.00     0 00       000000 23 702281473
( 3 30) 5 09 - 02 7 0 11/16/ 0 1   09:57:1 8       ( 330 ) 394 -9 453       WARREN         OH      .0      P ML       -v .00    0. 00    0.00     0 00       000 000 23702281473
( 3 30 ) 509 - 0270 11/16/01       09:59, 25       (3 30 ) 372 - 8800       WARREN         OH     1.5      P ML       0 .00     0.00     o. oo    /'\ 00     000000 23702281473
[ 330 ) 509 -02 70 11/16/01        10 : 00:54      ( 330 ) 372-8800         WARREN         OH      .5      P ML       O. 00     0.00     0 . 00   0 00       000000 2)702281473
( 330 ) 509-0270 11 / 16 /01       10 : 05:32      ( 330 ) 394 - 9453       W.I\RREN       OH      .0      P ML       0 . 00    0 . 00   0 .0 0   0 00       0 000 00 2370228147}
( 330 ) 509-0270 11/16/01          12,44,21        ( 330 ) 394 - 9453       WARREN         OH      .S      P ML       O. OC     0 . 00   0.0 0    0 .0 0     000000 237 0 22814 7 3
{33 0 ) 509 - 0270 11 /16/01       13,07,37        ( 33 0 ) 509-0270        INCOMING              1. 0     P LM       0.00      0.00     o. oo    0 .0 0     000 0 0 0 2] 7 02281 473
( 330 ) 509 - 0270 11/16/01        21:12: 13       ( 330 ) 5 09 - 0 27 0    INCOMING              3. 0     0     LM   0.00      0 . 00   0 .00    0.0 0      0 0 0 00 0 23702281473
( 330)509 - 0270 11/19/01          11: 02:01       ( 3 30 ) 5 09-0270       INCOMING               .5      P LM       0 . 00    0 . 00   0.00     0.00       000000 23702281473
( 330 ) 509 - 02 70 11/19/0 1      12:5 2 : 14     (330 ) 7 4 4 - 9811      YOUNGSTOWN OH          .0      P ML       0 . 00    0.00     0.00     0.00       000000 2 3702281473
(330)509 -02 70 11 /20 /01         12,5 0 : 04     (330) 394-9,153          WARREN         OH     3.0      P ML       0 .00     0 . 00   0.00     0 .0 0     000000 2 370228 147 3
( 330 )509-0270 1 1 /2 0/01        13:59,04        (3 30 ) 394 - 945 3      WARREN         OH      .o      P     ML   0.00      0. 00    0 . 00   0.00       000 000 2370228147 3


                                                                                                         7 1.5         0 . 00    0.00     0.0 0   0 . 00




                                                                                                                                          DONNA ROBERTS v WARDEN
                                                                                                                                           CASE NO. 4:21-cv-00368-DAP
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LOCATION,058                                                                          DOBSON COMMUNICATIONS CORP                                                           AFJ.:.. Y
                                                                                                                                                                           PAG E ,     9


BIL013                                                                       C A L L        R E P O R T                                                   DATE 12/19/01      TIM E 11,23


PERI OD , 12/01


ACCOUNT =0 1 2 0358746 4 ROBERTS                                DONNA


 PEONS NUMB ER         DATE           TIME          CALLE D NUMBER         CALLED CITY           DUR       P DIR       AIR      TOLL      RMR         TOT        SID      ESN

( 330 ) 509 - 0270 11/21/01        14 , 26 , 29     ( 330 ) 5 09-0270      INCOMING              7.0       P LM       0.00      0 . 00   o.oo     0.00          000000 237 0 228 1 473
( 330 ) 509-0270 11/21/0 1         1 4 ,4 5 , 09    ( 3 3 0) 5 09 - 0270   INCOMING              2.0       P LM       0.00      0.00     0 . 00   0.00          000000 2 370 228 1 47 3
(330)509 - 0270 11/2 1 /0 1        21 , 21'07       ( 330 )60 9-7812       WARREN                2. 0      0 ML       0.00      0.00     0 . 00   0.00          000000 23702281473
(3 3 0) 5 09-0270 11/24/01         12,55,1 9        (3 30 ) 509 - 0270     INCOM I NG            1.0       0 LM       0 . 00    v.00     0 . 00   0 . 00        000000 2 3702281 473
( 33 0 ) 509 --0270 11/24/ 01      13,23, 52        (330)39 4 -9 45 3      WARREN                1.0       0 ML       0 . 00    0.00     0 . 00   0 .0 0        000000 2 37 022814 7 3
( 3 3 0 ) 509 - 0270 11 /2 4 /01   13, 44, 43       i3 30 ) 394- 94 53     WARREN         OH     2 .0      0 ML       O 00      0. 00    0.00                   0 00000 2370228 1473
( 330 ) 5 0 9 -0 270 11/2 4/01     14,02, 23        ( 330)394-94 53        WARREN         OH     1.0       0 ML       0.00      0.00     0.00                   00 0000 2370228! 473
( 330 ) 509 -027 0 1 1 /26 /01     11,23,43         (330)509-027 0         INCOMING               .0       !? MM      0.00      0.00     0.00     0.00          0000 00 23 70 2281 473
( 33 0 ) 509 - 0 270 11/26/01      21,50,2 1        ( 330 ) 50 9- 0270     INCOMING              2.0       0 LM       0.00      C.00     0 . 00   0 . 00        0 0 0000 23702 2814 73
( 330 ) 509 0270 11/27/01          12,44,24         ( 33 0) 394 - 9453     \-/ARREN       OH      .0       P ML       0 . 00    0 . 00   0.00                   000 000 23702 2 81473
( 33 0)509-0270 1 1 /2 7/ 0 1      12,4 5 , 08      (330 ) 394 - 9453      \-/ARREN       O'-'    .0       ? ML       0.00      0.00     0 .0 0   0.00          000000 2 37022814 7 3
( 330 ) 509 -02 70 11/30/01        11,25, 50        ( 330 )394 - 9-153     WARREN         OH     4. 0      P ML       O . 00    0 . 00   0 . 00   0.00          000000 23702281473
( 3 3 0)509-0270 12/01/01          1 1 , 0 4 , 54   (3 30 ) 394-9453       WARREN         on     1. 0      0     ML   0.00      0 . 00   0 . 00   0 . 00        000000 23702 28147 3
( 33 0) 5 09-02 7 0 1 2/01/01      12,05,3 0        ( 330 } 609 - 70 13    WARREN         Oi-i    .O       O ML       0 . 00    v.00     0 . 00   0.00          000000 237022 81473
( 330 ) 5 09 - 0270 12/ 0 3 /0 1   21,43,55         ( 33 0)609-781 2       WARREN         OH     2. 0      0 ML       0 . 00    0.33     0.00     V   ·   3J    000000 23702281 4 73
( 330 ) 50 9-0270 12/04/01         1 0 :41: 58      (3 30 ) 394 ~· 9453    WARREN         OH     2.0       P ML       0 . 00    0.00     0 . 00           00    000000 23702281473
( 330 ) 5 09-0270 1 2/05 /01       14:47: 22        U30) 743 - 4507        YOl.JNGSTOWN OH       1 .0      ? ML       0.00      0 . 00   0.00     0. 0 0        00 0 000 23702281473
( 3 30)509-0270 12/05/01           14,50, 58        ( 330 ) 509--0 270     INCOMING              1.0       P LM       0. 00     0.0 0    0.00     0 00          0000 00 2370 2281473
(330 ) 509 - 0270 12/05/01         14,53,1 5        (3 30 ) 373-65 75      Y'JARREN       ou     1.0       P ML       O 00      0. 00    0.00     0.00          000 000 237022814 73
(33 0) 50 9 - 0 270 1 2/08/0 1     11, 46, 3 7      ( 330 ) 609-78 12      WARREN         OH     1.0       0 ML       0.00      0.00     0.00     0.00          00000 0 2 3702281473
(330) 5 09-02 7 0 12/08/0 1        11 ,47 ,36       ( 33 0 ) 509-0270      INCOMING              2 .0      0 LM       0 .00     0.00     0 .00    0.00          000000 2370228 1473
{330 ) 5 09 -0 270 12 / 10/01      12:5 2:57        (.33 0 ) 509 -0 270    INCOMING               .0       ? MM       0 .00     0.00     0 . 00   0 . 00        000000 237022 8 1 4 73
( 330 ) 509-0270 12/11/01          13, 0 7, 5 8     ( 330 ) 509-0270       INCOMING              2. 0      ? LM       0.00      0.00     0.00     0 .0 0        000000 237022814 73
(3 30 )5 09 -027 0 12/11/01        21, 04 , 33      (3 3 0) 5 0 9 - 0270   INCOMING              1.0       0 LM       0.00      0.00     0.00     0 . 00        000000 23702 281473


                                                                                                        4 1. 0         0 . 00    0.33     0.00    0. 3 }




                                                                                                                                         DONNA ROBERTS v WARDEN
                                                                                                                                          CASE NO. 4:21-cv-00368-DAP
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u.i\.iiJJiAAf,J,.jij,jJijijJi,jJiJi.~   Cellular Phones                            cphninq c.
                                                             3
                                                               Functions Available
   Pr.one #         (330) 509-0271                           ' Fl   Forward    F2- Backward 3
3
   Account         012 - 0358746 - 4                         3
                                                               F3 - Show Services
 ' Cust Type       RETAIL                                    3 F4 - Free Minutes    NO
 'Name             DONNA M ROBERTS                           3
                                                               F5 - Phone Level Adjustments'
 3 User                               Lock Code 12345        3
                                                               F6 - Switch Manager
3
   ESN             25201165554        Hex=FC11C8F2           3
                                                               F7 - Rate Plan Analysis
3
   Model           252           MOTOROLA STARTAC            3
                                                               F8 - Minute Adjustments
3
   Location        C    0lR PHONE                            3
                                                               F9 - Phone Maintenance
3  Salesman        NWS NILES/WARREN
3
   CSR ID          618 JENNIFER BURRES                        3 Calls Thru      12/30/01 20:06 3
3
   Commission      999 NO COMMISSION                          3
                                                                Lease Billed               0.00 3
3  Contract       0012 "12 MONTH NEW1 ADD"                    3
                                                                Lease Balance              0.00 3
' Activate         11/16/00                                   3 MTD Usage Charges      (No Tax) 3
3  Lock Da te      11/16/00 Term Date 11/16/01                ' Peak AirTime Used           0.0 '
3  Toll Carrier 0288 AT&T                                     3
                                                                OffPeak AirTime Used        0.0 '
3  Origination PREV-OWN                                       3
                                                                Total AirTime Used          0.0 3
3  Lease                                                      3
                                                                Roamer Air Charges         0.00 3
3 Campaign                                                    ' Toll Charges               0 .00
3  Standard Trnsmt #                  Batch Date              3 Other Charges              0 . 00 '
3  Feature Trnsmt #                   Batch Date              ' Total MTD                  0.00 3
f.},_ii...fviAi!JijiJ;JiJ,.~ii,..nJi...WJJiJJi,_f,J,J,,_~J,J,JJi~JJ!JiJiJJiJ,J,JJSJ1.AAAA.AA 0
  Esc Exit to Subscriber Profile




                                                                                     DONNA ROBERTS v WARDEN
                                                                                      CASE NO. 4:21-cv-00368-DAP
                                                                                         APPENDIX – PAGE 5504
     Case: 4:21-cv-00368-DAP Doc #: 12-24 Filed: 01/14/22 99 of 512. PageID #: 12375




LOCATION: 058                                                                      DOBSON COMMUNICATIONS CORP                                                          ARAY
                                                                                                                                                                        PAGE:


BIL0 13                                                                   C A L L       R E P O R T                                                 DATE 12 /19/ 0 1    TI ME 11 :2 1


PERIOD : 1 0/01


ACCO UNT= 012 035 874 6 4 ROBERTS                            DONNA


 PHONE NUMBER         DATE          TIME         CALLED !\'UMBER        CALLED CITY           DUR      P DIR       AIR      TOLL       RMR         TOT      SID        ESN


( 330 ) 509-02 71    9/22 /01    14:47 : 59      ( 33 0)39 4-9453       WARREN         OH     2. 5     0 ML       0 .00     0. 00     0 .00    0.00        000000 2 5201165554
( 33 0) 509 -0271    9 /25/01    12:31: 2 0      ( 33 0 ) 392-1571      WARR EN        OH     3 .5     P ML       0 .00     0 .00     0 .00    0.00        000000 252 01165 554
( 330) 5 09 - 0271   9/25 /01    12:37:54        ( 33 0)39 4-7827       WARREN         OH      .0      P ML       o.00      0. 00     0 . 00   0.00        0000 00 2 52 01 165554
( 330) 509 -027 1    9/ 27/01    17: 22:50       (33 0 )6 09 - 78 12    WARR EN        OH     2 .0     P ML       0 . 00    o. 00     0 . 00   0.00        00000 0 2 52 0 11655 54
( 330 ) 5 09-0271 10/01/01       18:43:15        ( 330 ) 509-0271       INCOMING               .0      P LM       0. 00     o. 00     o. 00    0. 00       000000 25 2011655 54
( 330 ) 509~ 0271 10j03/0l       17 : 35:22      ( 33 0)743- 4-507      YOUNGSTOWN CH          .0      P ML       0 .oo     0 . 00    0 . 00   0.00        000000 252 01165554
( 330) 509-027 1 10/03 /01       19:2 3 :28      (33 0)74 3 45 07       YOIJNGS TO~iN OH     7 .5      P ML       0 , 00    o. 00     0 . 00   0.0 0       00000 0 2 52 0116 55 54
(330) 509 -0271 1 0/ 04/01       13: 5 6 : 2 4   (33 0) 394 -945 3      W.Z\RREN       OH      .0      P ML       0 .00     0 . 00    0 .00    0.00        000000 252 01165 554
( 33 0) 509- 02 71 10/05/01      17 : 58:46      (330) 7 4J-•f5 07      YOUNGSTOWN O'-'       l.O      P ML       0 .00     0 . 00    0 .00    0.00        000000 252 011655 54
0 30) 509 -0271 10 /13/01        11:27:23        (330 ) 609-7812        WJ\.RREN              2 .5     0     ML   0 . 00    0 .00     0 . 00   0.00        000000 252 0116 55S4
(33 0) 509 - 0 271 1 0/ 1 5/01   11: 4.6 :12     (3 30 )50 9- 027 1     INCOMING              l .0     P LM       o. 00     o. 00     0 . 00   0. 00       00000 0 25 20 1 1655 54
( 330) 509 - 0271 10/15 /0 1     19: 54: 49      (330 ) 743-4 5 07      YOUNGSTOWN OH        1. 0      ?     ML   0 . 00    0. 00     0 .0 0   0 00        000000 252 0116555 4
( 330 ) 509-0271 10/16/01        12:35:38        (330) 609-7812         WARREN         OH      .5      P ML       0. 00     0. 00     0 . 00   o. 00       000000 25201165554
( 330) 509 -027 1 10/16/01       17: 51:34       ( 33 0) 7 4 7 -6 915   YOUNGSTOWN OH        1.0       P ML       0 . 00    0 . 00    0 . 00   o. 00       000000 25 20 1 16 5554
( 330) 509 -0 271 10/1 6/ 01     20: 04 :35      (3 30 ) 7 4 3- 450 7   YOUNGSTOWN OH        1.5                  0 .00     0. 00     o. 00    0. 00       00000 0 2 52 01165 554
(330) 509 - 02 71 10/ 18 /0 1    16: 32 : 48     (330 ) 509-0271        INCOMING             1. 5      P     LM   0 . 00    0. 00     0 . 00   0 .00       000000 252 011655 54


                                                                                                     30 .5         0 .00     0 . 00    0 .00   0.00




                                                                                                14. 0 . 5          0 ,0 0    0. 00     0.00    0    co




                                                                                                                                       DONNA ROBERTS v WARDEN
                                                                                                                                        CASE NO. 4:21-cv-00368-DAP
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LOC.El.T ION: 0 5 8                                                              DOBSON COMMUNICATIONS CORP                                                     ARP.Y
                                                                                                                                                                 PAGE:


BIL0 13                                                                  C A L L      R E P O R T                                             DATE 12/ 1 9/01     TIME 11:22


PERIOD : 11 /0 1


ACCOUNT=012 0358746 ·1 ROBERTS                             DONNA


 PHONE NUMBER         DATE         TIME        CALLED NUMBER          CALLED CITY          DUR      P DIR       AIR     TOLL      RMR       TOT       SID       ESN


( 330)509 - 02 7 1 10/ 23 /01    12:01:43      (330 ) 609·· "7812     t"/ARREN       OH    1.0      P ML      0.00      0 . 00   0.00      0 .00     000000 252011 65554
(330)509 - 02 71 10/23/0 1       12:2 0 : 37   (3 3 0) 509-0271       I NCOMING            1. 0     P LM      0 . 00    0 . 00   0.00      0 . 00    000000 25201165554
( 330 )509-027 1 10/23/01        19: 08 :1 9   (330 ) 544-2876        NI LE S        OH    1.0      P ML      0 . 00    0.00     o. oo     0 . 00    000000 25201165554
(330)509 - 027 1 1 0/ 23 /01     19:18:51      (3 3 0 ) 898-1185      WFUl.REN       OH    1.0      ?    ML   O 00      0.00     0 .00     0.00      000000 25201165554
(330)509 - 027 1 10/23/01        19:22:2 8     (330)743 - 6819        YOUNGSTO~·JN OH        .0     P ML      0 .00     0.00     0 . 00    0 . 00    000000 252011655 5 4
(330)509 - 027 1 10/23/01        20:08:49      (330) 509-()271        INCOMING             4.5      P LM      0.00      0.00     0.00      0.00      00000 0 2 52 01165554
(330)509 - 0271 10/24/01         17:32:1 3     ( 33 0)743 - 4141      YOUNGSTOWN OH        1 .0     P ML      0.00      0.00     0 .00     0.00      0000 00 25 201165554
(330 )509-027 1 10/24/01         19:03:3 9     ( 330 ) 743 , 4507     YOUNGSTOWN OH        2.5      P ML      0.00      0.00     0.00      0.00      0000 00 25201 165554
( 330 ) 509 - 02 71 10/26/01     12:57:59      (330) 509-02 71        INCOMING             1.0      P LM      0.00      0.00     0.00      0 00      000 000 25201165554
( 330 ) 5 09-027 1 10/26/0 1     17:20:23      ( 330 ) 743 4507       YOUNGSTOWN OH          .0     P ML      0.0 0     0.00     0.00      0 00      00000 0 25201165554
( 33 0)509 - 0 271 10/ 26/01     17:20:56      ( 33 0 ) 393 - 929 5   WARREN         OH      .0     P ML      0 . 00    0 . 00   0.00      0.00      000000 252 0 1165 55 4
(330 ) 509 -0 271 10/26/01       18:07:39      ( 33 0)743-4 5 07      YO1JNGSTOWN OH         .0     P ML      0 . 00    0 . 00   0.00      0.00      000000 25201 16 5554
( 330) 5 09 - 0271 10/26/01      19 : 46:13    ( 330 ) 719-8757       YOUNGSTOWN OH        1 .5     P ML      0 . 00    0 . 00   0 .00     0 . 00    000000 25201165554
( 330 ) 509 - 0271 10/29/01      1 7:48:3 1    (330 ) 509-02 71       INCOMING               .5     P LM      O . 00    0.00     0 . 00    0.00      000000 25201 165 554
( 33 0)509 - 0 2 7 1 10/29/01    17 :5 4 :17   ( 330 ) 509-0271       INCOM I NG             .0     P LM      0 . 00    0.00     o.oo      0 . 00    000000 25201165554
[ 330)509-0271 10 /30/01         16:22:55      ( 330 ) 743 - 6819     YOlJNGSTOWN OH         .0     P ML      0 . 00    0.00     0 . 00    0.00      000000 2520116 5554
( 330 ) 509 -02 71 10/30/01      19:04:59      ( 330 )743 -4507       YOUNGSTOWN OH       11.0      P ML      0 .00     0.0 0    0.00      0 .0 0    000000 2520116 5554
(330)509 - 0271 1 0/3 1/01       17:52:50      (330) 7 43 - 4507      YOUNGSTOWN OH        3. 0     P ML      0.00      0.0 0    0.00      0 00      000 0 0 0 25201 1655 54
(330 )509 - 0271 11/01/01        14:26:16      ( 330 ) 394 - 9453     \•/ARREN       OH      .0     ? ML      O. 00     0.00     0.00      0 00      00 0000 25 201165554
( 330 )509-027 1 11/01/01        17:08:55      ( 330 ) 39 4-94 53     WARREN         OH    1. 0     P ML      0.00      0.00     0.00      0 00      0 0 0 000 2520 11 655 54
( 330 )509-0 271 ll/02/01        18:16:1 1     ( 3 30)74 3 - 4507     YOU'NGSTOWN OH       7.5      P ML      0.00      0 00     o.o o     a . co    000 000 25201165554
(330)509 - 027 1 11/05/01        10:26: 06     ( 33 0) 394 - 945 3    WARREN         OH      .5     P ML      O CO      0.00     0 . 00    0 00      000000 2520116 55 54
( 330)509 -0271 11 /05/01        17:32:27      ( 330 ) 743-4507       YOtJNGSTOWN OH         .0     F ML      O. 00     0.00     0.00      0.00      000000 25201165554
(330) 509 -027 1 11/ 0 6/01      11 :5 5:40    ( 330 ) 609 - 7612     WARREN         OH    l. 0     F ML      O. 00     0.00     0 .0 0    0.00      000 000 25201165554
( 330 ) 5 09 - 0271 11/06/01     12 :16 :57    ( 330 ) 509-0270       LOCAL                2.5      P MM      0.00      0 . 00   0 .0 0    0.00      000000 25201165554
( 330 ) 509 - 027 1 11/07/01     17: 18:17     ( 33 0 ) 743-4507      YOUNGSTO Y~N OH        .0     P ML      0 . 00    0 . 00   0 .0 0    0.00      000000 2520 116555 4
( 330 ) 5 09 - 0271 11/10/01     OQ •49:4 0    ( 33 0)509 - 027 1     INCOMING             1.0      0    LM   0 . 00    0.00     0 . 00    0.00      000000 2520 11 65554
( 330 ) 50 9-02 71 1 1/1 0/ 01   19:07:21      (3 30 ) 509 -0 271     INCOMING              .0      0 LM      0.00      0.00     0 . 00    0 .00     000000 2520 116 5554
(330)50 9-02 71 11 /11/01        13:09:2 9     ( 330 ) 509 - 0271     INCOMING             1.0      0 LM      0.00      0.00     0 . 00    0.00      000 000 25201 16555 4
(330)50 9-027 1 11/12/01         17:22:40      (330) 7 4 3 - 4507     YOUNGSTOWN OH        1.0      ? ML      0.00      0.00     0.00      0.00      0000 00 25201165554
 330)50 9 - 0271 11/14/01        20:28:49      (3 30 )743-450 7       YOUNGSTOWN OH        3.5      P ML      0.00      0.00     0.00      0.00      00000 0 25201165554
(330 )5 09 -0 271 11/16/01       11:27:48      (330) 609 -78 12       WARREN         OH    1 .0     P ML      0.00      0.00     0.00      0.00      000000 25201165554
( 33 0)509-02 7 1 11/16/01       18:25:04      (330) 743 -68 19       YOUNGSTOWN OH        1.0      P    ML   0 .00     0 . 00   0.00      0.00      000000 2520 1 165554
( 330)509 - 0 2 71 11/16/01      19:13:22      (330) 7 43-4 507       YOUNGSTOWN OH        4. 0     P ML      0 . 00    0 . 00   0.00      0.00      000000 25201 16555 4
( 330 ) 509-0271 11 /1 7 /0 1    15:27:2 9     (330 ) 39 4 - 9453     WARREN         OH    1.0     0 ML       0 . 00    0.00     C.00      0.00      000000 25201165554
( 330 )509-027 1 11 / 1 9/0 1    11:36:21      ( 330 )509-02 71       INCOMING             1. 0     P LM      0 . 00    0 . 00   0.00      0.00      000000 25 201 16 5554
( 330 ) 509-0271 11/19/0 1       1 7:29:38     ( 33 0 ) 743-4507      YOUNGSTO~.o.!N OH    1.5      P ML      0 . 00    0 . 00   0.00      0.00      000000 252 0116 555 4
( 3301509 - 027 1 11/2 0/0 1     17:39:43      ( 330 ) 509 - 0271     INCOMING             1.0      P LM      0 . 00    0.00     0 . 00    0 .0 0    000000 2520 11 65554


                                                                                                  75.5         0.00      0.00     0 . 00   0.00




                                                                                             216.0             0 . 00    0.00     0 . 00




                                                                                                                                  DONNA ROBERTS v WARDEN
                                                                                                                                   CASE NO. 4:21-cv-00368-DAP
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LOCAT ION: 058                                                                       DOBSON COMMUNICATIONS COR P
                                                                                                                                                                        PAGE:        10


BIL0 13                                                                    C A L L         R E P O R T                                               DATE 1 2/19/0 1     TIME   11
                                                                                                                                                                                     : 23


PERIOD : 12/01


ACCOUNT=0 12 0358746 4 ROB ERTS                              DONN'A


 PHONE NUMBER         DATE           TIME        CALLE D NUMBER         CALL ED CITY             DUR      P DIR      AIR      TOLL       RMR       TOT       SfD       ESN


( 33 0) 509 -027 1 11/2 0/01      18: 16: 19     ( 33 0 ) 743- 4507     YOUNGSTOViN      o..:      .0     P ML      0 .00     0.00      0.00      0.00      00000 0 2 52 0 1165554
( 33 0 ) 509 - 02 71 11/2 1 /01   18 : 0 5 :18   (3 30 ) 898-1274       WARREN            OH     1. 0     P ML      0.0 0     0.00      0.0 0     0.00      0 0 0 000 25 2011655 54
( 330) 5 09 - 0271 11/21 /01      18:0 6:23      ( 33 0 ) 898- 1274     WARREN            OH       .0     P ML      0.00      0.00      0.00      0 00      00000 0 25 201165 554
( 330)509 0271 11/21 /01          18: 06:38      (330 )898 -1274        ~<J.7\RREN       OH       .0      P ML      0 . 00    0.00      0.00      0 . 00    000000 252 011655 54
( 330 ) 509-0271 11/21/ 01        18 : 08:02     ( 330 ) 743-4.507      YOiJN'GSTOWN OH          2.0      P ML      0 .00     0 . 00    0.00      0.00      00 0 0 00 2 5201165554
( 330 ) 509-0271 1 1 /22/01       13 : 45:10     ( 330 ) 743-4507       YOUNGSTOWN OH            3. 0     ? ML      0 . 00    0 . 00    0 00      0.00      00 0 000 252 0 1165554
( 3 30) 509 - 0271 11/23 /01      13:5 2:18      (33 0 ) 394 -9453      vlARREN          0"      5 .0     P ML      0 . 00    0.00      0.00      0.00      000000 25 2011655 54
(3 30) 509- 0271 11/2 6/01        11: 23:43      (330 ) 509- 0270       LOCAL                    1.0      P MM      0.0 0     0.00      0.00      0.00      000000 2 52011655 54
( 330 }5 09 - 0271 il/26/01       17:26: 07      ( 000 ) 000-0911       NO Cl-i.ARGE             0.0      P ML      0 .00     0 . 00    0 .00     0.00      000 00 0 25 201165554
(330)509 - 0271 11 /26/01         17:27:11       (330)841- 2515         WARREN           OH       .0      P ML      0.0 0     a. co     0 . 00    0 00      000000 252 01165 554
(33 0) 509 -0271 11/28 /01        09:53 :22      (33 0)393- 1565        WARREN           OH      1.0      P ML      0.00      a.co      0.00      0.0 0     00000 0 25 2011655 54
( 330) 50 9-0271 11/28 /01        09:5 4:01      (330 ) 39 3 - 3003     WARREN           OH      6.0      ? ML      0.00      0.00      0 .0 0    0.00      000000 252 01165 554
( 330 ) 509 - 0271 11/29/01       10 : 39:07     (330 ) 393-3003        WARREN           OH      2.0      P ML      0 .00     0.00      0 .0 0    0.00      000000 252 0116 5554
(330) 509 -0271 11/29/01          11:50: 00      (330 ) 744 -897 7      YOUNGSTOWN OH            3.0      P ML      0.00      0 . 00    0 . 00    0 00      000000 25201165554
( 330)509 - 0271 11/30/ 01        18:57:4 4      (330 ) 743 --6819      YOUNGSTOWN OH             .0      P ML      0 .00     0.00      0.00      0.0 0     000000 25 20 1 1655 54
(330) 509 -0271 11/3 0/01         19: 01:0 7     ( 33 0 ) 743 -4507     YOUNGSTOWN OH            5.0      P ML      0 .00     0.00      0 . 00    0 00      000000 25 2011655 54
( 330 ) 5 09-0271 12/01/01        11 : 52: 27    ( 33 0 ) 509 - 0271    INCOMING                 1 .0     0 LM      0.00      0.00      0.0 0     0.00      000000 252 0116SS S4
( 330)509-0271 12/01 /01          18:3 3:10      (33 0)743- 450 7       YOtJNGSTO \•/N OH       17.0      0 ML      0 .00     0.00      0 .0 0    0.00      00000 0 2 52 01 165554
[33 0 ) 509 -0 271 12/03 /01      17:3 9:08      (33 0 ) 7 4 3-4507     YOUNGSTOWN OH            4.0      P ML      O. 0 0    0.00      0.00      0.00      000000 2 5201165 554
( 330 ) 5 09 - 02 7 1 12/04/01    12:30:17       (330 ) 394 - 9453      WARREN           OH       .0      P ML      0.00      0 . 00    0 . 00    0.00      000 000 25 20 1 16 5554
( 330 ) 509 - 027 1 12/04/ 01     17,44:55       ( 330 ) 7 43 - 4507    YOlJNGSTOWN OH           3.0      P ML      0.00      0 . 00    0 . 00    0 00      000 00 0 252 0 11 6 5554
( 3 30) 509 -0 2 7 1 12/ 07/01    17:4 5:21      (33 0)743- 45 07       YOUNGSTOWN OH            1.0      P ML      O 00      0.00      0.0 0     0.00      000000 2 520116 5 5 54
{330) 509 -02 7 1 12/09 /01       12: 34,5 5     (33 0 ) 609- 7812      WARREN           OH       .O      O ML      0 .00     0.00      0 .00     0 0"'     00000 0 2 52 011 655 54
( 330)509 - 0271 12 /09/01        14:02:49       ( 330 ) 6 09- 7812     WARR EN          0'-'   1. 0      0 ML      O 00      o.oc      0 . 00    0 . 00    0 000 00 252 0116 5554
( 330 ) 509-0271 12 /09/01        18 :37: 49     (330 ) 609-78 1 2      1·1.J;RREN       OH       .0      0 ML      0 .00     0.00      0.00      0 00      000000 25 20 11 65554
(3 30) 509- 0271 12/09/ 01        20:4 4:1 3     (33 0 ) 746 1682       YOL'NGSTOWN OH            .0      0    ML   0 .00     0.00      0.00      0 00      00000 0 2 520 1 1 6 55 54
( 330 ) 509 -0271 12/10/ 01       0 7: 49:57     ( 33 0 ) 746 - 168 2   YOUNGSTOWN OH            1 .0     P ML      0.00      0 .00     0 .00     0 00      000 0 00 252 01165554
( 330 ) 509 - 0271 12/10/01       12:52: 57      ( 33 0)509-0 270       LOCAL                     .0      P MM      0.00      0.00      0 .0 0    0 .0 0    000000 2S20i l65 5S4
( 330) 509 -02 71 12/10/01        21: 02:1 7     ( 330 ) 743-4507       YOUNGSTOWN OH           1.0       0 ML      0 .00     0.00      0 .00     0.00      0 000 00 25201165554
( 330)509 - 0271 12/11 /01        11:24 :34      (330 )781 -190 6       YOUNGSTO~VN OH            .0      P ML      0.0 0     0 .00     0.00      0.00      0 000 00 25 2011655 54
(330) 509 -0 271 12/11/0 1        21'45 :44      ( 330 ) 5 09-0 27 1    INCOMING                1 .0     0     MM   0.00      0.00      0 . 00    0.00      000000 252 0116 5554
(330) 509 - 02 7 1 12/11/0 1      21: 47: 11     ( 330 ) 5 09-0271      INCOMING                2.0       0    MM   0.00      o. oo     0.00      0 00      000000 25 201 165554
(330) 509 -027 1 12/11/0 1        21: 54:00      (330 ) 509 - 0271      INCOMING                1.0       0    MM   0.00      0.00      0 . 00    0 .00     000000 25 20116 5554
( 330) 509-0 271 12/11 /01        21:5 5:28      (330 ) 509- 027 1      INCOMING                2. 0      0 MM      0.00      0.00      0.00      0.00      000000 2 52 0 1165554
( 330 ) 5 09 - 0271 12/1 1/0 1    21:59: •15     ( 330 ) 509 - 0271     INCOMING                1.0      0 MM       0.00      0 . 00    0.00      0.00      000 000 2520 11655 54
( 330)509-0271 12 /11/01          22:00:14       ( 330 ) 5 09 - 0271    INCOMING                2.0      0 MM       0.00      0 . 00    0 . 00    0 .00     000000 25201165554
(330) 509 - 0271 12/11/01         22:0 3:07      (330 ) 506 0373        LOCAL                     .0      0    MM   o.oo      0.00      o.oo      0.00      000 00 0 25 201165 554
( 330)5 09 -0271 12/11/ 0 1       22:2 6 :1 6    (330 ) 744- 8431       YOUNGSTOWN OH           1. 0     0 ML       0 .00     0 . 00    o.oo      0.00      000000 25 201 165 554
( 33 0) 509 - 0271 12/11/0 1      22:58:55       (330 ) 744-84.31       YOlJNGSTOioJN OH        2. 0     0 ML       0.00      0.00      0.00      0 .0 0    000000 252 011 65554
( 330) 509 -0271 12/11/01         23:01:16       ( 330 ) 509--0271      INCOMI NG               1.0       0 MM      0 .00     0.00      0 . 00    0.00      0 0 0000 2 520 1 16555 4
(330) 509 -027 1 12/11/01         23:4 4:27      (330 ) 509 -0271       INCOMING                4.0       0 MM      0.00      0.00      0.00      0.00      000000 25 20116 5554


                                                                                                        88.0         0 . 00    0 . 00    0.00     0.00




                                                                                                   859.0             0 .00    42.76      5.36    18.12




                                       No



                                                                                                                                          DONNA ROBERTS v WARDEN
                                                                                                                                           CASE NO. 4:21-cv-00368-DAP
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        STA TE OF ILLINOIS                                                 )
                                                                           )
        COUNTY OF LAKE                                                     )                                                           322


                                                                        CERTIFICATION


               I, Barbara S. Sacks, am the Custodian of Records for Zurich Life Insurance
        Company of America. I hereby certify, under the penalty of perjury that the following is true
        and correct:

        1.          The attached records, consisting of 23 pages of the duplicate policy for life insurance
                    policy no. ZL6856053, issued to Robert Fingerhut,:

                         (A)      were made at or near the time of the occurrence of the matters set forth by,
                                  or from, information transmitted by a person with knowledge o f those
                                  matters.
                         (B)      were kept in the course of regularly conducted activity of Zurich Life
                                  Insurance Company of America.
                         (C)      were made by the regularly conducted activity of Zurich Life Insurance
                                  Company of America as a regular business practice.

        2.          Policy no. ZL6856053 was in full force and effect on December 11, 2001 with a face
                    value of $250,000.00.

        Signed under the pam.s and penalties of perjury this 21 st day of October, 2002

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                                  ~(/2'')
                    1rJ:,'rt.1.;:___ A~~"
                                                     /
                                            •t,:: .$J..,z -.
        Barbara S. Sacks
        Custodian of Records


               The above named individual, personally known to me, appeared before me and
        executed this document of his/her free will, this 21 st day of October, 2002.



                                                                    /
        Signature     r
        Notary Public ,;                                                                               OFFICIAL SEAL
                                                                                                       EMILY S BAILEY
                                                               </.
                                                               -,
                                                                        •r / 1, -, f
                                                                        '· 1      ·r·--
                                                                                               NOTARY PUBLIC . STATE OF ILLINO\S
                                                                                               MY COMMISSION EXPlRES 03--08-06
        M y Commission Expires: __~ _'--'-+-·_v_ ____,,_ __
                                                                                          (.,.,,..,..,__,..,.,..,...,...~,._,._,,--~




                                                                                                   DONNA ROBERTS v WARDEN
                                                                                                    CASE NO. 4:21-cv-00368-DAP
                                                                                                       APPENDIX – PAGE 5508
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-2urid1 Life Insurance Company of America
 A St ock Life Insuran ce Com pany
 1600 McConn or Parkw ay
 Schaum burg, Illinois 60 196-680 1
 (80 0) 321-9313
                                                                                               •
                                                                                            ZURICH
                                                                                              LIFE


   Insured            ROBERTS FINGERHUT                         Age                  53
  Policy Date         AUG 19 1998                               Policy Number        ZL6856053
  Face Amount              $250,000




     20 DAY RIGHT TO EXAMINE POLICY
     At any time within 20 days of receiVing this policy you may return it to us or to the agent
     who sold it to you. Upon such delivery or mailing, this policy will be deemed void and
     all premiums paid will be returned.

We will pay the proceeds of this policy to the beneficiary when we receive due proof that the
insured died while this policy was in force.
The insured is named in the Policy Specifications. If not later changed , the beneficiary is as
named in the application .
We make these promises and issue this policy in consideration of the application for this
policy and the payment of the premium due on the Policy Date .
The provisions that follow are part of this policy.
Signed for the Zurich Life Insurance Company of America at its home office in Schaumburg,
Ill inois .




                           Secreta ry                                 President



 If this policy is in force :
Proceeds are payable at the insured's death prior to the Expiry Date ; and
 Premiums are payable during the lifetime of the insured until the Expiry Date.
Premiums vary by Policy Year as shown in the Policy Specifications.
Premiums can be changed in accordance with the Change of Premium Section and the Policy
Specifications .
TERM LIFE INSURANCE TO AGE 95 -           CONVERTIBLE DURING THE FIRST TWENTY POLICY
YEARS, OR TO AGE 70 IF EARLIER
 NON-PARTICIPATING -            NO ANNUAL DIVIDENDS
This policy is a legal contract between you and us .

 READ YOUR POLICY CAREFULLY.
 Poli cy No. Z-5002



                                                                              DONNA ROBERTS v WARDEN
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Z.-5002




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Additional Benefits listed in the Policy Specifications, if any, are described in the additional benefit agreements
that follow page 12.




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                                  POLICY SPECIFICATIONS

INSURED           ROBERTS FINGERHUT                             53             AGE
POLICY DATE AUGUST 19 1998                                      ZL6856053      POLICY NO.
FACE AMOUNT $250,000
                                                                                FIRST
                                                                                YEAR
                                                COVERAGE                        ANNUAL
POLICY BENEFITS                                  AMOUNT    EXPIRY DATE         PREMIUM

'ERM LIFE INSURANCE TO AGE 95             $      250,000   AUG 19 2040        $1,005.00

  ACCELERATED DEATH BENEFIT                                AUG 19 2040

  EXTENSION OF RATE GUARANTEE                              AUG 19 2008




                                              SEMI-                              MONTHLY
TOTAL PREMIUMS               ANNUAL           ANNUAL        QUARTERLY              PAC

FIRST YEAR                $1,005.00           $522.60         $301.50             $87.44

THE EXCHANGE DATE IS THE 10TH ANNIVERSARY OF THIS POLICY.  HOWEVER, EXCHANGE IS
NOT ALLOWED IF THE INSURED'S ATTAINED AGE ON THE EXCHANGE DATE EXCEEDS AGE 75.

ANNUAL "CURRENT PREMIUMS AFTER THE FIRST POLICY YEAR" ARE SHOWN BEGINNING ON THE
NEXT PAGE. ANNUAL "GUARANTEED MAXIMUM PREMIUMS AFTER THE FIRST POLICY YEAR" ARE
SHOWN ON THE PAGES THAT FOLLOW "CURRENT PREMIUMS AFTER THE FIRST POLICY VEAR".

AFTER THE FIRST 10 POLICY YEARS, PREMIUMS SHOWN WILL BE SUBJECT TO CHANGE IN
ACCORDANCE WITH THE CHANGE OF PREMIUM SECTION.  THE CURRENT ANNUAL PREMIUMS
AFTER ANY CHANGE CAN NEVER EXCEED THE GUARANTEED MAXIMUM ANNUAL PREMIUMS.



                             STANDARD NONTOBACCO RATE CLASS POLICY
r:-nn. -.   "In

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                                    POLICY SPECIFICATIONS


        INSURED    ROBERTS FINGERHUT                  53 YEARS          AGE AT ISSUE


         POLICY
         NUMBER    ZL6856053                          OCT 09, 2002      DATE OF ISSUE


3ASIC POLICY
 FACE AMOUNT       $250,000                           TERM TO AGE 95

  CURRENT PREMIUMS AFTER THE FIRST POLICY YEAR:

                  TERM LIFE                                                     TOTAL
:ioLICY ATT       INSURANCE                                                     ANNUAL
  YEAR AGE         PREMIUM                                                     PREMIUMS


  2        54      1,005.00                                                   1,005.00
  3        55      1,005.00                                                   1,005.00
  4        56      1,005.00                                                   1,005.00
  5        57      1,005.00                                                   1,005.00
  6        58      1,005.00                                                   1,005.00
  7        59      1,005.00                                                   1,005.00
  8        60      1,005.00                                                   1,005.00
  9        61      1,005.00                                                   1,005.00
10         62      1,005.00                                                   1,005.00
11         63      5,655.00                                                   5,655.00
12         64      6,292.50                                                   6,292.50
13         65      7,000.00                                                   7,000.00
14         66      7,762.50                                                   7,762.50
15         67      8,592.50                                                   8,592.50
16         68      9,485.00                                                   9,485.00
17         69     10,460.00                                                  10,460.00
18         70     11,562.50                                                  11,562.50
19         71     13,012.50                                                  13,012.50
20         72     14,260.00                                                  14,260.00
21         73     15,925.00                                                  15,925.00
22         74     17,797.50                                                  17,797.50
23         75     19,812.50                                                  19,812.50
24         76     21,965.00                                                  21,965.00
25         77     24,235.00                                                  24,235.00
26         78     26,600.00                                                  26,600.00
27         79     29,117.50                                                  29,117.50
28         80     31,885.00                                                  31,885.00
29         81     34,972.50                                                  34,972.50
30         82     38,465.00                                                  38,465.00
31         83     42,407.50                                                  42,407.50
32         84     46,727.50                                                  46,727.50
33         85     51,332.50                                                  51,332.50

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                                 POLICY SPECIFICATIONS


      INSURED    ROBERTS FINGERHUT                  53 YEARS         AGE AT ISSUE


      POLICY
      NUMBER     ZL6856053                          OCT 09, 2002     DATE OF ISSUE


BASIC POLICY
 FACE AMOUNT     $250,000                           TERM TO AGE 95

  CURRENT PREMIUMS AFTER THE FIRST POLICY YEAR:

                TERM LIFE                                                  TOTAL
POLICY ATT      INSURANCE                                                  ANNUAL
 YEAR AGE        PREMIUM                                                  PREMIUMS


 34      86      56,132.50                                               56,132.50
 35      87      61,092.50                                               61,092.50
 36      88      66,112.50                                               66,112.50
 37      89      71,260.00                                               71,260.00
 38      90      76,605.00                                               76,605.00
 39      91      82,235.00                                               82,235.00
 40      92      88,332.50                                               88,332.50
 41      93      95,147.50                                               95,147.50
 42      94     103,795.00                                              103,795.00

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                                    POLICY SPECIFICATIONS


        INSURED     ROBERTS FINGERHUT                  53 YEARS        AGE AT ISSUE


         POLICY
         NUMBER     ZL6856053                          OCT 09, 2002    DATE OF ISSUE


BASIC POLICY
 FACE AMOUNT        $250,000                          TERM TO AGE 95

;UARANTEED MAXIMUM PREMIUMS AFTER THE FIRST POLICY YEAR:

                   TERM LIFE                                                  TOTAL
=>OLICY ATT        INSURANCE                                                  ANNUAL
 YEAR AGE           PREMIUM                                                  PREMIUMS


  2        54       1,005.00                                                1,005.00
  3        55       1,005.00                                                1,005.00
  4        56       1,005.00                                                1,005.00
  5        57       1,005.00                                                1,005.00
  6        58       1,005.00                                                1,005.00
  7        59       1,005.00                                                1,005.00
  8        60       1,005.00                                                1,005.00
  9        61       1,005.00                                                1,005.00
10         62       1,005.00                                                1,005.00
11         63      11,247.50                                               11,247.50
12         64      12,525.00                                               12,525.00
13         65      13,940.00                                               13,940.00
14         66      15,465.00                                               15,465.00
15         67      17,122.50                                               17,122.50
16         68      18,907.50                                               18,907.50
17         69      20,860.00                                               20,860.00
18         70      23,065.00                                               23,065.00
19         71      25,965.00                                               25,965.00
20         72      28,460.00                                               28,460.00
21         73      31,787.50                                               31,787.50
22         74      35,532.50                                               35,532.50
23         75      39,562.50                                               39,562.50
24         76      43,867.50                                               43,867.50
25         77      48,407.50                                               48,407.50
26         78      53,137.50                                               53,137.50
27         79      58,175.00                                               58,175.00
28         80      63,710.00                                               63,710.00
29         81      69,882.50                                               69,882.50
30         82      76,867.50                                               76,867.50
31         83      84,752.50                                               84,752.50
32         84      93,392.50                                               93,392.50
33         85     102,602.50                                              102,602.50




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                                 POLICY SPECIFICATIONS


      INSURED    ROBERTS FINGERHUT                  53 YEARS         AGE AT ISSUE


      POLICY
      NUMBER     ZL6856053                          OCT 09, 2002     DATE OF ISSUE


BASIC POLICY
 FACE AMOUNT      $250,000                          TERM TO AGE 95

GUARANTEED MAXIMUM PREMIUMS AFTER THE FIRST POLICY YEAR:

                TERM LIFE                                                  TOTAL
POLICY ATT      INSURANCE                                                  ANNUAL
 YEAR AGE        PREMIUM                                                  PREMIUMS


 34      86     112,205.00                                              112,205.00
 35      87     122,122.50                                              122,122.50
 36      88     132,162.50                                              132,162.50
 37      89     142,457.50                                              142,457.50
 38      90     153,147.50                                              153,147.50
 39      91     164,410.00                                              164,410.00
 40      92     176,605.00                                              176,605.00
 41      93     190,235.00                                              190,235.00
 42      94     207,527.50                                              207,527.50




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 DEFINITION OF TERMS SECTION

                             Age at Issue: The insured ' s age nearest birthday on the Policy Date.
                             This is the Age shown in the Policy Specifications.

                             Appli.cation: The application for this policy attached to and made a part
                             of this policy.

                             Beneficiary: The party(s) so named in the application , unless later
                             changed as provided in this policy.

                             Date of Issue: The date shown in the Policy Specifications. The Suicide
                             and Contestability provisions use this date.

                             Due Proof: Information or evidence submitted to us sufficient to satisfy
                             us of the existence of a fact or condition.

                             Insured: The person whose life is insured under this policy as shown in
                             the Policy Specifications.

                             Policy Anniversary: The same day and month as the Policy Date for each
                             succeeding year this policy remains in force .

                             Policy Date: The effective date of coverage under this policy if all the
                             terms of the application are satisfied , including the payment of the
                             premium due. The date from which policy anniversaries , policy years ,
                             policy months and premium due dates are determined. This date is
                             shown in the Policy Specifications.

                             Policy Specifications: The pages of this policy so titled which show your
                             benefits, premium and other information.

                             Policy Year: A one year period of time starting on successive policy
                             anniversaries, with the first policy year starting on the Policy Date .

                             Rate Class: The mortality or morbidity classifications assigned under
                             this policy.

                             Request: A request in writing on a form acceptable to us, signed by you
                             and received by us.

                             Supplemental Application: A request for reinstatement of or a change to
                             this policy.

                             We, Our, Ours, Us: Zurich Life Insurance Company of America,
                             Schaumburg , Illinois 60196-6801.

                             You, Your, Yours: The party(s) named as owner in the application unless
                             later changed as provided in this policy.




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GENERAL SECTION
Contract                         This policy, with any proper changes, is the entire contract between you
                                 and us. Only our president, vice-president, secretary, or assistant
                                 secretary can change, modify, or waive any provisions of this policy.

                                 This policy includes: 1. the Policy Specifications; 2. the attached
                                 application; and 3. any supplemental applications, riders, amendments
                                 or endorsements made a part of this policy.


Con testability                  We rely on the statements made in the application for this policy. We
                                 also rely on statements made in any supplemental application or
                                 request for a change of this policy. In the absence of fraud, they are
                                 deemed representations and not warranties. In addition to the other
                                 reasons permitted by law, we can contest the validity of: 1. this policy;
                                 2. any reduction in rate class; 3. reinstatement of this policy; or 4. any
                                 supplemental benefit or rider added, if:

                                 a. any material misrepresentation of fact is made in the application, a
                                 supplemental application or a request; and

                                 b. a copy of that application, supplemental application or request is
                                 attached to this policy when issued or is later made a part of this policy.

                                 We will not contest the validity of this policy after it has been in force,
                                 during the insured's life, for 2 years from the Date of Issue. With respect
                                 to: 1. a reduction in rate class; 2. any reinstatement of this policy; or
                                 3. any supplemental benefit or rider added, we will not contest the
                                 validity of the change or reinstatement after they have been in effect,
                                 during the insured's life, for 2 years. However,we can always contest
                                 the validity of this policy for the non-payment of any premium due.


Suicide                          We will limit the proceeds we pay under this policy if the insured
                                 commits suicide, while sane or insane:

                                 1. within 2 years from the Date of Issue; and

                                 2. after 2 years from the Date of Issue, but within 2 years from the
                                 effective date of the last reinstatement of this policy.

                                 The limited amount will equal all premiums paid on this policy.


Misstatement of Age and/or Sex   If the age and/or sex of the insured was misstated to us, the benefits
                                 under this policy are those which the premiums paid would have bought
                                 for the insured's correct age and sex.


Assignment                       You may assign this policy if you file the assignment or a certified copy
                                 with us. When filed, your rights and those of the beneficiary are subject
                                 to the assignment. No assignment is binding on us unless we receive it
                                 in writing. We are not responsible for the validity or sufficiency of any
                                 assignment. Any claim is subject to due proof of the interest of the
                                 assignee.


Change of Plan                   You may change the plan or the amount of insurance or both as long
                                 as we both agree.




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GENERAL SECTION (Continued)

Non-Participating            This policy does not share in our surplus earnings.

Beneficiary                  Change - Unless otherwise provided by request, you may change the
                             beneficiary while this policy is in force. We may require you to send the
                             policy to us. Such change is subject to any existing assignment of this
                             policy. The change becomes effective when we record it. Once
                             recorded, the effective date is the date the request was signed. The
                             change is subject to any proceeds paid or other action taken by us
                             before the change was recorded.

                             Death -   Unless otherwise provided, and subject to any assignment:

                             1. if no primary beneficiary survives the insured, the proceeds will be
                             paid to any contingent beneficiary(s) who survive(s) the insured;

                             2. if no beneficiary survives the insured, the proceeds of this policy will
                             be paid to the estate of the insured;

                             3. the interest of any beneficiary who dies before the insured will pass
                             to any beneficiaries in the same class (that is primary or contingent)
                             who survive the insured, share and share alike; and

                             4. if a beneficiary dies at the same time as the insured or within 10 days
                             after the death of the insured, the proceeds will be paid as if the insured
                             had survived that beneficiary.

Evidence of Age, Death,      We may require due proof of:
Sex and Survival
                             1. the death of any person which will result in proceeds being paid, or
                             rights being transferred, under this policy;

                             2. the age and sex of any person on whose life an income is based; and

                             3. the continued survival of any person on whose life an income is
                             based.


Reduction in Rate Class      You may request that we reduce your rate class if you are eligible. We
                             will allow a reduction in rate class if we receive satisfactory evidence
                             that your health has improved. A reduction in rate class will be subject
                             to the following conditions.

                             1. You will be required to pay for any evidence we may need to establish
                             your health.
                             2. Any evidence we may require must be provided by a company
                             approved medical examiner.
                             3. A new Policy will not be issued. However, new Policy Specifications
                             pages will be provided to you.

OWNERSHIP SECTION

Owner                        The owner of this policy is the insured unless another party is so named
                             in the application. The owner may be changed while the insured is
                             living, the owner may use all the rights and privileges granted by this
                             policy.

Change of Owner              While the insured is living, you may change the owner by request. Such
                             change is subject to any existing assignment of this policy. The change
                             becomes effective when we record it. Once recorded, the effective date
                             is the date the request was signed. The change is subject to any
                             proceeds paid or other action taken by us before the change was
                             recorded.




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PREMIUM PAYMENT SECTION

General                       Premium payments are payable to us at the home office or to an
                              authorized representative. A receipt for premium payments signed by
                              our secretary will be furnished if requested. The first premium is due
                              on or before the date this policy is delivered to you. All premium checks
                              must be made payable to us. A premium paid is deemed fully earned
                              on its due date. Once earned, a premium is non-refundable except as
                              may be specifically stated in this policy.

Frequency                     Premiums are due in advance at the start of each billing period. At
                              issue, the billing period you selected in the application will apply. The
                              amount of premium due for a billing period is shown in the Policy
                              Specifications. Subject to our minimums, the billing period may be
                              annual, semi-annual, or quarterly. You can arrange by request: 1. to
                              change the billing period; and 2. to have preauthorized payments
                              withdrawn from your bank account. After the first policy year, the
                              semi-annual, quarterly, or monthly payments for each policy year will
                              be determined on the same basis as that used to determine the
                              premium for the selected mode for the first policy year.

Grace Period                  A grace period of 31 days will be allowed for payment of each premium
                              after the first. This policy will continue in force during the grace period.
                              If the premium remains unpaid at the end of the grace period, coverage
                              will cease. If the insured dies during the grace period, the unpaid
                              premium will be deducted from the proceeds.

Reinstatement                 Reinstatement means to restore this policy to a normal in force status
                              after it has gone into default because a premium due was not paid
                              before the end of a grace period. We will reinstate this policy if we
                              receive:

                              1. your request to do so: a. prior to the Expiry Date and the death of the
                              insured, and b. within 3 years after the due date of the unpaid premium;

                              2. due proof that the insured is insurable at the rate class in effect as
                              of the date of premium default.

                              3. payment of the premium from the date we agree to reinstate the
                              policy to the next premium due date; and

                              4. the premium due for any coverage provided under the Grace Period.

                              A reinstatement will be effective only as of the date we approve your
                              request for reinstatement.

PROCEEDS SECTION

                              The proceeds are subject to adjustment under the Suicide and Mis-
                              statement of Age and/or Sex provisions. The amount of proceeds as
                              defined below is subject to all provisions of this policy.

                              The proceeds payable on the death of the insured are equal to:

                              1. the face amount of this policy; plus

                              2. any supplemental benefits and riders payable on the life of the
                              insured; less

                              3. any premium needed as set forth in the Grace Period provision; plus

                              4. any advanced premium deposits which are paid past the current
                              payment period.




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CHANGE OF PREMIUM SECTION


                             Two sets of Total Annual Premiums for each policy year are shown in
                             the Policy Specifications. One set is labeled "Current Premiums After
                             First Policy Year." The other set is labeled "Guaranteed Maximum
                             Premiums After First Policy Year." Premiums are subject to change as
                             shown in the Policy Specifications . If anticipated future interest,
                             expense , persistency, mortality or tax experience differs from those
                             assumed in the current premium, the premium rates may chanue. It is
                             anticipated, though, that "Current Premiums After First Policy Year" will
                             be charged. We can never raise premiums above the respective
                             " Guaranteed Maximum Premiums After First Policy Year. "

                             If we change the "Current Premiums After First Policy Year," the change
                             will be made for all insureds with the same issue age , sex, face amount,
                             policy year, and rate class as the insured . Changes in health or
                             occupation will not affect any change in the premium rates. We will not
                             change the premium for any riders or benefits other than the term life
                              insurance benefit or other Insured Rider. We will send you: a. a notice
                             of any change before it takes effect; and b. a new premium rate table
                             when rates are changed which shows the then current premium rates
                             for all policy years.

EXCHANGE PROVISION SECTION

                             On the Exchange Date, we will exchange this policy for a new policy if
                             we receive satisfactory evidence of insurability. The Exchange Date is
                             shown in the Policy Specifications. All premiums due on this policy
                             must have been paid before the Exchange Date. The face amount of the
                             new policy must be equal to or less than the face amount of this policy.
                             The new policy is subject to the following terms.

                             1. You must complete and submit a new application to us not more than
                             90 days or less than 60 days before the Exchange Date.

                             2. We must approve the issuance of the new policy before it can become
                             effective.

                             3. You must pay the first premium on the new policy in order for the new
                             policy to become effective .

                             4. Coverage under this policy terminates when coverage under the new
                             policy begins.

                             5. The new policy will be on the same plan as this policy.

                             6. The policy date of the new policy will be the Exchange Date . The issue
                             age on the new policy will be the insured's attained age nearest
                             birthday on the Exchange Date. Annual premium rates for the new policy
                             will be those applicable to such policies issued on the Exchange Date.

                             7. The Exchange Date and the maximum age when this policy may be
                             exchanged are shown in the Policy Specifications.

                             8. Any rider or benefit in this policy can be included in the new one.
                             Any rider or benefit is subject to the rules and premium rates we are
                             using on the policy date of the new policy.

                             9. We will pay for the required evidence of insurability.


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CONVERSION SECTION

                              Whenever a po.I icy is converted, the policy date of the new policy is the
                              date of conversion. The premium for the new policy will be based on the
                              rate in use on the date of conversion for the insured's: a. sex; b. then
                              attained age; and c. rate class. The policy form for the new policy will
                              be the one in use on the date of conversion. If this policy is issued in a
                              substandard class, the premium rate for the new policy will be based
                              on the rate for that class for the plan chosen. A new suicide or
                              contestable period will not apply to benefits converted from this policy
                              to a new policy. These periods will be measured from the Date of Issue
                              of this policy.

                              If you request, this policy may be converted to a whole life policy or to
                              a flexible premium adjustable life policy on the insured without evidence
                              of insurability providing that:

                              1. This policy has not reached the earlier of a. the 2oth policy
                              anniversary orb. the policy anniversary nearest the insured's 70th
                              birthday;
                              2. no benefits are being paid under any Total and Permanent Disability
                              Benefit;
                              3. no premiums on this policy are in default;
                              4. a. the premium rate per $1,000 of coverage amount on any new whole
                              life policy, orb. the minimum initial premium rate per $1,000 of coverage
                              amount on any new flexible premium adjustable life policy, is higher
                              than the corresponding premium rate for this policy on the date of
                              conversion;
                              5. the amount of coverage provided by the new policy is equal to or less
                              than the amount of coverage provided by this policy; and
                              6. the amount of coverage provided by the new policy is at least equal
                              to the minimum amount issued by us for the plan chosen.




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SETTLEMENT OPTION SECTION
One Sum Settlement               When the insured dies the proceeds will be paid in one sum unless
                                 otherwise provided.

Optional Methods of Settlement   In lieu of a single sum you or a beneficiary may elect payments
                                 according to the provisions below when the insured dies.

                                 This privilege does not apply unless the beneficiary is a natural person
                                 acting in that person's own behalf.

How to Elect                     Owner: You may elect to have the sum due paid: a. in accordance with
                                 one of the settlement option methods; orb. in some other manner on
                                 which you and we may agree.

                                 The election is made by filing a request. Such election is subject to any
                                 existing assignment of this policy and will take effect only when
                                 endorsed by us , as a settlement agreement, during. the lifetime of the
                                 insured.

                                 Beneficiary: If the owner does not make an election before the death of
                                 the insured, a beneficiary may elect to have the sum due paid in
                                 accordance with one of the settlement options after the death of the
                                 insured and before any settlement is made. The election must provide
                                 that: a. payments will be made to the beneficiary; and b. any amounts
                                 remaining unpaid after the death of the beneficiary will be made to the
                                 estate of the beneficiary.

                                 The election is made by filing a request.

How to Change                    You may change the settlement agreement to any method of payment
                                 on which you and we may agree. You must file a request. Such change
                                 is subject to any existing assignment of this policy. The change takes
                                 effect when endorsed hereon by us during the lifetime of the insured.

Excess Interest                  We may pay interest in excess of the guaranteed rate on proceeds held
                                 under any option. Excess interest is paid or credited in amounts and in
                                 such manner as we may determine.

Proceeds at Interest             Optional Method 1: We will hold all or part of the proceeds, if more
                                 than $10,000. We will pay interest of at least 2 1/2% per year each 6
                                 months. The payee may take out sums of $1,000 or more at any time. If
                                 the payee dies we will pay the principal and accrued interest to the
                                 payee's estate or to such other person properly elected.

Fixed Years Instalments          Optional Method 2: We will pay all or part of the proceeds of this policy
                                 in a fixed number of monthly instalments as shown in the table on the
                                 following page. Instalment payments will be limited to an amount of at
                                 least $100. If the payee dies before all instalments are paid, the value
                                 of the remaining instalments commuted at the interest rate used in
                                 calculating the payment will be paid to the payee's estate or to such
                                 other person properly elected.

                                 The beneficiary has the right to receive the value of any unpaid
                                 instalments commuted at the interest rate used in calculating the
                                 payment.

Life Income                      Optional Method 3: We will pay all or part of the proceeds of this policy
                                 in equal monthly instalments during the lifetime of the payee. Payments
                                 are determined from the Life Instalments Table for the sex and age at
                                 nearest birthday of the payee on the date this option becomes effective.
                                 Instalment payments are limited to an amount of at least $100.

                                 If the payee dies before receiving all of any fixed year certain
                                 instalments, the value of the unpaid certain instalments commuted at
                                 the interest rate used in calculating the payment will be paid to the
                                 payee's estate or to such other person properly elected.




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Fixed Amounts Instalments                                 Optional Method 4: We will pay all or any part of the proceeds of this
                                                          policy in specified instalments each year, each 6 months, each 3 months
                                                          or each month until the proceeds (including interest on the unpaid
                                                          balance at 2 1/2% per year compound interest) are exhaust ed. The final
                                                          payment is the unpaid balance of the proceeds . Instalment payments
                                                          are limited to an amount of at least $100.

                                                           If the payee dies while we are hold ing any balance of the proceeds , such
                                                           balance w ill be paid in one sum to the payee's estate or to such other
                                                           person properly elected .

                                           If th is optional method is elected by the ben eficiary, the beneficiary will
                                           have the right to withdraw the unpaid balance of th e proceeds .
Tables of Monthly Payments under Optional Methods 2 and 3 that $1,000 Will Obtain
The interest rate bas is for calculating the month ly payments shown is 2 1/2 % per year.
Fixed Years Instalments Table -        Optional Method 2

No. of                      No. of                      No. of                  No. of                     No. of                    No. of
Years          Monthly      Years         Monthly       Years      Monthly      Years       Month ly       Years       Monthly       Years        Monthly
Elected                     Elected                     Elected                 Elected                    Elected                   Elected

1               $84.28       6            $14.93         11        $8.64        16          $6.30          21          $5.08          26          $4.34
2                42.66       7             12.95         12         8.02        17           6.00          22           4.90          27           4.22
3                28.79       8             11.47         13         7.49        18           5.73          23           4.74          28           4. 12
4                21.86       9             10.32         14         7.03        19           5.49          24           4.60          29           4.02
5                17.70      10              9.39         15         6.64        20           5.27          25           4.46          30           3.93


Life lnsta.lments Table -    Optional Method 3

                             Monthly lnstal ments                                                          Month ly Jnsta l ments
Age of Payee                 For Life That $1 ,000 Will Obtain        With       Age of Payee              For Life That $1 ,000 Will Obtain        With
When 1st Insta lment                     With           Wi th        lnsta l-    When 1st Instalment                         With       With        lnstal-
is Payable                                10 Yrs.       20 Yrs.      ment        is Payable                                 10 Yrs.     20 Yrs.     ment
Male            Femal e      Life        Certain        Certa in     Refund      Male         Femal e        Life           Certain     Certain     Refund

10&            15&
Under          Under         $2.71       $2.71            $2.70     $2.67            47          52          $4.33        $4.25        $4.01        $3.98
11             16             2.73        2.73             2.71      2.69            48          53           4.42         4.33         4.07         4.04
12             17             2.75        2.74             2.73      2.71            49          54           4.51         4.42         4.12         4 .11
13             18             2.77        2.76             2.75      2.73            50          55           4.61         4.50         4.18         4.18
14             19             2.79        2.78             2.77      2.75            51          56           4.72         4.60         4.24         4.26
15             20             2.81        2.81             2.79      2.77            52          57           4.83         4.69         4.30         4.34
16             21             2.83        2.83             2.81      2.79            53          58           4.95         4.79         4.36         4.42
17             22             2.86        2.85             2.84      2.81            54          59           5.07         4.90         4.41         4.50
18             23             2.88        2.88             2.86      2.83            55          60           5.20         5.01         4.47         4.59
19             24             2.91        2.90             2.88      2.85            56          61           5.34         5.12         4.53         4.68
20             25             2.93        2.93             2.91      2.88            57          62           5.48         5.23         4.59         4.77
21             26             2.96        2.95             2.93      2.90            58          63           5.64         5.35         4.64         4 .87
22             27             2.99        2.98             2.96      2.93            59          64           5.80         5.48         4.70         4.98
23             28             3.02        3.01             2.99      2.96            60          65           5.97         5.61         4.75         5.09
24             29             3.05        3.04             3.02      2.98            61          66           6.15         5.74         4.80         5.20
25             30             3.08        3.08             3.05      3.01            62          67           6.34         5.87         4.85         5.32
26             31             3.12        3.11             3.08      3.04            63          68           6.54         6.01         4.90         5.44
27             32             3.15        3.14             3.11      3.07            64          69           6.75         6.16         4.94         5.57
28             33             3.19        3.18             3.15      3.10            65          70           6.97         6.30         4.98         5.70
29             34             3.23        3.22             3.18      3.13            66          71           7.21         6.45         5.02         5.84
30             35             3.27        3.26             3.22      3.17            67          72           7.46         6.60         5.05         5.99
31             36             3.31        3.30             3.25      3.20            68          73           7.73         6.76         5.09         6.15
32             37             3.36        3.34             3.29      3.24            69          74           8.02         6.91         5.1 2        6.31
33             38             3.41        3.39             3.33      3.28            70          75           8.32         7.07         5.14         6.48
34             39             3.45        3.43             3.37      3.32            71          76           8.64         7.23         5.17         6.66
35             40             3.50        3.48             3.41      3.36            72             77        8.98         7.38         5. 19        6.84
36             41             3.56        3.53             3.45      3.40            73             78        9.34         7.54         5.20         7.04
37             42             3.61        3.59             3.50      3.44            74             79        9.72         7.69         5.22         7.25
38             43             3.67        3.64             3.54      3.49                           BO &
39             44             3.73        3.70             3.59      3.53            75             Over     10.13          7.84        5.23         7.47
40             45             3.79        3.76             3.64      3.58            76                      10.57          7.98        5.23         7.47
41             46             3.86        3.82             3.69      3.63            77                      11.03          8.13        5.25         7.94
42             47             3.93        3.88             3.74      3.68            78                      11.53          8.26        5.26         8.19
43             48             4.00        3.95             3.79      3.74            79                      12.06          8.36        5.26         8.45
44             49             4.08        4.02             3.84      3.80            80 &
45             50             4.15        4.09             3.90      3.85            Over                    12.62          8.51        5.27         8.74
46             51             4.24        4.17             3.95      3.91




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Zurich Life Insurance Company of America
1600 McConnor Parkway, Schaumburg, Ill inois 60196-6801


ACCELERATED DEATH BENEFIT RIDER



IMPORTANT                            Benefits as specified under the Policy will be reduced if you receive an
                                     Accelerated Death Benefit payment.

                                     The benefit payment under this Rider may be taxable or may affect
                                     eligibility for benefits under state or federal law. You should contact
                                     your personal tax advisor for specific advice. Neither the Company nor
                                     its agents can provide tax advice.

Effective.                           This Rid er i s a part of the pol icy as of the Issu e Date of the Policy.
Date

Definitions                          Accelerated Death Benefit - This is the amount of death benefit that you
                                     elect to accelerate w hen the insured is determined to be Terminally Ill.
                                     We will pay you the Accelerated Death Benefit less certain specified
                                     adjustments.

                                     Terminally Ill - This is when the insu red has a life ex pectancy of 12
                                     months or less due to an illness or physical condition . We will require
                                     proof, satisfactory to us, that the insured is Terminally Ill. This proof will
                                     include , but is not limited to , certification by a Physician .

                                     Physician - This must be a Physician licensed and practicing, w ithin, the
                                     scope of his/her license, within the United States. The Physician must
                                     not be: you ; the insured ; or, related to either party by blood or marriage .

Accelerated                          You may elect to have a portion of the death benefit accelerated when
Death Benefit                        the insured is found to be Terminally 111 , subject to the terms and
                                     conditions of this Rider. The maximum Accelerated Death Benefit you
                                     may elect under this Policy is the lesser of:

                                     1. 25% of the death benefit; or

                                     2. $250,000.

                                     The total Accelerated Death Benefit available under all policies issued
                                     by us or our affiliates on the life of the insured will not exceed $250,000.
                                     The minimum death benefit you may elect to accelerate is $10,000. You
                                     may not request more than one Accelerated Death Benefit under this
                                     Rider.

Adjustments                          We will charge an administration fee of $150 for processing an
                                     Accelerated Death Benefit. This fee will be deducted from any payment
                                     made.

Lien                                 We will treat the Accelerated Death Benefit as a lien against your Policy.
                                     As a lien , we will charge you interest on the Accelerated Death Benefit.
                                     The maximum annual interest rate we may charge you is the greater
                                     of:
                                     1. 7% ; or
                                     2. the current 90 day U.S. Treasury Bill rate in effect on the date that the
                                     Accelerated Death Benefit is paid.

Effects on the Policy                The death benefit payable under this Policy will be reduced by the
                                     amount of the lien.




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                              Any benefits payable under other riders attached to this Policy will not
                              be affected by any benefit payable under this Rider. Premiums , without
                              reduction , will still be payable on this Policy, including any premiums for
                              riders.

Conditions                    Payment of an Accelerated Death Benefit is subject to the conditions
                              that follow:

                              1. This Rider is subject to the terms of the Conte stability provision under
                              this Policy.

                              2. The insured must not be Terminally Ill due to any attempt of suicide
                              while the suicide provision under this Policy is in effect.

                              3. You may reinstate this Rider subject to the same terms which apply
                              to the Policy.

                              4. You must send us a written request to elect the Accelerated Death
                              Benefit. The written request must be in a form satisfactory to us.

                              5. Any irrevocable beneficiaries or assignees must send us a written
                              consent to the Accelerated Death Benefit. The written consent must be
                              in a form satisfactory to us .

                              6. You must provide us with proof satisfactory to us that the insured is
                              Terminally Ill. This proof must include a certification by a Physician , who
                              is not: you ; the insured ; or, related to either party by blood or marriage .
                              We reserve the right to obta in a second med ical opinion at our expense .
                              If there is a conflict of op inion , we reserve the right to make the final
                              determination .

                              7. This Rider provides for the accelerated payment of the death benefit
                              and is not intended to allow third parties to cause you to involuntarily
                              invade your Policy proceeds ultimately payable to your beneficiary .
                              Therefore , any election forced by creditors or government agencies wi ll
                              be honored only to the extent required by law .

Relationship to the           This Rider is part of the Policy to which it is attached. The te rms and
Policy                        conditions of the Policy apply to this Rider. Where the terms and
                              conditions of the Policy and this Rider are in conflict , the terms and
                              conditions of this Rider w ill prevail.

Termination                   This Rider will terminate on the earliest of:
                              1. the date we pay you an Accelerated Death Benefit;
                              2. the date you ask us to do so in writing and send us the Policy;
                              3. the date this Policy lapses because a premium due is not paid with in
                              the requi r ed grace period; or
                              4. the policy anniversary that is 5 years before the Expiry Date of this
                              Policy.


                              Signed for the Zu r ich Life Insurance Company of America at its home
                              office in Schaumburg , Ill inois.




                                       Secretary                                      President




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Zurich life Insurance Company of America
1 Kemper Drive, Long Grove, Illinois 60049-0001




                                       Extension of Rate Guarantee Rider

This Rider is a part of the policy to which it is attached. It is subject to all of the policy's provisions whi:::h are not
inconsistent with this Rider. If inconsistencies occur, the provisions of this Rider will apply.


Benefit
This Rider guarantees that while it is in effect, the Maximum Annual Premium due in each policy year will not
exceed the total annual premiums paid in the first year or the first year after reinstatement, if later.
The Maximum Annual Premium may change if a different payment frequency is selected under the Premium
Payment Section of the policy.

Effective Date
This Rider becomes effective on the Policy Date, as shown on the Policy Specifications Page.

Termination
This Rider will terminate on the earliest of:
            A.   the day after the expiry date of the Rider, as shown in the Policy Specifications;
            B.   the day coverage under this policy terminates;
            C.   the day after the end of a grace period, when a premium due remains unpaid.

Reinstatement
This Rider may be reinstated if:
            1.   The policy itself is being reinstated; and
            2.   The Rider terminated due to the termination of the policy according to the terms of the policy's
                 Grace Period provision.


          Signed for the Zurich Life Insurance Company of America at its home office in Long Grove, Illinois.




             QY.;_<-- (,?. ~~
                           Secretary




Z-2003

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  City:1//a r ren                               .. S1;1!c Qfl..,__Zip; :1.i:U~L._            Specific Duucs : fr c1nc:h .i se /Gre•1hou nd Line
  County :       Tru mbull               _________                                        Years Employed : .,c3_______________
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  If .. ,.,."'..                                                            Pu rpose
                 Name of Company                      Amount          Pcrso nal/Busi11css       Dale of issue                                Person to he Covered
                                                                                                                _19·72 _____                 _p,2ben. Finqerhut
  b. CNA Ld e                                                                                                   __l99B__ _                     Robert Fingerhut
  (.   _____                                             s _ ___
  'Within 1he rast h monihs. h.1., :in y person 111 be .;m·cr-·d ;ippl ie<l for I, k 1ns1uCJnce.
  l.lf is :m y p('r,,.m tu be ~uv,.:rcd l: u1:rcnt!y aprlying \\."Ith ~mPlh-cr co111rMny .'     ~ Ye:-,            0 N11
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  ls this policy w rq1lace any esis11ng ltfe 111,urancc 11r :mn uity''                    0 Yes 0 No
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  \Vho will pay premiums?             0 Proposed Insured.               Downer.              OOther. /1 Ml1er. J.•ln,se g, ,.,. m11111- rmd ,u!drns 111 R1Cmarks.
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                      [8') Mont hly [hnk Withdr:iwal c-.:, ,mr lt'.tc au1h11 .. ,1,111on on page cl i .             Premium Quoted : S!l1..,,.9 J_~

             l V. Beneficiary Information             Provide lull nam., and 'da1io11sh 1p tu Proposed ln,un:d. lftfltst. givt daic:



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                                              V. Owner               C11mpk1t· unl y if 01hn limn Pn,pnscd lnsurt,i.

  Name
  Strc.:1.                                                                    SPcial Scn1ri1y or Ta x I')#:
  City:                                                                       II lllhl. ft\c· date ·
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                                                                                                                     1,-v, ,,;          i   •.• -~   !
     For any "yes" answers. plcn~c provide complcle dclaib in the RJ;ma,rk/J~HJJ~\~l\6l lhws. ff rhc informaiion is medical in nature;,
 -include: diagnosis. trcatmcm. and medications; date of occuITcnc~ . duratfon,"and ci1rreni slalus ; all names. :1ddrcsses, and phone numbers+
                                                of doctnrs. lto~pit,!.ls. and medical facilities.

     ls any person to be covered taking, or has any person to he covered ever been advised to take, any
     111cdica1io11'1 . .... . ......................................................................... ... ......................................................... . .... ..       0Ycs 0No
     Within the past 10 years. has any per,lln to be covered had m been diagnosed or rrcared by a member of
     the medical profcssii}J) for: high blood pressure; stroke; heart, lung, kidney, or liver disease; diabetes;
     cancer or a tumor; colon disonlcr: back or spinal disordc,r; :;ci,:ure or nervous disorder; alcohol or drug
     dependency : immune system disorder; digestive or gcnilourmrnry cfoordcr; mental disorder or
     depression•).......... ............................. ............. ,.·.....                         . .... ... ............................................. _... .. ..... ..    0 Yes [8l No
     Within the past 5 years. has any person to be covered:
     a. Been hospitalized; had any tests or blood studies ordered; ,.:,rnsultcd, been exumincd. or been treated
         by a member of the medical profession·>                                 .......... ........ .. .. ........              .. ............................... .                 OY.:s     t8J No
      If "yes'', pnwide derw'Js t.,f euch 1·isit to r.nch doctor, lwspi1a/. and r1u:dical fac ili1y.
      b. Engaged in . or within the next 12 months ."ctocs any person 10 be covered intend to engage in: skydiving.
         org.ani.1.ed vehicle racing , hang girding. scuba diving, parachuting, or mountain climbing"? ...................... ..                                               0Ycs (8JNo
     ,. Pilott!d or been a crew m.cmbcr of, or within the n<.:xl 12 rnnnth.s. does any person lo he covered intend to
          pilot or be a crew member of, an aircraft••..... .................                                     .. ............... .................................. .       0Yc, [g! No
     d. Had a dri v1: r's license suspended or revoked : had J or m•.>rc nrnvi ng violations; or been convicted
         of dri ving wbile impaired or int nxicarcd' 1 ,....                                                     .. .... ..... ....... ......        .. .............. ..      0Yc~ 18) No
     Has any perso n lo be covered ever been con victed of. or is any p1:rson to be covered now :w.-airing trial
     for. a fclon.y '! . .... ...... .. .. ............. ... ............ .... .. . ... ... .... .......... . .                               .. .......................... .. 0Ycs [8l No
     Within the past 3 years, has any person lo be rnvcrcd trnvdc-J. or within the next 12 months, docs any
     person lo be rnvered intend to travel. outside the United Staws·;                                          ............................ ......... .............. ..       0Yes (81 No
     ls each person to be ;;ovcrc<l a U.S. citizen'' .. .....                                                                                             .. ........... .. .. 181 Yes 0No
     If "no":          \.Vho?______________                                                                     Citizen of: _ _ _ _ _ _ _ _ _ _ _ _.,_
                       Visa Type: ____________~                                                                 Visa Expiry Daw : __________.,_
     Has any person to be covered ever had an application for insurance rated. poSiponc<l, or
     declined·'.        /NIA m Mi.,s,;wri) .... ...                                                                                                                            0Yes (8JNo
     Has any person to be covered ever been advised 10 quit or reduce or seek treatrnrnt or counseling for the use
     of alcohol 1>r other drugs·1.. ............                                                                                                                               0 Yes [8l No
     Has any perso n to he covered ever used any tohacco or nicminc prod uct''.... .......                                                                                     0 Yes ~ No
     ff "_l"es"·       Who·>_____________                                                                       What kind'? ____________-'-
                       Date last used? ______                                                                   How much '! - - - - -- - - - - - ~
     Has any person to be covered ever attcmptcdsuicide'?.                                                                                                                     0Yes !8)No
     Has any person to be covered lost wcighr in the past y,,ar' .. .                            1
                                                                                                                                                                               0Yes !8)No
     if "_\'es " :    Who'' ______ _ ..______________ .                                                         How mtKh·1_ _ _ _ _ - - - - - - - - ' -
                                    Reaso n? ____________
      Family Record:
                                                                     Living .... .. ,..                                                                                    Deceased ....... .
                                                                      State of hcahh                                                                           Age            Cam;e of death

                           Father                                                           _ _ ____ _ _ _ _ _ _ _4.,_·:. . .7___,C£lp"--_ _ __ _ _ _........,_

                           Mother                                                                                                                        79           Cance;,r- Breast
                           Bn,1l1crs (li.11)




                           Sisters i Ii.\'/ i           _ ______i\11 S.i.blinqs F .i.n,~ -~---- - -




                                                                                                                                                                                       DONNA ROBERTS v WARDEN
                                                                                                                                                                                        CASE NO. 4:21-cv-00368-DAP
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                                                               Rcn121r~"t ,                 i: ,
                                                                              ,   ~·   :'    . :··
                           ( Be sure to gfre q11estfo;n II, amt iabuify rlur applii:abie'f,erson lo be co,•ered.)
 C$1!Ct. VI, Quest. 1 , Robert s Fi,;ig-erht1t:
 lti:>bert $ Fingerhut   topressor for hisrh BP {)l)r~v·entative, has not had high BP in tlu1 paa·t),
 _ha!! taken meds for l0yrs, all
  norm.al

  Loraze:i;,am for mild amdety (med since 11/97), no problsms

  t>r. Ni!Ul\e for Robert S l!'ingerhut: Dr . 1Culi;1er
  Dr. Address for Robert S Fingerhut:
                                         l'l'arren., OH
  Dr. Phone for Robert S Fingerhut: 33039!~9300·
  Dr. v ·isit date for Robert S Fingerhut: 15/1/9·8
  Dr. reason date for Robert s Fingerhut: Phys,ical
  Dr. visit rei:ult for Robert S Fingerhut: Nomi.al
  Marital Status Robert S Fingerhut: Mllrr:iod


              Team:
 Nat~ H1.llXDllal         11691
  Z.D Pile: DMC861.21




                                                                                                                    DONNA ROBERTS v WARDEN
                                                                                                                     CASE NO. 4:21-cv-00368-DAP
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                             DO NOT SUllMIT PREMIUM IF THE lNliTK.AL DEATH Uf;NEFIT EXCEEOS $500,000
                                   1J!t;fJ1u1,1 ~ Jtr,/Jm17lcd
                    $87.43               rcmittc·d with th~ipplication wiiil J:,e excha.nged for a Tem~y Insur:lnce Agreement.


                                                           Agrcll! mernl and Authorizatio n

  IJ\Vc. here in Joint ly to be knnwn as [. represent that Ill<! statements ,,nJ answers made in all pans of this app licuion an: true and complete
  to the best of my know ledge and bdid. I agree that: I. All such Harcmcnts and answers shall be the basis for any insuran ce that may be
  issued . 2. No one cm accept ri sks, or make <:hangcs w the .1pplication. or w:.iive the Company's ri ghts or n.:quircmcnts. Except in
  ?',;:Jissouri. Oregon and South Carolina.. !lD one can <1cccp t ,tatcm,;,111s or answcrs 1b:11 ,,re oot in the application. J. Zurich Life Insurance
  Company of America (the Company) ha, the right to req uire a 1ncdic~.l examinalion of any person to be covcr,;cL 4. Except as seated in
  tbe Temporary Insurance Agreement (if any) pro~ided upor, a. p~ymcnt of premium, insurance will not be effective until: (a) 1be
 .policy is dcli'l'ercd and accepted by the a pplicant; and (h ) The !first full premium is paid; and (c) Any amendments are signed and
  returned . S. Any changes in the ~pp!ic,uion will be suajcct 10 wri:.ten acccprancc hy me.

 I :iulhorize: any hcnlth <:arc provider ,'J r m•:{lical f.,ci !ity: a ny insurer or rcinsurer: any consumer reporting sc.rvicc ; the Medical Information:
 Bureau: and any financial source . emp loyer. family mcmb,~r or a,;;1x:ia(c. to release w lhc Company, its representatives, and its re-insurers,
 any personal informal ion relating to my health or mental -~ondi·:ion, general character ar.d reputation. driving rcconls. use of al cohol and
 Jrugs, hobbies, finances. and occupaiions. Thi s information will he used to determine if I am eligible for insurance . ll may also be used:to.
 ::valuate a claim fur bcn.:fit.s. The Company may n::lca~c inform.a.lion 10: rei nsurcrs ; other in,urancc comranics to whom I have applledot
 may apply: the Medical Information Burc1tll : or mhcr pers,;ms who perform business or legal services in connection with my application. or ·
 other husincss purpose: or :is requi red by law. Tj1is authori nlliou i, valid fo r 30 mumhs frnm the d<1tc it is signed . I am aware that l may.
 have a c:opy of it upon request. I agree that a cupy of it shall be as valid as rhc origi nal.

                                           f !J;,vc received the Nntit:i: of ln surant:c lnfnrmaiion Prnclices.
                                   0 I choose to he in1crvicwe<l if an invcstigativt consumer repon is prepared .


   Any pers,, n who. with intent to defraud or kriowin1~Y that he i:; fac ilitaffog a fraud against an insurer, s ubm il, an applicatio n or
                               files a claim containing a !false or deceptive s tatement is guilty of imurance fraud.

                                    All persons to he covered, age IS a nd over, must sign this application.
                                                                                                  . -,


 'signed at: X_
                                                                 9
                                                                   1
                  /~~~~~,:;, 5~~-~id C~;~~w113cLLf_[o(// ~~sn,.1t r.~.- o. 1~-~::-                0       ==----                          Mo/Dv/Yr
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                                                                  . J ~ rc IP~~~un to          Ile Cc~""
                                                                                                      ·c"";--""cd'----------- -c,,'-'-~•fo/Dy/Yr
                                                                       :x            ( t--'/-~----- - - - - - -- - - - - ~
                                                                       Signa lun: of Person to he Covered                                 t-fo/Dy/Yr
 To the best nf your knowledge .incl bel ie f. rs                      X             --~ti)_
 repbccm cnr invo lved in thi s ,ransac1ion·.> 0Yc~                    Signature C1t Person le ; he Col'crcd                              Mo/Dy/Yr




           1\gcnt narnc and numhcr




                                                                                                                                   DONNA ROBERTS v WARDEN
                                                                                                                                    CASE NO. 4:21-cv-00368-DAP
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 If this policy is in force:
 Proceeds are payable at the insured's death prior to the Expiry Date; and
 Premiums are payable during the lifetime of the insured until the Expiry Date.
 Premiums vary by policy year as shown in the Policy Specifications.
 Premiums can be changed in accordance with the Change of Premium Section and the Policy
 Specifications.
 TERM LIFE INSURANCE TO AGE 95 - CONVERTIBLE DURING THE FIRST TWENTY POLICY
 YEARS, OR TO AGE 70 IF EARLIER
 NON-PARTICIPATING -           NO ANNUAL DIVIDENDS
 This policy is a legal contract between you and us.

 READ YOUR POLICY CAREFULLY.



 Zurich Life Insurance Company of America
 A Stock Life Insurance Company
 Schaumburg, Illinois 60196-6801


 Policy No. Z-5002



                                                                        DONNA ROBERTS v WARDEN
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                                        ,p=·---
                                        1""" ....
         State Farm Insurance Companies                                                               I INSUR ANCE
                                                                                                      \          ®




                                                            CERTIFICATION


                                                                                                                     323
                  I, Cheryl Clapper, am the custodian of Records, for State Farm Life Insurance
         Company. l hereby certify, under the penalty of perjury that the following is true and
         correct:

                The attached records, consisting of 16 pages of the insurance policy issued to
         Robert S. Fingerhut which was in full force an effect on the date of his death:

                  (A)                 were made at or near the time of the occurrence of the matters set forth by,
                                      or from, information transmitted by a person with knowledge of those
                                      matters;

                  (B)                 were kept in the course of regularly conducted activity of State Farm Life
                                      Insurance Company.

                  (C)                 were made by the regularly conducted activity of State Farm Life
                                      Insurance Company as a regular business practice.

         Signed under the pains and penalties of pe1jury this 16 th day of October, 2002.




                /"/ t.:~;'-...---.,
               , The ·above named individual, personally known to me, appeared before me and
         executed this document as oLhis/her free will , this 16 th day of October, 2002.

        (/ ) } ,;/•,\: -~/11_,,         ~/4 fi~'.~J/'c ..
                                                        v '- j   ,,

         Signature                                {./. ., ,
         Notary Public
         Custodian of Records




                                                                                               DONNA ROBERTS v WARDEN
                                                                                                CASE NO. 4:21-cv-00368-DAP
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            STATE FAFU\11 LIFE §NSURANC;E COIVIPANY
                   HOME OFFICE: ONE STATE FARM PLAZA, BLOOMINGTON, ILLINOIS 61710-0001


                                                  INSURED        ROBERT B FI NGERHY,'f'->. ,
                                                                 (Male)          (' ,,_1f·,'t,'


                                                                                          ~~
                                                        AGE

                                         POLICY NUMBER           :;_1717-3705

       iNSURANCl:
                                             POLICY DATE         August 12, 1999             "'~"' -~
                                                                                                  ~       .
                   ®                BASIC PLAN AMOUNT            Re-Issued As Requested
                                                                                                      '



      This policy is based on the application and the payment of premiums for the term of
      insurance while the Insured lives. The Basic Plan provides insurance to the policy anniversary
      when the Insured is age 95. State Farm Life Insurance Company will pay the policy proceeds
      to the beneficiary when due proof of the Insured 's death is received.

      30-Day Right to Examine the Policy. This policy may be returned within 30 days of its
      receipt for a refund of all premiums paid. Return may be made to State Farm Life Insurance
      Company or one of its agents. If returned, this policy will be void from the policy date.

      Read this policy with care. This is a legal contract between the Owner and State Farm Life
      Insurance Company.




                       Secretary                                              President


                                      BASIC PLAN DESCRIPTION
        Term life insurance to age 95. Insurance is payable when the Insured dies. Premiums are
        payable for the term of insurance. Premiums are level for the first 10 policy years. Subject
        to provisions fo r adjusting and changing premiums, premiums are level for 10 years
        following the qualifying date on which the Insured qualifies for reentry; otherwise, the
        premiums increase each year. The basic plan is convertible to age 75. The basic plan is
        eligible for annual dividends.


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Schedule of Insurance                                                                                                                           4

Definitions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   5

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   Conversion.

General . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   9
   The Contract.                                                        Incontestability.
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The Application and any Riders and Endorsements follow page 10.




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                           P OL I CY      I D E NT I F I C AT I ON

                 Insured   ROBERT B FINGERHUT                            Age     53
                           (Male)
        Policy Number      LF-1717-3705                    Basic Plan Amount     Re-issued As
                                                                                 Requ ested
             Policy Date   August 12, 1999

              Issue Date   October 4, 1999




                            S CHE DUL E         0 F   BENEFITS
                                                      Benefit
                                      Initial         Period           Annual            Premiums
 Form   Description                   Amount           Ends            Premium           Payable
98026   Basic Plan+                  $300,000         In 2041       $1,368.00*           To 2003*
         (Select-IO)
                                                      *Subsequent premiums included below.
96204   Waiver of Premium                        In 2006                         To 2003*
         Effective Date: October 4, 1999
         Issue Date: October 4, 1999
                            *Increasing premiums included below for each policy year.
+ Qualifies for non-tobacco premium rate


                            S CH E DUL E        OF    P R E M I U MS
The Schedule of Premiums includes the Basic Plan Maximum Premiums. After the first 10 policy
years, the Basic Plan Scheduled Premiums may be adjusted based on the Adjustment of Basic
Plan Premiums provision. The Basic Plan Scheduled Premiums are level for 10 years following
each qualifying date on which the Insured qualifies for reentry. If the Insured qualifies
for reentry, the Basic Plan Sch eduled Premiums may be changed based on the Change in Basic
Plan Scheduled Premiums provision. If the insured does not qualify for re entry on a
qualifying date, Basic Plan Scheduled Premiums increase each year thereafter. The Basic Plan
Amount will not change if the premiums are adjusted or changed. The Basic Plan Scheduled
Premiums cannot exceed the Basic Plan Maximum Premiums. For the payment period to be 1
month, premiums must be paid under the rules esta blished by us for the monthly payment plans
made available.
Beginning                     For periods of:         12 Months             l Month
August 12, 2003                                       $1,761.00                $156.00
August 12, 2004                                        1,761.00                 156.00
August 12, 2005                                        1,761.00                 156.00
August 12, 2006                                        1,368.00                 120.00
                                     Continued on Next Page
Form 98026                                   Page 3                                        20021015
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                            S C H E DUL E       0 F    P R E M I U MS
                                      Continued from Page 3
Beginning                     For periods of:          12 Months         l Month
August 12, 2007                                         1,368 .00           120.00
August 12, 2008                                         1,368.00            120.00
August 12, 2009                                        13,725.00         1,209.00
August 12, 2010                                        15,255.00         1,344.00
August 12, 2011                                        16,929.00         1,491.00
August 12, 2012                                        18,750.00         1,650.00
August 12, 2013                                        20,709.00         1,824.00
August 12, 2014                                        22,830.00         2,010.00
August 12, 2015                                        25,200.00         2,217.00
August 12, 2016                                        27,885.00         2,454.00
August 12, 2017                                        30,960.00         2,724.00
August 12, 2018                                        34,530.00         3,039 .00
August 12, 2019                                        38,589.00         3,396 .00
August 12, 2020                                        43,065.00         3,789.00
August 12, 2021                                        47,889.00         4,215.00
August 12, 2022                                        53,010.00         4,665.00
August 12, 2023                                        58,395.00         5,139.00
August 12, 2024                                        64,089.00         5,640.00
August 12, 2025                                        70,275.00         6,186.00
August 12, 2026                                        77,160.00         6,792.00
August 12, 2027                                        84,954.00         7,476.00
August 12, 2028                                        93,825.00         8,256 .00
August 12, 2029                                       103,785.00         9,135.00
August 12, 2030                                       114,660.00        10,092.00
August 12, 2031                                       126,240.00        11,109.00
August 12, 2032                                       138,390.00        12,180.00
August 12, 2033                                       150,945.00        13,284 .00
August 12, 2034                                       163,860.00        14,421.00
August 12, 2035                                       177,345.00        15,606.00
August 12, 2036                                       191,619.00        16,863.00
August 12, 2037                                       207,039.00        18,219 .00
August 12, 2038                                       224,274.00        19,737.00
August 12, 2039                                       245,139.00        21,573.00
August 12, 2040                                       273,924.00        24,105.00




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                         S CHE DUL E   0 F       N S U R A NC E

- Insurance Amount   -
      On
    Insured                Aug 12,

   $300,000                 2002
    300,000                 2003
    300,000                 2004
    300,000                 2005
    300,000                 2006
    300,000                 2007
    300,000                 2008
    300,000                 2009
    300,000                 2010
    300, 000                2011
    300,000                 2012
    300,000                 2013
    300,000                 2014
    300,000                 2015
    300,000                 2016
    300, 000                2017
    300,000                 2018
    300 ,000                2019
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    300,000                 2037
    300,000                 2038
    300, 000                2039
    300,000                 2040
                            2041



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                                              PRINTED IN U.S,A.




                                              DEFINITIONS


 We, us, and our refer to State Farm Life Insur-              Officer. The president, a vice president, the
 ance Company.                                                secretary, or an assistant secretary of State Farm
                                                              Life Insurance Company.
 You and your refer to the Owner.
                                                              Payee. On the Insured's death, the benefi-
 Application. Includes any life insurance ap-                 ciaries shown in the application, unless changed.
 plication, medical history, questionnaire, and               A payee can be other than a natural person only if
 other documents from you or any other person                 we agree.
 proposed for insurance which are made a part of
 this policy.                                                 Policy Date.    The effective date of this policy.

 Basic Plan Amount. The amount of insurance                   Policy Month, Year, or Anniversary. A policy
 on the Insured provided by the Basic Plan.                   month, year, or anniversary is measured from the
                                                              policy date.
 Benefit Period Ends. The coverage for the
 benefit extends to, but does not include, the                Premiums Payable. Premiums are payable un-
 policy anniversary in the year shown on page 3               til the policy anniversary in the year shown on
 under this heading.                                          page 3 under this heading.

 Dividend Credits. Any dividend accumulations                 Proceeds. The sum of the insurance amounts
 or any current dividend under dividend options 1             payable under
 or 2.                                                           (1) the Basic Plan and
                                                                 (2) any rider on the Insured
 Dollars. Any money we pay, or which is paid to               plus any dividend credits, any dividend payable
 us, must be in United States dollars.                        at the Insured's death, and any premium paid for
                                                              part of the payment period beyond the Insured's
 Effective Date.   Coverage starts on this date.              death less any part of a premium due.

 Initial Amount. The amount of coverage on the                Request. A written request signed by the per-
 effective date of each benefit.                              son making the request. Such request must be
                                                              sent to and be in a form acceptable to us.
 Insurance Amount The amount of insurance
 shown on page 3 on the effective date of each                Rider. Any benefit, other than the Basic Plan,
 benefit.                                                     made a part of this policy.


                                       OWNERSHIP PROVISIONS


 Owner. The Owner is as named in the applica-                 the Insured is alive. We have the right to request
 tion, unless changed. You may exercise any policy            this policy to make the change on it. The change
 provision only by request and while the Insured is           will take effect the date you sign the request, but
 alive.                                                       the change will not affect any action we have
                                                              taken before we receive the request. A change of
 Change of Owner. You may change the owner-                   owner does not change the beneficiary designa-
 ship of this policy by sending us a request while            tion.




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                               PAYMENT OF BENEFITS PROVISIONS


Beneficiary Designation. This is as shown in                  sured is alive.
the application, unless you have made a change.
It includes the name of the beneficiary and the               Methods of Payment. We will pay the pro-
order and method of payment. If you name
                                                              ceeds under the Interest method unless you
"estate" as a beneficiary, it means the executors
                                                              choose another method. If the payee is other than
or administrators of the last survivor of you and
                                                              a natural person, we will make payment under
all beneficiaries. If you name "children" of a
                                                              the One Sum method.
person as a beneficiary, only children born to or
legally adopted by that person will be included.
                                                              All payment intervals are measured from the
We may rely on an affidavit as to the ages, names,            date the Insured dies. No part of any payment
and other facts about all beneficiaries. We will              can be assigned before the payment is made.
incur no liability if we act on such affidavit.
                                                              After the Insured's death, anyone who has the
Change of Beneficiary Designation. You may                    right to make a withdrawal may change the
make a change while the Insured is alive by                   method of payment and may name a successor to
sending us a request. The change will take effect             their interest. The successor payee may be their
the date the request is signed, but the change will           estate.
not affect any action we have taken before we
receive the request. We have the right to request
your policy to make the change on it.                             Method 1 (Interest Method). We will pay
                                                              interest at the end of each monthly interval. The
Order of Payment on the Insured's Death.                      interest rate will be at least 3½% a year. If
When the Insured dies, we will make payment in                chosen, we will pay interest at the end of 3, 6. or
equal shares to the primary beneficiaries living              12 month intervals. Withdrawals may be made at
when payment is made. If a primary dies after                 any time, but any withdrawal must be at least
the first payment is made, we will pay that                   $500. We will pay interest to the date of with-
primary's unpaid share in equal shares to the                 drawal on the amount withdrawn.
other primaries living when payment is made. If
the last primary dies, we will make payment in                    Method 2 (Fixed Years Method). We will
equal shares to the successor beneficiaries living            make equal payments at the end of each monthly
when payment is made. If a successor dies while               interval for a fixed number of years. These
receiving payments, we will pay that successor's              payments include interest. The guaranteed inter-
unpaid share in equal shares to the other succes-             est rate is 3½% a year. The present value of any
sors living when payment is made. If, at any time,            unpaid payments may be withdrawn at any time.
no primary or successor is alive, we will make a
one sum payment in equal shares to the final                  FIXED YEARS TABLE
beneficiaries. If, at any time, no beneficiary is             Monthly payments that $1000 will provide for the
living, we will make a one sum payment to you, if             number of years chosen. Payments for years not
living when payment is made. Otherwise, we will               shown will be given, if requested.
make a one sum payment to the estate of the last                 Years     Payments          Years    Payments
survivor of you and all beneficiaries. "When                       1            $84.90         8        $11.93
payment is made" means (1) the date that a                         2             43.18         9         10.78
periodic payment is due or (2) the date that a                     3             29.28        10          9.86
                                                                   4             22.33        15          7.12
request is signed for a cash withdrawal or a one                   5             18.1 7       20          5.77
sum payment. You may change this order of                          6             15.39        25          4.98
payment by sending us a request while the In-                      7             13.41        30          4.46




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                        PAYMENT OF BENEFITS PROVISIONS (CONTINUED)


     Method 3 (Life Income Method). We will                     withdraw the present value of any payments.
 make equal payments at the end of each monthly
 interval as long as the payee is alive. We base the            JOINT LIFE INCOME TABLE
 amount of each payment on the payee's age and                  Monthly payments that $1000 will provide as long
 sex at the start of the first monthly interval. We             as at least one of the two payees is alive. Pay-
 may require proof of the payee's age and sex. The              ments for age combinations not shown will be
 payee may not withdraw the present value of the                given, if requested.
 payments. If the payee dies during a certain                    Age Last                         Female
 period, we will continue the payments to the end                Birthday       60        65           70      75
 of the certain period; or the successor payee may                 Male
                                                                    60        $4.27      $4.47        $4.66   $-1.82
 have the present value of any remaining pay-                       65         4.39       ,1.66        4.93    5.19
 ments paid in one sum.                                             70         4.49       4.82         5.20    5.58
                                                                    75         4.56       4.95         5.42    5.95
 LIFE INCOME TABLE
 Monthly payments for life that $1000 will pro-
 vide. Payments for ages not shown will be given,                   Method 6 (One Sum Method). We will pay
 if requested.                                                  the proceeds in one sum. Interest at the rate of at
                                        Life with               least 3½% a year will be paid from the date of the
  Age Last            Life          10 Years Certain            Insured's death to the date of payment.
  Birthday      Male     Female      Male    Female
     50         $4.34      $4.02     $4.30    $4.01
     55          4.70       4.31      4.64     4.28                Method 7 (Other Method). Payment by
     60          5.17       4.69      5.07     4.6,.t           any other method may be made if we agree.
     65          5.82       5.20      5.63     5.11
     70          6.73       5.90      6.34     5.73
     75          8.01       6.92      7.17     6.52
                                                                Minimum Payment. If any payment, except
                                                                the last, under a method of payment would be less
     Method 4 (Fixed Amount Method). We                         than $100 per payee, we will pay the present
 will make equal payments at the end of 1, 3, 6, or             value of any unpaid payments in one sum.
 12 month intervals. We will continue payments
 until the amount put under this method together
 with compound interest has been paid. The inter-               Basis of Computation for Payments. The
 est rate will be at least 3½% a year. The payment              monthly payments shown for methods 3 and 5 are
 interval chosen must provide a total annual pay-               guaranteed payments based on an interest rate of
 ment of at least $100 for each $1000 put under                 3½% a year and the 1983a Individual Annuity
 this method. The unpaid balance may be with-                   Mortality Table with ages set back 4 years.
 drawn at any time.
                                                                Any present values will be based on the interest
    Method 5 (Joint Life Income Method).                        rate used in determining the payments for the
 We will make equal payments at the end of each                 method.
 monthly interval as long as at least one of the two
 payees is alive. We will base each payment on the
 age and sex of both payees at the start of the first           Additional Amounts Payable. Each year we
 monthly interval. We may require proof of the                  may apportion and pay dividends or additional
 age and sex of each payee. The payees may not                  interest under any method of payment.




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                                         PREMIUM PROVISIONS


Payment of Premiums. You may pay premi-                    must be received at least 60 days before the
ums at our Home Office, a regional office, or to           qualifying date but not more than 120 days before
one of our agents. We will give you a receipt              such date. The first qualifying date is the 10th
signed by one of our officers, if you request one.         policy anniversary. Any qualifying date after the
                                                           first must be 10 years after the previous qualify-
The first premium is due on the policy date. All           ing date. No qualifying date can be after the
other premiums are payable on or before their              policy anniversary when the Insured is age 75.
due dates. A due date is the first day of each
payment period. Such period may be 1 or 12                     To qualify for reentry, the Insured must be
months, starting on the same day of the month as               insurable in the same class of risk as on the policy
the policy date. If a due date does not appear in a            date. If the Insured qualifies for reentry effective
calendar month's days, the due date will be the                on the qualifying date, the Basic Plan Scheduled
last day of that same month. You may change the                Premium will be less than if the Insured had not
period on any due date by paying the premium
                                                               qualified and will be level for the following 10
for the new period, but you cannot change the                  years, subject to the Adjustment of Basic Plan
period if premiums are being waived.                           Premiums provision. The changed Basic Plan
                                                               Scheduled Premiums are based on policy years
Basic Plan Maximum Premiums. The Basic                         starting on the qualifying date. A copy of the
Plan Maximum Premiums are included in the                      application will be sent to you to be placed with
Schedule of Premiums on page 3.                                the policy. The change will be effective on the
                                                               qualifying date.
Basic Plan Scheduled Premiums. The Basic
Plan Scheduled Premiums are level for the first
10 policy years as shown on page 3. After the first            If, on any qualifying date, you fail to apply for
10 policy years, the Basic Plan Scheduled Pre-                 reentry or you apply but the Insured fails to
mium is subject to the Adjustment of Basic Plan                qualify for reentry, no future application for
Premiums provision. Before each policy anniver-                reentry can be made. Subject to the Adjustment
sary, we will send you a notice showing the Basic              of Basic Plan Premiums provision, premiums will
Plan Scheduled Premiums for that policy year.                  increase each year starting on the 10th policy
                                                               anniversary following the qualifying date on
Adjustment of Basic Plan Premiums. The                         which the Insured last qualified for reentry.
Basic Plan Scheduled Premiums can be adjusted
based on projected changes in investment earn-                 Grace Period. Except for the first premium, 31
ings, mortality, persistency, and expenses. The                days are allowed for the payment of a premium
Basic Plan Scheduled Premiums will be the same                 after its due date. During this time, the policy
for all policies of the same age, sex, duration, and           benefits continue.
class of risk. The Basic Plan Scheduled Premiums
cannot exceed the Basic Plan Maximum Premi-
ums.                                                           Nonpayment of Premium. If any premium has
                                                               not been paid by the end of its grace period, the
Change in Basic Plan Scheduled Premiums.                       Accumulations to Avoid Lapse provision will ap-
You may apply for reentry by completing a life                 ply. If that provision does not apply, this policy
insurance application and furnishing evidence of               will lapse as of the due date of any unpaid
insurability satisfactory to us. The application               premium. With such lapse, coverage ceases.




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                                PREMIUM PROVISIONS (CONTINUED)


Accumulations to Avoid Lapse. If any pre-                      Reinstatement. You may apply to reinstate this
mium has not been paid by the end of its grace                 policy within 5 years after lapse. You must give us
period, any dividend accumulations will be used                proof of the Insured 's insurability that is satisfac-
to pay all or part of that premium. The unpaid                 tory to us. You must pay all unpaid premiums
balance of that premium will be due the day after              with compound interest from their due dates. The
the end of the partial payment period. A new                   interest rate is 6% a year. Reinstatement will take
grace period will be allowed for the payment of                effect on the date we approve the Insured 's
this unpaid balance.                                           insurability.

We will send you a notice if accumulations are                 Premium Adjustment When the Insured Dies.
used to pay part of any premium. Te1l us within                If the Insured dies during a grace period, any
90 days after the premium due date if you do not               part of a premium due will be paid from the
want the accumulations used to pay premiums.                   proceeds. Any premium paid for the payment
Accumulations will then be paid in cash, and the               period beyond the Insured's death will be part of
policy will lapse.                                             the proceeds.


                                       CONVERSION PROVISIONS


Conversion. You may request to convert this                      (1)   It must be a whole life plan then available.
policy to a new policy on the Insured without                          At least one plan will be made available.
evidence of insurability subject to the following:               (2)   The amount of insurance can be no more
  (1) This policy must be in force.                                    than the amount then provided by the
  (2) The conversion must occur on or before                           Basic Plan.
        the policy anniversary when the Insured is               (3)   The premium will be based on the In-
        age 75.                                                        sured's attained age, sex, and class of risk.
  (3) The request must include this policy and                         The class of risk will be the same as for
        the first premium for the new policy.                          this policy with the following exception: if
                                                                       the class of risk for this policy is pref erred,
The new policy becomes effective when we re-                           only the standard non-tobacco class of risk
ceive that request. Any premium paid for this                          will be available.
policy for a period past that effective date will be             (4)   All limitations of this policy will be part of
refunded. Coverage under this policy will termi-                       the new policy.
nate when the conversion occurs.                                 (5)   The Incontestability and Limited Death
                                                                       Benefit provisions of the new policy will
The new policy will be subject to the following                        not extend beyond the period set by this
conditions at the time of conversion:                                  policy.


                                         GENERAL PROVISIONS


The Contract. The policy contains the Basic                    used to rescind this policy or deny a claim.
Plan, any amendments, endorsements, and riders,
and a copy of the application. The policy is the               Only an officer has the right to change this policy.
entire contract. We have relied on the statements              No agent has the authority to change the policy or
in the application in issuing this policy. We                  to waive any of its terms. All endorsements,
reserve the right to investigate the truth and                 amendments, or riders must be signed by an
completeness of those statements. In the absence               officer to be valid.
of fraud, they are representations and not war-
ranties. Only statements in the application will be


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                                GENERAL PROVISIONS (CONTINUED)


Dividend. We do not expect to pay dividends on                will adjust each benefit on the Insured to that
this policy; however, we may apportion and pay                which the premium paid would have bought at
dividends each year. Any such dividends will be               the correct age and sex. Such adjustment will be
paid only at the end of the policy year. There is no          based on the premium rates in effect on the issue
right to a partial or pro rated dividend prior to             date of the benefit.
the end of the policy year. Such dividends will not
be paid if all premiums due have not been paid.
We will pay you any dividend credits available                Incontestability. Except for nonpayment of
when the policy terminates.                                   premiums, we will not contest the Basic Plan
                                                              after it has been in force during the Insured's
You may choose to have your dividend used under               !ifetime for 2 years from the issue date of the
one of these options:                                         policy. We will not contest a change in Basic Plan
   (1) Premium Payment - We will apply it to-                 Premiums after the change has been in effect
        ward payment of a premium then due.                   during the lifetime of the Insured for 2 years
   (2) Dividend Accumulation - We will hold it at             from the qualifying date of such change. If con-
        interest. We will credit interest at a rate           tested, the Basic Plan Amount payable will be
        not less than 3½% a year. Such interest               reduced by an amount equal to the difference
        will be paid only at the end of the policy            between (1) the premiums which would have been
        year. You may withdraw accumulations at               paid had the Insured not qualified for such
        any time. If withdrawn prior to the end of            change and (2) the actual premiums paid. Each
        the policy year, there is no right to a               rider has its own incontestability provision.
        partial or pro rated credit of such interest.
        Accumulations plus interest to the In-                Limited Death Benefit. If the Insured dies by
        sured's death will be part of the proceeds.           suicide while sane or by self-destruction while
   (3) Cash - We will pay it to you in cash.                  insane within 2 years from the issue date of the
If you do not choose an option or the option you              policy, the Basic Plan Amount will not be paid.
choose is not available, we will use option 2. You            The proceeds in this case will be limited to the
may request to change the option. The change                  premiums paid on the Basic Plan less any divi-
will apply only to dividends paid after we receive            dends paid on the Basic Plan. Each rider has its
the request.                                                  own limited death benefit provision.
We may pay a dividend when the Insured dies.
Such dividend will be a partial or pro rated                  Termination. This policy will terminate on the
amount based on the period from the start of a                policy anniversary when the Insured is age 95.
policy year to the Insured's death.                           We will terminate this policy before that date
                                                              when the policy is converted or the premium is
Assignment. You may assign this policy or any                 not paid by the end of its grace period. You may
interest in it. We will recognize an assignment               request to terminate this policy. You must send us
only if it is in writing and filed with us. We are            the request and the policy. This policy will termi-
not responsible for the validity or effect of any             nate on the later of the date we receive your
assignment. An assignment may limit the interest              request and the policy or the termination date
of any beneficiary.                                           you choose. Any premium paid for the payment
                                                              period beyond the date the policy terminates will
Error in Age or Sex. If the Insured's date of                 be paid to you along with any dividend accumula-
birth or sex is not as stated in the application, we          tions.




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                                WAIVER OF PREMIUM BENEFIT RIDER


 General. This rider is part of your policy. It is            (3)   results from any act due to war whether or
 based on the application for this rider and the                    not the Insured is in the military service.
 payment of premiums. The premiums for this                         "War" means declared or undeclared war
 rider are shown on page 3. These premiums are                      or conflict involving the armed forces of
 not subject to adjustment or change. Only certain                  one or more countries, governments, or
 policy provisions are a part of this rider. They are               international organizations.
 "Definitions," "Ownership," "Premium," "The
 Contract," "Assignment," and "Error in Age or              Notice and Proof of Total Disability. We
 Sex."                             ·                        must receive notice of a claim and due proof of
                                                            total disability while the Insured is alive and
 Waiver of Premium Benefit. .We will waive                  totally disabled. If this is not done, you should
 each premium due under this policy if the Insured          submit such notice and proof as soon as reason-
 becomes totally disabled and such total disability         ably possible. We may also require you to submit
 has existed for 6 continuous months during the             proof of the Insured's continuing total disability
 lifetime of the Insured. We will waive each                at reasonable intervals. If you do not submit
 premium due under this policy as long as the total         proof when we require it, no further premiums
 disability continues. We will only waive premiums          will be waived. We will not require proof more
 due on and after total disability starts. No pre-          than once a year after the total disability has
 mium will be waived which was due more than                lasted more than 2 years.
 one year prior to the date we rec12ive notice of
 claim. The benefit applies to the entire premium
                                                            Premium Payments. If the Insured's total
 for this policy. While premiums are waived, all
                                                            disability starts during a grace period, the unpaid
 benefits continue as though you had paid the
 premiums.                                                  premium must be paid before a claim will be
                                                            approved. We may charge interest on that pre-
 Total Disability Defined. Total disability is a
                                                            mium from the end of the grace period to the date
 condition caused by injury or disease. During the          paid at 6% a year. You must pay all premiums
 first 24 months after total disability starts, this        that come due until we approve the claim. We
 condition must prevent the Insured from per-               will refund any premium that you paid after total
 forming substantially all of the work of the               disability starts which is later waived. If the
                                                            Insured dies before such refund is made, we will
 Insured's regular occupation. After the first 24
 months, the condition must prevent the Insured             include that amount in the proceeds.
 from performing substantially all of the work in
 any occupation for which the Insured is, or be-            Conversion. When the Basic Plan is converted
 comes, reasonably qualified based upon educa-              and this rider is in force, a waiver of premium
 tion, training, or experience. The Insured's total         benefit will be included in the new policy unless
 and irrecoverable loss, caused by injury or dis-           the Insured is then age 60 or over or is totally
 ease, of any of the following will be considered           disabled as defined in this rider.
 total disability even if the Insured is able to work:
    (1) sight in both eyes.                                 The benefit on the new policy will be subject to
    (2) use of both hands.                                  the following conditions at the time of conversion:
    (3) use of both feet.                                     (1) The premium will be based on the In-
    (4) use of one hand and one foot.                               sured 's attained age, sex, and class of risk.
                                                                    The class of risk will be the same as for
 Disabilities Not Covered. We will not waive                        this rider.
 premiums if total disability:                                (2) All limitations of this rider will be part of
   (1) starts before the issue date of this rider                   the new policy.
        unless such disability was disclosed in the           (3) The Incontestability provision in the new
        application,                                                benefit will not extend beyond the period
   (2) results from an intended self-injury, or                     set by this rider.




 FORM 96204                                                                                                960218


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                    ,vAIVER OF PREMIUM BENEFIT RIDER (CONTINUED)


Automatic Conversion. If the premiums for            disability which starts before termination.
the policy are being waived on the policy anniver-
sary when the Insured is age 75, this Basic Plan     Incontestability. Except for nonpayment of
will be converted to a Whole Life Basic Plan. The    premiums, we will not contest this rider after it
premiums will be waived while the Insured's total    has been in force during the lifetime of the
disability continues.                                Insured for 2 years from its issue date unless the
                                                     Insured becomes totally disabled within that pe-
Termination. This rider will terminate on the        riod.
policy anniversary when the Insured is age 60.
We will terminate this rider before that date
when:                                                Issue Date of This Rider. This is the date
  (1) the Basic Plan or rider is not renewed or      coverage starts. It is the same as the issue date of
  (2) the policy is terminated by surrender,         the policy unless a different date for this rider is
        lapse, or conversion.                        shown on page 3.

You may request to terminate this rider. You         State Farm Life Insurance Company
must send us the request and the policy. This
rider will terminate the later of the date we
receive your request and the policy or the ter-
mination date you choose. We will revise page 3 of
the policy to show this change. Any premium paid     President
for the payment period beyond the date this rider
terminates wi11 be paid to you.

Termination will not affect any claim for total      Secretary




FORM 96204                                                                                         960218



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-                                                               STATE F~RM LIFE INSURANCE COMPANY, Bloomir,gton,_fllinois


        It the application is for a change in a State Fann policy, give the policy number:


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    c Successor Owner (Required unless Applicant/Owner is a TRUST or CORPORATION)

                                                                                                                                           Give am,ount.oUnsurancel in forqe_<:>E.rL-=,.10~ 1
                                                                                                                                           Father _$              Mother1$


6a Basic Arrount and Plan applied for:                                                                          9a Initial Basic Amount:                  :$
                                                                                                                 b Death Benefit:           D        Option 1-        □ option 2-Basic Amount
    b Riders/Benefits applied for:                              WaNer of            · v1cs No
                                                                Premium Disability? ,      D
                                                                                                                   ~';.';;;%'!~:"'N"" Basic Amount                         plus Account Value
        (Chech Ratebook /or av:uJal>ihry of ridors.)                                                                If option not chosen, policy provisions determine option.
                                                                5 YR
            AD              """'
                            ....,..,,                           AT         I       """"'
                                                                                   _,.,                          c Riders/Benefits applied for:                Waiver of Monthly         ves No
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                                                                10 YA
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                                                                                                                                                                                        12-COMPLETE QUESTION$
            PAYOR l                                             ~\R A$l            '""""'                          r CTR 1 :I               IH'l'S   r TERM :       ,u.()ur,
                                                                                                                                                                                             FOR PA.OPOSfD INSURED :?
                       ms    :L',1.     1-liC\.J,il
                                                                        2!         U0.'1
                                                                                                                 d Dividend Option: □ Addition to Account Value Ocash Payment
            MTG                                                 Al
                                                                iO YA AT
            1-Completo 12 & 13            2-Complete ror Proposed Insured 2
                                                                                                                   If option not chosen, policy provisions determine option.
 7 Dividend Option - If.- the option chosen is not available or no
   option is chosen, policy provisions determine the option.                                                     e Planned Premium:                                                      OTKER            I
   D Paid-Up Additio~s O Accumulate O Reduce Premium                                                               Mode of Payment D ANNUAL D sFPP D:_:s::P::.'.Ec:'.:. :;MO~·:.:====;
   0 Cash Payment            D Filth Dividend Option                                                               Amount to be billed each payment date                            $
18 Do you want the Automatic Premium Loan provision to       ~                                       D           f Increase in Basic Amount:                         l
   apply, if available?                                      l,L:l                                                 (DO NOT COMP!.ETE FOR NEW POLICY)                 ;$


         Completion of this section will replace all previous rider and policy                                  (Complete for Additional lnsurecrs rider only tt Beneficiary provision in the rider is
         designations for this policy. If a Change of Plan, this will replace                                   NOT desired.)        a
                                                                                                                               If Change of Plan, this will replace previous designations.
         previous designations.                                                                                 If this section is completed, the Payment of Benefit Provisions of thJ
              PAIMAAY BENEF1C!MlY • FULL NAME                                                                   policy will      control
                                                                                                                                    rather than the Beneficiary provision of such rider.
                                                                                                                ·Additional Insured' would be used 1n place of 'Insured•
              j)oAJ-; Jft ·F;,Jr;;e/f:!IJr~l
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                                             ~ 1:r;.                                                                    ~!MARY OENEFlCIAAY - FULL N_AME
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                  Interest Option or             D One Sum or                  D Other-Ex.plain'
            ' SUCCESSOR BENEFICIARY • fUL L NAME l                                 . ~ AEL.ATIONSHtP
                                                                                                                   0 Interest Option or               D One Sum or              0 Other-Explain'
                                                                                                                         SUCCESSOR BENEFICIARY • FULL NA.ME                                     AGE         RELATIONSHIP



             D Interest O tion or                D One Sum or                  D Other-£~ lain'
        [     FINAL BsNEF. }CIAAY • f UU NM.IE                                     , ~ RELATIO~SHIP ]
                                                                                                                                                      D One Sum or              O Oth~r-Ex~in"
                                                                                                                                                                                                AGE        AELA T!ONSHIP


             One Sum Setllernent Only                                                                              One Sum Settlement Ont
            • lf additional space ls needed. use the explanation soction Ol'l page 2.                           · :<'n ~~-?:aj_-~  -is;~   •~Se.t~ ·expa~~~ ~iC?!!·Oi: page _2. .
         If a beneficiary survives the Insured, any payment to successor will                                      If a beneficiary survives the Additiooal Insured, any payment to
         be ooe sum, unless changed.                                                                               successor win be one sum, unless changed,



12 List children under age 18: (only if CTR applied for) "'Noo., "',ra,oi                                      13 Has juvenile or have any children named in question 12:
    -        LASTNAA-E.RRSTf'WvE.M                    RELATK)NSHP TO             B RTHOATE    M'OJ,/Tt-t::M/      {lfyes,e~pl:ain)
        oe LAST,._...,.,m,.,,NfEXl'\.IJl.l       PAOPCS(O•=' M>                     °'' YR. ""5UlEOraa a had a birth defect, mental disorder, or impairment of sight, YES NO
                                                                                                     • • · , 'tjearilig, or sp~h?, ~-                                 D □
                                                                                                           b had asthma, seizure, diabetes, or kidney disease?        D □
                                                                                                           c had hearfmurmur, anemia, leukemia, or cancer?            D □
                                                                                                               d :in,the:!a~ti§~y~ai~::Jor any:i~as~ ri~t•previou~y .ex,;plf ined,.
                                                                                                               ~)i~en a':patient(iri:a(hospital/ dinic'. o( emeigency ,foprri? . .. .• D
                                                                                                                                                                                                                          □
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                                                                                                                                                               foq\cquired:
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:31-3433 OH.2                                                                                                                                                                                4-98        Printed in U.S.A.


                                                                                                                                                                                                                   DONNA ROBERTS v WARDEN
                                                                                                                                                                                                                    CASE NO. 4:21-cv-00368-DAP
                                                                                                                                                                                                                       APPENDIX – PAGE 5546
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                                                                                                                                                                                                                         1ST COPY
                                                                                              APPLICATION FOR LIFE INSURANCE                                                                                               PAGE 2
                                                                                                     Propo"':? '"~-- 18 Have you, in the last'10 years, had or been treated
 14a Do you have personal and business life insurance                                                vE
                                                                                                          1      ;:./'..o'- for:
                                                                                                              0 '.                            (lfy,,.. O'de;rd-
     of more than $200,000? //f.,...gw=.,.,,""""'                                                    □~DO _ •a high blood pressure, stroke, heart murmur, chest
   b Do you have any accidental death insurance                                                               ." < ::··: P?in, heart attack, tumor, cancer, or lymph gland
     excluding groui;,? 111 yes. and AD applied'°"·
      ivs amount! - - - ~ 1
                                                                                                     □~0 .                disorder?
                                                                                                          : , c;;.: ~ b mental, nervous, or convulsive disorder; or
                                                                                                                                                                                                                    □-~ · ­
          9
        c Will this policy replace or change insurance or
          annuities you now have?,,.,..__
                                                                                                          l:,i•·~
                                                                                                          ;'- ·;~ J:;.
                                                                                                                          e 1·1 p ?
                                                                                                                           ? ~ sy -_.                        •
                                                                                                     □~[QQI c pn~umoi:ua, emphysema, ~thma; ulcer,_ cohlls, liver
                                                                                                                                                                       .. _                                          □~ ~­
        d Are you now applying for life or health insurance                                           'lvri_-: , · ' or IntesUnal disorder; anemia or blood disorder?
                                                                                                                    0
                                                                                                                                                                                                                     D
          with any other company? rt>"' sm1ea,rp,,;,,,.n1,m;,,nJ                                     D~J-
                                                                                                       · .if
                                                                                                                        d diabetes, arthritis, sexually transmitted disease, or
        e Do you plan to leave or travel from the United                                                                  kidney disease?                                                                            □
          States or Canada in the next 6 months? {II J<>S.--.                                        D '               •e AC{luired Immune Deficiency Syndrome (AIDS)?                                               D
    Applications (Ages 16 & Up):
                                                                                                                                     f chronic diarrhea, unexplained weight loss, recurrent
     • If NO Medical Exam required
          complete 15 - 20                   ·                                                                                         fever, fatlgue,'or night sweats?                                              D
     . If Medical Exam required                                                                                                     19 Have you, in tile last 5 years: {IIJ<>S. . -


r'
   -- '.c complete 15, 16, 18a, & 18e. -                                                                             -.:    _        a used-cocaine, marijuana, hallucinogenic drugs, or
    5 Have you used tobacco in any form in the last                                                       ~i,\Z::v._i_,:. narcotics not prescribed by a physician?
   ~~12=-cc.rrc=nt=hs~?_ _ _ _ _ _ _. _ _ _ _ -0
1--c-                                                                 r-;QQ~ b been treated or counseled, or advised to seek
  16 Have you, in the last 3 years: /It>"', .,,-1                · ;.:·..~·/; treatment or counsel, for alcohol or drug use?
                                               st
    a flown as a pilot, crew member, or a udent pilot                          ._•~:_--_l(~: 20 Have you, in the last 5 years, for 'any reason not
                                                                      i,- _,__-_
       in aircraft such as an airplane, helicopter, glider,                , -
       or ultralight? Or, is any such activity planned in             ,' · -'                   previously explained: {If,.,,.~
       the next 6 months?            -                      [Jr'5( i G] □ ; a had treatrn_ent or a test in any medical facility such
     b engaged in avocations such as mountain or rock · .,....'\ · ' ~ as a lab, ci111Ic, emergency room, or hospital?
       climbing,- auto, motorcycle, or- powerboat racing,             :·,,                    b had treatment or advice from any physician or
       scuba or sky diving; hang gliding, or ballooning?              l ·•' psychologist?
       Or, is any such activity planned in the next 6                 i'                      c taken prescribed medication? """ .., • ...-i
       months?                                              0 ~ r□ □:_ d had surgery or been told surgery was necessary?
     c had your driver's license suspended or revoked,
       had any moving violations, had 2- or more                       .                       AGENT • If yes, it may be advisable not to collect
       accidents, or been charg-ed with driving under the    . ~:                        _ , money or give a Bindin!J Receipt _ Cons_ult Agents
,      influence of alcohol or drugs?                                                                 P
                                                                       ID P . Servic_e for specific instructions.
I17 Have you ever: (lf,<>.<,e,,x.,n) ,,        _ ?
     a applied for or received disability benefits· .
                                                               ·;,,;; ·r·             . ,·F                                         ------------,------------1
                                                            0~ D D · Explanations: If space below Is insulficienr. use additional sheets, which wHt be
     b had an impairment or loss of sight or heanng, or an       ."-. l                      part of this application. Sheets must be signed & dated by Proposed lnsured(sJ,
       im airmen! of neck; back, or limb? . ·. .            0           10 -0                and/or Applicant, and witnessed by Agent.
                       <:·;., . . '.                                                       NATl.RE NO SEVmlTY OF. O'.)t,DTION            ·,                          OATES                 ~- \      NAA.f:'.SA~•c,:·'       •
                        .    : . NME.o=~~                   '                ..     mE.-Ol£r-.ci o:- ATT_ACKS . ~Thelf -~ £? . ...                          -~ON&T        Rf:COVERY             ~~ATT0-l'.)A.N7SAUJf--C6PITALS ,




                                                                                                                                                                                      ' _., .




         ...   -· -· .. ·-· · ........... ..... . •· ... .......... ·- ..........                                     ...-· ... .
                                                                        . . •··' .... .... ....... -··· ... ····. -.....                 .. ..... :.:::.'............. : .. .




       Coverage will be effective as of the policy date if the following conditions are met: the first premium is ·paid when the policy is delivered; Ill~
   Proposed Insureds are living on the delivery date; and, on that deliv~ry date, the information given to State Farm Life is true and complete without
   material changes.                                                              _                                                       .                                                                                         I
       For changes in Basic Amount for a Universal Life Policy, the change will be effective on the deduction date on or next following acceptance of
   the change by State Farm Life if on such deduction date the following conditions are met: there is enough cash surrender value to make the
   required deduction; the Proposed Insureds are all living; and the information given to State Farm Life is true and complete without material
   changes.                       ·
       However, if a binding receipt has been given and is in effect, its terms apply.                                       ·
                                                                                                                                                                                                                                    I
       All Proposed Insureds and the Applicant state that the information in this application and any medical history is true and complete. It is agreed
    that State Farm Life can investigate the truth and completeness of such information while the policy is contestable. .
       By accepting the policy, the Owner agrees to the beneficiaries named, method of payment, and corrections made. No change in plan, amount1
                                                                                                                                                                                                                                    I
    benefits, or age at•issue may be made on the application unless the Owner agrees in writing. -Only an authorized cof[lpany officer may change the
   ~!icy.provisions. Neither the agent nor-a medical examin~r_Ta~ pass o~ insur~bili,ty.__ " __                 .,     · ·      · ··            _, .                                                                                I
        Any person who, with intent to' defraud or knowing that he·[s facilitating a·traud ·against an insurer, submits an application or files aclaim
   containing a false or decept_iv~ .?t~tement is guilty of insurance fraud.                                                       •        ·
         Social Security or Tax Identification Number(TIN) Certificatioo - By:signing this application, I certify under penalties of perjury that (1) the TIN
    3hown above is correct, and (2) that I am not subject to backup withholding either. because I have not been notified that I am subject to backup
    ,,vithholding as-a/esult of a failure to report all interest or dividends: or the Internal Revenue Service has notified me that I am rio longer subject to
    ::iackup withholding. (If you aresubjecuo·backup withholding, cross out item 2.) ·• T~flptemal Revenue Service does not require your consent t
    3ny provision of this document other than the certifications required to avoid backup withholding. /See ;,,.,ruc,;,,,s on reverse side)
    .Any policy issued on this application will be owned by Proposed Insured 1 or the Applicarfit other




                                                                                                                                                                                                                           DONNA ROBERTS v WARDEN
                                                                                                                                                                                                                            CASE NO. 4:21-cv-00368-DAP
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                                                     •                 Substitute Form W-9

                                                    Explanation of all'd Instructions for
                                                                                                                      •
                                                       Payer's flequest for Taxpayer
                                               Identification Number (TIN) and Certification

  • •   I
  Definitions                                             interest and dividends on yciur tax                               Civil Penalty.for False Information
                                                          return (for interest and dividend                                 With Respect to Withholding. - If you
  "We" and "us· refer to State Farm Life
                                                          accounts only), or                                                make a false statement with no
  Insurance Company. We are a payer
                                                            (4) You fail to certify to us that yoo                          reasonable basis which results in no
  of interest
                                                          are not subject to backup withholding                             imposition of backup withholding, you
  "You· and ·your" refer to the owner of                                                                                  · are subject to a penalty of $500.
                                                          under (3) above (for interest and
  the policy.                                             dvidend accounts opened after 1983                               Criminal Penalty for Falsifying
  "Dividends" does not include life                       only), or                                                        Information. - Willfully falsifying
  insurance policy dividends paid under                                                                                    certifications or affirmations may
                                                              (5) You fail to certify your TIN.
  the provisions of a life insurance                                                                                       subject you to criminal penalties
  policy.                                                                                                                  including fines and/or imprisonment.
  "Interest" paid on life insurance policy                 Payees and Payments Exempt
  dividends left to accumulate at                          from Backup Withholding.
                                                                                                                           Specific Instructions
  interest is, in general, taxable interest.
                                                          The following lists payees that are                               Name. - Be sure your correct name is
  Purpose of Request                                      exempt from backup withholding and .                              shown. If yoo are an individual and
                                                          information reporting. If you are .                               yO<J: name has dlanged, for example,
  To give your taxpayer identification                    exempt, indicate in the explanations                              because of marriage, contact the ·
  ~ (TIN) and certificatioo to us as                      section on the reverse side. For                                · Social Security Administration to
  a payer of interest so that you will                    interest and dividends, aH listed                                 report yet§ new name.
  not be subject to backup withhok:ling                   payees are exempt.
  that became effective January 1,                                                                                         If yoo are a sole proprietor, you ITlJSt
  1984 ..                                                     (l) A corporation.                                           furnish yoor individual name and
                                                             (2) An organization exempt from tax                           either your social security number or
   Completion of this form furnishes and                   under section 501(a), or an individual                          employer identification number.
   certifies your taxpayer identification                  retirement plan (IRA), or a custodial
   number (TIN) to us, certifies that you                  account under section 403(b) (7).                               Certification. •
   are not subject to backup withholding                     (3) A state, the District of Columbia,                           (1) Interest Accounts Opened After
   because of under-reporting interest                     a possession of the United States, or                           1983. - You must furnish a correct
   and dividends on your tax return and                    any subdivision or instrumentality                              and certified TIN to us or backup
   claims exemption from backup                            thereof or an internal organization or                          withholding will apply. If you are
   withholding if you are an exempt                        any agency or instrumentality thereof.                          subject to backup withhold1ng and.
   payee.                                                    (4) A dealer in securities or                                 you are merely providing your correct
                                                                                                                           TIN to us, you must cross out item (2)
   If you do not complete this form                       cornmoditi8$ required to.register in                             in the certification before signing the
   properly and return it to us, we may                   the U.S. or a possession of the U.S.                             form.                     ·
   be required to withhold 31% of                           (5) A futures commission merchant                                 (2) Ex.empt Payees and Payments . •
   payments made to you.                                  registered with the Commodity                                    Even if you are exempt from backup
                                                          Futures Trading Commssion.                                       withholding, you should compete this
                                                            (6) A real estate investment trust.                            form to avoid possible erroneous
   What is Backup Withholding
                                                            (7) An entity registered at all times                          backup withholding. Provide your
   The Interest and Dividend Tax                          during the tax year under the                                    correct TIN and cross out item (2) of
   Compliance Act requires payers to                      Investment Company Act of 1940.                                  the certification. If you are a
   withhold and pay to IRS 31% of                           (8) A common trust fund operated                               nonresident alien or foreign entity not
   payments of interest, dividends, and                         a
                                                          by bank under section 584(a).                                    subject to ~up wi1hholding, give us
   certain other payments under certain                     (9) A financial institution.                                   a completed Department of the U.S.
   conditions. This is called "backup                                                                                      Treasury Form W--8, Certificate of
   withholding." If you give us your                        (1 OJ A middleman known in the                                 Foreign Status.
                                                           investment community as a nominee
   correct TlN, certify your TIN when                      or listed in the most recent publication                        Privacy Act Notice. - IRS Sectioo
   required, and report all your taxable                   of the American Society of Corporate                            6109 requires most recipients of
   interest and dividends on your tax                      Secretaries, Inc., Nominee List.                                dividend, interest, or other payments
   return, your payments will not be
                                                            (11) A trust exempt from tax under                             to give taxpayer identification
   subject to backup withholding.
                                                           section 664 or described in section                             numbers to payers who must report
   Payments you receive will be subject                    4947. ·                                                         the payments to IRS. IRS uses the
   to backuQ witholdinq if:                                                                                                numbers for identification oorooses.,,,_..,,.,
            ~ .le,:··                j;, , , c ··•   ;~-~~it!M-~m,ttt-:'f~.;~~i;;..r;;:;;;;a..:;2,0•:.•~:-.,.- . · ': ·;
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    01 pasn aq ll!M paU!BlQO uo~ewJOJU! Auv ·Aoua6e 6u,1-1odaJ Jawnsuoo JO 'Auedwoo oouemsu1 '·ot.i1 ·siv{ 'Al!JPBI pa1e1ru A!fl?O!paw Ja410
    Aue JO 'Al!JPe1 411ea4 re1uaw '1e11dsoH UQ\lBJIS!U!WPV sugJa1a11 ·s·n '::l!U!P ·1e11dso4 'Jopop .<ue sapnpu1 .a::iJnoS. ·uoneWJOJU! le:Jl_paw-uou
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                                                                                                    . J.N,rdWOO 3:JN,rttnSNI 3::111 Wtill',f :IJ.11.1S



                                                                                                                                                                     DONNA ROBERTS v WARDEN
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                                    BASIC PLAN DESCRIPTION
       Term life insurance to age 95. Insurance is payable when the Insured dies. Premiums are
       payable for the term of insurance. Premiums are level for the first 10 policy years. Subject
       to provisions for adjusting and changing premiums, premiums are level for 10 years
       following the qualifying date on which the Insured qualifies for reentry; otherwise, the
       premiums increase each year. The basic plan is convertible to age 75. The basic plan is
       eligible for annual dividends.

     FORM 98026                                                                               970728




                                                                               DONNA ROBERTS v WARDEN
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                                      Your constituttonal Rights
                                                     MIRANDA

                                                                 PLACE   {2d-g_~ dzk~ ..
                                                                 DATE    1;;..-:11-01

                                                                 TIME      2 :!2.

   Before we ask you any questions, you must understand your Rights.\\)                                :f
   You have the right to remain silent. NS
   Anything you say can be used against YOU in court:N,r
   You have the right to talk to a lm'lyer for advice before we ask ·  y
   you any questions, and to have him with you during questioning, hJ, il
   If you c2nnot afford a la ,.,yer,~e .-fill be 2ooointed for you before
                                            1                1

   any auestioning, if you wish. _Ll- ;:[
   If you decide to ans~er ouestions now without a lawyer present,
   you will still have the right to stop answering at any time. You
   also have the rigQJ:._ to stop ans•,.;ering at any time until you talk
   to a la r'iYer. 1;J .;J
               1




                              Waiver Of Riahts
      have read, or have had read to me, this statement of my Constituti:n2I
    Rights, and I understand what my rights are. I am willing to make
    a statement and answer questions, I do not want a la tJyer at this              1

  --cime. I understand and know what I am doing, No promises or threats
   -have been made to me and no pressure or coercion of any kind has
    been used against me. I, therefore, waive my rights and agree to
    make a statement.                                                 ·




   Witness:__,___~.......;_~~~:;:_____
   Wf tn es s :-=-.:::__~-rH.~.......;_..;;...w...~.__.._""--_
   Time=----"--------------


                                                                              (Rev. 2/14/86)



                                                                                 DONNA ROBERTS v WARDEN
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                             NATE JACKSON: Audio from Video

      Date oflnterview:     Friday, December 21, 2001
      Location:             Trumbull County Sheriffs Dept, office of Capt G Bacon
      Present at Interview: Detective Paul Momoe - Howland Twp Police Department
                            Detective Jeff Hoolihan - Warren Police Department
                            NATHANIEL JACKSON


      Det Hoolihan:       Not too smokey in here, is it?

     JACKSON:             No, huh, uh.

     Det Hoolihan:        You want the door cracked?

     JACKSON:             It's alright.

     Det Hoolihan:        You got enough coffee and everything?

     JACKSON:             (No response)

     Det Momoe:           It's, t1h, December 2l51, the year 2001, at 2:13 a.m. OK, I'm gonna read
                          your rights, Nate. Before we ask you any questions, you must understand
                          your rights. You have the right to remain silent. Anything you say can be
                          used against you in court. You have the right to talk to a lawyer for advise
                          before we ask you any questions, and to have him with you during
                          questioning. If you cannot afford a lawyer, one will be appointed for you
                          before any questioning, if you wish. If you decide to answer questions
                          now, without a lawyer present, you still have the right to stop answering at
                          any time until you have talked to a lawyer. You also have the right to stop
                          answering at any time 'til you talk to a lawyer. I've read this statement,
                          and my Constitutional Rights, and understand what my Rights are. I'm
                          willing to make a statement and to answer questions. I do not want a
                          lawyer at this time. I understand and know what I am doing . No promises
                          or threats have been made or used against me; no pressure, coercion of any
                          kind 9as been used against me. I, therefore, waive my Rights, and agree to
                          make a statement. Do you understand that, Nate?

     JACKSON:             Yeah.

     Det Momoe:           Could you look this over? Put your initials on each one of these lines, sign
                          it down here. Make some room here ... At the end of each little line here,
                          put your initials. That means the form was read and showing that you




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                       understand it, okay?

      JACKSON:         Uh-huh ...

      Det Hoolihan:    And I need your signature here. You left-handed or right-handed?

      JACKSON:         Left-handed.

      Det Hoolihan:    Okay.

      JACKSON:         And,'! didn't mean to do this shit, man .. .l really didn't mean to do that
                       shit, man.

      Det Hoolihan:    You have any questions regarding your Rights?

      JACKSON:         I just didn't mean to do it, man.

      Det Hoolihan:    Okay.

      JACKSON:         I didn't, man; I'm sure I didn't, man. Sorry, man.

      Det Monroe:      Okay, Nate. What you need to do is, is go back and talk about this, okay?
                       And we got to start from the beginning. We got to start from, uh ...

      JACKSON:         I ain't (inaudible) ...

      Det Monroe:      You're going to have to speak up.

      JACKSON:         I told you, I told you, you know what I'm saying; I mean, I was, man, I
                       mean, I don't even like talking about it, man, you know what I'm saying, I
                       mean, cause you know what I mean, it's fucked for me, man, you know
                       whafl mean, that's, you know what I'm saying, I mean, I told you
                       (inaudible) ... what happened, man, you know what I'm saying, I mean, I
                       don'feven want to, you know what I'm saying, discuss no more about it,
                       man, you know, 'cause it ain't gonna, you know, it ain't gonna to bring,
                       ain't gonna bring the man back.

      Det Monroe:      Okay, let's go over the events that occurred on December 11 1\ that's a
                       Tuesday, that's the day that, um, the shooting occurred, alright? Get up
                       early in the morning, right? You hook up with Donna on Tuesday?

      JACKSON:         It's over, man, you know what I'm saying; I say what I had to say, man.
                       You know what I'm saying; that's it, man. Anything else, man, you know,


                                                  2




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                       we just, man, you know, argue that, you know what I'm saying, whatever
                       my attorney be, man, you know what I'm saying, man, you know, right
                       know, man, I'm just saying, you know, I mean, I ain't, I ain't fully ...

      Det Monroe:      I know ...

      JACKSON:         you know what I'm saying; I'm fucked up, man, you know?

      Det Monroe:      Alright, I know it's tough for you. Could you, now that we got the camera
                       rolling, could you just talk about this with me one more time, we got to
                       clear it up, alright. This is your side. Robert picks you up, right?

      JACKSON:         Uh huh.

      Det Monroe:      Okay, where's he pick you up at?

      JACKSON:         Down at, by C-Staples.

      DetMonroe:       Oh, C- Staples? Okay ...

      JACKSON:         Yeah.

      Det Monroe:      I thought you were talking about another place.

      JACKSON:         No, C- Staples is like a little eatery, man.

      Det Monroe:      You get ribs there? Okay. Robert comes down there and picks you up.
                       Do you know about what time this is?

      JACKSON:         Shit man, I can't recall.

      DetMonroe:       Still daylight?

      JACKSON:         Ah, man, told you, she dropped me off, man; it was around about nine (9).
                       Let see, probably, it, it was after seven (7), man, you know...

      Det Monroe:      After seven (7) sometime.

      JACKSON:         Yeah, she dropped me off.

      Det Monroe:      Okay.

      Det Hoolihan:    This place, is it in Warren or Youngstown?




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      JACKSON:         Youngstown. That's what I'm saying, man, I mean, if it was like
                       something intended, man, just, you know, I mean, you know, on one of
                       them, them ol' backstreets, or something, man, you know what I'm saying,
                       up in my 'hood, well, I know, you know, I could probably try to get away
                       with it, man, when, you know, it wasn't, it wasn't, you know, laid out like
                       that, man, you know ... wasn't laid out like that. You know, I ain't no killer
                       or nothing; I ain't gonna kill 'em for real, man, you know, I was just
                       always a hustler, man, you know what I'm saying. That's all. I mean,
                       trying to, you know what I'm saying, I mean, make it on my own, man,
                       you know. I mean, I could find some shit, I don't ask nobody for shit,
                       man, 'cause I can't depend on nobody, you know, ifI want something, I
                       got to get it for myself. You know (inaudible) ... street hustler, you know,
                       it was like my job, man, you know what I'm saying. I don't have no
                       problems with it, you know, I mean I have fun, money was good, you
                       know what I'm saying, all this shit. (Inaudible) .. .! would never tighten,
                       you know what I'm saying, it just, you know, would all be here, they're
                       like, you know, yeah, 'cause I'm hustling, you know what I'm saying, I got
                       to be a killer, oh, man ...

      Det Hoolihan:    Just tell us the story again, so we can understand it.

      JACKSON:         Told you, man, you know, I mean, ain't, ain't too much you can, you
                       know, ain't too much more you can say, man, you know what I'm saying.

       Det Monroe:     Okay, well, how does Robert get a hold of you?

      JACKSON:         What did you say?

      DetMonroe:       Robert picks you up at the C-Staples, but...

      JACKSON:         I'm already, I mean, (inaudible) .. .! talked to him here and there, you know
                       what I'm saying, shit, man, down at the bus station ...

      DetMonroe:       On that, on Tuesday night, how does he get a hold of you, though?

      JACKSON:         Huh?

       Det Monroe:     He picks you up ...

       JACKSON:        I talked to him, I talked to him at the bus station.

       Det Monroe:     You were at the bus station?



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       JACKSON:        Yeah.

       Det Hoolihan:   Which bus station?

       JACKSON:        Downtown.

       Det Hoolihan:   In Warren or Youngstown?

       JACKSON:        In Youngstown. He was, he was outside, they was putting, they was
                       putting luggages on a bus. I be talking to him, told him meet me at
                       (inaudible) ... C-Staples.

       Det Monroe:     Okay. About how long after you told him to meet you up by, at C- Staples
                       before he comes up there?

       JACKSON:        Shit, man, shit, I guess it was after he got off work. You know what I'm
                       saying ... whatever time he got off work, you know.

       Det Monroe:     Where were you at when he shows up at C-Staples? You inside?

       JACKSON:        Huh?

       Det Monroe:     You inside?

       JACKSON:        Nah ...

       Det Monroe:     Where were you at?

       JACKSON:        Outside.

       Det Monroe:     Youwere outside?

       JACKSON:        You know what I mean, 'cause I, yeah, that, that whole, that whole section
                       of the block, you know what I'm saying, I mean, when, you know, I mean,
                       when, when the corner was the corner, you know what I'm saying, I mean,
                       I used to hang out up there, you know what I'm saying.

       Det Hoolihan:   What time was it?

       JACKSON:        Huh?

       Det Hoolihan:   Do you remember what time it is?



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      JACKSON:         Shit, it was, probably, I'd say here roughly about, probably, after, probably
                       after nine (9).

      Det Hoolihan:    In the morning, or in the night?

      JACKSON:         Nah, in the night.

      Det Monroe:      Okay, Robert rolls up and what happens?

      JACKSON:         He pulled up, you know what I'm saying, I got in the car, you know what
                       I'm saying, um, during, during the process, you know what I' m saying,
                       you know, we talking, you know what I'm saying, about the little
                       transaction I actually made, can I come over here, you know, she goes, you
                       know what I'm saying, like, you know, 'cause I was going, um, to start,
                       you know, working, working for him, and shit, you know, down at the
                       station and shit; you know, he was gonna give me a job ...

      DetMonroe:       Okay, but he, he rolls up to C-Staples, and he wants something from you,
                       right?

      JACKSON:         Yeah, he wanted some weed.

      DetMonroe:       How much weed does he want?

      JACKSON:         Huh?

      Det Monroe:      How much weed does he want?

      JACKSON:         He wanted an ounce. I ain't had no ounce on me ...

      Det Monroe:      You didn' t have an ounce?

      JACKSON:         Huh-uh (negative).

      Det Monroe:      Okay. Did you have any with you?

      JACKSON :        (No audible response)

      Det Monroe:      Did you sell it to him?

      JACKSON:         (Inaudible)

      Det Monroe:      So you sold him the weed. How much weed did you sell?


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      JACKSON:         Shit, man (inaudible) ... I only used, it wasn't no, it wasn't no quite ounce,
                       you know what I'm saying.

      DetMonroe:       How much did he pay for it?

      JACKSON:         Huh?

      Det Monroe:      How much did he pay for the weed?

      JACKSON:         A hundred bucks.

      Det Monroe:      A hundred bucks?

      JACKSON:         Yeah.

      DetMonroe:       Okay. And then you want something from him, right?

      JACKSON:         Huh?

      DetMonroe:       What do you want from him?

      JACKSON:         I didn't want nothing from him, shit...I mean, you know what I mean, I
                       mean ...

      Det Monroe:      You didn't want him to put you up in his crib for awhile?

      JACKSON:         Huh?

      Det Monroe:      Didn't you say you wanted him to put you up for awhile?

      JACKSON:         Nah, I asked him, you know what I'm saying, can I, can I come up, do you
                       know what I'm saying, until, you know what I mean, you ain't gotta, you
                       ain't gotta put me up, you know, so, I mean, I'm going, I'm going at you,
                       you know what I'm saying, I mean, 'cause, I mean, ain't nothing to a
                       failure but a try, you see what I'm saying ...

      Det Hoolihan:    Yeah...

      JACKSON:         I mean, shit...

      Det Hoolihan:    How long have you known Robert?

      JACKSON:         Robert, Robert (inaudible) ... shit, a couple years.


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      Det Hoolihan:   Have you ever been at the house before?

      JACKSON:         Yeah, I've been ...

      Det Hoolihan:    So you know where he lives then, right?

      JACKSON:        (Inaudible) ... and, um, I used to, um, come over there, man, you know
                      what.I'm saying, lot of times, I mean, I mean, I used, I used to like, you
                      know, I mean, I, I watched the games with him, you know what I'm
                      saying, hey, Nate, you know, 'cause you, you know, he was in the sports,
                      you know, I mean, cool, you know, I mean, he was alright, man, you
                      know. I mean, he wasn't no bad dude, man, you know, that's why I say,
                      man, you know, it hurt me, you know what I'm saying, when it happened,
                      man. You know.

      Det Momoe:      Okay. But you asked him if you could come over there and hang out. Did
                      you end up in his car?

      JACKSON:        Yeah. He took me. (Laughter)

      DetMomoe:       He told you to get in his car?

      JACKSON:        Yeah. When, when we, when he first pulled up, you know what I'm
                      saying, he unlocked the door, you know what I'm saying, got in, you
                      know, and, um, we was, we was driving up, I said, "Lookey here, check
                      this out, man." I said, um, "Do you think you can go ahead and let me
                      chill, you know what I'm saying, tonight, man? You know, I mean, then
                      you know, we get an early start tomorrow, you know, take me down there,
                      you know, and show me how to, you know, get progress, you know what I
                      mean, with the luggage bags and shit, you know." Yeah, he just, he just
                      made, he just took my, you know, he just took my, what I do, you know
                      whatl'm saying, my, my street life, man, you know what I mean, just, he
                      just like, man, he just like said fuck me, man, you know what I'm saying, I
                      mean, it ain't like this is what I, I planned to do, you know what I'm
                      saying, I mean, I ain't, I ain't, you know what I'm saying, I ain't planned
                      to, you know, living no, you know what I'm saying, on no street life, shit,
                      man, you know what I'm saying, I mean, I just, I just caught up in the mix,
                      you know what I'm saying, then now, since I'm up in the mix, you know
                      what I'm saying, that's all I knew, you know what I'm saying. I mean,
                      okay, so, you, you may got a little some girlie, okay, that's cool, you know
                      what I'm saying, I mean, I ain't mad at you; I'm happy for you, you know
                      what I'm saying. I'm happy to see anybody, you know what I'm saying,
                      do something good for theirself, but then, you know what I'm saying, this


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                       is all I know, you know what I'm saying ...

      Det Hoolihan:    So this was the discussion that you were having while you were driving to
                       his house? In the car?

      JACKSON:         I mean, no ...

      Det Hoolihan:    As soon as you got in the car?

      JACKSON:         I mean, we, we wasn't, you know, we were talking about that, you know
                       what I mean, it was like, you know, we was talking about, you know,
                       getting eve1ything, you know, processed, to see, you know, if, I hire, you
                       know, the, to do the luggages and shit, and tag 'em, you know, and, (belch)
                       shit like that, you know what I'm saying, that's all it was, you know, up on
                       me, you know.

      Det Hoolihan:    So you were going to staii working for him, right?

      JACKSON:         Yeah.

      Det Hoolihan:    And you, he was discussing with you how you were going to go about
                       your job?

      JACKSON:         Yeah, you know, and then when we got to the house, he's saying, yeah,
                       you know, you got to, um, he's telling me about this street life, and saying,
                       you know what I'm saying, I'm going, you know, I'm going to do this
                       forever, and, you know; and I'm like, man, you know, damn, why, why
                       would you down somebody like that, you know what I'm saying, I mean ...

      Det Hoolihan:    He disrespected you?

      JACKSON:        Everybody, everybody change, you know what I'm saying, I mean, but it's
                      like, a lot of this shit, you know what I'm saying, I can just take and eat up,
                      you know what I'm saying. I mean, you, you can call me what you want,
                      you know what I'm saying, say what you want, say, you know what I
                      mean, I'm not, I'm, I'm, I'm more than a man on that, you know what I'm
                      saying, 'cause I ain't gonna let no worries sit here and intimidate me, you
                      know what I'm saying. To try to hurt nobody. You know what I'm
                      saying, 'cause it's all you doing, you know. I mean, shit, you gonna, you
                      gonna, you gonna pull a weapon on me, man, I mean, damn, you just let
                      me know right then, you know what I'm saying, it's like, you know, fuck
                      you, for real.



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      Det Hoolihan:    So when you got at the house, did you guys, where did you guys put the
                       car at?

      JACKSON:         Huh? Put, we put, the car? In the garage.

      Det Hoolihan:    Okay, then put the garage door down?

      JACKSON:         Uh-huh (affirmative).

      Det Hoolihan:    Then you went into the house?

      JACKSON:         Yeah.

      Det Hoolihan:    Did he take the weed with him in the house?

      JACKSON:         I don't, I don't remember where he took the weed, man.

      DetMonroe:       He had the weed, though?

      JACKSON:         Huh?

      Det Monroe:      He, Robert had the weed?

      JACKSON:         Yeah.

      Det Monroe:      So you guys go in the house. You guys sit down at the kitchen table and
                       talk?

      JACKSON:         Yeah, you know what I'm saying; I used the bathroom real quick, and I
                       came in, you know. And, I guess he was, you know, overlooking his, you
                       know, mail, whatever, you know, we was sitting there, you know, we was
                       talking, you know, and he was telling me, you know, that shit, you know,
                       you, all you, you know what I'm saying, all you black guys, the same, this
                       and that, you know, you all don't want to do nothing for you all self, you
                       know, and then, you know, and then he make me think, like, well, damn,
                       you know, you, you trying to, you know, say now on, that I'm, I'm a
                       flunkie, or something, you know what I'm saying, 'cause you, you, you
                       telling me all this, you know, and you about to hire me, so it's like, you
                       know, you just saying, huh, yeah, yeah, and the guy got you, you know
                       what I'm saying, working for me. But, you know, I mean, I still, shit like
                       like that, I overlook, you know what I'm saying, I mean, I'm just trying to,
                       you know, I'm trying to, you know, make it, a different life-style, you
                       know what I'm saying, and try to work some, you know.


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      Det Hoolihan:    So what time did you get at the house?

      JACKSON:          Shit man, I don't...

      Det Hoolihan:    Did you guys arrive ...

      JACKSON:         ... know, man, you know what I'm saying, I mean, I wouldn't, you know ...

      Det Hoolihan:    Was it dark?

      JACKSON:         I mean, yeah, it was dark, you know what I mean, the time, you know what
                       I mean, I really wasn't worried about no time or nottin', you know what
                       I'm saying, I mean ...

      Det Hoolihan:    But Robert usually works 'til a certain time, doesn't he?

      JACKSON:         Huh?
                           '
      Det Hoolihan:    Doesn't the bus station close at a certain time?

      JACKSON:         Shit, I, I, I guess it close like 8:30, 9:00 o'clock, some shit like that.

      Det Hoolihan:    Does Robert usually work 'til then, 8:30, 9:00 o'clock?

      JACKSON:         I guess, I take it as that, you know.

      Det Hoolihan:    So it would be fair to say that sometime after 9:00 you guys arrived at
                       Robert's house?

      JACKSON:         Shit, I mean, it was, it was, it was after 9:00, man, you know what I'm
                       saymg.

      Det Monroe:      You guys were both sitting at that table right there in the kitchen, talking.

      JACKSON:         Nah, he was, he was standing up, by, by the end of the counter, man.

      Det Monroe::     And you, you're sitting down?

      JACKSON:         Uh, no, I'm, you know what I mean, I'm standing at, you know, up behind
                       the back of the chair, you know what I mean, with my hands crossed, you
                       know, this and that, you know what I'm saying, I mean, 'cause I'll tell you
                       know, I mean, I listen to anything, you know what I'm saying, if
                       somebody, you know, try to tell me and say, you know I mean, I ain't


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                       gonna just take it and throw it away, you know what I mean, I'm gonna go
                       ahead and put some use to it, you know, man, I'm listening at him, he say,
                       you know, then, he was telling me, I told him, "Well, man lookey here,
                       man, I mean, come give me a lecture or something, I mean, shit, you could
                       have left me, you know what I'm saying, down the 'hood, I mean, ifl
                       knew I was coming up here for this shit, man, you know." And, he, he
                       talki:Q.g, well, you know, I mean, I can, walk in this and that, and I'm like,
                       come on, raining, it don't gotta be like this, you know what I'm saying,
                       I'm like, well then again, man, I mean, you, you brought me up here, you
                       know what I'm saying, I mean, you take me back where you got me from,
                       you know what I'm saying, just out of respect. No, you see, I ain't got to
                       do shit, you know what I'm saying, I mean, you know, I mean, I'm sitting
                       down, I mean, I'm like, yeah, alright, man. I look up, you know what I'm
                       saying, I mean, what the fuck? You know. I mean, he, he had the gun,
                       man, you know what I' m saying, I go, (inaudible) ... the mother-fucker,
                       man,J'm like, you know, I'm just saying to myself, man, this cat...

      Det Monroe:      Wait.·a second, wait, you sit, you're standing here, talking to him, right?
                       You ~ys aren't arguing, he' s just, he' s dis, disrespecting ...

      JACKSON:          He is ... (inaudible) listen, listen here, okay. At the, you know what I'm
                       saying, when, when, when the disrespect, you know, part came on, you
                       know what I'm saying, like I say, you know what I mean, I, you know
                       whatl'm saying, I wasn't expecting him, you know what I'm saying,.to,
                       you know, I mean, to, to, to take it, you know, to where it, you know, I
                       mean, getting further detail, you know what I'm saying, I mean, 'cause like
                       I say, man, when, when, when people say shit, man, I just like, you know,
                       I, I'll brush it off, yeah, you know what I'm saying ...

      Det Monroe:      Just let it go by.

      JACKSON:         Yeah, you know, but, but at the same time, you know, I'm gonna let you
                       know, you know what I'm saying, that I'm listening to you, you know
                       what I'm saying, yeah, okay, you know, I mean, I mean, shit, you, you can
                       call me the lowest scum of the earth, okay, yeah, you know what I mean, I
                       can, I can't, you know, I can't change your opinion, you know what I'm
                       saymg .. .

      Det Monroe:      So what.. .

      JACKSON:         ... 'cause you gonna think what you want to think, you know what I'm
                       saying, okay, then, yeah, you know.



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      Det Hoolihan:    Everybody's got the right to their own opinion, right?

      JACKSON:         Right. You know, so I mean I ain't going to sit here and say well, man,
                       you know you're a mother-fucker and lie, this and that, well, shit, if you
                       feel I'm gonna be out here, you know what I'm saying, selling drugs all
                       my life, okay, then. (Inaudible)

      DetMonroe:       Then this gun, this gun comes out. Why, why does the gun come out?

      JACKSON:         'Cause I told him, man, I said, "Lookey here," I said, "Look, you brought
                       me up here, man, for all this shit man, you, you, you could have left me
                       back," you know what I'm saying. I mean, man, you know, I mean, I don't
                       got to be here, you know. He tell, well, you, you can, um, you can walk,
                       and this and that, man, and look here, man, no, I say, I ain't, man, look,
                       then again, I ain't, I ain't walking. You know what I'm saying, I ain't
                       walking, (inaudible) ... oh, you know, you can get the fuck out of here now,
                       you know what I'm saying, I'm like, yeah, I understand, when I looked up,
                       man ...

      Det Hoolihan:    Where did the gun come from?

      JACKSON          Man, I don't know, man. It just ...

      Det Hoolihan:    Did you see a gun lying around in there, when you walked in?

      JACKSON:         I don't know, man, I mean, I ain't seen no, I ain't seen no gun, man, you
                       know what I'm saying. I mean, 'cause for one, man, you know what I
                       mean, if, when I come to somebody's house, man, you know what I'm
                       saying, I mean, I , I ain't going to go in their house, you know what I'm
                       saying, to get to rambling and shit, man, you know what I'm saying, 'cause
                       that ain't mine, you know.

      Det Hoolihan:    What did the gun look like? Describe it.

      JACKSON:         Huh?

      Det Hoolihan:    Describe the gun.

      JACKSON:         Man, it was just, man, it was, it was, it was a shiny gun, man, you know
                       what I'm saying ...

      Det Hoolihan:    Was is an automatic? Revolver?



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      JACKSON:         Um, shit, it was, it was a revolver, man.

      Det Hoolihan:    Chrome, like a chrome? Shiny? Maybe a stainless steel?

      JACKSON:         I just, I just seen some, you know, I mean, I just seen some shine, you
                       know what I mean.

      Det Hoolihan:    Do you know what caliber it was? Twenty-eight? Thirty-eight?

      JACKSON:         Ah man, I don't even know, I ain't, I ain't no gun man, you know what I'm
                       saymg ...

      DetMomoe:        What about the barrel, how long was the baiTel?

      JACKSON:         Huh?

      DetMomoe:        How long was the barrel?

      JACKSON:         It was just, it was a little gun, man. It was a little gun, man.

      Det Hoolihan:    Do you know what the grips look like?

      JACKSON:         I mean, I ain't, I ain't, you know, like I say, man, I wouldn't try to, you
                       know, analyze the gun like that, you know what I'm saying, 'cause, really
                       mai1, I ain't, you know, I don't like to, you know what I'm saying, touch
                       no guns, man, you know. I don't like to touch no guns, I mean even
                       though when I was out there, on the streets, you know, I mean, I been shot
                       at, you know what I'm saying, a few times, but, I mean, I ain't gonna sit
                       here and try to, you know, keep coming back, you know, as far as no
                       retaliation thing. I'm gonna leave it alone. Fuck it. You got me. You
                       know, what I'm saying ...

      Det Hoolihan:    Right.

      JACKSON:         I mean, I look at it as I'm blessed 'cause you ain't killed me, you know.
                       So, I mean, I always left shit alone like that, man, you know what I'm
                       saying. Ain't carry no guns, you know.

      Det Hoolihan:    So what happens, you guys are, an argument starts or something, or what?
                       Then what happens?

      JACKSON:         I mean, it was like I say, man, I mean, I wouldn't, I wouldn't own no
                       organ-type stuff, man, you know what I'm saying. I mean, he just may, I


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                      mean, it's just like, he just like flipped, man, you know what I'm saying, I
                      mean, he just, Doctor Jeckyl, Mr. Hyde, you know.

     Det Monroe:      So when he flips, pulls a gun out, whether he's got it on his clothes or
                      wherever it comes from ...

     JACKSON:         Yeah, hey, you know 'saying, he got, he got the gun ...

     Det Monroe:      He got the gun ... got the gun pointed at you, right?

     JACKSON:         ... he got the gun pointed at me, know what I'm saying, so I reached up,
                      you know what I'm saying, I, I go to grab, you know what I'm saying, I,
                      you know, I mean, I got the front of, you know what I'm saying, I'm
                      trying, you know, hold it back away from me, man, you know.

     Det Monroe:      And what happens?

     JACKSON:         Ow, .man, you know what I'm saying, he squeezed on me, man.

     Det Monroe:      He squeezed on you.

     JACKSON:         Yeah.

     Det Monroe:      And what happened?

     JACKSON:         I, that's when I, that's when I felt my finger, and shit, man, you know what
                      I'm like, what the fuck. You know, I'm like, oh, you know, I mean, I'm
                      like thinking in my mind, man, you know, I, I can't, I can't let this, you
                      know, this cat keep this gun in his hand, man, 'cause ifI do, huh, I know,
                      I'm prob, I'm probably a done deal, man ...

     Det Monroe:      So what do you do?

     JACKSON:         ... you know, I mean, I just, I mean, on the, on the tussle, you know what
                      I'm saying, I mean, just like, you know, wow, you know what I'm saying,
                      I'm like, damn, man, what the fuck, man.

     Det Hoolihan:    So you, you shot Robert ...

     JACKSON:         ... man, I mean ...

     Det Hoolihan:    ... in the tussle?



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      JACKSON:         I didn't mean to, man.

      Det Hoolihan:    Okay...

      JACKSON:         I didn't mean to, man.

      Det Hoolihan:    Well then, how many, how many times did you shoot him?

      JACKSON:         Man, I didn't, man, I just heard the gun go off, you know what I'm saying,
                       like, two times, man, the thing went off, you know what I'm saying, like, a
                       couple times, man, I mean, I ain't, I ain't mean, you know what I'm
                       saying, it wasn't like I'm sitting here, you know, counting no shots, like,
                       yeah, this is, this is what I'm going to do, you know what I mean. I ain't,
                       man, I ain't wanna do it, man.

      Det Monroe:      HoV.:· many times do you think ...

      JACKSON:         I sw~ar to God, I ain't wanna did it, man.

      Det Monroe:      Nate, how many times do you think the gun went off?

      JACKSON:         Man, Lord knows I ain't wanna do that, man. I'm serious, man, I ain't
                       wanna take nobody's life, man.

      Det Hoolihan:    So the first time he got shot, where did he get hit?

      JACKSON:         I don't know, man.

      Det Hoolihan:    Well, what does he do?

      JACKSON:         I don't know. You know, I mean, what he do?

      Det Hoolihan:    Yeah.

      JACKSON:         Shit, man, he, man, the, the cat steals your, you know what I mean, I mean,
                       it's like, we still, you know what I'm saying ...

      Det Hoolihan:    He's still coming at you? .

      JACKSON:         Yeah.

      Det Monroe:      After you shot him?



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      JACKSON:         Huh, I mean, after the gtm went off, you know what I'm saying, it's like,
                       you know, I mean, 'cause I don't even know, you know, if, urn, if, you
                       know what I mean, ifI really, you know, hit him like that right then, you
                       know what I mean. You trying to, he trying to, you know what I'm saying,
                       I mean, this cat, trying to fuck me up, man.

      DetMomoe:        Tell me what he's doing. What's he doing?

      JACKSON:         Huh? I mean, I got, I got, I got him on the gun, you know what I'm
                       saying, when I, when I pulled it down, he shot me, you know, I mean, he
                       still trying to, he still trying to, you know what I mean, hit me, you know
                       what I'm saying, in the buckle ...

      Det Hoolihan:    Yeah .

      JACKSON:         ... you know what I'm saying, so, you know what I mean, where he can,
                       where he can really hurt me, you know what I'm saying. I mean, I'm, I'm,
                       I'm ,trying to, you know, shift his weight up off me, you know what I'm
                       saymg ...

      DetMomoe:        He's got your head in a head-lock?

      JACKSON:         Uh, nah, I mean, you know what I'm saying, we, we, we like this, you
                       know what I'm saying, I mean, I mean, I'm, I'm, I'm beside 'em, you
                       know what I'm saying, I'm trying to tussle with the gun, you know what
                       I'm saying. He, he got the ups on me, you know what I'm saying, I mean,
                       he, he trying to, you know what I'm saying, really bend me over, and I'm
                       thinking, like, man, you know, I'm, I'm, I'm, I'm gone, man, you know
                       what I'm saying...

      Det Hoolihan:    So you shoot him again?

      JACKSON:         Huh?

      Det Hoolihan:    You squeeze the trigger again?

      JACKSON:         I, man, that's how it was, man, you know what I'm saying ...

      Det Hoolihan:    Then what happens after that?

      JACKSON:         Shit, man, I don't know, I ran, jumped in the car, man. And left, man.
                       I was scared, man.



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      Det Momoe:       You got, where'd you get the keys from?

      JACKSON:         On the counter.

      DetMomoe:        On the counter? You go out in the garage ...

      JACKSON:         Yeah, got in the car, man, I left, man.

      Det Momoe:       Whe~e did you put the gun?

      JACKSON:         I don't know.

      DetMomoe:        In your pocket? Throw it in the car? Where did you put the gun, Nate?

      JACKSON:         I don't, I don't, I don't, man, I just, I was so fucked up, man, I mean, after
                       this shit happened, man, it fucked me up, man.

      DetMomoe:        Okay. You, you get in the car; what side of the car do you get in?

      JACKSON:         Got in on the passenger side.

      DetMomoe:        Okay. What do you do then?

      JACKSON:         Started the car up, man, left from out of there.

      Det Hoolihan:    What did Robert do once you shot him the second time?

      JACKSON:         Shit man, I mean, he was, he was, I mean, he was, he was just urinating on
                       the floor 'cause he was, he was breathing, though.

      Det Hoolihan:    Where do you think you shot him at?

      JACKSON:         I don't know. I mean, he was breathing.

      Det Hoolihan:    How do you know that?

      JACKSON:         Huh? 'Cause I mean, I mean, I, I could, I could, I could see him, you
                       know what I'm saying, I mean, shit, he like (heavy breathing sounds), you
                       know what I'm saying, I mean, I'm, I'm, I mean I'm scared now, man, you
                       know what I'm saying, I'm like, I'm out of here, man. I ain't want to do
                       that shit, man. And I ain't, I ain't mean to take that man's life, man. I
                       didn't, man.



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      Det Hoolihan:   So what did you do with the gun?

      JACKSON:        I don't know .. .I don't know what I ... , man, I don't know what I, I don't
                      know what I got to do with it, man.

      DetMcinroe:      Where do you go with the car?

      JACKSON:        Huh?

      DetMonroe:       Wher\;! do you take the car?

      JACKSON:        Shit...(inaudible)

      Det Monroe:      Where at? What street?

      JACKSON:        Man, I don't know, man, you know what I'm saying, I mean, I ain't, I
                      ain't, I ain't, you know what I'm saying, I mean, I'm on, I'm an eastsider,
                      you !<-now what I'm saying, but really I'm all around, you know what I'm
                      saying, well, I mean, like, only streets I really know are, you know what
                      I'm saying, like, Main Street, you know what I'm saying, from my 'hood,
                      you know what I mean, few, few streets on northside, awhile I'm around
                      there, you know what I'm saying, like, you know, the Projects, and all that
                      shit, you know what I'm saying, yeah, I, you know, I knew them, but, you
                      know; I mean, I just, I moved the car on the street, you know, got out of it,
                      you know what I'm saying.

      DetMonroe:       Okay, you get out of the car, still got the gun with you?

      JACKSON:         (No response)

      Det Hoolihan:    You're bleeding pretty good now, right?

      JACKSON:         Huh?

      Det Hoolihan:    You're bleeding pretty good now, right?

      JACKSON:         (No response)

      Det Monroe:      You still got the gun with you?

      JACKSON:         Oh, man. I got rid of the gun, man.

      Det Monroe:      Where did you get rid of the run?


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      JACKSON:         Shit, way back in Youngstown, man.

      Det Monroe:      Where at, Nate?

      JACKSON:         Tossed the mother-fucker out, the mother-fucker out of the car.

      Det Monroe:      What street are you on when you do that?

      JACKSON:         Shit, right, right when I was about to get on the, um, right when I got on
                       the freeway, man.

      Det Monroe:      Which freeway, Nate?

      JACKSON:         On the way back to Youngstown. Shit, I don't know (inaudible) no
                       streets, or shit out there.

      Det Hoolihan:    When you left the house, which way did you go?
                            <


      JACKSON:         I got on that freeway.

      Det Monroe:      Eighty-two (82)?

      JACKSON:         I don't know what it is, man. I just jumped on the freeway, man. I...

      Det Hoolihan:    So ...

      JACKSON:         ... Youngstown, (inaudible) ... Youngstown ...

      Det Hoolihan:    Did you take the short way out of the area over there?

      JACKSON:         Shit man, I, I mean, I took the only way I seen. I seen the sign that said
                       Youngstown, and there it was. Like I say, man, I, I mean, I don't, I don't
                       know my way, I don't know, I don't know my way around out there, man,
                       you know what I'm saying. I mean, that ain't, that ain't my neck of the
                       woods.

      Det Hoolihan:    So it wasn't part of the, um, the development where the freeway comes out
                       of the road. Is that where you threw the gun out? At this, at the caution
                       light there, at the traffic light?

      JACKSON:         Uh ... right on the freeway, man. You know what I'm saying.

      Det Monroe:      You threw it out of the driver side or the passenger side?


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      JACKSON:         (Inaudible)

      DetMonroe:      Okay. You go through the traffic light to get on the freeway, right? Were
                      we in the right spot?

      Det Hoolihan:    Which way you turning?

      JACKSON:        Made a left to get on the freeway.

      DetMonroe:      A left, and you still got the gun, right? You make a left, and you got the
                      gun. How far up the freeway do you go before you throw it?

      JACKSON:        Shit, I mean, not that far. I rolled the window, I tossed that mother-
                      fucker...

      Det Monroe:     Did you toss that out before you get to the bend that goes to Youngstown?

      JACKSON:        Uh-huh (affirmative).

      DetMonroe:       Okay. You call Donna from the car?

      JACKSON:         Huh-uh (negative).

      Det Monroe:      When did you call Donna?

      JACKSON:         I called, I, I called Donna, like, after work, man. (Inaudible) ...

      Det Hoolihan:    You're going to have to speak up, okay? Can't hear you.

      JACKSON:         Alright. Told her I needed, told her I needed a place to stay, man, you
                       know what I'm saying ...

      Det Monroe:      How do you call? What phone do you use?

      JACKSON:         Huh?

      DetMonroe:       What phone do you use to call her?

      JACKSON:         Shit...

      Det Monroe:     Do you still have her little cell phone?

      JACKSON:         Huh?


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      Det Monroe:      Do you still have her cell phone? Is that how you called her?

      JACKSON:         Shit, I used the phone that was in the car. Used that.

      Det Monroe:      Okay.

      Det Hoolihan:    Where was the cell phone in the car at?

      JACKSON:         Huh?

      Det Hoolihan:    Where was the cell phone at in the car?

      JACKSON:         I, I. .. , top of the visor ...

      Det Hoolihan:    Was it Robert's or Donna's cell phone?

      JACKSON:         I don't know whose phone it was. I just used it.

      Det Monroe:      How many times did you call her?

      JACKSON:         I'm, I mean, I called, you know what I'm saying ...

      Det Hoolihan:    Where was she at?

      JACKSON:         Huh?

      Det Hoolihan:    Where was she at?

      JACKSON:         Shit, man. I called her and told her, you know what I'm saying, 'cause
                       she, when she coming, um, when she come an' get me, man. Go home,
                       man.

      Det Hoolihan:    So what time do you think it is now? When you're leaving the house.

      JACKSON:         Man, I don't know, man. I mean, like I say, man, I mean ...

      Det Hoolihan:    (Inaudible)

      JACKSON:         ... (inaudible) I wasn't never a turn, man, you know what I'm saying, 'cause
                       it ain't never no time, you know what I'm saying ...

      Det Hoolihan:    Well, if you get there a little after nine (9) p.m., and, how long do you
                       think you were over there?


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       JACKSON:        Ah, ah, I don't know, man.

       Det Hoolihan:   So you called Donna, and what did you tell her?

       JACKSON:        (Inaudible) ... Won't you go ahead and help me out, you know what I'm
                       saymg ...

       Det Hoolihan:   Where did you call her at?

       JACKSON:        ... place to stay, man ... you know.

       Det Hoolihan:   But where'd you, where'd you know, know to get a hold of Donna?
                       Where did you call her at?

       JACKSON:        'Cause shit, I mean, I know. I knew, you know what I'm saying, that, she,
                       alright, she says she was going, she was going down to the mall, you know
                       what I'm saying, I mean, I guess she was going shopping, (inaudible) ... but,

       Det Hoolihan:   Okay, but did you have her cell-phone number, did you call her on her
                       cell-phone?

       JACKSON:        Huh?

       Det Hoolihan:   Did you call her on her cell-phone?

       JACKSON:        I called her on her cell-phone.

       Det Monroe:     Where did you call her at? Where was she at when you called her?

      JACKSON:         When I called her, she, she was in the car, man, I mean, I guess she was,
                       she was in shopping somewhere, man. You know what I'm saying ...

      Det Hoolihan:    But you called her on her cell-phone, right?

      JACKSON:         Huh?

      Det Hoolihan:    I mean, you wouldn't, you didn't have a number inside the mall to call her.
                       You had her cell-phone number.

      JACKSON:         Yeah, I mean, when I called, man, you know what I'm saying, I mean, she
                       was, I caught her in the car, you see what I'm saying ...

      Det Hoolihan:    What I'm saying is ...


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      JACKSON:         ... I was trying to get in touch with her, you know what I'm saying ...

      Det Hoolihan:    How did you know how to get in touch with her?

      JACKSON:         Huh?

      Det Hoolihan:    What's her cell-phone number?

      JACKSON:         Cell-phone number...is 5, 509, 509, 0, 0, 2, 7, 1 .. .

      DetMomoe:        That's the number you called her at? 509-0271 ... You sure?

      JACKSON:         (Inaudible) ... you know what I'm saying, I mean, and it's like, man, I
                       mean, I just told her, man, I, I, I needed a place to stay, you know what I
                       mean, man ... I was so fucked up, man, that it happened, man, you know
                       what I mean, I just wanted, you know what I'm saying, be away from
                       everything, you know what I'm saying, I mean, 'cause I couldn't even
                       believe it myself, man, you know. Then, when I did fall off to sleep, and I
                       woke up, man, you know, I'm like, damn, man ...

      DetMomoe:        Nate, could you sit up and talk in the mike a little more?

      JACKSON:         (Sigh)

      DetMomoe:        She, so she comes over the 'hood to pick you up, right? And she puts you
                       up, yes?

      JACKSON:         And she what?

      Det Momoe:       She comes and picks you up in the 'hood, right?

      JACKSON:         Yeah.

      DetMomoe:        Where does she take you?

      JACKSON:         I mean, I asked her if she'd give me a room, man, you know what I'm
                       saying. And she got me a room up there, at the, at the Days Inn, and shit,
                       man, you know.

      Det Hoolihan:    So you dumped the car, first?

      JACKSON:         Yeah,! think, I got to remember, know what I'm saying, got a (inaudible)



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      Det Hoolihan:    Where did you tell Donna to meet you at?

      JACKSON:         Huh?

      Det Hoolihan:    Where did you tell Donna on the phone to meet you?

      JACKSON:         Shit, (inaudible) ... on the northside.

      Det Hoolihan:    Did she know where to find you?

      JACKSON:         Huh?

      Det Hoolihan:    She knew where to find you?

      JACKSON:         I told her, I'll, I'll be up here, here, by, uh, Sheila's house. Northside.

      Det Hoolihan:    Well, how did Donna know where Sheila lives?

      JACKSON:         'Cause I had to tell her to drop me off there.

      Det Hoolihan:    So what happens then?

      JACKSON:         Huh?

      Det Hoolihan:    What happens next?

      JACKSON:        Shit, she just took me up there, you know what I'm saying, to my room,
                      man, you know what I mean, that was it. I mean, I'm I'm, I'm, I'm so
                      fucked up, man, I mean, I, I, I mean, I don't even, you know, I mean, I
                      can't even, voice my own self, man, you know what I'm saying, I mean, I
                      think what happened, man ...

      Det Hoolihan:    Did you tell her what happened?

      JACKSON:        I didn't tell her what happened, man. I just told her, man, you know, I'm
                      sorry to hear about what happened, I mean, I'm trying (inaudible) ... you
                      know what I'm saying, because, I mean, like I say, man, she was always a
                      good friend, man, you know what I'm saying, not only, you know, I mean,
                      she, she used to help, you know what I'm saying, a lot of people out, man,
                      you know what I'm saying, feed people every restaurant, everything man,
                      and I'm thinking, like, man, you know, man, I, I tell her this, man, you
                      know, just like, shit, you know what I'm saying ...



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       Det Hoolihan:   What did you tell her. ..

      JACKSON:         She gonna look at me like ...

      Det Hoolihan:    Did you tell Donna what happened?

      JACKSON:         (No response)

      Det Hoolihan:    So she gets you a room?

      JACKSON:         Yeah, you know what I'm saying, she helped me out, man.

      Det Monroe:      Who helped you with your finger, Nate?

      JACKSON:         Huh?

      DetMomoe:        Who helped you with your finger?
                           -,

      JACKSON:         Shit, ·I did my own finger.

      DetMomoe:        Where'd you get the stuff to put on?

      JACKSON:         Shit, I mean, shit, I did my own finger, man.

      Det Monroe:      Okay, you did it yourself? Where did you get the bandages and stuff?

      JACKSON:         (No response)

      DetMomoe:        Do you remember?

      JACKSON:         Shit, I was getting shit from, from a little everywhere, man.

      Det Monroe:      Did you go to Walgreens?

      JACKSON:         Huh?

      DetMomoe:        Did you go to Walgreens?

      JACKSON:         Yeah, man, I had, I had, you know what I'm saying, I mean, I had to go get
                       me some shit for my finger, man, but she didn't, she didn't, you know
                       what I mean, I ain't, I ain't, I ain't tell her what happened, you know what
                       I'm saying, she (inaudible) what happened to me (inaudible) ...



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      Det Hoolihan:   So what time is it now?

      JACKSON:        I ain't, I ain't telling you, man, you know what I'm saying, I mean, I, I
                      couldn't sit here and say, well, yeah, your husband, you know what I'm
                      saying, um, pulled a gun on me, you know, and I had to, you know what
                      I'm saying ...

      Det Hoolihan:    Was it like eleven (11) or twelve (12) o'clock at night, now?

      JACKSON:        Man, man, I can't give details, man, you know what I'm saying, man, I'm,
                      I'm, I'm in a (inaudible), I mean, I was fucked up, man, you know what
                      I'm saying, I mean, I mean, I, I, just wanted to, you know what I'm saying,
                      just be left alone, man, you know what I'm saying ...

      DetMonroe:       What did you tell Donna happened to your finger?

      JACKSON:        I just told her, man, I, I, fucked my finger up, man, that's all, man ...

      DetMonroe:       You didn't tell her how?

      JACKSON:        I just told her I fucked my finger up, man, just ...

      Det Monroe:      Did she help you bandage it? Help you get all the medical stuff?

      JACKSON:         ..... All I did, man, I mean, was peroxide, you know what I'm saying ...

      Det Monroe:      Where did the peroxide come from?

      JACKSON:         Huh?

      DetMonroe:       Where did you get the peroxide from?

      JACKSON:         Where's I get the peroxide from?

      Det Monroe:      Yeah.

      Det Hoolihan:    Put the chair around so we can ...

      JACKSON:         Shit.

      Det Hoolihan:    Did you get the peroxide at Walgreens?

      JACKSON:         Shit, I guess it came from Walgreens. Shit


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      Det Monroe:      Who brought it to you?

      JACKSON:         Huh?

      Det Monroe:      Who brought you the peroxide?

      JACKSON:         Shit, man, I mean, actually, you know what I'm saying, did, uh, could, uh,
                       (inaudible) .. .peroxide, shit, man, I mean, you know, it's just like, it's just
                       like, I mean, if, if, if, if you know I'm fucked up, you know what I'm
                       saying, I mean, you don't know where it's from, I, I can just tell you
                       anything, you know what I'm saying, I mean, it's cool ... you know what
                       I'm saying.

      Det Monroe:      Yeah, I mean, you needed help, it's not against the law. I mean, you
                       needed help, you hurt your, you got hurt.

      JACKSON:         (Inaudible) ... you know what I'm saying, I mean, but, as far as, you know
                       what I'm saying, saying, how it happened, you know what I mean, just like
                       you, (inaudible) ... what's up with your finger, man ... she was cool, you
                       know what I'm saying, I mean, I don't even want to talking about this shit,
                       you know. Man, I look at it, like, man, I mean, my finger fucked up, man,
                       you know what I'm saying, for life, man, I mean, it could have been my
                       life, you know what I'm saying, but...

      Det Hoolihan:    So you guys go back to the Days Inn? And she dropped you off in the
                       room? And she goes to Walgreens and gets some bandages and peroxide
                       and ... is that right?

      JACKSON:         (No response)

      Det Hoolihan:    And she brings it back to the room?

      JACKSON:         Uh-huh (affirmative).

      Det Hoolihan:    Is that right, Nate?

      JACKSON:         Yeah. Yeah, she, yeah, she, um, got me, you know what I'm saying, she
                       had, um, she had to get home, you know what I'm saying, I told her, you
                       know ...

      Det Hoolihan:    So she comes to the room?

      JACKSON:         I talked to her ...


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       Det Hoolihan:      You mean she comes in the room? And you guys were talking?

       JACKSON:           Talking for what? Huh, I mean, there wasn't nothing to talk about, man. I
                          told you, man, I wasn't, you know what I'm saying ...

       Det l-Io'olihan:   What I'm saying is, I mean, she gets you the room, right? She helps you
                          out. ..

       JACKSON:           But see, why am I gonna sit here, why am I gonna sit here, I don't want to
                          talk to you, you know what I'm saying, when I know I just did something
                          fucked up, you know what I'm saying ... man ...

       Det Hoolihan:      But what I'm saying is, I mean, she gets the room, right? She gets a room
                          for you?

       JACKSON:           Shit, man ...

       Det Hoolihan:      Okay, how does she pay for it?

       JACKSON:           I don't know, man, I mean, I don't, I don't go, I mean, I don't go and do all
                          that. ..

       Det Hoolihan:      Okay, but then she goes to Walgreens and brings the stuff to the room?

       JACKSON:           (Mumbles) ... I, you know, I, I, I told you, you know what I'm saying, but
                          what I had to say, man, I mean, I mean, I can't just sit here, you know what
                          I'm saying, I mean, just, keep on, you know what I'm saying, back-
                          tracking, I mean, I don't even want to talk about it no more, man. I'm,
                          I'm, I'm through with it, man, just, man, you know what I mean, police,
                          you know, I mean, I, I talked to a lawyer or something, man, you know
                          what I mean, 'cause I, I mean, I ain't got time to just, just keep on, over
                          and over, man, I'm, I'm through, man, I'm through, man, you know what
                          I'm saying. I say, I mean, I, I ain't mean to do it, I'm sorry I did it, you
                          know what I'm saying, I mean, but, I was left, I had no choice, man. And
                          that's it. End of discussion, man.

       DetMonroe:         Anything else you want to say?

       JACKSON:           (Inaudible) ... all I got to say, man, I didn't mean to do it, man. I mean, I
                          mean, I'm sorry it happened.

       DetMonroe:         Nate, uh, these guys found a pair of gloves over at Shelia's house. Do you
                          know anything about those?


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      JACKSON:         Nah .. .

      Det Monroe:      The pair of gloves got a hole in the finger. Those yours?

      JACKSON:         Nah.

      DetMonroe:       Got a hole in this finger. Same one that you got shot in. Did you have
                       those on when you got shot?

      JACKSON:         I don't remember anything about doing that, you know what I'm saying.

      Det Monroe:      You don't know anything about those gloves?

      JACKSON:         (Mumble) ...

      Det Monroe:      Is your blood on 'em?

      JACKSON:         Shit,_man. Why should my blood be on them?

      Det Monroe:      Well, if they're, if they're your gloves, and you got shot while you were
                       wearing them, then blood would be on them, right?

      JACKSON:         (No response)

      Det Hoolihan:    They would be powderey, you know, there would be gun, gunshot residue
                       on the glove, too.

      JACKSON:         (No response)

      Det Monroe:      Did you take the pot back off of Robert after you shot him?

      JACKSON:         Man; I don't ...

      Det Monroe:      Or did you leave it on him?

      JACKSON:         Fucked up and threw it, it was disgusting, man, you know what I'm saying,
                       I mean ...

      Det Monroe:      Well, there's, there's more here that we didn't get to ...

      JACKSON:         We, we just sum it up like I said, man, when, when I talk to my lawyer,
                       man, you know what I'm saying. Other than that, man, you know, I
                       mean ...


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      Det Monroe:           So you, you're going to put this all on you?

      JACKSON:              Huh? I mean, you, you got ...

      (end of Side I of tape)

      Det Hoolihan:         ... about it.. .

      JACKSON:              .. .I don't know nothing 'bout it, man, I mean, I ain't, I ain't gonna say, hey,
                            you know what I'm saying, I mean, if we was, if, if you was my worse
                            enemy, you know what I'm saying, I mean, I ain't gonna put nottin' on
                            you,you know what I'm saying, just, it ain't true, man ... you know, flat out,
                            man, I mean, I ain't never been the type of person to do that, man, ifl do
                            something, man, I take the fall for it myself, man, 'cause ifl did. But if
                            you did, if you had something to do with it, oh, most definitely, you know
                            what I'm saying, you got to go with me. But if you ain't got nottin' to do
                            with it, man, I mean, I'm just, like, man, you know, I'm, I'm taking your
                            life, you know what I'm saying ...

      Det Hoolihan:         Yeah, but just because Donna wasn't there, and didn't pull the trigger,
                            doesn't mean she didn't have nothing to do with it...

      JACKSON:              I mean, Donna ain't, Donna ain't had nothing to do with it at all, man.
                            The lady ain't had nothing to do with it, man, you know what I'm saying, I
                            mean, all the lady was was nice. You know what I'm saying, I mean, I
                            mean, and, man, it hurted me, you know what I'm saying, after that
                            happened, man, you know. I mean, I ain't gonna just sit here, you know
                            what I'm saying, (inaudible) ... and drag the lady (inaudible) ... after nothing,
                            man, you know.

      Det Hoolihan:         Does Donna know today that you shot her husband?

      JACKSON:              I don't know.

      Det Hoolihan:         Did you ever tell her?

      JACKSON:              (Inaudible) ... I mean, this, this, this is over with, man, it's over with, man,
                            you know what I'm saying, I mean, you're here, man, you know what I'm
                            saying, (inaudible) .. . me, man, I told you what I did, man, it's over with.
                            As far as anything else that happened, I mean ...

      Det Hoolihan:         Are you sure you don't want to come out with the rest of it? And tell the
                            rest of the truth ...


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      JACKSON:        Ain't, ain't, ain't, ain't, that' s it, man, that's it. That's it, sir. You know.

      Det Hoolihan:   But if you want to give it out .. .let it out.

      JACKSON:         Ain't, ain't, ain't nothing else to give out, man, you know what I'm
                      saying, ain't nothing to give out, man. You know what I mean, ain't, like I
                      say, man, I'm not gonna, I'm not gonna sit here, you know what I'm
                      saying, and try to stack a lie on top of a lie on top of a lie, you know what
                      I'm saying, I mean, I'm gonna come, I'm, I'm, I'm, I'm gonna give it to
                      you real, you know what I'm saying, and just hopefully, you know what
                      I'm saying, you go ahead and take it in (inaudible) ... you know, I mean, I
                      ain't gonna sit here and, and try to cover up, man, for what? You know,
                      shit. Why am I gonna try to cover up for it, I mean, you know, shit
                      happened, man.

      Det Hoolihan:   Well, you got feelings for Donna, I mean, you know.

      JACKSON:        I me?Il, come on, man, with that man, I mean, shit, man, I mean, I don't, I
                      mean I don't be all up in his shit like that, man, you know what I'm
                      saying, I mean, shit, I don't, it, it, it ain't all up in there like that, man, you
                      know what I'm saying, feelings or no feelings, shit, you know. I mean ...

      Det Hoolihan:    Did you ever write any letters at all?

      JACKSON:         The only, the only, the only feelings, you know what I'm saying, that I
                       really got for, you know what I'm saying, a woman, and, and, and that's
                       my momma, 'cause you know what I'm saying, my momma gonna be
                       here, you know what I'm saying, regardless. You see what I'm saying, so I
                       can't sit here, you know, and depend on no broad, you know what I'm
                       saying, 'cause a broad gonna do what she wanna do, you know what I'm
                       saying, so, I mean, I ain't, I ain' t...

      Det Hoolihan:    Did you ever write any letters to Donna?

      JACKSON:         Only, I, I, yeah, I used to write her, man, you know what I'm saying, I
                       mean, 'cause, it like this, man, I mean, we, was like, you know what I
                       mean, we, we, we good friends, man, you know what I'm saying, I mean, I
                       ain't gonna ...

      Det Hoolihan:    Did Robert ever know you wrote letters?

      JACKSON:         Man, I don't know what he knew, man. I don't know what he knew, man,
                       you know what I'm saying. Like I say, me and him, we ain't never had no


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                      beef, you know what I'm saying, or no confrontation, you know what I
                      mean, about, you know what I'm saying, about Donna, you know, 'cause it
                      wasn't, you know what I'm saying, I mean, shit didn't escalate like that,
                      you know what I'm saying.

      Det Hoolihan:   Did you ever talk to Donna on the phone from prison?

      JACKSON:        (Inaudible) ...

      Det Hoolihan:   I mean, you know, she call you; you call her? You know, chat?

      JACKSON:        This, I mean, this, it's, it's, it's left alone, man, you know what I'm saying,
                      I mean ...

      Det Hoolihan:   I was just asking ...

      JACKSON:        I'm saying, but I mean, what, what, what do, me, you know what I'm
                      saying, what, what I got to with her, you know what I'm saying, got to do
                          0


                      with this, though, man, you know what I'm saying. I mean, that chatting
                      and all that, you know what I'm saying, that's, that's all irrelevant, man,
                      you know what I'm saying, I mean, ain't, a:in't trying to think back to what
                      I used to do, man, I mean, man, I told you what happened, man, you know
                      what I'm saying, I'm just trying, you know, I mean, I'm trying, you know,
                      I'm still trying to get my head, right, man, you know what I'm saying; I'm
                      still fucked up, man. I'm still fucked up.

      Det Hoolihan:   So Donna had nothing to do with, uh, this, right?

      JACKSON:        Nah, she ain't had nothing to do with it, man. And I wouldn't, and, and,
                      and, and, and, and furthermore, you know, if I'm, if I'm gonna do
                      something like this, intentionally, you know what I'm saying, I mean, I'm
                      going, I'm gonna ride alone, you know what I'm saying, cause, I, I ain't
                      gonna never tell on me, you know what I'm saying. So, I, ...

      Det Hoolihan:   Did you ever ...

      JACKSON:        ... I, don't, I ain't never, I ain't never, I ain't never used nobody, you know
                      what I'm saying, for me to try to get here. Ifl'm going to do something,
                      I'm going to do it by myself, man, you know what I'm saying. I mean, like
                      I say, it wasn't like nottin' ...

      Det Hoolihan:   Did you ever talk to Donna or ever write in letters, back and forth, about,
                      you know, you need a ski mask, you need gloves, you needed to get some


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                      things, so the job can be done?

      JACKSON:        (Inaudible) ...

      Det Hoolihan:   So ifthat was in the letter, that, it would be made up, right?

      JACKSON:        (No response)

      Det Hoolihan:   I mean, you wrote it. It's your handwriting. So how do you explain that?

      JACKSON:        How'd explain what?

      Det Hoolihan:   Why would you need a ski mask?

      JACKSON:        I mean, yeah, that's, that's what I'm saying ...

      Det Hoolihan:   Why would you need gloves?

      JACKSON:         .. .I'm saying, that's what I'm saying, you know.

      Det Hoolihan:    Why would you need Donna to let you in?

      JACKSON:         I mean ...

      Det Hoolihan:    You got to be in the house, but, you know, when he comes home.

      JACKSON:         Loo key here, check this out; check this out ...

      Det Hoolihan:    Okay, check it out, go ahead.

      JACKSON:          If this, man, look here, man, like I say, man, if there was something
                       intentionally, you know what I'm saying, planned on doing, man, I mean,
                       like I say, man, I, cut him down in my neck of the woods, man, you know
                       what I'm saying, you know.

      Det Hoolihan:    Yeah, but this is the way you wanted it done.

      JACKSON:         I don't know ...

      Det Hoolihan:    'Cause you guys wanted to be together.

      JACKSON:         I didn't care, man, I mean, it's like this.



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      Det Hoolihan:   Robert knew because he ...

      JACKSON:        I can ...

      Det Hoolihan:   ... he found your letters .. .

      JACKSON:        I can, I can have, I can have, you know what I'm saying, I mean, I'm, I'm
                      entitled to any female I want, you know what I'm saying, I mean, if you,
                      you know what I mean, if, if, if, we, we don't be together, you know what
                      I'm saying, and you know, you know that you, you know what I mean, you
                      got a little, a, a, a string attached, you know what I'm saying, I mean, well,
                      hell, you know what I'm saying, if you, if you, if you wanna be with me,
                      you know what I'm saying, you got to go ahead and get rid of that, first,
                      you know what I'm saying, I mean, you know what I'm saying, then go
                      ahead and get rid of that first, you see what I'm saying.

      Det Hoolihan:   Well, I know what you're saying, but...

      JACKSON:        But, look ...

      Det Hoolihan:   Were you and Donna kicking it?

      JACKSON:        Ah, I told you how the fuck it is, man. What happened, man, you know
                      what I'm saying, was nottin' that makes me happy, man, you know what
                      I'm saying, it ain't got nottin' to do with if me and Donna kicked it, or not,
                      you know what I'm saying, I mean, 'cause for one thing like I say, man,
                      you know, Donna ain't got shit to do with it, man, you know what I'm
                      saying, shit, you know what I'm saying, I mean, it happened, you know
                      what I'm saying, which, which it wasn't supposed to happen, but, hell, as
                      far as anything else, man, I mean ...

      Det Hoolihan:   I think it was supposed to happen, but it...

      JACKSON:        Ah ...

      Det Hoolihan:   ... a couple things backfired on you.

      JACKSON:        I mean, shit, I mean, well, well, lookey here, man, I mean, if, if, if I'm
                      sitting here thinking, thinking like that, man, don't you think I would, you
                      know, I would get everything cleaned up, man, you know what I'm saying,
                      before I'm going to go here and do something like this, man.

      Det Hoolihan:   What do you mean by cleaned up?


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     JACKSON:         I'm saying, though, you know what I mean, you said that, you know, shit
                      didn't probably go down right, I mean, but, if, ifI'm gonna do something
                      like that, you know what I'm saying, I mean, I'm gonna leave, I'm gonna
                      leave a clean trail, you know what I'm saying. You see, I mean, I mean, it
                      wasn't like, I mean, everything I did, you know what I'm saying, I mean, I,
                      I, you know what I'm saying, I mean, I wasn't trying to, I wasn't trying to
                      sit here, you know what I'm saying, I mean, and, hide nottin', you know
                      what I'm saying, I...

     Det Hoolihan:    Let me ask ...

     JACKSON:         .. .I mean, I keep it real.

     Det Hoolihan:    If that's a fair statement, let me ask you this. You said you got rid of the
                      gun off the by-pass, right? Right?

     JACKSON:         (No response)

     Det Hoolihan:    You threw it out the passenger window.

     JACKSON:         Uh-huh (affirmative) ...

     Det Hoolihan:    Right?

     JACKSON:         Uh-huh (affirmative) ...

     Det Hoolihan:    Then why was it laying on the kitchen floor? How do you explain that?

     JACKSON:         Shit. (Inaudible) ...

     Det Hoolihan:    I mean, you got to explain that. Same gun you describe, laying on the
                      kitchen floor. But you threw it out the by-pass.

     Det Monroe:      Nate, we're just...

     JACKSON:         Like I said, man ...

     Det Monroe:      We're trying to understand that, I know you say it's prison talk, but you
                      and Donna had these letters going back and forth. You tell you have it
                      planned out, it's all in your head; you know what needs to be done.
                      You're street-wise, you know what you got to do. Day after you get out of
                      prison, it's got to be done.



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     JACKSON:         Like I said, man, this is all, like I said, man, it was all, it was all ...

     Det Monroe:      But it hasn't ...

     JACKSON:         ... you know what I'm saying, I mean, it was all, man, it was like this, man,
                      you know what I mean, I always, you know, always try, you know what
                      I'm saying, 'cause, you know, when she, she look at me, as you, you know
                      what I'm saying, she look at me, as you, I mean, she look at me ...

     Det Hoolihan:    Why don't you turn around so we can look at you ...

     JACKSON:         ... as a little thug, so I mean, you know, I'm sorry.. .

     Det Hoolihan:    She did, too?

     JACKSON:         Huh? I mean, I'm, I'm saying, I mean, from the way I dress, you know
                      what I'm saying, I mean, she, she don't really know what a thug is, you
                      kno~ what I'm saying, I mean, the, the dress-ware, you know what I'm
                      saying, okay, man, you look tough, you know, I mean, just like, I mean, I
                      just, you know, say shit, you know what I'm saying, (inaudible) ... you
                      know, like I used to tell broads, you know, and shit, I was a big dope-man,
                      you know what I'm saying, I had this and that, I ain't had shit. See what
                      I'm saying. I mean, just, I just, you know, just, just rammed in there, you
                      knowwhat I'm saying ...

     Det Hoolihan:    How do you explain the gloves? I mean, they got them gloves there with
                      blood of them. Gloves will probably come back to you. I mean, a part of
                      the glove is torn where the, you were shot, where Robert shot you, right?

     JACKSON:         Uh-huh (affirmative) ...

     Det Hoolihan:    Okay,why would you wear gloves into the house?

     JACKSON:         Man ... that's I'm saying ...

     Det Hoolihan:    'Cause you didn't want the fingerprints, right? I mean, it was all in your
                      letter.

     JACKSON:         If, look, if it was like that, man, you know what I'm saying, I mean, I ain't
                      gonna, you know what I'm saying, I mean, I ain't gonna leave, I ain't
                      gonna leave no trail behind me, man, you know what I'm saying, ifl'm
                      gonna do something like that, you know what I'm saying ...



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      Det Monroe:          Doesn't it get messed up when you get shot?

      JACKSON:             Huh?

      Det Monroe:          The whole trail gets messed up when you get shot.

      JACKSON:             What I'm saying don't matter, I mean, if, if, ifl get shot or not, man, you
                           know what I'm saying, I mean, if, you know, I mean, ifl'm gonna do
                           something like this, intentionally, you know what I'm saying, I mean, shit,
                           I mean, I, why am I even gonna even get shot? You know what I'm
                           saying ... that's what I'm saying.

      Det Monroe:          Well, nobody plans on that. Where else, after you shoot Robert, where do
                           you go in the house?

      JACKSON:             Uh, .... (inaudible) get killed, man. It's, it's, it's over with, man, you know
                           what I'm saying, I mean, I'm through, man, you all (inaudible) ... you know
                           what I'm saying, take me whereever, man, I mean, I ain't got no more else
                           to say, man, you know what I'm saying, this, this, this is ended, and over
                           with, man, you know what I'm saying, I mean, you guys ...

      Det Hoolihan:        Okay ...

      JACKSON:             ...just get this shit over, you know, you know what I'm saying, I mean, I
                           got, you know, I mean, I have to go lay down, I don't want to, but shit, I
                           got to, you know.

      Det Hoolihan:        Alright, you want to stop, then?

      JACKSON:             Yeah.

      Det Monroe:          Okay. It's now three-thirteen (3:15), we'll conclude the interview with
                           NATHANIEL JACKSON.

      ** END OF TAPE**

      (Transcribed by D Durig, Trumbull Co Prosecutor's Office, 01/28/2002)




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                              DEPARTMENTOFTHETREASURY
                         BUREAU OF ALCOHOL, TOBACCO AND FIREARMS

                                    CERTIFICATION


         I, Udora M. Hugee, am the Custodian of Records , for the
                                                                                                  327A
         Bure au of Alcohol, Tobacco & Firearms, National Tracing
         Center Division, Nat i onal Tra c ing Branch.  I herby certify,
         unde r the penalty of pe rju r y that the followin g is true a nd
         correct:

         The attached records, consisting of two pages of the
         Firearms Trace Summary for a Taurus, . 38 caliber , serial
         number JH14188 and a Taurus . 38 caliber , model 85 and
         serial number IL45854.

               (A)   were made at or near the time of the occurrence
                     of the matter s set forth by, or from, informat i on
                     transmitted by a person with knowledge of those
                     matters :
               (B)   were kept in the course of regu l arly conducted
                     activity of the Bureau of Alcohol , Tobacco &
                     Firearms, National Tracing Center Divis i on ,
                     Nationa l Tracing Branch .
               (C)   were made by the reg ul ar ly conduc t ed a ctivity of
                     the Bureau of Alcohol , Tobacco & Fi rearms ,
                     National Tracing Cen t er Divisi on , National
                     Tracing Branch as a regular business practice.

         Signed under the pains and penalties of perjury this
            ,,2_ ,;L day of Or.!_-r , 2002 .




         Udora M. Hugee
         Custodian of Reco rds


         The above named individual , personal l y known to me ,
         appeared before me and executed this document as of his/her
                                       2           civ
                                         day of _d _   he~·· , 2002 .
         fr ee will, th i s  ·"J ':J ~
                            '7 ~                     __ _,_




                                                                      OFFICI.I.L SEAL
                                                                   NOTARY PUBLIC
                                                                STATE OF WEST VIRGINIA
         Signature                                                 DANE. WALSH
         Notary Public                                          2046 WINCHESTER PIKE
                                                          M MARTI.NSBURG , WV 25401
                                                           Y Ccmm1ss1on Expires August 25, 2009




                                    WWW.ATF.TREAS.GOV




                                                                      DONNA ROBERTS v WARDEN
                                                                       CASE NO. 4:21-cv-00368-DAP
                                                                          APPENDIX – PAGE 5589
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                                    DEPARTMENT OF THE TREASURY
                              BUREAU OF ALCOHOL, TOBACCO AND FIREARMS
                                      NATIONAL TRACING CENTER
                                          Phone: (800) 788-7133   Fax: (800) 578-7223
   327B                                         Print Date: October 21, 2002
-----------------lt41U=M9,'i~i•M34i•MV¥i&! ■--------------
                          Trace Number: T20020000426                Request Date: January 02, 2002

      MICHAEL F SOLAN                                              FIREARM INFORMATION
      YOUNGSTOWN FIELD OFFICE                                           Manufacturer: TAURUS
      100 EAST FEDERAL PLAZA, RM .no                                            Model: 85
      YOUNGSTOWN, OH -US0J-1838                                                Caliber: 38
                                                                       Serial Number: IL46854
      Badge No: -1-295                                                            T~·pe: REVOLVER
      Jnyestigation No: 773065020002                                           Countr~·: BRAZIL
                                                                              Im1101ier: TAURUS INTERNATIONAL INC. MIAMI.
                                                                          Obliterated:
                                                                   ldentif~·ing Marks:
                                                                                NIBIN:
                                                                          Gang Name:

                                                                   RECOVERY INFORMATION Recow1~· Date: 12/ 11/2001
                                                                                          Time to Crime:-l-278 days
 PURCHASER INFORMATION Purchase Dat.e: 03/26/ 1990               254 FONDERLEC
DONNA M ROBERTS                                                  WARREN. OH
722 NE 203 LN                                                    UNITED STATES OF AMERICA
MIAMI. FL 33179                                                  Possessor:
UNITED ST ATES OF A:MERICA                                        OB:
DOB: 05/22/ 19-l--l-                                              OB:
POB: YOUNGSTOWN. OH UNITED STATES OF AivlERICA
Race: White              Height: -1- ft 11 in.                     DEALER INFORMATION                       FFL: 15914911
 Sex: Female             Weight: 125 lbs.                                                                 Out of Business
ID 1: FL DRIVER'S LICENSE         #: G-1-15176-1--l-682          SHOOTERS EMPORIUM
ID 2:                             #:                             800 NE 45TH ST
                                                                 OAKLAND PARK FL 3333-l--0000
  ADMINISTRATIVE INFORMATION                                     Phone: NIA                             Shifl Date: 03/23/ 1990




                                              i-i••M$ffia1•)1#J=l-i•l!iti
THE TRACE HISTORY OF THIS FIREARM WAS DERIVED FROM THE RECORDS OF A FEDERAL FIREARMS LICENSEE (FFL)
THAT HAS DISCONTINUED BUSINESS AND HAS SUBMITTED THEIR RECORDS TO THE NATIONAL TRACING CENTERS
(NTC) OUT-OF-BUSINESS RECORDS SECTION (OBR) AS REQUIRED BY FEDERAL LAW.    THEREFORE, THE TRACE
RES UL TS MAY NOT REFLECT THE COMPLETE SALES HISTORY OF THIS FIREARM. IF YOU HA VE QUESTIONS ABOUT
THIS TRACE, PLEASE CONTACT THE NATfONAL TRACING CENTER AT 800-788-7133.

Additional Remarks:




The information in this report must be validated with the Federal Firearms Licensee (FFL) prior to use in any criminal proceedings.

(I of l)                                             Trace: T20020000426                                                  Pagel of l




                                                                                             DONNA ROBERTS v WARDEN
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                                                                                                 APPENDIX – PAGE 5590
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                                    DEPARTMENT OF THE TREASURY
                              BUREAU OF ALCOHOL, TOBACCO AND FIREARMS
                                      NATIONAL TRACING CENTER
                                          Phone: (800) 788-7133   Fax: (800) 578-7223
        327C                                    Print Date: October 21, 2002

---------------illiW=M,Vi~i•#341•ViU¥i,t ■--------------
                          Trace Number: T20010239268               Request Date: December U, 2001

    DET SGT PAULS MONROE                                           FIREARM INFORMATION
    HOWLAND TOWNSHIP PD                                                Manufacturer: TAURUS
    169 NILES CORTLAND ROAD                                                      Model:
    WARREN, OH .i.us.i-0000                                                     Caliber: 38
                                                                       Sctial Number: JH14188
    Badge No: 411                                                                 Tnie: REVOLVER
    Im·estigation No: 01075868                                                 Country: BRAZIL
                                                                              Im11011er: TAURUS INTERNATIONAL INC. l'v1IAML
                                                                          Obliterated:
                                                                   ldeutif~·ing Marks:
                                                                                NIBIN:
                                                                          Gang Name:

                                                                   RECOVERY INFORMATION Recowr~· Date: 12/14/2001
                                                                                        Time to Crime:-1-069 days
  PURCHASER INFORMATION Purchase Date: 10/2 -1-/ 1990
ROBERT STEVEN FINGERHUT
722 NE 2fB LN
MIAMI. FL 33179                                                  Possessor: ROBERT STEVEN FINGERHUT
UNITED ST ATES OF AMERICA                                         OB:
DOB: 10/2-l-/1 9-1-5                                              OB:
POB: NEWARK. NJ UNITED STATES OF AfvfERICA
Race: White             Height: 5 ft 8 in.                         DEALER INFORMATION                       FFL: 15954346
  Sex: Male             Weight: 190 lbs.                                                                  Out of Business
ID 1: FL DRIVER'S LICENSE       #: F.5 26777-1-5 38-l-           NATIONAL GUN SALES INC
I.D 2:                          #:                               3130 SW 19 ST
                                                                 PEl'vIBROKE. FL :no09-0000
 ADMINISTRATIVE INFORMATION                                      Phone: N/A                            Ship Date:




                                              1-i•MiMtiWl•Jiilli•ili.i
THE TRACE HISTORY OF THIS FIREARM WAS DERIVED FROM THE RECORDS OF A FEDERAL FIREARMS LICENSEE (FFL)
THAT HAS DISCONTINUED BUSINESS AND HAS SUBMITTED THEIR RECORDS TO THE NATIONAL TRACING CENTERS
(NTC) OUT-O F-BUSINESS RECORDS SECTION (OBR) AS REQUIRED BY FEDERAL LAW .   THEREFORE , THE TRACE
RESULTS MAY NOT REFLECT THE COMPLETE SALES HISTORY OF Tl-ITS FIREARM . IF YOU HA VE QUESTIONS ABOUT
THIS TRACE, PLEASE CONTACT THE NATIONAL TRACING CENTER AT 800-788-7133.

Additional Remarks:




The information in this report must be validated with the Federal Firearms Licensee (FFL) prior to use in any criminal proceedings.

                                                     Trace: T200 l 0239268                                              Page I of 1




                                                                                             DONNA ROBERTS v WARDEN
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                         DATE / 2. - ~.._~           TIME     p. n-"            ~M.
                         RECEIIIEO FRQM %_,:-/ rt            BY ~
                         DATE~.~--'-"- '"-· . TIME f i!'S- ~M,
                         RECEM:o l"ROM _ _ _ _ _ ey _ _ __ _ _ __

                         DATE-· - -- -               TIME _ __ _ __ _ A.M.tP.M.

                            PO!..'CF. .Slfl'?:YlJEPOT.COM     TOI.!. FREE 888-226-1951




                                                                                             DONNA ROBERTS v WARDEN
                                                                                              CASE NO. 4:21-cv-00368-DAP
                                                                                                 APPENDIX – PAGE 5592
                                                              Case: 4:21-cv-00368-DAP Doc #: 12-24 Filed: 01/14/22 187 of 512. PageID #: 12463




              X




r-~=
              X                                                             (*") ... -*039           8B2                  (330) 609-7812 23994690213                                                                                12/06/2001 13:02:06 00:1000 DTMF O Call Accepted                                                                         Timeout, call ended
                                       ·-      · -·- ---·--··                                                             ·-    --- •·· · --•--·--·· "·----~--- -- -,---- ·-•·-            ···-······· -
              X                                                             (***) *'*-*038          8B1                   (330) 609-7812 23994690213                                                                                12/02/2001 15:47:44 00:10:00 DTMF O Call Accepted                                                                        Timeout, call ended
                                                                                        _______,._
                                                                                                   ----- -- --        -                                                                                                                                          --····-••'••- -.-------- -··
              X                                                             (***) ***-*041          8B4                   (330) 609-7812 23994690213                                                                                12/01/2001 09:10:00 00:09:53 DTMF O Call Accepted                                                                        Inmate hung up
                                                                                                                                                                                                                                    - ·--·-··•-·••--·-- ·•
16            X                                                             (***) ···-•040           8B3                  (330) 609-7812 2399469021311/29/2001 14: 15:20 00:10:00 DTMF O Call Accepted                                                                                                                                                       Timeout, call ended
I                                                                                                        •- - --•------- ·-·- ···· - -------                             •·-- - ··-··- ---- --•----
    7         X                                                             (***) ***-*038           8B1                 (330) 609-7812 23994690213 11/25/2001 17:11 :26 00:10:00 DTMF O Call Accepted                                                                                                                                                       Timeout, call ended
                                                                                                                                         -- ---- -- --··- - •--·- --·------······- -···-····- •·-·-                                                                                      --       ---·•-······- ····---
8             X                                                             (***) ···-•041           8B4              (330) 609-7812 23994690213 11/24/2001 15:31 :20 00:10:00 DTMF O Call Accepted                                                                                                                                                          Timeout, call ended
                                                                                                                                                 . -- ·--•-.. "-•·-· ·- -·---- ---- - -
9             X                                                             (***) ***-*038           8B1              (330) 609-7812 23994690213 11/24/2001 09:43:12 00:10:00 DTMF O Call Accepted                                                                                                                                                           Timeout, call ended
                                                                                                        ·------·---·- ----.-
    10        X                                                             (***) ***-*040           8B3              (330) 609-7812 23994690213 11/22/200113:01:44 0010:00 DTMF O Call Accepted                                                                                                                                                             Timeout, call ended
                                                                                                                          ____ _____________ .,_ _____ _
                                                                                                                                                  ,, _______
                                                                                                                                                                                                                                                                                     ·- ------      ----- - ··- •·-- -
111           X                                                             (**'*) ••*-*040          8B3                  (330) 609-7812 23994690213                                                                                11/1 7/2001 09:15:57 00:10:00 DTMF O Call Accepted                                                                       Timeout, call ended
                                                                                                                                                                     -   • • •••H->•hO -   •"• •••• •••••••• •••• • " ~• ~• -   •
                                                                                                                                                                                                                                    - - ---
    12        X                                                             (•**) ***-*040           8B3                  (330) 609-7812 23994690213                                                                                11/15/2001 13:03:47 00:10:00 DTMF O Call Accepted                                                                        Timeout, call ended
                                                                                                                                                                                                                                                   --·--·- ··· · -·"···-- --•·- ·-
    13        X                                                             (**') ···-•035           8B1            (330) 609-7812 23994690213 11/11/2001 18:24:54 00:10:00 DTMF O Call Accepted                                                                                                                                                             Timeout, call ended
                                        --· - •··- ••··- "-                                             ··-·- -·-- ---- ··• -•"" ••-- ---· -·
14            X                                                             ('**) ***-*039           8B2            (330) 609-7812 23994690213 11/10/2001 09:31 :47 00:10:00 DTMF O Call Accepted                                                                                                                                                            Timeout, call ended
                                                                                                                                                               ._,._-··
15            X                                                             C'**) •••-•039           8B2                  (330) 609-7812 23994690213                                                                                11108/2001 13:01 :44 00:10:00 DTMF O Call Accepted                                                                       Timeout, call ended
                                                                                                                                                                     -···•----~. - -- -··--- ·--••- -····- "'"'-                                                                         ·- •-·-------··- ·
                                                                                                                                                                                                                                                                                                                                                                                               I
                                                                                                                                                                                                                                                                                                                                                                              ··-- . --- -----·-1
16            X                                                             (***) ***-*038           8B1                  (330) 609-7812 23994690213                                                                                11103/2001 09 07:23                                  00:10:00 DTMF O Call Accepted                                       Timeout, call ended
                                                                                                       .. ,.
117           X                                                             (***) *'*-*038           881                  (330) 609-7812 23994690213                                                                                10/27/2001 0904:03                                   00 10:00 DTMF O Call Accepted                                       Timeout, call ended
         ----- ------ -- - ---···
18            X                                                             (*") *"-*040             8B3                  (330) 609-7812 23994690213 10/25/2001 13:00:52 00 10:00 DTMF O Call Accepted                                                                                                                                                       Timeout, call ended
                                                                                                    -- -- -- --                                     ·-                   -- ---•-<W•••···-·-·'"·-..-· • - ·-----•-• • ··-
19                                                                          (***) ..._*040           8B3                  (330) 744-4578 23994690213 11/18/2001 12:39:54 00:00:00 Validation Denied                                                                                                                                                          Denied No Collect Call (613)
                                                                                                                                                                                                                                . ----- ~------------ -·-·                                                                 -- -··--- •··-·•"•.S••--.-----·
20                                                                          (***) ••*-*038           8B1                  (330) 609-7812 23994690213                                                                                11/25/200117:09:16 00:00 00 Called Party Hung Up                                                                         Call not completed (no code)
                                                                                                                                                                                                                                    ~·
21                                                                          (***) *'*-*040           8B3                  (330) 609-7011 23994690213 11 /1812001 12:40:01                                                                                                                00:00 00 Ring No Answer                                             Call not completed (no code)
                                                                                                                                     _.,___________ _ __ . .
                                                                            (***) **'-*040
                                                                                                     -
                                                                                                     8B3                  (330) 609-7011 23994690213
                                                                                                                                                       .,_,      ,



                                                                                                                                                                                                                                    11104/2001 16 52 20
                                                                                                                                                                                                                                                                                      •· -    -" •"' - " "~ """ _ "


                                                                                                                                                                                                                                                                                         00:00:00 Ring No Answer
                                                                                                                                                                                                                                                                                                                      __
                                                                                                                                                                                                                                                                                                                                                             Call not completed (no code)
122

23                                                                          (***) ···-•040          8B3                   (330) 744-4578 23994690213                                                                                11/04/200116:52:16 00:00:00 Validation Denied                                                                            Denied No Collect Call (613)

24                                                                          (***) *"-'040           8B3                   (330) 609-7011 23994690213                                                                                11/18/2001 12:41 :04                                 00:00:00 Ring No Answer                                             Call not completed (no code)
                                                                                                               -- -·--- ---- -----
.25                                                                         (***) ••• -*040          8B3                  (330) 609-7011 23994690213                                                                                11/04/2001 16:54:03 00:00:00 Ring No Answer                                                                              Call not completed (no code)

26                                                                          (* .. ) ···-•038        8B1                   (330) 609-7812 23994690213 11/01/200115:11:18 00:00:00 Busy                                                                                                                                                                        Call not completed (no code) I
                                                                                                                                                                     " ·•-

27                                                                          (***) ***-*038          8B1                   (330) 609-7011 23994690213 11/01/200115:10:23 00:00:00 Ring No Answer                                                                                                                                                              Call not completed (no code)

28                                                                          (***) ***-*039           8B2                  (330) 609-7812 23994690213                                                                                11/08/2001 13:00:50 00:00:00 Validation Denied                                                                           No STBL Record (708)
         ---• - -----··'" --·-·"'·"- ·-- ···· .......,....      --- - ---- · - - ··                                                                                                                                                                          --.--------------
                                                                                                                                                                                                                                                                                                                                                                                      Page# 1




                                                                                                                                                                                                                                                                                                                                                                       DONNA ROBERTS v WARDEN
                                                                                                                                                                                                                                                                                                                                                                        CASE NO. 4:21-cv-00368-DAP
                                                                                                                                                                                                                                                                                                                                                                           APPENDIX – PAGE 5593
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                                                                                                                                                   Call Detail       i i - 11111flil   Generated on 12/14/01 9:39 AM.
                                                                                                                                                                                                                                                0
                                                                                                                                                                                                                                                                                                            monyak
                                                                                                                                                                                                                                                                                                            m m;, ,um                      flfJI
                                                                         (***) ***-*038                                    8B1                       (330) 609-7011 23994690213 11/01/200115:12:01 00:00:00 Station Hangup During                                                                                                                                                                       Call not completed (no code)
                                                                                                                                                     -·                   .-~•-····-----··- - --*••·-·--     QutDial .                                                                                                                                                                                  - - ··- - · -------~ ----··-·· ···- ·- -- ··•--···-   ··-
i30                                                                      (**') ***-*038                                    881                       (330) 609-7812 23994690213 11/01/2001 15:08 37 00:00:00 Busy                                                                                                                                                                                       Call not completed (no code)
                                                                                                                                                                                                                                                                                                                                                                   --
    31                                                                   (***) ***-*038                                    881                       (330) 394-9453 23994690213 11/01/2001 15:08:01 00:00:00 Station Hangup During Called Call not completed (no code)
                                                                                                                                                                    --- •-'-·- --------·· · - •--· -- -·-----  ·------~--- PartyYrompts _ _
    32                                                                   (***) ***-*038                                    881                       (330) 609-7812 23994690213 11/01/2001 15:07:36 00:00:00 Busy                           Call not completed (no code)
                                                                                                                                                                                                                           -·
i33                                                                      (***) ••• -*038                                   aB ·1                     (330) 609-7011 23994690213 11/01/2001 15:06:41 00:00:00 Ring No Answer                 Call not completed (no code)
I                        -----••·- ·•~--- ----·------··"- ---- - - --    - --~---·-------- -
                                                                                                                                                                                                              ______ ___ ·-·-··•-                                                                                               ,,




    34                                                                   (***) ***-*038                                    8B1                       (330) 609-7812 23994690213 11/01/200115:06:15 00:00:00 Busy                            Call not completed (no code)

    35   I               I             I               I                I(*.. ) ***-*038                                   8B1                       (330) 609-7011 23994690213 11/01/2001 15:05:16 00 :00:00 Ring No Answer                                                                                                                                                                            Call not completed (no code)
                                                                                                                                                                                ---- ,_ _.. _______________________.____                                ,.
                                                                                                                                                                    ·--
    36                                                                   (***) ***-*038                                    8B1                       (330) 609-7812 2399469021 3 11/01/2001 15:04:51 00:00:00 Busy                                                                                                                                                                                      Call not completed (no code)
~ -- -----
!37          --·- l      i
                                                                         (***) ..._*038                                    881
                                                                                                                                                                                                 --·-
                                                                                                                                                     (330) 609-7011 23994690213 11/01/200115:03:56 00:00:00 Ring No Answer                                                                                                                                                                              Call not completed (no code)

    38                   I                                               (***) ***-*038                                    8B1                       (330) 609-7812 23994690213 11/01/2001 15:02 :59 00:00:00 Busy                                                                                                                                                                                      Call not completed (no code)
                                                                                                                                                                     -~---------- ------•--.----"·---·· ·--·----··                                                                                                                                          ---···-··--·--··- -··
    39   I               I             I               I                I(***) ***-*038                                    8B1                       (330) 609-7812 23994690213 11/01/2001 15:01:46 00: 00:00 Busy                                                                                                                                                                                      Call not completed (no code)

140                                                                      (***) ***-*038                                    8B1                       (330) 609-7812 23994690213 11 /01/2001 15:00:32 00:00 :00 Station Hangup During                                                                                                                                                                    Call not completed (no code)
                                                       I                                                                                                                                                       QtJtOial.                                                                                                                                                                                                                                       __
         I               I                                                                                                                                                                                                        -                                                                                                                                                                                                                                 ,. .


!41                                    I               I                 (***) •**-*038                                    8B1                       (330) 609-7812 23994690213 11/01/2001 15:09:58 00:00:00 Busy                                                                                                                                                                                       Call not completed (no code)

i42                                                                      (***) ***-*038                                    8B1                       (330) 609-7011 23994690213 11/01/2001 15:09:02 00:00:00 Ring No Answer                                                                                                                                                                             Call not completed (no code) 1
!                                                                    ·-- ,--- ~
                                                                              --                                            --·-- -··• ·--•---                                                                                                                                                                -·-•-·-·
143                                                                      (***) ***-*038                                    8BI                       (330) 74 7-6915 23994690213 10/21/200117:41:31                                                                                                         00:00:00 Validation Denied                                                                  Casual Block (216)
!
i44                                                                      (.. *) *** -*038                                  8B1                       (330) 609-7011 23994690213 10/21/2001 17:39:39 00:00:00 Ring No Answer                                                                                                                                                                             Call not completed (no code)
                                                                                                                      -                                        "--·             -•-•>o·- ·-···•-"•·-- •.
145                                                                      (***) ***-*038                                    8B1                       (330) 744-4578 23994690213 10/21/2001 17:39:30 00:00:00 Validation Denied                                                                                                                                                                          Denied No Collect Call (613)
I                                                                                                                                                                                 -
146                                                                      (***) ***-*038                                    881                       (330) 609-7011 23994690213 10/21/2001 17:38 :15 00:00:00 Ring No Answer                                                                                                                                                                            Call not completed (no code)
I
             ·- - · -·
147                                                                      (***) ***-*038                                    8B1                       (330) 609-7011 23994690213 10/21/200117:37:14 00 :00:00 Ring No Answer                                                                                                                                                                             Call not completed (no code}
i                                                          - ------·- ~·-··--·•-- ·---- ·-··••-·- --·------ --------- ··- --"····--···~--··- •·                                                                                                                                                             - •·· ·'-••--·---·--··-•··     -                                            ··· ·-···--··
l48                                                                      ( ***) ···-•041                                   8B4                       (330) 609-7812 2399469021 3 10/20/2001 09:19 :56 00 :00:00 Busy                                                                                                                                                                                    Call not completed (no code)
I
\49                                                                      (***) *'*-*041                                    884                       (330) 394-9453 2399469021 3 10/20/2001 09:19:28 00:00:00 Busy                                                                                                                                                                                      Call not completed (no code) j
i
             -·                                                             .·----··- --··-···•·- ··--·•-····-- --·~----                             - ·••-•- · ··           ··- ··---·--•-          -··-- ---~-··•- --•>O•'" "•- o,-·· --··-·····--"'·--- ---•·---·-----·
                                                                                                                                                                                                                     ••     - "• •--- - • .. M -""''-        •"•••••- - •-   •••• •••••• .   - ••--• •---

!50                                                                      (* **) ***-*041                                   884                       (330) 609-7812 23994690213 10/20/2001 0918:43 00:00:00 Busy                                                                                                                                                                                        Call not completed (no code )
I
                                                                                                                           -~--                                                                                                                                                  ··-~ -
1
    51                                                                   (***) ***-*041                                    8B4                       (330) 394-9453 23994690213 10/20/2001 09:18:10 00 00:00 Busy                                                                                                                                                                                       Call not completed (no code)
                                                                                                                                  ------ ·•· ·--     ·                                                          ·•--· -··                                                                                   - ··•- ·"•-'- ••·····-··-- •   ---·---·--   ·
!s2                                                                      (***) ... _*041                                   8B4                       (330) 609-7812 23994690213 10/20/2001 09 :17:42 00:00 :00 Busy                                                                                                                                                                                     Call not completed (no code) ;
                                 ---
i53                                                                      (***) ***-*041                                    8B4                       (330) 609-7812 23994690213 10/20/2001 09:17: 13 00:00:00 Busy                                                                                                                                                                                      Call not completed (no code)
i                                                                                                                                                  ·-~-•                                                             ~----                                                                                                     ··· -
    54                                                                   (***) ***-*041                                    884                       (330) 609-7812 23994690213 10/20/2001 09 :15:52 00:00:00 Station Hangup During Called Call not completed (no code)
                                                                                                                                                                                ......_., ____                P2r1YErSLrnr2ts
    55   I               I             I               I                I(**') ***-*040                                    8B3                       (330) 609-7812 23994690213 10/18/2001 13:56:54 00:00:00 Station Hangup During         Call not completed (no code)
                                                                        I                                                                                                                                     OutQial
    56   I               I             I               I                I(***) ***-•040                                    8B3                       (330) 609-7812 23994690213 10/18/2001 13:55:30 00:00:00 Station Hangup During         Call not completed (no code)
                                                                                                                                                                                                                                                                                                                                           OutOLal ·---·---··- -                    .
                                                                                                                                                                                                                                                                                                                                                                                                                                                        Page# 2




                                                                                                                                                                                                                                                                                                                                                                                                                           DONNA ROBERTS v WARDEN
                                                                                                                                                                                                                                                                                                                                                                                                                            CASE NO. 4:21-cv-00368-DAP
                                                                                                                                                                                                                                                                                                                                                                                                                               APPENDIX – PAGE 5594
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                                                                                    Call Detail Report- Generated on 12/14/01 9:39 AM by cmonyak
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    57      I   I   I     I   I(* **) •·•-•040                    863                   (330) 609-7812 23994690213                                           10/18/2001 13:54:47  00:00:00 Station Hangup During        Call not completed (no code)
                              I                                                                                                              ------.-·····                                 OutDial
    58      I   I   I     I   I(***) ***-*040                     863                   (330) 394-9453 23994690213                                           10/18/2001 13:54:10 00:00:00 Station Hangup During         Call not completed (no code)
                                                                                                                                                                                           OutDial
    59      I   I   I         (*•*) **•-•040                      863                   (330) 609-7812 23994690213                                           10/18/2001 13:53 :21 00:00:00 Station Hangup During Called Call not completed (no code)
                                                                                                                                                                                           Par1Y_Promgts
160                           (**') ***-*040                      863                   (330) 394-9453 2399469021 3                                          10/18/2001 13:52:44 00:00:00 Station Hangup During         Call not completed (no code)
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J61                           (***) ***-*017                      4C1                   (330) 609-7812 23994690213                                           10/14/200113:51 :51 00:00:00 Ring No Answer                Call not completed (no code)
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62                            (**·*) ***-*017                     4C1                   (330) 609-7011 23994690213                                           10/ 14/2001 13:51 :23 00:00:00 Station Hangup During        Call not completed (no code)
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63          I   I   I     I   !(***) *'*-*017        4C1                                (330) 609-7812 23994690213                                           10/14/2001 13:50: 13 00:00:00 Ring No Answer                Call not completed (no code)
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64          I   I   I     I   I(**') •· •-•019       4C3                                (330) 506-0373 23994690213 10/13/2001 12:17:29 00:00:00 Validation Denied             Denied 6NS/COLL Num Exist
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65          I   I   I     I   l(***)'•*-'019         4C3                                (330) 394-9453 23994690213 10/13/2001 12: 15:17 00:00:00 Station Hangup During        Call not completed (no code)
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66          I   I   I     I   !(*.. ) ***-*019                    4C3                  (330) 609-7812 239946902 13 10/13/2001 12: 14:26 00 00:00 Station Hangup During Called Call not completed (no code)
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167                           (**') ***-*019                      4C3
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                                                                                       (330) 609-781 2 23994690213 10/13/2001 08:47:38 00:00:00 Station Hangup During Called Call not completed (no code)
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168                           (*.. ) ***-*016                     484                  (330) 609-7812 23994690213 10/06/2001 17:24 :21 00:00:00 Validation Denied             PIN not found (200)
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69                            (***) •••-         ·o 15            464                  (330) 609-7812 23994690213                                            10/06/2001 17:23:43 00:00:00 Validation Denied              PIN not found (200)
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70                            (***) ***-*016                      464                  (330) 609-7812 23994690213 10/06/2001 17:22:50 00:00:00 Validation Denied                                                         PIN not found (200)

171                           I(**') ..._.013 461                                      (330) 609-7812 23994690213 10/05/200118:31:11                                               00:00:00 Validation Denied            PIN not found (200)

                              c···) ..._•013                                                                                                   -·-
/72
L_ __       I   I   I     I                                       461                  (330) 609-7812 23994690213                                            10/05/2001 18:30:36 00:00:00 Validation Denied              PIN not found (200)




                                                                                                                                                                                                                                               Page# 3




                                                                                                                                                                                                                                    DONNA ROBERTS v WARDEN
                                                                                                                                                                                                                                     CASE NO. 4:21-cv-00368-DAP
                                                                                                                                                                                                                                        APPENDIX – PAGE 5595
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                                                                                       362A

             A50Dl0UL- 10-05-01

             This is MCI Worldcom. This call is originating from an Ohio Correctional Institution and may be
             recorded or monitored. I have a collect call from (inaudible), right? Yes. An inmate at Lorain
             Correctional Institution. If you wish to accept and pay for this call, dial O and hold. To refuse dial
             5 and hang up. Thank you

             Nathaniel:     Hello.

             Donna:         Hello

             Nathaniel:     Hey

             Donna:         Nate.

             Nathaniel:     Yes. How you doing?

             Donna:         Alright.

             Nathaniel:     Alright. Hey listen here, um, I sent you a letter out, you know, telling you how, hey
                            why don't you, could you go get a money order tomorrow? An um, and send me like
                            the differences you know, like, just hold a hundred for me and um, and like send it
                            up here, you know you got to use my grandmother's um, um, address and everything.
                            Put my name and number on the money order.

             Donna:         \\There do I send it to?

             Nathaniel:     Um, down here, um 2075 South Avon Belden Road

             Donna:         Avon
""
             Nathaniel:     Yeah

             Donna:         Avon what?

             Nathaniel:     Belden Road. B-E-L-D-E-N road

             Donna:         Un-huh

             Nathaniel:     Grafton, Ohio

             Donna:         Un-huh



                                                               1




                                                                                         DONNA ROBERTS v WARDEN
                                                                                          CASE NO. 4:21-cv-00368-DAP
                                                                                             APPENDIX – PAGE 5596
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       Nathaniel:   44044. You know you got to put um, LORCI on there too. Yeah and um, hey look,
                    I just, I just sent you a, I sent the letter out yesterday. I sent you out another one out
                    today. And would you, hey would you do something else for me too?

       Donna:       What?

       Nathaniel:   Like um, when you send it, would you send me like, um, three embossed envelopes
                    so I can like you know, like be able to get my money and go to the store.

       Donna:       Send you what?

       Nathaniel:   Three embossed envelopes inside it, cause

       Donna:       Oh sure.

       Nathaniel:   Ok, cause um, I just sent my last one out to you this morning, so you know, cause
                    you know, I mean I want to keep writing Donna, you know.

       Donna:       Nate.

       Nathaniel:   I just wrote you, you know what I'm saying, I wrote a six page letter last night. And
                    I hope you understand this one, man, you know what I'm sa-_ying.

       Donna:       Nate.

       Nathaniel:   I mean I really realize Donna, you know what I'm saying, I mean, I have what what
                    I did. You know what I'm saying. I mean, Donna, you know what I mean when I got
                    down here, man you know what I mean, I like, you know, I found God and you know,
                    got him into my life. You know what I mean. And its like, you know, it just made
                    me change everything, Donna, you know what I'm saying. I mean like I said~ I'm
                    sorry I hurted you Donna, you know. I mean, I really, I really need you in my life
                    Donna, you know what I mean. I'm hurt right now and you know what I mean, I'm
                    lost. You know, I mean, and like I say, you know,_I mean, you know I, I, got closer,
                    you know closer relationship with God. You know, I mean. And I just, you know,
                    I hope you know, you realize it, you know and um, it's like, you know, it gave me
                    time, you know this really gave me time to think, you know. I mean, Donna, before,
                    you know, I mean it was just like always out, I was always wanting to run, you know
                    what I'm saying, but now I ran at the end of the road where I can't run no more, you
                    know what I'm saying. I mean, and I'm tired of hurting myself, you know and other
                    people. You know what I mean. I'm willing to change everything I got to, you know
                    what I mean. As far as, you know, the people I hang out with, you know what I'm
                    saying, all the places you know, and the things. You know I mean, in order you
                    know to est_ablish, you know what I believe in Donna. You know, I'm willing to do


                                                        2




                                                                                    DONNA ROBERTS v WARDEN
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                     all that, get out and get a job. Stay on my job, you know what I'm saying. Get my
                     own place and everything. I want, you know, I mean, I want to do everything you
                     know that I can, you know, to prove to you Donna, you know what I'm saying. I
                     mean, I'm really sorry Donna, you know what I mean. And it would never, you
                     know what I'm saying, I would never do this again man. You know, I mean, I just,
                     I wrote so much last night man. You, I mean I really, I really realize that Donna.
                     You know what I'm saying, your a damn good woman Donna. Damn good woman,
                     you know. You is Donna. A damn good woman. I mean, it hurts be so bad, you
                     know every time I think about it, you know what I mean. I mean, I'm, I'm suffering
                     from it, you know what I'm saying, cause I did something stupid man. You know,
                     but now, you know like I say, you know I mean, I realize, you know, what I did was
                     wrong. You know, I mean and um, I want, you know I mean I want to change that
                     man, you know. Like I say, you know, I mean, what ever it take Donna, you know.
                     I'm through with all that street life, you know, hanging out, you know what I'm
                     saying, I mean I don't want to be around no ___ . You know, like I say I only
                     want to be in Youngstown Donna. You know, I mean I want to move up to Warren
                     somewhere, go ahead and get me a job up there, you know and maintain. Do what
                     I got to do. You know I mean, I would do anything to prove it to you Donna. Cause
                     I know, you know, that I, that there is no other chance, you know what I'm saying.
                     I mean and all the things that I'm doing now, you know, trying to get back with you,
                     I know you know that I can't fuck up no more cause it would never be no more
                     chance, you know. IfI didn't really love you Donna, from deep down in my heart,
                     you knovv I would just leave the situation alone but I can' t Donna. I can't Donna. I'm
                     hurting so bad, you know. I mean, me and my room mate, we sat and talked all night,
                     man you know what I'm saying. I mean he gave me a lot of, you know,
                     encouragement, you know what I'm saying, of wives and shit man and you know it
                     made me really think man, you know. I mean, and I'm coming to you as a man, I
                     admit this, you know what I'm sa1ing. That you know, I mean, I was just, you know
                     I was just childish man, you know. But now I realize what I had, you know what I'm
                     saying and you know, and what I'm losing. You know, and I can't, I can't afford to
                     lose you Donna. You know.     &                  "'




        Donna:       Nate

        Nathaniel:   Yes Donna.

        Donna:       I thought about you every second of every minute of every hour today.

        Nathaniel:   You know Donna, I really mean this from my heart, Donna.

        Donna:       I wrote you five letters today Nate. Five.

        Nathaniel:   You ain't send them out did you?


                                                       3




                                                                                 DONNA ROBERTS v WARDEN
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                                                                                     APPENDIX – PAGE 5598
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       Donna:       No, I didn't have your address. I called. You know, I felt real odd this morning and
                    I felt extra lonely. And I said, you know what, Nate's gone. He's gone away from
                    here. He's far.

       Nathaniel:   Donna listen to me.

       Donna:       And I called the jail and they said yes he's gone. And you know what?

       Nathaniel:   Yes.

       Donna:       I started crying.

       Nathaniel:   Donna, I really, I really Jove you. I mean this from my heart Donna. You know, I
                    mean, I know you heard this a lot of times,

       Donna:       Nate.

       Nathaniel:   But Donna, I mean this,

       Donna:       Nate, Nate.

       Nathaniel:   Yes.

       Donna:       I love you so much.

       Nathaniel:   And I love you too, baby. I really mean it this time Donna. You know, I know it
                    ain't no more times Donna, I can't, I can't live this life no more, Donna. You know
                    like all the threatening stuff I've told you man. I'm sorry man. I would never hurt
                    you no more Donna.

      ~Donna:       I know, I know.

       Nathaniel:   I promise that man. I just said that man to just try_to you know,

       Donna:       I know.

       Nathaniel:   No, I mean, you know, I'm so sorry Donna.

       Donna:       It's alright, I understand.

       Nathaniel:   No, I mean I'm really hurting right now man, you know.

       Donna:       Nate.


                                                     4




                                                                                DONNA ROBERTS v WARDEN
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       Nathaniel:   Donna I need you with me Donna.

       Donna:       I hurt so bad.

       Nathaniel:   Donna, please, please give me another chance. Donna, please.

       Donna:       • They say if a man's like that, he's like that Nate.

       Nathaniel:    Yeah.

       Donna:       You know?

       Nathaniel:    Yeah.

       Donna:       They say if a man's does those things, he's always gonna do those things .

       RECORDING:    THIS CALL IS ORlGINATING FROM Al'\/" OHIO CORRECTIONAL
       INSTITUTION AND MAY BE RECORDED OR MON1TORED.

       Nathaniel:    \,Vhat did you say Donna? What did you say baby?

       Donna:        They said if that's the way a man is, he's gonna always be that way.

       Nathaniel:   Donna, you know what I'm saying, I mean, I want to change this man, cause I know
                    what I got _m an. I realize this, what I, I didn't know what I had really, you know
                    what I' m saying. It's who I really, you know what I'm saying. God, man, God made
                    me see the light. You know what I'm saying, and now I realize what I have and I
                    would be a fucking fool Donna, to try to ever, to try to lose this again. You hear me?
                    You hear me Donna?

       Donna:       I hear you. ·

       Nathaniel:   I really mean this man. I'm telling you Donna, ,"."hen I come out from the joint, I
                    even wrote, man,

       Donna:       Nate, I'm really too scared.

       Nathaniel:   Please. Ok, ok. I'm getting off now. Please don't be scared Donna. Please, you
                    know what I'm saying, just slowing try to you know, I mean, understand like I say,
                    you know I ain't here,

       Donna:       I can't ever feel this pain again Nate.



                                                        5




                                                                                 DONNA ROBERTS v WARDEN
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       Nathaniel:    No you won't Donna. Hey lookie here sweetheart, I got to get off the phone, I don't
                     know, you know, I don't want to get in no trouble now but um, we got a free letter
                     coming up, I'm about to write you tonight, ok.

        Donna:       Ok.

        Nathaniel:   Write me baby, ok. And don't forget to send me three envelopes ok?

        Donna:       Ok.

        Nathaniel:   I love you baby. Ok?

        Donna:       Ok.

        Nathaniel:   I'm getting off now. Bye-bye baby.

        Donna:       Bye.

        Nathaniel:   Bye.

        CALL ENDS



        Transcribed by J. Hoffman 10/16/02




                                                      6




                                                                               DONNA ROBERTS v WARDEN
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                                                                                   APPENDIX – PAGE 5601
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                                                                                363A


      AP1410CG 10-25-01

      MCI Worldcom. This call is originating from an Ohio Correctional Institution and may be recorded
      or monitored. I have a collect call from Nathaniel Jackson, an inmate at the Lorain Correctional
      Institution. If you wish to accept and pay for this call, dial "O" - - thank you.

      Nathaniel:    Hey baby.

      Donna:        Nate.

      Nathaniel:    Hey.

      Donna:        Oh, Nate. Hi honey.

      Nathaniel:    Hi baby. How are you doin.

      Donna:        Oh sweetheart.

      Nathaniel:    I miss you so much baby.

      Donna:        I love you.

      Nathaniel:    I love you too, honey. How are you doin baby.

      Donna:        Okay.

      Nathaniel:    That's good.

      Donna:        How are you,

      Nathaniel:    Oh, I'm doin cool now.

      Donna:        Are you.

      Nathaniel:    Yeah.

      Donna:        Oh honey.

      Nathaniel:    Doin real good. Real good. I miss you so much baby.

      Donna:        I miss you Nate.

      Nathaniel:    Cool.

      Dom1a:        I do too.




                                                                                DONNA ROBERTS v WARDEN
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     Nathaniel:    Man, my baby. Baby, Donna Marie, I love you so much honey, I do.

     Donna:        Oh, Nate.

     Nathaniel:    I really mean that. I love you so much with all my heart baby. I've been gettin my
                   baby's letters - -

     Donna:        Every day.

     Nathaniel:    Yes. I love it. I love it.

     Donna:        You know th~t I have so much to say, huh.

     Nathaniel:    Yeah. That's my baby. I love my baby. What you want for Christmas.

     Donna:        You.

     Nathaniel:    Huh.

     Donna:        You.

      Nathaniel:   Is that what you want.

     Donna:        Yeah.

     Nathaniel:    Guess what.

     Donna:        Huh.

     Nathaniel:    It's goin to happen.

     Donna:        What.

      Nathaniel:   It's goin to happen.

      Donna:       What.

      Nathaniel:   You're goin to have me.

      Donna:       What do you mean.

      Nathaniel:   You 're goin to have me for Christmas.

      Donna:       What do you mean.




                                                                               DONNA ROBERTS v WARDEN
                                                                                CASE NO. 4:21-cv-00368-DAP
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      Nathaniel:   You're goin to have me for Christmas.

      Donna:       You're getting out.

      Nathaniel:   Yes, I am.

      Donna:       When.

      Nathaniel:   Huh.

      Donna:       When.

      Nathaniel:   December 9 th •

      Donna:       Why.

      Nathaniel:   Huh.

      Donna:       Why.

      Nathaniel:   Because they gave me my time for CCA.

      Donna:       Oh, my god. Oh, my god. Oh, no. Oh, no .

      Nathaniel:   I sent the letter out what on Tuesday morning.

      Donna:       Oh, my god. Oh, my god, honey.

      Nathaniel:   December 9th ·baby.

      Donna:       Oh, my god. !

      Nathaniel:   I'll be home to you. December 9 th all the worries will be over baby.

      Donna:       Oh, Nate.

      Nathaniel:   All the worries over baby. December 9th , I was on my bed writing the letter and um,
                   my (inaudible) came and gave me this paper and um, I open it up and I looked at it
                   and it said, (inaudible) 12-9. I was thinking 2002. And I looked and it said, the end
                   of my definite sentence was 12-9-01. I'm like, yes.

      Donna:       Oh, my god, are you sure.

      Nathaniel:   Positive.




                                                                                 DONNA ROBERTS v WARDEN
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     Donna:        You don't have to stay in there all winter.

      Nathaniel:   No, And you know what - -

     Donna:        Oh, my god. '

      Nathaniel:   You know what baby.

     Donna:        What honey.

     Nathaniel:    The next day-out, I'm goin to - - I already got it in my mind, my mind made up. I'm
                   goin to go ahead and do that the next day, okay. All right.

     Donna:        Oh, I just wrote to you that I didn't think that you really meant it.

      Nathaniel:   What. My niind is made up. My mind made - - I wrote it in my letters, you know
                   what I'm saying, but you know, I don't like to talk too much like that but when I
                   come home, you know what I mean, it's goin to be in full detail. Okay. I'm goin to
                   let you knowhow I'm goin to do it and everything. I'm goin to do it for sure the next
                   day.

      Donna:       No.

      Nathaniel:   What.

      Donna: ,     Really.

      Nathaniel:   What you mean.

     Donna:        For real.

      Nathaniel:   For real. I mean that on my heart. That is a promise baby. I told you from here on
                   out when I promise you something baby that's my heart. That is my word.

     Donna:        Nate.

      Nathaniel:   What.

      Donna:       Please tell me.

      Nathaniel:   Yes.

      Donna:       Please tell me honey.

      Nathaniel:   Yes. Yes.




                                                                                   DONNA ROBERTS v WARDEN
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     Do1ma:        Oh, Nate, your voice is so wonderful to hear.

     Nathaniel:    Man, when I get out the very - -

     Donna:        December 9th, though, did you count how many days that is.

     Nathaniel:    Oh, I'm less than 2 months.

     Donna:        Oh, my god. Oh, honey.

     Nathaniel:    Did you send my pictures out yet.

     Donna:        Yes. Yesterday.

     Nathaniel:    You did.

     Donna:        I promised you that you would have them by the end of the week.

     Nathaniel:    Okay, then.

     Donna:        You'll probably get them - - oh, that's what I wanted to know. How long does it take
                   you to get my letters when their postage.

     Nathaniel:    Well, see, sometimes they be holding out mail, you know what I'm saying.

     Donna:        Oh.

     Nathaniel :   Sometimes they be holding our mail. I just got my money too.

     Donna:        Your kidding.

     Nathaniel:    Hey, look. I got - - send me like the 23 dollars and just leave like - - I' 11 have 50 left.

     Donna:        What's 23 dollars.

     Nathaniel:    Huh.

     Donna:        What's 23.

     Nathaniel:    So, I can just have something, you know, be all right with the rest of my time.

     Donna:        Oh, so, you got the two 50's, right, honey.

     Nathaniel:    Yeah. I just got the other 50.




                                                                                      DONNA ROBERTS v WARDEN
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     Donna:        Why such an odd amount. Why not 25.

      Nathaniel:   Huh.

     Donna:        Why an odd amount like 23?

     Nathaniel:    Because I got like 78, you know.

     Donna:        Oh Nate come on. You know you don't just have 78 . You know you have anything
                   you want.

     Nathaniel:    Yeah, um, I need a coat too when I come home, you hear me?

     Donna:        There is plenty of coats here.

     Nathaniel:    Okay. Like I said baby for sure, the next date man

     Donna:        Really?

     Nathaniel:    I really mean it.

     Domrn:        What day are you thinkin of?

     Nathaniel:    Because I'm tired of this man, you know, I'm tired of this lifestyle, you know. I
                   mean, as long as I be out there man, you know, some subject can always, you know,
                   come up. I'm tired of the lifestyle and I'm ready to be with you, you know what I am
                   saying to show you that I really love you, Donna, and then everything, you know,
                   those letters that file, you know, I mean, those weren't real, you know what I'm
                   saying. I mean, I want you to know this, you know. My love ain't never stop for
                   you, you know. I could of never started no relationship up with no body else, you
                   know, I mean


     Recording:     This call is originating from an Ohio Con-ectional Institution and maybe recorded
                   or monitored.

     Nathaniel:    You know, as much begging as I did, you know what I'm saying, to try you know to
                   get to you to let you know. I mean, if it was like that, I would of just said, forget it,
                   she caught me, you know what I am saying, and leave it alone. But no, I couldn't do
                   that cause, you know, I was right, you know what I'm saying. I was right. You
                   know, you mean, it was just all a part of street gang, you know what I am saying.

     Donna:        Nath, don't talk about it now.

     Nathaniel:    All right.




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      Donna:       Just tell me you love me.

      Nathaniel:   I love you so fucking much.

      Donna:       Oh honey.

      Nathaniel:   I love my baby so much. Yeah. And then look, the night that I get out, we going to
                   spend the night together? Huh?

      Donna:       I'll try.

      Donna:       I want you to man.

      Donna:       Oh, me too.

      Donna:       I'm going to get out on a Sunday. I'm going to get out on a Sunday.

      Donna:       Oh.

      Donna:       Hey, you going to go down to the Vindicator for me?

      Donna:       Oh, I'll try sweetheart.

      Donna:       Huh?

      Donna:       I'll try. Its just that I've been working. I just took this off cause you were going to
                   call. I got your letter just yesterday.

      Nathaniel:   Yeah, okay, then.

      Donna:       But I've been working morning ad afternoon's, you know. I've been working a lot
                   to keep busy or else I would gone out ofmy mind.

      Nathaniel:   Okay.

      Donna:       You know, it was like two whole things that got me at once. You going away again
                   just broke my heart, honey.

      Nathaniel:   But you know that everything is all right now, right?

      Donna:       Yes.

      Nathaniel:   Okay then. Its all I wanted to do is talk to my baby, man.

      Donna:       Honey.




                                                                                  DONNA ROBERTS v WARDEN
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     Nathaniel:   Yeah.

     Donna:       Oh, Nate. I'm full of so much love for you.

     Nathaniel:   That's my baby, man.

     Donna:       You know I' ll always love you.

     Nathaniel:   You know what I want to see you in too?

     Donna:       No. What?

     Nathaniel:   A pair of thongs.

     D01ma:       Ah.

     Nathaniel:   I want to see you in some thongs. I wrote that in the letter.

     Donna:       I have them.

     Nathaniel:   You got some thongs?

     Donna:       Yeah. In my panty drawer.

     Nathaniel:   With the but part cut out?

     Donna:       Yeah.

     Nathaniel:   You got some of those?

     Donna:       Hell, yeah. I got a lot.

     Nathaniel:   Get the fuck out of here. Oh man, I was writing it in my letter this morning. I was
                  writing it in my letter this morning.

     Donna:       I have them. Sure l do. I just don't wear them.

     Nathaniel:   Oh, okay then. I can't wait to come home, man.

     Donna:       Oh, honey. I can't wait to kiss you.

     Nathaniel:   My whole life is going to be so wonderful.

     Donna:       Oh, Nate.




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     Nathaniel:   Oh, I mean, I'm telling you baby, I don't care what man, nothing is going to stop me
                  from doing this, man.

     Donna:       Just please, Nate.

     Nathaniel:   Yeah, I already understand and everything, okay, you know what I mean. I'm going
                  to do it and everything - -

     Donna:       I don't want to lose you forever.

     Nathaniel:   Just, you know, we are talking about that when I come home.

                          Recording-     You have sixty seconds left on this call

     Donna:       Already.

     Nathaniel:   Yeah. I want get no more calls till like Saturday morning and Sunday evening. I
                  called the private line the other day last Sunday.

     Donna:       I heard it ringing.

     Nathaniel:   Yeah. That was me.

     Donna:       I was hoping it was.

     Nathaniel:   So, when can I call again?

     Donna:       Um, when are you allowed?

     Nathaniel:   Um, Saturday morning and Thursday afternoon.

     Donna:       All right. Here is what I am going to do. If I work Saturday morning, I'll forward
                  the calls to my cell phone, so ifI'm at work, I'll get it anyway.

     Nathaniel:   Okay, then.

     Donna:       How's that?

     Nathaniel:   Okay then.

     Donna:       Oh, you sound wonderful.

     Nathaniel:   Oh, my baby.

     Donna:       Oh, honey. I love you so much.




                                                                                DONNA ROBERTS v WARDEN
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      Nathaniel:   Guess what Donna.

      Donna:       What honey?

      Nathaniel:   I'm coming home.

      Donna:       Oh my god.

      Nathaniel:   I'm coming home.

      Donna:       Oh man, its like Christmas already.

      Nathaniel:   I love you so much baby.

      Donna:       Oh, honey.




                                                             DONNA ROBERTS v WARDEN
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                                                                                364A

       AR1210Z7-10-27-01

       This is MCI Worldcom. This call is originating from an Ohio Correctional Institution and maybe
       recorded or monitored. I have a collect call from Nathaniel Jackson, an inmate at Lorain
       Correctional Institution. If you wish to accept and pay for this call, dial zero, thank you.

       Nathaniel:    Hey you.

       Donna:        Hey honey.

       Nathaniel:    What's going on baby?

       Donna:        Oh, its sweet and (inaudible) to hear your voice again.

       Nathaniel:    Hey, you in bed.

       Donna:        Yeah.

       Nathaniel:    Oh, you sound so cozy.

       Donna:        I am honey.

       Nathaniel:    Man.

       Donna:        Snow.

       Nathaniel:    Huh?

       Donna:        There's snow outside.

       Nathaniel:    You got snow outside?

       Donna:        Yeah.

       Nathaniel:    We don't got none out here .

       Donna:        You're kidding?

       Nathaniel:    Huh, hum.

       Donna:        I thought you'd have more.

       Nathaniel:    No. It ain't snowed out here. It rained and mixed with snow last night a little bit,
                     you know - -




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       Donna:       Huh, hum.

       Nathaniel:   - - but it stopped though.

       Donna:       How are you honey?

       Nathaniel:   I'm doing good now, baby. Hey look, they sent my pictures back, you know. They
                    gave me three of them, so you know, as soon as they sent them or get them back,
                    send - - you can only send three in each envelope and I didn't know it though, you
                    know. So, I'm, as soon as they come back, just you know, send three in each letter.

       Donna:       Okay.

       Nathaniel:   Okay.

       Donna:       Which one did you get?

       Nathaniel:   I got the three - - the one which you at the table, the one with you on the couch, and
                    um, the one you standing up with the attitude shirt on.

       Donna:       You took all of me?

       Nathaniel:   Yeah.

       Donna:       Do I look okay?

       Nathaniel:   Yes, you do, baby. You look wonderful. You look wonderful. You 're my baby.

       Donna:       Nate.

       Nathaniel:   Yes.

       Donna:       I love you.

       Nathaniel:   I love you too, Donna so much. So much. I can't wait to come home man.

       Donna:       Can't wait.

       Nathaniel:   I think about it every night man just waking up with you man every fucking night I
                    think about it. Sometimes I can't even go to sleep man.

       Donna:       Me too honey.

       Nathaniel:   I'm telling you man I can't wait to get out man so I can, you know, do what has to be
                    done man. I got to be with you Donna, I'm serious. I have to .




                                                                                 DONNA ROBERTS v WARDEN
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      Donna:        Are you sure?

       Nathaniel:   I'm positive. I'm more than sure. I am more than sure. I got to be with my baby.
                    Damn man, I love my baby so much.

       Donna:       Honey.

       Nathaniel:   I love my baby so much.

       Donna:       Promise.

       Nathaniel:   Promise. Big old, big old promise. Hey, I sent you a letter too to ask you know
                    about the bus schedule from um, Elyria.

       Donna:       I already sent it out yesterday.

       Nathaniel:   You did?

       Donna:       Yeah.

       Nathaniel:   You got that already?

       Donna:       Yes, I sent it to Warren and to Youngstown.

       Nathaniel:   Okay.

       Donna:       There's one bus that takes two-and-a-half hours and the other one takes like six
                    hours.

       Nathaniel:   From Elyria?

       Donna:       Yeah. Because you have to wait in Cleveland for a long time.

       Nathaniel:   Oh man.

       Donna:       But there is one to Youngstown that is just a couple of hours. And guess what, I was
                    reading your letter that I got and answering all of your things the best I can and I
                    thought of calling the Vindicator up on the phone and they took my charge and they
                    did it.

       Nathaniel:   They did?

       Donna:       Yeah.

       Nathaniel:   Okay, then.




                                                                                DONNA ROBERTS v WARDEN
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       Donna:       It was like going to be impossible for me to go. I'm like working every day all day
                    almost.

       Nathaniel:   Yeah.

       Donna:       So, they did it and they said it will start Tuesday, okay.

       Nathaniel:   Okay, then. That's my baby.

       Donna:       And I got it for a month at a time and they said you will get a little note if you want
                    to renew it then, okay?

       Nathaniel:   Okay then, baby.

       Donna:       And I sent you the $25.00 out yesterday also.

       Nathaniel:   That's my baby. That's my baby. You see why I got to be with you man. I'm telling
                    you Donna, you are the only woman that I ever had that I mean, its just like, man - -

       Donna:       You know you can count on me.

       Nathaniel:   You know, you are the only woman that I trnst, Donna. You are the only one I trust.

       Donna:       I think I deserve your trnst honey.

       Nathaniel:   You're the only woman.

       Donna:       I don't think I ever betrayed your trnst ever.

       Nathaniel:   The only woman. I was reading the letter yesterday, m~an, about that CO man. You
                    can tell this cat - -

       Doru1a:      He was in again yesterday.

       Nathaniel:   I sent the letter out man, you know, this morning. Tell this man to stop harassing you
                    man, look her. It's scary. Just tell him, you know what I'm saying, you are - -

       Donna:       Guess what he did.

       Nathaniel:   What?

       Donna:       Yesterday he came in and he - - i almost, I can't even believes, he followed me home.

       Nathaniel:   He what?




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      Donna:       He followed me home.

      Nathaniel:   All the way to the house?

      Donna:       From Warren.

      Nathaniel:   All the way to the house.

      Donna:       But I didn't know it until yesterday. He said something and I said something and he
                   said, well, something about where I live and I said, how do you know where I live?
                   He said, I fdllowed you home. I said, what. Are you out of your fucking mind. Just
                   like that I said. He doesn't care what I say or nothing.

      Nathaniel:   Man- -

      Donna:       He won't stop.

      Nathaniel:   Tell him man that you are going to call the police man.

      Donna:       Do you know what I have been doing honey?

      Nathaniel:   What.

      Donna:       I've been going out at 5:00 while people are there and bringing the car around front.

      Nathaniel:   That is what I put in my letter. Keep doing that. Look man, tell him that you are
                   going to file harassment charges, you know what I'm saying. Or call his job.

      Donna:       He's a big guy too, hon.

      Nathaniel:   Tell him that you are going to file harassment charges or you are going to call his job.

      Donna:       He's a big guy.

      Nathaniel:   I can't wait - - oh, I'll be glad when I get out, man. Just let him know like it is.

      Dom1a:       He comes and stands there for like a half-hour and looks at me, hon.

      Nathaniel:   Just tell him, man, you know what I am saying, this is business purposes only. Put
                   up a sign man that say, no loite1ing. Business purposes only. Others will be
                   prosecuted.

      Donna:       Don't worry about it hon.

      Nathaniel:   Man. Tell him - -




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       Donna:         If I knew that you were going to worry I wouldn't even tell you.

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                      monitored.

       Donna:         Don't worry. Hey, they can't take that back can they?

       Nathaniel:     What?

       Donna:         That you' re coming out in December.

       Nathaniel:     No. They sent me another paper too.

       Donna:         For sure?

       N athaniel :   Yeah. I sent one of them home to you.

       Donna:         Oh.

       Nathaniel:     And um, it's like man, you know what I me, some like, you know, that I had went off
                      on one of my letter, that letter that I sent out this morning for a minute man, because
                      you know, I read the part where you said that I was going to come back out and I was
                      going to hurt you again. I was wondering, you know what I am saying, out in there,
                      you know what I mean, what do you mean I am going to hurt you again. So , you
                      know what I mean, it's like you had to tell him what happened, you know what I'm
                      saying. Don' t be doing that Donna. You can't just open up our business like that,
                      you know what I'm saying. This is me and your life Donna.

       Donna:         Well.

       Nathaniel:     You can't spill everything out, you know, when you think pe;ple are your friends.

       Donna:         Nate.

       Nathaniel:     Huh.

       Donna:         You don't know what kind of shape was in honey.

       Nathaniel:     But I'm saying, you can't put everything out like that D01ma, you know. Some days
                      you got to hold it in.

       Donna:         I didn't tell anybody but the guys, my buddies.

       Nathaniel:     But I'm saying, you think they 're your buddies man, but look, we are still together,
                      you know what I'm saying. I mean, you got to think first, Donna. Like you tell me




                                                                                   DONNA ROBERTS v WARDEN
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                    think, you know. Don't be telling no body that I'm locked up man.

       Donna:       Why?

       Nathaniel:   Okay. That is how we open yourself up to somebody.

       Donna:       \,Vhy.

       Nathaniel:   You know what I'm saying because, man, I don't want no body to know man about
                    me man. I don't know those people man.

       Donna:       They don't know who you are.

       Nathaniel:   But I'm saying though sweetheart eventually they' ll see me. You know what I'm
                    say1ng.

       Donna:       Yeah.

       Nathaniel:   I mean, don't tell me, I mean, that is how you lead yourself open then you wonder
                    why you can't get rid of people.

       Donna:       Oh.

       Nathaniel:   You know what I'm saying. Okay. How would you like, you know what I'm saying,
                    if I was in that position you know and I had you know what I' saying some girls
                    calling in telling me good morning and I was telling you that they so sweet, you know
                    what I'm saying and - -

      Donna:        But they are sweet to me hon.

      Nathaniel:    Okay. And I come and tell you that a girl looked beautiful and how would you feel,
                    you know what I'm saying. I mean, some different to run through your mind.

      Donna:        No.

      Nathaniel:    You know what I' saying.

      Donna:        I'm just telling you it doesn't mean anything to me.

      Nathaniel:    But I don ' t want to be hearing how handsome some dudes look or how - -

      Donna:        \,Vell, some of them are.

      Nathaniel:    But I'm saying though don't tell me man.




                                                                                 DONNA ROBERTS v WARDEN
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      Donna:       But I don't have anybody else to tell anything to but you.

      Nathaniel:   Okay baby. Okay. I'm sorry.

      Donna:       I tell you everything honey.

      Nathaniel:   I'm sorry baby, okay.

      Donna:       You see how much I'm writing. I tell you everything in my mind.

      Nathaniel:   Don't take that letter bad, okay. I told you in that letter, you know what I'm saying,
                   I mean, you know, I was just rambling.

      Donna:       Nate, you know no body in the world means a damn thing to me but you.

      Nathaniel:   You ain't going to um - -

      Donna:       Do you know that?

      Nathaniel:   Huh? What baby?

      Donna:       No body means a damn thing to me but you.

      Nathaniel:   Okay. My letters ain't going to slack up since I'm coming home December 9th is
                   they?

      Donna:       I don't think so. I wrote you four yesterday. I wrote you all day long.

      Nathaniel:   Okay then.

      Donna:       It's like all I did .

      Nathaniel:   Okay. Well, it is about time for me to get off the phone, but look here, don't forget
                   to um, you know when them pictures come back. I'm going to call you again
                   Thursday afternoon, so, if you have to work, just forward the calls, okay.

      Donna:       All right, honey.

      Nathaniel:   Okay. I love you baby.

      Donna:       How much?

      Nathaniel:   So much. Okay.

      Donna:       I love you honey.




                                                                                 DONNA ROBERTS v WARDEN
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       Nathaniel:   I love you too baby.

       Donna:       I'll always love you.

       Nathaniel:   I'll always love you. Okay.

       Donna:       No body can change that.

       Nathaniel:   No body. I love you baby.

       Donna:       Look at my pictures and think of me.

       Nathaniel:   All the time.

       Donna:       Okay.

       Nathaniel:   Okay, baby.

       Donna:       Bye honey.

       Nathaniel:   Bye-bye.




                                                             DONNA ROBERTS v WARDEN
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                                                                                     365A

     B312102Q-l l-03-0l

     This is MCI Worldcom. This call is originating from an Ohio Correctional Institution and maybe
     recorded or monitored. I have a collect call from Nathaniel Jackson, an inmate at Lorain
     Correctional Institution. If you wish to accept and pay for this call, dial zero, thank you.

     Nathaniel:    Hey, you. What's going on.

     Donna:        Hello honey.

     Nathaniel:    Hi baby.

     Donna:        I'm at work.

     Nathaniel:    You're at work.

     Donna:        I remembered to forward the call.

     Nathaniel :   Okay. I called Thursday.

     Donna:        You did?

     Nathaniel:    Yeah. The line was busy.

     Donna:        Oh, the phone was off the hook when I got home, but Fluffy must of done it.

     Nathaniel:    Yeah.

     Donna:        I waited there and I waited there and

     Nathaniel:    Yeah. We didn't get on the phone until like, I think, you see, they didn't let us out
                   early, you kn9w, so I didn't get on the phone until like 3:00 o'clock, you know.
                   Then, I got real worried man.

     D01ma:        Oh, I got worried when you didn't call.

     Nathaniel:    Man, I was so worried and then, I'm like, Oh, man.

     Donna:        Oh, honey.

     Nathaniel:    Man, I was so scared man.

     Donna:        You sound wonderful.

     Nathaniel:    How you doing baby?




                                                                                 DONNA ROBERTS v WARDEN
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      Donna:       Oh.

      Nathaniel:   I miss you. I couldn't even sleep for the last three days ever since Thursday night
                   man.

      Donna:       Why?

      Nathaniel:   Because I was thinking about you man and I was you know, man I was like, and I
                   kept calling on the private phone too.

      Donna:       I wasn't everi there. I waited until like 2:00 o'clock and then, I came and did my
                   report here.

      Nathaniel:   Okay. I was like oh - -

      Donna:       I was so worried. I thought you were in the hole or something.

      Nathaniel:   Oh, baby. I ain't going to get into no trouble. I kept calling on the private phone
                   like, man, I know she knew that I was going to call man. Why isn't she answering
                   her private phone.

      Donna:       I thought it was 1:00 or 1:30?

      Nathaniel:   Yeah, but um, they ain't let us - - sometimes you know, they don't let us out exactly
                   you know at times, but now I know, you know. I was like, man, I hope she knows
                   Saturday man.

      Donna:       How are you honey?

      Nathaniel:   Cool.

      Donna:       Thirty-four and-a-half days.

      Nathaniel:   Yeah. Then, I was like, man then I didn't get no mail Thursday or Friday and I was
                   like man - -

      Donna:       You didn't?

      Nathaniel:   No.

      Donna:       I mail you mail ever single day.

      Nathaniel:   I was really worried then. I was like man, did I say anything to her man.

      Donna:       Oh, honey.




                                                                                DONNA ROBERTS v WARDEN
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      Nathaniel:   I was like man.

      Donna:       I don't know why you wouldn't get - - i mailed you like three letters on Monday and
                   Tuesday.

      Nathaniel:   Nope I'm like - -

      Donna:       Did you get your mail yet today?

      Nathaniel:   Huh? No, we don't get no mail until Monday again. We don't none on Saturday's.

      Donna:       Oh.

      Nathaniel:   I was like, man, what did I do man.

      Donna:       Oh, honey. Don't think like that.

      Nathaniel:   Worried baby.

      Donna:       Don't think like that sweetheart.

      Nathaniel:   I love my baby so much man.

      Donna:       Tell me. Tell me.

      Nathaniel:   I love you so much honey.

      Donna:       I love you Nate.

      Nathaniel:   Wait until next month baby, next month.

      Donna:       I know. I know.

      Nathaniel:   It's really short. You get that paper that I show you with my out date on it?

      Donna:       Yes, I did.

      Nathaniel:   Okay, then. They just sent me paper Friday I got to go to pre-release. You know, it
                   is like a class, like, pre-release skill, you know, like, show you how to do resumes
                   and everything you know. It for when you are about to get out. It's almost over
                   baby.

      Donna:       I know.

      Nathaniel:   I'm really excited now. I talked to my baby and I know my baby all right now, man.




                                                                                DONNA ROBERTS v WARDEN
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     Donna:       I'm kind of all right.

     Nathaniel:   Okay baby.

     Donna:       Do you know what happened Monday?

     Nathaniel:   What.

     Donna:       Well, I had to come in and do the report, so I waited until like 2:00 o'clock for you
                  to call. Then, I came in here and I went over to the - - I was writing you a letter and
                  I went over to the bakery to get a cup a coffee - -

     Nathaniel:   And he found the letter.

     Donna:       And he came to check up on me and he found or read the letter on the desk.

     Nathaniel:   Oh, my goodness.

     Dom1a:       Yep .

     Nathaniel:   Oh.

     Do1ma:       Now, he knows for sure, but he doesn't know your name because I put hi sweetheart
                  or honey or something.

     Nathaniel:   Oh, man.

     Donna:               Oh, man.

     Nate                 I had a feeling that i kept feeling that man. I kept feeling that.

     Dom1a:               It wasn't good.

     Nate                 Did he - -

     Donna:               I don't know why you wouldn't get letters everyday sweetheart. I sent them
                          everyday two and three.

     Nathaniel:   I don't know.

     Donna:       Oh, you're going to get a shitload of letters Monday.

     Nathaniel:   I should get my paper too. I ain't get my paper yet either.

     Donna:       Oh, they said that it would start Tuesday.




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      Nathaniel:   Yeah, I ain't get them yet. They probably holding my mail and stuff back man.

      Donna:       Why?

      Nathaniel:   I don't know. They be sop slow with it.

      Donna:       Oh.

      Nathaniel:   Yeah, did he put his hands on you?

      Donna:       Don't - - what's going on anyways? How do you feel? Do you feel okay?

      Nathaniel:   Oh, yeah.

      Donna:       I got your letter and it said that your eating your vegetables.

      Nathaniel:   Yeah. I'm eating my vegetables and taking my vitamins. You better start eating
                   right too.

      Donna:       I know. I know. I know.

      Nathaniel:   Don't worry baby. When I come home everything is going to be all right, okay. I
                   promise you that. The next day I promise on everything baby. I promise you that for
                   sure. For sure, for sure.

      Donna:       Really.

      Nathaniel:   Yeah. I got to man. I'm telling you Donna, I am do much in live with you, so much.

      Donna:       Are you sure?

      Nathaniel:   I am more than sure. So, the first night we are going to have a celebration me and
                   you.

      Donna:       Oh, yes, yes.

      Nathaniel:   Let's get the room with the Jacuzzi, okay.

      Donna:       I'll try.

      Nathaniel:   Okay then. Or something with some mirrors on the ceiling or something.

      Donna:       Oh. I can't wait until you can out your hands on me honey.

      Nathaniel:   Yes. Yes. Yes.




                                                                                     DONNA ROBERTS v WARDEN
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     Donna:       My baby and your beautiful hands.

     Nathaniel:   My baby. So, look, ifl get delayed and um, in Cleveland - -

     Donna:       Yeah.

     Nathaniel:   - - you will come and get me man.

     Donna:       I'll try. I don't know how to get up there or how to find the Greyhound Station.

     Nathaniel:   The Greyhound Station is downtown Cleveland.

     Donna:       Yeah.

     Nathaniel:   Yeah, it's Downtown Cleveland.

     Donna:       Right.

     Nathaniel:   But um, when I get to the bus station from when they take me from here

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                  or monitored.

     Nathaniel:   When they take me from the bus station here, then, I mean, when they take me here
                  to the bus station, then, I will call you and let you know, you know, um, my next
                  stop.

     Donna:       Okay.

     Nathaniel:   Okay. I love p1y baby so much.

     Donna:       Oh, Nate.

     Nathaniel:   I'm so happy man.

     Donna:       Is everything going to be okay?

     Nathaniel:   Oh, yeah. Oh, yeah. That's mandatory. That's mandatory baby. For real you know,
                  I'm ready to live that good life now, man.

                  You're ready to settle down with just one woman.

     Nathaniel:   I'm ready to settle down with my baby.

     Donna:       Are you sure.




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     Nathaniel:   I am more than sure. I could be no more sure baby. I'm for real man. I don't got,
                  I don't have to worry about being out there and getting into trouble.

     Donna:       Well, I better get me a pair of knee pads then.

     Nathaniel:   Yeah.

     Donna:       Because I plan on doing a lot of kneeling down.

     Nathaniel:   Oh, yeah.

     Donna:       I can almost (aste you now.

     Nathaniel:   Yes. Yes. Yes.

     Donna:       How do I live without you.

     Nathaniel:   My baby. Had the (seal) been back in there?

     Donna:       Huh?

     Nathaniel:   Has the (seal) been back in there?

     Donna:       Oh, yes and he'll never be here again. You didn't get those letters either?

     Nathaniel:   I got that one and I was like, yeah, that's my baby.

     Donna:       Oh, he thinks I'm a real bitch now I'm sure.

     Nathaniel:   Man.

     Donna:       But honey, don't think I tell people everything. I just really told them that you're
                  there and - -

     Nathaniel:   Okay.

     Donna:       Really, I'm very careful about it.

     Nathaniel:   Okay, baby.

     Donna:       Talk to me. Hurry.

     Nathaniel:   My baby. I love my honey so much. So much, yes, man. It won't be long now. It
                  won't be long. I love Donna Maria Roberts. I love my baby. I be staring at your
                  picture all the time.




                                                                               DONNA ROBERTS v WARDEN
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     Donna:        Are they okay?

     Nathaniel:    Yeah. I got the rest of them too. Yeah. In that big bad that's the romper room.

     Donna:        I'm going to get you baby.

     Nathaniel:    Oh, the romper room.

     Donna:        I'm going to tear your ass apart.

     Nathaniel :   Okay, then. I won ' t to see my baby in the thong man.

     Donna:        Oh, I put one on the other night and looked at myself from behind in the mirror and
                   bend over, it looked good.

     Nathaniel:    That's what I'm saying, see I'm telling you.

     Donna:        Do you know what I want you to do. I don't want you to take them off, I want you
                   to leave them on and just tip that little piece of material - -

     Nathaniel:    To the side.

     Donna:        Behind.

     Nathaniel:    Oh, man. It ' s is going to be wonderful. So, urn, I'll call you again next Thursday
                   afternoon. I don't know if it will be exactly at 1:00 or 1:30.

     Donna:        Oh, okay.

     Nathaniel:    But urn, sometime in the afternoon, okay.

     Donna:        All right.

     Nathaniel :   That' s for sure okay, baby.

     Donna:        All right.

     Nathaniel:    I love my honey so much.

     Donna:        I love you Nate.

     Nathaniel:    I love you so much baby.

     Donna:        You be careful with those words now, they're pretty strong.




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      Nathaniel:   I love you so much.

      Donna:       Don't say that if you don't mean it.

      Nathaniel:   I mean it. I mean it. I love my baby so much.

      Donna:       I love you honey.

      Nathaniel:   I love you baby.

      Donna:       I think about you every second.

      Nathaniel:   I miss you so much too.




                                                                   DONNA ROBERTS v WARDEN
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                                                                                    366A
      B81310HP-11-08-0l

      This is MCI Worldcom. This call is originating from an Ohio Correctional Institution and maybe
      recorded or monitored. I have a collect call from Nathaniel Jackson, an inmate at Lorain
      Correctional Institution. If you wish to accept and pay for this call, dial zero, thank you.

      Nathaniel:    Hey you.

      Donna:        Hey you, honey.

      Nathani el:   What ' s goin on.

      Donna:        I just got your letter from Monday. Oh, it is so sexy honey.

      Nathaniel:    What's going on baby.

      Donna:        I love you Nate.

      Nathaniel:    Me to baby so much.

      Donna:        Oh, I had a terrible day yesterday. I couldn't stop thinking about you for one
                    fucking minute. I wrote to you from when I got here at 8:30 in the morning until
                    4:00 in the afternoon. Then, I got home and wrote some more. I mailed about six
                    letters to you.

      Nathaniel:    Oh, yes.

      Donna:        So, did you get all your letters?

      Nathaniel:    Huh, yeah, they started. Man haven't been sending me my papers man. Only got
                    three papers from um, I got a paper from Tuesday, Wednesday, and Thursday of
                    last week and I got no more yet man. The mail room man been bagging up all the
                    mail man. I haven't been getting my papers man, I'm like, man, what's up.

      Donna:        Oh. You see,] didn't stop writing to you sweetheart.

      Nathaniel:    Yeah. I was like, oh man.

      Donna:        You know you can always count on me.

      Nathaniel:    I love you so much baby.

      Donna:        I would never let you down honey.

      Nathaniel:    I love my baby so much man.




                                                                                   DONNA ROBERTS v WARDEN
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     Donna:        Oh guess what, I dreamt about you.

     Nathaniel:    You did.

     Donna:        I went to sleep. I had a touch it last night a couple of times. Something is wrong
                   with me. Arid I fell asleep and I was asleep for a couple of hours but it felt like a
                   minute and I dreamt that I was going into your am1s and you were about to kiss
                   me and I grabbed your arms and they were only an inch thick. I said, what's
                   wrong with your arms honey.

     Nathaniel :   What's wrong with my arms.

     Donna:        That was my dream.

     Nathaniel:    Oh, okay.

     Donna:        So, what have you been doing?

     Nathaniel:    Nothing. Just staying out of the way. Going to work out, you know,just keeping
                   my head up.

     Donna:        Are you eating all right?

     Nathaniel:    Yeah. I'm eating cool. Yeah, we do be going outside. I seen your letter where
                   they kept told me we going to go outside or nothin. We do go outside. We was
                   outside yesterday. I went to the gym and worked out.

     Donna:        Oh, good.

     Nathaniel:    It wasn't that cold out. It ain't that cold out now.

     Donna:        Oh, it's beautiful today.

     Nathaniel:    Yeah, I be going out, you know what I'm saying, so don't worry about that. You
                   got my worrying for nothin. We got to go outside to go eat, you know.

     Donna:        Nate.

     Nate          Yes.

     Donna:        Tell me. Tell me.

     Nate          I love you so much baby. So much man. I can't wait to hold you so warm.
                   Hey, why don't you send me um, $10.00 all right.




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      Donna:       Okay.

      Nate         That is all that I need it ten bucks.

      Donna:       Are you sure?

      Nate         Yeah. That's all. I don 't want no more, just ten bucks.

      Donna:       Are you sure you don ' t need twenty?

      Nate         No, just ten bucks.

      Donna:       All right.

      Nate         That is all I need it ten bucks. I put it in the letter I sent out this morning.

      Donna:       All right. I'll send it tomorrow for sure honey.

      Nate         Okay. Yeah, my baby.

      Donna:       Oh, honey.

      Nathaniel:   Hey- -

      Donna:       I don ' t think I'm going to be able to wait for you to go in the shower honey.

      Nathaniel:   Huh, yeah, man. I got to clean this smell off man. We only take shower like only
                   on certain days man, you know, I don't want my baby touching me man without
                   me being fully clean first.

      Donna:       Do you think I would care. You can fall in the mud and I'll be right on top of you.

      Nathaniel:   Oh, my baby. I love my baby. Um, are you goin to get me a um sweat suit for
                   when I come home.

      Donna:       Of course.

      Nathaniel:   Okay.

      Donna:       Don't I get you everything you want.

      Nathaniel:   Okay, baby. Because I um, man, this stuff, they don't us here wearing home man.
                   Yeah, man.

      Donna:       You sound wonderful honey.




                                                                                     DONNA ROBERTS v WARDEN
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      Nathaniel:   Look 30 day from now.

     Donna:        I know. I know I was so excited driving here thinking about that.

     Nathaniel:    Oh, baby 30 days.

     Donna:        I can' t wait to kiss you honey.

     Nathaniel:    Oh, I'm going to do everything to you.

     Donna:        Oh, I know. I read your letter and got so excited. I love it when you order me.

      Nathaniel:   I was reading; a letter that you wrote like, you know, you would like to let him see
                   you suck my dick man before he goes away man. I'm like I love that. I put that
                   on my letter the one I sent out this morning, I asked you could we do it like that.

      Donna:       Of course.

      Nathaniel:   I'm serious man. I'm dead serious, you know.

      Donna:       Yeah, tell me about it.

      Nathaniel:   I mean that baby. I'm serious man.

      Donna:       What?

      Nathaniel:   Huh.

      Donna:       About what.

      Nathaniel:   Huh, letting him watch you suck my dick.

      Donna:       I wish I could do it real good for you.

      Nathaniel:   I mean everything that I say, you know about that package man. For real, man.
                   We have to talk about you know the night we be together. Are you going to spend
                   the night with me?

      Donna:       I hope so.

      Nathaniel:   Huh.

      Donna:       I hope so .

      Nathaniel:   What could be possibly wrong. Huh.




                                                                                 DONNA ROBERTS v WARDEN
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                   or monitored.

     Nathaniel:    What could be possibly wrong for you not to? Huh?

      Donna:       I don't know:' Nothing I guess.

      Nathaniel:   Okay, then, that's all I want to know. I told you, you know what I'm saying, you
                   can leave everything else up to me, you know. I love my baby so much.

     Donna:        Oh, honey.

     Nathaniel:    Yeah. I love my baby a lot. You is my heart baby.

     Donna:        I wish that you could just touch me now just once. Just touch me once honey.

     Nathaniel:    But once I touch once, I ain't going to want to stop. Man, I had a dream, man. I
                   wrote it in my letter. I we got a house with a indoor pool and coming out of the
                   pool all dripping wet with at-shirt and a thong on and the t-shirt was all wet and I
                   seen your nipples and I just grabbed and pick you up and put you on my dick to
                   the bedroom. I had you put your hands behind you on the bed and as I held the
                   rest qfyour body in my hand. I fuck the shit out of you. You had your legs
                   wrapped around your waist.

     Donna:        Oh, honey, don't.


      Nathaniel:   Man, that's so sexy, man, to see you in a thong and short t-shirt. Oh, man that
                   eats rpe up.

     Donna:        You're going to get it then.

     Nathaniel:    Oh, man, that would eat me up then, to see my baby walk around the house with a
                   thong and at-shirt. You were sexy as hell. You were so beautiful baby.

     Donna:        Oh, honey.

      Nathaniel:   Don't cut your hair either.

     Donna:        Oh, you should see it today.

     Nathaniel:    Don't cut your hair. I seen it in that picture and I love it like that.

     Donna:        You know what. I have been wearing it up and today I decided to do a really good
                   job on it and oh Nate, it looks so beautiful. It is all hanging down and waves and




                                                                                    DONNA ROBERTS v WARDEN
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                  it's so fluffy.

     Nathaniel:   Yeah.

     Donna:       I can't wait for you to take it in your hands.

     Nathaniel:   Just wrap it ~11 around my wrist like a big ball of it.

     Donna:       And rub it up and down your dick so it feels silky.

     Nathaniel:   Okay, then.

     Donna:       Oh, honey.

     Nathaniel:   So, how have you been doing?

     Donna:       All right, really.

     Nathaniel:   Okay then. You sound good baby.

     Donna:       I can't stop thinking about you for one minute lately honey. It's not good.

     Nathaniel:   It's going to be all right in a minute though.

                  **60 SECONDS LEFT**

     Donna:       Already.

     Nathaniel:   It be going fast man. I'm going to call you Saturday morning though, okay.
                  Where are you at?

     Donna:       At work.

     Nathaniel:   You're at work. Okay.

     Donna:       Oh, I don't want to get this call.

     Nathaniel:   I'm going to call you Saturday morning.

     Donna:       All right sweetheart.

     Nathaniel:   I love you baby.

     Donna:       I love you Nate.




                                                                               DONNA ROBERTS v WARDEN
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      Nathaniel:   I love you so much honey. You are my life, you hear me.

      Donna:       Yeah.

      Nathaniel:   You is my whole life Donna. My entire life. My everything.

      Donna:       Oh, honey, I love you.

      Nathaniel:   I love you to baby.

      Donna:       Forever.

      Nathaniel:   I love my baby. I love you Donna.

      Donna:       All right honey.

      Nathaniel:   I love you baby.

      Donna:       I love you to .

      Nathaniel:   Talk to you Saturday.

                   **END OF CONVERSATION**




                                                                             DONNA ROBERTS v WARDEN
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                                                                                 367A
     BA13101K-l 1-10-01

     This is MCI Worldcom. This call is originating from an Ohio Correctional Institution and maybe
     recorded or monitored. I have a collect call from Nathaniel Jackson, an inmate at Lorain
     Correctional Institution. If you wish to accept and pay for this call, dial zero, thank you.

     Nathaniel:    Hey you.

     Donna:        Wait a second. Hi honey I was just leaving the bank.

     Nathaniel:    What's going.on.

     Donna:        I'm just leaving the bank.

     Nathaniel:    Hey. You sent that money order out, didn't you.

     Donna:        Yes.

     Nathaniel:    Send me fifteen more.

     Donna:        All right.

     Nathaniel:    Okay.

     Donna:        Wait a minute. Wait a minute. Let me see something here. Let me get in the car.
                   I have two envelopes to send you, it's one of them. I'll just send one for twenty-five.

     Nathaniel:    Okay.

     Donna:        What's going on with my baby.

     Donna:        Not much.

     Nathaniel:    I can't wait to come home man.

     Donna:        Hey you, I had such a wonderful shower and I did my hair and I have been wearing
                   it long. It looks so pretty. It's all bouncy and wavy and waiting for you to take a
                   hold of it.

     Nathaniel:    Shutup. That's what I'm talking about.

     Donna:        Oh, that's what I'm waiting for every minute.

     Nathaniel:    That's my baby man.




                                                                                   DONNA ROBERTS v WARDEN
                                                                                    CASE NO. 4:21-cv-00368-DAP
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     Donna:       Oh, you got to grab it all and pull it.

     Nathaniel:   Grab it all.

     Donna:       I miss you so fucking much.

     Nathaniel:   Oh, I miss you so much.

     Donna:       No.

     Nathaniel:   Yeah.

     Donna:       No. Not like I miss you.

     Nathaniel:   Oh.

     Donna:       Oh, yea. I'll I do is think about you - - look at my purse Nathaniel Jackson, Nathaniel
                  Jackson.

     Nathaniel:   My baby.

     Donna:       Are you getting a lot of letters. Are you getting them all.

     Nathaniel:   Yeah. Yeah. They coming.

     Donna:       Are you getting a lot.

     Nathaniel:   Yeah.

     Donna:       Do you like h:ow much I'm writing.

     Nathaniel:   I love it. I love it.

     Donna:       I think there's one letter that you might get that you might not like something I ask
                                 i
                  you.

     Nathaniel:   Oh, okay.

     Donna:       But don ' t be mad at me because you know whether comes to my mind, I have to say
                  it.

     Nathaniel:   Okay.

     Donna:       So, everything is always up front with us.




                                                                                  DONNA ROBERTS v WARDEN
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      Nathaniel:   Okay.

      Donna:       What.

      Nathaniel:   Is it real bad.

      Donna:       No. Just more stuff that I want to know you don't want to talk about anymore.
                   Guess where I'm going on.

      Nathaniel:   Where.

      Donna:       Well, I'm on my way to work. He had to show somebody apartment, so he opened
                   but I have to work all day. I'm on my way to my favorite place, the post office.

      Nathaniel:   So, he - -

      Donna:       They're open too, I could get that $25.00 - - I knew I should sent you that much. I
                   knew it. I knew it. I was going to do it but I said, maybe, he knows what he is
                   talking about and he won't really need it.

      Nathaniel:   Because one of my dudes from Youngstown, he's my roommate now, because the old
                   dud left.

      Donna:       Oh.

      Nathaniel:   I wanted to make sure we all right, you know.

      Donna:       Of course. Of course honey.

      Nathaniel:   And um, you say he's working Saturday and Sunday now in Youngstown?

      Donna:       Huh, hum.

      Nathaniel:   Okay.

      Donna:       I think every other one.

      Nathaniel:   Okay.

      Donna:       I'm not sure but this time he is.

      Nathaniel:   Did he - -

      Donna:       What.




                                                                               DONNA ROBERTS v WARDEN
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     Nathaniel:   Is he working Youngstown tomorrow.

     Donna:       Yeah.

     Nathaniel:   What time.

     Donna:       From morning until 9:00 at night.

     Nathaniel:   Okay. Because we get phone calls tomorrow too.

     Donna:       I know. What time.

     Nathaniel:   Sometime in the evening.

     Donna:       Oh that will be nice. You will call me right.

     Nathaniel:   Oh, yeah.

     Donna:       Tell me something good honey.

     Nathaniel:   I love you so much.

     Donna:       Are you are. ·

     Nathaniel:   More than sure. I'll show you when I come home.

     Donna:       Are you one-hundred percent.

     Nathaniel:   I'm one-hundred and ten percent. I'll show you when I come home.

     Donna:       Oh, your letters are getting so sexy honey.

     Nathaniel:   Yeah.

     Donna:       You're so fucking horny.

     Nathaniel:   Right.

     Donna:       You know what. I walk around wet all the time now. I am wet right now. I can take
                  a bath or take a shower, wash, wipe and think of you wet. You see, I'm writing to
                  you all through the day, right.

     Nathaniel:   Yeah.

     Do1ma:       And at home at night. So, you know I'm always thinking about you.




                                                                             DONNA ROBERTS v WARDEN
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      Nathaniel:   Yeah.     Hey when you, hey, when you like, I don ' t know if we are allowed
                   (inaudible)

      Donna:       I can't hear you what honey.

      Nathaniel:   I said, I don't know if we are allowed to have them envelopes with the stamps already
                   on them.

      Donna:       Their not.

      Nathaniel:   I'm saying - -

     Donna:        Oh, you mean, ifl stick them on.

      Nathaniel:   Yeah.

     Donna:        Oh, found out.

      Nathaniel:   Yeah, but look, just send three anyway, you know what I'm saying. Then, if they,
                   you know, if they let me have them, you know, (inaudible)

     Donna:        Oh, all right.

      Nathaniel:   Yeah - -

     Donna:        Sure.

      Nathaniel:   I put that in my letter too.

     Donna:        Okay. I'll send them out today hon.

     Nathaniel:    So, how's my baby been doing.

     Donna:        Oh, good really. I haven't been letting too much bother me and - -

     Nathaniel:    Okay.

     Donna:        - - and I have been thinking about you coming home.

     Nathaniel:    I can' t wait to come home with my baby man.

     Donna:        I have this picture in my mind of everything that I want you to do to me and
                   everything I want to do to you and how am I ever going to get enough of you honey.

     Nathaniel :   Oh, man. Then, when we really be together man.




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     Dom1a:       Oh.

     Nathaniel:   It will really be on man.

     Dom1a:       Oh, last nigh\ I came so hard. I just have to rub it now and think about stuff with
                  you.

     Nathaniel:   It will really be on now man once we be together man, I'm telling you man.

     Donna:       Honey, we'll have so many wonderful secret private moments together.

     Nathaniel:   Man, for real.

     Donna:       Oh, I'm going to explore your whole body and never pass up an experience. You
                  know what I'm going to make you do.

     Nathaniel:   What.

     Donna:       I know you really like it so, I'm really be a pro at it and I'm thinking when I got you
                  on your knee's, I'm going to make reach both your hands back no matter how
                  awkward that:might be and spread those little ass checks wide apart - -

     Nathaniel:   Oh man.

     Donna:       - - and I'm going to lick you soft and slow and around and up and down

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                  monitored.

     Donna:       - - and arounq that real delicate skin that you love to be licked and I'm going then
                  make my tongue so hard and I'm going to really suck you with my tongue.

     Nathaniel:   Oh man.

     Donna:       Or you can suck my tongue moving back and forth I don't care.
                                   :\

     Nathaniel:   Damn, damn. ,

     Donna:       I want ever bit of you Nate.

     Nathaniel:   I can't - -

     Donna:       I do.

     Nathaniel:   - - wait to - - I love you so fucking much man.




                                                                                  DONNA ROBERTS v WARDEN
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      Donna:       I want you to kiss me so much honey.

      Nathaniel:   I'm going to kiss you hard.

     Donna:        Promise.

      Nathaniel:   Promise. Promise baby.

     Donna:        I can't wait anymore Nate.

     Nathaniel:    It's going to be all right baby, you know, we down, we got real down.

     Donna:        But my whole body is like jittery now. It ' s getting close and I'm nervous and I can't
                   wait.

     Nathaniel:    Don't get nervous now.

     Donna:        What.

     Nathaniel:    Don't get nervous now.

     Donna:        Oh, I am nervous. No, I'm nervous . I think once you hold me and kiss me
                   everything will be okay.

     Nathaniel:    I put down the cd's I want you to get to .

     Donna:        All right.

     Nate          On the - -

     Donna:        I asked you if you wanted to get music.

     Nathaniel:    Yeah. I got that letter yesterday. That song, you got it bad that is by Usher and yeah,
                   I got it bad. Yeah.

     Donna:        Do you.

     Nathaniel:    Oh, man.

     Donna:        You want your babygirl.

     Nathaniel:    Bad.

     Donna:        You know what, Nate.




                                                                                  DONNA ROBERTS v WARDEN
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      Nathaniel:   What baby.

      Donna:       I'm gonna pay you the biggest compliment. Now I know where you come from, it's
                   like no big deal, it happens everyday but I want you to know. If I was a younger
                   person, I would have a baby with you and have a wonderful family and show you
                   what life could really be like.

      Nate         Oh honey.

      Donna:       I only wish I, I didn't miss that part of you, you know. I'm so sorry about that.

      Nathaniel:   That's ok baby.

      Donna:       Cause I would love, love for you to have a real family life for once in your life but
                   I guess our family will just be two people, huh.

      Nathaniel:   Yes, yes, yes. Hey and then the_ I want you to get, I want you to get the Garcia
                   Vega, the - -:

      Donna:       Oh Garcia, oh, I went to get them. Did you get that letter already.

      Nathaniel:   Yeah.

      Donna:       Oh wow.

      Nathaniel:   Yeah.

      Donna:       I went to get them and it says blunt, blunt.

      Nathaniel:   Yeah all thm;e

      Donna:       Oh shit

      Nathaniel:   It's the Garcia Vega green

      Donna:       Ok, I won't forget that.

      Nathaniel:   Yeah I put it down in the letter

      Donna:       I already got your Black and Milds.

      Nathaniel:   (Laughs)

      Donna:       (Laughs) I'm so fucked up. I don't know ifl'm coming or going, you know.




                                                                                 DONNA ROBERTS v WARDEN
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      Nathaniel:    You said a

      Donna:        It's, it's real different - -oh no.

      Nathaniel:    You said the new Lincoln's look good.

      Donna:        Huh?

      Nathaniel:    You said them new Lincoln's look good.

      Donna:        Oh yeah.

      Nathaniel:    We tight.

      Donna:        Oh, yeah.

      Nathaniel:    We'll look at one.

      Donna:        I want you to have anything that makes you happy.

      Nathaniel:    My dude, my dude, man, tell you my cousin, he's in a bad joint. He got a truck, man,
                    that I like, man. He wants $10,00 for it man. Man, it's tight. Like an orange color.
                    It got different colors in it man. It's cold man. It got a TV in it. A DVD player.

      Donna:        Is it used?

      Nathaniel:    Huh. It's newer but I mean, it's tight man. I like it.

      Donna:        Oh, honey, tell me you love me. It's almost times up.

      Nathaniel:    I love you baby so much.

      Donna:        I love you. I love you Nate.

      Nathaniel :   I'm going call tomorrow evening sometime. I don't know exactly what time. I
                    promise I'm going to call.

      Donna:        Okay, honey. I'll be home waiting.

      Nathaniel:    Okay, I love you baby.




                                                                                 DONNA ROBERTS v WARDEN
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                                                                           368A


     BB12107K-l 1-1 l-0l

     This is MCI Worldcom. This call is originating from an Ohio Correctional Institution and maybe
     recorded or monitored. I have a collect call from Nathaniel Jackson, an inmate at Lorain
     Correctional Institution. If you wish to accept and pay for this call, dial zero, thank you.

     Nathaniel:    Hello.

     Donna         Hello

     Nathaniel:    Hey, are you there.

     Donna:        Yeah.

     Nathaniel:    Oh, man. Man, man, man. How are you doing today, okay.

     Donna:        No.

     Nathaniel:    What's wrong.

     Donna:        I was thinking of stuff last night.

     Nathaniel:    What.

     Donna:        Will you tellme.

     Nathaniel:    Huh.

     Donna:        Will you tell me the truth for once.

     Nathaniel:    Will I tell yo~ the truth.

     Donna:        Yeah.

     Nathaniel:    What's wrong.

     Donna:        Something didn't make sense to me and I keep thinking about.

     Nathaniel:    What did I do .

     Donna:        I just want to know why. Why, why, why did you want her apartment so bad.

     Nathaniel:    Oh, man, I know you ain't still with that, man.

     Donna:        Yeah, I- -




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      Nathaniel:   Man, come on, man, look here.

      Donna:       Please tell me.

      Nathaniel:   What. So, I can - -

      Donna:       Tell me.

      Nathaniel:   So, I can have a place to live, man.

      Donna:       Well - -

      Nathaniel:   Where was I goin to go.

      Donna:       But wait a minute. There is a lot of apartments why her's. Why her's that you had
                   worked on for months.

      Nathaniel:   Because for one thing, man, I didn't have to go through the changes of trying to look
                   and find an apartment, man. It was right there, man.

      Donna:       Where was she going to go.

      Nathaniel:   Man, I don't care, man. I did not care at all. I told you. I did not care, man. It
                   wasn't like that, man. See, man.

      Donna:       Wasn't she going to be there.

      Nathaniel:   No.

      Donna:       Oh, okay.

      Nathaniel:   I'm trying to - -

      Donna:       Then, there ' 5c one other thing.

      Nathaniel:   What.

      Donna:       Other thing. When she wrote about - -

      Nathaniel:   Man, I'm not used of dealing with this, man.

      Donna:       I'm sorry. Ij~1st can't, it won't settle. I have to get it settled and then, I'll forget it.

      Nathaniel:   Man. We've_been, man, we been - -




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      Donna:       Wait a minute.

      Nathaniel:   Got this man.

      Donna:       Wait a minute.

      Nathaniel:   What.

      Donna:       She was writing Mr. And Mrs. Nathaniel Jackson.

      Nathaniel:   Man, I don't- -

      Donna:       Then, she wrote - -

      Nathaniel:   You don't - ;c

      Donna:       Listen.

      Nathaniel:   You don't understand the street life, do you.

      Donna:       Listen, she wrote me, you, my son, and our baby.

      Nathaniel:   Look, look, listen here, you don't - -

      Donna:       Why did she write that.

      Nathaniel:   You don't understand fucking street life, right.

      Donna:       Why did she write our baby.

      Nathaniel:   Man, look. If you want to finish it man, right now, man, let's just go ahead, man,
                   because I don't want to go through that no more man.

      Donna:       Just tell me.

      Nathaniel:   I do not know, man. Didn't I fucking tell you that, man.

      Donna:       And then - -

      Nathaniel:   I don't care what she said, man. Look, like I said - -

      Donna:       Then, you told me she was pregnant.

      Nathaniel:   Look, look, look. I told you one thing right, you know what I am saying. We said
                   that we was going to leave this alone, man. Look here, man, I ain't trying - -I'm too




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                  short, man, coming home, man, if you want to go ahead and end this right now, man,
                  go ahead, man, because Iain 't going through this no more, man. I told you, man, that
                  is left alone, man, and nothing there, man, you know what I'm saying. You know
                  who I been by, you know what I'm saying. Who my time with, man. You keep
                  bringing this back up, man, and I'm going for it, man, because I ain't going get out
                  there on the streets, man, and throw that in my face, man. So, if you want to go
                  ahead and ends this right now, man, then, go ahead.

     Donna:       Okay.

     Nathaniel:   Cause I'm not, you know what I'm saying, I'm not getting out there like this no more,
                  man. We even made plans and everything, man. Why do you still want to keep
                  doing this, huh.

     Donna:       I don't know if you're trying to really include me.

     Nathaniel:   What do you mean, man.

     Donna:       Things just don't make sense.

     Nathaniel:   What do you mean, man. What do you want me to do, man. I'm feeling good, man,
                  you know what I'm saying, man. You always do this shit, man. You always fuck
                  around and bring me down, man.

     Donna:       I'm sorry.

     Nathaniel:   You know what I'm saying. You always do it, but you keep saying you're son-y
                  though, man, but you still do it, man. You see what I'm saying, man. After you
                  know, you know what I'm saying, you promise that you were goin, you know what
                  I'm saying, leave the situation alone, man, but you still want to bring it up, man. You
                  let no body get to your mind, man. Your easily influenced, man. You let no body
                  get to your mind, man.

     Donna:       It doesn't make sense.

     Nathaniel:   You know who I love, man.

     Donna:       It doesn't make sense.

     Nathaniel:   What the fuck you mean.

     Donna:       You tell me something.

     Nathaniel:   What.




                                                                                 DONNA ROBERTS v WARDEN
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      Donna:       Why do you love me.

      Nathaniel:   You're my heart. I been with you almost two years. To many fellows get involved
                   with you. I can't let that go like that, you know what I'm saying. I sit here every
                   night, lay up; and think about our plans, man, when I come home, man. Now, it
                   seems like everything, man, I stayed up until 3:00 this morning, man, thinking about
                   us man. It seemed like everything is just goin down the drain now, you know what
                   I'm saying. I knew something was goin to happen, man, when I get closer to coming
                   home, man, it just made me think more and more, man, you don't want to be with
                   me, man. You're trying to get an excuse, man, and all of sudden, man, you gettin to
                   wait until I'm corning home, man, you know what I'm saying. You feel good and
                   everything about it, man, then, you down grade me, man, you know what I'm saying.
                   When I want to have a good life with you, man, but you don't want it though, man.


      Donna:       Yes, I do.

      Nathaniel:   No, you don't man, because you would leave that alone, man. You would leave that
                   alone, man. If you could see, man, you know what I'm saying, man.

      Donna:       It bothers me.

      Nathaniel:   Ifyou--

      Donna:       It bothers me. I can't sleep when I think about it.

      Nathaniel:   Look, if you would see, man, who is all my time with, huh. Whose all my time with,
                   Donna.

      Donna:       I don't know.

     Nathaniel:    What you mean don't know, Donna.

     Donna:        Maybe she seen some before because you know (inaudible)

     Nathaniel:    Donna. Donna. Look here, I'm going to tell you this one and last time, all right.

     Donna:        Is she pregnant with your child.

     Nathaniel:    Hell no. Mean, what do you mean, man. How could she be pregnant when I haven't
                   touch this girl, man, huh. If you could understand, man.

     Donna:        Why did she write our baby down.

     Nathaniel:    Look here Donna, I told you like this, all right. I told you like this, man, you know




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                  what I'm saying. The girl she was fooled. Her mind was gone, okay. She was
                  figuring she could have all this, man, you see what I'm saying. I even told her, man,
                  I explained to you in my letter, man. It's all game, man. It's all part of the game,
                  man. You don't know the streets, man, that's why your messed up, man, because you
                  keep on thinkin stuff, right. I did this all upon the street game, man, you know what
                  I'm saying. ltold you, man, I said, fuck it, I don't want the apartment that is why I
                  never send the letters out, man, they just stayed in my property, man. I left it alone,
                  man. Donna,

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                  monitored.

     Nathaniel:   Donna. Donna.

     Donna:       And you never did tell me what - -

     Nathaniel:   Dom1a. Donna.

     Donna:       - - happened at the end.

     Nathaniel:   Donna. Donna.

     Donna:       Did it end.

     Nathaniel:   Ain't no thin there.

     Donna:       Huh.

     Nathaniel:   I told you there wasn't nothin there.

     Donna:       How did it end.

     Nathaniel:   Oh, may goodness, man. Look.

     Donna:       Tell me.

     Nathaniel:   Look, I'm about to get off this phone, man, because I don't want to go through this
                  no more. I'm about to go ahead and get off the phone.

     Donna:       Please tell.

     Nathaniel:   Donna.

     Donna:       Please tell me.




                                                                                 DONNA ROBERTS v WARDEN
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      Nathaniel:    It wasn't never no beginning. Do you understand, man.

      Donna:        Did it end.

      Nathaniel:    It wasn't no beginning, okay.

      Donna:        You still won't answer me, huh.

      Nathaniel:    Why are you trying to make me say something, man, huh. Didn't I tell you there was
                    no beginning, huh.

      Donna:        Yeah.

      Nathaniel :   So, how could something end when it never began, huh.

      Donna:        When did the letters and the call end?

      Nathaniel:    Donna, hey, I talk to you, Donna. I'm about to get off the phone, man. I ain't trying
                    to go - - I ain't trying to keep going through this, man.

      Donna:        All right.

      Nathaniel:    You know what I' saying. Hey, Donna, Donna, Donna, Donna.

      Donna:        What.

      Nathaniel:    Don't hang up the phone, man. Look here, man, do you want to be with me when I
                    come home or not, man, just let me know right now, man, huh. What is it is you
                    seeing somebody else or something to bring this up, huh. Another dude got to your
                    head that quick.

      Donna:        You know better than that.

      Nathaniel:    Over what. One day I just talked to you yesterday and everything was all good, man.


      Donna:        Because I was thinking about all that.

      Nathaniel:    You know what I'm saying. Man, you see what I'm saying, man. Why you - -

     Donna:         I was thinking about all that.

      Nathaniel:    You know what I'm saying. You just let the devil take your mind, man. That's what
                    you do, man. When I try teach you stuff that's right, man. You just get drifted off.
                    Why. Huh.




                                                                                  DONNA ROBERTS v WARDEN
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      Donna:       Maybe I had a reality check.

      Nathaniel:   Donna, do you want to be with me when I come home. Answer this, do you. Huh.
                   I knew something told me I shouldn't of called, man. I felt something, man, you
                   know. Every time, man, when I try, you know what I'm saying, make things right,
                   man, you know what I'm saying man, you, man, you would be the reason, man, my
                   life to get turned around, man, and go right back down again, man.

      Donna:       Don't blame it on me.

      Nathaniel:   Yeah, no, you would be the reason, man, you know what I'm saying. Because just
                   when I thought everything was going good, man, my whole life was about to change
                   around, and the things that I was about to do just to be with you, man, you know what
                   I'm saying.

      Recording    60 Seconds left on this call.

      Nathaniel:   that's what it is, man, you don't want me to do that, man, so we can be together, man.

      Donna:       That's not it at all. I want to be absolutely sure about you.

      Nathaniel:   Donna. Donna.

      Donna:       And I can't be.

      Nathaniel:   Donna. Donna.

      Donna:       And I want to be but I can ' t think - - things don't make sense.

      Nathaniel:   Donna. Donna, look, listen here, okay. I love you all right. You love me. Huh.
                   Now, everything just changed all in one day, man. I'm tired of this shit, man. I'm
                   fucking tired of this shit, man. I'm tired of it, man. All of a fucking sudden, man,
                   you just wait til I come home, man, you know what I'm saying. I'm about to go back
                   to my old fucking ways, man. You wait till I come home, man. You pissed me off
                   now, man.

      Donna:       Please don't talk like that.

      Nathaniel:   No, man. No please don't talk like this, man. Don't talk to me, man. I'm gone,
                   man, bye.




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                                                                                   369A

      BF1410KP 11/15/2001

      This is MCI Worldcom. This call is originating from an Ohio Correctional Institution and maybe
      recorded or monitored. I have a collect call from Nathaniel Jackson, an inmate at Lorain
      Correctional Institution. If you wish to accept and pay for this call, dial zero, and hold, thank you.

      Nathaniel:     Hello.

      Donna:         Hello.

      Nathaniel:     Hey, hey, sweetheart. Sweetheart.

      Donna:         What.

      Nathaniel:     Are you there.

      Donna:         Hey, honey . .

      Nathaniel:     Hey, baby look here. I didn't mean that I was gone, I mean out of your life, okay.
                     I mean - -

      Donna:         Oh, Nate.

      Nathaniel:     - - my time was up on the phone, baby, okay. Please don't don't take it that way,
                     okay.

      Donna:         Nate, I have not lived since you said that to me.

      Nathaniel:     No, baby. I meant as far as the phone because my time, you know, you know, it said
                     60 seconds, you know, so, you know, just hang straight up on you, you know. But
                     I let you know, baby, that I love you, Donna. You know, please sweetheart.

      Donna:         Nate.
                                  -!
      Nathaniel:     Baby, I love you so much honey.

      Donna:         Nate, I love you. I can't live without you.

      Nathaniel:     All I want to do baby is be in your life, honey.

      Donna:         Please.
                                 ;'
      Nathaniel:     Baby, I'm never goin leave you, Donna. I'm never goin to leave you.

      Donna:         I'm sorry I hurt you. I'm sorry I was selfish.




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      Nathaniel:   I read them letters yesterday, man. I was so hmi, man, you know what I mean.

      Donna:       I'm sorry.

      Nathaniel:   Baby, you know what I'm saying. All I want to - -

      Donna:       Honey, you loved it. See, you're missing the whole point.

      Nathaniel:   All I want us to do is - -

      Donna:       The point is only one thing.

      Nathaniel:   All I want is - -

      Doru1a:      No matter how bad it is, please, don't lie to me. We can't have - - live on lies. We
                   have been doing that.

      Nathaniel:   Fine. Sweetheart, look, all I want to do, you know what I'm saying because, okay,
                   you know just as well as I know, you know what I'm saying, is that man, I admitted
                   up to my wrongdoings, okay. I told you - -

      Doru1a:      I know but - -

      Nathaniel:   Wait a minute, let me talk know . Look. Let me talk. I told you, I told you that it
                   wasn't nothing, you know what I'm saying, between us like that. I never touched that
                   girl, you know what I'm saying.

      Donna:       But why did you - -

      Nathaniel:   But wait a minute. Wait a minute, sweetheart.

      Do1ma:       Why did you go there.

      Nathaniel:   Huh. I did not go there. I didn't never tell you I want to her apartment never.

      Donna:       You said it was in a nice neighborhood.

      Nathaniel:   Huh. In Austintown. Austin town is a nice neighborhood . Boardman is a nice
                   neighborhood.

      Doru1a:      Okay. Then, let's not even talk about it ever again. I threw those things away last
                   night.

      Nathaniel:   Okay. That's all I wanted you to do, you know.




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     Domrn:       And when I got your letters today, I felt awful.

     Nathaniel:   Baby.

     Donna:       I didn 't mean to hurt you honest. I never want to hurt you.

     Nathaniel:   I love you so much.

     Donna:       I just don't want to be alone anymore without you.

     Nathaniel:   You're not. You're not. If you look at it like this, baby- -

     Donna:       I can't take it anymore here.

     Nathaniel:   After almost two years, you know what I'm saying, You should really realize this,
                  you know what I'm saying, I mean, you know, this can't be no game, you know what
                  I'm saying. Baby, two years, you know. What kind of game would love could a
                  person actually play for two years.

     Donna:       I know.

     Nathaniel:   Don't you think it would be something else, you know what I'm saying, that be tied
                  up in this, you know what I'm saying. Like some kind of (inaudible) or somethin.

     Donna:       Honey.

     Nathaniel:   I ain't just goin to be around.

     Donna:       Nate.

     Nathaniel:   Huh.

     Donna:       I have to know a hundred percent in my heart - -

     Nathaniel:   Hundred percent.

     Donna:       - - that I can tmst you with my body, my life, and everything I own. I want to walk
                  out of the house and leave you there and know you can take care of business. You
                  can go to the bank. You can take care of bills.

     Nathaniel:   Baby I can.

     Donna:       I want to trnst you with my life knowing you won't touch another woman and bring
                  me home some fucking disease. I just - -




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      Nathaniel:   Baby, I would never.

      Donna:       - - have to be so, you know, so hard for me, I know it's hard for you because you're
                   in there, but I'm in a worse kind of jar because every night when I go home and I
                   can't - -

      Nathaniel:   I had to go over to medical to get a breathing treatment. Then, I had to go over there
                   this morning.

      Donna:       Oh, I'm sorry.


      Nathaniel:   Man, oh man. My celly kept saying, it's going to be all right. It's going to be all
                   right. I'm like, man, she's thinkin, you know, she's thinkin its over, man. She's
                   telling me, you know, good-bye and good luck, you know what I'm saying.

      Donna:       I'm sorry.

      Nathaniel:   Like, man. I still got two letters that I haven't even read, man. I'm scared to read
                   them.

      Donna:       Oh, baby.

      Nathaniel:   I'm scared man, you know.

      Donna:       Oh, please forgive me. I don't mean to aggravate you. I don't know if I'm coming
                   or going sometimes.

      Nathaniel:   And then, you know, the part about it, you know, when I started writing last night,
                   I, you know what I'm saying, I mean, my mind was talking bad about, you know
                   what I'm saying, yelling and cursing at you and this. But you know, I'm over that
                   stage, you know, so I just wrote, you know what I mean, what was on my mind and
                   in my heart, or how I felt about you, you know what I'm saying. I mean, man, you
                   know what I'm saying, I mean, I don ' t want to go through this with the woman that
                   I love.

      Donna:       No.

      Nathaniel:   Because I'm looking, you know what I'm saying, I mean, every day I'm looking
                   forward to December 9t\ you know what I'm saying.

      Donna:       Me too. Oh, Nate, it is all that I can think about honey.

      Nathaniel:   You know.




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      Donna:       You know that.

      Nathaniel:   Me and my baby man.

      Donna:       You know that I'm aching to be with you. IfI could just see you or something it
                   would be easier.

      Nathaniel:   Baby, don't worry about. It is almost over honey.

      Donna:       No. It's a long time every day.

      Nathaniel:   No, it's not. Look at her baby, a long time ifI still had until March. You think about
                   March and you think about now, sweetheart.

      Donna:       All right.

      Nathaniel:   You lrnow.

      Donna:       Please tell me you forgive me for aggravating you. I can't help it honey.

      Nathaniel:   I forgive you baby, okay. I forgive you baby. You know, I just didn't, you know
                   what I mean,J can't, you know what I'm saying, I mean, I fold being under pressure.
                   I don't like to be under pressure, you know.

      Donna:       When I heard you say good-bye I'm gone I went crazy.

      Nathaniel:   No, baby, you see, I mean, it's just because, I mean, these people would of sent me
                   to the hole ifl would of started arguing. Ifl voice my opinion, you know, it would
                   of escalated to, you know, me raising my temper and my voice, you know, and these
                   people looking right at me on the phone, so I mean, I'm trying to hold all of this
                   inside at the same time and let you know baby that I love you and only you
                   sweetheart, you know what I'm saying. Because if we don't go ahead, you know
                   what I'm saying, and leave this alone now, man, it is going to hurt us in the long run,
                   you know. Because it is going to make me feel - -

      Donna:       How can I ge·t it out of my mind.

      Nathaniel:   Just don't - -

      Donna:       Please tell me, I don't ever want to think of it again.

     Nathaniel:    Listen, please. Stop, stop, stop. All right.

     Donna:        Please tell me.




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      Nathaniel:   Would you stop and listen first. Listen here, all you, you know, where my heart is.
                   You know whom I'm with. You know who I have been with for 2 years, Donna.
                   You know what I'm saying.

      Recording:   This call is originating from an Ohio Correctional Institution and may be recorded
                   or monitored:

      Nathaniel:   I mean, I could see if you seeing some love lost between us, you know what I'm
                   saying. Some time lost, you know what I'm saying, or if I was somewhat sliding
                   away from you, then you could say something, but baby, you know what I'm saying,
                   you got me and my heart, you know what I' saying. There isn't anything to worry
                   about man. Because I don't sit there and wony about you know the guys that try to
                   come and hiton you, you know what I'm saying. I don't think in my kind for one
                   minute, well, maybe if she did talk to one of them, I don't think that. Fuck that. I
                   know who got you, you know what I'm saying. I know where your heart at.

      Donna:       You know.

      Nathaniel:   Look, you is my heart Donna.

      Donna:       And you 're my heart honey.

      Nathaniel:   I always toldyou, you know what I'm saying, we in this till death do us part, you
                   know what I'm saying and I meant that. I sit there and on my last letter that I told
                   you the sameJhing, you know what I'm saying.

      Donna:       Promise.

      Nathaniel:   Promise baby. We in this till death do us part. I'm a prisoner of your love, you
                   know. I'm teHing you baby, I mean, you can have all your money and cars and the
                   house, but just leave your love baby. That is all I want, you know. I don't want
                   nothin else but your love. That is all I want sweetheart.

      Donna:       You have all my love in me.

      Nathaniel:   You're my heart.

      Donna:       You know how much I love you.

      Nathaniel:   My heart baby.

      Donna:       I love you.

      Nathaniel:   I'm coming home.




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     Donna:       Can't you tell in those letters that my heart was breaking.

     Nathaniel:   Then, I seen, you know, you said that you were going to stop writing and then, it was
                  like, I'm going to get mine, you know what I'm saying. You know that mine is going
                  to come to me one day for what l did. Baby, l ain't never said, l ain't never mean,
                  you know, to say nothin to hurt you. You took it the wrong way. I meant that l was
                  gone because my time was up, you know. I was in my room going crazy last night.
                  My dude was like, man, it going to be all right, man. It's goin to be all right, man.
                  Because one of my dudes, the kids I went to school with, you know what I'm saying,
                  he's my roommate and he was talking to me about, you know what I'm saying. He
                  would let me know man, cool man.

     Donna:       Nate.

     Nathaniel:   Yes, baby.

     Donna:       Don't you know how much I love you.

     Nathaniel:   That's my baby.

     Donna:       Do you think for a minute that I can ever let you go.

     Nathaniel:   And I'm like, man, we got all these plans for, man when l come home, man. I'm not
                  coming home to no body man because I'm thinking in my room if she doesn't want
                  to be bothered with me man, you know, it had me thinking you was trying to find a
                  way out maybe because I said - -

     Donna:       Why.

     Nathaniel:   Listen. Wait a minute I'm about to tell you. Because I was thinking that Saturday
                  when I asked you, I told you about that

     Recording:   You have sixty seconds left on this call.

     Nathaniel:   - - when I told you about that truck. I'm figuring, well, you know what I'm saying,
                  maybe, you know, she wanted to wait, you know what I'm saying, every time I ask
                  for somethin, you know, somethin come up .

     Donna:       Are you out of your fucking mind.

     Nathaniel:   What a minute listen here.

     Donna:       Oh, how crazy.

     Nathaniel:   Then, I was like, maybe she don't want, you know what I'm saying, he got her scared




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                  and she don't want to come to Cleveland to pick me up from the bus station when I
                  come home, you know what I'm saying. Maybe she got a excuse to get mad at me,
                  you know what I'm saying.

     Donna:       Oh, Nate, I'm not a girl or a child. I'm a woman.

     Nathaniel:   I mean, you know - -

     Donna:       I don't play games don't you know that.

     Nathaniel:   Yeah, baby.

     Donna:       I just love you.

     Nathaniel:   Okay. I'm I going to get any mail today.

     Donna:       I don't know.

     Nathaniel:   Okay. Hey, sweetheart, my time up, okay. I love you and I'm going to call you
                  Saturday morning, okay.

     Donna:       All right, honey.

     Nathaniel:   I love you baby.

     Donna:       I love you honey so much.

     Nathaniel:   I love you baby.

     Donna:       I love you honey.

     Nathaniel:   I love you.

     Donna:       I love you.

     Nathaniel:   Bye baby.




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                                                                                     370A
     BH141 OLE 11/17/01

     This is MCI Worldcom. This call is originating from an Ohio Correctional Institution and maybe
     recorded or monitored. I have a collect call from Nathaniel Jackson, an inmate at Lorain
     Correctional Institution. If you wish to accept and pay for this call, dial zero, and hold, thank you.

     Nathaniel:     Hello there sexy voice.

     Donna:         Hi honey.

     Nathaniel:     Hey, baby I love that voice. Oh, man. Oh you sound so cozy.

     Donna:         I just came in to the big bed about five minutes ago waiting for you to call.

     Nathaniel:     Oh, I just got out of the shower. I love you baby.

     Donna:         I love you.

     Nathaniel:     I love you so much honey.

     Donna:         I love you baby.

      Nathaniel:    I miss you too.

      Donna:        I miss you.

     Nathaniel:     1 can't wait to hold my baby in my arms man. I can't wait to hold you Donna. I
                    mean that.

     Donna:         Do you honey.

     Nathaniel:     Hey, 1 mean that. I want to hold you so bad baby. I love you so much honey. I really
                    do, I love you· so much. I mean that honey, I love you so much, Donna. My heart,
                    that's all I got baby, you know. You is all I got, you know.

     Donna:         My sweetheart.

      Nathaniel:    You is everything to me. My mom, my dad, my sister, my brother, my fri end, my
                    lover, you know.

     Donna:         I want to be everything.

     Nathaniel:     You everything above baby. Everything.

     Donna:         is that what you think about when you lay there at night all alone.




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     Nathaniel:   All alone. See, man, I ain't been able to sleep, man.

     Donna:       Three weeks honey.

     Nathaniel:   Oh, man. You working tomorrow?

     Donna:       No.

     Nathaniel:   I know that you'll close Thursday.

     Donna:       Yeah.

     Nathaniel:   So, I won't be able to talk to you till Saturday again.

     Donna:       Well, oh, oh, poney. You sound wonderful Nate.

     Nathaniel:   Man, baby, I miss you so much.

     Donna:       I only have a pair of grey satin panties on.

     Nathaniel:   Oh, man. You just wait. I got your letter the other day. The one that - I finally read
                  it the other day.

     Donna:       Oh.

     Nathaniel:   But you know, it's all right baby, you know.

     Donna:       I know honey,

     Nathaniel:   It's okay, baby.

     Donna:       You'll get my letters from me yesterday and the day before, they'll make up for it.

     Nathaniel:   I didn't get nolhin yesterday or Thursday.

     Donna:       You didn't.

     Nathaniel:   No.

     Donna:       Oh, you know what, I was waiting to talk to you.

     Nathaniel:   Yeah, i figure .that. I was like what, I didn't get no mail Thursday and I'm like, I'll
                  get some Friday though. Friday came and I'll get something from the Vindicator up
                  under,my dooi:-. I'm like, there's no mail and she was like, nope. Oh, man. I was
                  crushed again:




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     Donna:       Oh, Nate. Don't make me feel worse then I feel.

     Nathaniel:   Okay, baby, I'm sorry.

     Donna:       I'm sorry.

     Nathaniel:   That's okay baby.

     Donna:       Just forgive me and let's forget all about it.

     Nathaniel:   Okay, then, baby. That's what I'm talking about. So, how has everything been goin.

     Donna:       Oh, okay. Just okay.

     Nathaniel:   I'll take care of things when I come home, okay.

     Donna:       It's really bad, Nate.

     Nathaniel:   I' 11 take care of things all right, I'll promise you that. I'll promise you that on my
                  heart baby. Won't be no more of that bullshit.

     Donna:       If you only knew, you'd break right out of there. It's real bad but I keep thinking of
                  you, you know.

     Nathaniel:   Okay then. I read your other letter when you said, um, um, like, um, you ask me if
                  I want to do some of that one thing with you.

     Donna:       What.

     Nathaniel:   The one stuff that you said is plentiful down at Miami.

     Donna:       Oh, yeah.

     Nathaniel:   I don't care you know what I'm saying, I mean, fuck it. I kick it with my baby and
                  get real freaky. I wrote it on the letter I sent out.

     Donna:       Guess what I bought yesterday at lunchtime after I went to the post office.

     Nathaniel:   What baby.

     Donna:       And I got your letter honey. I got your (Inaudible)

     Nathaniel:   Okay then. Okay then.

     Donna:       And I got you big red gum. I got your (inaudible). I'm ready for you and it's three




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                  weeks yet. I can 't wait.

     Nathaniel:   Okay then. You know what I'm saying, when you go and get that other stuff, just
                  um, go down there on (inaudible) and ask for Mike or Tonmo.

     Donna:       Mike or who.

     Nathaniel:   Tonmo.

     Donna:       Tonmo.

     Nathaniel:   Yeah. I put it in my letter that I sent out yesterday though because I don't want you
                  messing around up there in Warren, man, you know.

     Donna:       Yeah.

     Nathaniel:   Because I don't tmst the niggers out there, but if you can't get it, you know, don't
                  worry about it, okay.

     Donna:       Okay honey.

     Nathaniel:   I love my baby.

     Recording:   This call is originating from an Ohio Correctional Institution and may be recorded
                  or monitored.

     Donna:       So, what are you doing there, hon, are you all right.

     Nathaniel:   Yeah, I'm cool. I' ve been working out a lot.

     Donna:       Have you.

     Nathaniel:   Yeah.

     Donna:       Are you strong.

     Nathaniel:   Oh, yeah. Feel strong.

     Donna:       Can you hold me down and let me move.

     Nathaniel:   And not let you move.

     Donna:       An inch.

     Nathaniel:   An inch. I'm taking total control.




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     Donna:       I want you to take me so bad.

     Nathaniel:   Did you send me some envelopes.

     Donna:       I think I did, yeah, well, sometimes they're so thick that I can't, you know, I got a
                               a
                  couple back few times.

     Nathaniel:   Okay.

     Donna:       Because theyneeded postage, so.

     Nathaniel:   baby, that's my baby. Hey, what ever happened to that picture that you said that she
                  took with you with your shirt up.

     Donna:       Um, I think its in my purse.

     Nathaniel:   I want that. Send that to me.

     Donna:       Why.

     Nathaniel:   Because I want it. What you mean, why. Shit, I want it, okay. Are you going to send
                  it to me. Are you goin to send it to me. Huh.

     Donna:       Are you going to suck my nipples through my wet t-shirt.

     Nathaniel:   I'm goin to suck it all.

     Donna:       I want you to suck my nipples until their sore.

     Nathaniel:   That t-shirt that short t-shirt and that thong.

     Donna:       Do you want it to be like a white man t-shi1i.

     Nathaniel:   Somethin lik~ a see through one, yeah. I want it to be short.

     Donna:       I know.

     Nathaniel:   I love you so fucking much Donna.

     Donna:       Do you for sure.

     Nathaniel:   Hell yeah. So fucking much. You is my everything. Just look at it. We goin to
                  wake up fro Christmas together.

     Donna:       I was just daydreaming about you waking up with you.




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     Nathaniel:   h1 the same bed.

     Donna:       So hot from sleeping our bodies.

     Nathaniel:   baby, I love you so much honey. I really do . Its so wonderful.

     Donna:       I can't wait until you roll over to me in the morning. We've never done that.

     Nathaniel:   You goin still pick me up at the bus station up in Cleveland.

     Donna:       Well, no . I was thinking, ifl was going to Cleveland, how are you going to get to
                  Cleveland.

     Nathaniel:   Well, shit, um,

     Donna:       Isn't it better ifI come there and get you.

     Nathaniel:   But see, you got to be there at eight in the morning.

     Donna:       Oh, I can ' t.

     Nathaniel:   I know. That' s why I say just pick me up at the bus station in Cleveland.

     Donna:       What time will you be there.

     Nathaniel:   I don't know. I'll call the day the morning I get out, you know what I'm saying. I"ll
                  call you, you .k now, and tell you what time in Cleveland.

     Donna:       Oh, I wanted to come and pick you up there.

     Nathaniel:   You can check the schedule yourself to see what time the early morning bus leaves
                  from Elyria to go to Cleveland.

                  Oh, so you'll be going from Elyria to Cleveland.

     Nathaniel:   probably so. Just see when the next, when the bus comes from when it leaves from
                  Elyria where do it go as it travels to Youngstown.

     Donna:       All right.

     Nathaniel:   Okay.

     Donna:       Yeah.

     Nathaniel:   I love you so much.




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      Donna:       I love you honey.

      Nathaniel:   Baby. I'm happy now, man.

      Donna:       I'm touching it for you.

      Nathaniel:   Are you touching it for you.

      Donna:       All right sweetheart.

      Nathaniel:   I love you baby. I'll talk to you




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                                                                                          371A
        BM1410NS-11-22-02

        Recording    This is MCI Worldcom. This call is originating from an Ohio Correctional
                     Institution and may be recorded or monitored. I have a collect call from Nathaniel
                     Jackson, an inmate at Lorain Correctional Institution. Thank you.

        Nathaniel:   Hey you.

        Donna:       Honey

        Nathaniel:   Happy Thanksgiving baby

        Donna:       Happy Thanksgiving.

        Nathaniel:   (laughs)

        Donna:       Oh guess what I'm doing right now.

        Nathaniel:   What baby

        Donna:       Listen. You hear that noise .

        Nathaniel:   Uh huh

        Donna:       That's all your letters

        Nathaniel:   (laughs)

        Donna:       All of them in order. And I'm sitting here, I'm like one third of the way through
                     reading every single letter.

        Nathaniel:   (laughs) Hey sweetheart, I was reading your letter yesterday.

        Donna:       Ahoh.

        Nathaniel:   About the (inaudible) I'm telling you like this, I mean, you know I mean. Don't,
                     don't, don' t keep worrying about this sweetheart. You know.

        Donna:       I do babe

        Nathaniel:   I'm, listen here. You know because um,

        Donna:       I was thinking about it real bad last night.

        Nathaniel:   Lookie here, you know what I'm saying, cause I'm going to keep you feeling young.




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                        You know what I'm saying. I mean, and as you get older, you know I'm gonna get
                        older with you. You know, I mean, cause, you know I. It ain't something that I can
                        just, even though if you will be 65 and I'll be 37. You know what I mean, you can't
                        be just throwing it out the window like that. You know, !mean because, you know,
                       .I mean, time, times create, you know, with things. I mean if (inaudible) they get
                        deeper s\veetheart. You know I can't just, you know, let that go like that. You know,
                        so don't, don't, don't keep you know, don't keep on you know, getting it in your
                        heart like that, you know cause I'm gonna keep you feeling young. You know, and
                        ifl have to get old with you, well then there it is. You know, that's the way it's
                        gonna be. Ok.

         Donna:        Ok.

         Nathaniel:    All right then.

         Donna:        How are you?

         Nathaniel:    Cool, sw'eetheart. Hey, um, my dude was telling me man, about this spot up on
                       Market Street, the Wagon Wheel.

         Donna:        The what?

         Nathaniel:    The Wagbn Wheel

         Donna:        What is it?

         Nathaniel:    The vVagon Wheel

         Donna:        vVhat is it?

         Natfianiel:   It's a hotel.

         Donna:        Oh.

         Nathaniel:    It's um, he said they got $100.00 jacuzzi. They got um, it's, they got the TV's with
                       the VCR's, The um, they got the big king size bed with the mirrors up over it. And
                       um, you got a couch in there, you got a build in cassette player with big jacuzzi with
                       the mirrors around the jacuzzi. Shower. Yeah, he said it's love man. It's said it's
                       love man, for a hundred bucks, man.

         Donna:        (laughs)

         Nathaniel:    Man, what you think.

         Donna:        I think you deserve it.




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       Nathaniel:   Man, I want it. I'll tell you man, he was kicking' it man, you know and he was like
                    man, he was like man, got, it's the jacuzzi, jacuzzi with the mirrors around the
                    jacuzzi. Then the bed got the mirror up over the bed and shit,

       Donna:       You told n1e that already (laughs).

       Nathaniel:   (laughs)

       Donna:       You always repeat yourself when your excited, do you kno\.V that.

       Nathaniel:   Yeah I know.

       Donna:       So it's what the Wagon Wheel on Market Street?

       Nathaniel:   Yeah, yeah he said like, if I was you, a week before you know, I come home, just
                    make reservations. He said you might have to go put a deposit down. Because a lot
                    of people make reservations.

       Donna:       I found a place that has a heart shaped jacuzzi but that sounds better.

       Nathaniel:   Yeah, this one sounds better (laughs). Hey you might have to put a deposit down,
                    cause he said a lot of people call you know, and urn, they call for rooms you know,
                    but they don ' t never come in, you know, then they had and somebody else wanted
                    it and they put them on hold. But the next person don't ever come in.

       Donna:       Oh.

       Nathaniel:   Yeah, um.

       Donna:       Nate.

       Nathaniel:   Huh.

       Donna:       Have you been getting my mail?

       Nathaniel:   Yeah. Yeah.

       Donna:       You get it every day?

       Nathaniel:   I got your letters yesterday that you probably thought I was gonna get Friday saying
                    that you know, he was working in Youngstown.

       Donna:       Oh, good.

       Nathaniel:   Oh. Yeah and urn




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        Donna:       That was fast.

        Nathaniel:   Yeah, and um, yeah I talked to the Sergeant yesterday. Hey, which, which um,
                     what's the soonest, what's earliest you can leave?

        Donna:       I don't know. I don't know. I just don't want to face another confrontation. I mean
                     I would come up Saturday night to be there Sunday morning if it was up to me.

        Nathaniel:   Yeah. Well_ like, I mean, were,

        Donna:       Are you getting out for sure early Sunday morning?

        Nathaniel:   Yeah, I mean, what time you think?

        Donna:       I don't know but you can't take the bus, did you see the schedule?

        Nathaniel:   Yeah. I'm saying cause um, you know I mean, I can wait here. You know what I'm
                     saymg.

        Donna:       That's what I was thinking. I would be happy to come there.

        Nathaniel:   Yeah. You know, I mean, cause they said, the Sergeant told me as long as you
                     coming for sure, you know, I mean, they would keep me here.

        Donna:       Un huh. Well. I don't want to see you spending 6 hours going to the bus and
                     waiting for the bus and I still have to drive all the way to Cleveland. You know
                     what I'm saying.

        Nathaniel:   Yeah. Yeah, that 's what, that's what I was saying. You know, cause he ~aid, he said
                     I could stay here, you know what I'm saying, until my ride get here, just as long as
                     my ride is coming for sure. And I said yeah, my ride is coming, you know. Yeah.
                     Um, but then I seen in your letter where you was like, you know, where I'm going,
                     where am I gonna go when I get out. You know what I'm saying, the next day after.
                      You know what I told you I wanted to do right?

        Donna:       I'm afraid Nate.

        Nathaniel:   What you, man.

        Donna:       I can't afford to lose you.

        Nathaniel:   And I, listen, listen here.

        Donna:       I can not lose you. Like I will kill myself.




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        Nathaniel:    Man, look. See man.

        Donna:        If you go away from me again,

        Nathaniel:    Just forget about it man, you know what I'm saying, cause man I mean, when a
                      person, man, know what he's doing, man, you know what I'm saying, that's like
                      jinxing, man. You know what I'm saying, I know what I was doing, man. You know
                      what I'm saying.

        Donna:        But what was the story with the trunk and handcuffs, that's too involved.

        Nathaniel:    Just, just, just leave it alone, alright.

        Donna:        It's too much involved. Your gonna leave hair, your gonna leave prints, your gonna,

        Nathaniel:    Leave it alone, man. Leave it alone, alright.

        Donna:        Oh

        Nathaniel:    You know what I'm saying.

        Donna:        Alright.

        Nathaniel:    Come on man. This ain ' t Perry M ason man.

        Donna:        I don' t want to know anything about it ever.

        Nathaniel:    Just leave it alone, alright.

        Donna:        I don't want anybody to be in pain.

        Nathaniel:    Leave it alone, I said. Just forget about it, man.

        Donna:        Alright. All I know is one thing.

        Nathaniel :   So how, so how you feeling today?

        Donna:        I'm feeling full oflove.

        Nathaniel:    Did you send my picture out?

        Donna:        No.

        Nathaniel:    I know.




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       Recoding:     This call is originating from an Ohio Correctional Institution and may be recorded
                     or monitored.

       Donna:        (Laughs)

        Nathaniel:   So when you gonna send my picture out.

       Donna:        It's not a nice picture of me honey.

       Nathaniel:    Why.

       Donna:        I don't know. I look,

       Nathaniel:    Send it to me.

       Donna:        I look funny.

       Nathaniel:    Send it to me. So I take it your gonna send it out tomorrow, right.

       Donna:        (laughs)

       N athaniel:   Alright? Right.

       Donna:        Are you my master and am I your slave, what is this.

       Nathaniel:    (laughs) Your gonna send it out tomorrow right?

       Donna:        No.

       Nathaniel:    You are.

       Donna:        No.

       Nathaniel:    Or you must gonna send it out tonight then.

       Donna:        Right.

       Nathaniel:    Ok (laughs)

       Donna:        (laughs)

       Nathaniel:    Hey um, yeah I wrote in a letter for you to call, my roommate man, wants you to call
                     his "girl for him. She stays in Columbus. But you can use one of them calling cards
                     to ca11 her.




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       Donna:       Ok. You have the number.

       Nathaniel:   No. You should get the letter tomorrow.

       Donna:       Oh.

       Nathaniel:   Yeah, you should get the letter tomorrow, you know what I'm saying.

                    Ok.

       Nathaniel:   My roommate, you know what I'm saying, that' s my dude from Youngstown. We
                    went to school together.

                    Oh.

       Nathaniel:   And like she ain' t even writing him, you know. And he wanted to know if she left
                    him or is she got another dude or what, you know.

                    She's not writing to him.

       Nathaniel:   No, she ain't wrote him nothing. He, you know, tell her he said to send him some
                    money too. You know, cause he's all messed up down here, you know. I've been,
                    I've been helping him out as much as I could, you know.

                    Yeah.

       Nathaniel:   Yeah. You should get the, you'll get the letter tomorrow and call like around about
                    5 :00 or after. He said just call until you get in touch with her.

                    Alright I will.

       Nathaniel:   Ok. Yeah. Everything, his name, it's all on the letter.

                    Alright.

       Nathaniel:   Yeah, you should get it tomorrow.

                    Hey

       Nathaniel:   Yes baby.

       Donna:       You didn't tell me yet.

       Nathaniel:   I love you.




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        Donna:       (laughs)

        Nathaniel:   (laughs) I love you so much.

        Donna:       Do you.

        Nathaniel:   So much, so much, so much. So much, man, man, man. Can't wait until that date
                     come man.

        Donna:       What are you gonna do.

        Nathaniel:   So much, ooh.

        Donna:       How are we gonna stand a whole hours drive back here.

        Nathaniel:   That's alright. We'll make it. \Ve can make it. Yeah man, just like man, like um,
                     see about what time you think you will be able to leave?

        Donna:       I don't know . I guess ifI don' t care what happens I can leave anything but,

        Nathaniel:   See I like to know so I can tell them approximately what time you will come

        Donna:       Un huh

        Nathaniel:   You know what I'm saying. So they won't try to make me go get on the bus.

        Donna:       How long does it take to get there?

        Nathaniel:   Probably about an hour and half.

        Donna:       Unhuh

        Nathaniel:   You know .,

        Donna:       I'm looking for the map now as I'm reading your letters. The directions, remember
                     you sent.

        Nathaniel:   Yeah.

        Recording:   You have 60

        Donna:       Oh no. Ca.I). you call me again?

        Nathaniel:   No.




                                                                                DONNA ROBERTS v WARDEN
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       Donna:       Please let them.

       Nathaniel:   I can't man, not until Saturday.

       Donna:       Oh honey.

       Nathaniel:   Until Saturday. Just look for those directions, you know what I'm saying.

       Donna:       I have your letters all here, I'm reading every one.

       Nathaniel:   Ok, and then, I'll you know I'll call Saturday morning, you know and then you will
                    let me know.

       Donna:       Hey

       Nathaniel:   Huh

       Donna:       Let me give that thing a little kiss.

       Nathaniel:   Ok then.

       Donna:       (kiss sound)

       Nathaniel:   (kiss sound) And yeah then let me know what his girl say too when I call you
                    Saturday.

       Donna:       Ok.

       Nathaniel:   I love. you so much baby.
                                                                                                 ,e:.'




       Donna:       I love you Nate.

       Nathaniel:   I miss you.

       Donna:       Are you my man?

       Nathaniel:   I'm your everything.

       Donna:       You are.

       Nathaniel:   Yes I am.

       Donna:       You are my everything.

       Nathaniel:   I love you Donna.




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        Donna:       I love you.

        Nathaniel:   Somuch,man

        Donna:       So much.

        Nathaniel:   (kiss sound)

        Donna:       (kiss sound) I can't wait to kiss you.

        Nathaniel:   Ok then. Do more than kiss you.

        Donna:       I'm living to kiss you.

        Nathaniel:   I love you.


        CALLEN1)S




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       B0151049 - 11-24-01                                                                        372A

        Recording:     This is MCI W orldcom. This call is originating from an Ohio Correctional Institution
        and may be recorded or monitored. I have a collect call from Nathaniel Jackson, an inmate at Lorain
        Correctional Institution. If you wish to. Thank you.


        Nathaniel:     Hey you

        Donna:         Hey honey

        Nathaniel:     What's going on?

        Donna:         Oh honey.

        Nathaniel:     Hey (laughs)

        Donna:         I love you.

        N athaniel:    I love you too baby

        Donna:         I'm writing to you right now.

        Nathaniel:     Yes.

        Donna:         But I don ' t think I'm going to send this letter out.

        Nathaniel:     \Vhy?

       Donna:          I don' t think your gonna,.want to hear this.

        Nathaniel:     What baby. What's now honey?

        Donna:         Honey, why can't I have a normal life. Why does shit happen to me?

        Nathaniel:     What's wrong.

        Donna:         Just because I'm nice and friendly doesn't mean I should be fucked over does it?

        Nathaniel:     \,Vbat happened?

        Donna:         Do I have to be a fuckin ' bitch.

        Nathaniel:     What happened baby




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        Donna:       Well, you know that big guy that I, first of all, I was only mentioned how strong
                     that guy was because I couldn't budge. He had me one inch from his face holding
                     me like a fucking grizzly bear. I could hardly tum my face away from his face.
                     And he was like talking for like about 3 or 4 minutes.

        Nathaniel:   See I've been trying to tell you sweetheart.

        Donna:       But listen to this. Ok. That bastard came in here and took my fucking deposit
                     envelope with $320.00 and all $150.00 worth of my phone cards that were stacked
                     here that I just got.

        Nathaniel:   How did he,



        Donna:       ·what I mess. I was in the back office for like, a half, not a half a minute, ten
                     seconds I walked in the back, he was gone, the money's gone, the cards are gone.
                     And then' the son of bitch, fucking mother fucker calls me. And you know what
                     he said, he said I made him do it, because he couldn't stand to hear about Nate
                     this and Nate that, and he wanted to be Nate. Then you know what he said,

        Nathaniel:

        Donna:       I'm gonna make him do something real bad.

        Nathaniel:   See I'm telling you man, oh my goodness, man. See what kind of people man,
                     you know what I'm saying, your trying to be nice, man.

        Donna:       Nate, he would come here after work all the time and stand there for a half hour
                     and talk to me like a homeless per~son.

        Nathaniel:   Why don 't you never call the police man?

        Donna:       Huh.

        Nathaniel:   \Vhy didn't you, why didn't you never call the police man?

        Donna:       Well; in my letter I say, I almost called the police but then I thought that this was
                     definitely not the time to get involved with police and guns. Now, oh, why I said
                     guns is, because that son of a bitch always parked in the back, you know. And he
                     knew what my, everybody knows what my car is, I think that's the son of bitch
                     that went in my fucking car and took the (?) and the fucking gun.

        Nathaniel:   Man, man look,




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       Donna:        I know it was him Nate. I know it was him. I know it was him. Nobody got
                     vandalized. Nobody goes in the cars. Nobody parks back there but the people
                     who work here and him.

       Nathaniel:    Man, why don't you call and report him man.

       Donna:        Huh.

       Nathaniel:    Call and report this cat man. For real. Did you call and report the guns stolen?

       Donna:        No.

       Nathaniel:    Man you better man. Because if something happens man, somebody shoots
                     somebody with that gun, man, it's coming back on you. Is it in your name, is it
                     registered?

       Donna:        Yes.

       Nathaniel:    Ok then, it's coming back on you, man. Call and report it. Whatever he do, it's
                     your case.

       Donna:        You know I have been sitting here, my pressure must be a 1,0000 over 500. I am
                     so fucking infuriated. \\lhat if it was him that took my gun.

       Nathaniel:    Man, it probably

       Donna:        I have a big loon-a-tick with a 38 of mine.

       Nathaniel :   Man, call the police man.

       Donna:        You know what, I think that guy would rape me, honest to God.

       Nathaniel:    Call

       Donna:        He, he, know that I heard how he's talking and what does he mean, I'm gonna
                     make him do something bad. What does that mean? \Vhat does that mean honey.
                     What does that mean.


       Nathaniel:    Man, I don't know man. You know what I'm saying, you see what kind of people
                     you get involved with around, especially when you start thinking he nice, man.
                     You get to telling people everything, man. You can't do that Donna.

        Donna:       I know.




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       Nathaniel:   People take advantage of that, man you know what I'm saying. I mean because
                    they find a weakness in you, man you know.

       Donna:       I know, I know, I'm just nice and friendly to everybody. I can't help it. I'm
                    learning bltt why is it so fucking hard!

       Nathaniel:   Man, because you, you've got to make yourself do it man.

       Donna:       I'm going to have to be a fucking bitch right.

       Nathaniel:   Got to.

       Donna:       Because of some people being rotten, I have to be a bitch my life, huh. My hands
                    are ice cold and almost numb here, I'm so fucked up.

       Nathaniel:   Call and report that gun man. Man, call and report this cat, man. You don't even
                    know his whole name do you? You don't,

       Donna:       Yes, and you know what, I know what kind of a place he works at and I just
                    looked everyone of those kinds in the phone book and I'm going there Monday.

       Nathaniel:   No7 don't go

       Donna:       Because I \Vant my fucking gun back

       Nathaniel:   Don't go there

       Donna:       Because I was gonna give you that gun for your car and it was the nicest one and
                    you took it out and looked at it a lot and you love it. And that's why I'm so
                    fucking mad. You think I give a shitabout money and guns.

       Nathaniel:   Call the police and report it, ok. Hello, you hear me?

       Donna:       Yes.

       Nathaniel:   Call the police and report it man, because if he do something with that gun, man,
                    you are going to get in trouble, man. Call them when you get off the phone with
                    me, man. Tell then somebody came in and stole it. Tell them you know who it is
                    man.

       Donna:       Ohno.

       Nathaniel:   Tell them he took your money. Huh

       Donna:       No




                                                                               DONNA ROBERTS v WARDEN
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        Nathaniel:   What do you mean no, man. What do you mean no. Huh. See that's your
                     problem man.

        Donna:       What is Robert gonna say then?

        Nathaniel:   So, what, I mean, what you just gonna, I mean. Oh my goodness

         Donna:      No, I'm gonna go find him Monday morning. I already wrote that in my letter.

        Nathaniel:   Don't, don't even do, don't even do. Look, just wait until I come home, please.

        Donna:       No, I'm going Monday. I'm gonna find his, that bastard.

        Nathaniel:   So, so you gonna, you gonna, you know have me here scared, worrying about you
                     now. Can't do it, man.

        Donna:       No, I don't want you to worry about me sweetheart. I'll be ok. I'm gonna go to
                     where he works. I'm gonna tell him I want the fucking gun back. Keep the phone
                     cards, keep the money, I want the fucking gun. And I'm gonna have my phone in
                     my hand, I've been thinking about this for about a half hour now. And I'm gonna
                     tell him I'm gonna call the fucking police.

        Recording:   This phone call is originating from an Ohio Correctional Institution and may be
                     recorded or monitored.

        Donna:       I'm gonna just tell him I'm. And you know what, where he works will they tell
                     me who his probation officer is?

        Nathaniel:   Is he on probation?

        Donna:       Yeah. That's how he knew so much about prison.

        Nathaniel:   Who is this

        Donna:       That's wliy he was telling me all that shit honey.

        Nathaniel:   The cat that you say use to be a football player.

        Donna:       No.

        Nathaniel:   Who is this cat then?

        Donna:       He's one of the guys , I'm not telling you his name, I already told you his name in
                     one letter. I'm not telling you who he is because he's a piece of shit and your not
                     getting in trouble because of him.




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        Nathaniel:   Who is he man

        Donna:       No.

        Nathaniel:   Where he from?

        Donna:       no

        Nathaniel:   Huh? Where he from, man?

        Donna:       Warren

        Nathaniel:   What is his name, man?

        Donna:       No.

        Nathaniel:   So you ain't tell me about this cat all this time?

        Donna:       What?

        Nathaniel:   Who is he then?

        Donna:       I told you, I told you about him. He' s one of the guys I talk to.

        Nathaniel:   Who is he?

        Donna:       No

        Nathaniel:   I'm gonna ask you one more time Donna, who is he?

        Donna:       I love you sweetheart.

        Nathaniel:   Who is he.

        Donna:       Nate, why does somebody do that to me?

        Nathaniel:   Donna, who is he?

        Donna:       Nate.

        Nathaniel:   Donna.

        Donna:       vVhy would somebody rob me? And he knew I knew it was him! Is that too
                     fucking crazy, is he crazy?




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        Nathaniel:   Man,

        Donna:       I mean, I was here, he took it and he left and then he called me.

        Nathaniel:   Man, look

        Donna:       And he said I made him do it. Oh, my God. No, I can't talk about this anymore,
                     no. I'm getting, No. I'm gonna have a fucking stroke here.

        Nathaniel:   Call the police man. Call the police man. I told you, some things man, you've got
                     to ahead, you know what I'm saying, and take a different level, man.

        Donna:       Ok, if he doesn't give me my gun back Monday, I'm calling the police right in
                     front of him. In front of his employer.

        Nathaniel:   Look man. Make sure you take, man, take the other one with you, man, when you
                     go in there on

        Donna:       No, I'm not having any guns on me. No way. No.

        Nathaniel:   Where he work at, where he work at.

        Donna:       No

        Nathaniel:   Where he work at?

        Donna:       He works at one of five different places that were listed in the yellow pages
                     because he ·told me what kind of place he works at,

        Nathaniel:   What is it?::;

        Donna:       And I'm sure as hell not telling you.

        Nathaniel:   What is it, man?

        Donna:       No. I'm gonna find him. I'm gonna find him Monday. I'm gonna get up real
                     early and I'm gonna go find this asshole. I've only got five places to call and go
                     to and I'm gonna find him.

        Nathaniel:   Do you know his first and last name?

        Donna:       Un-huh. I do . Of course I do. He stood here for a half hour, three times a week
                     at least talking to me about everything. We talked about everything.

        Nathaniel:   See that's your problem man. That's your problem, man. You know, that's your




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                     problem man. You know what I'm saying. You sit there and talk to everybody.

        Donna:       I not anymore. I'm learning the hard way, ok.

        Nathaniel:   You knmJ' what I'm,

        Donna:       And I can't be like you immediately honey.

        Nathaniel:   Why can't you trust me for what I say. Tell you, you know what I'm saying, then
                     to learn the hard way. Huh.

       Donna:        I don't know honey.

       Nathaniel:    You know;what I'm saying because,

       Donna:        It's hard to change the way you are nah1rally.

       Nathaniel:    You can't trust,

       Donna:        It's hard honey.

       Nathaniel:    You can' tJrust my judgement man.

       Donna:        It's like ifI asked you to act like me. How could you.

       Nathaniel:    No

       Donna:        Without some practice.

       Nathaniel:    Look

       Donna:        You have to help me. You have to protect me.

       Nathaniel:    Baby

       Donna:        I need you bad

       Nathaniel:    The phone about to hang up, ok. He working tomorrow?

       Donna:        No

       Nathaniel:    He ain' t? Ok, I' ll call you Thursday after,

       Donna:        Wait a minute, wait a minute, what time can you call tomorrow?




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       Nathaniel:   I'm gonna try and call in the morning, if not, it's gonna be in the afternoon.

       Donna:       Call in the afternoon, I'll leave the house and put it, forward it to the cell phone.

       Nathaniel:   (inaudible)

       Donna:       What time?

       Nathaniel:   I don't know, after 2

       Donna:       Ok.

       Nathaniel:   Alright. I love you baby.

       Donna:       I love you Nate. I love you. Please come home!

       Nathaniel:   I am baby.

       Donna:       Oh my God.

       Nathaniel:   (inaudible) ok.

       CALLE:NTIS




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       BO1210DV - 11-24-02                                                                373A

        Recording:   This is MCI Worldcom. This call is originating from an Ohio Correctional
                     Institution and may be recorded or monitored. I have a collect call from Nathaniel
                     Jackson. An inmate at Lorain Correctional Institution. If you wish to accept and pay
                     for this call dial O and hold, to refuse. Thank you.


        Nathaniel:   Hey

        Donna:       Hey

        Nathaniel:   What's going on.

        Donna:       I'm playing this song (inaudible)

        Nathaniel:   Huh? Ok then. (Laughs)

        Donna:       (laughs) I've been waiting for you (inaudible)

        Nathaniel:   I know, I was in the kitchen, working in the kitchen.

        Donna:       Oh honey, I

       Nathaniel:    Hey

       Donna:        I've been writing you for like one hour here (inaudible)

       Nathaniel:    (laughs)


       Donna:        I just wrote, wait a minute, I'm waiting for your, where is it. Ok, 9:34, ok your not
                     calling (laughs)

       Nathaniel:    (laughs) yeah

       Donna:        Listen, before I forget, ok.

       Nathaniel:    Un-huh

       Donna:        I love you, I love you, I love you.

       Nathaniel:    I love you too baby, so much.

       Donna:        I called(?) three times last night. I got her mom twice and some man, I don't know




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                     if it was the Dad or what, once. And she wasn't there and I called at 8:30 this
                     morning and I got her voice mail message but you tell Sutton I just wrote that. But
                     I promise to keep trying until I reach her.

        Nathaniel:   Ok. Alright.

        Donna:       I mean it. I will

        Nathaniel:   Ok.

        Donna:       How are you, how are you?

        Nathaniel:   Doing cool baby. I just came, I was working over in the kitchen.

        Donna:       Oh.

        Nathaniel:   Yeah, you know, trying

        Donna:       Your always doing something

        Nathaniel:   Yeah, trying to keep out of this cell, man.

        Donna:       (laughs) Oh I was so happy when I got your letter yesterday.

        Nathaniel:   (laughs)

        Donna:       It was wonderful honey.

        Nathaniel:   Oh baby.
                               :.f,'


        Donna:       You never said all those nice things to me.

        Nathaniel:   My baby.

        Donna:       And I was so happy to hear that your like doing stuff and out of that cell.

        Nathaniel:   Yeah, yeah I was going to the kitchen this morning. So I can get up out of the cell,
                     man. I went to the kitchen about 6 this morning.

        Donna:       Really.

        Nathaniel:   Yeah. About 6 this morning.

        Donna:       And you do community service and you get out a few hours?




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        Nathaniel:   I do community service, I do community service Monday through Friday from um
                     8:30 to 10:30, from 8:30

        Donna:       I know. I read it in your letter.

        Nathaniel:   Yeah.

        Donna:       So, you miss me.

        Nathaniel:   I miss you so much, baby.

        Donna:       Oh Nate.

        Nathaniel:   My honey' s so (inaudible)

        Donna:       I love you.

        Nathaniel:   I can't wait until my baby come and get me, man.

        Donna:       Oh you know what honey?

        Nathaniel:   \vnat baby.

        Donna:       I was writing to you last night, um, I think, I went to the AAA to get a map but I
                     think the best thing is really just for me to come and get you right there.

        Nathaniel:   Yeah.

        Donna:       Really. 1 think it's the only thing.

        Nathaniel:   Yeah.

        Donna:       But I don't know what like time I could get there. You know what I'm saying.

        Nathaniel:   Yeah.

        Donna:       I'll do my very best to plan a little bit and then like just before I'll call, you'll call
                     and I'll let you know. Ok.

        Nathaniel:   Well see look, I'm gonna call you that Saturday, that following, that Saturday before
                     I come home. You know what I'm saying.

        Donna:       Unhuh. Ok.

        Nathaniel:   Then maybe you can let me, maybe hopefully you'll know by then.




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       Donna:       I will for sure.

       Nathaniel:   Ok then. Yeah, you'll let me know what time, you know, you'll be able to leave.

       Donna:       I was trying to figure out, I have a niece up in Cleveland, I was trying to figure out
                    ifI could say I'm going there Saturday night and stay there. I could pick you up real
                    early Sunday, we'llhaveawholeday. You know, that would be nice. Hey are there
                    any motels around there?

       Nathaniel:   I don' t know.

       Donna:       There must be for like when people come to visit or something.           T

       Nathaniel:   There sh011ld, yeah. I think, I think it is. It ' s in Grafton, Ohio though.

       Donna:       I know.

       Nathaniel:   Ok. It should, it should be though, baby.

       Donna:       (laughs)

       Nathaniel:   It should be yeah. I know they got motels around here yeah.

       Donna:       Talk to me.

       Nathaniel:   I love you.

       Donna:       I want to hear your voice.

       Nathaniel:   I love my)aby so much. So much, I miss you baby.

       Donna:       Oh

       Nathaniel:   I miss you so much honey

       Donna:       (laughs)

       Nathaniel:   Oh man I miss you. I miss my baby so much. Yeah, I've been thinking about you
                    so much.

       Donna:       Oh, your all I think about.

       Nathaniel:   So much baby.

       Donna:       I can't wait to make love to you.




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       Nathaniel:   Man, we gonna, we gonna, we gonna really talk when I come home, ok.

       Donna:       Ok

       Nathaniel:   Especially about our, that situation, man. You know.

       Donna:       Yeah

       Nathaniel:   I mean, it just, you know, you get too nervous at times, that's all the deal is

       Donna:       Yeah I know, it part ofmy nature

       Nathaniel:   And then you said DNA, the only way they can do a DNA is if they got the other, the
                    person's, you know what I'm saying. If they got the person and the hair cause they
                    can't just take no hair and say this is such and such hair. You know what I'm saying.
                    There's never, there's never, and then again, you know what I'm saying, the laws
                    that we got' in the State of Ohio and the laws from everywhere else, you know what
                    I'm saying, I mean they way different. You know what I'm saying, so shit in Ohio,
                    you know I'm saying, it's just a lost cause, you know what I'm saying.

       Donna:       Really

       Nathaniel:   Hell yeah. We'll, we'll talk about it when I come home Donna. Ok, I don't want
                    to talk about it over the phone.

       Donna:       Alright

       Nathaniel:   Yeah, and um I seen you say in your letter that somebody went in the car, and took
                    that,

       Donna:       Oh (inaudible)

       Nathaniel:   I mean, you don't lock the doors baby?

       Donna:       I thought I always did.

       Nathaniel:   Damn. You got to be more careful sweetheart, to put, to lock the doors and put the
                    alarm on there.

       Donna:       I know.

       Nathaniel:   That's alright.

       Donna:       Sometimes I got out and get stuff but that's not the worst part, there's something else
                    missing too.




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        Nathaniel:   Wbat?

        Donna:       I don't want to tell you.

        Nathaniel:   Tell me please.

        Donna:       No.

        Nathaniel:   Please tell me.

        Donna:       The gun

        Nathaniel:   Get the fuck out of here.

        Donna:       No I'm not kidding. I am so fucked up, I wasn't even going to tell you.

        Nathaniel:   Get the fuck out of here.

        Donna:       It's a big 38.

        Nathaniel:   The big one.

        Donna:       Yeah. I had, I had both of them in there. That little one you know, and that, and for
                     some reason I took the little one and put it in the bedroom by me because I heard a
                     noise one night and got scared.

        Nathaniel:   Yeah

        Donna:       Or they would have both been gone.

        Nathaniel:   So you still got two of them don't you?

        Donna:       Yes

        Nathaniel:   Ok. Baby, please be careful.

        Donna:       Oh, honey please don't be mad at me.

        Nathaniel:   No, I'm not mad at you baby, I just want you to be careful ok.

        Donna:       I try.

        Recording:   This call is originating from an Ohio Correctional Institution and may be recorded
                     or monitored.




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       Nathaniel:      I just want you to be careful honey.

       Donna:          I try honey

        Nathaniel:     For real man.

        Donna:         It's just that I just haven't been the same this time Nate. Since I first got your call
                       that you are back there on the 3rd of September, I just lost it honey. I really, really
                       lost it.

        Nathaniel:     Oh baby

        Donna:         I just couldn' t take it anymore. I didn't want you to leave me.

        Nathaniel:     Oh baby I won't leave you no more.

        Donna:         And I have just been fucked up Nate, really.

        Nathaniel:     I know. I won't leave you no more.

        Donna:         And I'm trying to, you know, go about what I have to do and take care of things but
                       it's not easy you know.

        N athaniel :   I won't leave you no more.

        Donna:         Oh please Nate.

       Nathaniel:      Promise you baby.

       Donna:          Oh God. Please if yo1; see a car you want to steal, tell me, I'll buy it for you.

       Nathaniel:      Oh baby.

       Donna:          If you see a shirt, I' 11 buy it, anything, please, please.

        Nathaniel:     Ok baby, don't get yourselt~ you know, too excited, ok.

       Donna:          But that stuffs always on my mind. You know, that's why,

        Nathaniel:     I told you, all, all I wanted, the only thing that's on my mind now, man, is taking
                       care of that situation. So I won't got to be out there like that, man. You know what
                       I'm saying, that's the only thing that scares me, man, knowing that I got to be out
                       there in that street life man, you know.

        Donna:         Ohno.




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        Nathaniel:    When I know I can just come home, you know what I'm saying, and be with you.
        Donna:        I know.

        Nathaniel:    And then you look at it man. Ain't, and don't nobody know I'm coming home on
                      the 9th, you know what I'm saying. Ok, I do that, you know what I'm saying, and
                      like um, I stay at a hotel or something, you know what I'm saying.

        Donna:        Ubhuh

        Nathaniel:    Um, I mean out the way for a couple more weeks, you know what I'm saying.

        Donna:        Yeah.

        Nathaniel:    Can't, who's to say is me. Don't nobody, everybody knows I'm locked up.

        Donna:        Un huh

        Nathaniel :   See what I'm saying

        Donna:        Ubhuh

        Nathaniel:    That's what,

        Donna:        What if somebody sees you?

        Nathaniel:    Sweetheart, we, we are, that's where you come, your always coming with the what
                      ifs.

        Donna:        No, what if somebody sees you. No, no I mean in town after you get out.
                                      ,::;'


        Nathaniel:    How else are they going to see me?

        Donna:        Oh.

        Nathaniel:    After the 9th, you know what I'm saying, I get out, I'm going to be with you, you
                      know what I'm saying. I next day, you know what I'm saying, I mean, that's when
                      it's gonna to go down, you know what I mean. And then, you know what I mean,
                      after that then I'm going to the hotel. You know what I'm saying.

        Donna:        And you have to know a thousand percent,

        Nathaniel:    Yeah, we'll talk about it ok.

        Donna:        That you can trust me with your life and my life. Because it's my life too you know.




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       Nathaniel:   We'll talk about it ok.

       Donna:       Ok.

       Nathaniel:   ·when I come back home, you know what I'm saying, I don't want to talk about it
                    over the p)lone.

       Donna:       So tell me what's going on? (Laughs)
       Nathaniel:   I (inaudible) so much

       Donna:       Oh honey,_ oh I wish I could hug you now so bad.

       Nathaniel:   I miss you so much/

       Donna:       Oh man, it's already starting that I can ' t sleep laying there thinking about you all
                    night.

       Nathaniel:   (laughs)

       Donna:       Looking at me, (inaudible)

       Recording:   You have 60 (inaudible) on this call

       Donna:       Oh.

       Nathaniel:   Shit. You send my picture out?

       Donna:       No, I couldn't find it.

       Nathaniel:   Huh.

       Donna:       I think I must have thrown it away with the negative so you wouldn't find it.

       Nathaniel:   Oh

       Donna:       I found one other one in my purse but it was a dumb one. I'm sorry, I don't know.
                     I got your picture back here with me again.

       Nathaniel:   Ok then. Well, I'm gonna call, I'm gonna call. I'll call you Thursday, sometime
                    Thursday afternoon when they let us out, ok.

       Donna:       Alright honey.

       Nathaniel:   I love you so much baby.




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       Donna:       Please love me forever.

       Nathaniel:   Forever baby. Please be careful. Ok.

       Donna:       I think I have to be careful, I'm getting a little scared of some people around here
                    Nate, I am.

       Nathaniel:   Ok, please just be careful until I come home, ok.

       Donna:       I will honey.

       Nathaniel:   Protect you baby, I promise you that.

       Donna:       Will you?

       Nathaniel:   Yes I will baby, I love you.

       Donna:       Oh my, you're my wonderful man.

       Nathaniel:   I love you so much.

       TAPE ENDS




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       BP1210F8 11-25-01

       Recording:   This is MCI Worldcom. This call is originating from an Ohio Correctional
                    Institution and may be recorded or monitored. I have a collect call from Nathaniel
                    Jackson, an inmate at Lorain Correctional Institution. If you wish to accept and pay
                    for this call, dial O and hold. Thank you.

       Nathaniel:   Hello.

       Donna:       Hi.

       Nathaniel:   Hey. Hey, who answered the phone?

       Donna:       Me

       Nathaniel:   Huh?

       Donna:       Me

       Nathaniel:   The first time.

       Donna:       Me .

       Nathaniel:   Huh?

       Donna:       Me

       Nathaniel:   Why you, I mean you sound like a dude's (inaudible)

       Donna:       Huh?

       Nathaniel:   It sounded, it was hello.

       Donna:       Because I, I was pretending it was my mother.

       Nathaniel:   Oh.

       Donna:       He's here.

       Nathaniel:   Huh?

       Donna:       He's here and I was pretending it was my mother.



                                                      1




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      Nathaniel:   Oh, ok. How you doing? You alright?

      Donna:       Yeah, I'm in the laundry room hiding. (laughs)

      Nathaniel:   Man, I hope you be alright. Hey do you know what man,

      Donna:       What?

      Nathaniel:   Take the police with you when you go man.

      Donna:       Huh-un (no)

      Nathaniel:   Please man.

      Donna:       I want my gun back

      Nathaniel:   Take, look man, do you actually think that he just going to say yeah he got your gun.
                   Come on use your head man. You know what I'm saying. I've been in the game too
                   long sweetheart. You think he's going to take your gunjust to give it back to you.
                   Come on now, use your head, man. Take the police with you man. You hear me?

      Donna:       Yes. How are you?

      Nathaniel:   I'm alright.

      Donna:       (laughs)

      Nathaniel:   Please take the police with you.

      Donna:       Don't worry about it, ok.

      Nathaniel:   Man I, man I got to. Man, I'm in here wonied sickly man.

      Donna:       Don't worry honey, it will be alright.

      Nathaniel:   Man.

      Donna:       (laughs) Don't you worry. Hey you even know what today is?

      Nathaniel:   Huh?

      Donna:       You know what today is?



                                                      2




                                                                                DONNA ROBERTS v WARDEN
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      Nathaniel:   Do I know what today is?

      Donna:       Monday

      Nathaniel:   Yeah.

      Donna:       (laughs)

      Nathaniel:   Man, I'm in here worried man. Why did you, why did you even come out behind
                   that desk man. And knowing that man, he grabbed you the first time, and why
                   would you even come over behind the door and you leave the door open.

      Donna:       I didn't open the door.

      Nathaniel:   Well then how did he get in there?

      Donna:       He wasn't in there. He reached right through the cage on the desk.

      Nathaniel:   Huh. He's that skinny, his hands that skinny?

      Donna:       Huh?

      Nathaniel:   His hands that skinny?

      Donna:       No I had it tjght there on a notebook by where the books are for the um, Greyhound
                   numbers.

      Nathaniel:   I mean why would you,

      Donna:       Because I trust everybody. I'm a fool.

      Nathaniel:   Man, but I told you in the first place man, you know what I'm saying, there was all
                   a game, man. That he; was out trying, you know, to get what he could get.

      Donna:       And you were right.

      Nathaniel:   You know what I'm saying. Who was it? Huh. Who was it?

      Donna:       Are we gonna waste another phone call on that asshole? Or are we gonna talk about
                   us?

      Nathaniel:   Man, cause I'm gonna find out who it was man. Is it that, is it that cat with that
                   Lincoln?

                                                    ,.,
                                                    .)




                                                                              DONNA ROBERTS v WARDEN
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       Donna:       No

       Nathaniel:   Huh?

       Donna:       Huh-un (no)

       Nathaniel:   Who is this other cat then? Man, I want to know, man.

       Donna:       (laughs)

       Nathaniel:   Man, he, man.

       Donna:       (laughs) Your so cute.

       Nathaniel:   Look take the police with you, man.

       Donna:       Alright

       Nathaniel:   You gonna do that?

       Donna:       No

       Nathaniel:   Why?

       Donna:       Because I want my fucking gun back.

       Nathaniel:   Man, why. How you gonna get your fucking gun just going in. You think he's just
                    going to actually admit to it, man. Huh? Don't you think he's going to try
                    something else man. If you don't take care of this the right way man. Huh?

       Donna:       Please don't worry about it honey.

       Nathaniel:   What you mean please don't worry about it man, it' s my thing to do .

       Donna:       (laughs) Look in two weeks you' ll be in charge and you can take care of me and
                    protect me from this fucked up awful world, ok. But right now you need to
                    concentrate on taking care of yourself.

       Nathaniel:   No man, I got to concentrate on both of us man.

       Donna:       Please sweetheart.

       Nathaniel:   Man look just, man look. How you know if that's even, he even gave you, you know


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                    what I'm saying, that was a real work place for him. See what I'm saying.

       Donna:       lJh-huh (yes).

       Nathaniel:   So, if not that man, you going to call the police and let them know about the gun?

       Donna:       Uh-huh (yes)

       Nathaniel:   Man you better man. I mean it.

       Donna:       I don't even know the serial number now. I, I was looking for the list, I can't find
                    it.

       Nathaniel:   But they should have it on file. You got,

       Donna:       (inaudible)

       Nathaniel:   Huh?

       Donna:       In Florida?

       Nathaniel:   Well tell, let them know it' s been registered in Florida man. You know what I'm
                    saying. Give them this cat's name man. Tell them that he, man look here man, now
                    you know, I mean, look. I was even writing on my letter man, don't even worry
                    about the yo_u know, cause I ain 't sent the letter for a few things that I wanted you
                    to get man. You know what I'm saying. Like, you know,

       Donna:       What?

       Nathaniel:   Soap and toothpaste and shit for when we go to the hotel, man.

       Donna:       I already got all that.

       Nathaniel:   Oh, cause I was going to tell you don' t worry about it because I know you got to
                    make up for. that shit that happened. You know what I'm saying?

       Donna:       I got you and me toothbrushes too. A red one (laughs)

       Nathaniel:   I know you got to make up for you know what I'm saying, that shit that, you know,
                    that little loss you took.

       Donna:       Yeah I got to figure out how to get, um that replaced.



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       Nathaniel:   I know man, see that's what bugged me up too man. I'm mad, you know what I'm
                    saying, cause he's taking from us man.

       Donna:       And you know what?

       Nathaniel:   What?

       Donna:       Some of that was yours from me. I saved like a hundred to give you so you would
                    have moner in your pocket. That's what I'm really pissed about.

       Nathaniel:   See what I'm saying man. See man. Man that's what I'm talking about man. You
                    know what I'm saying. That's fucked man. That's,

       Donna:       That son of a bitch. Oh boy, is he gonna get it tomorrow. Look out cause I'm
                    coming. Right where he works.

       Nathaniel:   Man, take the police with you man.

       Donna:       Hey are you excited?

       Nathaniel:   Yeah man

       Donna:       (laughs)   ,

       Nathaniel:   I'm pissed off about what happened man. Write me immediately man. You know
                    and let me know what's happening (inaudible). You hear me.

       Donna:       I will honey.

       Nathaniel:   I'm serious man. Now we probably can't get even get that room man.

       Donna:       Why not?

       Nathaniel:   Huh?

       Donna:       Why not.

       Nathaniel:   I don't know. Just, look. Make, make.

       Donna:       You know I would do what ever I have to do.

       Nathaniel:   Make reservations like, the next following week.



                                                    6




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      Recording:   This call is originating from an Ohio Correctional Institution and may be recorded
                   or monitored.

      Nathaniel:   The week that I come home, before like that Monday. You know what I'm saying,
                   not this Monday coming up but the next Monday, call and make reservations, you
                   know what I'm saying. For the room

      Donna:       I already wrote, I called them already. I just have to stop in and give a deposit.

      Nathaniel:   The Wagon Wheel?

      Donna:       Un-huh (yes)

      Nathaniel:   On Market Street.

      Donna:       Yes sir.

      Nathaniel:   Ok.

      Donna:       It's already called and taken care of (laughs).

      Nathaniel:   Ok then. I love you so much baby, I just want you to be alright.

      Donna:       I know honey.

      Nathaniel:   You know I love you so much, man.

      Donna:       I think I do.

      Nathaniel:   Well, you know what I'm saying man., I just want us, I want us to get out, I want us
                   to leave Youngstown, man.

      Donna:       Yeah. Me too.

      Nathaniel:   (inaudible) Could we do that?

      Donna:       Un-huh (yes)

      Nathaniel:   I'm serious man.

      Donna:       Yep.

      Nathaniel:   Promise?


                                                     7




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       Donna:       As soon as possible.

       Nathaniel:   Ok then. That's what I'm saying man. You know what I'm saying, don't be, don't
                    be, don't be sitting there opening yourself up man, to nobody.

       Donna:       Never, never

       Nathaniel:   You know what I'm saying

       Donna:       Never

       Nathaniel:   Anybody come in there, you know what I'm saying, it's about, if you ain't buying
                    no ticket you got to go. You know what I'm saying. If they call, hang up the phone.
                    You know what I'm saying, if it ain't about business,

       Donna:       I've already learned the hard way, thank you.

       Nathaniel:   You know what I'm saying, I mean and as far as, you know what I'm saying, I mean,
                    inmates that come from the joint, you ain't got, if you want to know anything about
                    the joint. You wait until I come home. You ask me. That's all you got to do. You
                    ain't got to sit there you know, I mean, be friendly to everybody man. You know
                    what I'm saying.

       Donna:       I know

       Nathaniel:   Because,

       Donna:       It's never gonna happen again.

       Nathaniel:   See look, you there by yourself and everything. They prey on the weak, man. You
                    know what I'm saying.

       Donna:       I know.

       Nathaniel:   That's, that's the you know, I don't even like that anyway and as far as parking the
                    car around the back, I don' t like that either, man.

       Donna:       I know

       Nathaniel:   I don't know why don't you park in the front man. Bump what he said man, you
                    know what I'm saying. If the car get hit man, insurance will pay for it. Shit. Bump
                    what he talking about man. We talking about your safety. You know what I'm
                    saymg.


                                                     8




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      Donna:        Un-huh, I'm scared to go out back now.

      Nathaniel:    Don't even park back there.

      Donna:        I have to really.

      Nathaniel:    Why?

      Donna:        Well cause the baker gets business all day and we 're not suppose to really park out
                    front. But I go like 4:30 now. I use to go at 5. But I get it up around 4:30 because
                    the baker's gone and it's ok.

      Nathaniel:    I don't know why you ain't saying nothing when this cat first did it, man. You know
                    what I'm saying. That way man, see what I'm saying, you let stuff ride so long man.
                    Then, you know what I'm saying, I mean people would figure they could get shit off
                    again like that man. You know what I'm saying.

       Donna:       I know.

       Nathaniel:   I mean you let this mother fucker run out with $450 dollars man.

       Donna:       I know.

       Nathaniel:   You know what I'm saying. But you always say you know man, but when I tell you
                    to do something you don't want to do it man.

       Donna:       I will. I promise. I'm son-y.

       Nathaniel:   You should have,

       Donna:       I'll listen; 'your right.

       Nathaniel:   You should,

       Donna:       Your right.

       Nathaniel:   You,

       Recording:   You have 60 seconds on this call

       Nathaniel:   You should have called the police right then, man. You know what I'm saying.
                    Don't, don't ever give your enemy chance to come back man. Never, man.



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      Donna:        Ok. You teach me honey.

      Nathaniel:    I'm serious baby.

      Donna:        If I, I've never been exposed to this before, this element. You know, I don't know

      Nathaniel:    Ok.

      Donna:        An innocent victim, you know.

      Nathaniel:    Ok. Well look, you write me and let me know what's going on tomorrow ok.

      Donna:        Alright

      Nathaniel:    I'm gonna call you Thursday, sometime Thursday afternoon, alright?

      Donna:        Alright.

      Nathaniel:    I love you baby.

      Donna:        I love you.

      Nathaniel:    Please be safe, ok.

      Donna:        I will sweetheart. Don't you go worrying. It will be ok.

      Nathaniel:    Ok baby. Be safe, ok.

      Donna:        (laughs) Ok.

      Nathaniel:    I love you so much honey.

      Donna:        Do you?

      Nathaniel:    I love you so much.

       Donna:       For real.

       Nathaniel:   For real.

       Donna:       You don't tell anybody else that I hope.

      Nathaniel:    I love my baby. No I don't tell nobody else because it ain't nobody.


                                                     10




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                                                                                 375A
     BT1410QU -11-29-01

     Recording:    This is MCI Worldcom. This call is originating from an Ohio Correctional
                   Institution arid may be recorded or monitored. I have a collect call from Nathaniel
                   Jackson, an ihmate at Lorain Correctional Institution. If you wish to accept and pay
                   for this call, dial O and hold . Thank you.

     Nathaniel:    Hey you.

     Donna:        Hello sweetheart

     Nathaniel:    Hi baby.

     Donna:        How are you honey?

     Nathaniel:    Doing good, how are you doing?

     Donna:        Nine days honey.

     Nathaniel:    Yes, I miss you so much, baby.

     Donna:        Nate, I love you honey.

      Nathaniel:   Love you so much baby,

     Donna:        I love you and I need you.

     Nathaniel:    I know baby.

     Donna:        I need you so much now honey.

     Nathaniel:    I know baby. What's goin' on?

     Donna:        Did you get my letter from Tuesday?

      Nathaniel:   Um, I got, you had one, you had a part I and a part IL I seen one, I got one, I got one
                   from Tuesday that had 2 on there circled and I got one from Monday. Yeah. Only
                   part, only part in the letter I read, you said that you went down to the police station,
                   you had to wait, um, you took a number and you was going down the next day.

      Donna:       Uh-huh

      Nathaniel:   That the only letter I got. What happened?

      Donna:       There were like four people there ahead of me and he didn't charge anybody with




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                    everything they told him. They, he comes, reads your thing and comes right out and
                    does it in     public, you know, it awful.

      Nathaniel:    Yeah.

      Donna:        And then he ,got to mine, he read it and he came out and he says he charging him
                    with fifth degree felony. Looked him up, he came up on the computer and his ass
                    is in big trouble now. So you didn't get my other Tuesday letter, how it said that he
                    called Robert.

      Nathaniel:    Un-huh (no)

      Donna:        Yeah he called Robert at, when he was at Greyhound.

      Nathaniel:    Yeah.

      Donna:        Told him about you and me, everything he knew that I told him for two months.

      Nathaniel:    What?

      Donna:        Un-huh. Yep.

      Nathaniel:    See that what I'm saying sweetheart

      Donna:        I know honey, I'm a fuck-up person. I am sorry. I wrote you a letter Tuesday night.
                    I was just about ready to give up Nate.

      Nathaniel:    Don't baby.

      Donna:        I mean it.

      Nathaniel :   Don't sweetheart.

      Donna:        I was ready to just give up because now,

      Nathaniel:    I mean

      Donna:        What's gonna happen if he hears anything happened to Robert, huh. What's he
                    gonna do. You think he's gonna leave us alone?

      Nathaniel:    Huh?

      Donna:        You think he's not gonna put two and two together.

      Nathaniel :   I mean but how ' s he gonna know I'm out though.




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      Donna:        Oh

      Nathaniel:    See what I'm saying.

      Donna:        But don't you think he's gonna think it ' s a little curious or

      Nathaniel:    I mean but still, what can, where is he to say sweetheart. I mean, you know what I'm
                    saying. What is he to say, man that's what you fail to realize.

      Donna:        You know what, I was so down Tuesday because Robert called me. He wasn't
                    coming home, he ' s staying in a motel now sometimes. I'm not getting any more
                    money and he's ready to just change the locks on the house now and he's. All he
                    does is say go suck some nigger's dick, why don't you get out you nigger lover. He
                    even told him that I sent you money. That was the worst part he could of told him.

      Nathaniel :   See man, you should have, man you should have, 1 mean,

      Donna:        He told him that 1 went to visit you in prison. Everything, everything he knew, he,

      Nathaniel:    Wait a minute, did you, did you tel1 him that um, that he snatched the money. See
                    that's what I'm saying, man, you know what I'm saying. I mean you leave out stuff
                    that you know what I'm saying, to cover up your tail

      D01ma:        I have to.

      Nathaniel:    You know what I'm saying, I mean why didn't you tell him he came in and snatched
                    the money?

      Donna:        I did. I had to. I had to.

      Nathaniel:    See man, darig man.

      Donna:        I'm sorry honey. I've a learned a lesson the hard expensive way.

      Nathaniel:    Yeah because experience is the best teacher, you know what I'm saying, I mean,

      Donna:        And you know what, it was a very expensive lesson but let me tell you something
                    like there were two persons there yesterday,

      Nathaniel:    Yeah

      Donna:        They started to try to talk, a black guy and a white guy. In fact, the white guy went
                    to the dmg store to get a camera, he wanted to take my picture with him. Do you
                    believe that shit. I don't even talk to them anymore. I don't even look at them when
                    they come by the cage.




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      Nathaniel:    So was,

      Donna:        I look up and I pretend, I put the TV real loud and I ignore them. They are standing
                    there and I ignore them, honest.

      Nathaniel:    So is you still gonna be able to come pick me up?

      Donna:        Hell yeah. What, why not now.

      Nathaniel:    Ok them. Hey, so um, hey did you ever get in touch with Sutton's girl?

      Donna:        Oh yes. Guess when, my third call last night.

      Nathaniel:    Ok.

      Donna:        And here's what, I, I, you know what, I told her I said I don't know what to say to
                    you so I'm just gonna read my boyfriend's letter. So it was wonderful, I read your
                    letter, it says he doesn't know what happened, does she still care, you know what I'm
                    saying I read that.

      Nathaniel:    Yeah.

      Donna:        So when I was done she said "oh, I sent him a letter, maybe he never got it." And
                    I'm thinking, one letter she sent.

      Nathaniel:    Yeah

      Donna:        One, she sent him one. Don't tell him that. Don't make him feel bad.

      Nathaniel:    Alright but I',m saying, she

      Donna:        But just tell him she did write, don't say once.

      Nathaniel:    Ok

      Donna:        Just say she did write, she but she said she's gonna write again. And everything ok
                    and she's waiting for him.

      Nathaniel :   Ok.

      Donna:        She sounded like a nice girl.

      Nathaniel:    But um, God I meant to tell you that he needed to tell her, he wanted her to send him
                    some money.




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     Donna:       Oh

     Nathaniel:   But um. Hey yeah, you asked me did I need anything else out of my bag. Yeah get
                  them um, my blue jean shoes. My blue jean shoes and um,

     Donna:       What about your jeans?

     Nathaniel:   Huh?

     Donna:       Your jeans.

     Nathaniel:   What color jeans?

     Donna:       Jeans, you know, blue jeans.

     Nathaniel:   I mean, I had, the blue ones?

     Donna:       There's only one pair in there honey.

     Nathaniel:   What color?

     Donna:       blue jeans.

     Nathaniel:   Blue no I don't want them. Just get, get my um, get that, that, my blue jean shoes
                  and I should have a yellow baseball cap in there. And um,

     Donna:       I don't think I saw a baseball cap hun,


     Nathaniel:   Alright well don't worry about it. What about, what about that yellow shirt that I
                  bought from Footlocker with the blue around it. Do I got a yellow and blue shirt in
                  there?

     Donna:       No

     Nathaniel:   I don't.

     Donna:       No. There's nothing nice left.

     Nathaniel:   Just, just get my um, just get them blue jean shoes then.

     Donna:       Ok.

     Nathaniel:   That's all and bring them. Yeah um, so I hope man you be able to come up next
                  Saturday night, man.




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     Donna:        Me too.

     Nathaniel:    Just tell him you want, your cousin wants you, um,

     Donna:        Honey,

     Nathaniel:    What?

     Donna:        What do you mean tell him?

     Nathaniel:    Huh.

     (Recording in background)

     Donna:        What, there's nothing else that I have to tell him ever again Nate.

     Nathaniel:    Ok.

     Donna:        I mean, he is a crazy man now. He beat the fuckin' shit out of me. You should see
                   me. I wrote in my letter, if you saw me you would kill him with your bare hands.
                   I got two good punches in though. I punched him. I had to and then I kept bending
                   down into a little ball so he wouldn't hit my face but he got me.

     Nathaniel:    Does your face look bad?

     Donna:        How does a woman look with a black eye? Good or bad?

     Nathaniel:    Ohman.

     Donna:        I'm wearing fucking sunglasses in the winter here. People think I'm out of my mind.

     Nathaniel:    Un,un,un.

     Donna:        I broke a middle, oh never mind.

     Nathaniel:    Where you at now?

     Donna:        Horne.

     Nathaniel:    Home.

     Donna:        Un-huh

     Nathaniel:    I can't wait til I get out man.




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     Donna:        And when we were tussling there, Fluffy just jumped in on it because he was like a
                   mad man. You should have seen his face, he went crazy. It was scary and Fluffy
                   jumped up bit my leg.

     Nathaniel :   So did um, did that cat really work there?

     Donna:        Yeah.

     Nathaniel :   He worked there?

     Donna:        Uh-huh (yes)

     Nathaniel:    When you went down,

     Donna:        I went Monday first thing

     Nathaniel:    Was he there?

     Donna:        Um, he was out doing something. I was outside when he came back.

     Nathaniel:    Why didn't you take the police with you man, he could have been got then. We
                   wouldn't had to go through that man. I told you man, see there you go again.

     Donna:        No, no , no. I called the police.
     Nathaniel:    Why didn't you take them with you?

     Donna:        No, I called the police. He went in there to work, honey listen. He went in there, I
                   called the police, they don't come for that. It's crazy. They didn't come. It was a
                   city police, this police, that police. I kept calling, nobody came.

     Nathaniel:    You should have told the police, man, the dude robbed you, you know what I'm
                   saying, you need the police down there immediately. You should have called 911.

     Donna:        I did.

     Nathaniel:    Told them where you was at.

     Do1ma:        I did sweetheart. I did. I waited outside for an hour. I kept calling, they kept giving
                   me, oh that's a Warren City Police, oh that's the county, oh that' s Bazetta. I said ok.
                   I left there.

     Nathaniel:    So what they, what did they charging him with?

     Donna:        A fifth degree felony theft. And then when the prosecutor saw his name come up off
                   the computer of previous things, he said he's gonna get him. I said do you think I'll




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                   ever get my gun back? He said probably not.

      Nathaniel:   I told you that man. See man, I just wish you would just listen to me.

      Donna:       I know honey, please don't be mad at me. You know I don't think like you. I'm not
                   smart like that with you.

      Nathaniel:   If you listen to me, if you listen to me

      Donna:       Yes

      Nathaniel:   If you listen to me, you won't have to,

      Donna:       I will honey ..

      Nathaniel:   You know what I'm saying

      Donna:       I've been doing everything you've said.

      Nathaniel:   Ok. Ok, well look, I get on Saturday morning, I've got to get off now. I'm gonna
                   call you sometime Saturday morning, ok.

      Donna:       Alright honey.

      Nathaniel:   Ok baby.

      Donna:       Don't hang up yet, wait.

      Nathaniel:   I love you sweetheart. I love you so much baby.

      Donna:       I love you honey.

      Nathaniel:   I miss you too. I'm coming home to you baby. Ok.

      Donna:       Oh yes, say it again.

      Nathaniel:   I'm coming home to you, I'm coming home to stay too ok. I love you baby.

      Donna:       Oh Nate, I love you my sweet darling.

      Nathaniel:   I love you so much honey.

      Donna:       You're my whole life Nate.

      Nathaniel:   I'm always be there for you baby. I mean that.




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      Donna:       Ok.

      Nathaniel:   That's a promise too, ok.

      Donna:       You know what?

      Nathaniel:   What baby.

      Donna:       From now on I'm just gonna believe you and trust you and get all the bad things out
                   ofmy mind.

      Nathaniel:   Ok baby. I love you.

      Donna:       (kiss sound)

      Nathaniel: (kiss sound) I love you so much.
      CALL ENDS




                                                                               DONNA ROBERTS v WARDEN
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                                                                        376A

        Cl 15106 - 12-01-01

        Recording:    This is MCI Worldcom. This call is originating from an Ohio Correctional
                      Institution and may be recorded or monitored. I have a collect call from Nathaniel
                      Jackson, an inmate at Lorain Correctional Institution. If you wish to accept and pay
                      for. Thank you.

        Nathaniel:    Hello.

        Donna:        Hello

        Nathaniel:    Hey. What's going on? Are you there?

        Donna:        Yeah, I'm here.

        Nathaniel:    What's wrong? He there?

        Donna:        Un huh

        Nathaniel:    Ohman.

        Donna:        No, he's not here, I'm at work.

        Nathaniel:    Oh ok. How you doing?

        Donna:        How am I doing?

        Nathaniel:    How you doing?

        Donna:        Oh great.

        Nathaniel:    Ok then.

        Donna:        Yeah real great, real fuckin' great.

        Nathaniel:    What's wrong baby?

        Donna:        Do you believe in miracles baby?

        Nathaniel:    What's wrong?

        Donna:        Do you believe in miracles?

        Nathaniel:    I mean like what?




                                                                                DONNA ROBERTS v WARDEN
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        Donna:        I had a miracle happen to me Thursday.

        Nathaniel:    What?

        Donna:        Yeah, God saved me right at the last fuckin' minute.

        Nathaniel:    What happened baby?

        Donna:        Uh huh.

        Nathaniel:    What happened?

        Donna:        Oh, I went running around like a dancing dog in the circus for you again, getting all
                      your shit.

        Nathaniel:    Oh come on man.

        Donna:        And I came home and I got your sneakers out and guess what I found?

        Nathaniel:    What?

        Donna:        A girl's name and a girl's phone number.

        Nathaniel:    Oh

        Donna:        Guess what I found when I looked some more. Guess what I found. Five. Five of
                      them. Five of them.

        Nathaniel :   Man come on.

        Donna:   -s   Sarah and her number and Terri and her number,

        Nathaniel:    vVho?

        Donna:        Nicki and her number, then Lindsey. From the fuckin' baseball game you went to.
                      She wrote her name and number on your program. What the fuck are you doing to
                      me?

        Nathaniel:    Man come on man.

        Donna:        What are you, some kind of a phony con-artist?

        Nathaniel:    Look, look ..

        Donna:        What is your fuckin' problem.




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        Nathaniel:   Please stop this ok.

        Donna:       What ar~ you doing?

        Nathaniel:   Look please stop this.

        Donna:       ·what are you doing? What are you gonna do to me. What are you ripping my
                     fucking heart out here.

        Nathaniel:   Donna. Donna.

        Donna:       Why don't you put a fucking bullet in my brain ok.

        Nathaniel:   Please stop it alright. Please.

        Donna:       Stop it.

        Nathaniel:   Donna, please.

        Donna:       Every fucking time you got out of the (?) you got fuckin' girl's names and phone
                     numbers.

        Nathaniel:   Donna, Donna. Donna look, Donna alright.

        Donna:       You got names and numbers?

        Nathaniel:   Donna, listen here, alright. Please.

        Donna:       Girl's name and numpers .

        Nathaniel:   How you, man, I mean. Look here Donna.

        Donna:       Names and phone numbers. Five of them.

        Nathaniel:   Donna listen here.

        Donna:       Sarah and Terri and Nicki and Lindsay.

        Nathaniel:   These people looking at, alright, I mean you know what I'm saying, I'm gonna get
                     in trouble, man. Listen here, would you listen to me?

        Donna:       What the fuck are you doing to me Nate?

        Nathaniel:   Fuckin', man look here.




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        Donna:       And I even gave you permission to do that to Robert, to be with you forever.

        Nathaniel:   Donna, Donna

        Donna:       To be with you forever. ·w hat were you going to do to me?

        Nathaniel:   Would you fuckin' let me talk, man.

        Donna:       What were you going to do to me?

        Nathaniel:   Donna, hey I'm

        Donna:       Were you gonna let me (?) at home.

        Nathaniel:   I'm about to get off the phone man.

        Donna:       What were you going to do Nate?

        Nathaniel:   Look here man, I'm already sick as hell man right here

        Donna:       Let me something.

        Nathaniel:   Look

        Donna:       Your sick,. your sick.

        Nathaniel:   Man, I love you man.

        Donna:       You don't love me, you liar.

        Nathaniel:   ·w hat do you mean I don't love you, man.

        Donna:       Using me ,like a fucking asshole. \,Vhat am I? I'm stupid old white woman again
                     huh.

        Nathaniel:   Looky here man.

        Donna:       A stupid old white woman huh.

        Nathaniel:   Ok, see, see there you go again. Man look,

        Donna:       What were you going to do Nate? What were you going to do?

        Nathaniel:   Just forget about it please ok. Look,




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        Donna:        What were you going to do, let me sit at home and rot while you went out with a
                      bitch every night.

         Nathaniel:   I'm going to lay down ok.

         Donna:       What were you going to do huh?

         Nathaniel:   lay down ok.

         Donna:       And I let you fuck me without a condom and I'll probably get aids from you. You
                      probably fuck everybody you meet.

         Nathaniel:   Donna, Donna. Donna look here. Donna

         Donna:       Five. Explain that. Explain me five names and numbers.

         Nathaniel:   Look man I'm gonna get off the phone cause these people looking at me.

                      (Inaudible)

         Donna:       Explain me five names and numbers.

         Nathaniel:   Donna fine, if you won't shut the fuck up and let me talk man, I'm gonna (inaudible)

         Donna:       Explain me five names and numbers

         Nathaniel:   (inaudible) - both taking at once.

         Donna:       Five.
                                               c •

         Nathaniel:   (inaudible) - both taking at once.

         Donna:       Five, five.

         Nathaniel:   Donna, those,

         Donna:       Sarah and Terri and Lindsay and Nicki

         Nathaniel:   Who is. Man look here man, them wasn't my mother fuckin'. Man I told you man,
                      a lot of my shit man got packed up man from everybody elses shit in there, man.

         Donna:       No, it's yours. Don't you lie to me again.

         Nathaniel:   Ok then man, ok then.




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         Donna:       Don't you lie. There's no lying now, it's not one, it's not two, it's for an apartment.

         Nathaniel:   Ok, look, look. Listen here. Listen here man, look, ok. Man, I'm, I'm

         Donna:       Every fuckin' time you left there you got a girl's name and number Nate.

         Nathaniel:   What the fuck are you talking about man.

         Donna:       While you were telling me you loved me, while I was letting you fuck me.

         Nathaniel:   Donna, Donna, I do,

         Donna:       While I was running around in circles to come and get you and make you happy.
                      Your lucky I can't scream cause there are customers here.

         Nathaniel:   Donna I do fucking love you man.

         Donna:       Oh my God.

         Nathaniel:   Please stop that man, you know where my heart at man.

         Donna:        Oh you liar, you phony.

         Nathaniel:   You know where my heart at man.

         Donna:       You're a fucking con-artist, you were, you gonna use me until when, when?

         Nathaniel:   You know where my fucking heart at.

         Donna:       ~hen, when were you gonna quit?

         Nathaniel:   (inaudible)

         Donna:       When were you gonna quit getting names and numbers Nate.

         Nathaniel:   Messed up. Hey look, look man.

         Donna:       Ok, you tell me about Sarah. \iVho is Sarah?

         Nathaniel:   I don' t know no fuckin'

         Donna:       Why do you have two phone numbers for Terri, cell phone and a house phone?
         vVho's Nicki? \iVho's Nicki?

         Nathaniel:   Man listen here I'm,




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        Donna:       And on your statistic sheet from the fucking baseball game Lindsay wrote her
                     number for you.

        Nathaniel:   Man look, call the fucking numbers. Would you call them fucking numbers alright.

        Donna:       For what?

        Nathaniel:   Call them fucking numbers man.        I don't know what the fuck you talking, I
                     (inaudible)

        Donna:       There your number you liar.

        Nathaniel:   You mother fucker, call them and ask them do they know me, man. Look here man,
                     look. Alright just, just,

        Donna:       Five Nate. Not one or two or three.

        Nathaniel:   Well why don't you call the fucking numbers (inaudible - both talking)

        Donna:       Every kind of piece of paper, everything you had you wrote on names and numbers.
                     Girls, girls, girls.

        Nathaniel:   Look, look, let me tell you man. Look let me tell you.

        Donna:       Girls not one man's name.

        Nathaniel:   Let me tell you this you stupid mother fucker, why don't you call the numbers then.
                     Call them fuckin' number then and ask them about me. Mother fucker. If you think
                     I'm mother fucking' lying. What the fuck wrong with you man.

        Donna:       What are you doing with five girls names and numbers?

        Nathaniel:   What the fuck did Ijust tell you man? Didn't I just tell you man, that answers every
                     fucking there right there. Call them mother fucking numbers.

        Donna:       'Why?

        Nathaniel:   Call them fucking numbers man.

        Donna:       So I can hear how charming you \Vere when gave you name and number.

        Nathaniel:   Call them then asshole.

        Donna:       Why?




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         Nathaniel:   Man, look, look. Hey man it's almost time for me to get off this phone man.

         Donna:       Do you know what you have done to me?

         Nathaniel:   Man,

         Donna:       . You have ripped out my fucking heart and your stepping all over it.

         Nathaniel:    So what are you saying man.

         Donna:        Vlhat were you gonna do Nate?

         Nathaniel:   (inaudible)

         Donna:       Were you just gonna use, what were you gonna do just say I'm going out with my
                      dudes and go fuck somebody every night?

         Nathaniel:    Look. Look

         Donna:        Five.

         Recording:   This call is originating from an Ohio Correctional Institution and may be recorded
                      or monitored.

         Donna:       Five.

         Nathaniel:    Look just,

         Donna:       Your right I am stupid. You are so fucking right.
                              ,e)


         Nathaniel:   Look, look. Donna, Donna, Donna listen here. Ok, is you listening to me. Is you
                      listening to me? Well look I'm gone then man. )'m getting off the phone man.
                      Cause you, you know what I'm saying, you don't want to listen,

         Donna:       You tell me why,

         Nathaniel:    Donna,

         Donna:        You had five names and numbers.

         Nathaniel:    Man look

         Donna:        Five

         Nathaniel:    Donna




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        Donna:       Written on everything. Tissues, cardboard,

        Nathaniel:   Donna I'll see you the day after I get out ok.

        Donna:       Sheets from your baseball game even

        Nathaniel:   (inaudible)

        Donna:       Lindsay, _Lindsay.

        Nathaniel:   I see you (inaudible)

        Donna:       Who's Lindsay?

        Nathaniel:   Look.

        Donna:       Who's Lindsay from the baseball game? vVhy did she write her number?

        Nathaniel:   Say one more thing about a girl, I'm hanging this phone up right now.

        Donna:       No just tell me.

        Nathaniel:   I will see you the day after I get out, to come

        Donna:       Cause you don't have a, cause you don't have a reason, do you?

        Nathaniel:   Look, I asked you, I just told you right. Mother fucker you know who I've been in
                     love with for two mother fucking years.

        Donna:       Oh yeah and every fucking time yo12: left the CCA you got a name and munber of
                     some another girl.

        Nathaniel:   That's bull shit man.

        Donna:       For what?

        Nathaniel:   Donna.

        Donna:       We know for what.

        Nathaniel:   Donna look. This is going to be my last call ok.

        Donna:       Why didn't you shoot me Nate?

        Nathaniel:   This is going to be my last call.




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        Donna:       What don't you just come and fucking put a bullet though my head.

        Nathaniel:   Coming home to love you.

        Donna:       You don't love me you liar.

        Nathaniel:   What do you mean I don't love you man. What the fuck you,

        Donna:       All that love you, I love you, I need you.

        Nathaniel:   What the fuck you thinking this is a mother fucking (inaudible),

        Donna:       You think I'm gonna let you have a herd of bitches, huh.

        Nathaniel:   Huh, Do you think this a mother fucking (inaudible)

        Donna:       Is that what you think? You think I'm gonna put up with bitch number one, do you?
                     Are you out of your fucking mind?

        Nathaniel:   Look, do you (inaudible)

        Donna:       Are you out of your mind?

        Nathaniel:   Man, look man, (inaudible)

        Donna:       Do you know about diseases and shit.

        Nathaniel:   Man look here man, I fucking (inaudible)

        Donna:       Do you?
                       ~-

        Nathaniel:   See there you go man. You, see, alright look, (inaudible)

        Donna:       Five. Not one, not two, not three.

        Nathaniel:   I can't wait man, I can't wait man. Seven days man, I just can't wait till I get out.

        Donna:       Yeah and Lwas all ready for it too. I got a whole ounce of killer shit for you. Yeah,
                     un-huh. A whole ounce.

        Nathaniel:   So you come and get me right?

        Donna:       You let, let's see,

        Nathaniel:   So,




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        Donna:       You let Sarah come and get you,

        Nathaniel:   Ok then bye,

        Donna:       You let Terri get you a place to live,

        Nathaniel:   Bye, bye.

        Donna:       You let Nicki suck your dick.

        Nathaniel:   Bye

        Donna:       And you let Lindsay cook for you, how's that.

        Nathaniel:   Bye bitch. Yeah, I got something for your ass .

        Donna:       I hope it's a bullet through my brain.

        Nathaniel:   No. Ok then.

        Donna:       Because you have caused me so much pain and misery/

        Nathaniel:   I'm gonna make you suffer.

        Donna:       You already have.

        Nathaniel:   Ok then. Well that ain't it then now.

        Donna:       You already have.

        Nathaniel:   Answer my question, is you coming to get me?

        Donna:       You have made me suffer more than anybody in my whole life.

        Nathaniel:   Is you coming. Donna, is you coming to get Irie? Answer this question.

        Donna:       How could you do this?

        Nathaniel:   I got 60 seconds, I'm asking you a question, is you coming to get me?

        Donna:       You tell me how you could do this to me.

        Nathaniel:   Just answer my question.

        Donna:       Why don't you let Nicki or Lindsay or Terri or Sarah come? Huh?




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        Nathaniel:   I'm gonna ask you one more time Donna and I'm hanging up the phone. Is you
                     coming to get me?

        Donna:       Why don't you let one of them come and get you.

        Nathaniel:   Donna, Donna.

        Donna:       What do you want me for? To laugh at me some more, huh?

        Nathaniel:   You won't come and get me? Huh.

        Donna:       The joke on a stupid old white woman huh.

        Nathaniel:   Donna, I'm gonna ask you one more time,

        Donna:       I'm real funny huh.

        Nathaniel:   I'm gonna ask you one more time and I swear (inaudible),

        Donna:       Yeah I believe anything, your right.

        Nathaniel:   Is you coming to get me?

        Donna:       I believe anything.

        Nathaniel:   Is you coming to get me huh?

        Donna:       Your so right. I am a stupid old white woman

        Nathaniel:   Is yo\! coming to get me Donna?

        Donna:       I will believe anything, you said that you loved me.

        Nathaniel:   Donna, look, well I love you, alright. Is you coming to get me? You know the
                     phone is about to hang up, is you coming to get me?

        Donna:       Even that you love me.

        CALLENTIS




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                                                                         377A



        C21201-12-02-01

        Recording:   This is MCI Worldcom. This call is originating from an Ohio Correctional
                     Institution and may be recorded or monitored. I have a collect call from Nathaniel
                     Jackson, an inmate at Lorain Correctional Institution. If you wish to accept and pay
                     for the. Thank you.

        Nathaniel:   Hello.

        Donna:       Hi Nate.

        Nathaniel:   Hi Donna. Donna baby, I love you so much honey.

        Donna:       I love you Nate.

        Nathaniel:   Donna listen here ok. Tell you something,

        Donna:       I didn't even get out of bed Nate.

        Nathaniel:   What's wrong?

        Donna:       I'm just broken honey.

        Nathaniel:   Huh.

        Donna:       I'm broken.

        Nathaniel:   What you mean? Donna listen here, let me tell this, ok. Can I, why do you accuse
                     me, I mean, you accuse me of fucking every, every, I mean every female,

        Donna:       Why do you get,

        Nathaniel:   Wait a minute,

        Donna:       name and numbers honey?

        Nathaniel:   Just would you look man, would you listen to me man. If you want me to tell you
                     something man, would you listen to me ok. Ok. Donna, you accuse me of fucking
                     every female that I know. Ok, for one thing, ok I mean, then I mean you act like,
                     you know what I'm saying, that could never have no female friends. I told you for
                     one thing, they wasn't my numbers. If those was my numbers I would have told you
                     yeah, you know what I'm saying, because I mean I didn't see that role ofme having
                     no female friends without me having to be fucking them. You see what I'm saying.
                     But I did tell you, you know what I'm saying, that I was cutting all my female
                     friends, you know what I'm saying, totally out the picture. There wasn't gonna be




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                     no more female friends. You know what I'm saying. I mean but therefore, you
                     know what I'm saying, like I told you man, everybody in my room rode out man.
                     Me, Oscar down here, my little cousin down here, Rico down here, and I'm down.
                     See what I'm saying. I mean and then like I say man, for more you always accuse
                     me. You can't just go ahead and accuse me man of fucking every female that I know
                     man, you know what I'm saying.

        Donna:       vVhy would you bother to get their name and number honey?

        Nathaniel:   What you say? Do you under-fuckin'-stand man.

        Donna:       Why do you have to hit on them and get their name and number?

        Nathaniel:   Do you understand man, do, I mean what do you mean hit on them man. Do you
                     understand man the point that, that 'i-Vasn't mine.

        Donna:       All five of them?

        Nathaniel:   Do you understand man. I told you man ifit was mine, you know what I'm saying,
                     I would have just told yeah them was friends. You know what I'm saying.

        Donna:       Yeah.

        Nathaniel:   I mean I would have told you yeah, those my friends, you know what I'm saying?

        Donna:       Yeah.

        Nathaniel:   But I told you man, I was cutting all ties man with all female friends. I told you that
                     man. There wasn't gonna be nobody but me and you. I mean if that was the case
                     man, you,know what I'm saying, I mean, you would have seen, if you was thinking
                     like that, you know what I'm saying, I mean, you'd have seen, you'd have seen what
                     your so called your mind reading Danielle friends number in there. See what I'm
                     saying. You can't just go ahead man, and keep on x-ing me out like that man, you
                     know what I'm saying cause you be putting me down too much Donna. You putting
                     me down too much. I'm serious man. You pushing me down entirely to much.

        Donna:       Wow what do you think you do to me when I find girl ' s name and numbers.

        Nathaniel:   I mean but, I'm, but I'm. All you got to,

        Donna:       At the ball game

        Nathaniel:   All you got to, all you got to. I'm not the only one that went to the fucking ball
                     game man. You understand. What you think, (inaudible)




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        Donna:       Yes sweetheart but it was in your papers.

        Nathaniel:   Listen here man, listen here let me tell you this man. When out shit got packed up
                     man. Shit came up, man look, my cousin Lee told me man yesterday when I seen
                     him at the chow hall man, my some of my stuff might be in his bag. Some of my
                     fucking clothes might be in his bag man. Come on man. Man, don't see here, man
                     I mean, you know what I'm saying, mean,.

        Donna:       I know. It's ok.

        Nathaniel:   Donna, Donna look here man.

        Donna:       I understand.

        Nathaniel:   Donna wait a minute no. Wait a minute Donna listen here. I've been, I've been with
                     you almost two years, man. Why do you, I mean did you ever really ask me big man,
                     what is the reason why I'm still with you man.

        Donna:       Yeah I have.

        Nathaniel:   I mean it's not no money man. I don't want your money man, you know what I'm
                     saying. I don't want nothing you can do for me Donna. I ain't ever asked you for
                     nothing Donna. Never asked, I ain't never said, you know what I'm sa:ying, Donna
                     I need this. I, I'm, you know I mean I ask you for little things.

        Donna:       You know what.

        Nathaniel:   I never came and asked, I never really, you know,

        Donna:       You know what honey?

        Nathaniel:   What baby.

        Donna:       The truth is screaming out and I refuse to believe it.

        Nathaniel:   Huh. Man, ok then man. I'm just going man. Ok then man, just.

        Donna:       If you would just tell me the truth sometimes

        Nathaniel:   Man,

        Donna:       I would think there is hope

        Nathaniel:   I just did told you the fucking truth man. I sat there and just told you man. You
                     know what I'm saying. If it was mine, I would have told you man because I didn't




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                     see nothing having,

        Donna:       You know what here's the funny part,

        Nathaniel:   I don't see,

        Donna:       You what's the funny part about it. One of them for sure I know is yours and I'm
                     wondering why on earth you would have them on you.

        Nathaniel:   Look, look

        Donna:       Somebody you didn't want to have nothing to do with, why would you have Terri's
                     cell phone and home phone number on you?

        Nathaniel:   Terri ' s cell phone and home phone number.

        Donna:       Yeah.

        Nathaniel:   Man, look here,

        Donna:       Alright

        Nathaniel:   I'm gonna tell you like this . I'm gonna tell you like this.

        Donna:       Why

        Nathaniel:   I'm gonna tell you like this, listen here, I'm gonna tell you like this. Man I, I, my
                     little cousin and them kept asking me, you know what I'm saying, hook with up with
                     her, hook me up with her. Cool. Ain't no problem. You know what I'm saying, if
                     it was like J:4~t man, do you think man, you know what I'm saying, we'd been over
                     Terri's house man. Terri's (Inaudible)

        Donna:       I don't know.

        Nathaniel:   Terri met you man.

        Donna:       I don't know anymore honey.




        Nathaniel:   Man come on man. Please stop thinking that man. Terri met you man. \Vhat would
                     I want do, what do I want to do with a female man that stuck a pistol in her face. Do
                     you even think, man.

        Donna:       How do you get a girl's name at a baseball game?




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        Nathaniel:    Listen here man. I'm gonna

        Donna:        What about all the other ones?

        Nathaniel:    I'm gonna tell you one more time man. I'm gonna tell you one more time man. If
                      I got to tell you man, one more time man, I mean, I'm just gonna just say forget
                      about it man, you know what I'm saying because you ask me something and I tell
                      you man. I try to help you out man,

        Donna:        But you lying Nate.

        Nathaniel:    Ok then, forget it. I'm lying, ok.

        Donna:        You said those weren't yours.

        Nathaniel:    Man, I'm lying ok.

        Donna:        They were in your box of papers honey.

        Nathaniel:     Look here man, I mean, I ain't got time to sit here man and keep on arguing with
         you man. That's what's wrong with you now, man. Man, the, the same (?) with the same
        problems you going through right now. Your thinking got you in it, man. You know what I'm
        saying. You know I mean that little shit that jumped down man, you know what I'm saying, when
        you got jumped on man, when you got robbed man. Your fucking insecurity ass thinking, man.
        Man, I'm telling you man, your insecurity thinking gonna make you lose something man that you
        wish you had never had lost, man. You know what I'm saying. You, you don't sit there and think
        man the time that we got in man, and why I'm still with you man.

        Donna:        Yeah I did think about it honey.

        Nathaniel:    You don't sit there and think about man,

        Donna:        Yes I do

        Nathaniel:    And why we still together man.

        Donna:        Why do you think it hurts me so much.

        Nathaniel:    You know what I'm saying man?

        Donna:        When you threaten to hurt me, you know what,

        Nathaniel:    Look, look,

        Donna:        That doesn't scare me.




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        Nathaniel:   Donna, Donna, Donna.

        Donna:       When you threaten to hurt me, it doesn't scare me at all,

        Nathaniel:   Look, look, Donna, Donna, I'm not gonna do nothing to you ok. ·

        Donna:       If you killed me, I wouldn't care.

        Nathaniel:   Look, look, baby I'm sorry, ok.

        Donna:       I wouldn't even care Nate.

        Nathaniel:   Donna listen here, I love you, ok.

        Donna:       I thought about doing it myself cause I don't care.

        Nathaniel:   Donna, Donna, I love you, ok. Please, ok.      Ok? Ok Donna? I love you so much
                     baby. Ok, look here,

        Donna:       (Inaudible) love me (inaudible)

        Nathaniel:   Donna, Donna, Donna. Donna listen here, ok, I mean from here only I'm telling you
                     this face to face ok. I mean, well, person to person, Donna ain't no more female
                     friends, ok. I mean it's all about just me and you, ok. You know what I'm saying,


        Donna:       You want me to have, (inaudible) You told me there's no such thing (inaudible)

        Nathaniel:   Look, ok, ok. ·wait a minute, wait a minute, wait a minute, wait a minute, wait a
                     minute,

        Donna:       You told me there are no friends (inaudible)



        Nathaniel:   Right, right. ·what I been told you man, that I been told you in my letter man, you
                     know what I'm saying, that it wasn't gonna be no female friends. I'm letting you
                     know, you know what I'm saying, with my voice, I told you man, that's it, ok. Ain't
                     nothing about no friends , it's just me and you, ok baby. Ok. Ok sweetheart. It's just
                     me and you Donna. Alright, you know what I'm saying, we ain't gonna have to go
                     through this shit no more. Alright. It's me and you ok. Ok baby.

        Donna:       Yeah.

        Nathaniel:   I'm serious Donna. We ain't got, you know what I'm saying, we ain't got to go




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                     through this shit no more man. You know what I'm saying, it's me and you, ok. Ok
                     baby?

       Donna:        Yeah

       Nathaniel:    You love me honey? Huh? You love me baby? Hey well look here man, I'm about
                     to go ahead and get off the phone man cause you know, she gonna end up telling me
                     anyway because you ain't gonna talk man, you know what I'm saying. So I ain't
                     gonna just sit here man, you know. I telling you, you know what I'm saying, go
                     ahead man and let you know man, you know I mean, damn man, people just don't
                     fucking realize man. People don't, you know you got to come get me Sunday right
                     man cause I turned down my ticket. You hear me?

       Donna:        Yeah.

       Nathaniel:    I tuned down my ticket, you know what I'm saying, already they got it on file that
                     your coming to get me. Donna baby, I love you, ok. Please man, you know what
                     I'm saying, don't do nothing to yourself man. You know what I'm saying, I got big
                     plans for you when I come home, man. You hear me?

       Donna:        Yeah

        Nathaniel:   I'm for real. That date man, when I get out man, you know what I'm saying, I mean,
                     that's that ' s a sealed plan for me and you. You know what I'm saying, that day is
                     ours. Ok. Donna.

       Donna:        Ok.

       Nathaniel:    I love you baby. You know what I'm saying, I mean, and that's another way that, you
                     know what I'm saying, when you tell man ifl really love you, you know what I'm
                     saying because you know I mean that' s one thing I always do man~no matter how,
                     how we get into it man, I always still let you know man that I love you, man. You
                     know what I'm saying. Like you don't say it, not like you as, not like you, as when
                     you write, you say yeah your friend Donna. You know what I'm saying, I still
                     always say I love you, you know what I'm saying cause that's true love man, you
                     know what I'm saying. I don't get mad at you man and not let you know that I love
                     you man cause I always do. You know what I'm saying, not like you man, you know
                     what I'm saying, that's like man like little game to me man. You know what I'm
                     saying. Especially man, cause I feel good to let, you know what I'm saying vvhen
                     you know somebody loves you man, they let you know.

       Donna:        I love you Nate.

       Nathaniel:    I'm serious Donna, man, you know what I'm saying, I don't never, even when my
                     letters man, I don't sit there and get mad. I don't even argue with you at the end of




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                      my letter what do I put, I love you. I still love you. I'm gonna always love you. I not
                      gonna let that little man, you know what I'm saying, tear that down cause we got too
                      much in together. You hear me?

         Donna:       Yeah.

         Nathaniel:   We got too much in together baby, you know what I'm saying, I ain't lose you for
                      nobody. Ok? Hey, I'm gonna call you Thursday, ok?

         Donna:       Ok.

         Nathaniel:   Thursday afternoon, ok. I love you baby.

         Donna:       I love you Nate.

         Nathaniel:   I love you so much.

         CALLE}{DS




                                                                                 DONNA ROBERTS v WARDEN
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                                                                   378A


       C6131 0TT-12-06-01

       Recording:    This is MCI Worldcom. This call is originating from an Ohio Correctional
                     Institution and may be recorded or monitored. I have a collect call from Nathaniel
                     Jackson, an inmate at Lorain Correctional Institution. If you wish to accept and pay
                     for the. Thank you.


       Nathaniel:    Hello

       Donna:        I'm sorry I said I hate you.

       Nathaniel:    Hey baby, I love you so much.

       Donna:        I'm sorry Nate.

       Nathaniel:    I love you so much honey.

       Donna:        I'm sorry I was so angry, I love you honey.

       Nathaniel:    Love you so much baby

        Donna:       I love you too much

       Nathaniel:    I can't be without you baby, I love and miss you more now then I ever did.

       Donna:        Nate.

       Nathaniel:    I do baby

       Donna:        Swear it.

       Nathaniel:    I swear it baby, I miss you and I love you so much baby. I mean I miss you more.
                     I woke up this morning baby, I miss you so much honey. So much. I miss my baby
                     so much. I love you darling. I love you with all my heart baby.

        Donna:       Oh honey

        Nathaniel:   All my heart baby.

        Donna:       Nate.

        Nathaniel:   Your always going to be my number one, I don't care what baby. Always going to
                     be in my world. Always.




                                                                                DONNA ROBERTS v WARDEN
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        Donna:       Nate. I can't stop loving you even ifI try.

        Nathaniel:   That's my baby, Donna. I mean it.

        Donna:       I don't want to love you anymore.

        Nathaniel:   You love me.

        Donna:       I don't want to love you anymore, it hurts too much honey.

        Nathaniel:   Baby no baby. Things gonna get better when I come home. I mean it hurt now
                     cause you know I mean I ain't there,

        Donna:       Oh let's be realistic, we can't do that.

        Nathaniel:   Huh.

        Donna:       We can't do anything about it.

        Nathaniel:   Vlhat you mean baby? What you mean we can't do nothing about it?

        Donna:       How could we do such a thing.

        Nathaniel:   I mean.

        Donna:       Just for what we want.

        Nathaniel:   Soon I'm gonna get there baby, I mean you know, we got to be together honey.

        Donna:       No. -

        Nathaniel:   You know what I mean, we suppose to be together Donna.

        Donna:       I don't think so honey.

        Nathaniel:   You don't think so? Why don't you?

        Donna:       Because we would have to do something terrible to do it.


        Nathaniel:   You mean, well I mean, some things just have to be done, you lmow what I'm
                     saying. I mean to get what we want. You know.

        Donna:       Oh God.




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        Nathaniel:   Sometimes you have (inaudible),

        Donna:       You know what?

        Nathaniel:   ·what baby?

        Donna:       ·w hen I just have a little tiny inkling of the thought that I might lose you I go crazy.

        Nathaniel:   Oh baby, it ain't gonna be like that ok.

        Donna:       I go crazy, I go crazy.

        Nathaniel:   Don't think like that.

        Donna:       I went crazy when you called me this time and it's been crazy and fucked up the
                     whole time.

        Nathaniel:   Don't think like that.

        Donna:       You have me so fucked up Nate.

        Nathaniel:   Hey look, (?) wants you to call his girl again and um he wants you to tell her don't
                     send him no money, go ahead and um send his lawyer some money. You know what
                     I'm saying, cause his lawyer you know, he talked to his lav,.ryer and his lawyer said
                     you know he owes like $750.00 you know and um he got to, he want to go ahead and
                     pay him, you know cause he got a good chance on beating his case. The lawyer is
                     trying to slide out on him, you know what I'm saying, ifhe don't get his money.

        Donna:       Un-huh

        Nathaniel:   You know, and tell her, you know,

        Donna:       Ok, I will

        Nathaniel:   Tell her he wrote her a letter, you know what I'm saying because you know, he said
                     um, tell her to disregard the um letter he just v,rrote her, you know what I'm saying,

        Donna:       Ok

        Nathaniel:   He was all upset because he didn't hear from her but he got her letters and
                     everything and he feels better now.

        Donna:       Oh good.

        Nathaniel:   Because um, her dad, her mom's boyfriend answered the phone and he was thinking




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                     it was some dude. You know what I'm saying.

        Donna:       Oh he answered the phone when I called also

        Nathaniel:   Yeah, that's what I'm saying. You know, he's thinking you know what I'm saying,
                     it was some dude.

        Donna:       No,no.

        Nathaniel:   She wrote him and told him.

        Donna:       That was her mother's boyfriend I think

        Nathaniel:   Yeah, yeah. She wrote him and told him.

        Donna:       That's what I gathered.

        Nathaniel:   So he said just tell her disregard, you know what I'm saying, that letter he wrote her,
                     you know what I'm saying, he was just mad and upset because he ain't get no letter
                     from her or nothing.

        Donna:       Ok.

        Nathaniel:   Hey guess what? Two days.

        Donna:       I know.

        Nathaniel:   Yeah

        Donna:       Oh Nate.

        Nathaniel:   (laughs)

        Donna:       Nate.


        Nathaniel:   Look man,

        Donna:       So different this time isn ' t it.

        Nathaniel:   Look man, I'm so full of cum man.

        Donna:       I'm so full of

        Nathaniel:   See like when I just take a piss, it seem like just cum just drip out my dick. Man.




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                     I can't wait to put that somewhere, ooh. Hey, you know what um,

        Donna:       I want you to put it in me right away.

        Nathaniel:   Right away, ooh. Hey you know what, you know what I want you to get?

        Donna:       Will you? .

        Nathaniel:   Yes. Anywhere you want it baby.        I want you to get me a pick for my hair. You
                     hear me?

        Donna:       A pick.

        Nathaniel:   Yeah

        Donna:       Is that one of those like, it looks like a rake thing?

        Nathaniel:   Yeah

        Donna:       Ok. Alright

        Nathaniel:   A red one or a black one.

        Donna:       (Laughs)

        Nathaniel:   Yeah, like a rake thing. Hey did you go um, go take that deposit up there at Wagon
                     Wheel?

        Donna:       No

        Nathaniel:   You didn't?

        Donna:       Didn't go yet.

        Nathaniel:   Ok.

        Donna:       Should I go now?

        Nathaniel:   Yeah. Yeah, I want you too.

        Donna:       I didn't know if you wanted me to pick you up as a friend or your woman.

        Nathaniel:   Hey, get the hell out of here with that man. Cut that out man. You always going to
                     be my baby. You my baby, you my woman. What you talking about. Shit don't
                     coine with that. I'll show you man once I get out man, things going to be better man.




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                      You know, cause the way I got it planned out man, you know what I'm saying, I
                      mean I ain't gonna be in no hood or nothing man, you know what I'm saying. Cause
                      from what I wanted man, till I take care of, you know what I want to take of man,
                      you know what I'm saying, it's like, I want,

        Donna:        I don't think you really want to do that.

        Nathaniel:    Huh. You don't want me to?

        Donna:        I just don't think you really want to have to do that.

        Nathaniel :   Cause you don't want me to?

        Donna:        No.

        Nathaniel :   Ok then, well, like I was saying, you know after I do what I'm gonna do, you know
                      what I'm saying I mean, I just like you know, like get me, you know what I'm saying
                      like um, you know what I'm saying, get me a like hotel room, you know what I'm
                      saying, charge me a room for a couple of weeks, ok. You hear me?

        Donna:        Un-huh.

        Nathaniel:    You know what I'm saying, and that way I just you know, I mean chill in my room.
                      You know what I'm saying, I'm telling you baby, I'm finished with the hood, man.
                      All that ripping and running shit, that's gone man. You know what Im saying, I
                      mean whatever I ain't got out the streets, I ain't gonna get it.

        Recording:    This call is originating from an Ohio Correctional Institution and may be recorded
                      or monitored.

        Nathaniel:    You see what I'm saying, whatever I"ain't got, whatever else that was left on the
                      street that I ain't got, I ain't gonna get it. You know what I'm saying. For real. I
                      mean I got a woman that really loves me, you know what I'm saying, I love my baby,
                      you know what I'm saying, that's what it's about now, you know. That's what it's
                      about me and you Donna. You hear me baby?

        Donna:        Yeah.

        Nathaniel:    That' s what it's about honey. Me and my baby. Hey, so did you decide what, hey
                      she gonna do that. Hey he said thank you too.

        Donna:        Ok.

        Nathaniel:    Hey um, look did you, did you decide man if you coming Saturday night?




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       Donna:        Yes.

       Nathaniel:    You coming Saturday night?

       Donna:        Of course I am.

       Nathaniel:    Yes!

        Donna:       Did you ever doubt that I wouldn't.

        Nathaniel:   Yes. Yes, yes, yes.

        Donna:       Did you ever doubt that I wouldn't Nate?

        Nathaniel:   No baby, I just didn't know ifit was going to be Saturday, I mean Sunday morning.
                     Yes. I'll be out of here early Sunday, just be here before 8 o'clock.

        Donna:       (laughs)

        Nathaniel:   Yes, man I am so fucking happy now. Really happy now that I talked to you man.

        Donna:       I know honey.

        Nathaniel:   I was a bummer for a couple of days man. I was. I was a straight bummer, man.

        Donna:       Yeah. I

       Nathaniel:    Yeah I got all my sh1ff packed up and everything. Man, so you, so I hear you got the
                     map and everything.

       Donna:        Yeah

        Nathaniel:   Ok. You would know how to get here?

       Donna:        Un-huh

        Nathaniel:   Ok then.

        Donna:       I went to the AAA and he made a line and circle and where I'm going and where I
                     coming from so I won't get lost.

        Nathaniel:   My baby man. Donna, Dorn1a.

        Donna:       Huh




                                                                                DONNA ROBERTS v WARDEN
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        Nathaniel:   I love you so much.

        Donna:       Oh, I love you.

        Nathaniel:   Man, I just want to,

        Donna:       Oh Nate please,

        Nathaniel:   Love my baby so much

        Donna:       Oh Nate. I can't wait to feel you Nate.

        Nathaniel:   Ooh come on hit a blunt, take a sip on henny and ev er love,

       Donna:        Ooh

       Nathaniel:    un, un, un

       Donna:        Oh I wonder what it' s gonna feel like after all this time.

       Nathaniel:    Smoke a blunt, drink some henny, and make a lot oflove. Un, un, un. Damn, damn,
                     damn. Ooh, it's gonna feel so good.

       Donna:        I will be making love to you.

       Nathaniel:    I mean I'm gonna make, oh I'm telling you ooh, just wait. I'm gonna eat you up.
                     I'm gonna eat you up . Hey did you um, did you send me a letter out Tuesday?

       Donna:        Oh, I don't remember. Yes, I think it was the one that I said I'm not sharing you
                     ever. So you have a choice to make, if (inaudible).

       Nathaniel:    I got, I got, I got one yesterday with the green envelope.

       Donna:        I don't remember Nate.

       Nathaniel:    a (inaudible)

       Donna:        I don't know.

       Nathaniel:    Ok. Just, hey um, did you send one out yesterday?

       Donna:        No ·

       Nathaniel:    You didn't?




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        Donna:       No.

        Nathaniel:   Ok then. But I'm gonna call you on Saturday morning ok? Ok baby.

        Donna:       Ok.

        Nathaniel:   I'm gonna call my baby Saturday morning, you ok?

        Donna:       Yeah

        Nathaniel:   I love you so much honey.

        Donna:       I love you.

        Nathaniel:   (kiss sound) I love my baby so much.

        Donna:       Oh God.

        Nathaniel:   I'm coming to get you.

       Donna:        I know.

        Nathaniel:   I'm coming to get you.

       Donna:        I know.

       CALLEJ'H)S




                                                                           DONNA ROBERTS v WARDEN
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  Exhibit 379A unable to be located, but
 audio seems to indicate it is the same as
             Exhibit 381A.




                                                             DONNA ROBERTS v WARDEN
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                                                                               380A
      C81210M5 12-08-01-1

      This is MCI Worldcom. This call is originating from an Ohio Correctional Institution and may be
      recorded or monitored. I have a collect call from Nathaniel Jackson, an inmate at Lorain
      Correctional Institution. If you wish to accept, Thank you.

      N. Jackson:    Hey you.

      D. Roberts:    Nate.

      N . Jackson:   What's goin 1 on?

      D. Roberts:    (laughs)

      N. Jackson:    What's goin' on.

      D. Roberts:    Hey you.

      N. Jackson:    What' s up baby.

      D. Roberts:    Do you love me?

      N. Jackson:    I love you so much honey.

      D . Roberts:   Honey, I guy named Chuck just called me from prison.

      N. Jackson:    Chuck?

      D. Roberts:    Yeah he toldme you gave him the number cause you had a fight and were in the hole.

      N. Jackson:    What!

      D. Roberts:    I said, I said how did you get this number and he said, I said did Nate, where' s Nate?
                     And he said he's in the hole.

      N. Jackson:    Chuck?

      D. Roberts:    Yeah a white guy.

      N. Jackson:    Get out of here.

      D. Roberts:    No, I'm not kidding.

      N. Jackson:    From Lorain?




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      D. Roberts:   Well that's what I thought. But then, I hung up on him and he called me back and
                    then I heard the recording say something else, I forget the name.

      N. Jackson:   No man.

      D. Roberts:   Yeah and I said well I can't believe Nate would give you my number

      N. Jackson:   No

      D. Roberts:   I mean I know you better honey.

      N. Jackson:   Man

      D. Roberts:   And he said Nate said it's ok you could talk to me because I'm in here for life for
                    killing the guy that tried to rape my wife.

      N. Jackson:   No man. Come on.

      D. Roberts:   And I said why, he said yeah he said you'd talk sexy to me, it would be ok. I said no
                    I don't think my Nate said that at all ever, ever.

      N. Jackson:   Hell no. I ain't goin' out like that.

      D. Roberts:   Then he called like ten times and it's on the machine every time. I hope he stops
                    calling.

      N. Jackson:   No man.

      D. Roberts:   So what you doing?

      N. Jackson:   Missing you, thinking about you.

      D. Roberts:   Nate.

      N. Jackson:   I couldn't sleep last night.

      D. Roberts:   Nate, there honey

      N. Jackson:   I just can't, I'm working in the kitchen all day today.

      D. Roberts:   Are you.

      N. Jackson:   Yeah, so I could stay out of that cell man. I've been thinking about you so much.

      D. Roberts:   Nate.




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      N. Jackson:   I like you baby

      D. Roberts:   Honest and true

      N. Jackson:   Honest and true. I love my baby so much man. Are you at home?

      D. Roberts:   Yeah.

      N. Jackson:   Hey look, I want you to call this number for me.

      D. Roberts:   \\That.

      N. Jackson:   It's um, 743-8255. You might have to get the other phone though cause if you call
                    three way this might hang up.

      D. Roberts:   Why?

      N. Jackson:   Huh

      D. Roberts:   Why would they hang up?

      N. Jackson:   I don't know cause sometimes they do that.

      D. Roberts:   What's the number?

      N. Jackson:   743-8255 but if you hurry up and do it, you know what I'm saying,

      D. Roberts:   Who is it?

      N. Jackson:   Um, I'm calling for one of my dudes.

      D. Roberts:   Ok wait a minute.    Are you there?

      N. Jackson:   Yeah. Ok then.

      D. Roberts:   (laughs) Oh honey I woke up feeling so good this morning. (phone ringing)




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                                                                              381A


      C8121OM6 - 12-08-01-2

      This is MCI Worldcom. This call is originating from an Ohio Correctional Institution and may be
      recorded or monitored. I have a collect call from Nathaniel Jackson, an inmate at Lorain
      Correctional Institution. If you wish to accept and pay for this call. Thank you.

      N. Jackson:    Ok, now don't do that no more. Forget that. I'll just, no don't even worry about that
                     number, ok.

      D. Roberts:    Wait, I'm on the other phone honey.

       N. Jackson:   Huh?

      D. Roberts:    I'm on the other phone.

      N. Jackson:    Your on the other phone.

      D. Roberts:    It's ringing. Are you there?

      N. Jackson:    Yeah.

      D. Roberts:    Honey?

       N. Jackson:   Yeah I'm here.

      D. Roberts:    No one is answering.

       N. Jackson:   Don't worry about it, I'll just tell him ain't nobody answering.

      D. Roberts:    Huh. ·

       N. Jackson:   I'll just tell him ain't nobody answering. Cause he wanted me,

      D. Roberts:    Nobody answered.

       N. Jackson:   He wanted IT\e to, he wanted me to get an address for him but I'll just tell him ain't
                     nobody ansvVered. I'm worried about me now, you know what I'm saying. Me and
                     my baby, man. Oh Donna want to see you, want to hold you, want to kiss you, oh
                     make love to you. Man. Donna,

      D. Roberts:    Nate

       N. Jackson:   I love you so much baby.

       D. Roberts:   Are you sure?




                                                                                  DONNA ROBERTS v WARDEN
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       N. Jackson:    Hell yeah.

       D. Roberts:    How do you know?

       N. Jackson:    Man cause it's all in my heart. I can't, I can't get rid of you. I don't want to. You
                      know my heart won't let me.

       D. Roberts:    I love you Nate.

       N. Jackson:    I love you too baby. I told you it's always, you know. Like I say, you know, it's best
                      to be a ol<l"er woman' s heart than a younger woman's fool. You know.

       D. Roberts:    I love you so much.

       N. Jackson:    I love you too baby.

       D. Roberts:    I do Nate. :

       N. Jackson:    Coming up here tonight?

       D. Roberts:    Of course I am .

       N. Jackson:    Ok then. lwent and, I went and signed my release papers yesterday.

       D. Roberts:    Am I not always there when you want me to be?

       N. Jackson:    That's my baby. Hey did you ever talk to um, Renee?

       D. Roberts:    No but I got a machine, her voice mail and I left her a message.

       N. Jackson:    Ok. Youmy baby. Oh, I'm gonna see my baby tomorrow. I'm so fucking excited.
                      Hey did you, did you ever um go up to Wagon Wheel.

       D. Roberts :   Well it's funny you asked because after I spoke to you I um, pulled out a whole
                      bunch of your letters and I was reading them you know.

       N. Jackson:    Yeah.

       D. Roberts:    And I read that one where you said you really wanted to go there so bad.

       N. Jackson:    Yeah.

       D. Roberts:    So, I got in the car,

       N. Jackson:    (laughs)




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       D. Roberts:    (laughs) Went all the way downtown and all the way up Market,

        N. Jackson:   (laughs)

       D. Roberts:    (laughs) Of course I got it honey.

        N. Jackson:   Well baby. Did they tell you, they didn't say which room did they?

        D. Roberts:   101

        N. Jackson:   101? Ok cause my dude tells me its 100 and 101.

        D. Roberts:   (laughs)

        N. Jackson:   Ok then.

        D. Roberts:   Don't you know I want you to have everything you want,

        N. Jackson:   Man oh man.

        D. Roberts:   (laughs)

        N. Jackson:   Hey bring "some Vaseline.

        D. Roberts:   For what?

        N. Jackson:   Huh?

        D. Roberts:   For what?

        N. Jackson:   Cause I be using it for my skin too.

        D. Roberts:   Oh.

        N. Jackson:   You know. Keep my skin soft.

        D. Roberts:   Oh, is it soft.

        N. Jackson:   Oh real soft.

        D. Roberts:   Oh I can't wait to get my hands on you.

        N. Jackson:   Man, man

        D. Roberts:   Oh, I'm gonna go crazy,




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       N. Jackson:     Oh (laughs)

       D. Roberts:     You know what I was thinking about?

       N. Jackson:     What baby?

       D. Roberts:     When I check out of my room in the morning, I can come and get you and we could
                       go back there and you could take like a shower and put clean clothes on so you'll be
                       clean all the way home.

        N. Jackson:    Ok then. There you go, good think.in'.

       D. Roberts:     Isn't it. Then you don't have to sit in the car all yuckie from prison.

        N. Jackson:    Good thinking baby.

       D. Roberts:     Oh.

        N. Jackson:    Oh man.

        D. Roberts:    As soon as I get you in that door.

        N. Jackson:    I might attack you. Oh man.

        D. Roberts:    Oh man.

        N. Jackson:    Ooh way, way, way man. Just be here early.

        D. Roberts :   I'm gonna make you put it in me so fast.

        N. Jackson:    Um, um, um.

        D. Roberts:    I'm gonna make you,

        N. Jackson:    Baby

        D. Roberts:    I'm gonna attack you

        N. Jackson:    Donna man, we, baby we really have to talk man.

        D. Roberts:    Nate, I love you so

        N. Jackson:    I love you too.

        D. Roberts :   Fucking much I can't stand it.




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       N. Jackson:    Cause I,

       D. Roberts:    You know what?

       N. Jackson:    I want, huh?

       D. Roberts:    This has been the worst three months in my whole life.

       N. Jackson:    Man, yours?

       D. Roberts:    I have been up and down a fucking roller coaster, thought I was gonna go crazy,
                      thought I was gonna die. Too sick to eat. Oh Nate.

       N. Jackson:    What did you say?

       D. Roberts:    Please tell me this is over.

       N. Jackson:    Listen baby it's over. Telling you baby, I'm

       D. Roberts:    You get my letter that said the riot act.

       N. Jackson:    Huh.

       D. Roberts:    Did you get my riot act letter?

       N. Jackson:    Riot act?

       D. Roberts :   Yeah when I read you the riot act. I am not sharing you Nate.

       N. Jackson:    Yeah, yeah. I know baby.

       D. Roberts:    You are not going to be a young black man that's gonna fuck every pussy you find.

       N. Jackson:    I'm not baby. Hey look,


       D. Roberts:    IfI find another name and number or ever I wonder again, Nate I mean it. You can't
                      do this to me.

       N. Jackson:    I know baby.

       D. Roberts:    I love you too much. It's not funny,

       N. Jackson:    Me too.




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       D. Roberts:    It's not a game.

       N. Jackson:    I know sweetheart.

       D. Roberts:    You got my heart, you got my emotions, you got everything, you know. I'm in your
                      like fucking power man.

       N. Jackson:    Baby, I just want to man, all I want to do man, take care of man what I want to take
                      care of Monday, man. Monday night man.

       D. Roberts:    Honey

       N. Jackson:    I'm serious man. Man I got to do this Donna. I got to,

       D. Roberts:    No

       N. Jackson:    Man

       D. Roberts:    You can't

       N. Jackson:    Baby, huh? What do you mean man, I got to man.

       D. Roberts:    No, I know but,

       N. Jackson:    Man, this is my life man. This is my life man.

       D. Roberts:    I know honey

       N. Jackson:    That's how I'm looking at it man. If I don't man, my life is just like upside down
                      man. Just,

       D. Roberts :   What about me.

       N. Jackson:    I mean,

       D. Roberts:    What about me. How much time do you think I have left here?

       N. Jackson:    Baby, that's what I'm saying sweetheart. But you said no, I mean, I'm saying yeah
                      man. I mean you suppose to be with me man.

       D. Roberts:    I know.

       N. Jackson:    Especially when I tell you when I know what I'm talking about man. I know what
                      I'm doing man.




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        D. Roberts:   Do I have to know about it?

        N. Jackson:   No.

        D. Roberts:   Then don't tell me.

        N. Jackson:   Ok then.

        D. Roberts:   Ok

        N. Jackson:   Just consider it a done deal. Only thing I'm gonna need is one thing.

        D. Roberts:   What?

        N. Jackson:   Huh?

        D. Roberts:   What.

        N. Jackson:   I just need to be in that house when he come home.

        D. Roberts:   Oh no.

        N. Jackson:   Huh?

        D. Roberts:   No.

        N. Jackson:   Baby it ain't gonna happen in the house. It ain't gonna happen in the house man, I
                      promise you.

        Recording:    This call is originating from an Ohio Correctional Institution and may be recorded
                      or monitored.

        N. Jackson:   I just need to be in there man. It ain't gonna happen in the house man. I mean I ain't
                      gonna jeopardize that man.

        D. Roberts:   Well, let's not talk about it now.

        N. Jackson:   Ok. We'll talk, we'll, I'll just wait until tomorrow. I love you so much honey.

        D. Roberts:   Nate, I need you in my life.

        N. Jackson:   Baby, I need you bad . Donna, I'm serious. You know what I'm saying, I'm tired,
                      I'm tired of living that life like that man. I just want to get me and you man, mean
                      just get away from everything.




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       D. Roberts:    Nate, you know what's gonna happen ifwe don't get together? Your gonna go right
                      back to jail.

       N . Jackson:   I don't want that.

       D. Roberts:    But you are, you know it.

       N . Jackson:   I don't want that.

       D. Roberts:    But you are.

       N . Jackson:   I don' t want that.

       D. Roberts:    You'll be out there again.

       N. Jackson:    That's why I want, that' s why I want to do what I got to do man. You know what I'm
                      saying. I mean, I'm trying to you know, I mean pull my trne love as much as I can
                      man, so I can be with you. You know. I mean, you mean more to me than the streets
                      man. You know. I want to got to sleep and I want to wake up with you. I want to
                      hold you, when I, you know, when I want to. You know. That's what I'm talking
                      about, when I want to .

       D. Roberts:    I know.

       N. Jackson:    Not when I got to or when I can.

       D. Roberts:    You think I don't feel the same way?



       N. Jackson:    Baby I wantto hold, baby I want to hold you all the time, you know. Then when you
                      wrote, wheri you wrote on the back of the letter, you know what I'm saying, do what
                      I got to do, just wake up and tell you Merry Christmas man. Ohman, that's what I'm
                      talking about. You know.

       D. Roberts:    You know what I meant?

       N . Jackson:   Yeah. That 's what I'm talking about baby.

       D . Roberts:   I'm so scared honey.

       N. Jackson:    Man just look,

       D. Roberts:    It's everything now.




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      N. Jackson:    Just, just we'll talk about it tomon-ow morning ok?

      D. Roberts:    Ok.

      N. Jackson:    But right now it's about, how you <loin' man?

      D. Roberts:    (laughs)

      N. Jackson:    Huh?

      D. Roberts:    Well I woke up so glowing.

      N. Jackson:    I've been up 1 o'clock. I got back up at like twenty after 3.

      D. Roberts:    Oh, I was up at 3:30.

      N. Jackson:    For real?

      D. Roberts:    Un-huh.

      N. Jackson:    I got back, then um, I smoked a cigarette, just kept walking from the window to the
                     door. Then I got back up about 5 :30. You know, brnshed my teeth and everything.
                     When to the kitchen about 6:30 this morning. You know, I'm gonna go over there
                     all day today. So hope, I know I ain't gonna be able to sleep tonight.

      D. Roberts:    I know. What am I gonna do, I'll look awful in the morning and I won't never be
                     able to sleep.

      N. Jackson:    Baby, don't. Look here baby, hey, don't, look here, look here. I love you the way
                     you is. Come as you is baby. You mine, you know.

      D. Roberts:    I am yours.

      N. Jackson:    Don't worry, don't worry, don't worry about how you look, you know.

      D. Roberts:    Nate.

      N. Jackson:    I just want your heart.

      D. Roberts:    Do you know that I am yours?

      N. Jackson:    All mine baby. All mine.

      D . Roberts:   I'm so glad I waited for you. I was tempted so many times but nobody meant
                     anything to me but you.




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     Recording:     60 seconds left on this call.

     N. Jackson:    What time is you leaving tonight to come up here?

     D . Roberts:   Oh I don't know, I guess before he gets home for sure.

     N. Jackson:    Ok. Ok. Just be here before 8 o'clock in the morning.

     D. Roberts:    (laughs)

     N. Jackson:    Ok. Ooh I'm getting butterflies.

     D. Roberts:    Me too.

     N. Jackson:    Ooh, I'm gorina get you.

     D. Roberts:    I know.

     N. Jackson:    I love you baby.

     D. Robe1is:    I'm gonna get you.

     N. Jackson:    I love you

     D. Roberts:    Real good

     N. Jackson:    I love you so much honey. I love you baby

     D. Roberts:    I'm keeping my tongue polished.

     N. Jackson:    Ooh.

     D. Roberts:    (laughs) Tomorrow morning.

     N. Jackson:    I love you honey.

     D. Roberts:    I love you.

     N. Jackson:    (kiss sound) Talk to you in the morning ok?

     D. Roberts:    (kiss sound)

     N. Jackson:    (kiss sound) Talk to my baby in the morning ok.

     D. Robe1is:    I'm picturing you.




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      N. Jackson:   Ooh I'm gonna get you.

      D. Roberts:   Ooh

      N. Jackson:   Gonna get you.

      D. Roberts:   (laughs)

      N. Jackson:   (laughs)

      D. Roberts:   Nate

      N. Jackson:   Love you honey.

      CALL ENDS


      Transcribed by J. Hoffman   4/12/02




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                        supreme court of Ohio
                        case No, 03-01.37
                        oate Rec'd 7 /9/03




                                                                            DONNA ROBERTS v WARDEN
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                               FEDE!RAL BUREAU OF INVESTIGATION, UNITED STATES DEPARTMENT OF JUST.BCE
                                                       WASHINGTON, D.C. 20537
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PRIVACY ACT OF 1974 (PL 93 "79) REQUIRES THAT FEDERAL STATE OR LOCAL AGENCIES INFORM INDIV IDUALS WHOSE SOCIAL SECURITY NUMBER IS REQUESTED WHETHE R
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SUBMISSION

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 ADDITIONAL INFORMATION/BASIS FOR CAUTION                                                                                STATE BURE AU STAMP




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                              FEDERAL BUREAU OF I NVESTIGATION, U NI T ED STATES DEPART MENT OF JUSTICE
                                                      WASHINGTON, D.C. 20537
PRIVACY ACT OF 1974 (PL 93 579) REQUIRES THAT FEDERAL STATE OR LOCAL AGENCl~S
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                                                                     2000 0509                              WARREN, OHIO 44481
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TREAT AS AOUL I                      YES



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CHARGE/CITATION                                                                                                           DISPOSITION
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ADDITIONAL INFORMATION/BASIS FOR CAUTION                                                                                  STATE BUREAU STAMP




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CAT. NO. FC330                                                                                                                                 SIRC HIE® FINGER PRINT LA BORATO RIES, I~




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                                       Case: 4:21-cv-00368-DAP Doc #: 12-24 Filed: 01/14/22 366 of 512. PageID #: 12642

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                                                                                                                                                                                                                                                                                                      CASE NO. 4:21-cv-00368-DAP
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                                                                                                        LIGHTER       007025700147      1 .97 J
                                                                                                                           SUBTOTAL    11 .94
                                                                                                                  TAX 1 5.500 X         0 .66
                                                                                                                              TOTAL    12 .60
                                                                                                                WALHART CREDIT TEND    12 .60                                                               ·-.-.
                                                                                                        ACCOUNT #1816-99/99
                                                                                                        APPROVAL #011623
                                                                                                        TRANS ID -
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                                                                                                        PAYHENT SERVICE - N
                                                                                                                         CHANGE DUE                                               0.00

                                                                                                               # ITEMS SOLD 2
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                             Case No. 03-0137                                                             THE PRINCESS DIARIES. DECEHBER 18!

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                                                                                                                             CASE NO. 4:21-cv-00368-DAP
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                                  20529                                                        6w969780w                PRESTON AUTO MALL
                                                                                                                  CHRYSLER PL YMOUTH JEEP EAGLE DODGE BMW
DONNA ROBERTS                                                                                 ACCOUNTING                    3843 YOUNGSTOWN RD .
DONNA ROBERTS                                                                                                                W ARREN , OHIO 44484
254 FONDERLAC SE                                                                                                                (330) 369-4611
WARREN, OH 444 84                                                                                PAGE 1
HOrl'.lE: 330-394-9453 BUS: 330-743-4507
                                                                                          SERVICE ADVISOR:


PEL INFERN 00

28AUG1999                                                 14:00 10AUG0 1                  60.00 CASH                                            11AUG2001
     PAIEO.fl'lEPAIR.                                        OPTIONS:
                               CLJl'iTOMER. filOTlf'l!;pDAlE .        ENG : 3. 5 Liter 24V SOHC Alum Blk
1 1 : 1 7 1 OAUGO 1 0 8 : 0 9 7 1AUG01
LTNE OPCODE TECH TYPE A/HRS S/HRS              COST    SALP COI:vlJ?                                                   LIST             NET        TOTAL
A . •CHECK ELAT TIRE >(IN 'I'RU}Jl() ; ·•PUT BACK ON<VEHICLE
                   TIRE; PUT SPA.~E IN TPDNK; l~EINSTALL TIRE
                    S PUTN}¼\1,BRL~l\J: LIC# ; 7439t·•·· ·.·.. .•
                          CCP          0 . 30   480    1595                                                                           15 . 95      1 5 . 95
B ROT.AT:ETIRBS}IF- .NEfDED
          SEE NOT NEEDED AT THIS TiivIE
                                    CCP                     0 . 00                        0
c <cusT ; :/STATES DR. WINDOW SQUEA.K.S •W/ DROJ?PED \<.
CAUSE : .
 . . · · ·•, :2320•220 9· R. . . . &·•·.· R ••DR X• FR'I'·j·· · ···•D0OR J?.A.NEL}•· • · tUBE ·• .WINDOW
                    REGULATOR
                      .. 211 5 PUTNA.t''{/ BRJ;)i,1\J LIC#:
                                 WCP4                       0 . 40
            .    FC:      67 Pl\R.T#. : .
                  CLAIM TYPE:


                                                                                    640           2232 TL.Z\BOR
SHOI?MATER.IALS



                                                                                     PRESTON AUTO MALL INC.
                                                                 ····.•·•·•·         ,.( i:/sERVICE HOu-.RS / ?::<
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                                                                               MON THRU FRI 7 : 30 TO 6 : 00       SAT 8 : 00 TO 1 : 00
ACCOUNT            SALE
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                                                                                                                     MISC. CHARGES                  1 . 60
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                                                                                                                                APPENDIX – PAGE 5780
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+------------------VEHICLE INFORi'1ATION PLUS SUM1/ARY REPORT---------------------+
I                                                                                     I
IOS/10/2001 10:29        PRESTON CHRYSLER PLYMOUTH BMW                 PAGE 1 j
+------------------------------------------------------------------------------+
I      VIN: 2C3HE66G2YH13288o   wee: 336         Current Odometer: 15963 Miles!
j Yr/Model: 2000 CHRYSLER 300M FOUR-DOOR SEDAN       In-Serv Date: 08/28/1999 I
I                                                                                     I
+------------------------------VEHICLE SUMMARY--------------- -----------------+
I                                                                                     I
IBodyStyle: LHYS41                        Build Date: 08/19/1999           Hour: 23   I
I Color 1: PEL - Inferno Red Tinted Pearl Coat                                        I
I        2: QELS - Inferno Red Tinted Pearl Coat                                      I
I   Engine: Engine - 3.SL High Output V6 24V MPI                    BOOK: F           I
I    Trans: Transmission - 4-Speed Automatic                     CARLINE: L
j   Seller: 68662 PRESTON CHRYSLER PLY!Y10U          Zone: 43
I       Address: 3843 YOUNGSTOWN ROAD SE
I          City: WA."tffiEN
!State/Province: OH Desc: OHIO
I   Postal Code : 444842895
I       Country: USA Desc: UNITED STATES
I         Phone: 330.369.4611
jsale Type: L-BROKER                   Last Odometer: 13626 Miles on 05/03/2001
I                                                                                     I
+-------------------------CUSTOMER NAME &~TI ADDRESS---------------- - -----------+
I                                                                                     I
I**** CUR.>IBNT OWNER NAME****                                                        I
I      Title Code: 03 MISS                                                            I
I      First Name: DONNA                                                              I
I Preferred Name:                                                                     I
I Middle Initial:                                                                     I
I       Last Name : ROBERTS                                                           I
I          Address: 254 FONDERLAC ST SE                                               I
I              City: WARREN                                                           I
I Province/State: OH OHIO                                                             I
!Postal Code:        444842157
I Phones - Home: 3306097812
I
                                               Bus:                                   I
                Fax:                                                                  I
I Language Pref: 010 ENGLISH                                                          I
I          Country: USA UNITED STATES                                                 I
I                                                                                     I
+----------------------------ORIGINAL OWNER NAME--------------- ._, --------------+
I                                                                                     I
I       First N&~e: DONNA                                                             I
I   Middle Initial:                                                                   I
I        Last Name: ROBERTS                                                           I
I                                                                                     I
+---------------------SERVICE HISTORY (LAST       24 MONTHS)------------------------+
I                                                                                     I
!Repair Date      Dealer/Payee                     Claim#    Transaction Type         I
!OS /03/200 1     68662-PRESTON CHRYSLER PLYMOUT 934600      WA.'IBANTY REPAIR        I
I         LOP:    23306540 Height and centering position                              I
J 12/01/2000      6866 2-PRESTON CHRYSLER PLYl~OUT 888410    WAR..-rui.NTY APPEAL     I
I         LOP:    08522004 4D sedan-Van-Wagon-Front door-Right or l eft               I
111 /16/2000      68662-PRESTON CHRYSLER PLYMOUT 883520      WARRANTY REPAIR          I
          LOP:    08607005 Front door-Right or left                                   I
  02/04/2000      68662-                           788420    WARRA.l\JTY REPAIR       I
          LOP:    08802802 KEYLESS ENTRY                                              I
  02/03/2000      68662-PRESTON CHRYSLER PLYMOUT 787920      WARRANTY REPAIR          I
I         LOP:    08900103 FUSES                                                      I
I         LOP:    08607004 SPEAKER INFINITY                                           I
I         LOP:    08802803 KEYLESS ENTRY                                              I
!02/03/2000       68662-PRESTON CHRYSLER PLYMOUT 787921      RECALL REPAIR            I
I         LOP:    08857182 REC2\LL                                                    I
110 /29/ 1999     68662-PRESTON CHRYSLER PLYMOUT 759230      WARRANTY REPAIR          I
I          LOP:   08281001 ELEi\1ENT,LIGHTER                                          I

                                                                                DONNA ROBERTS v WARDEN
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I08/28/1.999 .68662-PRESTON CHRYSLER PLYMOUT     XJH095        MISC. TRANSACTION
I         LOP: NO LOP    NO LOP DESC FOUND
j08/25/1999   68662-PRESTON CHRYSLER PLYMOUT     PREPNV         PREPARATION
j        LOP: 95900040 ROAD READY
j        LOP: 95900045 ROAD READY
I                                                                                       I
+------~------------------WARRANTY COVERAGE SlJM!v!A.~Y----------------------------+
I                                                                                       I
jwcc: 336     ------Original----- - Deduct --Expires -         ----- Remaining ------1
I      BASIC: 36 Mos or 36000 Miles      0 08/28/2002          12 Mos or 20037 Milesi
I POWERTRAIN: 36 Mos or 36000 Miles      0 08/28/2002          12 Mos or 20037 Miles
jPERFORATION:    60 Mos or 100000 Miles       0 08 /2 8/2004   36 Mos or 84037 Miles
I EMISSIONS:     36 Mos or 36000 Miles        0 08/28/2002     12 Mos or 20037 Miles
jADJUSTMENTS:    36 Mos or 36000 Miles        0 08/28/2002     12 Mos or 20037 Miles
I AIR COND.:     36 Mos or 36000 Miles        0 08/28/2002     12 Mos or 20037 Miles
JEX.FED.EMIS:    96 Mos or 80000 Miles        0 08/28/2007     72 Mos or 64037 Miles
I                                                                                       I
I                                                                                       I
I
jin-Service Odometer:      4 Miles            Roadside Assistance              YES
jMaster Shield        N/A                     Transferable   Warranty          N/A
jVeh. Restrictions    NO RESTRICTIONS                      - Service Contract: NO I
I                                                                                       I
I*** Above info has been adjusted in accordance to local laws***                        I
I                                                                                       I
+--------------------CURRENT VEHICLE TRANSFER INFORlvlATION----------------------+
I
jRestrict ions: NO RESTRICTIONS
j              WARRANTY ODOMETER LEFT: 55.658 %     TIME LEFT: 34.945 %
I
Jwcc             MODEL YRS   BASIC    POWERTRAIN   DED RUST PROTECTION
1336            1995-96     3/36         3/36         0         7/100
I               1997-01     3/36         3/36         0         5 / 100
I               WARRANTY COVERAGE C-OES WITH THE VEHICLE. INFORM DA!:tvlLER-
I               CHRYSLER OF ANY SUBSEQUENT OWNER'S NAME MTI ADDRESS CHANGES USING
I               'VEHICLE OWNERSHIP INFO UPDATE/TRANSFER' ON THE VIP UPDATE MENU.
I
JNO SERVICE CONTRACTS FOR THIS VEHICLE
I
juse 'VEHICLE OWNERSHIP _INFO UPDATE/TR1illSFER' on the VIP update menu to xfer.
I                                                                                       I
+---------------------~-~-------SERVICE CONTRACT--------------------------------+
I                                                                                       I
I          NO SERVICE CONTRACTS FOR THIS VEHICLE                                        I
I                                                                                       I
+-----------------------------RECALL INFORMATION-------------------------------+
I
I Recall                                                  Launch        Repair
I Number       Description                                Date          Date
j-------------INCOMPLETE RECALLS---------------
!        ** NO INCOMPLETE RECALLS**
I
!--------------COMPLETE RECALLS----------------
1 857          INCORRECT VTA,OTIS,ACT OPERATION           01/24/2000     02/03/2000
I 957          OWNER'S MAN"t..JAL ADDENDUM                11 /06/2000    12 / 15/2000
I
+-----------------------------OPEN CAIR SUMMARY--------------------------------+
I                                                                                       I
I          NO OPEN CAIRS FOR INQUIRING DEALER FOR THIS VEHICLE                          I
I                                                                                       I
+---------------------- - --END     OF    REPORT----------------------------+




                                                                               DONNA ROBERTS v WARDEN
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                                                                                                                                                  PRESTON
CUSTOMER #:20529
DONNA ROBERTS                                                                                                                                     Auto Mall
DONNA ROBERTS                                                                                                                      HRYSLER PLYMOUTH JEEP EAGLE DODGE BMW
                                                                                                                                  3843 YOUNGSTOVV~,J RD VVARREN, OHiO 44484
254 FONDERLAC SE                                                                                                                                       1
                                                                                                                                                           330 ]69-4-611
WARREN, OH 44484
HOME:330-394-9453
                                                                                                  SERVICE ADVISOR: -
      COLOR              YEAR                  MAKE/MODEL                                                      VIN                     L:CEfJSE   l           MILEAGE IN/ OUT          TAG

PEL INFER]\                00        CHRYSLER 300M                                           2C3HE66G2\7H7 32880                                            ~5963/
    DEL DATE             PROD. DATE           WARR. EXP.                      PROMISED                          PO NO.                R.'\ TE      PAYMENT                 INV. DATE


28AUG1999                                                             14: 00 ': 0AUG01               I 60.00
        R.O. OPENED                                 READY                 OPTIONS:  ENG: 3. 5 Liter 24V SOHC Alum Blk:

1 0AUG2001 11 : 1 7
LINE OP COD.t:.: Tt:CH TYPE                                   DESCRTPTTONS/INSTRUCT,ONS
# A                    CCP                                    CH.t:CK FLl\.T TIRE ( 1N T.t<.U.::JJ()                            PUT bACKON VEHICLE




#                                              CCP            ROTATE TIRES., IF




# C                                                           CUST.                                      WINDOW




                                      EXCLUSION OF WARRANTIES
     Any warranties on the parts and accessories sc!d hereby are me.de by the manufacturer. The
     undersigns~ purchaser und~rstands and ag~ees _that deafer makes no warranties. ?f any kind,
     exoress or implied, end dtscLs1ms all warranties, including war:ant1es of mercr-,.sntabtl1ty or fitness
     for a particular purpc~e, with regerd to the parts and/or accessories purct-,ased~ and that in _no
                                                                                                                AUTHORIZED BY     X
     event shell dealer be !table for inc:dental or ccnsequentia! damages or commerc1ai losses arising                                                              TIME          BY
                                                                                                                REVISED                         DATE
     out of such purchase. The undersigned purchaser further agrees that the warranties excluded by
     dealer, ir.dude, but ere not limited to eny warranties that such parts end/or ,~ccessories are of          ESTIMATE 11 l
     rnerchzir7table qualit1,· or that they will enable any vehicle or ar,y of its systems tc perform with
                                                                                                                REVISED
     reasonable safety, efficiency. er comfort.                                                                 ESTIMATE 121
                                       AUTHORIZATION FOR REPAIRS
                                                                                                                REVISED
      J hereby authorize the repair work ~,erem s~t forth ~c be done along with the_ necessary material         ESTIMATE 13)
      and agree that yet..: are not responsible for lass or damege to vehicie or articles left in vehicle in         ~-~
      case of fire, theft or any other cause beyond your control or for any delays caused by                                                                 NOTIFIED & GAVE ORAL APPROVAL
      unavailability of parts or delays in oarts shipments by the supplier or trsnsoorter. i hereby grant
      you and/or your employees permission to operate_ the vehicie herein described o~, str.eets,
      highways or eisewhere for the puipose of testing and/or inspection. An express mechanic's hen :s
      hereby "-Cknow!edged on above vehicle to secure the amount of repaus thereto. The dealersh:p 1s
      not rnsoonsib!e for damages from freezing due to lack of antifreeze.




                                                                                                                                                DONNA ROBERTS v WARDEN
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                                                                                      398B

                                 20529                                        6w934600w               PRESTON AUTO MALL
                                                                                                 CHRYSLER PLYMOUTH JEEP EAGLE DODGE BMW
DONNA ROBERTS                                                                ACCOUNTING                   3843 YOUNGSTOWN RD.
DONNA ROBERTS                                                                                              WARREN, OHIO 44484
254 FONDERLAC SE                                                                                              (330) 369-4611
WARREN, OH 44484                                                               PAGE 2
HOJvIE: 330-394-9453 BUS: 330-743-4507
                                                                           SERVICE ADVISOR:       2026 BARRY RICKER
                                                                                                   · LICENSE         MILEAGE IN/ OUT       TAG.




28AUG1999                                             16:00 03MAY01                 60.00 CASH                              03MAY2001
__DA_T_E_O_F_R_E_?_A_IR_-4--c_us_T_O_M_Efl_N_O_T_IFJ_ED
                                                      __         ENG: 3. 5 Liter 24V SOHC Alum Blk
                                                        DA_T~E OPTIONS:




           COST        SALE       &   COMP TOTALS                     2370      5455         0
                                                                                                       DESCRIPTION



                                                                                                   GAS, OIL, LUBE                 O• 0 0




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                                  20529                                    6w934600w                              PRESTON AUTO MALL
                                                                                                         CHRYSLER PLYMOUTH JEEP EAGLE DODGE BMW
DONNA ROBERTS                                                             ACCOUNTING                                   3843 YOUNGSTOWN RD .
DONNA ROBERTS                                                                                                           WARREN, OHIO 44484
254 FONDERLAC SE                                                                                                           (330) 369-4611
WARREN, OH 44484                                                            PAGE 1
HOME: 330-394-9453 BUS: 330-743-4507
                                                                     SERVICE ADVISOR:                         2026 BARRY RICKER
                                                                                                             > C)GENSE >···• >, JvlltEAGEJWPl.J:F =>

PEL INFERN 00                                                                                                                    13626/13627
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28AUG1999                                                 16:00 03MAY01                  60.00 CASH                                         03MAY2001
 : OAT:sP~.fll:PAJR            CU$T()tvlER.N.QJl.f{Ep •ciAJ!:OPTIONS: ENG: 3. 5 Liter 24V SOHC Alum Blk

08:47 03MAY01  10:43 03MAY01
LINE OPCODE TECH TYPE A/HRS S/HRS                                 COST       SALE               COJ\1P           LIST                NET          TOTAL
A•LUBE} · • orn <AND.FIL'I.'EI{•+•·•t• ••·· ·• <•
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                                    CCP                    0.30    480        950                                                  9.50             9.50




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                                                                   320       1116 TLABOR




                                                                         PRESTON AUTO MALL INC.




                                                                                                              PARTS AMOUNT
                                                                                                              GAS, OIL, LUBE
                                                                     CASH      □                              SUBLET AMOUNT
                                                                                                              MISC. CHARGES
                                                                     CREDIT CARD □                             TOTAL CHARGES
                                                                               □                      LESS ADJ / DIS
                                                                     CHECK           NO. - - - 1--..:.SA:.::L..:.ES:...:.T:..:A:...:.X_::__:_ _-4-_ _ _ _ _ __

                                                                     OTHER     0                              PLEASE PAY
                                                                                                              THIS AMOUNT


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                                                                                                                      DONNA ROBERTS v WARDEN
                                                                                                                       CASE NO. 4:21-cv-00368-DAP
                                                                                                                          APPENDIX – PAGE 5786
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                                                                                                        PRESTON
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                                                                                                    DONNA ROBERTS v WARDEN
                                                                                                     CASE NO. 4:21-cv-00368-DAP
                                                                                                        APPENDIX – PAGE 5787
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                                                                                 CASE NO. 4:21-cv-00368-DAP
                                                                                    APPENDIX – PAGE 5788
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                                                  ,
+--- -------------- - VEHICLE INFORMATION PLUS SlJ1,,fr1ARY REPORT ---------------------+
I                                                                                            I
I os;o3;2001 08 : n        PRESTON CHRYSLER PLYMOUTH BMW                   PAGE 1 I
+-------------------------------------------------- --- ------------------ ------ -+
I        VIN: 2C3HE66G2YH132880   wee: 336         current Odome t er : 13626 Miles!
I Yr/Model: 2000 CHRYSLER 300M FOUR-DOOR SEDAN         In-Serv Date: 08/28/ 1999 I
I                                                                                            I
+------------------------------VEHICLE SUMt,ti\RY-- --------- -- ' ---------- ---- -----+
I                                                                                            I
IBodyStyle : LHYS41                         Build Date: 08/ 19/1999    Hour: 23     I
I Color 1: PEL - Inferno Red Ti nted Pearl Coat                                     I
I         2 : QELS - Inferno Red Tinted Pearl Coat                                  I
I   Engine : Engine - 3.5L High Output V6 24V MPI                      BOOK : F     I
I    Trans : Transmission - 4-Speed Automatic                       CARLINE : L     I
I Seller : 68662 PRESTON CHRYSLER PLYMOU               Zone: 43                     I
I       Address : 3843 YOUNGSTOWN ROAD SE                                           I
I            City : WAR.'R.EN                                                       I
!State/Province : OH Desc : OHIO                                                    I
I   Postal Code: 4448428 95                                                         I
I       Country : USA Desc : UNITED STATES                                          I
I          Phone : 330.369.4611   ·                                                 I
jsale Type: L- BROKER                   Last Odometer : 10478 Miles on 12 /01/200 0!
I                                                                                            I
+-- - ------- ---------------CUSTOMER NAME ANTI ADDRESS---------- ------- - - ---------+
I                                                                                            I
I**** CUR.'R.ENT OWNER NA.t'1E ****
I      Title Code: 03 MISS
I      First Name : DONNA
I Preferred Name:
I Middle Initial:
I       Last Name: ROBERTS
I         Address: 254 FO~TIERLAC ST SE
I              City : WARREN
I Province/State : OH OHIO
jPostal Code :        444842157
I Phones - Home : 3306097812                     Bus :
I               Fax :
I    Language Pref : 010 ENGL ISH
I          Country : USA UNITED STATES
I
+----------------------------ORIGINAL OWNER NAME- -- -- - - .. -- ----- -- -- - --- - -------+
I                                                                                            I
I       First Name: DONNA                                                                    I
I   Middle Initial:                                                                          I
I        Last Name : ROBERTS                                                                 I
I                                                                                            I
+------------ --- -- ---- SERVICE HIS,TORY (LAST     24 MONTHS ) -- - --------------- ---- --+
I                                                                                            I
jRepair Date Dealer /Payee                          Claim# Transaction Type                  I
11 2/01/2000     6866 2-PRESTON CHRYSLER PLY1-'10UT 888410 WA.."RRl\.NTY APPEAL              I
I          LOP: 08522004 4D sedan-Van-Wagon-Front door-Right or left                         I
/11 / 16/2000    68662-PRESTON CHRYSLER PLYMOUT 883520     WAR"R_.I\NTY
                                                                ..         REPAIR            I
I          LOP : 08607005 Front door-Right or left
! 02/04/2000     68662-                             788420 WJ->..R..~\JTY REPAIR             I
I          LOP: 08802802 KEYLESS ENTRY                                                       I
j02/03/2000      68662-PRESTON CHRYSLER PLYMOUT 787920     W.ARRJ>..1\JTY REPAIR             I
/          LOP: 08900103 FUSES                                                               I
I          LOP : 08607004 sPEAKER rNFINITY                                                   I
j          LOP : 08802803 KEYLESS ENTRY                                                      I
10 2/03/ 2000    68662-PRESTON CHRYSLER PLYMOUT 787921     RECF-LL REPAIR                    I
I          LOP : 08857182 RECALL                                                             I
110 /29/ 1999    68 662-PRESTON CHRYSLER PLYMOUT 759 230   WJ>..R..~.1\JTY REPAIR            I
I          LOP : 08281001 ELEMENT LIGHTER                                                    I
108/28 /1 999    68662-PRESTON CHRYSLER PLYMOUT XJH095     MISC . TRANSACTION                I
I          LOP: NO LOP      NO LOP DESC FOUND                                                I

                                                                                      DONNA ROBERTS v WARDEN
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                                                                                          APPENDIX – PAGE 5789
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'j 08/25/1999   68662-PRESTON CHRYSLER PLYMOOT         PREPN'/       PREPARATION
I          LOP: 95900040 ROAD READY
I          LOP: 95900045 ROAD READY
I
+-------------------------WARRANTY COVERAGE Su"M!v.lARY---------------- - - - ---------+
I                                                                                             I
1wcc: 336     ------Original - - -- - - Deduct --Expires-           -- -- -Remaining------
I      BASIC: 36 Mos or 36000 Miles          O 08/28/2002           15 Mos or 22374 Miles
I POWERTRAIN: 36 Mos or 36000 Miles          O 08/28/ 2002          15 Mos or 22374 Miles
IPERFORATION:     60 Mos or 10000 0 Miles          O 08/28/2004     39 Mo s or 86374 Mi les
I EMISSIONS :     36 Mos or 36000 Miles            0 08/28 / 2002   15 Mos or 22374 Miles
IJ>.DJUSTMENTS:   36 Mos or 36000 Miles            O 08/28/2002     15 Mos or 22374 Miles
I AIR COND.:      36 Mos or 36000 Miles            0 08/28/2002     15 Mos or 22374 Miles
jEX.FED.EMIS:     96 Mos or 80000 Miles            0 08/28/2007     75 Mos or 66374 Miles
l                                                                                             I
l                                                                                             I
I                                                                                             I
Jin - Service Odometer:      4 Miles               Roadside As s ist ance             YESI
!Master Shield          N/A                        Transferable     Warranty          N/AJ
IVeh . Restrictions     NO RESTRICTIONS                           - Service Contract: NO I
I                                                                                             I
I*** Above info has been adjusted i n accordanc e to local laws***                            I
I                                                                                             I
+--------------------CURRENT VEHI CLE TRANSFER INFORMATION----------------------+
I                                                                                   I
JRestr ic ti ons : NO RESTRICTIONS                                                  I
I                 WARRANTY ODOMETER LEFT: 62. 150 %    TI!vJE LEFT: 43.978 %        I
I                                                                                   I
lwcc           MODEL YRS     BASIC   POWERTRAIN     DED RUST PROTECTION             I
J336         1 995-96       3/36        3/36            0           7/100           I
I               1997        3/36        3/36            0           5/100           I
I            WA.."RRANTY COVERAGE GOES WITH THE VEHICLE. INFORM DAIMLER-            I
I            CHRYSLER OF A.NY SUBSEQUENT OWNER'S NAME Al'ID ADDRESS CHANGES US ING I
I            ' VEHICLE OWNERSHIP INFO UPDA'l'E/TRl\..NSFER' ON THE VIP UPDATE MENU. I
I                                                                                   I
JNO SERVICE CONTR~CTS FOR THIS VEHICLE                                              I
I                                                                                   I
!Use 'VEHICLE OWNERSHIP INFO UPDATE/TRANSFER' on the VIP update menu t o xfer . I
I                                                                                   I
+--- --- ------------------------SERVICE CONTRACT--------------------------------+
I                                                                                             I
I          NO SERVICE CONTRACTS FOR THIS VEHICLE                                              I
I                                                                                             I
+---- -- ------ - ----------------RECALL INFOR.t\1ATION------- - -----------------------+
I                                                                                             I
I Recall                                                         Launch       Repai r         I
I Nwnber     Description                                         Date         Date            I
!--------- --- -I NCOMPLETE RECALLS -- - -- -- ------ --                                      I
j      ** NO I NCOMPLETE RECALLS**                                                            I
I                                                                                             I
! - - ------------COMPLETE RECALLS----------- - ----                                          I
! 857          INCORRECT VTA,OTIS,ACT OPER/\TION                 01/24/2000   0210312000      I
j 9 57         OWNER 'S MAl\JUAL .ADDENDUM                       11/06/2000   12;15; 2000     I
I                                                                                             I
+--- -- ----- - ------------- --- --OPEN CAIR Su~lMARY--------------------------------+
I
I          NO OPEN CAIRS FOR INQUIRING DEALER FOR THIS VEHICLE
I
+-------------------------END           OF     REPORT----------------------------+




                                                                                        DONNA ROBERTS v WARDEN
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                                                                                            APPENDIX – PAGE 5790
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                                                                           398C

                              20529                                      6w888470w                  PRESTON AUTO MALL
                                                                                              CHRYSLER PLYMOUTH JEEP EA GLE DODGE BM W
DONNA ROBERTS                                                           ACCOUNTING                      3 84 3 YOUNGSTOWN RD .
DONNA ROBERTS                                                                                             WARREN , OHIO 44484
25 4 FONDERLAC SE                                                                                             (3 30) 36 9-461 1
WA.."RREN , OH 44484                                                      PAGE 1
HOME: 330 - 394 -94 53 BUS: 330-743- 45 07
                                                                      SERVICE ADVISOR :        2026 BARRY RICKER

PEL I NFER 00 CHRYSLER 300M
 I_NSERVICE DATE PHQD; .OATE .1/v'ARR} E><P) :· /   PR OMlSl;O .--.


28AUG1999                                       16 : 00 01DEC00                    58 . 00 CASH                              04DEC2000
    .DATE OF RE PAI R   -   CUSTO[YlERNQTIFIEDOATE OP TIONS : ENG : 3. 5 Li ter 24V SOHC Alum Blk
12 : 07 01DEC00 17:45 04DEcoo ·
LTNE OPCODE TECH TYPE A/HRS S/HRS                            COST          SALE      COlvfP        LIST             NET
CAUSE : .
     23 3 4{0 09 REPLACE PASS. E'RT}WINDOW-REGULATOR
                   2080 DIKuN , ROBERT LIC#: 3468
                     - WCP4          -       .800    2790                                                         27 : 90       27. 90
             1 4 57 409 2AO
      .• REGULATOR4fiRONT:. ·oooR WIND \ 61 -0bf .·_ 854                                      <102 . 00 - - -- 85-; ,JO ----    85 . -4
                FC: 07
                PART#t 4574O92.21.O
                COUNT :
        ---- -. CLAIM 'I'YJ?EX -
                AUTH CODE :
              >3468


B CUST . STATES FRT . PLATE HOLDER
     SOP SPECIAL P.ARTS ORDERED
             9999 SUBLET
                            ··-·- ccP ·-



                                                                  PRESTON AUTO MALL
                                                                      SERVI CE HOURS
                                                                THRU     7 : 30
ACCOUNT                                                                ACCOUNT         SALE          COST                   CONTROL
4_6 20 (}                                                    .•·- : < 48000 >        ._ <>8540 .-. ·• .- >61-0U
460 0 0                                                                263 00            11 330 *** ****
22soo ·

            COST    SALE       &   COMP TOTALS              6900          11 3 3 0       0

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                                                                                        PARTS AMOUNT                 O. 00
                                                                                       GAS, OIL, LUBE                O• 0 Q
                                                                  CASH    □             SUBL ETAMOUNT                Q • 0Q
                                                                                        MISC. CHARGES                Q • 0Q
                                                                  CREDIT CARD O          TOTALCHARGES                O. 00
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                                                                                                          CASE NO. 4:21-cv-00368-DAP
                                                                                                             APPENDIX – PAGE 5791
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                                                                    L~""-·, ._________
                                                                           8 8 8 4 7                                                        PRESTON
                                                                       TECHNICIAN c opv
                                                                                                                                           Auto Mall
                                                                                                          CHRYSLER PLYMOUTH JEEP EAGLE DODGE BMW
                                                                                                          :3::3:;.1. 3 .,{CU~-JGS.7 0V-/t'J RC                               './/.~_RRE N. OH fO 4.4484
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         Name                                                                           Name
                                                                                        Date

                               EXCLUSION OF WARRANTiES



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                                                                                                                             DONNA ROBERTS v WARDEN
                                                                                                                              CASE NO. 4:21-cv-00368-DAP
                                                                                                                                 APPENDIX – PAGE 5792
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STRAIGHT                                OFF
TIME (HR S.I                     TIME


                                        ON




                                                                                            DONNA ROBERTS v WARDEN
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                                                                                                APPENDIX – PAGE 5793
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            C!'iRYSLER-Pl Y1iflOUTH-BMW JEE?                              0




           3843 YOUNGSTOWN RD/WARREN, OHIO 44484
                               Phone (330} 369-4611
                                  (~} 74S~s:4l1
CUSTOMER'S
C0NTACT _ _ l~
                   v'->
             ~•-·)d:::~7'-:-c.,;-,_,~-



                               NAME


                              ADDRESS              ;}JSl/                     /.--'7:,)v'x..l _e - / &-c----5_c_
                              CITY/STATE               l,Ua, N-c7=,~~o~/_~II-_ _ ___
                                                                     ZIP     l/l/'-id y


   WORK □           OR DAYTlME O          PHONE                  EVENING 0         OR HOME □       PHONE


ORDER DATE                   ESTIMATED ARRIVAL                        URGENCY DESCRIPTION

      I        I                   I               I
                                                                               I   PRODUCTION DATE     I COLOR
                                                                                                       I

                                                                               !       /       /       i
                                                                              DESCRIPTION




                                         BY:                                                                       SY :



     WHiTE - CUSTOMER COPY     CAN ARY - OR!GINATiN G DE PT, COPY PINK - PARTS MONITORING
                    GOL D - ARRIVAL NOTICE     TAG - CUSTOMER NOTIFICATION
FORM RL· '!i 7N    r 2/94}




                                                                                                                          DONNA ROBERTS v WARDEN
                                                                                                                           CASE NO. 4:21-cv-00368-DAP
                                                                                                                              APPENDIX – PAGE 5794
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                     398D
                                   20529                             6w883520w                    PRESTON AUTO MALL
                                                                                       CHR YSL ER PLYMOUTH JEEP EAGLE DODGE BMW
DONNA ROBERTS                                                       ACCOUNTING                        3843 YOUNGSTOWN RD .
DONNA ROBERTS                                                                                          WA RREN , OHIO 44484
254 FONDERLAC SE                                                                                          (330 ) 369 -4611
WARREN, OH 44484                                                      PAGE 1
HOME: 330 - 394 -9 453 BUS : 330-743-4507
                                                               SERVICE ADVISOR:          2026 BARRY RICKER


PEL INFER.N 00                CHRYSLER 300M

28AUG1 999                             1 6 : 00 1 6NOV00                      58 . 00 CASH                                  27NOV2000
:      D AT!:Of. R:EP)\IR:'    CUSTOM~RNOTIFIED :_DATE
-""-~'-"-="---~--'-'--'-~~~--'-'---'-~---1
                                             OPT ION S: ENG : 3 . 5 Liter 24V  SOHC Alum Blk

72 : 17 16NOV00 15 : 46 27NOV00
LTNE OPCODE TECH TYPE A/HRS S /HRS         COST                        SAT .P   COMP             LTST             NET         TOTAL
A<COST .. iSTA'I'ES\LEFT SPEA.KER} CR&CKLES /
CAUSE :        .
    -:<>._ i\ 0/3607005 SPEft.J<ERS.,
                      r eplace (B )
                      - > -2 080   OIKUN -, ROBER'I' tIC#:( 3468,
                                   WCP4             0 . 20   32 0


                    PART#:
                   -- -COUNT: '
                    CLAIM TYPE :
                : . AUTH . CODE·
                    3468

                                                            320        1116 TLABOR
B CUST .
           SOP SPECIAL PA..RTS ORDERED
                  9999> SUBLET LlC#: )9.999
                         CCP         0. 0 0

           SEE NOT NEEDED


                                   40 BELOW
                                   SUBliET LTC#t 9999
                                    CCP         0 . 00         0           0                                     0 .0 0            0 .00




                                                                                        •-•·       DESCRIPTION                 _TOTALS .-'            >            .
                                                                                               LABOR AMOU NT
                                                               METHOD OF PAYMENT
                                                                                               PARTS AMOUNT
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                                                                                               SUBLET AMOUNT
                                                               CASH
                                                                         □                     MISC. CH ARGE S
                                                               CREDIT CARD
                                                                                □              TOTAL CHARGES
                                                                                               LESS ADJ / DIS
                                                               CHECK     0NO.                  SA LES TAX
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                                                                                                         APPENDIX – PAGE 5795
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                             20529                              6w883520w              PRESTON AUTO MALL
                                                                                  CHRYSLER PLYMOUTH JEEP EAGLE DODGE BMW
DONNA ROBERTS                                                  ACCOUNTING                   3843 YOUNGSTOWN RD.
DONNA ROBERTS                                                                                WARREN, OHIO 44484
254 FONDERLAC SE                                                                                (330) 369-4611
WARREN, OH 44484                                                 PAGE 2
HOME: 330-394-9453 BUS: 330-743-4507
                                                             SERVICE ADVISOR:                        Y RICKER
     COLOR .                     MAKE/MODEL ·                                                          MILEAGE IN/ OUT


PEL INFERN 00            CHRYSLER 300M                     2C3HE66G2YH132880
 IN SERVICE DATE   PROD. DATE · WARR.EXP,                                                        PAYMENT


28AUG1999                                       16:00 16NOV00                58.00 CASH                       27NOV2000
    DATE OF REPAIR
~--~~~~---t~~~~~~~-'-i
                          CUSTOMERNOTIFIEDDATE     OPTIONS: ENG:3.5 Liter 24V SOHC Alum Blk

1 2: 17 16NOV00 1 5: 46 27NOV00
LINE OPCODE TECH TYPE A/h'RS S/HRS                             SALE COMP            LIST       NET    TOTAL
                                                                11
                                                                   TP..P.1'\JK YOU"
                                                          THE QUALITY PARTS YOU NEED
                                                     THE OUTSTANDING CUSTOMER SERVICE YOU EXPECT
                                                                   ALWAYS AT
                                                           ?RESTON AUTO MALL INC.
                                                               SERVICE HOURS
                                                     MON THRU FRI       :30 TO 6:0       SAT 8:00 TO 1 :00

ACCOUN'::'         SALE          COST            CONTROL      ACCOUNT       SALE         COST               CONTROL
46200                1116           320                       48000           3850         2750
46000                    0             0                      26300           4966      *******
22500                    0   ***""***




         COST, SALE          &   COMP TOTALS           3070         4966      0
                                                                                        DESCRIPTION
                                                                                            0.00
                                                                                     LABOR AMOUNT
                                                            METHOD OF PAYMENT1--------+----=-'
                                                                                     PARTS AMOUNT             0.00
                                                                                    GAS, OIL, LUBE            0.00
                                                            CASH    0       SUBLET AMOUNT                     0.00
                                                                            MISC. CHARGES                     0.00
                                                            CREDIT CARD 0   TOTAL CHARGES                     0.00
                                                                            LESS ADJ / DIS                    0.00
                                                            CHECK ONO. _ _ 1 - - - - - - - - ' r - - - - : : : -
                                                                            SALES TAX                         0.00
                                                            OTHER    0             PLEASE PAY
                                                                                   THIS AMOUNT


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                                                                                           DONNA ROBERTS v WARDEN
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                                                                                               APPENDIX – PAGE 5796
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                 Nobody Sells for Less
          CHRYSLER-PLYMOUTH-BMW-JEE P
        3843 YOUNGSTOWN RD/WARREN, OHIO 444$4
                          Phone (330} 369-46,i
                             (330)~~1
CUSTOMER'S
               ¼
CONTACT _ ~ ~ -- - -




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                           ADDREss r o         i fu N \):i::LA(_ 5-_£_
                           CITY/STATE w ~ I                        oH


                                                 EV ENING O    OR HOME O    PHOI-JE


ORDER DATE               ESTIMATED ARRIV,AL         URGENCY DESCRIPT ION

   (1ti1UD                     I           I
VEHICLE ID NUMBER l
                   I
                                                              I PRODUCTION DATE   i COLOR       I   TRIM

                                                              I ;          ;                    !
 ClTY                  PART NUMBER                        DESCRIPTION                       NOTES




                                   I BY:                             I BY: I DATE CARD MAILED
                                   I                                 I .
    WHITE - CUSTO MER COPY    CJi.NARY - ORIG!N.4 TING DEPT. COPY PINK - PARTS MONITORING
                    GOLD - ARRIVAL NOTICE      TAG - CUSTOMER NOTIFICATI ON
FORM RL-11 7N (;2/94 )




                                                                                                           DONNA ROBERTS v WARDEN
                                                                                                            CASE NO. 4:21-cv-00368-DAP
                                                                                                               APPENDIX – PAGE 5797
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                                                                                                                              DONNA ROBERTS v WARDEN
                                                                                                                               CASE NO. 4:21-cv-00368-DAP
                                                                                                                                  APPENDIX – PAGE 5798
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TIME (HRS.)
                PFJICE      R. O. NO




                                                                                                        DONNA ROBERTS v WARDEN
                                                                                                         CASE NO. 4:21-cv-00368-DAP
                                                                                                            APPENDIX – PAGE 5799
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          398E              20529                                            6w878740w                     PRESTON AUTO MALL
                                                                                                     CHRYSLER PLYMOUTH JEEP EAGLE DODGE BMW
DONNA ROBERTS                                                               ACCOlJNTING                         3843 YOUNGSTOWN RD.
DONNA ROBERTS                                                                                                    WARREN, OHIO 44484
2 5 4 FONTIERLAC SE                                                                                                 (330) 369-4611
WARREN, OH 44484                                                               PAGE 2
HOME: 330-394-9453 BUS: 330-743-4507




                                                     16:00 02NOV00                                    58.00        CASH        03NOV2000




      V      n ·.:.....;,      -.....J.L   -   .LV~r,,_   •   ...   l   J       ---'   ":t     '-'
                                                                                                           DESCRIPTION            TOTALS

                                                                        METHOD OF PAYMENT
                                                                                                       LABOR AMOUNT               9.50
                                                                                                       PARTS AMOUNT              15.39
                                                                                                       GAS. Oil, LUBE             0.00
                                                                                                                                  0.00
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                                                                                                       SUBLET AMOUNT
                                                                        CASH
                                                                        CREDIT CARD          r;/·I
                                                                                                'y
                                                                                                       MISC. CHARGES
                                                                                                       TOTAL CHARGES
                                                                                                                                  0.95
                                                                                                                                 25.84
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                                                                                                             DONNA ROBERTS v WARDEN
                                                                                                              CASE NO. 4:21-cv-00368-DAP
                                                                                                                 APPENDIX – PAGE 5800
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                                        20 52 9                                   6w878 740w                            PRESTON AUTO MALL
                                                                                                            CHRYS LER PLYMOU TH JEEP EAGLE DO DGE BMW
DONNA ROBERTS                                                                   ACCOUNT I NG                                 3843 YOUN GSTOWN RD.
DONNA ROBERTS                                                                                                                 WA RR EN , OH IO 44484
25 4 FONTIERLAC SE                                                                                                               (3 3 0) 369-46 1 1
WARREN , OH 44484                                                                    PAGE 1
HOME : 330 -3 94 -9453 BUS : 330-7 43 -4 507
                                                                              SERVICE A DVISOR:                2026

PEL INFERN 00

28AUG1 999                                                    16 : 00 02NOV0 0                    58 . 00 CASH                                     03NOV2000
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12 : 58 02NOV00 14 : 40 02NOV00
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                        LUBE, OI L Ai"ID FILTER
                        .. ' 2080 DI.KUN ,ROBERT
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                         BREAK DOWN   TIRES •· TO REPLACE VALVE STEMS
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 ... ·< SEE LUBE CH..¾\fNE.tS <
               99 99 SUBLET
D CUST . STATES DR . SIDE SPEAKER CRP-.CKLES
    ·· SOP SPECIAL PARTS ORDERED•• •
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                                                                                                                            CASE NO. 4:21-cv-00368-DAP
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                                                                                                                                                                   CASE NO. 4:21-cv-00368-DAP
                                                                                                                                                                      APPENDIX – PAGE 5802
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STRAIGHT
TIME (HRS.)




                                                                                           DONNA ROBERTS v WARDEN
                                                                                            CASE NO. 4:21-cv-00368-DAP
                                                                                               APPENDIX – PAGE 5803
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~·-- -- -- - - · ----------VEHICLE INFORl"v!ATION PLUS SUMMJI._R.Y REPORT --- - - ---- --- -- -- -----+
    I                                                                                                                              I
j ll/02/2000 12 :5 1                PRESTON CHRYSLER PLYMOUTH BM:W                                PAGE        I
+- -- - - ---- - ---- --- --- - -- -- - - - -- - - ---------- --- ----- - - ---- ------- --- ---- - ---- -- -+
I          VIN: 2C3HE66G2Y-t:Il 32880            WCC : 336           Current Odometer :        9868 Miles I
J  Yr/Mode l: 2000 CHRYSLER 30 0M FOUR-DOOR SEDA1'\J                        In-Serv Date: 08/ 28/1 999 I
    I                                                                                                                              I
+- - -- - - - - -- -- - --- - - -- --- -- - - - - -VEHICLE Sl.J'MVLJ\.:.~Y- -- - - -- - - - --- - - - -- - -- - - - --- - - - - - -+
                                                                                                                                   I
    BodyStyle: LHYS41                                 Build Da te : 08 /79 /1 999    Hour: 23                                      I
      Color 1 : PEL - Inferno Red Tinted Pearl Coat                                                                                I
            2: QELS - Infe rno Red Tint ed Pearl Coat                                                                              I
       Engine:       j!:ngine - 3 . SL High .Output V6 24V MPI                       BOOK : F                                      I
        Trans :      Transmission - _4 -Speed Automat i c                         CARLINE: L                                       I
       Seller: 68662 PRESTON CHRYSLER PLYMOU                     Zone : 43                                                         I
           Address : 3843 YOUNGSTOWN ROAD SE                                                                                       I
                Ci t y : WARREN                                                                                                    I
    State / Province: OH          Desc : OHIO                                                                                      I
       Po stal Code: 44 484 28 95                                                                                                  I
            Country : USA Desc : UNITED STATES                                                                                     I
              Phone: 33 0 .36 9 . 461 1                                                                                            I
    Sale Type: L- BROKER                   Last Odometer :                                 3621 Miles on 02/04/200 □ 1
                                                                                                                                   I
+----- - ---      -- -------------CUSTOMER NJ\JIJE Al"\/1) .~DRESS-- -- - - -- - - -- - - --- ---- ------ -+
                                                                                                                                   I
    *** * ClJR.'Q~ENT OWNER NAI"ill ****                                                                                           I
           Title Code : 03 MISS                                                                                                    I
           Fi r st Name : DONNA                                                                                                    I
      Preferred Name :                                                                                                             I
      Middle Ini ti al :                                                                                                           I
            Last Name : ROBERTS                                                                                                   I
                Addre ss : 254 FONDERLAC $TSE                                                                                     I
                   City : \i'J..~'QREN                                                                                            I
      Pro vince /S tate: OH OHIO                                                                                                  I
    Postal Code:           444842157                                                                                              I
       Phones - Heme: 3303949453                                                                                                  I
                    Fax:                                                                                                          I
       Language Pref : 010 ENGLISH                                                                                                I
               Country: USA UNIT'ED ST.ATE S                                                                                      I
                                                                                                                                  I
+---:    0
          :----------   - - --- -- -------ORIGINAL OWNER Nl\ME - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - +
I                                                                                                                                 I
j            Fi rst Name: DON"l>!A                                                                                                I
j        Middl e Initial :                                                                                                        I
j              Last Name : ROBERTS                                                                                                I
I                                                                                                                                 I
+-- - ---- - ------ - --- ---SERVICE HISTORY (LAST                       24 MONTHS)---- -- -- - - - --- - - - -------+
                                                                                                                                  I
    Repair Date Dealer/Payee                            Claim#                                 Transaction Type                   I
    0 2/0 4 /20 00    6866 2- PRESTON CHRYSLER PLYMOUT 788420                                  WARJ.°'.l.l\NTY REPAIR             I
                LOP: 08802802 Transmitter                                                                                     ·-.}
    02 /0 3 /20 00    6866 2-PRESTON CHRYSLER PLYHOUT 787 9 20                                 WARRAN'rY REPAIR                -i.l
                LOP : 089 00103 One or all                                                                                         I
                LOP : 0860 70 04 Front door-Right or 1e ft                                                                         I
                LOP: 08802803 Batteries                                                                                            I
    02 /0 3/2000      68662-PRESTON Ch'RYSLER PLYMOUT 787921                                   RECALL REPAIR                       I
                LOP : 08857182 recall 857                                                                                          I
    1 O/ 29 /1 999    68662 -PRESTON CHRYSLER PLYMOUT 759230                                   W,\RI'-0\NTY REPAIR                 I
                LOP: 08 28 1001 Element, cigar lighter                                                                             I
    08 / 28 / 1999    68662-                           X,JH095                                 MISC . TRANSACTION                  l
                LOP : NO LOP      NO LOP DESC FOUND                                                                               I
    08 / 25 /1 999    68662-PRESTON Ch'RYSLER PLY110UT PREP!.'{V                               PREPARATION                         i
                LOP : 9590 0040 ROAD RElwY                                                                                        I
                LOP: 95900045 ROAD READY                                                                                          I
                                                                                                                                  I

                                                                                                                        DONNA ROBERTS v WARDEN
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                                                                                                                            APPENDIX – PAGE 5804
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.;:- - - - - - - - - - - - - - - - - -- - - - - - - WARRJ\.1'-JTY COVEAAGE SUMr'A.RY--- - - - -- - - - - -- - - - - - -- - - - - - - - +
    I                                                                                                                                 I
    Jwcc : 336    - - - - - - Original - - - - - - Deduct --·Expires-                            -- - -- Remaining -- -- -- 1
1        BASIC: 36 Mos or 36 000 Miles                  0 08/28/2002                             21 Mos or 26132 Milesj
I POWERTAAIN : 36 Mos or 36000 Miles                    0 08/28/2002                             21 Mos or         26132 Miles!
\PERFORJI.TION: 60 Mos or 100000 Miles                  0 08/28/2004                             45 Mos or         90132 ..
                                                                                                                         M''i.1.es I
I EtV.ISSIONS : 36 Mos or 36000 Miles                   0 08/28/2002                             21 Mos or         26132 Miles!
!ADJUSTMENTS : 36 Mos or 36000 Miles                    0 08/28/2002                             21 Mos or         26132 Miles !
I AIR COND. : 36 Mo s or 360 00 Mi les                  0 08/28/2002                             21 Mos or         26132 :tv1iles
!EX . FED . EMIS: 96 Mos or 80 000 Miles                0 08/28/2007                             81 Mos or         70132 Miles
I
I                                                                                                                                     I
I                                                                                                                                     I
!In - Service Odometer :      4 Mi l es                                  Roadside Assistance                        YES\
!Master Shield           N/A                                             Transferable             Warranty          N/AJ
jveh . Restrictions      NO RESTRICTIONS                                                       - Service Contract : NO I
i                                                                                                                                     I
!** * Above info has been adjusted in accordance t o local laws***                                                                    I
!                                                                                                                                     I
+-- - - -- - - - -- - -- - - - - --CGRRENT VEHICLE TRA.NSFER INFORt~~TION--- --- -- -- -- -- --- ----- +
                                                                                                                                      I
    Restrictions: NO RESTRICTIONS                                                                                                     I
                        VJ A...~t?--AJ.\JTY ODO!v!ETER   LEFT : 7 2. 588     %    TIIv1E LEFT : 60. 492 %                             I
                                                                                                                                      I
    wee                MODEL YRS        BASIC      POWERTRJI.I N DED RUST PROTECTION                                                  i
    336               1995-96          3/36           3/36          0         7/100                                                   I
                          1997         3/36           3/36          0         5/100                                                   I
                      WlsJZRP.1\JTY COVERAGE GOES WITH THE VEHICLE . INFOR.!'1 DAIMLER-                                               I
                      G-IR.YSLER OF A1'-.i'Y S(JBSEQUENT OWNER'S NAME AND ADDRESS CHANGES USING                                       I
                      'VEHICLE OWNERSHIP INFO UPDATE/TRANSFER' ON THE VIP UPDATE MENu .                                               I
                                                                                                                                      I
    NO SERVICE CONTRACTS FOR THIS VEHICLE                                                                                             I
                                                                                                                                      I
    Use   1
              \/EHICLE Oi®JERSHIP INFO UPDATE/TRANSFER 1                      on the VIP update menu to xfer.                         I
                                                                                                                                      I
+-- - - - --- ----- -------- -- -------SERVICE CONTR.i\CT-- - - -- ----- - --- -- - - -- - -- --- - --- - +
I                                                                                                                                     I
I                 NO SERVICE CONTRACTS FOR THIS VEHICLE                                                                               I
I                                                                                                                                     I
+---- - ------- - ----- -- -------- - RECALL INFORl'~~TION- ------- - -------------- - ------ - +

I Recall                                                                                   Laun.ch               Repair
I Nwnber            Description                                                            Date                  Date
j - - - - - - - - - - - - - INCOi..fPLETE   R.E CALLs--- -- - - - -- - - - -- -
I             ** NO INCOf-'fPLETE RECA.LLS **
I
! ---- - --- --- ---COMPLETE RECALLS ---- - - - - -- - -- -- -
1 857            INCORRECT VTA,OTIS,ACT OPERATION                                          01/24/2000            02 / 03/2000
I
,-- ------- - ----- - ------ - --END                       0 F      REPORT------- - ---- - ----- - ---------+




                                                                                                                        DONNA ROBERTS v WARDEN
                                                                                                                         CASE NO. 4:21-cv-00368-DAP
                                                                                                                            APPENDIX – PAGE 5805
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                                                      Nobody Sells for Less
                                               CHRYSLER-PLYMOUTH-BMW-JEEP
                                               3843 YOUNGSTOWN RD/WARREN, OHIO 444S4
                                                         Phone (330) 369-4611


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                                      QTY                  PART NUMB ER                                                 DESCRIPTION                                       NOTES




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                                                                                                                            DONNA ROBERTS v WARDEN
                                                                                                                             CASE NO. 4:21-cv-00368-DAP
                                                                                                                                APPENDIX – PAGE 5806
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                       398F
                                   20529                                            6w788420w                   PRESTON AUTO MALL
                                                                                                           CHRYSLER PLYMOUTH JEEP EAGLE DODGE BMW
DONNA ROBERTS                                                                     ACCOUNTING                         3843 YOUNGSTOWN RO.
DONNA ROBERTS                                                                                                         WARREN, OHIO 44484
254 FONDERLAC SE                                                                                                         (330) 369-4611
WARREN, OH 44484                                                                      PAGE 1
HOM..E: 330-609-7812 BUS:
                                                                               SERVICE ADVISOR:             2026 BARRY
                                                                                                              LICENSE




28AUG1999                                                WAIT 04FEB00                                      51 .00     CASH          18FEB2000
_ _D_A_T_E_O_F_R_E_PA_I_R_ _c_us_T_O_ME_R_N_O_TI_FI_ED_D_A_T----1E OPTIONS:    s TK : 2 c O1 4 4
                                                             ENG:3.5 Liter 24V SOHC Alum Blk
16:38 04FEB00                  16:53 18FEB00
                                                                          COST         SALE        COMP        LIST           NET
A CUST. STA
CAUSE: .
     08802                                                         SENTRY-Replace (C)
                                                                      '




                                                                                                             YOU NEED
                                                                                                                                    EXPECT



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ACCOUNT             SALE              COST                   CONTROL             ACCOUNT                          COST            CONTROL

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            COST        SALE        & COMP         TOTALS                 1985         3563            0
                                                                                                                                          TOTALS

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                                                                                                             GAS, OIL, LUBE                0.00
                                                                               CASH      O                   SUBLET AMOUNT                 O • OO
                                                                                                             MISC CHARGES                  O. 0 0
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                                                                                                                     CASE NO. 4:21-cv-00368-DAP
                                                                                                                        APPENDIX – PAGE 5807
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                                                                                                                                                                                                                                                                                                    PRESTON
                                                                                                                                                                                                                                                                                                    Auto Mall
                                                                                                                                                                                                                                                                            CHRYSLER PLYMOUTH JEEP EAGLE DODGE BMW
                                                                                                                                                                                                                                                                            38 43 YOUNG ST GvVN RD. \IVARREN, OHIO 44484
                                                                                                                                                                                                                                                                                            !330) 369-46 11




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                                                                                                                                                                                                                                                                                             CASE NO. 4:21-cv-00368-DAP
                                                                                                                                                                                                                                                                                                APPENDIX – PAGE 5808
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                    STAMGHT     FLAT RATE
                    TIME\HRS)     PPICE
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                                                                             DONNA ROBERTS v WARDEN
                                                                              CASE NO. 4:21-cv-00368-DAP
                                                                                 APPENDIX – PAGE 5809
    APPENDIX – PAGE 5810
 CASE NO. 4:21-cv-00368-DAP
DONNA ROBERTS v WARDEN
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                                                IY'l I ,j(, c /1//                                                                   ;Y'.    ,.r:,)' .i~',.,·, \,,..•                                                                                          L                                                                                      L                                                        Vl::H, Ul::L                  Ht::NlAL.-'·
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       r:_ Vehicle in ca;;),/o( tire. !hell or a~ othe ~ cause b~yond your control or for any delays                                         Hl'ED OY
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            'f~~A:;rb~~~:~: atll:_;~:rrt:o~~c~~~~/~e~Jl~;:::rs~i~~l!/~p~:al~u~l;to~e~ic1~:[l:~~~
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       ,nou1..                    pairs lherelo.                                                                             ,.-'t.JJ'S;TbMER P.O. NO.                                                                                                                                                              ~~~~~HEM                          O   ~                                       Ml
                                                  CUSTOMER'S SIGNATURE                                                   I                                                   I                                                                                                                                  I   SAVEPAflTS                        D !El MFG. WARR. D
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       AUTHORIZATIO N CODE
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       YOU HAVE THE RIGHT TO AN ESTIMATE OF THE EXPECTED COST
       OF REPAIRS OR.SERVICES.
                                           r,        !MfT1;1._L YOUR CHOICE
                         WRITTEN                         - ·ORAi.__ _                 1oo NOT REOUEs·1
                        ESTIMATE                           ESTIMATE                       AN 1:.STlMf1TE
       In the event that you , t11e customer, authorize commencement
       but do not authorize completion of a repa ir or service, a charge
       will be imposed for disa ssembly, or partially completecl work.
       Such cl1arge will be clirectly related to the actual amount of
       !,.,.;or or parts involved in the inspecti on, repai r or service.
                                                               PAR TS           LABOR              TOTAL                                                                                                                                                                                                                                                                                                        FLAT RATE HOUR                     ACCESS CODE
       ORIGINAL ESTIMATE                                                                                                                                                                                                                                                                                                                                                                                   $                    PER . HR.
       RE\-.SED F.~TIMATE                                                                                                           1?!J)~1f©1W                                                                                               PRESTON AUTO MALL                                                                                                                                                BILL TO CUSTOMER NO.           I RO. CROSS REF.
       fl EV. EST.                                                            OATE                                           .Jt'~obody Sells for Less                                                                                                (330) 369-4611
       AUTH . BY
       EMPLOYEE                                                               TIME

                                                                                                                                                                                                                                                                                                                                                               398G
       11EC. AUTH .
                                                                                                                                                                                                                                                  3843 Youngstown Road
                                  .                                       DISCLAIM!:}~ OF WARR il..MT!ES
            The .sf:lle r, tmrcbY o:!i<prer;91}1 disc:l.a/ms all wmrnntl cs, 11Jthcr expre-s.s.o-d or lr:1pllttcl, lnclucl!ng i:11, y implf(H1 w:mnnty of n11.~rchontabllily                                                                      WARREN, OHIO 44484
            t)r f!tnos!t for a p;1i'tku/m purp(1S e, and n i!: !lhor ns sumes nor 1:1uih 1;,r!zet: .nny other pct SCln \o 0$ SIHl11! tor it .::my linbiii_\y In cmuwctio n
            w ith l h~l s::. !e of said products .                                                                                                        '
                                                                  Case: 4:21-cv-00368-DAP Doc #: 12-24 Filed: 01/14/22 404 of 512. PageID #: 12680
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NO




                                                                                  DONNA ROBERTS v WARDEN
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                                                                                      APPENDIX – PAGE 5811
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                                           20529                                6w816090w                                PRESTON AUTO MALL
                                                                                                                   CHRYSLER PLYMOUTH JEEP EAGLE DODGE BMW
DONNA ROBERTS                                                                  ACCOUNTING                                    3843 YOUNGSTOWN RD .
DONNA ROBERTS
254 FONDERLAC SE                                             398H                                                             WARREN, OHIO 44484
                                                                                                                                 (330) 369-4611
WARREN, OH 44484                                                                    PAGE 1
HOME : 330-609-7812 BUS :
                                                                                                                    2026 BARRY RICKER

PEL I NFERN 00                      CHRYSLER 300M

28AUG1999                                                    16 : 00 02Ml\Y00              58 . 00                               CASH              04~.LAY2000
      QATE Of Fl EPAIH /      ••.• CUSTO[VlEHNOTlFl~O DATE        OPTIONS: STK : 2C01 44
                                                               ENG:3 . 5 Liter 24V SOHC Alum Blk
10:24 02MAY00 12:22 02M.AY00
            TECH TYPE A/HRS S/:fa:'.RS                                 COST          SALE                 COl'1P       LIST              NET          TOTAL
            AND FILTER
                   AND FILTER
                                                 . RODNEY LIC# : 6247
                                         0 . 30                         450              950                                            9.50            9.50
                      5281090 FILTER~ENGii
                   OIL                                                                                                 7 . 29           7 . 29          7.29
                   6 dIL VAL\lQLINE ·ort ·• ·· ·•··. ·                                                                                                  s: 10
B   TIRE ROTATION
         ,M •.• TIRE . ROTATION
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                                                                              THE QUALITY PAi 'T'S YOU NEED
                                                                       THE OUTST:i\NDilJG CUSTOi·rR SERVICE . YOU EXPECT •
                                                                                      ALWAYS AT
                                                                  ·. · / · >·. ·PRESTON AU.Tb NL~LL
                                                                                    SERVICE HOURS
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                                                                                                                     MISC. CHARGES                     1 . 50
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                                                                                                                            DONNA ROBERTS v WARDEN
                                                                                                                             CASE NO. 4:21-cv-00368-DAP
                                                                                                                                APPENDIX – PAGE 5812
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                                                                                   8 7 6 0 9                                                PRESTON
                                                                          TEC:H r-rr c:IA-f1': 'c 9 p~y -
                                                                                   ,,•:u~<--_:_-_ -,v-~-'--_~,-                            Auto Mall
                                                                                                                      CHRYS LER PLYMOUTH JEEP EAGLE DODGE BM '//
                                                                                                                      ::,~~ 4'.) YOU1\l G ST O;/ -/~-J RD. '"V t. RF'i Er\   8 H :G - - --,-:, ....
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                                                                                                                                    CASE NO. 4:21-cv-00368-DAP
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                                                                            (i)




 STRAIGHT      FLAT RATE                                          OFF   5
. TIME (HRS)     PRICE     RO. NO              /     0°'   TIME
                           lJ.!r. N\).   OPEA. NO.


      I        () 17 OCQ' J                                       ON




                                                                                                        DONNA ROBERTS v WARDEN
                                                                                                         CASE NO. 4:21-cv-00368-DAP
                                                                                                            APPENDIX – PAGE 5814
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                                         20529                                    6w787920w                        PRESTON AUTO MALL
                                                                                                           CHRYSL ER PLYMOUTH JEEP EAGLE DODGE BMW
DONNA ROBERTS                                                                    ACCOUNTING                             3843 YOUNGSTOWN RD.
DONNA ROBERTS                                                                      398I                                  WA RREN , OHIO 44484
254 FOJ:-ll)ERLAC SE                                                                                                        (330) 369-4611
WARREN , OH 44484                                                                     PAGE 3
HOME: 330-6 09 -781 2 BUS:
                                                                               SERVICE ADVISOR:             202 6 BARRY RI CKER
                     YEAR                 MAKE/ MODEL                                   V!N                      LICEN SE            MILEAGE IN / OUT            TAG


PEL INFERN 00                      CHRYSLER 300M                          2C3HE66G2YH132880                                          3679/3620              T466
IN SERVJCE DATE      PROD.DATE .WARR.EXP.                       • PR OMISED              PO NO.              RATE             PAYMENT            INV. DATE


                                                           16 : 00 04 FEB00                                 51 .00            CASH           16FEB2 00 0




                                                                                    QUALITY PA.R.TS
                                                                              OUTSTANDING CUSTOMER SERVICE YOUEXPECT
                                                                                       ALWAYS AT
                                                                                PRESTON AUTO MALL INC .
                                                                                     SERVICE HOURS
                                                                                RU. FRT 7 : 30 TO 6 _:00 SAT 8:00 ':l:'0
                     SALE ··.                                                                  < SALE                 COST ••             .CONTROL
                                                                                                          729

48000                      99 4               7 10
32400
22500                   2224             *******                     78792       99100




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                                                                                                             THIS AMOUNT                         22. 24

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                                                                                                                           APPENDIX – PAGE 5815
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                          2052 9                          6w787 920w                        PRESTON AUTO MALL
                                                                                      CHR YSLE R PL YM OUTH JEE P EAGL E DODGE BMW
DONNA ROBERTS                                            ACCOUNTING                             3843 YOUN GSTOWN RD.
DONNA ROBERTS                                                                                     WARREN, OHIO 44484
254 FONDERLAC SE                                                                                      (330) 369-4611
WARREN , OH 44484                                           PAGE 2
HOME: 330-609-7812 BUS :
                                                     SERVICE ADVISOR:                  2026 BARRY RI CKER
                                                                                         [ICEN_SE -          MILEAGE IN/ OUT


PEL INFERN 00                                                                                                36 19 /36 20            T466
IN SERVICEDATE   PROD. DATE                                                                            PA YMENT         INV ..DATE


28AUG1999                             16 : 00 04FEB00                                  51 . 00       CASH             16FEB2000
      DATE OF REPAIR CUSTOMER NOTIFIED DATE< OPTIONS:
-'----------'-~--~--~~~~-~-;                             STK : 2C0 1 44
                                            ENG : 3 . 5 Liter 24V SOHC Alum Blk
10 :1 8 03FEB00 16 : 38 16FEB0O
LINE OPCODE T ECH TYPE A/ tIRS S/h?S              COST        SALE         corvr,:,       LIST                NET        TOTAL
                                                     0              0 TP.A.RTS
                                                   210      1078 TLA.BOR
E - Cr.fsT .··· sTATES KEYL ESS REMOTE ' INOP .   (CUST . .SUPPLIED ONLY 1 REMOTE)
CAUSE : .
      0 8802803<BATTERIES/ •_·-KEYLESS<•ENTRY-Replac e                C)
             _2059 TURNER, BRIA_l\! LIC#: 5449
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              1 83504 802
         --·•-BATTERY-TRANSMITTER .                            896               0       10 . 75             8 .9 6         8 . 96
             FC :
             PART#: i83504802
             COUNT :
             CLAIM TYPE .
             AUTB
             54 49
                                                  64 0         89 6 TPARTS
                                                         O<   1078 'TLABOR
                                                                ION
      08857182 REPROGRi\M POWERTRl\IN CONTROL MODULE
           < 20551 TURNER, -BRIAN LIC# : .5449
                   WCP4         0 . 50    525  2695                                                        26 .9 5       26. 95
              PART#:COUNT:
          CLAIM TYPE :
                     CODE': ·
                                                                 0 TPA..t?.TS
                                                  525         2695 TLABOR
SHOP.-·- MATERTALS                                              95                                                             95




                                                                                             DESCRIPTION -        I     -•• TOTALS
                                                                                        LABOR AMOUNT
                                                     METHOD OF PAYMENT
                                                                                        PARTS AMO UNT
                                                                                        GAS , Oil , LUBE


                                                                □
                                                                                        SUBLET AMO UNT
                                                     CASH
                                                                                        MISC. CHARGES
                                                     CREDIT CARD
                                                                           □             TOT AL CHARGES
                                                                                        LES S ADJ I DIS
                                                     CHECK     0NO.                     SALES TAX

                                                     OTHER
                                                                □                       PLEASE PAY
                                                                                        THIS AMOUNT


                                                   FILE COPY


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                                                                                                CASE NO. 4:21-cv-00368-DAP
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                             20529                                   6w787920w                  PRESTON AUTO MALL
                                                                                           CHRYSLER PLYMOUTH JEEP EAGLE DODGE BMW
DONNA ROBERTS                                                       ACCOUNTING                       3843 YOUNGSTOWN RO.
DONNA ROBERTS                                                                                         WARREN, OHIO 44484
2 5 4 FOf'1TIERLAC SE                                                                                    (330) 369-4611
WARREN, OH 44484                                                       PAGE 1
HOME: 330-609-7812 BUS:
                                                                SERVICE ADVISOR:            2026 BARRY RICKFR
    COLOR           YEAR         MAKE/MODEL                              VIN                  LICENSE           MILEAGE IN/ OUT        TAG


PEL INFERJ 00              CfIRYSLER 300M                  2C3HE66G2YH732880                                    3619/3620             T466
IN SERVICE DATE     PROD. DATE   WARR. EXP.         PROMISED              PO NO.             RATE         PAYMENT          INV. DATE


28AUG1999                                      16:00 04FEB00               51 .00                        CASH            16FEB2000
   DATE OF REPAIR          CUSTOMER NOTIFIED DATE OPTIONS: STK: 2C01 4 4
                                                 ENG:3.5 Liter 24V SOHC Alum Blk
10:18 03FEB00 16:38 16FEB00
LINE OPCODE TECH TYPE A/P.RS S/HRS   COST                               SALE       COMP        LIST                        TOTAL
A LUBE, OIL .AND FILTER
     110 LUBE, OIL AND FILTER
             2059 TURNER, BRIAN LIC#: 54
                   CCP        0.30    315                                950                                    9 50         9. 50
        1 5281090 FILTER-ENGINE
                                                                                                  ~q
        OIL                           390                                729           0       7 .L~            7 29         7 . 29
            5                                                            675           0       l .35            1 . 35       6.75
B TIRE ROTATION


                                                                                                                0.00         0.00
C CUST. STATES CIGARETTE LIGHTER INOP.

       08900103 FUSES-Test                                 (D)
                                                           5449
                     i•,JCP4                    0.20       21 0         1078                                  10_78        10.78
            1 000ATM15 FUSE                                    70         98           0       1 . 20          0.98          0.98
              ?C: 14
              PART#: 000ATM15
              COUNT:

             AUTH CODE:

                                                               70        98 TPARTS



       08607004 ADJUST Al'\JD SECURE DR. DOOR SPEAKER
              2059 TURNER, BRIAN
                   WCP4           0.20    210    1078                                                         10.78        10.78
           FC: 67 PART#: COUNT:
           CLAIM TYPE:
           AUTH CODE:
                    ..
                c:,449
                ~



                                                                                                 DESCRIPTION                TOTALS
                                                                                             LABOR AMOUNT
                                                                METHOD OF PAYMENT
                                                                                             PARTS AMOUNT
                                                                                             GAS. OIL. LUBE


                                                                         □
                                                                                             SUBLET AMOUNT
                                                                CASH
                                                                                             MISC. CHARGES
                                                                CREDIT CARD
                                                                                   □         TOTAL CHARGES
                                                                                             LESS ADJ i DIS
                                                                CHECK    0NO.                SALES TAX

                                                                OTHER
                                                                         □                   PLEASE PAY
                                                                                             THIS AMOUNT


                                                               FILE COPY

                                                                                                    DONNA ROBERTS v WARDEN
                                                                                                     CASE NO. 4:21-cv-00368-DAP
                                                                                                        APPENDIX – PAGE 5817
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                                                                                                                                                                                                                                                                       PRESTON
                                                                                                                                                                                                                                                                       Auto Mall
                                                                                                                                                                                                                                       CHRYSLER PL YIVlOUTH JEEP EAGLE DODGE BMW
                                                                                                                                                                                                                                       3343 YOUNGSTO\.\JN RD. WA RREN, OH IO 44484
                                                                                                                                                                                                                                                    (33 0) 369 -4 611



                                                                                                                                                                                            SERVICE ADVISOR.                           :2J:=. :s '<~ ,-'YSF, ::}:,s,:;:_-::-
                                                                                                                                                                                                                 \/IN                           Li CENSE                                                       TAG



                                                                                                                                                 PROM ISED                                                                                    RA!E                     P.A. YM ENT                INV. DATE




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   ,;,~-:;~s:;~ ~- ,-;--.c !, CC. •f .;\:i c: sc: sirc,s- =ill •::.;.rr .;;y;,,;; -5 _ :;,,:: ;~,::::---; ·nMr5.nu;::-s of mer,:.ns.nt5bd 1tv c,r n t ~ess
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                                                                                                                                                                                                                                                          CASE NO. 4:21-cv-00368-DAP
                                                                                                                                                                                                                                                             APPENDIX – PAGE 5818
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                           PR ICE


                            q·3
          STR AIGHT                                                              OFF
          TIME (HRS.i                                                     TIME
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                                   1                    1                        ON




                                                                                       DONNA ROBERTS v WARDEN
                                                                                        CASE NO. 4:21-cv-00368-DAP
                                                                                           APPENDIX – PAGE 5819
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                                                                                                                                                                   TECHNICIAN COPY
                                                                                                                                                                                                                                                     Auto Mall
                                                                                                                                                                                                                                    CHRYSLER Pl YMOUTH JEEP EAGLE DODGE BMW

                                                                                                                                                                                          PAGE 2                                    3843 YOUNGS T OWN RD. WARREN, OHIO 44484
                                                                                                                                                                                                                                                   (330) 369-46 11
/! .~~--.:_::_;_·; :  C:E 4443 4
::,: J1:1 E: .:: -~· C -6- CS - 7 8 ·t 2 BC:21:
                                                                                                                                                                                 SERVICE ADVISOR: 202 6 RI CKF:R,
___C'__'_",                            ' _R-2l'--___r_11_A_I_<_E_.'1'_11_o_o_E_L_______+-_______v_I_
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                                                                                                                                                                                                                                                APPENDIX – PAGE 5820
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STRAIGHT                                OFF
TIME (HRS.I                     TIM E


                                        ON




                                                                                           DONNA ROBERTS v WARDEN
                                                                                            CASE NO. 4:21-cv-00368-DAP
                                                                                               APPENDIX – PAGE 5821
                       Case: 4:21-cv-00368-DAP Doc #: 12-24 Filed: 01/14/22 416 of 512. PageID #: 12692




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                                                                                                 CASE NO. 4:21-cv-00368-DAP
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 +- - - - - - - - - - - - - - - - - - VEHI CLE INFORM.1'.TI ON PLUS SUMM.JIJ<.Y REPORT-- - - -- - - -- - - - - - - - - - - - - -+
 I                                                                                                                                                   I
 1 □ 2/03/2000    10 : 15             PRESTON CHRYSLER PLYMOUTH Bl:vfw                                   PAGE       I
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 I         VIN : 2C3HE56G2YH1 32880             wee : 33 6                Curr ent Odome ter :        36 19 Miies I
 I Yr/Modei: 2000 CHRYSLER 300M FOtJR - DOOR SEDAN                             In-Serv Date : 08/28/1999 I
 I                                                                                                                                                   I
 r - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - '!EH:CLE SUM.Mk ~Y - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - +
 !
 jBodyStyle: LHYS4 1                             Build Date : 08 /1 9/ 19 99      Hour : 23
 I Coior 1 : PEL          Inferno Red Tinted Pearl Coat
 I        2 : QELS -      Infer no Re d Tinted Pea rl Coat
 I Engine : EGG NO ENGINE DESC. FOUND                                             BOOK : F
 I    Trans : DGXS NO TRANS DESC FOUND                                       C.i\RL INE: L
 I Seller : 68662 PRESTON CE..T<_YSLER PL:{MOU             Zone : 43
 I       Addre s s : 3843 YOUNGSTOWN' RO.A.D                               C, • 7
                                                                           ._., .t:,

 I           City : WAR."R.EN
 !State / Province : OH Desc: OHIO ·
 i Postal Code : 44484 2895
 I                      USA Desc : UNITED STATES
 j              Phone : 330 .36 9.4 6 11
 jsale Type : L-BROKER                         Last Odometer :                                             1212 Miles on 10/29/ 1999
 ! VJA.1~.N I NG : CURRENT ODOMETER ( 36 7 9 } SEEMS TOO HIGH .
 I WARNING: OWNER/S LAST NP.~'-'1E WAS NOT ENTERED.
+- -- -- --- - - - -- --- - - - - -- - - -ClJSTOM!;:R NA.ME ;\ND ADDRESS- - - -- - - - - - - - - - -- - - - - - - - --- - -+

  * * * * CURRENT O,,·JNER NAJ'1E * * * *
              Titie Code : 07 MS
              Fi r st Name : DONNA
      Preferred Name :
      ~1iddle Ini t i .al :
          Last Name: ROBERTS
             Addr ess : 25 4 FONDERLAC . ST SE
                City: WARREN
    Pr ovinc e/State : OH OHIO
  Postal Code :         444842157
     Phone s - Home : 3306097812                                                       Bus :
                  Fax :
     Language Pref : 010 ENGL I SH
            Coun try : USA UNI TED STATES

+--- --- -- --- - - ---- - - --- - - ~- - - ORIG I NAL OWNER NAME-- - --- -- -- --- -------- - - - - - - - - -- +
                                                                                                                                                    I
          First Name : DONNA                                                                                                                        I
      Middle Initial :                                                                                                                              I
             ,".L a st Na·me : RO·B ERTS                                                                                                            I
                                                                                                                                                    !
+- ----- - -- --- - ----- -- -SERVICE HI STORY (LAST                                      24 MONTHS)- -- - -- -- - -- -- --- - - - ----+

 Repair Date               Dealer/Payee                                                        Ci a im #      Transaction Type
 10/ 29 / ·1 999           6866 2-PRESTON CHRYSLER PL'r'MOUT                                   7 59230        WAR.~. ~NTY REPAIR
              LOP :        08 28 1001 ELEMENT IJIGHTER
 08 / 28/19 99             686 62 - PRESTON CHRYSLER PLYMOUT                                   XJE095         MISC. TR.A.NSAC'rION
              LOP :        NC LOPS
 08/ 25 /1 99 9            686 62 -PRESTON CHRYSLER PLYMOUT                                    PREPNV         PREPl'Rl\T ION
              LOP :        95900040 REIMBURSE TRNSFR FEE
              LOP :        95900045 REIMBURSE TRNSFR FEE

+ - - - - - - - - ·- - - - - - - - - - - - - - - - -\vA.Il.PJ\.NTY   COVEPAGE SUJvJllJ]:J<.Y - - - - - - - - - - - - - - - - - - - - - - - - - - - - +

 wee: 3.36           - -- --- Originai - - -~- - Deduct --Exp.ires -                                        --- - - Remaining -- -- --
                                                  (USD)
          BASIC: 36 Mes or 36000 Miles                0 08/28/2002                                          30 Hos or           32381 Miles
     POWERTR.A. IN : 36 Mo s o r 36000 Miles          0 08/ 28/2 00 2                                       30 Mos or           32 381 Miles


                                                                                                                                        DONNA ROBERTS v WARDEN
                                                                                                                                         CASE NO. 4:21-cv-00368-DAP
                                                                                                                                            APPENDIX – PAGE 5823
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 IPERFORA.T ION : · 60 Mos or 100000 Miles                                          0 08/28/2004              54 Mos or            96381      Miles !
 I EMISSIONS : 36 Mos or 36000 Miles                                                0 08/ 28/2002             30 Mos or            32381      Miles
 jA.DJUSTMENTS: 36 Mos or                       3600 0 Mil es                       0 08/2 8/2002             30 Mos or            323 81     Miles
 J   AIR COI:;TI. : 36 Mos or                   3600 0 Miles                        0 08 /2 8/2002            30 Mos or            32381      Miles
 jEX.FED. EMIS : 96 Mos or                      800 00 Miles                        0 08/28 /2 007            90 Mos or            76381      Miles
I
I
!I n-Service Odomet er:      4 Miles                                                Roadside Assis tance              YES
/Master Shield          N/A                                                         Transfe rable   Warranty          N/A
Jveh . Restrictions     NO RESTRICTIONS                                                           - Service Contract: NO
I
!*** Above info has been ad justed in accordance to local laws***
I
+ - - -- - - - -- - - - - - - - - - - -CURRENT VE I-II CLE TRA1"iSFER INFOR!1 1ATION - - - - - - -- - - - - - - - - - - - - - - .,.
I                                                                                                                                                      I
JRestrictions : NO RE STRICTIONS                                                                                                                       I
I              Wl'R.'<..A..NTY ODOMETER LEFT : 89 . 947 %                                      TIME LEFT : 8 5. 492 %                                  I
I                                                                                                                                                      I
1wcc                       MODE L ·f"F/.S         BAS IC         POWER TRAIN               DED     RUST PROTECT ION                                    I
J336                     1995-96                3/3 6                  3/3 6                     0         7/ 10 0                                     I
II                         1997                 3/36                   3/36                      0         5/100                                       I
i                                 CO'lE.FV\GE GOES WITH TEE VEHICLE                                                                                    I
I                        NO WARRANTY TRA.1\JSFER IS NECESSARY .     HOWEVER , INFOR!vJ CHRYSLER                                                        I
I                        OF SUBSEQUENT OWNER(S ) NAL\1E .AND J\J°JDRESS BY USING D. I .A.L .                                                           I
I                        FUNCTION 75.    NO TRA1"\J SFER FEE WI LL BE CI-Ifa.RGE D TO YOUR DEALERSHIP                                                  I
I                                                                                                                                                      I
J    NO SERVICE CONTR.A.CTS FOR THIS VEHICLE                                                                                                           I
I                                                                                                                                                      I
Jus e ' VEHI CLE OWNERSHIP INFO UPDATE/TRANSFER' on the VI P upda te menu to xfer.                                                                     I
I                                                                                                                                                       I
+ - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - S::'.RVI CE   CO'.'JTR.ACT ·· - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - +
                                                                                                                                                       I
                   NO SERVICE CONTRACTS FOR THIS VEHICLE                                                                                               I
                                                                                                                                                       I
+ -- -                                  - - - - - - - - -RECALL        INFOR1v1AT I ON -- - -- - - - - - -- ----- - - ·· - - - - --- --- - +
I
I Reca ll                                                                                               Launch                  Repair
I Number              Description                                                                       Date                    Date.
J -- - -- - ------- INCOMP LETE RECALLS-- - - - --- ---- - - -
! 857            INCOR.R.ECT VTA, OTIS,ACT OPERATION                                                    01/24/2000
I
!---- ---------- COMPLETE REC2\L LS ---- ----- ---- - -
J       ** NO COMPL ETE RECALLS *'~
I
+--- -- -- -- -- --- - - - -------- END                          0 F         RE PORT- -- - - -- ------- -- - ---- ------- +




                                                                                                                                            DONNA ROBERTS v WARDEN
                                                                                                                                             CASE NO. 4:21-cv-00368-DAP
                                                                                                                                                APPENDIX – PAGE 5824
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                                                          MECHANICAL FAILURE SERVICE CONTRACT FOR NEW CA

                                                                                                                                                                             398J
   VEHICLE INFORMATION
          ' CONTRACT                                                                                   i SERIAL
            NUMBER             51355384   MAKE
                                                                                                         NUMBER


                                         CHRYSLER
          ADDITIONAL EQUIPMENT (Check All Tha t Appiy)
          FOR PRICING PIJRPOSES ONLY                                                               TURBO □                                                                                                4x4 D
   DEALER INFORMATION
          SELUNGDEALER                                                                                                                                                                           I   DE.ALE"i#
     pRES TON AUTOMALL                       INC.                                                                                                                                           1 ili.       1~()                  ()
          DEALER ADDRES S
                                                                                          I     CITY
                                                                                                                                                                         I   STATE               I   ZIP
      ' 343      YOUNGSTOWN ROAD                                                                                W.ARRU!, OH                                              I                 Lina \H
          L!ENHOLOER

     F IR::; T NATIONAL BJ\NK                       OF PA
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          SERVICE CONTRACT PR!CE                               l DEALE R SIGNATURE                                                                         .'      "-'
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   SERVICE CONTRACT INFORMATION
                                                           TERM              MILEAGE                                                       COVERAGE                                                   OPTIONS
                                                                               ;-·--·7
                                                   48     ! 7
                                               MONTHS [ _ __J
                                                                               L ___ .......J      OR
                                                                                                          I
                                                                                                          L_J
                                                                                                                ·       '
                                                                                                                                         PLATINUM~                                   ZERO DEDUCTIBLE
                                                                             48,000 MIL;::S             60. 000 MILES
          PURCHASE DA TE
                                                                              .xJ
                                                                             60,000 MlLE13
                                                                                                   OR     [ _j
                                                                                                        75 ,000' f,i1! LES
                                                                                                                                         GOLD                                    $250 DEDUCTIBLE

   28 s,j .'.@NTRACT PERIOD"
          TO DETERMINE EXP l~ATICN                 12     1- 7                .i- - 1 OR i,-- --,i                               I       SILVER
                                                                                                                                                                                 ROAD HAZARD
      1   DATE AND M ILE S                    MONTHS L__ J                 72.000 MI LES                ;Q0,000 MI LES
                                                                                                                                                                                 TIRE COVERAGE•
                                                                                                                                                                                 ' {NOTAVAILASLEON •h,! VEHCLES)

   CONTRACT HOLDER INFORMATION
          FIRST NAME
    Ot NNA
                                                                              : CITY

                                                                              I                                                                                                                  STATE                    ..   l~IP
                                                                                           l~M::RE N                                                                                 f)H       I.         !.l
                                                                I understand that    IM
                                                                                      purcha se of this service concra c, is not required in order to ootainfinancing or ,o                              IDATE
                                                                purchase this vehicle. I also understand tha t this comrac t has a standard S 100 aeduc:mle.                                             b , CJ     ~
                                                               I                                                                                                      ,   •
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                                                                                                                                                      . NOTICE TO CONTRACT HOLD ER : You are required
                                                                                                                                                      ! to obtain authorization prior to beginning ar,y repairs
                                                                                                                                                      I covered by !his contract.
   0                                         RE SERVICE PLAN                                                                              I hereby acknowledge ihe purchase of Optional Car Care
   INFORMATION                                                                                                                            Service Plan
   SEE OWNERS MANUAL FOR COMPLETE LISTING OF
   FULL FACTORY RECOMMENDED SERVICES                                                                                                      Signature
   08 P,Q ~f1S§~E                                                                                                                                    SERVICE INTERVALS
                                                   TERM                               MILEAGE


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                                                   MONTHS                                   MILES                                        3,000           3,750                 5,000                 7,500
      CAR CA;;:E PURCHASE PRICE



      COPY t · FWS     T   COP!ES 2 & 3 · DEALEH   T    COPY 4 · UENHOLDER     T     COP Y 5 · CUSTOMER
                                                                                                                                         MILES           MILES                 MILES                 MILES
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                                                                                                                                                                              DONNA ROBERTS v WARDEN
                                                                                                                                                                               CASE NO. 4:21-cv-00368-DAP
                                                                                                                                                                                  APPENDIX – PAGE 5825
                                                                      Case: 4:21-cv-00368-DAP Doc #: 12-24 Filed: 01/14/22 420 of 512. PageID #: 12696
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f'       COST               QTY                P/\R'T NO.                                     DE SC FHPT!ON                                SAL E                                                                                                                                                                                                                  IN svc_ DAT E


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l-H) TH OR IZATiON COD::

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                                      Gt.\L S. GAS @
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                                     /HS. OI L f;)
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                                      Lf3S. G l'lb'\Sf:
YOU HAVE Tf!E RIGHT TO Ai'l ESTIMATE OF THE EXPECTED COST
OF REPAIRS OR SERVICES .
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        (ST/MATE                                          ESTIMATE                                                 <\N ESTU:..-4.ATE
In 1t10 c1ven t thal you , 1l1e cu~itorncr, authori ze conirr irmcernent
but do not au thorize cornpl,:;tion o1 c: re1x1ir or service, a cl1ar9t:
wi!l be imposed lor cli sassombl y, or pc.1 rti al!y cornplr: ted \vcirk
Suc.h cha r9e v-.rill be (liro c\l y reiatnd to th e actual <:H rnun1 of
lal16'r or -p ans involved in the inspnction , n~pa ir or service.
                                                                                                LAB OR                       TOTAL                                                                                                                                                                                                                                                         FL AT RATE r; otm

CntGIN/\l. ESTH..1/~ TF                                                                                                                                                                                                                                                                                                                                                                                    PEH. fm.
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                                                                                                                                                                                                                                                                                                                                                                                                                         n.o. cnoss nE.F.
                                                                                                                                                                                                                                              PRESTON MOTOF!S, Inc.
nev. EST                                                                                    DATE                                                                                                                                                     { t1 ·1 2)- Gt5H . . f/:iOCi
AIJTH . HY
                                                                                                                                                                                                                                              1500 WILMINGTON AVE.
EMPLOYEE
R EC , AUTH.                                                                                                                                                                                                                              NEW CASTLE, PA 16105
                                ~ Xf:<:<' '='-!:il•. 1iisr; ):)l in 1: ,;J< ,,r,rr;_,r:;.;,; ,;\_ r.-!l.;•.i",;1                              ,;,e ;·~dm~J /:'lY in:pht:.•:J ·,va:-nmly (!! irn~:T.h :H)l.thillty (\\
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     ~!1i: 1;:dc -::,t      ;·;rn,~:: K::c-.



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                                                                                                                                                                                                                                                                                                                                                                                    CASE NO. 4:21-cv-00368-DAP
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                                                                                 APPENDIX – PAGE 5827
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                                                                                   398L
                                20529                                              7 5 9 2 3
DONNA ROBERTS                                                                      INVOICE
DONNA ROBERTS
254 FONDERLAC SE
WARREN , OH 44484                                                                    PAGE 2                       3843 YOUNGSTOWN RD. WARREN, OHIO 44484
HOME: 330-609-7812 BUS :                                                                                                      (330) 369-4611
                                                                           SERVICE ADVISOR:                            69914 B.ARRY G. RICKER
                                  :. 1\11Al<E/l'v1QDEL ·•.· ·.                                                           LICENSE         MILEAGE IN/OUT ·       TAG

PEL INFERt2000 CHRYSLER 300M


28AUG1999                                                    WAIT 29OCT99                 51 .00 CASH                                           29OCT7999
    DATE OF.REPAIR CUSTOMER. NOTlflED .DATE
----'---"-~-'-~--+~---'-~-=-"---"--"~
                                            OPTIONS:                      STK: 2C0144
                                                               ~NG : 3.5 Liter 24V SOHC Alum Blk
09 : 29 29OCT99 14:23 29OCT99
LTNE OPCODE TECH TYPE HOURS                                                                                              LTST             NET       TOTAL
                                                                                            11
                                                                                       ·•• •> TF.J'...1\fK YOU"
                                                                         THE QUALITY PARTS YOU NEED
                                                                    THEOUTSTANDING·.•· cusTOMER SERVICE · YOU ·EXPECT } : < : ·
                                                                                 ALWAYS AT
                                                                          :PRESTON . AUto. Ri\LL INC .
                                                                                           SERVICE HOlJRS




                                                                            STATEMENT OF DISCLA IMER                       DESCRIPTION               TOTALS
 ON BEHALF OF SERVICING DEALER. I HEREBY CERTIFY THAT THE                   The factory wanamy constitutes all
 INFORMATION COMTAINED HEREON IS ACCURATE UNLESS OTHER W ISE                of the warranties •Nith respect. to        LABOR AMOUN T                1 5 . 95
 SHOWN. SERVICES DESCRIBED WERE PERFORMED AT NO CHARGE TO                   the sale of this itam/iterns. The
 OWNER. THERE WAS NO INDICATION FROM THE APPEARANCE OF THE
                                                                            Seller hereby expressl y disclaim s all    PARTS AMOUNT                   0.00
                                                                            warranties                          or
 VEHICLE OR OTHERWISE, THAT ANY PART REPAIRED OR REPL A CED                 impli ed.
                                                                                           either
                                                                                       including
                                                                                                     express
                                                                                                    any implied
                                                                                                                       GAS, OIL, LUBE                 0 . 00
 UNDER THIS CLAIM HAD BEEN CONNECTED IN ANY WAY WITH ANY                    warr anw of merchantability or
                                                                            fit!less for a particular pur pose.
                                                                                                                       SUBLET AMOUNT                  0 . 00
 ACCIDENT, NEGLIGENCE OR MISUSE. RECORDS SUPPORTiNG THIS
 CLAIM ARE AVAILABLE FOR (1) YEAR FROM THE DATE OF PAYMENT
                                                                            Seller    neither     assumes
                                                                            au:hcrizes any ot her pe r son to
                                                                                                               nor     MISC. CHARGES                  1 . 60
 NOTIFICATION AT THE SERVICING DEALER FOR INSPECTIO N BY                    assu me   for ii     any    liability in   TOTAL CHARGES                17 .55
 MANUFACTURER'S REPRESENTATIVE.                                             connection with      tho   sale of ttlis
                                                                            item /items.
                                                                                                                       LESS ADJ / DIS                 0.00
                                                                                                                       SALES TAX                      0.97
ISiGNEDi   DEALER, GENERA L MANAGER OR AUTHOR IZED PERSON        (DATE)     CUSTOMER SIGNATURE                                                              :
                                                                                                                       PLEASE PAY
                                                                                                                       THIS AMOUNT                  18.52

                                                                          FILE COPY


                                                                                                                              DONNA ROBERTS v WARDEN
                                                                                                                               CASE NO. 4:21-cv-00368-DAP
                                                                                                                                  APPENDIX – PAGE 5828
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                                    20529                                                  7 5 9 2 3
DONNA ROBERTS                                                                              INVOICE
DONNA ROBERTS
254 FONDERLAC SE
WARREN, OH 44484                                                                            PAGE 1                                     3843 YOUNGSTOWN RD. WARREN, OHIO 44484
HOME: 330-609-7812 BUS:                                                                                                                            (330) 369-4611
                                                                                 SERVICE ADVISOR:
                                                                                  .·        .·
                                                                                                                                             69914- Bl\RRY G. RICKER
         COLOR       YEAR       /    MAKEiMODEL              .·.    /.·                                  VlN   .. ·· •·   ··•·                  LICENSE           .·. MILEAGE IN/OUT   ··•••       TAG
 ·•·•                                                                                                                                  •·



PEL INFERN 2000 C:BRYSLER 300M                                               2C3HE66G2YH132880                                                                     7212/1213                   T479
                                                                                   ...           ·
 IN SERVICE.D.ATE    PROO.DATE       WARR,·EXP.                    PROMISED•·•         >         •···•
                                                                                                          PO NO ,
                                                                                                                                 •••   .·•
                                                                                                                                             .•. RATE       PAYMENT            lNV.. DATE
                                                                                                                                                                                                   ··•···
                                                                                                                                                                                                            ••··



28AUG1999                                             WATT 29OCT99                   51 .00 CASH                                                                            29OCT1999
         DATE OF REPAIR        CUSTOMER NOTIFIED DATE    OPTIONS: STK:2C0144
                                                        ENG:3.5- Liter- 24V- SOHC- Alum- Blk
09:29 29OCT99 14:23 29OC'T'99
LINE OPCODE TECH TYPE HOURS                                                                                                                      LIST               rJET        TOTAL
A LUBE, OIL A.l\TD FILTER
     110 LUBE, OIL A.l~D FILTER
            8910 COY,CHRISTOPHER L LIC#: 7496
                   IFREE 0.30                                                                                                                                                    (N/C)
        1 5281090 FILTER-ENGINE OIL                                                                                                                                              (N/C)
        1 OIL VALVOLINE OIL                                                                                                                                                      (N/C)
                           ****************************************************
B TIRE ROTATION
     F6-M TIRE ROTATION
            8910 COY,CHRISTOPHER L LIC#: 7496
                  CCP O. 40                                                                                                                                       1 5. 95       15.95
                           **********************************A*A***************
C CUS'I'. STATES CIGARETTE LIGH'I'ER INOP.
CAUSE:
     08281001 :C::LEMENT, CIGAR LIGHTER-Test and replace
                     (D)
                      8910 COY,CHRISTOPHER L LIC#: 7496
                           WC:?4 0. 20                                                                                                                                          (N/C)
                 1 4685536 LIGHTER-CIGAR LIGHTER                                                                                                                                (N/C)
                 1 000ATM15 FUSE                                                                                                                                                (N/C)
                  FC: 14
                  PJIBT#: 4685536
                  COUNT:
                  CLAIM TYPE:
                  AUTH CODE:
                  7496

                           ****************************************************
SHOP MATERIALS                                                                                                                                                                  (N/C)
SHOP M.ATERIJ\...LS                                                                                                                                                              1. 60



                                                                                 STATEMENT OF DISCLAIMER                                            DESCRIPTION                  TOTALS
 ON BEHALF OF SERVICING DEALER, I HEREBY CERTIFY THAT THE                        The factory warranty constitutes all
 INFORMATION CONTAINED HEREON IS ACCURATE UNLESS OTHERWISE                       of the warranties with respect to                            LABOR AMOUNT
 SHOWN. SERVICES DESCRIBED WERE PERFORMED AT NO CHARGE TO                        the saJe of this item/items. The
                                                                                 Seller hereby expressly disclaims al!                         PARTS AMOUNT
 OWNER. THERE WAS NO INDICATION FROM THE APPEARANCE OF THE                       warranties     either  express    or                         GAS, OIL, LUBE
 VEHICLE OR OTHERWISE. THAT ANY PART REPAIRED OR REPLACED                        implied,   including  any    implied
 UNDER THIS CLAIM HAD BEEN CONNECTED IN ANY WAY WITH ANY                         warranty of merchant.ability or                              SUBLET AMOUNT
                                                                                 fitness for a particular purpose.
 ACCIDENT, NEGLIGENCE OR MISUSE. RECORDS SUPPORTING THIS                                                                                      MISC. CHARGES
                                                                                 Se!ler    neither assumes  nor
 CLAIM ARE AVAILABLE FOR (1) YEAR FROM THE DATE OF PAYMENT                       authorizes any other person to
 NOTIFICATION AT THE SERVICING DEALER FOR INSPECTION BY                          assume for it any liability ,n                                TOTAL CHARGES
 MANUFACTURER'S REPRESENTATIVE.                                                  connection with the sale of this
                                                                                 item/items.                                                  LESS ADJ i DIS
                                                                                                                                              SALES TAX
                                                                                                                                                                                           .· ..
 (SIGNED)     DEALER, GENERAL MANAGER OR AUTHORIZED PERSON          {DATE}       CUSTOMER SIGNATURE
                                                                                                                                              PLEASE PAY
                                                                                                                                              THIS AMOUNT


                                                                             FILE COPY

                                                                                                                                                        DONNA ROBERTS v WARDEN
                                                                                                                                                         CASE NO. 4:21-cv-00368-DAP
                                                                                                                                                            APPENDIX – PAGE 5829
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                                                                                                                                                                                       7 5 9 2 3                                                          PRESTON
                                                                                                                                                                 TECHNICLAN COPY
                                                                                                                                                                                                                                                         Auto Mall
                                                                                                                                                                                                                           CHRYSLER PLYMOUTH JEEP EAGLE DODGE BM W
                                                                                                                                                                                                                           3242 YOU~JGST OWr~ RD . WARR EN. OH!O 44484
                                                                                                                                                                                                                                                              {330} 369·4611


                                                                                                                                                                             SERVICE ADVISOR: 6997 4
               COLOR                            Y EAR !                              MAKE/ MODEL                                                                                                   \/lN                                LICENSE                    M ILEAGE IN.1 OU T   I
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? ?~ : \IF?S.~~2000! '-D:< .fbLE.t-<. 30 0J\1                                                                                                                        223HP66c;zy-:q132830
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                                                PROD . D/>. ! t                     W ARR. EXP.                                             PROJV1i St D                  i    PO NC .                                              RATE                  PAYM ENT              INV DATE
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                         _D___~___ __R_E_.4_ D_Y____...,I                                                                                   OPTIO NS:
                                                                                                                                     !ENG : 3 . 5 Liter 24 \7 SOHC


                                                                                     IFREE                                                                                   FILTER
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                                                                     EXCLU SION OF WARRANTIES                                                                                                                           pf_;,::ur./l!NAR'Y ES TiMATE
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 Case: 4:21-cv-00368-DAP Doc #: 12-24 Filed: 01/14/22 426 of 512. PageID #: 12702



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+ - - - - - - - - - - - - - - - - - -VEHICLE I NFORMATION PLUS SUMMARY REPORT- - - - - - - - - - - - - -·- - - - - - -+
l 10/29/1999 08:31                   PRESTON CHRYSLER PLYMOUTH BMW                                         PAGE    1   I
+------- - ------ - ---------------- -- -- ---- ------- - ----- --------- ---- -- --- -- --- ---+
      VIN : 2C3HE66G2YH132880    WCC: 336                                Current Odometer:   1212 Mi l e s
  Yr/Model: 200 0 CHRYSLER 300M FOUR - DOOR SEDAN                            In-Serv Date: 08/28/1999
+--- - - - -- - --- - --- - -- - ------ - ---VEHICLE SUMMARY-- -- --- - -- - ---- - - - --- -- ------- - - - +
 BodyStyle: LHYS41                            Build Date : 08/ 1 9/ 1 999    Hour : 23
    Color 1: PEL - INFERNO RED TINTED PEARL COAT
           2: QELS - INFERNO RED TINTED PEARL COAT
      Engine: EGG NO ENGINE DESC. FOUND                                      BOOK : F
       Trans: DGXS NO TRANS DESC FOUND                                    CARLINE : L
      Seller: 68662 PRESTON CHRYSLER PLYMOU               Zone: 43
          Address : 3843 YOUNGS TOWN ROAD SE
             Ci t y : WARREN
 St ate/Province : OH Desc: OHIO
      Postal Code : 444842895
          Country: USA Desc : UNITED STATES
            Phone : 330 . 369.4611
 Sa l e Type: L- BROKER                   Last Odometer :        0 Miles on 08/28/ 1999
+-- - - ------ - - - - - -- -- - --- --CUSTOMER NAME AND ADDRESS-------- - -- - - - ---- - - - -------+
 * * ** CURRENT OWNER NAME ** **
        Ti t l e Cod e : 07 MS
        First Name : DONNA
    Preferred Name :
   Middle Initial:
           Las t Name: ROBERTS
              Addr e s s : 254 FONDERLAC ST SE
                 City : WARREN
    Prov i n ce/State : OH OHIO
  Postal Code:             444842157
     Phones - Home : 3306097812                                Bus :
                   Fax :
     Langu age Pref : 010 ENGLISH
              Country : USA UNITED STATES
+ - -- - --- - -------------- -- ----ORIGINAL OWNER NAME- - - - ----- -- - - - -·-- - - --- --- - - -- -- +
        First Name : DONNA
    Middle I nitia l :
         Last Name : ROBERTS
+--- - -- - ---- - ---------SERVICE HI STORY (LAST                  24 MONTHS)--- - -- - -- -- -- - -- - ---- - --+
  Repair Date Dealer/Payee                                             Claim#          Trans a c t i on Type
  08/28/1999    68662-PRESTON CHRYSLER PLYMOUT                         XJH09 5         MISC . TRANSACTION
          LO P: NO LOPS
  08/25/1999    68662-PRESTON CHRYSLER PLYMOUT                         PREPNV          PREPARATION
          LOP : 95900040 REIMBURSE TRNSFR FEE
          LOP : 95900045 RE I MBURSE TRNSFR FEE
+ - -- - - - - ----------- - -- - - - -WARRANTY COVERAGE SUMMARY --- - - -- - - - - --- --- - -- -- - -- --- +
  WCC: 336           - - -- - - Origi n a l - - - - - - Deduc t -- Exp i res -        - --- -     Rema i ning -- - -- -
                                                         (USD)
        BASIC:       36 Mos or 36000 Mi les                   0 08/28/2002            34   Mo s    or   34788 Mi les
   POWERTRAIN:       36 Mos or 36000 Mi l es                  0 08/28/2002            34   Mos     or   34788 Miles
  PERFORATION :      60 Mos or 100000 Mi les                  0 08/28/2004            58   Mos     or   98788 Miles
    EMISSIONS:       36 Mos or 3 6000 Miles                   0 08/28/2002            34   Mos     or   34788 Miles
  ADJUSTMENTS :      36 Mos or 3 6 000 Miles                  0 08/28/2002            34   Mos     or   34788 Miles
    AIR COND. :      36 Mos or 36000 Miles                    0 08/28/2002            34   Mo s    or   34788 Mil es



                                                                                     DONNA ROBERTS v WARDEN
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       .   .
EX.FED.EMIS: 96 Mos or     80000 Miles         0 08/28/2007   94 Mos or    78788 Miles

In-Service Odometer:      4 Miles              Roadside Assistance              YES
Master Shield        N/A                       Transferable - Warranty          N/A
Veh. Restrictions    NO RESTRICTIONS                        - Service Contract: NO
 *** Above info has been adjusted in accordance to local laws***
+--- - ----------------CURRENT VEHICLE TRANSFER INFORMATION----------------------+
Restrictions: NO RESTRICTIONS
             WARRANTY ODOMETER LEFT: 96.633 %        TIME LEFT: 94.343 %
 wee            MODEL YRS   BASIC   POWERTRAIN   DED RUST PROTECTION
 336           1995-96     3/36        3/3 6        0         7/100
                 1997      3/36        3/ 36        0         5/100
               WARRANTY COVERAGE GOES WITH THE VEHICLE
               NO WARRANTY TRANSFER IS NECESSARY. HOWEVER, INFORM CHRYSLER
               OF SUBSEQUENT OWNER(S) NAME AND ADDRESS BY USING D.I.A.L.
               FUNCTION 75. NO TRANSFER FEE WILL BE CHARGED TO YOUR DEALERSHIP
 NO SERVICE CONTRACTS FOR THIS VEHICLE
 Use 'VEHICLE OWNERSHIP INFO UPDATE/TRA.i~SFER' on the VIP update menu to xfer.
+------------------------------SERVICE CONTRACT--------------------------------+
           NO SERVICE CONTRACTS FOR TH IS VEHICLE
+-----------------------------RECALL INFORMATION-------------------------------+
           NO RECALL INFORMATION FOR THIS VEHICLE
+-------------------------END        0 F    REPORT----------------------------+




                                                              DONNA ROBERTS v WARDEN
                                                               CASE NO. 4:21-cv-00368-DAP
                                                                  APPENDIX – PAGE 5833
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                                     398M                                                                             7 4 0 8 2

                                                                                                                      INVOICE                                p_~~         ,/
                                                                                                                       PAGE 1                    3843 YOUNGSTOW~,.RD. WARREN, OHIO 44484
HOME:                                                      BUS:                                                                                              (;3-30) 369-4611
                                                                                                            SERVICE ADVISOR:                           69922    R6cco A DEM.A.RT

                                                                                                                                                                   ·)PAYMENT .·

                                                                                      16:00 25AUG99                                                    51 .00      CASH           25AUG1999
    , >DATEQFREPAIR                             cusr:QMERNOTJF!EDDAT!::
:_____:..:_;.;_-"-"_:..:..=__..:...:._.;._.c-=c+-".:c;.;___:.:.:.__;_:.;_;.;__;,;_""-'-="-"-~
                                                                                                     STK: 2C0144
                                                                                                OPTIONS:
                                                                                            ENG:3.5 Liter 24V                                   Alum Blk



                            PRE DELIVERY INSPECTION
                               ·, <:•8901 J?UTNAM}l3RIAN· :LIC#{
                                                    INCR               1 . 40




                                                                                                             STATEMENT OF DISCLAIMER                       [)ESCRIPTION
  ON BEHALF OF SER VICING DEALER, I HEREBY CERTIFY THAT THE                                                  The factor y warr anty constitutes all
  INFORMATION CONTAINED HEREON IS ACCURATE UNLESS OTHERWISE                                                  of the wa rr anties ,...,ith respect to   LA BOR AMO UNT                0 . 00
                                                                                                             the sa te of th is item /items. The
  SHOWN. SERVICES DESCRIBED WERE PERFORMED AT NO CHARGE TO
                                                                                                             Seller hereby exp ressly disclaims all    PARTS AMOUNT                  0.00
  OWNER. THERE WAS NO INDICATION FROM THE APPEARANCE OF THE
  VEHICLE OR OTHERWISE, THAT ANY PART REPAIRED OR REPLACED
                                                                                                             warranties
                                                                                                             imp lied,
                                                                                                                            either
                                                                                                                        including
                                                                                                                                        express   or
                                                                                                                                        any implied
                                                                                                                                                       GAS, OIL, LUBE                0.00
  UNDER THIS CLAIM HAD BEEN CONNECTED IN ANY WAY WITH ANY                                                    warranty of merchantability or
                                                                                                             fitness for a particular purpose .
                                                                                                                                                       SUBLET AMOUNT                 0.00
  ACCIDENT, NEGLIGENCE OR MISUSE. RECORDS 'SUPPORTING THIS
  CLAIM ARE AVAILABLE FOR i1 I YEAR FROM THE DATE OF PAYMENT
                                                                                                             Seller    neither      assumes    nor     MISC. CHARGES                 0.00
                                                                                                             authorizes     an y o ther person to
  NOTIFICATION AT THE SERVICING DE ALER FOR INSPECTION BY                                                    assume fo r it any liab!lit'I in          TOT AL CHARGES                0.00
  MANUFACTURER'S REPRESENTATIVE .                                                                            connection w ith the sale of this
                                                                                                             item /items.
                                                                                                                                                       LESS ADJ / DIS
                                                                                                                                                       SALES TAX
  (SIGNED}           DE.~LER, GENERAL MANAGER OR AUTH ORIZED PERSON                               !DATE)     CUSTOMER SIGNATURE
                                                                                                                                                       PLEASE PAY
                                                                                                                                                       THIS AMOUNT


                                                                                                           FILE COPY

                                                                                                                                                              DONNA ROBERTS v WARDEN
                                                                                                                                                               CASE NO. 4:21-cv-00368-DAP
                                                                                                                                                                  APPENDIX – PAGE 5834
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                                                                                                                                                     7 4 0 8 2                                                                PRESTON
                                                                                                                                                 TECHNICIAN COPY
                                                                                                                                                                                                                              Auto Mall
                                                                                                                                                                                                                CHRYSLER PLYMOUTH JEEP EAGLE DODGE BMW
                                                                                                                                                                                                                3843 YOUNGSTOWN RD. VVARREN, OHIO 44484
                                                                                                                                                                                                                             !330i 369-4611



                                                                                                                                                          SERVICE ADVISOR: 69922 DEMART, ROCCO A
                  COLOR                                  YEP,R                                MAKE'MODEL                                                                           VIN                             LICENSE            M!LEAGt IN / OUT           TAG


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                                                                               EXCLUSION OF WARRANTIES                                                                                                      PHEL.Hvilf'IAP,Y EST!iV1.t..TE s _ _ _ _ _ _ _ _ _ _ _ __




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                                                                                                                                                                                                                             APPENDIX – PAGE 5835
                                                                                                    DIAGNOS TIC TROUBLE CODES
E R: (F1PR NBR) Repair Number, (M IL) Malfunction Indicator Light , and 2. 3 or 5 digit (OTC ) Diag nostic Trouble Code, information here:

R      MIL on?                   DTC
R      (Y/~.1)                POWERTRAIN:
                                   KOEO _   _ __ ____

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                                   KOER
                          BODY:
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                                 398N

                             DAIMLERCHRYSLER                        INVOICE
             13930-A
                  PLA.L\JT        ZONE   DEALER VEHICLE ID NO.      INVOICE NO.   INVOICE DT
             BRAMALEA              43    68662 2C3HE66G2YH132880   Y-LHY-57060069 08/20/99
 SHIP             PRESTON CHRYSLER PLYMOUTH
  TO:             3843 YOUNGSTOWN ROAD SE                            IGN KEY       M2314
                  WARREN           OH 44484-                         TRK KEY          2314
                                                                     ACC KEY        2386
 SOLD             PRESTON CHRYSLER PLYMOUTH                                    9126-01-8Y20
  TO:             3843 YOUNGSTOWN ROAD SE
                  WARREN           OH 44484-                         SHIPPING WT. 3527
     PAID FOR BY:   FIRST WESTERN B.~K                               SAE HP       34.3
             CREDIT SALE     XX CASH SALE                              000-043301-00

 BODY          &   I                                                          FACTORY
 ,....,Q .. ~P
 t     U.L    •                            DESCRIPTION                    WHOLESALE PRICE
LHYS41                 Chrysler 300M 4-Door Sedan                             26 661. 00
                                                                                I

PEL                    Inferno Red Tinted Pearl Coat                             178.00
NLFK                   Seats - Prem Leather Trimmed Bucket                     NO CP..ARGE
ARF                    Radio-Cass/4 CD/Amp,11 Infinity Spkr                      458.00
P..WS                  Smoker's Group                                             18.00
DGB                    Transmission - 4-Soeed Automatic                        NO CP..ARGE
EGG                    Engine - 3.5L High~Output V6 24V MPI                    NO CHARGE
GWA                    Moonroof - Power                                          797.00
NBN                    Emissions - Northeastern States                         NO CP..ARGE
WFH                    Wheels - 17" Aluminum, Chrome                             623.00
YDH                    Customer One Owner Loyalty Mailing                         20.00
YGC                    7 Additional Gallons Of Gas                                 9.00
2DM                    Customer Preferred Package 2DM
26M                    Customer Preferred Package 26M
3V2                    Customer Preferred Discount
F35                    CLEVELAND WEST - PPA                                         130.00
 P35                   CLEVELAND WEST - DAA                                         150.00
 310                   DESTINATION CHARGE                                           595.00
                       HB 94200
                                                  MDH #   081923
                                                  EP       28047




                                                                    AUG 2 4 EJT'D



                       MSRP RETAIL TOTAL            32,010.00
                                                        TOTAL 29,639.00
                                                        ORIGINAL INVOICE
THIS VEHICLE IS ~.ANUFACTURED TO MEET SPECIFIC UNITED STATES
REQUIREMENTS. THIS VEHICLE IS NOT MANUFACTURED FOR SALE OR
REGISTRATION OUTSIDE OF THE UNITED STATES.




                                                                      DONNA ROBERTS v WARDEN
                                                                       CASE NO. 4:21-cv-00368-DAP
                                                                          APPENDIX – PAGE 5837
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                                                                                                              LHY-57060069
                                VEHICLE SHIPPING ORDER
                                                                                                    COPY 1 - ORIGIN CARRIER
                                              POINT OF ORIGIN: BRAMPTON, ONTARIO, CANADA            COPY 2 - REMAIN WITH VEHICLE


    DaimlerChrysler                 ROUTE KING:
     Canada Inc.                                                    V.!.N.:
                                                                                    111111111111111 111111111111
                                                                                    2C3HE66G2YH132880
                                                                    SOLD TO
                                    V.O.N.:   57060069              DEALER CODE: 43 68662

                                                                              sss
DATE:    11      111                SHIPPERS WEIGHT: 3527 lbs.
                                                         1601 kg.
                                                                    MERL:

                  082099

                                          SHIPPING INSTRUCTIONS                                             398O
        DEALER                  DEALER                          ROUTE                                               ROUTE
         CODE                  ADDRESS                       DESCRIPTION                                             CODE

                                          ( AUHL-RELEASING) BRAMALEA ON TO FRT ER ON ( COMJ) TO THIS
                                          EAST OH, WEST PA DEALER                               SHIPMENT
 11 I68662 IIll PRESTON CHRYSLER PLYMOUTH                                                                      111111111111
                3843 YOUNGSTOWN ROAD SE
                           WARREN              OH 44484- 2895                                                        HSL
                                          VEHICLE DESCRIPTION
   MODEL: Chrysler 300M 4-Door Sedan                                 COLOR: Inferno Red Tinted Pearl Coat

    AJF        TWO ( 2) KEYLESS ENTRIES• .. LOOSE**•                   AWS      SMOKER'S GROUP***LOOSE*'*
    CKR        CARGO NET•* *LOOSE*•*                                   CLE      FLOOR MATS - FRONT&REAR***LOOSE* ..
    GXR        KEYLESS ENTRY*• *LOOSE*••                               GXX      SENTRY KEY THEFT DETERRENT** *LOOSE***
    JJA        LIGHTER - CIGAR•*• LOOSE•**                             XGD      GARAGE DOOR OPENER - UNIVRS ••*LOOSE"**
    ARF        CHR/INFTY I W /CASS & CD CHANGER PACKAGE                CGD      SHOULDER BEL TS - FRONT HEIGHT ADJUST
    CKM        CARGO COMPARTMENT DRESS- UP                             CSG      SEAT - REAR, FOLD DOWN LOCKING
    CSJ        SEAT - REAR HEADREST, 2 WAY                             CSN      SEAT - RR ARMREST W / CUPHOLDER
    MDA        BRACKET - FRONT LICENSE PLATE                           RBN      RADIO - AM/FM CASSEEE, CHANGER CTRL
    RDL        ANTENNA - INTEGRATED IN REAR WINDOW                     RDS      AMPLIFIER - 360 WA TT
    ROW        CD CHANGER - 4 DISC IN DASH                             TBC      SPARE TIRE - COMPACT
    WFH        WHEELS - 17 X 7 .0 ALUMINUM/ CHROME                     XVM      OWNER'S MANUAL
    XVT        VIDEOTAPE                                               YGC      7 ADDITIONAL GALLONS OF GAS
    GNT        MIRROR - AUTO DAY /NIGHT                                GT6      MIRRORS - POWER HEATED
    LNJ        FOG LAMPS                                               GWA      SUNROOF - POWER




        BAY:                                    BY:                                    REC'D:

                                                                                              DONNA ROBERTS v WARDEN
                                                                                               CASE NO. 4:21-cv-00368-DAP
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                                20529
                                                                      6w1006810w              PRESTON AUTO MALL
DONNA ROBERTS                                                                            CHRYSLER PLYMOUTH JEEP EAGLE DODGE BMW
                                                                     ACCOUNTING                        3843 YOUNGSTOWN RD.
DONNA ROBERTS                                                                                           WARREN, OHIO 44484
             T T -
2 5 4 FONDER_,.nC  SE       399A                                                                           (330) 369-4611
WARREN, UH 44484                                                        PAGE 1
HO:tv!F_ 330-394-9453 BUS: 330-743-4507
                                                                 SERVICE ADVISOR:                      BARRY RICKER
                                                                                         • , ) tl.C!:f'JSE \ \ ::: M1f E:A(3E:,':JN.f:::Q\;J'l}L\

SILVER                  01     CHRYSLER 300M

30OCT2000                                          16:00 10DEC01                       60.00 CMP                11DEC2001
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                                                     36 / 36000 2)EXP. 10 / 30/0 3 OR 38,975 MILES
08:11 10DEC01 10:12 11DEC01
LTNE OPCODE TECH TYPE A/HRS S/HRS                            COST        SALE     COMP          LIST                   NET              TOTAL


                                  CMP                0.30      480        950                                        9.50                 9.50
                 1 5 281090 FILTER-ENGINE




                                  CCP               0.00         0            0

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                                                                                             MISC. CHARGES
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                                                                                                      DONNA ROBERTS v WARDEN
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                                                                                                          APPENDIX – PAGE 5841
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                                   20529
                                                                         6w1 006810w                 PRESTON AUTO MALL
                                                                                              CHR YSLER PLYMOUTH JEEP EAGLE DODGE BMW
DONNA R O-'--'RTS
              ~                                                         ACCOUNTING                      3843 YOUN GSTOWN RD .
DONNA ROB TS            c~
                                                                                                         WARREN, OHIO 44484
254 FONDER ,C:          . ;;,.c,                                                                            (330) 369-4611
WARREN, ?B \            484                                                 PAGE 2
HOME : 3 ::,·v- 3 9 4        4 5 3 BUS : 3 3 0 - 7 4 3 - 4 5 0 7
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                                                                                               > JICENSE ? •••/Y:MIPEAGEl)'!/pµJ /•
 SILVER


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                                                           36 /36000 2)EXP . 10 /30/03 OR 38,975 MILES




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                                                                                                                       ·.•.· coNTROL




                                                                     METHOD OF PA YMENT1--LA_B_
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                                                                                                        DONNA ROBERTS v WARDEN
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                                                                                                            APPENDIX – PAGE 5842
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                                                       NAME

                                                       ADDRESS

                                                       CITY/STATE

                                                                                            ZIP




                                WORK O       OR DAYTIME O          PHONE     EVENING 0


                              ORDER DATE             ESTIMATED ARRIVAL          URGENCY DESCRIPTION

                                                           I           I
                              VEHICLE ID NUMBER                                           PRODUCTION DATE         COLOR      TRIM

                                                                                                I     I       I




                              1ST NOTIFICATION DATE            I BY:   2ND NOTIFICATION DATE:             DATE CARD MAILED

                                                               I
                                  WHITE - CUSTOMER COPY   CANARY - ORIGINATING DEPT. COP Y PINK - PARTS MONITORING
                                                 GOLD· ARRIVAL NOTICE    TAG· CUSTOMER NOTIFICATION
                              FORM RL-117N (12i94)




                                                                                           DONNA ROBERTS v WARDEN
                                                                                            CASE NO. 4:21-cv-00368-DAP
                                                                                               APPENDIX – PAGE 5843
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CTJSTOJvIER #:20529                                                                                  ECHNICIAN C
DONNA ROBERTS                                                                                           V.YOR.KORDER                                                          Auto Mall
DONNA ROBERTS                                                                                                                                                 CHRYSLER PLYMOUTH JEEP EAGLE DODGE BMW
254 FONDERLAC SE                                                                                                                            1                 3843 YOUNGSTOV\/N RD. WARR EI\J , OHIO 44484
                                                                                                                                                                           (330) 369-4611
WARREN , OH 44484
HOME:330-394-9453 BUS:330-743-4507
                                                                                                                SERVICE ADVISOR: 2116 RTCKER
      COLOR        ··•.··. YEAR                  MAKE/MODEL                                                                           VIN                          LICENSE          Mllt:il.GE IN / OUT       I        TAG


SILVER                     01         CHRYSLPR 300M                                                  2C3AE66G8 1H52686 1                                                           1 2221 /
                                                                                                                                                                                                              IIT5 171
                         PROD. DATE              WARR. EXP .                        PROMISED               ..                              PO NO.                 RATE           PAYMENT          INV. DATE


30OCT2000        .               16 : 00 10DRC01                    60 .00 CASH
     R.O. OPENED   1 . READY ,.·      OPTIONS: STK:C 10162 '! )Ci:RTirI.t:D M..2\.LNT PLA.1\J
---~-------+-----"--"-----!
                                   36/36 000 2 ) EXP. 70/30/03 OR 38 ,9 75 MILES
1ODEC 200 7 08 : 1
LI NE OP CODE TECH          DESCRIPTIONS/INSTRUCTIONS
       110                  LUBE, OIL AND FILTER




                                             e                   ;TIRE ROT~,1'ION




# C                                              WCP4




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                                                                                                                                                Name


                                       EXCLUSION OF WARRANTIES                                                                                              PHELiM INARY ES TlM A TE $ _ _ _ _ _ _ _ _ _ _ _ __
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   express er i mplied. ar.d d isclaims al! wauar.t ies, Jncludi ng •.varranties o f merchantab ;Ji tv or fitr.ess
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   dealer, include , but are net limited to einv ·wa rrarnies th.at such pa rts end/or accessories are of                                  ESTIMATE 11)                   !
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                                                                                                                                                                          CASE NO. 4:21-cv-00368-DAP
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                                                                                                              CASE NO. 4:21-cv-00368-DAP
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  +-- -- ---- - - -- ---- - - VEHICLE INFOR.i\1.ATION PLUS SUMMA.RY REPORT---- -- - - - ----- -.- --- - -+
  I                                                                                                             I
  j 12 /10/2001 09:21          PRESTON CHRYSLER PLYMOUTH BMW                  PAGE 1 j
  +-- --- -- ----------------- - -------------------------------------------------- ---+
  I        VIN: 2C3AE66G81H526861      WCC: 336         Current Odometer: 12221 Miles!
  I Yr/Model: 2001 CHRYSLER 300M FOUR-DOOR SEDAN            In-Serv Date: 10/30/2000 I
  I                                                                                                             I
  +------------------------------VEHICLE SlJr.ftl!..ARY- -- -- - - - - - - -- -- - - - - -- - - ---- - - - - - -+
  I                                                                                                             I
  JBodyStyle: LHYS41                         Build Date: 08/29/2000    Hour: 03                                 I
  I Color 1: PS2 - Bright Silver Metallic Clear Coat                                                            I
  I        2: QS2S - Bright Silver Metal lic Clear Coat                                                         I
  I Engine: Engine - 3.SL High Output V6 24V MPI                       BOOK : F                                 I
  I   Trans: Transmission - 4-Speed Automatic                       CAR.LINE: L                                 I
  j   Seller: 68662 PRESTON CHRYSLER PLYMOU            Zone : 43                                                I
  I       Address: 3843 YOUNGSTOWN ROAD SE                                                                      I
  I          City: WA..~EN                                                                                      I
  Jstate/Province: OH Desc: OHIO                                                                                I
  I Postal Code: 444842895                                                                                      I
  I       Country: USA Desc: UNITED STATES                                                                      I
  I         Phone: 330.369.4611                                                                                 I
  jsale Type: L-BROKER                  Last Odometer:    8706 Miles on 08/16/2001 J
  I                                                                                                            I
  +-- --- - -------------------CUSTOMER NAME A.ND ADDRESS- ---------------- -- ---------+
  I                                                                                                            I
  I**** CUR.RENT OW1'1"'ER NA1'1E ****                                                                         I
  I      Title Code: 03 MISS                                                                                   I
  I      First Name: DONNA                                                                                     I
  I Preferred Name:                                                                                            I
  I Middle Initial:                                                                                            I
  I       Last Name: ROBERTS                                                                                   I
  I          Address: 254 FONDERLAC ST SE                                                                      I
  I             City: WAR.~EN                                                                                  I
  I Province/State: OH OHIO                                                                                    I
  jPostal Code:             444842157                                                                          I
  I  Phones - Home:         3306097812                     Bus:                                                I
  I             Fax:                                                                                           I
  I  Language Pref:         010 ENGLISH                                                                        I
  I         Country:        USA UNITED STATES                                                                  I
  I                                                                                                            I
  +------------------------ --- -ORIGINAL OWNER NAME -- - --- -------------------------+
  I                                                                                                            I
  I       First Name: DONNA                                                                                    I
  I   Middle I nitial :                                                                                        I
  I        Last Name: ROBERTS                                                                                  I
  I                                                                                                            I
 +---------------------SERVICE HISTORY (LAST                    24 MONTHS) ----------------- ------ -+
  I                                                                                                            I
  jRepair Date      Dealer/Payee                                  Claim#          Transaction Type             I
  j 08/16/2001      68662-PRESTON CHRYSLER PLYMOUT                971 591         WJ>..RR.i\.NTY REPAIR        I
  j         LOP:    08141805 REAR-LEFT REPLACE                                                                 j
  J 08/16/2001      68662-PRESTON CHRYSLER PLYMOUT                971 590         WA. 1'<.RANTY
                                                                                      ..        REPAIR         j
  J         LOP:    85410800 UNASSIGNED                                                                        I
  110/30/2000       68662-                                        306652         MISC. TRAl'\JSACTION          J
  I         LOP:    NO LOP     NOT AVAILABLE                                                                   I
  j08/31/2000       68662-PRESTON CHRYSLER PLYMOUT                PREPNV          PREPARATION                  j
  j         LOP:    95900040 ROAD READY                                                                        j
  I         LOP:    95900045 ROAD READY FUEL FILL                                                              I
. I                                                                                                            I
~-------------------------WA..RRANTY COVERAGE Sill-'Itv!ARY----------------------------+
 ~                                                                                                             I
  jwcc: 336         ------Original----- - Deduct --Expires-                     ----- Remaining ------1
  I      BASIC:     36 Mos or 36000 Miles      O 10/30/2003                     22 Mos or 23779 Miles!
  I POWERTRAIN:     36 Mos or 36000 Miles      O 10/30/2003                     22 Mos or 23779 Miles!
  !PERFORATION:     60 Mos or 100000 Miles     O 10/30/ 200 5                   46 Mos or 87779 Milesj


                                                                                                         DONNA ROBERTS v WARDEN
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I  EMISStONS:      3'6 Mos or   36000 Miles        0 10/30/2003    22 Mos or    23779 Miles I
!ADJUSTMENTS:      36 Mos or    36000 Miles        0 10/30/2003    22 Mos or    23779 Milesj
I AIR ~OND .:      36 Mos or    36000 Miles        0 10 /30/2003   22 Mos or    23779 }-files I
!EX . FED.EMIS :   96 Mos or    80000 Mi l es      0 10/30/2008    82 Mos or    67779 Miles I
I                                                                                             I
I                                                                                             I
I
!In-Service Odomet er:   2975 Miles                Roadside Assistance              YES
!Master Shield         N/A                         Transferable   Factory Warranty: N/A
lveh. Restrictions     NO RESTRICTIONS                          - Service Contract: NO I
i!*** Above info has been adjusted in accordance to local laws***                             I
                                                                                              I
I                                                                                             I
+--------------------CURRENT VEHICLE TRZ\.NSFER INFORMATION--- -------------------+
I                                                                                             I
!Restrictions: NO RESTRICTIONS
I    FACTORY WARRAl~TY ODOMETER LEFT: 66.052 %           TIME LEFT: 62.979 %
I
1wcc            MODEL YRS   BASIC   POWERTRAIN    DED RUST PROTECTION
1336           1 995-96    3/36        3/36          0           7/100
I              1997-01     3/36        3/36          0           5/100
I              WARRANTY COVERAGE GOES WITH THE VEHICLE . INFOR~ DAIMLER-
I              CHRYSLER OF ANY SUBSEQUENT OWNER'S NA.ME l\.ND ADDRESS CHANGES USING
I              'VEHICLE OWNERSHIP INFO UPDATE/TRJu~SFER' ON THE VIP UPDATE MENU.
I
jNO SERVICE CONTRACTS FOR THIS VEHICLE
I
jUse 'VEHICLE OWNERSHIP INFO UPDATE/TRAl"ISFER' on the VIP update menu to xfer.
I                                                                                             I
+------------------------------SERVICE CONTRACT---------- - - -- ------------------+
I                                                                                             I
I           NO SERVICE CONTRACTS FOR THIS VEHICLE                                             I
I                                                                                             I
+- - --- - -- -- -------------------RECALL INFORMATION---- -- -------------------------+
i                                                                                             I
I Recall                                                      Launch           Repair         I
I Nwnber       Description                                    Date             Date          I
!-------------INCOMPLETE RECALLS--------------                                               I
!        ** NO INCOMPLETE RECALLS**                                                          I
I                                                                                            I
!--------------COMPLETE RECALLS----------------                                              I
/ 9 57      OWNER'S MANI.JAL ADDENDUM                         11/06/2000       12115;2000    I
I                                                                                            I
+----------------------- -- ---- OPEN CAIR SUM!vfARY----- - --------------------------+
I                                                                                            I
I          NO OPEN CAIRS FOR INQUIRING DEALER FOR THIS VEHI CLE                              I
I                                                                                            I
T--------- -------- --- - ----E ND        0 F   REPORT------ -- --------------------+




                                                                                        DONNA ROBERTS v WARDEN
                                                                                         CASE NO. 4:21-cv-00368-DAP
                                                                                            APPENDIX – PAGE 5847
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                                                                                                                                                                                                                  \/EH.DEL.                  RENTAL
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              SHOvV LINE CODE (A·E) RELATING ALL PARTS TO F. G.                                                               f'.IES
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                                                                                                                                                                                           EXP . POLICY NO.




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 AUTHORIZATI ON CODE




SPEq. o n oE R P.An rs DATE          SPEC . OHO. P/', RTS OflDE R MO.             OflOEAE DBY




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 YOU HAVE TliE RIGHT TO AN. ESTIMATE OF THE EXPECTED COST
 OF REPAIRS OR SEflVICES.
                                    INITIAL YOUf'.l CHOI CE

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        ESTI MATE'                         EST!Ml1TE                       AM E.STl!v!ATE

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 but do not au!l1oriz0 cornple tion of a rep air or service. a charqe
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 Suell charge will be directly rela ted to the actual amou nt ol
 latmr.or parts invotvecl in !tie inspection . rnpair or service.
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OHIG INAL ESTIMf\lE.                                                                                                                                                                                          $                   PER. HR.
REVISED ESTIMATE                                                                                                                                                              PFlESTON MOTORS, Inc.               BILL TO CUSTOtAEll NO.     H.O. Cl-10SS flEF _

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                                                                                                                                                                                                                      CASE NO. 4:21-cv-00368-DAP
                                                                                                                                                                                                                         APPENDIX – PAGE 5848
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                                                                             DONNA ROBERTS v WARDEN
                                                                              CASE NO. 4:21-cv-00368-DAP
                                                                                 APPENDIX – PAGE 5849
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                                                                RESTON
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                                                        - - - ,qaio, /ifa:tt"
                                                        Nobody Seils for Les. ,                                                                                   399C
                                                 CMRYSLEfH:,!.YMOUTH-BMW~JEEP
                                                3843 YOUNGSTOWN RD/1/VARREN , OHlO 44484


                                              ~-u
                                                          Phone (330) 369-46'11
                                                                  {330) 743-5431
                              CUSTOMER'S        K ,
                              CONTACT           L,/       ,



                                                         NAME


                                                         ADDRESS


                                                         CITY/STATE




                                 WOR K □        OR DAYTIM E □                      EV E NING □            OR H OME □                   PHQ[,JE




                                                                                               .DESCRi?T!ON                                                               i'IOTES
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                                                                l 8'(:       2ND NOTIFICATION DATE:                        BY:
                                                                                                                                                                                         IBY:
                                                                         1
                                   \.'VHITE - CUSTO!VlER COP Y  GAMA.RY · OR !GiNATING DEPT. COPY   PiNK ~ PARTS MONITORING
                                                       GOLD· ARRIVAL NOTICE      TAG - CUSTOMER NOTIFICATION
                              .FOAM RL-117?-l ( 12/94)




                                                                                                          DONNA ROBERTS v WARDEN
                                                                                                           CASE NO. 4:21-cv-00368-DAP
                                                                                                              APPENDIX – PAGE 5850
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                           20529                                6w951520w                  PRESTON AUTO MALL
                                                                                      CHRYSLER PLYMOUTH JEEP EAGLE DODGE BMW
DONNA ROBERTS                                                  ACCOUNTING                       3843 YOUNGSTOWN RD.
DONNA ROBERTS                                                                                    WARREN, OHIO 44484
254 FONDERLAC SE                                                                                    (330) 369-4611
WARREN, OH 44484                                                  PAGE 1
HOME: 330-394-9453 BUS: 330-743-4507
                                                           SERVICE ADVISOR:



1N.$ERVJCE DATE   PROD. DATE       WARR. EXP:


                                                16:00 20JUN01                 60.00 CASH       22JUN2001
                         ClJSTQMEHNOTIFIEO:>DATE   OPTIONS: STK:C10162 1) CERTIFIED MAINT PLAN
                                                  36/36000 2)EXP. 10/30/03 OR 38,975 MILES
08:22 20JUN01   12:23 22JUN01
LTNE OPCODE TECH TYPE A/HRS S/HRS                       COST       SALE        COMP       LIST            NET         TOTAL
A "CHECK· ENGINEn, . ABS LIGHTS ON ·.




        COST       SALE        &    COMP TOTALS            0           0          0
                                                                                            DESCRIPTION
                                                           METHOD OF PA YMENT1--LA_B_O_R_AM_o_v_N_T_ _+----'o:....;•:....;Oc--'0:--_ _
                                                                                        PARTS AMOUNT                   O• 0 0
                                                                                        GAS, OIL, LUBE                 O • Q0
                                                           CASH      □                  SUBLET AMOUNT                  O• 0 0
                                                                                        MISC. CHARGES                  O• 0 0
                                                           CREDIT CARD □                TOTAL CHARGES                  O. 00
                                                                     □     Q            LESS ADJ / DIS                 O• 0 0
                                                           CHECK         N     ·---~-sA_L_Es_T_A_x----+----:o~.~o~o::----

                                                           oTHER     □                  PLEASE PAY
                                                                                        THIS AMOUNT


                                                          FILE COPY


                                                                                              DONNA ROBERTS v WARDEN
                                                                                               CASE NO. 4:21-cv-00368-DAP
                                                                                                  APPENDIX – PAGE 5851
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"°' R.O, NO.                                                                                                                                                                                                                                     TIM~ECE:IVEO



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~i::~c1~/~h~;~~,~~il~~e')h;~:;,~f o~nJe~~:~n~~~e s~?/~~~Job~ ~~;'~~~gt~I~t71ni:~;r1~ 1-"-=A"-u"'T""H~O-R~IZ_E_D_B_Y_ +--'="'i,',"/ "~?r-1,.-:.....-;-·.L .-r- ·-;,,·-."i-.,,-i;-'.,-. - - - - - -- - - --'--- - -- - - - - ---1
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:.:W~~fcif:e;;z.;:~~~i~~o'.ien Is hereby acknowledged on above vehicle., to ~secure _1ho 1-""c""u"'sT"'o"'ic:c,,E'"'R=r."o-.' Ncco=-.- 1-- - - - - - - -- - - - -- - - - - - -- - - - -- - - - - +-CA-l-.L- V-,.H- E":,-' , _ _:Cc:_]-l fy >--- - - - - ->--- - - -- - - -- - - - - - -- -'
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r
                                      CUSTOMER'S SIGNATURE
         SHOW LIN E COD E (A-E) RELATIN G ALL PARTS TO F.C.                           RES r ' -- - - - - - -- - ~        lsu_s_ l~ - ••                                            ~.-5f"'>.,-
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. . ( ~c_O_S_T_ 'TQ
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                     -,---
                         P-A_R_T.:.N_O_.~---O-E_S_C_R_IP_T_IO
                                                            _N_ _r - _S_A_l_
                                                                           E _._--,I--B-I L_L.Ll-.0- - . - - - - - -- ---'- - ' - -- " - ' - - - - - - " - - --"'-'
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                                                                                                                                                                                  BY




                                                                                                                       INS. CO.                                                        POLICY NO.                                                   EXP.

                                                                                                                  cc        OPERATION                        UNITS   FC       CC                                  INSTRUCTIONS                             LABOR



- •l-----+--+-+- - - -- - - - - - -------,l--- -+--+---,l---- - -- - - - 1- - +-- + ---ll---+--(,-::,_·•1,,,__                 ,1_f_(_\c_,_
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                                      GALS. GAS@
                                  OTS. O IL @   ,             \
                      . \ )<:: \ i".BS:'"GREASE         @
                                                        ./' ''                          t ii • ,, ''•,
YOU HAVE THE RIGHT TO AN ESTIMAI.E OF, THE EXPECTED.COST
OF REPAIRS OR SERVICES.    • ..... : ·, •. '      t    '
                                        INITIAL YOUR CHOICE       --   ..... ,.,_

                •      .    -~~··                                  ~,.           "t   • . . . ·,.
           WRITTEN         . ' ·, ·              ORAL               \'"'.1oo NOT g~oUESr , • '"'
           ESTIMATE          ' ·               ESTIMATE                  '"-AN ES11MATE
In the ev..ent \.j la.t f .u, th e customer, authorize commenceme nt
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but do not au ll,i or[i! co mpletion of a repair or service , a cha rge
                                                                                                                                                                                                              .      '
will be imposed Tor disassembly, or pa rtially completed work.
Such charge., will be directly related to lh e actual amount of
labor or parts involved in lhe inspection, repair or service.
                                                  PARTS           LABOR                   TOTAL                                                                                                                                                                               FLAT RATE HOUR           ACCESS CODE




                                                       hf~--~VJta~                         '")\j                                                                                                                                                                        S                 PER . HR.
: :~: CE:ST~:: EE                                                                                                                                                                         PRESTON.AUTO MALL                                                                 BILL TO CU STOMER NO.     RO . CROSS REF.
REV.tST.              - --              -                 Nobody f'S\ IL~ ,fot;i'Less\. .. s 'V
                                             - - ' - - - --+D
                                                            - /\_T_E_ _.___ __                    --l                                                                                    :::~~· ( (336)369-46 11
       . . .E,- --,,,-----------1-c,Tlc-M~E----------l
.,~~~.~;~~o-~-~                                                                                                                                                                                3843 Youngstown Road
REC. Alll'H :
                       '                                 DISCLAIMEH OF Wl\Hl1Af·H IES
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                                                                                                                       1t~          ?! m?t'cllant:ib_l!itY
                                                                                                                                                               I                               WARREN, OHIO 44484


                                                                                                                                                                                                                                                                                 DONNA ROBERTS v WARDEN
                                                                                                                                                                                                                                                                                  CASE NO. 4:21-cv-00368-DAP
                                                                                                                                                                                                                                                                                     APPENDIX – PAGE 5852
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'"' ~!TE lNSPE:CTiON iN FORfv1ATION                                   STATE INS. HEP;.\!FlS
 LF                     LF




                                                                               S1 GN /\TU H.E




                                                                                                      DONNA ROBERTS v WARDEN
                                                                                                       CASE NO. 4:21-cv-00368-DAP
                                                                                                          APPENDIX – PAGE 5853
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                             20529                                6w971590w                      PRESTON AL!,JO MALL
                                                                                        CHRYSLER PL YM~UTH EP EAGLE DODGE BMW
DONNA ROBERTS                                                    ACCOUNTING                            3843 Y    GSTOWN RD .
DONNA ROBERTS
                                                                  399D                                  WA EN, OHIO 44484



                                                                                                L
254 FONDERLAC SE                                                                                           330) 369-4611
WARREN, OH 44484                                                   PAGE 2
HOME: 330-394-9453 BUS: 330-743-4507
                                                            SERVICE ADVISOR:               21              IRRY RICKER
                                                                                         ·•····•··. ICENSE \ <> ) Mlt:.E:AS,E;clflJ!Qlff · •· :}'TA§'{
SILVER             01    CHRYSLER 300M                                                                             87 06 /87 09
IN§J;f.11/lG1?8AI§ HRQD/ PATE ·>WA8.R/ EXf\ {                                                         ? ::>f'AYMENJ

30OCT2000                                       18: 00 16AUG01                            60.00            CASH              17AUG2001




                                                            THE QUALITY PARTS YOU NEED
                                                         ..•.o0ttS'l'Ai'1D:lNG•• CUSTOMER• SEBY1¢E
                                                                     ALWAYS




          COST      SALE      &   COMP TOTAL S          5715      133 45
                                                            METHOD OF PA YMENT1--LA       _o_u_N_T_ _+--_ __.0_._o_o___
                                                                                  _B_O_R_AM
                                                                                            PARTS AMOUNT                             Q • Q0
                                                                                            GAS, OIL. LUBE                           Q • Q0
                                                            CASH     O                      SUBLET AMOUNT                            O • OO
                                                                                            MISC. CHA RGES                           O• Q 0
                                                            CREDIT CARD       O              TOTAL CHARGES                           O. 00
                                                                     □               LESS ADJ I DIS                        O 00
                                                            CHECK        NO• - - - 1--sA_L_Es_T_A_x - - - - + - - - - - : :o:-:-;0::--::0: : - - - - -
                                                            oTHER    O                      PLEASE PAY
                                                                                            THIS AMOUNT


                                                          FILE COPY


                                                                                                     DONNA ROBERTS v WARDEN
                                                                                                      CASE NO. 4:21-cv-00368-DAP
                                                                                                         APPENDIX – PAGE 5854
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                                 20529                                 6w971590w               PRESTON AUTO MALL
                                                                                         CHRYSLER PLYMOUTH JEEP EAGLE DODGE BMW
DONNA ROBERTS                                                         ACCOlJNTING                   3843 YOUNGSTOWN RD.
DONNA ROBERTS                                                                                        WARREN, OHIO 44484
254 FONDERLAC SE                                                                                        (330) 369-4611
WARREN, OH 44484                                                         PAGE 1
HOME: 330-394-9453 BUS: 330-743-4507
                                                                  SERVICE ADVISOR:        2116 BARRY RICKER
                                                                                            LICE:NSE ·••• ••• .: : ? Nll~l':!\.GE: l.N/ QUJ   ••




30OCT2000                                             18:00 16AUG01                     60.00 CASH       17AUG2001
}/\D/\Jli:QFflE:PflfL ·••• Cl.JSTO_MEF!.NQTIFlEQ:r:lf<_T E
                                                         OPTIONS:  STK: C10 1 62 1) CERTIFIED MAINT PLAN
                                                        36 / 36000 2)EXP. 10 / 30 /03 OR 38,975 MILES
08:07 1 6AUG0 1 15:08 17AUG01
LINE OPCODE TECH TYPE A/HRS S/HRS                              COST       SALE    COMP       LIST                    NET             TOTAL




                                                                800       2790 TLABOR




                                WCP4                    0.80   1280       4464                                  44.64                44.64




                 CLAIM TYPE:
                                                                                            . · DESCRIPTION >        ·

                                                                  METHOD OF PAYMENT~LA_B_o_R_AM_o_u_N_T_ _+ - - - - - - - -
                                                                                           PARTS AMOUNT
                                                                                           GAS, OIL, LUBE
                                                                  CASH     □               SUBLET AMOUNT
                                                                                           MISC. CHARGES
                                                                  CREDIT CARD □            TOTAL CHARGES
                                                                           □               LESS ADJ I DIS
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                                                                  OTHER    □               PLEASE PAY
                                                                                           THIS AMOUNT


                                                                 FILE COPY


                                                                                                  DONNA ROBERTS v WARDEN
                                                                                                   CASE NO. 4:21-cv-00368-DAP
                                                                                                      APPENDIX – PAGE 5855
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                                                                                                                         ,.



+---- --- ------- -- - - VEHICLE INFORVJATION PLUS SUM!v!A.'<.Y REPORT- -- --- - - - - - -- -- - - __ _: ~+
I                                                                                                            I
I 08/ 16/2 001 07: 11           PRESTON CHRYSLER PLYMOUTH BMW                      PAGE 1 I
+-- -------- - ---- -- -- -- ----- ----------------------------- ---- -- -------- -- ---- -- -+
J        VIN: 2C3A.E66G81H526861        WCC : 336        Current Odometer :     8706 Mi les!
I Yr/Model : 2001 CHRYSLER 300M FOUR-DOOR SEDAN              In - Serv Date : 10/30/200 0 I
I                                                                                                            I
+------------------------------VEHICLE SUMViARY-- ---- -------- -- -- ---- -- ---- --- -- +
I                                                                                                            I
jBodyStyle: LHYS41                          Build Date: 08/29/ 2000    Hour: 03                              I
I Co l or 1 : PS2 - Bright Silver Metallic Clear Coat                                                        I
I         2 : QS2S - Bright Silver Metallic Clear Coat                                                       I
I Engine: Engine - 3.51 High Output V6 24V MPI                         BOOK: F                               I
I   Trans : Transmission - 4-Speed 'Automatic                       C&"RLINE :                    L
                                                                                                             I
I Seller: 68662 PRESTON CHRYSLER PLY1~0U               Zone: 43                                              I
I        Address : 3843 YOUNGSTOWN ROAD SE                                                                   I
I            City: W&~ EN                                                                                    I
!State/Province: QR Desc : OHIO                                                                              I
I    Post al Code : 444842895                                                                                I
I         Country: USA Desc: UNITED STATES                                                                   I
I           Phone : 330.369 . 46 11                                                        ,                 I
I Sale Type : L- BROKER                Last Odometer :                       0 Miles on 10 / 30/20001
I                                                                                                            I
+--------- ------- --- --- --CUSTOMER NAi'vfE AND ADDRESS --- -- ---- --- --- -- --- -- ------:
I                                                                                                        I
I**** CuKRENT OWNER NAi'-1E ****                                                                         I
I      Title Code: 03 MISS                                                                               I
       First Name : DONNA                                                                                I
   Preferred Name:                                                                                       I
   Middle Initial:                                                                                       I
        Las t Name: ROBERTS                                                                              I
          Address: 254 FONDERLAC ST SE                                                                   I
               City : WARREN                                                                             I
   Province/State : OH OHIO                                                                              I
 Postal Code :        44484215 7                                                                         I
    Phones - Home: 3306097812                          Bus:                                              I
I               Fax:                                                                                     I
I Language Pref: 010 ENGLI SH                                                                            I
1,        Country : USA UNITED STATES                                                                    I
I                                                                                                        I
+-- -- --- - -- ----- -- --- -- ------ORIGINAL OWNER NAME· -- --- - ----- --- --- --- -- -- -- - --- +
I
I       First Nru~e: DONNA
I   Middle Initial:
I        Last Name: ROBERTS
I
+- ---- -- ------------- - SERVICE HISTORY (LAST           24 MONTHS) ---- -- - --- -- -- -- -- ---- - - +
I                                                                                                        I
JRepair Date       Dealer / Payee                             Claim#        Transaction Type             I
110 /30/2000       68662-PRESTON CHRYSLER PLYl~OUT            306652        MISC . TRANSACTION           I
I         LOP:     NO LOPS                                                                               I
108/31/20 00       68 662 -PRESTON CHRYSLER PLYMOUT           PREPNv        PREPA..AATION
I         LOP :    95900040 Road ready
I         LOP:     95900045 Road ready
I
+- - -- --- --------- - ---- --- -Wl\..'<.RANTY COVERAGE SU1~'1ARY-- ---- --- --- - - ---------- ---- +
I                                                                                                        i
                                                                                                         I
lwcc: 33 6         ------ Original     ---- - - Deduct - -Expires-         --- -- Remaining -- 'C- -- 1
!       BASIC:     36 Mos or 36000 Miles                0 10/30/2003       26 Mos or      27294 Milesj
I POWERTRAIN :     36 Mos or 36000 Miles                0 10/30/2003       26 Mos or      27294 Miles I
IPERFORATION:      60 Mos or 100000 Miles               0 10/30/2005       50 Mos or      91294 Miles I
I EMISSIONS:       36 Mos or 36000 Miles                0 10/30/2003       26 Mos or      272 94 Miles I
IADJUST!vlENTS :   36 Mos or 36 000 Miles               0 10/30/2003       26 Mos or      272 94 MilesJ
I AIR COND.:       36 Mos or 36000 Mi les               0 10/30/2003       26 Mos or      27294 Miles I
IEX.FED.EMIS:      96 Mos or 80000 Miles                0 10/3 0/2008      86 Mos or      71294 Miles !


                                                                                                        DONNA ROBERTS v WARDEN
                                                                                                         CASE NO. 4:21-cv-00368-DAP
                                                                                                            APPENDIX – PAGE 5856
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                                                                                                  I
                                                                                                  I
                                                                                                  I
    In-Service Odometer:   2975 Miles                    Roadside Assistance              YESj .
    Master Shield        N/A                             Transferable   Warranty .        N/AI
    Veh. Restrictions    NO RESTRICTIONS                              - Service Contract: NO I
                                                                                                  I
I*** Above info has been adjusted in accordance to local laws***                                  I
I                                                                                                 I
+--------------------CURRENT VEHICLE TRANSFER INFORiv!..ATION----------------------+
I                                                                                    I
!Restrictions: NO RESTRICTIONS                                                       I
I             WA.1:ffi_-1\.NTY ODOMETER LEFT : 75.8 16 %TIME LEFT : 73 . 583 %       I
I                                                                                    I
jwcc          MODEL YRS         BASIC    POWERTRAIN   OED RUST PROTECTION            l
1336         1995-96           3/36         3/36         0          7/100            I
I            1997-01           3/36         3/36         0          5/100            I
             WAR.J:vl-.1~TY COVERAGE C-OES WITH THE VEHICLE. INFORM DAIMLER-         I
             CHRYSLER OF ANY SUBSEQUENT OWNER'S NA.ME AND .ADDRESS CP...ANGES USING I
             'VEHICLE OWNERSHIP INFO UPDATE/TRJ.1.,.l\JSFER' ON THE VIP UPDATE ME~u. I
                                                                                     I
INO SERVICE CONTRJ.l,CTS FOR THIS VEHICLE                                            I
I                                                                                    I
!Use 'VEHICLE OWNt:RSHIP INFO UPDATE/TRJ>..NSFER' en the VIP update menu to xfer.                 I
I                                                                                                 I
+------------------------------SERVICE CONTR.~CT---- - ------------------ - - -- - ----+

             NO SERVICE CONTRACTS FOR THIS VEHICLE

+-----------------------------RECALL INFORtvl..ATION--------------------              --------+
1
I Recall                                                           Launch        Repair
I NQrnber   Description                                            Date          Da.t e
j------------ -INCOMPLETE RECALLS------ ------- --
1      ** NO INCOMPLETE RECALLS**
I
1-- ---- ------- -crn-1PLETE RECALLS - - -- -- - --- - - --- -
j 9 57         OWNER'S ViANUAL ADDENDDJII!                          11/06/2000   12 / 15 / 2000
I
+~----------------------------OPEN CAIR SUMMI>.RY------------------ --- -----------+
I                                                                                                 I
I           NO OPEN CAIRS FOR INQUIRING DEALER FQR THIS VEHICLE                                   I
I                                                                                                 I
+-------------------------END               0 F     REPORT----------------------------+




                                                                                                  DONNA ROBERTS v WARDEN
                                                                                                   CASE NO. 4:21-cv-00368-DAP
                                                                                                      APPENDIX – PAGE 5857
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        PARTS                 PARTS
QTY'.       PART#




                    FLAG




                                                                                             COMPONENT' UJ. NO.



                    FLAG


                                            BHi\tC:E~:.)      LhFR
                                                   (CI HGLE: Of\\E;

                                                                      LF/RH   HT!HH




                                                                                                 DONNA ROBERTS v WARDEN
                                                                                                  CASE NO. 4:21-cv-00368-DAP
                                                                                                     APPENDIX – PAGE 5858
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                                                                                                                                                           PRESTON
CUSTOMER #:2 0529
DONNA ROBERTS                                                                                                                                             Auto Mall
DONNA ROBERTS                                                                                                                                  YSLER PLYMOUTH JEEP EAGLE DODGE BMW
25 4 FONDERLAC SE                                                                                                                          384 3 YOUNGSTO WN RD. WA RREN, OHIO 44484
                                                                                                                                                         (330 ) 369-46 1 1
WARREN , OH 44484
HOME : 330 - 394 - 9453 BUS : 330 -74 3-4507
                                                                                                           SERVICE ADVISOR : 2 7 1 6 F. ICKFR, PARRY                          ---::::--
         COLOR                                           MAKE/ MODEL                                                    VIN                    LICENSE          MIL EA GE IN ' QUT )           TAG


SILVER                           01          CHRYS LER 300M                                          2C3AE66G81H52686 1                                         8 706 / ~7D9              rT7 37
                                                                                             PROMISED                    PO NO.                RA TE        PAYMEN T           INV. DATE


30OCT2000                                                                           16 : 00 16AUG0 1                     60 . 00 CASH
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C.




                                              EXCLUSION OF WARRANTIES                                                                    PRELIMINJI.RY EST IMA TE S _ _ _ __ _ _ _ _ _ _ __
        Any warranties on !he parts and acc essories sold he r eby are made by the manufact urer . Th e
        undersicr,ed purchasar understands ?Ind agre9 s t hat dea ler makes no w ar ranties of ar.y k ind,
        express- or impl ied, and d iscl3ims all warranti es, including warrant ies of merchan t abilit y or fitness
        for a partic ular purpose, with regard to the parts and/o r accessories purchased ; and that in no               AU THOR IZED BY   X
        ever.t shall dealer be 1iab!e for incidental Of consequential damages Of commerc ial lo sses ,::1r1sing                                                                           BY
                                                                                                                         REV ISED                       DA TE          TIME
        QUI of such purcn:,se. Tha undersign ed purchaser furthe r .agree s t hat the w.arrant!es excluded by
        deal er , include, but are r.o t limited to any warranties tha! such parts and/ or accE:issories are of          ESTIMATE {1)
        merchantable c.uaHty or that the y will enable any vehi cle er ar.v of its systems tc perfcrm w i th
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        reas cnab!e safety , effi ciency, or comfort.
                                                                                                                         ESTIMATE 12 )
                                                AUTHORIZATION FOR REPAIRS
        ! hereby ~uthcriz-e the rep"ir work he re in set forth to be done along with the necessaty m.ateoa!
        sr.d ~gree that ycu are no t responsib le to r loss or damag e !O vehicle or .9rt icies fet t i n vehic le tn
        c~se of fire , theft or any other cause beyor.d your co n trol or for :my delays caused by
        unavailabi lity of pans or delays in parts shipments by the sup plier or tt ans poner. l h ereby grant
        ycu and /or your Gmployees per mis·sion to oper ate tha veh icl e herein de scribed on str ee ts,
        hiahways or elsewhere fer the purpose of ttisting and /o r inspection. An axpress mechanic's lien is
        hafeb y acknow ledged en above vehicle to secure t he amo unt of repairs thereto. The desier:..hip is
        not responsible fer damages f rom freezi ng due to lack of anti freeze .




                                                                                                                                                       DONNA ROBERTS v WARDEN
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                              20529                              6w918140w                    PRESTON AUTO MALL
                                                                                       CHRYSLER PLYMOUTH JEEP EAGLE DODGE BMW
DONNA ROBERTS                                                   ACCOUNTING                         3843 YOUNGSTOWN RD.
DONNA ROBERTS
254 FONDERLAC SE                 399E                                                               WARREN, OHIO 44484
                                                                                                       (330) 369-4611
WARREN, OH 44484                                                  PAGE 1
HOJvIE: 330-394-9453 BUS: 330-743-4507
                                                           SERVICE ADVISOR:



• fN SERVlCE DATE   F'ROD. PATE       WARR. EXP.


                                                     15MA.R01                            60.00        CMP              15MAR2001




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                                                             DONNA ROBERTS v WARDEN
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    YOU HAVE THE RIGHT TO AN ESTIMATE OF THE EXPECTED COST
    OF REPAIRS OR SERVICES.
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                                       INITIAL YOUR CHOIC E                                                                                                                                                                                                                                                                                                                                                                                                                               ·•,\.
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 In the event that you, the customer, au thori ze comm encement                                                                                                                                                                                                                                                                                                                                                                                                                                                  ',,

 but do not authorize completion of a repair or service, a charg e                                                                                                                                                                                                'i                  ·.-, n H ·., {:\                                                   ,• '\,, '                                                                                                                                                     · ......
 will be imposed for clisas sembly, or partiall y completed work.                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ·,,,
 Such charge will be directly related to the actual amount of
 labor o r parts involved in the inspection. repair or service.                                                                                                                                                                                                                                                                                                                                                                                                                                                                              '




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                                                   PARTS              LABOR                     TOTAL                                                                                                                                                                                                                                                                                                                                                                                             FLAT RATE HOUR '                                 ACCESS CODE
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 011IGINAL ESTIMATE                                                                                                                                                                                                                                                                                                                                                                                                                                                                   $                   PER. HR.
-REVISED
  - ESTIM,\TE                                                                                                                                                                                                                                                                                  PRESTON AUTO MALL                                                                                                                                                                            BILL TO CUSTOMER NO.                                 A.O. CROSS REF.
 REV. EST.
 AUTH. llY
                                                                   DATE                                                      ff             Nobody Sells for Less                                                                                                                                                               (330) 369-4611
 EMPLOYEE
 REC. AlHH.
                                                                   TIME                                                                                                                                                                                                                                      3843 Youngstown Road
                                                                   DISCL AIMER OF W ARRANTIE S
    The sc llar , hereby exp res s ly d i1w la!nrn a ll w arrnntlC!<>, eithi! r e xpn:issc d or lrn pU1i d, lnc !LHJlng an1,r !mpfhnl wnrr:.i nty ot m c rc lrn ntat; Hl l y                                                                                                                                 WARREN, OHIO 44484
    or fitn oss for a parl.lculm purpoS (~ . nnd riclth er assu111 es nor authorlzo s nnr olll er p,-m ;on to .a!.:;.ume lo t· H m1y liub!Hty In con neclkl n
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                                              STATE iN~3. F1EPA.!RS




                                                                             DONNA ROBERTS v WARDEN
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                                                                                 APPENDIX – PAGE 5864
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                                                                               6w877480w                       PRESTON AUTO MALL
                  399G                                                                                  CHRYSLER PLYMOUTH JEEP EAGLE DODGE BMW
                                                                             ACCOUNTING                             3843 YOUNGSTOWN RD.
                                                                                                                     WARREN , OHIO 44484
                                                                                                                        (330) 36 9-4611
                                                                                 PAGE 1
HOME:                                    BUS:
                                                                        SERVICE ADVISOR :                 207 9 ROBERT A JONES

SILVER              01         CHRYSLER 300M
IN·.SER VIC EQATE •• PROD.• Dt>-TE .WARl'r EXP.•


                                                      16 : 00 30OCT00                                     58.0 0         CASH                 30OCT2000
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                                                                        THE QUALTTY         PARTS YOU NEED
                                                                      OUTSTANDING CUSTOMER SERVICE YOU EXPECT
                                                                                 AL1ilIAYS AT       .
                                                                        PRESTON AUTO MALL INC.
                                                                          ·•·• SERVICE HOURS
                                                                      THRU FR I 7 : 30 TO 6 : 00       SAT 8 : 00 TO 1 : 00

ACCOUNT                                                                                                          COST                   CONTROL
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                                                                                                                                                                                                                                                       Auto Mall
                                                                                                                                                                                                                                         CHRYSLER PLYMOUTH JEEP EAGLE DODGE BMW
                                                                                                                                                                                                                                         3843 YOUNG ST O\/'J N RD. VVA RREi'J, OH!O 44484
                                                                                                                                                                                                                                                         l330J 369-4 61 i




     COLOR                                                                                    M.~i<E! MODEL                                                                                                               \J IN                              ivHL EA GE IN! OUT          TAG


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  YOU HAVE THE RIGHT TO AN ESTIMATE OF THE EXPECTED COST
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            WRITTEN                                      ORAi.                             I DO NOT REQUEST
            ESTIMATE                                   ESTIMATE                               AN ESTIMATE
  In th e event lllat you, tt1 e customer, aulhorize co mmencement
  but do not authorize compl etion of a repair or se rvice, a charg e                                                                                                                                                                                                                                         ·_.
  will be imposed for disassembly, or partially completed work.
  Such charge will be directly related to t11e actua l amount of
  labo~ or pa rts involved in the inspection, repair or se rvice.
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 REV . EST.
 AUT H. BY
                                                                               DATE                                             Jj,               Nobody Sells for Less                                                                                                            (330) 369-4611
 EMPLOYEE
 REC. AUTH.
                                                                               TIME                                                                                                                                                                                            3843 Youngstown Road
                                                                 DISCLAIMER Of WAR RANTIES
     The sellor , hcr~by cx pros5ly dis cla ims ali wnrrnn t/c-$,. ~llhur (!,;pressr:d e r hripli;:-d, incl udlng any impll t'!d wnrranty of merchant r,.b llily                                                                                                               WARREN, OHIO 44484
     or fltnuss for u pnrtlculnr pu rpotc , nnd ()!!Uhe r LHl fillln(!.!I no r authorizes any other pe r.se n to assumo for It t:my Jiabi!hy in connec::: l\o n
     wit h lho sale of said products,




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                         399I                                                                                                PRESTON AUTO MALL
                                                                                                                        CHRYSLER PLYMOUTH JEEP EAGLE DODGE BMW
                                                                                             ACCOUNTING                           3843 YOUNGSTOWN RD.
                                                                                                                                   WARREN, OHIO 44484
                                                                                                                                      (330) 369-4611
                                                                                               PAGE 1
HOME:                                            BUS:
                                                                                        SERVICE ADVISOR:                 2079 ROBERT A JONES
                                                 MAKE/MODEL                                      VIN                       LICENSE            MILEAGE IN/ OUT             TAG


SILVER                   01               CHRYSLER 300M                                                                                                2/5
IN SERVICE DATE         PROD. DATE              WARR . EXP.                                                                             PAYJ)ll1::NT         !NV . DATE


                                                                                                                                                         01SEP2000


10:59 01SEP00                             12:22 0lSEP00
                                                                                                S.?~LE                      LIST                NET          TOTAL


                                               INCR                  1.40     1750              7546                                        75.46            75.46
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                                                                                 THE QC1'.L=TY PARTS YOU NEED
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                                                                                                     ALWAYS AT
                                                                                               STON AUTO
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                                                                            MON                FRI                                   SAT 8:00 TO 1 :00

ACCOUNT                                                                                      ACCOUNT           SALE            COST                    CONTROL
46400                     7546                                                               26300               7546         *******                    12526861




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                                                                                        METHOD OF PAYMENT
                                                                                                                          LABOR AMOUNT                         0.00
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                          DA.IMLERCHRYSLER                          INVOICE
          8202-A
               PLA.t'JT        ZONE     DEALER VEHICLE ID NO.       INVOICE NO.   INVOICE DT
         BR.AMALEA              43      68662 2C3AE66G81H526861    1-LHY-60012636 08/29/00
  SHIP     PRESTON CHRYSLER PLYMOUTH
   TO:     3843 YOUNGSTOWN ROAD SE                                  IGN KEY        Ml299
           WARREN           OH 44484-                               TRK KEY           1299
                                                                    ACC KEY         1203
  SOLD     PRESTON CHRYSLER PLYMOUTH                                           9126-01-8129
   TO:     3843 YOUNGSTOWN ROAD SE
           WARREN           OH 44484-                                SHIPPING WT. 3512
   PAID FOR BY:   SKY BA-~K                                          SAE HP       34.3
           CREDIT SALE      XX                 CASH SALE               000-041211-00

  BODY &
  EQUIP.
             I                               DESCRIPTION
                                                                              FACTORY
                                                                          WHOLESALE PRICE
LHYS41           Chrysler 300M 4-Door Sedan                                   27,066.00
PS2              Bright Silver Metallic Clear Coat
NLDV             Seats - Prem Leather Trimmed Bucket                          NO CHARGE
ADE              Cold Weather Group                                              27.00
AFF              Luxury Group                                                   463.00
P..RF            Radio-Cass/4 CD/Amp,11 Infinity Spkr                           458.00
AWS              Smoker's Grouo                                                  18.00
CGS              Air Bags - Side, Supplemental                                  312.00
DGX              Transmission - 4-Speed Automatic                             NO CHARGE
EGG              Engine - 3.5L High-Output V6 24V MPI                         NO CHARGE
GWA              Moonroof - Power                                               797.00
NAS              Emissions - U.S. 50 State                                    NO CH.Zl,.RGE
WF7              Wheels - 17" Aluminum, Chrome                                  668.00
YDH              DaimlerChrysler Owner Loyalty Mail                              20.00
YGC              7 Additional Gallons Of Gas                                      9.00
2DM              Customer Preferred Package 2DM
26M              Customer Preferred Package 26M
3V2              Customer Preferred Discount
G35              CPJ DAA WEST, INC. EBPF                                         180.00
P35              CPJDAA WEST, INC. DAA                                           150.00
310              DESTINAk ION CP...ARGE                                          630.00
                 HB 97900
                                            MDH #   082903
                                            EP       29119




                 MSRP RETAIL TOTAL                    33,250. 00
                                                          TOTAL 30,798.00
                                                          ORIGINAL INVOICE
THIS VEHICLE IS MANUFACTURED TO MEET SPECIFIC UNITED STATES
REQUIREMENTS. THIS VEHICLE IS NOT M.Al'JUFACTURED FOR SALE OR
REGISTRA.TION OUTSIDE OF THE UNITED STATES.
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                                                                      DONNA ROBERTS v WARDEN
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                                                                                                                LHY-60012636
                                  VEHICLE SHIPPING ORDER
                                                                                                    COPY 1 - ORIGIN CARRIER
                                           POINT OF ORIGIN: BRAMPTON, ONTARIO, CANADA               COPY 2 - REMAIN WITH VEHICLE


    DaimlerChrysler                 ROUTE KING:
      Canada Inc.
                                                                  V.I.N.:   I      I            I 11111111111111 II
                                                                                   2C3AE66G81H526861
                                                                  SOLD TO
                                    V.O.N.: 60012636              DEALER CODE: 43 68662


DATE:
           II I   082900
                           I II
                                    SHIPPERS WEIGHT: 3512 lbs.
                                                       1594 kg.
                                                                  MERL:


                                                                                                                 399K
                                         SHIPPING INSTRUCTIONS
         DEALER                 DEALER                        ROUTE                                                 ROUTE
          CODE                 ADDRESS                     DESCRIPTION                                               CODE

                                         (AUHL) BRAMALEA ON TOW SENECA NY (ALZS) TO                  THIS
                                         EAST OH, WEST PA DEALER                                     SHIPMENT
111111111 PRESTON CHRYSLER PLYMOUTH
          3843 YOUNGSTOWN ROAD SE
                                                                                                                  111111 111
          68662
                           WARREN           OH 44484-2895                                                           H8L
                                         VEHICLE DESCRIPTION
  MODEL: Chrysler 300M 4-Door Sedan                                COLOR: Bright Silver Metallic Clear Coat


    AJF        TWO ( 2) KEYLESS ENTRIES*** LOOSE * '*               AWS         SMOKER'S GROUP***LOOSE***
    CKR        CARGO NET*• •LOOSE•**                                CLE         FLOOR MATS-FRONT &REAR*• *LOOSE***
    GXR        KEYLESS ENTRY***LOOSE***                             JJA         LIGHTER - CIGAR***LOOSE***
    MDA        BRACKET - FT. LICENSE PLATE** *LOOSE***              ARF         CHR/INFTY I W/CASS & CD CHANGER PACKAGE
    CGD        SHOULDER BEL TS - FRONT HEIGHT ADJUST                CKM         CARGO COMPARTMENT DRESS-UP
    CSG        SEAT - REAR, FOLD DOWN LOCKING                       CSJ         SEAT - REAR HEADREST, 2 WAY
    CSL        SEAT - RR ARMREST W /STORAGE,CUPHOLDER               RBB         RADIO - AM/FM CASS, CHANGER CONTROLS
    RDL        ANTENNA - INTEGRATED IN REAR WINDOW                  RDS         AMPLIFIER - 360 WA TT
    ROW        CD CHANGER - 4 DISC IN DASH                          TBC         SPARE TIRE - COMPACT
    WF7        WHEELS - 17" ALUMINUM, CHROME                        XGD         GARAGE DOOR OPENER - UNIVRS
    XVM        OWNER'S MANUAL                                       XVT         VIDEOTAPE
    YGC        7 ADDITIONAL GALLONS OF GAS                          GNT         MIRROR - AUTO DAY /NIGHT
    GNZ        MIRROR - EXT DRIVER AUTO DAY /NIGHT                  GXX         SENTRY KEY THEFT DETERRENT SYSTEM
    LNJ        FOG LAMPS                                            GWA         SUNROOF - POWER




        BAY:                                BY:                                        REC'D:


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                                           HOWLAND POLICE DEPARTMENT
   Case #      01-                           16 9 Niles Cortland NE                                   CONSENT
                                              Warren, Ohio 44484                                     TO SEARCH
   Date        1-z-12-c1                          216-856-2976




                                                                                   hereby grant consent to

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                      - ~~-~;-3/=r--:·~~--n
                                          _______ , Officer of the HOWLAND POLICE DEPARTMENT
   to search t he following:




   Including Luggage and Contents

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  PERSON IN CONTROL!

  LOCATION '                                                                        COUNTY

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 s OWNER I             ADDRESS I
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    PERSON IN CONTROL!

                                   WAIVER
   I understand that I have the right to refuse the search described above
   and to refuse to sign this form. I further state that no promises,
   threats, force, physical or mental coercion of any kind have been used
   a gainst me to get me to consent t o this search or to sign this form

  WITNESS: /l._J.
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                                                                SIGNATURE          J ~~ ~                /
  WITNESS: e,/f ff i ~ ~~                                       ADDRESS ;;25''/ ,c;..,.,d-a'/. .. ~ ,-

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                                                       HOWLAND POLICE DEPARTMENT
      Case #        O1 -07pf~y                           169 Nile s Cortland NE                                    CONSENT
                                                          Warren, Ohio 44484                                      TO SEARCH
      Date          /.).. -11-0 1                            216-856-2976

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       k~                                                      , Officer o f the HOWLAND POLICE DEPARTMENT
      to search the following:
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  OWNER'                                                    ADDREssj
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      I understand that I have t he right t o refuse the search described a bove
      and to refuse t o sign this form. I furthe r state that no promises,
      threats , force, physical or mental coercion of any kind have been used
      against me to get me t o consent to this search or t o sign th is form
      WITNESS:_/,        ~JI/~                                              SIGNATURE       ~ ~~       r

      WITNESS:..::-,--   )ffe)y/(J__                                        ADDRESS       8-.SV ro1-JJ).f_R, l,A Q..... ~ DEFENDANT'S
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      STATE OF OHIO,                       }
                                           }     Case No. 01 CR 793

      vs.
              Plaintiff                    }
                                           }
                                           }
                                                 Judge John M Stuard
                                                 Courtroom 2
                                                                                \
                                           }
                                           }
      DoNNAM RoBERIS,                      }
                                           }
              Defendant                    }


                                  JURY VERDICT
                      COUNT ONE-VERDICT ON SPECIFICATION ONE
                             Omo REv. CODE ANN. §2929.04

            We, the jury, having been duly empaneled to well and truly try the above cause
      and true deliverance make, do find the Defendant, Donna M. Roberts, is
       _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ of,itcommitting the offense
      of aggravated murder while she was committing or attempting to commit, or in
      fleeing immediately after committing or attempting to commit aggravated burglary
      and that the Defendant committed the aggravated murder with prior calculation and
      design in the manner and form she stands charged in the indictment.
             *Insert in ink either: "Not Guilty" or "Guilty Beyond a Reasonable Doubt."


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                   IN RESPONSE TO YOUR QUESTION, SOME OF THE VERDICT FORMS
             HAVE BEEN CHANGED.    I TRUST THAT THE CHANGES HAVE ANSWERED
            YOUR QUESTION.




                                             MAY 27, 2003
                                             10:00 p.m.




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                                                             DONNA ROBERTS v WARDEN
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             ANSWER TO JURY QUESTION:
                   THE ANSWER TO YOUR QUESTION IS "NO."      THE CHARGES SET
             FORTH IN THE INDICTMENT AND DESCRIBED IN YOUR JURY
             INSTRUCTIONS ARE MERELY ALLEGATIONS.
                   IN RESPONSE TO YOUR QUESTION AS TO WHAT CONSTITUTES
             FELONY MURDER, I CAN ONLY DIRECT YOUR ATTENTION TO THE JURY
             INSTRUCTIONS PRESENTLY IN YOUR POSSESSION.      SEE INSTRUCTION TO
             COUNT TWO, PAGES 17-18.




                                             JUDGE JOHN M. STUARD
                                             MAY 28, 2003
                                             10:00 a.m.




                                                             DONNA ROBERTS v WARDEN
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            ANSWER TO JURY QUESTION:
                   I AM UNABLE TO OFFER ANY FURTHER GUIDANCE AS TO THE
             INSTRUCTIONS RELATING TO THE FIREARM SPECIFICATIONS CONTAINED
            ON PAGE 10 OF YOUR JURY INSTRUCTIONS.      IF YOU HAVE A MORE
            SPECIFIC QUESTION, PLEASE REDUCE THAT QUESTION TO WRITING AND
             I WILL TRY TO OFFER ASSISTANCE.




                                             JUDGE JOHN M. STUARD
                                             MAY 28, 2003
                                             11:00 a.m.




                                                             DONNA ROBERTS v WARDEN
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            ANSWER TO JURY QUESTION:
                   NO, IF YOU FIND THE DEFENDANT IS A COMPLICITOR, SHE NEED
            NOT BE PHYSICALLY PRESENT IN THE ROOM AT THE TIME THE FIREARM
            IS DISCHARGED TO BE CONSIDERED UNDER HER CONTROL; HOWEVER, TO
            FIND THE DEFENDANT GUILTY OF A FIREARM SPECIFICATION UNDER
            SUCH CIRCUMSTANCES YOU MUST FIND BEYOND A REASONABLE DOUBT
            THAT DONNA ROBERTS HAD KNOWLEDGE THAT NATHANIEL JACKSON HAD A
            FIREARM IN HIS POSSESSION.




                                             JUDGE JOHN M. STUARD
                                             MAY 28, 2003
                                             12:20 p.m.




                                                             DONNA ROBERTS v WARDEN
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                                                                   DONNA ROBERTS v WARDEN
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                                                                DONNA ROBERTS v WARDEN
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                                             IN THE COURT OF COMMON PLEAS
                                                 TRUMBULL COUNTY, OHIO
           i'
           i' !
                  STATE OF OHIO,                             *         CASE NO.:      0l-CR-793

                         Plaintiff,                          *         JUDGE:         JOHN M. STUARD

           i;
           i;
                  -vs-                                       *         OPINION OF THE COURT IMPOSING
           ''
           I  j
                                                                       DEATH SENTENCE AND. FINDINGS
                  DONNA MARlE ROBERTS,                       *         OF FACT AND CONCLUSIONS OF
           'I                                                          LAW REGARDING IMPOSITION OF
                         Defendant.                          *         DEATH SENTENCE. {O.R.C.
                                                                       2929.0J(F)}

           i r


                                                            HISTORY

                         On May 28, 2003, a Trumbull County Petit Juryretumed a unanimous verdict finding

                  the Defendant, Donna Marie Roberts, guilty of two (2) counts of complicity to commit

                  aggravated murder arising from the death of Robert S, Fingerhut. Each count contained two (2)

                  specifications of aggravating circumstances listed in divfsion (A) of section 2929.04 of the

                  Revised Code. Since counts one and two of the indictment merge for sentencing purposes, the

                  State elected to dismiss count two and the specifications thereto prior to the commencement of

                  the mitigation phase. Therefore, for purposes of this opinion, the Defendant was convicted of

                  the first count of the indictment, or purposely and with prior calculation and design, ca~sing the

                  death ofRobert S. Fingerhut.

                         On June 4, 2003, the mitigation or second phase of the trial began. The jury, in that

                  phase, unanimously found that the State had proved beyond a reasonable doubt that the

                  aggravating circumstances, to-wit: specification one to count one, that the Defendant was a

                  complicitor in committing or attempting to commit, or in fleeing immediately after committing



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                 or attempting to commit aggravated burglary and that the Defendant committed the aggravated

                 murder with prior calculation and design and specification two to count one, that the Defendant

                 was a complicitor in committing or attempting to commit, or in fleeing immediately after

           i:i   committing or attempting to commit aggravated robbery and that the Defendant committed the
           it



                 aggravated murder with prior calculation and design outweighed the mitigating factors and

                 returned two (2) verdicts recommending the death sentence.

                        Pursuant to Revised Code Section 2929.04(F) the Court is now obligated to file a

                 separate written opinion independently weighing the aggravating circumstance of each

                 specification against the mitigating factors. The weighing process reflected in this opinion is

                 based upon evidence heard by the jury but is done independently and without regard to the

                 findings of the jury.

                                                            FACTS
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                        Factually, the evidence at trial revealed that the Defendant planned the murder ofher ex-
           :\
           ; ! husband and housemate, Robert S. Fingerhut, for five hundred and fifty thousand dollars

                 ($550,000.00) in insurance proceeds. The Defendant plotted the.murder for at least three (3)

                 months prior to December 11, 2001. The Defendant corresponded with her convict lover and

                 co-defendant, Nathaniel Jackson, while he was in prison at the Lorain Correctional Institution;

                 she also accepted nineteen (19) collect telephone calls from Jackson while he was incarcerated
           ''
           ''
                 wherein they planned details of the murder. The telephone calls were recorded and the letters

                 and phone calls were seized by police during the course of the murder investigation.

                         The murder plot included a plan whereby the Defendant would pick up Jackson from

                 prison on December 9, 2001, and take him to the Wagon Wheel Motel in Boardman, Ohio, and


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                                                                                  DONNA ROBERTS v WARDEN
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                   rent a room with a mirrored ceiling and a Jacuzzi tub where they would have sexual relations.

                   The Defendant would obtain handcuffs, a firearm, ski mask, leather gloves to conceal

                   fingerprints and would ensure Jackson access to the victim's residence so that Jackson could

            ;:     abduct the victim and take him out of the house and kill him. The conspirators discussed forcing
            i ,'
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            , 1 the victim to watch the Defendant perform oral sex on Jackson before executing the victim. The
            I'


                   Defendant planned to set up an alibi at the time of the murder by driving around and going to

                   various retail outlets and shopping where she would be filmed by the store's video security
            '' '
                   cameras. The Defendant made several telephone calls to Fingerhut's place of employment, the

                   Greyhound Bus Station in Youngstown, Ohio, to ensure that Fingerhut timely left work at

                   approximately 9:00 p.m. on December 11, 2001. The Defendant also provided Jackson with a

                   cellular telephone to keep in contact with her while she was driving a red Chrysler 300M which

                   contained its own cellular telephone. The Defendant had previously checked on the insurance

                   policies to ensure that they were in effect and that the premiums were paid until the end of 2001.

                   The Defendant also discussed in the letters and phone calls obtaining a motel room for Jackson

                   after the killing so Jackson could hide out after the murder.

                          However, the plan began to go bad when Jackson, who was in Fingerhut's residence,

                   sustained a gunshot wound to his left index finger during a struggle with the victim. Jackson

                   shot Fingerhut three (3) times, including one (I) fatal shot to the head.Jackson left the victim's

                   body in the residence, and took Fingerhut' s car keys and Fingerhut' s silver Chrysler 300M from

                   the garage of the residence. Jackson drove Fingerhut's car to Youngstown, Ohio, where he

                   abandoned it approximately three (3) blocks from where he was ultimately arrested on


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                    December 20, 2001. A series of telephone calls occurred between the Defendant's telephone in

                    her red Chrysler and her cellular telephone which was in the possession of Jackson during the

           iii\ time frame of approximately 9:30 p.m. and 12:00 midnight on December 11, 2001. Between
           ';


                    9:30 p.m. and 10:30 p.m. the Defendant drove Jackson to the Days Inn in Boardman, Ohio, and           '

                    rented him a room for one week. Jackson's wound was treated and bandaged in the room.

                           The Defendant returned to the residence in Howland Township, Trumbull County, Ohio,
                                                                                                       th1
                    and "discovered" her ex-husband's body just inside the man door leading from garage. The
                                                                                                         ,·.

                    Defendant called 911 and feigned hysteria. The Defendant in her letters to Jackson had

                    discussed how she would fake grief upon discovering that her ex-husband had been killed.

                    Howland Township Police Officers responded to the 911 call and were met by the Defendant.

                    The police did not find any signs of forced entry and the only things missing.from the residence

                    were the victim's car keys and the victim's automobile. Two wallets containing a.large sum of
            i:
                i   cash and credit cards as well as other valuables were undisturbed inside the residence. The

                    Defendant told the officers that her husband's car was missing and granted them permission to

                    search the residence and her vehicle for evidence that might lead to the killer. During this search

                    police found approximately one hundred and forty (140) letters from Jackson to the Defendant

                    in her dresser, and approximately one hundred and forty (140) letterSfrom the Defendant to

            I       Jackson in the trunk of the Defendant's red car, in a paper bag bearing Jackson's name and

                    prison number.

                            As the investigation progressed, law enforcement officers were able to obtain the

                    nineteen (I 9) recorded telephone conversations between the Defendant and Jackson while


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           Ii
           •i
                             Jackson was incarcerated in the Lorain Correctional Institution. These tapes constituted
           ''
                             approximately three (3) hours of conversation. These telephone calls, along with the letters

           ;,                which spanned a time frame of approximately three (3) months, revealed a continuing and
           '1       ';




                             evolving plan to kill Fingerhut within days after Jackson's release from prison.

                                    Jackson was soon arrested at a house on Wirt Street in Youngstown, Ohio, a few blocks

                             from where Fingerhut's vehicle was recovered ,and a pair of black leather gloves with fleece
           i:'r
                             lining were recovered from that house at the time of his arrest. In a letter written to Jackson, the

                             Defendant acknowledged that she had found thin, fleece-lined leather gloves. The recovered

            '.
                '            gloves had gunshot residue and a hole in the left index finger, along with a reddish substance

                             which appeared to be blood in that area. This damaged area matched the injury that Jackson had
                ''
                             sustained to his finger.

                                     The evidence also revealed that the Defendant, near the approximate time of the murder,

                             was seen driving her automobile in a very slow manner away from the vicinity of the home

                             where Fingerhut lived. Furthermore, within two (2) hours from the last time Fingerhut was seen

                             alive, the Defendant rented a motel room at the Days Inn in Boardman, Ohio, for Jackson. In
                ;''i
                             this room bloody bandages and other medical supplies were found by hotel cleaning personnel

                             and were subsequently collected by police.

                :        !           Fingerhut' s silver Chrysler, which had been stolen by Jackson from the residence, was
                :'
                             recovered in Youngstown, Ohio. Blood stains in and on the vehicle were collected by law

                             enforcement officers. DNA analysis of the blood stains collected on the trunk latch and the

                             interior sun visor revealed that the blood matched the DNA profiles of Nate Jackson and the


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                    I\




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                        victim. Blood stains collected from the Days Inn also matched the DNA profile ofN ate Jackson.

                               The State also introduced evidence from the letters that the Defendant and Jackson
           ;'
           II

           •'           discussed purchasing a "new Lincoln" or a "2002 Cadillac DeVille" for Jackson. The Defendant

                        and Jackson repeatedly discussed waking up together on Christmas Morning and the Defendant

                        repeatedly stated how much she hated Fingerhut. Additionally, Fingerhut had two (2) life

           ,
                1
                        insurance policies with a combined benefit of five hundred and fifty thousand dollars

           i;           ($550,000.00).

                               On December 12, 2001, shortly after calling 911, Howland police officers noticed the

           '.   ,       Defendant's behavior which included feigned crying and listening in on conversations of
                1




                        investigators. On December 12,2001, shortly after calling 911, the Defendant told investigators

                        that she had been out shopping at Wal-Mart, Super K-Mart and Giant Eagle. Police could only
           !i

                        confirm that the Defendant was at Wal-Mart at approximately 9:30 p.m. The Defendant never

                        stated to police that she had taken Jackson to the Days Inn in Boardman, Ohio.

                               Later in the afternoon of December 12, 2001, the Defendant provided police with a list

                        of suspects who may have wanted to kill Fingerhut, including an alleged homosexual lover of

                        the vicliJn, a half Hispanic half black man that the Defendant had dated, a man named Santiago

           'I
           i a          Mason and a number of people from the Greyhound bus station. When investigators asked the
           I'
            ! ;



                        Defendant about Nathaniel Jackson the Defendant stated, "oh, I almost forgot about him" and


            : !
                        proceeded to tell the officers that she had last seen Jackson on Monday, December 10,200 I, and
                    '
                        had last spoken to him in the morning of Tuesday, December 11, 2001.

                                The investigation revealed that the Defendant and Jackson were together throughout the


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                     afternoon and evening of December 11, 2001. The State presented evidence and testimony that

                     the Defendant took Jackson to get a haircut, ate dinner with him at Red Lobster and was with
             '

           '''
           I:        him at the Warren Greyhound bus terminal in Warren, Ohio, which was the Defendant's place
           i!
                     of employment. One witness, Frank Reynolds, testified that after Jackson's release from prison
           ,;
           ; i

           i ; and prior to the murder, he was present at the Youngstown bus terminal when the Defendant
           ,·        asked Fingerhut for three thousand dollars ($3,000.00); when Fingerhut refused to give'herthe
           '
           ,' .      money she gave him a dirty look. The Defendant had stated in her letters that she was tired of

                     "the grinch doling out the money'' and was referring to Fingerhut providing her with a set

                     amount of cash to spend every week.

           • I              The Defendant planned to obtain a firearm for Jackson to use in order to kill Fingerhut.
             I

           : !   '
           i;        While the Defendant was supposedly in a torrid love relationship with Jackson, she invited ex-

                     con Santiago Mason to her residence where she performed oral sex on him. When he refused

                     her further sexual advances to engage in vaginal intercourse, Mason was accused by the
           I I


                     Defendant of stealing a .3 8 caliber firearm. Forensic evidence revealed that the weapon used to

                     kill Fingerhut was consistent with a .38 caliber firearm. The investigation revealed that Roberts

                     was missing two .38 caliber firearms at the time ofFingerhut's murder.

                                               AGGRAVATING CIRCUMSTANCES

                            In this case the jury found the existence beyond a reasonable doubt of two aggravating

                     circumstances pursuant to section 2929 .04(A)(7) of the Revised Code, to-wit; specification one
           i.

                     to count one, that the Defendant was a complicitor in committing or attempting to commit, or

                     in fleeing immediately after committing or attempting to commit aggravated burglary and that


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           !'',
                  the Defendant committed the aggravated murder with prior calculation and design and

                  specification two to count one, that the Defendant was a complicitor in committing or               '

                  attempting to commit, or in fleeing immediately after committing or attempting to commit

                  aggravated robbery and that the Defendant committed the aggravated murder with prior

                  calculation and design.
           '
           i I
           'i
           i.
                         With respect to the aggravating circumstance related to the aggravated burglary, the
           'I
           I'
           Ii
           ! i    evidence presented at trial proved that the Defendant allowed Jackson to trespass in Fingerhut' s
           \ i
           i.
                  residence located at 254 Fonderlac Drive, Howland Township, Trumbull County, Ohio, with
           ''
           ''
           !      the specific purpose ofkilling Fingerhut with prior calculation and design. Jackson was wearing
           i:
                  leather gloves and armed with a firearm, which he used to shoot the victim three times, causing

           :,     his death. The gloves, a ski mask, firearm and access to the house were all provided by the
           ''
           : ',   Defendant with prior calculation and design as evidenced by the telephone calls and letters

           ; ; introduced by the State. The Defendant ensured the victim's arrival by checking at his place of

                  employment and determining when he left work and by calling him on the telephone while he

           i'     was on his way home. The Defendant had also checked on the status of the life insurance
           Ii

                  policies and determined that the premiums were paid up to the end of2001 and advised Jackson

                  of the same.

                         Pursuant to her plan to kill Fingerhut, the Defendant took Jackson to a motel room in

                  Boardman, Ohio, and rented the room for one week which was consistent with the plans

                  discussed in the letters and phone calls prior to the murder.

                         Upon discovering Fingerhut's body the Defendant feigned grief exactly as discussed in


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                 her letters with Jackson.

                        During the course of the investigation the Defendant continually threw out red herrings

                 for the Howland Police by mentioning a number of possible suspects including alleged

           : : homosexual lovers of the victim, her ex-boyfriends, crazy people from the Greyhound bus
           ::
           !i
           1,
                 terminal in Youngstown and Santiago Mason. The Defendant only mentioned Jackson (the

                 convict she had corresponded with by letter for three (3) months, spoken to on the telephone
           li
           ! !
           I , nineteen (I 9) times, picked up from prison, engaged in sexual relations with just two days prior,
           j:
           , , taken to get his haircut and ate dinner with just hours previously, and the person whom she had

                 driven to Boardman, Ohio, on the night of the murder and who had an injured index finger) after

                 the investigators confronted her with his name.

                         From the aforementioned evidence, this Court concludes that the Defendant committed

                 the aggravated murder as a complicitor while committing or attempting to commit, or in fleeing

           i ·   immediately after committing or attempting to commit aggravated burglary and that the

           ,,    Defendant committed the aggravated murder with prior calculation and design.

                         With respect to the aggravating circumstance related to the aggravated robbery, after

           ,,    Jackson had murdered the victim, he took the victim's set of keys and his silver Chrysler 300M.

                 Although the planned crime involved Jackson stealing Fingerhut' s car in order to kidnap

                 Fingerhut it is clear that Jackson was to take the victim's car to flee the residence. The fact that

                 Fingerhut struggled with Jackson in the residence and was killed in the residence in no way

                 negates the Defendant's plan that Jackson should steal the victim's car to facilitate Jackson's

                 own flight from the residence.


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           ii
               I            Ample DNA evidence was presented indicating that Jackson was in the silver Chrysler

                     300M following the murder ofFingerhut. Additionally, phone records were introduced showing

           '·        that Jackson and the Defendant called each other after the murder to check on the status of the
           :j

           1
               :     plan. Finally, the vehicle was recovered a few blocks from the location where Jackson was

                     arrested.

                             The Defendant, in accordance with the plan to kill Fingerhut, paid for a hotel room for

                     Jackson following the murder.
           :    i,

                             The fact that the silver Chrysler 300M was found abandoned with the victim's keys in

                     the ignition coupled with the fact that the victim's wallet, money, credit cards and other
           i;



                     valuables were not stolen clearly show that the plan to steal the victim's car as a means of
           I:
           ii
           ! '       escape following the kidnapping and murder of the vicfan were carried out in accordance with
           ! :
           ! '
           ''
           'i
                     the prior calculation and design as set out by the Defendant and Jackson.

           :i
                             From the aforementioned evidence this Court concludes that the Defendant committed

                     the aggravated murder as a complicitor while committing or attempting to commit, or in fleeing

                     immediately after committing or attempting to commit aggravated robbery and that the

                     Defendant committed the aggravated murder with prior calculation and design.
           i'
           ''
                                                      MITIGATING FACTORS

           I'                To be weighed against the aggravating circumstances the Court must weigh any

                     mitigating factors.

                             On Tuesday, June 3, 2003, the Defendant appeared in chambers and on the record with
           I:


                     her retained attorneys, J, Gerald Ingram and John B. Juhasz and her retained psychologist


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           'i       Thomas Eberle. The State was present and represented by Assistant Prosecutors Kenneth N.
           i
           ,,   '
           ;



           'i
                I
                    Bailey and Christopher D. Becker.
           !i
           'i
           ii              The Defense indicated to the Court that the Defendant had been evaluated by Dr. Eberle
           'i

                    for her competency to waive mitigating evidence and that in the doctor's opinion she was

                    competent to do the same. The Court personally addressed the Defendant and inquired of her

           ,i       as to the importance of presenting mitigating evidence, the use of such evidence to offset the

                    aggravating circumstances, and the effect of failing to present such evidence. The Court was

                i   assured that the Defendant understood these concepts by both defense counsel and Dr. Eberle

           ii
           I'
                    and personally inquired whether the Defendant desired to waive the right to present mitigating
           !:

                    evidence. The Court having found no evidence to contradict Dr. Eberle's findings and the

           ! ;      Defendant's statements and desire to waive the presentation of mitigating evidence then found

                    that the Defendant was competent to waive the presentation ofmitigation evidence and had done

           :''i so knowingly, voluntarily and intelligently. The Defendant indicated to the Court that she only

                    desired to make an unswom statement to the jury, which she was advised she was permitted to

                    do and would be permitted to make on June 4, 2003, which was the date previously scheduled

                    for the mitigation or second phase.

                           On Wednesday, June 4, 2003, the Defendant made an unswom statement during which

           :i       she stated to the jury that there were no mitigating factors and during which she requested the

             ,      jury to impose a death sentence. This statement was articulate, coherent, and well organized.
           :  ;
           : i'
                    The statement lasted approximately one hour during which the Defendant showed no difficulty
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            I I
           , I

                    or fear in addressing a large group of individuals including the jury and a large number of


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                    courtroom observers. The Defendant spoke freely and although she had with her prepared notes
            ''
            I'

                    she often extemporized .
            .l
               ,           Despite the preceding the Court is still bound to make an independent weighing of any
           ·'i'!;
            ,,      and all mitigating factors that it feels may exist in this case against the aggravating

                    circumstances.

                           The Defendant m this case was not the principal offender. Pursuant to section

                    2929.04(B)(6) the Court considers this factor and gives it very little weight. The Defendant
             : l


            ;!
            , I
                    committed the aggravated murder during the course of the commission of both an aggravated

                    burglary and aggravated robbery. The record is replete with instances wherein the Defendant

                    actively planned this aggravated murder with prior calculation and design in order to collect five

                    hundred and fifty thousand dollars ($550,000.00) in life insurance proceeds. The Defendant's

                    plan included buying her co-defendant a new Cadillac or Lincoln in exchange for killing her ex-

             ii     husband, promises of trips, a nice home in a wealthy neighborhood and overall a one hundred

                    and eighty degree change in lifestyle for Nathaniel Jackson, her co-defendant.

                           The record is overwhelming that but for the Defendant's pl arming and actions the victim

                    would be alive today. The Defendant discussed and plarmed for months with the principal

                    offender how they would kill the victim. The Defendant checked on the status of the insurance

                    policies in order to ensure that she would be able to collect the proceeds from the same and

                    advised the principal offender of the status of the policies. The Defendant then transported the

                    principal offender in the aggravated murder from prison to a pre-determined location in order

                    to engage in love making before the murder. The Defendant fed the principal offender prior to


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                     the crime. The Defendant provided the principal offender with gloves, a ski mask, the murder         !


                     weapon and a hide out after the aggravated murder all as planned and discussed prior to the

                     aggravated murder. The Defendant gave the principal offender entry into the residence of the

                     victim for the sole and exclusive purpose of killing the victim. This plan was clearly discussed

                     in both the letters and the recorded telephone conversations, including the last telephone call of

                     December 8, 2001, the day before the principal offender was released from prison. The

                     Defendant failed to advise police of her relationship with the principal offender until she was

                     confronted with the existence of the relationship by the police. Prior to being confronted by the

                     existence ofthis relationship the Defendant gave the police a number ofred herrings implicating

           1
           Ii
               i     a number ofpotential suspects but never mentioned her relationship with the principal offender

                     and her discussions with him regarding the aggravated murder of Robert Fingerhut.
           ''
           j
           i'
               t


           ' 1               The Court gives very slight weight to the fact that the Defendant indicates in her letters
           ''
           : i

                     that the victim may have been physically abusive to her. This factor is pursuant to section

               '''   2929.04(B)(l)&(2); however, the existence of this factor is given very slight weight due to the

                     fact that it is unsubstantiated and even if it were true it would not warrant the Defendant's
           i j


                     actions in this case.

                             The Court gives very little weight to the Defendant's unswom statement. During the

                     course of her unswom statement the Defendant apologized to her defense team and thanked

                     them for their hard work. The few positive things gleaned from this statement were
           ''
           j    T



           ! · overshadowed by the Defendant's personal attacks and statements that were clearly contrary to
                     the evidence, The Defendant denied guilt and personally attacked the jurors by claiming they


                                                                    -13-



           '
           : i




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           ii

                    were not a jury of her peers. The Defendant accused the lead investigator as being motivated

                    solely by career advancement and accusing him of obstruction of justice and perjury. The

           • ; Defendant referred to the other investigators as "lackeys" and claimed that one member of the
           \ i
           '        prosecution team was "anti-semetic and racist". The Defendant also chastised the jurors for

                    being uninformed about current events. The Defendant also stated to the jury that she and the

                    victim had a loving relationship and planned to live happily ever after. These statements are in
           !i


           '
               1
                    direct contravention of her statements in the letters and the phone calls expressing her desire and

                    wishes that the victim meet an untimely death and her desire to marry and Jive with Nathaniel

                    Jackson. The Defendant also appeared to brag to the jury that she and the deceased had earned

                    over two hundred thousand dollars ($200,000.00) per year and that the five hundred and fifty

                    thousand dollars ($550,000.00) in life insurance procec;dswas oflittle value to her because that

                    sum would on! y sustain her for a few years.

                            It is difficult for this Court or any fact finder to give any weight to such a statement.

                            Pursuant to section 2929.04(A)(7) the Court will give very slight weight to the

                    Defendant's behavior during the course of this trial. The Defendant was courteous, pleasant and

                    properly addressed the Court at all times. The Defendant appeared intelligent and int(:rested in

                    the proceedings and appeared to assist in her defense at all times. The Defendant presented no

                    security problems to the Court and those who transported her to Court each day.
           i l


                                                      CONCLUSIONS OF LAW
           i
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           j
                !
                l           The Court has carefully and independently weighed the cumulation of all of the

                    mitigating factors against each aggravating circumstance separately as to each of the two


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                  specifications. In other words the Court has weighed the evidence twice. First, the Court

                  weighed all of the mitigating factors against the aggravating circumstance surrounding the

                  aggravated burglary and then the Court engaged in a second weighing whereby the Court again

                  weighed all of the mitigating factors against the aggravating circumstance surrounding the

                  aggravated robbery.

                          With respect to the first weighing of the aggravating circumstances related to the

                   aggravated burglary against all of the mitigating factors, this Court finds that the aggravating

                   circumstances not only outweigh the mitigating factors by proofbeyond a reasonable doubt, but

                   in fact, they almost completely overshadow them.

                          The Legislature of the State of Ohio has recognized that under certain circumstances,

                   the death penalty is an appropriate sanction to a defendant who commits an aggravated murder

                   during the commission of certain felonies. In the case at bar, the underlying felonies were

                   aggravated burglary and aggravated robbery.

            I             In this particular case, the Court accords substantial weight to the aggravated burglary
            ji
                l specification in the first weighing process. In order to prove an aggravated burglary, the State

                   is required to prove that a defendant trespassed in an occupied structure for the purpose of

                   committing a criminal offense. In this particular case the Defendant purposely had her co-

                   defendant trespass in the occupied structure of Robert S. Fingerhut with the specific purpose of

                   committing an aggravated murder which had been meticulously planned over a number of

                   months with prior calculation and design.

                          Under the facts of this case, this Court can not foresee any other form of aggravated


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